Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 1 of 610




                             EXHIBIT 202




                                                                         Appx. 04126
 Case 21-03005-sgj Doc 134-7 Filed 12/18/21                     Entered 12/18/21 02:10:25               Page 2 of 610

Case 19-34054-sgj11 Doc 487 Filed 03/02/20                  Entered 03/02/20 12:10:30
                                                                             Docket #0487Page
                                                                                          Date 1  of 14
                                                                                               Filed: 03/02/2020




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                           )
    In re:                                                 )     Chapter 11
                                                           )
    HIGHLAND CAPITAL MANAGEMENT,                           )     Case No. 19-34054-sgj11
    L.P., 1                                                )
             Debtor.                                       )
                                                           )     Docket Ref. No. 474
                                                           )

                      OBJECTION OF THE OFFICIAL
       COMMITTEE OF UNSECURED CREDITORS TO THE MOTION OF THE
     DEBTOR FOR ENTRY OF AN ORDER AUTHORIZING, BUT NOT DIRECTING,
    THE DEBTOR TO CAUSE DISTRIBUTIONS TO CERTAIN “RELATED ENTITIES”

         The official committee of unsecured creditors (the “Committee”) of Highland Capital

Management, L.P. (the “Debtor”), hereby submits this objection (this “Objection”) to the Motion

of the Debtor for Entry of an Order Authorizing, But Not Directing, the Debtor to Cause

Distributions to Certain “Related Entities” [Docket No.474] (the “Distribution Motion”). 2 In

support of this Objection, the Committee respectfully states as follows:

                                    PRELIMINARY STATEMENT

         1.        The Committee’s objection focuses on a very limited portion of the transaction

currently proposed by the Debtor – namely, proposed distributions of approximately $8.6 million

(the “Proposed Insider Distributions”) to several insiders who not only owe money to the Debtor

but also may be the target of avoidance and other litigation brought by the Committee on behalf


1
     The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
     address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
2
     All capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
     Distribution Motion.




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Case 21-03005-sgj Doc 134-7 Filed 12/18/21                   Entered 12/18/21 02:10:25              Page 3 of 610

Case 19-34054-sgj11 Doc 487 Filed 03/02/20                  Entered 03/02/20 12:10:30             Page 2 of 14



of the Debtor’s estate - Mark Okada and two entities owned and/or controlled by James Dondero

and/or Mark Okada (such entities, together with Messrs. Dondero and Okada, the “Insider

Parties”). As this Court is aware, Messrs. Dondero and Okada owned and controlled the Debtor

for most of the past 30 years. During that time, the Debtor repeatedly breached fiduciary duties

and contractual obligations, leading to hundreds of millions of dollars in judgments against the

Debtor and certain affiliates. The Committee is currently investigating a variety of significant

potential estate claims against the Insider Parties. For example, certain of the interests held by the

Insider Parties, which form the basis for a portion of the Proposed Insider Distributions, were once

owned by the Debtor – the Committee is investigating, among other things, the propriety of the

transfers of these interests from the Debtor to the Insider Parties. In addition, Messrs. Dondero

and Okada currently owe the Debtor over $10.6 million in demand notes and another Insider Party

owes the Debtor nearly $7.5 million in notes receivable, some of which also are demand notes. In

light of these and other potential claims, which are only now the subject of review by a party other

than the Debtor, the Committee believes the Proposed Insider Distributions to the Insider Parties

should be reserved in segregated accounts pending resolution of the issues under investigation by

the Committee and repayment of all amounts owed to the Debtor by the Insider Parties.

        2.       This Court’s order granting the relief requested by the Committee would shield the

Debtor from any purported legal risks associated with withholding the Proposed Insider

Distributions. Similarly, the Debtor and Independent Board would not breach their fiduciary duties

by complying with this Court’s order to withhold the Proposed Insider Distributions. 3




3
 Even absent court order, the Committee is highly skeptical of the legal merit of any such legal claims by Messrs.
Dondero and Okada and related damages for any alleged breach of contract and/or fiduciary duty by the Debtor.


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                                                                                                     Appx. 04128
Case 21-03005-sgj Doc 134-7 Filed 12/18/21             Entered 12/18/21 02:10:25          Page 4 of 610

Case 19-34054-sgj11 Doc 487 Filed 03/02/20             Entered 03/02/20 12:10:30         Page 3 of 14



       3.      Temporarily withholding and segregating the proposed distributions would greatly

facilitate the Debtor’s interests while causing little harm to the Insider Parties. It would facilitate

repayment of over $18 million in notes payable to the Debtor by the Insider Parties. Moreover,

delay in the distribution will allow the Committee an adequate opportunity to investigate potential

estate claims against the Insider Parties, including claims arising from the very transactions

pursuant to which the Debtor transferred certain of the interests at issue to such parties.

       4.      While the Debtor and Independent Board have taken the position that they cannot

affirmatively seek this relief, clearly both should be supportive of this outcome which preserves

claims of the Debtor’s estate and a ready source of recovery for the outstanding demand notes.

Moreover, the Proposed Insider Distributions will be temporarily placed in segregated, interest

bearing accounts, compensating the Insider Parties for any material injury from the mere passage

of time. To the extent Messrs. Dondero and Okada believe they would incur additional harm of

which the Committee is not aware, they – not the Debtor – should bring those concerns directly to

this Court.

                                           OBJECTION

       5.      Through the Distribution Motion, the Debtor seeks authority to make redemption

payments and other distributions to investors in certain funds managed by the Debtor. Specifically,

as part of the Debtor’s plan to distribute (i) approximately $123.25 million to investors of RCP,

(ii) $21.8 million to investors of AROF in connection with the wind up of such fund, and (iii) $34.8

million to investors in Dynamic in connection with the wind up of such fund – the Debtor seeks

authority for some of the foregoing distributions to be made to the Insider Parties. Of the almost

$180 million in distributions, the Committee only objects to the distribution of a total of $8.6

million to be distributed to three Insider Parties. Specifically, the Committee objects to the request



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Case 21-03005-sgj Doc 134-7 Filed 12/18/21                Entered 12/18/21 02:10:25            Page 5 of 610

Case 19-34054-sgj11 Doc 487 Filed 03/02/20               Entered 03/02/20 12:10:30           Page 4 of 14



to make distributions to Mark Okada, Highland Capital Management Services, Inc. (“HCM

Services,” owned by James Dondero, and Mark Okada), and CLO Holdco Ltd. (“CLOH”). 4 To

be clear, the Committee does not object to the Debtor’s orderly liquidation of Dynamic or AROF,

or to the distributions from AROF, Dynamic, and RCP to any third-party, non-affiliated investors.

However, in light of the significant amounts of money owed to the Debtor by Mr. Okada, Mr.

Dondero and HCM Services, the Committee’s ongoing investigation of the Debtor’s insiders and

related entities (including with respect to the propriety of how the Insider Parties obtained the

interests which form the basis of the Proposed Insider Distributions (such interests, the “Insider

Interests”)), and the well-documented fraudulent and improper activities engaged in by the

Debtor’s insiders, the Committee requests that the Court order the Debtor to hold the Proposed

Insider Distributions in a reserve for a limited period of time.

    I.        The Proposed Insider Distributions Should Be Reserved Pending the Repayment
              of Insiders Parties’ Obligations Owed to the Debtor and the Committee
              Investigation

         6.      Through the Distribution Motion, the Debtor seeks to make the following Proposed

Insider Distributions:

          Investor                       Distribution Amount                      Fund
          CLO HoldCo, Ltd.                                $872,000                AROF
          CLO HoldCo, Ltd.                              $1,521,000                Dynamic
          Mark Okada                                    $4,185,000                Dynamic
          Highland Capital Management                   $2,085,000                RCP
          Services, Inc.
                                   Total                $8,663,000

These Proposed Insider Distributions are a small portion of the $180 million to be distributed from

Dynamic, AROF and RCP.



4
 The Distribution Motion also seeks authority to make distributions to Highland Dynamic Income Fund GP, LLC.
The Committee does not object to such distribution.


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Case 21-03005-sgj Doc 134-7 Filed 12/18/21                 Entered 12/18/21 02:10:25            Page 6 of 610

Case 19-34054-sgj11 Doc 487 Filed 03/02/20                Entered 03/02/20 12:10:30           Page 5 of 14



The Insider Parties Owe the Debtor Money

        7.      It is undisputed that James Dondero, Mark Okada, and HCM Services owe the

Debtor significant amounts of money. The Debtor’s schedule of assets and liabilities [Docket No.

247] discloses that, as of the Petition Date, the Debtor holds notes receivable from (i) James

Dondero, in the principle amount of $9,334,012 (the “Dondero Note”) 5; (ii) HCM Services in the

aggregate principle amount of $7,482,480.88 (the “HCM Services Notes”), and (iii) Mark Okada,

in the principle amount of $1,336,287.84 (the “Okada Note”, and with the Dondero Note and the

HCM Services Notes, the “Notes”). The Dondero Note, the Okada Note, and four of the five HCM

Services Notes are demand notes, payable upon the request of the Debtor. These Notes should be

repaid before the Debtor makes any distributions to these insiders.

The Insider Parties Have Engaged in a Pattern of Fraudulent Activities to the Detriment of
Creditors

        8.      Further, as this Court is well-aware, the Debtor has a documented history of

engaging in misconduct, breaches of fiduciary duty and fraudulent transactions in multiple

settings, which ultimately led to the commencement of this bankruptcy case. At all relevant times,

Mr. Dondero and Mr. Okada, as co-founders and executive officers, managed and controlled the

Debtor and were ultimately responsible for the Debtor’s pattern of misconduct, breaches of

fiduciary duty and fraudulent activities.

        9.      As examples of the extensive misconduct, in 2014, the Securities and Exchange

Commission (“SEC”) determined (i) that the Debtor knowingly engaged in multiple transactions

with its client advisory accounts without disclosing that the Debtor was acting as principal, or

obtaining client consent, before the trades were completed, and (ii) that the debtor failed to


5
 The Dondero Note is in addition to $18.3 million owed to the Debtor under a demand note made by The Dugaboy
Investment Trust, of which Mr. Dondero is a beneficiary.


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Case 21-03005-sgj Doc 134-7 Filed 12/18/21            Entered 12/18/21 02:10:25        Page 7 of 610

Case 19-34054-sgj11 Doc 487 Filed 03/02/20          Entered 03/02/20 12:10:30        Page 6 of 14



maintain sufficient documentation with respect to certain transactions. See SEC Order ¶¶ 6-7, In

the Matter of Highland Capital Mgmt., L.P., File No. 3-16169 [Docket No. 130. Ex. A]. As

established in the Redeemer Committee litigation, the Debtor, under the control of Mr. Dondero

and Mr. Okada, was found to have covertly and improperly taken $32.3 million in cash out of the

a fund for which the Debtor acted as investment manager (the “Crusader Fund”), and was found

to have made decisions with the “willful intent” to benefit itself and not the parties to whom the

Debtor owed fiduciary duties. An arbitration panel unanimously found that the Debtor, Mr.

Dondero, and Highland’s in-house lawyers violated their fiduciary duties to the Crusader Fund,

engaged in willful misconduct, self-dealing, and secrecy, and made multiple misrepresentations to

the Crusader Fund’s investors as well as the Debtor’s auditors.

       10.     In the Acis Capital Management bankruptcy case, this Court found that there was

a “legitimate prospect” that the Debtor “would continue dismantling [Acis], to the detriment of

[Acis] creditors.” In re Acis Capital Mgmt., L.P., 584 B.R. 115, 147, 149 (Bankr. N.D. Tex. 2018).

Following an arbitration award against Acis, Mr. Dondero and other members of the Debtor’s

management transferred tens of millions of dollars in assets out of Acis into newly-formed Cayman

Islands-based Highland affiliates. Id. at 127-130. This Court ultimately concluded that the “record

contain[ed] substantial evidence of both intentional and constructive fraudulent transfers,” and

“[t]he numerous prepetition transfers that occurred around the time of and after the Terry

Arbitration Award appear[ed] more likely than not to have been made to deprive the Debtor-Acis

of value and with the actual intent to hinder, delay, or defraud the Debtors’ creditors.” See In re

Acis Capital Mgmt., L.P., No. 18-30264, 2019 WL 417149, at *11 (Bankr. N.D. Tex. Jan. 31,

2019), aff’d 604 B.R. 484 (N.D. Tex. 2019). In both the Acis bankruptcy case and the Crusader

Fund arbitration, the Debtor’s management were found to have manufactured dishonest and



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Case 21-03005-sgj Doc 134-7 Filed 12/18/21                     Entered 12/18/21 02:10:25               Page 8 of 610

Case 19-34054-sgj11 Doc 487 Filed 03/02/20                    Entered 03/02/20 12:10:30              Page 7 of 14



illegitimate defenses and provided unreliable and incredible testimony regarding the Debtor’s

actions.

         11.       Each of the Insider Parties are closely affiliated with Mr. Dondero and/or the

fraudulent actions that led the Debtor to bankruptcy:

               •   Mark Okada: Mr. Okada is the co-founder of the Debtor, and was the Chief
                   Investment Officer until shortly before the commencement of this chapter 11 case.
                   As Chief Investment Officer, Mr. Okada was responsible for overseeing the
                   Debtor’s investment activities across all investment platforms. Mr. Okada was an
                   executive officer of the Debtor (i) when the Debtor was found by the SEC to have
                   engaged in wrongful transactions without disclosing important information to
                   clients, (ii) when the Debtor stripped Acis of its assets – CLO portfolio management
                   contracts – and transferred to them a newly formed Cayman entity, and (iii) when
                   the Debtor engaged in misconduct and breached fiduciary duties with respect to the
                   Crusader Fund. Mr. Okada was the beneficial owner of 25% of Acis Capital
                   Management, L.P. when Mr. Dondero and the Debtor transferred assets away from
                   Acis, and this Court found that Mr. Dondero and Mr. Okada were the individuals
                   making decisions for Highland CLO Funding Ltd. (“HCLOF Guernsey”) in
                   connection with the events leading to the Acis bankruptcy litigation. 6

               •   HCM Services – As the Debtor disclosed, HCM Services is owned 75% by Mr.
                   Dondero and 25% by Mr. Okada. HCM Services appears to have received its
                   interests in RCP from the Debtor, but the circumstances of such transaction have
                   yet to be fully investigated by the Committee. HCM Services owes the Debtor
                   $7,482,481, of which $900,000 is payable on demand. The Committee understands
                   that Mr. Dondero remains in complete control of HCM Services.

               •   CLOH – CLOH is an entity owned by Charitable DAF Fund, LP (the “DAF”),
                   which was seeded with contributions from the Debtor; the consideration for such
                   contributions has yet to be fully investigated by the Committee. The DAF is
                   managed and advised by the Debtor, and its trustee is a long-time friend of Mr.
                   Dondero. 7 The trustee for the DAF has also served as trustee for The Get Good
                   Trust, The Dugaboy Investment Trust, and the SLHC Trust, of which Mr. Dondero

6
  In re Acis Capital Management, L.P., 2019 WL 417149, at *7, *9 (Bankr. N.D. Tex. January 31, 2019) (observing
(i) that Mr. Okada owed 25% of Acis until the day after Mr. Terry obtained his arbitration judgement against Acis, at
which point Mr. Okada conveyed his interests in Acis to Neutra, Ltd. for no consideration, and that (ii) Mr. Dondero,
Mr. Okada, and another Highland employee made decisions for HCLOF Guernsey regarding the optional redemptions
of the Acis CLOs).
7
  See In re Acis Capital Management, L.P., 2019 WL 417149, at *6 (Bankr. N.D. Tex. January 31, 2019) (noting
that one of the three equity owners of HCLOF Guernsey was the DAF, which was “seeded with contributions from
Highland, is managed/advised by Highland, and whose independent trustee is a long-time friend of Highland’s
chief executive officer, Mr. Dondero” (emphasis in original)).


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                                                                                                        Appx. 04133
Case 21-03005-sgj Doc 134-7 Filed 12/18/21            Entered 12/18/21 02:10:25          Page 9 of 610

Case 19-34054-sgj11 Doc 487 Filed 03/02/20           Entered 03/02/20 12:10:30         Page 8 of 14



               is a beneficiary. The Distribution Motion discloses that the interests in Dynamic
               currently held by CLOH were originally held by the Debtor, and were transferred
               to The Get Good Nonexempt Trust, in exchange for Get Good’s interest in a
               promissory note made by The Dugaboy Investment Trust, and then from Get Good
               to Mr. Dondero’s Highland Dallas Foundation, Inc. and then to CLOH. The
               Distribution Motion does not disclose how or when CLOH obtained its interests in
               AROF. The Committee is investigating CLOH’s relationship to and transactions
               with Mr. Dondero and other entities controlled by or otherwise benefitting Mr.
               Dondero.

The Committee is Investigating Claims Against the Insider Parties, Including Transfers the
Transfers of the Insider Interest

       12.     Pursuant to the Term Sheet outlining the agreement between the Debtor and the

Committee, the Committee has standing to pursue any and all estate claims and causes of action

against Mr. Dondero, Mr. Okada, other insiders of the Debtor and the Debtor’s related entities

(which include the DAF and CLOH), “including any promissory notes held by any of the

foregoing.” [Docket No. 354] This part of the settlement with the Debtor was a critical component

of the Committee’s agreement to the governance structure in lieu of seeking appointment of a

chapter 11 trustee. The Committee has begun its investigation and served document production

requests to the Debtor. Among other claims and causes of action, the Committee is investigating

potential preferential transfers, fraudulent transfers, breaches of fiduciary duties, usurpation of

corporate opportunities, misappropriation of assets, and abuses of the corporate form. The

Committee’s investigation includes fully exploring the circumstances and transactions through

which HCM Services, CLOH and Mr. Okada obtained the Insider Interests.

       13.     The Debtor’s history of self-dealing and improper or fraudulent activities suggests

that the Committee’s investigation is likely to uncover similar inappropriate activities with respect

to the Debtor’s assets, including the Insider Interests. The Debtor’s statements of financial affairs

[Docket No. 248] disclosed that the Debtor made significant payments to affiliates through

purported intercompany funding and affiliate loans in the 90 days prior to the filing date, along


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                                                                                         Appx. 04134
Case 21-03005-sgj Doc 134-7 Filed 12/18/21              Entered 12/18/21 02:10:25          Page 10 of 610

Case 19-34054-sgj11 Doc 487 Filed 03/02/20              Entered 03/02/20 12:10:30         Page 9 of 14



 with significant other insider transfers in the one year before the filing date (including very large

 expense reimbursement payments to Mr. Dondero). The Committee must have the opportunity to

 fully investigate the insider and affiliate transactions, including those that gave rise to the Insider

 Interests, that may be the subject of valuable estate causes of action before transactions distributing

 funds to those same insiders and affiliates can be consummated.

        14.     This is all the more true because the evidence is that, even during this bankruptcy

 case, Mr. Dondero continues to engage in secretive and potentially improper transactions. The

 Distribution Motion fails to highlight that the MGM Sale was negotiated by Mr. Dondero without

 the knowledge or approval of Debtor’s counsel or the Debtor’s financial advisors. Specifically, at

 the very same time that the Debtor’s counsel and financial advisors were attempting to persuade

 the Committee to approve certain transactions with respect to RCP, Mr. Dondero, unbeknownst to

 any Debtor professional, committed the Debtor to executing the MGM Sale. The Independent

 Directors, the Debtor’s counsel and the Debtor’s CRO and financial advisors were not made aware

 of the MGM Sale until two months after Mr. Dondero allegedly committed to the transaction on

 behalf of the Debtor. While the Committee has decided not to object to the MGM Sale itself

 (based, in significant part, on feedback from the Independent Board regarding its concern about

 the alleged binding nature of Mr. Dondero’s secretive agreement with MGM), the circumstances

 surrounding Mr. Dondero’s negotiation of and entry into the transaction are alarming at best, and

 the Committee has not waived any rights to fully investigate that transaction and any related

 potential causes of action against Mr. Dondero or others.

        15.     In addition to its concern that some or all of the Proposed Insider Distributions may

 be on account of otherwise avoidable transactions, based upon the Interested Parties’ long history

 of transferring assets and taking other actions to hinder, delay, and defraud creditors, the



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                                                                                            Appx. 04135
Case 21-03005-sgj Doc 134-7 Filed 12/18/21             Entered 12/18/21 02:10:25         Page 11 of 610

Case 19-34054-sgj11 Doc 487 Filed 03/02/20             Entered 03/02/20 12:10:30       Page 10 of 14



 Committee is also seriously concerned that the Insider Parties will swiftly place these distributions

 out of reach of the Debtor’s estate while refusing to satisfy their obligations to the Debtor. Such

 actions would jeopardize the estate’s ability to recover amounts owed to it and any future

 judgments against the Insider Parties, and would waste estate resources by forcing the Debtor to

 incur additional litigation costs to recover such debts and judgments.

    II.         The Court Has Authority to Direct the Debtor to Withhold the Proposed Insider
                Distributions

          16.      The Court “may issue any order, process, or judgment that is necessary or

 appropriate to carry out the provisions of [the Bankruptcy Code].” 11 U.S.C. § 105(a). “Courts

 interpret Section 105 liberally.” King Louie Mining, LLC v. Comu (In re Comu), Nos. 09-38820-

 SGJ-7, 10-03269-SGJ, 2014 Bankr. LEXIS 2969, at *264 (Bankr. N.D. Tex. July 8, 2014)

 (citing Momentum Mfg. Corp. v. Employee Creditors Committee (In re Momentum Mfg. Corp.),

 25 F.3d 1132, 1136 (2d Cir. 1994)). While the Supreme Court has found that section 105(a) does

 not give the bankruptcy court the ability to take any actions explicitly prohibited by another

 provision of the Bankruptcy Code, it does grant “extensive equitable powers that bankruptcy

 courts need in order to be able to perform their statutory duties.” Caesars Entm't Operating Co.

 v. BOKF, N.A. (In re Caesars Entm't Operating Co.), 808 F.3d 1186, 1188 (7th Cir. 2015) (citing

 Law v. Siegel, 571 U.S. 415, 420 (2014). Section 105 has been the source of authority for courts

 to, among other things, enjoin third parties, substantively consolidate non-debtors, and extend the

 automatic stay. See e.g., Celotex Corp. v. Edwards, 514 U.S. 300, 303 (1995) (holding that an

 injunction issued under § 105 was an appropriate use of the court’s powers); Alexander v. Compton

 (In re Bonham), 229 F.3d 750, 769 (9th Cir. 2000) (holding that the court’s power to substantively

 consolidate non-debtors was found in § 105); In re DeLorean Motor Co., 755 F.2d 1223, 1230




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                                                                                          Appx. 04136
Case 21-03005-sgj Doc 134-7 Filed 12/18/21             Entered 12/18/21 02:10:25         Page 12 of 610

Case 19-34054-sgj11 Doc 487 Filed 03/02/20             Entered 03/02/20 12:10:30        Page 11 of 14



 (6th Cir. 1985) (holding that a preliminary injunction issued to bar distributions from a non-debtor

 to third parties was an appropriate use of the court’s equitable power under § 105).

        17.     Temporarily withholding the Proposed Insider Distributions and placing the

 corresponding funds in segregated accounts is well within the authority of this Court under section

 105 of the Bankruptcy Code. The Insider Parties are current and former affiliates and/or insiders

 of the Debtor and creditors of the Debtor. The order requested by the Committee will allow full

 investigation of the claims and causes of action against the Insider Parties that was integral to the

 settlement approved by this Court in connection with approval of the Term Sheet. Furthermore,

 the Committee submits (and the Debtor has not asserted otherwise) that the relief sought by the

 Committee would not violate any explicit or implicit requirements of the Bankruptcy Code.

 Therefore, the Court need only consider the equitable nature of the relief that the Committee seeks,

 and its appropriateness in the context of furthering the goals of this bankruptcy. See In re Caesars

 Entm't Operating Co., 808 F.3d at 1188.

        18.     The equitable argument for temporarily withholding the Proposed Insider

 Distributions and segregating such funds is straightforward. These actions merely maintain the

 status quo. The Committee is not requesting that the Debtor effectuate a set-off or take possession

 of the Proposed Insider Distribution. No party has asserted that any economic harm (much less

 any significant harm) will be done to the Insider Parties by holding the Proposed Insider

 Distributions in segregated interest bearing accounts pending further order of this Court. On the

 other hand, the withholding of the Proposed Insider Distributions (and the resulting leverage that

 creates against the Insider Parties) may be the only chance for the Debtor to receive any value for

 the amounts it is owed (or potentially owed) by the Insider Parties or obtaining redress for

 fraudulent or improper transactions involving those parties, including with respect to the Insider



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                                                                                          Appx. 04137
Case 21-03005-sgj Doc 134-7 Filed 12/18/21             Entered 12/18/21 02:10:25         Page 13 of 610

Case 19-34054-sgj11 Doc 487 Filed 03/02/20             Entered 03/02/20 12:10:30       Page 12 of 14



 Interest. As set forth above, the Insider Parties and the persons controlling them have repeatedly

 engaged in schemes and other behavior designed to evade creditors. It should not surprise this

 Court to learn that, after making demand for payment on the demand note from Mr. Okada as of

 February 13th at the urging of the Committee, the Debtor still has yet to receive any payment from

 Mr. Okada. Absent approval of the Committee’s request, the Debtor’s efforts to collect from the

 Insider Parties may be extremely cost intensive and time-consuming. It is fair and equitable for

 this Court to temporarily prevent money from flowing to the Insider Parties in order to facilitate

 the Debtor’s efforts to recover amounts owed to it. Furthermore, the Committee should be given

 the opportunity to investigate the propriety of the Debtor’s transfers of its interests in the

 underlying funds to the Insider Parties, including the Insider Interests. Maintaining the status quo

 until the Committee has investigated those transfers is fair and equitable and falls well within this

 Court’s authority under section 105.

        19.     Moreover, the relief sought by the Committee would further the goals of this

 bankruptcy case and would allow the Debtor to fulfill its duties to creditors by maximizing the

 value of the estate. The Debtor contends, and the Committee does not disagree, that the Debtor

 has certain contractual and fiduciary duties to the investors in the funds that it manages. The

 Debtor asserts that those duties compelled the Debtor to file the Distribution Motion. Distribution

 Motion ¶ 7. The Debtor also has duties to its creditors, however, and the Committee, for the

 reasons set forth above, asserts that such duties require the Debtor to avoid making the Proposed

 Insider Distributions at this time. Filing the Distribution Motion should fulfill any duties the

 Debtor may have to the Insider Parties in respect of the Proposed Insider Distributions. An order

 from this Court providing that the Proposed Insider Distributions should be temporarily withheld




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Case 21-03005-sgj Doc 134-7 Filed 12/18/21             Entered 12/18/21 02:10:25         Page 14 of 610

Case 19-34054-sgj11 Doc 487 Filed 03/02/20             Entered 03/02/20 12:10:30        Page 13 of 14



 and segregated fully addresses any conflict of duties the Debtor otherwise may have, and would

 allow the Debtor to more effectively carry out its duty to maximize the value of the estate.

        20.     Accordingly, the Committee believes that the Court should order the Debtor to

 withhold and segregate the Proposed Insider Distributions until (i) the Insider Parties repay the

 Notes that are currently due and payable and (ii) the Committee has an opportunity to fully

 investigate estate causes of action against such Insider Parties. The Committee does not propose

 that the Debtor effectuate a setoff or take possession of the Proposed Insider Distributions; rather

 the Committee requests that the Court order the Debtor to segregate and hold the Proposed Insider

 Distributions in reserve for a limited period of time in order to avoid the significant prejudice to

 the estate in allowing cash distributions to be paid to Insider Parties and beneficiaries that owe the

 Debtor money, and then forcing the estate to spend resources recovering assets from these parties.

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                                                                                           Appx. 04139
Case 21-03005-sgj Doc 134-7 Filed 12/18/21           Entered 12/18/21 02:10:25    Page 15 of 610

Case 19-34054-sgj11 Doc 487 Filed 03/02/20           Entered 03/02/20 12:10:30   Page 14 of 14



        WHEREFORE, the Committee respectfully requests that the Court deny the Distribution

 Motion and direct the Debtor to hold the Proposed Insider Distributions in segregated interest

 bearing accounts pending further order of the Court.


  Dated: March 2, 2020                      SIDLEY AUSTIN LLP
         Dallas, Texas                      /s/ Juliana Hoffman
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                                            Paige Holden Montgomery
                                            Juliana L. Hoffman
                                            2021 McKinney Avenue
                                            Suite 2000
                                            Dallas, Texas 74201
                                            Telephone: (214) 981-3300
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                                                     -and-

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                                                                                    Appx. 04140
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 16 of 610




                             EXHIBIT 203




                                                                          Appx. 04141
Case 21-03005-sgj Doc 134-7 Filed 12/18/21                     Entered 12/18/21 02:10:25             Page 17 of 610

Case 19-34054-sgj11 Doc 489 Filed 03/02/20                   Entered 03/02/20Docket
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                                                                                           Date Filed:




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COUNSEL FOR ACIS CAPITAL MANAGEMENT,
L.P AND ACIS CAPITAL MANAGEMENT GP,
LLC

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

IN RE:                                                   §
                                                         §             CASE NO. 19-34054
HIGHLAND CAPITAL MANAGEMENT,                             §
L.P.,                                                    §
                                                         §
                 DEBTOR.                                 §             Chapter 11

      JOINDER OF ACIS CAPITAL MANAGEMENT, L.P. AND ACIS CAPITAL
     MANAGEMENT GP, LLC TO THE COMMITTEE'S OBJECTION TO THE
    MOTION OF THE DEBTOR FOR ENTRY OF AN ORDER AUTHORIZING, BUT
    NOT DIRECTING, THE DEBTOR TO CAUSE DISTRIBUTIONS TO CERTAIN
            "RELATED ENTITIES," AND COMMENT TO THE SAME

        Acis Capital Management, L.P. ("Acis LP") and Acis Capital Management GP, LLC

("Acis GP," together with Acis LP, "Acis") file this joinder (this "Joinder") to the Committee's

objection (the "Objection") to the Motion of the Debtor for an Order Authorizing, but not

Directing, the Debtor to Cause Distributions to Certain "Related Entities" [Docket No. 474] (the

"Distribution Motion") and comment to the Distribution Motion, and respectfully state as

follows:1


1
 Any capitalized term not otherwise defined in this Joinder shall have the meaning ascribed to such term in the
Objection.
JOINDER OF ACIS CAPITAL MANAGEMENT, L.P. AND ACIS CAPITAL MANAGEMENT GP, LLC
TO THE COMMITTEE'S OBJECTION TO THE MOTION TO THE DEBTOR FOR ENTRY OF AN

CERTAIN "RELATED ENTITIES," AND COMMENT TO THE SAME                     ¨1¤}HV4#"
ORDER AUTHORIZING, BUT NOT DIRECTING, THE DEBTOR TO CAUSE DISTRIBUTIONS TO
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Case 21-03005-sgj Doc 134-7 Filed 12/18/21               Entered 12/18/21 02:10:25          Page 18 of 610

  Case 19-34054-sgj11 Doc 489 Filed 03/02/20             Entered 03/02/20 12:19:12         Page 2 of 9



                                         I.   INTRODUCTION

         1.      Acis wants the Court to know the whole story. After the Debtor filed for

  bankruptcy—and after the Debtor filed its initial motion to approve protocols for certain

  "ordinary course" transactions—James Dondero purportedly entered into a rogue oral trade of

  $123.25 million in thinly-traded stock of MGM, a private company of which Dondero is on the

  board of directors, and thus privy to unique information. Upon information and belief, Dondero

  did so unbeknownst to Debtor’s bankruptcy counsel or the newly-installed chief restructuring

  officer and his staff; however, there is a question whether Debtor's in-house legal team was

  aware of Dondero's actions. Like so many prior transactions, Dondero was on both sides of the

  deal. To make things worse, after the purported oral trade, MGM's stock price appreciated

  significantly in value. Moreover, other Dondero-controlled entities have not sold their pro-rata

  positions in MGM, calling into question why doing so for this Debtor-controlled fund was in the

  various stakeholders’ best interests, and consequently in the estate's best interests.

         2.      While the Committee did not ultimately object to the underlying transaction, Acis

  objected in the strongest terms. This was not an "ordinary course" transaction, and much is to be

  learned about the circumstances surrounding Dondero's purported $123.25 million oral trade.

  Even if the trade really happened and was proper, it does not reflect sound business judgment for

  the Debtor to allow millions of dollars go out the door to insiders when those same insiders will

  likely owe much, much more to the estate. Rather than authorizing the Debtor to reward

  Dondero and other insiders for his misfeasance, the Court should sustain the Committee's

  Objection.




  JOINDER OF ACIS CAPITAL MANAGEMENT, L.P. AND ACIS CAPITAL MANAGEMENT GP, LLC
  TO THE COMMITTEE'S OBJECTION TO THE MOTION TO THE DEBTOR FOR ENTRY OF AN
  ORDER AUTHORIZING, BUT NOT DIRECTING, THE DEBTOR TO CAUSE DISTRIBUTIONS TO
  CERTAIN "RELATED ENTITIES," AND COMMENT TO THE SAME                 Page 2 of 9

                                                                                             Appx. 04143
Case 21-03005-sgj Doc 134-7 Filed 12/18/21                       Entered 12/18/21 02:10:25                Page 19 of 610

  Case 19-34054-sgj11 Doc 489 Filed 03/02/20                     Entered 03/02/20 12:19:12               Page 3 of 9



                                            II.    RELEVANT FACTS

           3.       On October 16, 2019, the Debtor filed the above-captioned bankruptcy case (this

  "Bankruptcy Case").

           4.       On October 24, 2019, the Debtor filed its Precautionary Motion of the Debtor for

  Order Approving Protocols for the Debtor to Implement Certain Transactions in the Ordinary

  Course of Business [Docket No. 76] (the "Initial Protocols Motion"), whereby the Debtor

  requested that the Court approve certain protocols with respect to "ordinary course" services and

  intercompany transactions.

           5.       Also on October 24, 2019, the U.S. Trustee appointed the Committee, of which

  Acis is a member. See Docket No. 64.

           6.       In November 2019, as described in the Distribution Motion, prior to the

  appointment of the Independent Board, "the Debtor requested the Committee's authorization to

  proceed first with the larger transactions and then solely the MGM Sale, but the Committee

  rejected both of these transactions." Distribution Motion ¶ 30.

           7.       Sometime in late November 2019, after the Committee rejected the proposed

  MGM Sale, and without approval of the Debtor's counsel or financial advisors (or their

  knowledge), Dondero purportedly orally entered into the clandestine, rogue trade of 1.7 million

  shares of MGM stock for $123.25 million, or for $72.50 per share. See id. ¶ 29. While Dondero

  was still controlling the Debtor, he was also on the board of directors of MGM. Upon

  information and belief, Dondero engaged in this purported trade just after MGM reported

  earnings, and most likely before the market absorbed the reported earnings.2 These



  2
    Also disturbing, just prior to the purported trade, the Debtor's CRO, Bradley Sharp, was deposed and testified that,
  under his engagement letter, Dondero was required to obtain his approval for such related-party transactions.
  JOINDER OF ACIS CAPITAL MANAGEMENT, L.P. AND ACIS CAPITAL MANAGEMENT GP, LLC
  TO THE COMMITTEE'S OBJECTION TO THE MOTION TO THE DEBTOR FOR ENTRY OF AN
  ORDER AUTHORIZING, BUT NOT DIRECTING, THE DEBTOR TO CAUSE DISTRIBUTIONS TO
  CERTAIN "RELATED ENTITIES," AND COMMENT TO THE SAME                 Page 3 of 9

                                                                                                            Appx. 04144
Case 21-03005-sgj Doc 134-7 Filed 12/18/21               Entered 12/18/21 02:10:25          Page 20 of 610

  Case 19-34054-sgj11 Doc 489 Filed 03/02/20              Entered 03/02/20 12:19:12        Page 4 of 9



  circumstances reflect the continuation of Dondero's pattern of flouting his duties in connection

  with the Debtor or this Bankruptcy Case.

         8.        As explained by the Committee in its Objection, the Independent Board,

  Debtor's counsel, and the Debtor's CRO and financial advisors were not made aware of the

  MGM Sale until over two months after Dondero purportedly committed to the transaction on

  behalf of the Debtor. Likewise, the MGM Sale was not disclosed to the Committee until

  February 7, 2020. Id.

         9.      On January 14, 2020, the Debtor filed its Notice of Final Term Sheet [Docket No.

  354] (the "Term Sheet"), which set out proposed terms of a settlement between the Debtor and

  the Committee related to the Debtor's corporate governance and operating protocols. The next

  day, on January 15, 2020, the Debtor withdrew the Initial Protocols Motion. See Docket No. 360.

         10.     On February 21, 2020, the Debtor filed its Notice of Debtor's Amended Operating

  Protocols [Docket No. 466] (the "Protocols"). Under the Protocols (amended slightly from the

  Term Sheet), the operating requirements for "Ordinary Course Transactions" (which do not

  require Court approval) differ significantly from "Related Entity Transactions," which likely do

  require Court approval if the Committee objects. See Protocols Ex. A at 2-6.              Under the

  Protocols, MGM Holdings, Inc. is specifically defined as a "Related Entity." Id. at 1.

                                 III.    JOINDER AND COMMENT

          11.    Acis expressly joins the Committee's Objection and hereby incorporates the

   Objection as if set forth in full and for all purposes herein.




  JOINDER OF ACIS CAPITAL MANAGEMENT, L.P. AND ACIS CAPITAL MANAGEMENT GP, LLC
  TO THE COMMITTEE'S OBJECTION TO THE MOTION TO THE DEBTOR FOR ENTRY OF AN
  ORDER AUTHORIZING, BUT NOT DIRECTING, THE DEBTOR TO CAUSE DISTRIBUTIONS TO
  CERTAIN "RELATED ENTITIES," AND COMMENT TO THE SAME                 Page 4 of 9

                                                                                             Appx. 04145
Case 21-03005-sgj Doc 134-7 Filed 12/18/21            Entered 12/18/21 02:10:25          Page 21 of 610

  Case 19-34054-sgj11 Doc 489 Filed 03/02/20           Entered 03/02/20 12:19:12       Page 5 of 9



  A.     The Court should not allow Dondero and other Insider Parties to benefit from the
         rogue MGM Sale by allowing the Debtor to make the Proposed Insider
         Distributions.

          12.    The MGM Sale is just a continuation of Dondero's self-dealing—even during this

   Bankruptcy Case—to enrich himself (or other entities he controls), at the expense of the estate.

   Now the Debtor seeks "authority" to approve Dondero's misfeasance. At a minimum, it is only

   proper for this Court to sustain the Committee's Objection and prevent distribution of any of the

   Proposed Insider Distributions.

          13.    The MGM Sale continues a familiar pattern.         Like many prior transactions,

   Dondero was on both sides of the MGM Sale. While acting as a director on MGM's board, he

   was also acting on behalf of the Debtor. Further, even though this transaction required CRO

   oversight under the proposed protocols (which were contemplated at the time of or soon after

   the bankruptcy filing), Dondero engaged in the purported rogue MGM Sale without knowledge

   of the Debtor's counsel or the CRO.

          14.    Since Dondero entered into this clandestine, rogue trade at $72.50 a share, on

   information and belief, MGM shares have recently traded in the $90s. Moreover, other

   Dondero-controlled entities have not sold their pro-rata positions in MGM, which calls into

   question whether this transaction was in the best interest of the Debtor and the various

   stakeholders in this Debtor-controlled fund.

          15.    After the Committee learned of the transaction, Acis strenuously objected to its

   approval. The Committee nevertheless voted to approve it.          Still, by its Objection, the

   Committee requests that the Court direct the Debtor to withhold any Proposed Insider

   Distributions until the Insider Parties repay Notes that are currently due and payable to the




  JOINDER OF ACIS CAPITAL MANAGEMENT, L.P. AND ACIS CAPITAL MANAGEMENT GP, LLC
  TO THE COMMITTEE'S OBJECTION TO THE MOTION TO THE DEBTOR FOR ENTRY OF AN
  ORDER AUTHORIZING, BUT NOT DIRECTING, THE DEBTOR TO CAUSE DISTRIBUTIONS TO
  CERTAIN "RELATED ENTITIES," AND COMMENT TO THE SAME                 Page 5 of 9

                                                                                          Appx. 04146
Case 21-03005-sgj Doc 134-7 Filed 12/18/21              Entered 12/18/21 02:10:25          Page 22 of 610

  Case 19-34054-sgj11 Doc 489 Filed 03/02/20            Entered 03/02/20 12:19:12        Page 6 of 9



   Debtor and the Committee can fully investigate causes of action against the Insider Parties.

   Acis joins in this request.

  B.     The MGM Sale was not in the ordinary course and distributing its proceeds to the
         Insider Parties is not in the Debtors' sound business judgment.

          16.    The Debtor first asserts that the Distributions, including those from the MGM

   Sale, are in the ordinary course pursuant to section 363(c)(1) of the Bankruptcy Code. The

   Protocols themselves belie this assertion. The Protocols specifically carve out "Related Entity"

   Transactions," such as the MGM Sale, from "Ordinary Course Transactions," which do not

   require Court approval. Now arguing that these Related Entity Transactions should simply be

   rubber stamped because they are ordinary course under section 363(c) defeats the purpose of

   Court approval and undermines the Protocols.

          17.    Alternatively, the Debtor argues that if the Distributions are not ordinary course,

   they are within the exercise of the Debtor's sound business judgment, and therefore allowed

   under section 363(b)(1) of the Bankruptcy Code. See Distribution Motion ¶ 56-57.

          18.    When exercising its business judgment pursuant to section 363(b), the trustee or

   debtor in possession has a duty to maximize value for the estate and its creditors.            See

   Gluckstadt Holdings, L.L.C. v. VCR I, L.L.C. (In re VCR I, L.L.C.), 922 F.3d 323, 326-27 (5th

   Cir. 2019) (noting that, under section 363(b), a "'trustee as a duty to maximize the value of the

   estate'") (quoting Cadle Co. v. Mims (In re Moore), 608 F.3d 253, 263 (5th Cir. 2010));

   ASARCO, Inc. v. Elliott Mgmt. (In re ASARCO, L.L.C.), 650 F.3d 593, 601 (5th Cir. 2011)

   (affirming the bankruptcy court's finding that the "proposed reimbursement of expenses was

   designed to maximize the value of [the] estate, and was fair, reasonable, and appropriate").

          19.    Accordingly, when the Debtor uses property of the estate, which here are the

   Debtor's contract rights in connection with making the Distributions, outside of the ordinary
  JOINDER OF ACIS CAPITAL MANAGEMENT, L.P. AND ACIS CAPITAL MANAGEMENT GP, LLC
  TO THE COMMITTEE'S OBJECTION TO THE MOTION TO THE DEBTOR FOR ENTRY OF AN
  ORDER AUTHORIZING, BUT NOT DIRECTING, THE DEBTOR TO CAUSE DISTRIBUTIONS TO
  CERTAIN "RELATED ENTITIES," AND COMMENT TO THE SAME                 Page 6 of 9

                                                                                            Appx. 04147
Case 21-03005-sgj Doc 134-7 Filed 12/18/21              Entered 12/18/21 02:10:25          Page 23 of 610

  Case 19-34054-sgj11 Doc 489 Filed 03/02/20             Entered 03/02/20 12:19:12        Page 7 of 9



   course, the Debtor has a duty maximize value for the estate. As expressed by the Committee in

   its Objection, it does not reflect sound business judgment for the Debtor to pay millions of

   dollars in cash distributions to insiders when those same insiders likely owe much more to the

   estate.

             20.    As a court of equity, and pursuant to sections 105 and 363 of the Bankruptcy

   Code, at a minimum this Court should prevent the Debtor from making any Proposed Insider

   Distributions, as set forth in the Objection, until the Committee has the opportunity to fully

   investigate estate causes of action against Dondero and other Insider Parties.

                                            IV.    PRAYER

             Acis respectfully requests that this Court sustain the Committee's Objection and grant

  Acis such other and further relief to which it may show itself to be justly entitled.

  DATED: March 2, 2020.




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  JOINDER OF ACIS CAPITAL MANAGEMENT, L.P. AND ACIS CAPITAL MANAGEMENT GP, LLC
  TO THE COMMITTEE'S OBJECTION TO THE MOTION TO THE DEBTOR FOR ENTRY OF AN
  ORDER AUTHORIZING, BUT NOT DIRECTING, THE DEBTOR TO CAUSE DISTRIBUTIONS TO
  CERTAIN "RELATED ENTITIES," AND COMMENT TO THE SAME                 Page 7 of 9

                                                                                            Appx. 04148
Case 21-03005-sgj Doc 134-7 Filed 12/18/21     Entered 12/18/21 02:10:25       Page 24 of 610

  Case 19-34054-sgj11 Doc 489 Filed 03/02/20   Entered 03/02/20 12:19:12       Page 8 of 9



                                               Respectfully submitted,



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  JOINDER OF ACIS CAPITAL MANAGEMENT, L.P. AND ACIS CAPITAL MANAGEMENT GP, LLC
  TO THE COMMITTEE'S OBJECTION TO THE MOTION TO THE DEBTOR FOR ENTRY OF AN
  ORDER AUTHORIZING, BUT NOT DIRECTING, THE DEBTOR TO CAUSE DISTRIBUTIONS TO
  CERTAIN "RELATED ENTITIES," AND COMMENT TO THE SAME                 Page 8 of 9

                                                                                 Appx. 04149
Case 21-03005-sgj Doc 134-7 Filed 12/18/21              Entered 12/18/21 02:10:25          Page 25 of 610

  Case 19-34054-sgj11 Doc 489 Filed 03/02/20            Entered 03/02/20 12:19:12         Page 9 of 9



                                   CERTIFICATE OF SERVICE

         I hereby certify that on March 2, 2020, notice of this document will be electronically
  mailed to the parties that are registered or otherwise entitled to receive electronic notices in this
  case pursuant to the Electronic Filing Procedures in this District.



                                                        /s/ Rakhee V. Patel
                                                        One of Counsel




  JOINDER OF ACIS CAPITAL MANAGEMENT, L.P. AND ACIS CAPITAL MANAGEMENT GP, LLC
  TO THE COMMITTEE'S OBJECTION TO THE MOTION TO THE DEBTOR FOR ENTRY OF AN
  ORDER AUTHORIZING, BUT NOT DIRECTING, THE DEBTOR TO CAUSE DISTRIBUTIONS TO
  CERTAIN "RELATED ENTITIES," AND COMMENT TO THE SAME                 Page 9 of 9
  4846-1397-8038v.2
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Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 26 of 610




                             EXHIBIT 204




                                                                          Appx. 04151
Case 21-03005-sgj Doc 134-7 Filed 12/18/21                        Entered 12/18/21 02:10:25                Page 27 of 610

Case 19-34054-sgj11 Doc 499 Filed 03/04/20                     Entered 03/04/20 06:33:33
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Counsel for the Debtor and Debtor-in-Possession

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                   §
    In re:                                                         § Chapter 11
                                                                   §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,1                            § Case No. 19-34054-sgj11
                                                                   §
                                     Debtor.                       §

    DEBTOR’S REPLY IN SUPPORT OF MOTION OF THE DEBTOR FOR ENTRY OF
     AN ORDER AUTHORIZING, BUT NOT DIRECTING, THE DEBTOR TO CAUSE
                        DISTRIBUTIONS TO CERTAIN
                           “RELATED ENTITIES”




1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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Case 21-03005-sgj Doc 134-7 Filed 12/18/21                    Entered 12/18/21 02:10:25               Page 28 of 610

 Case 19-34054-sgj11 Doc 499 Filed 03/04/20                   Entered 03/04/20 06:33:33             Page 2 of 10



                  The above-captioned debtor and debtor-in-possession (the “Debtor”) files this reply

 (the “Reply”) in support of the Motion of the Debtor for Entry of an Order Authorizing but Not

 Directing the Debtor to Cause Distributions to Certain “Related Entities” [Docket No. 474] (the

 “Motion”).2

                  In further support of the Motion, the Debtor respectfully states as follows:

                                            Preliminary Statement

                  1.         In the Motion, the Debtor disclosed that certain “Related Entities” (the

 “Related Entity Investors”) had invested in three funds – Dynamic, AROF, and RCP (collectively,

 the “Funds”) – and that the Debtor was seeking authority from this Court to distribute funds owned

 by the Funds – not the Debtor – to the Related Entity Investors that they are contractually entitled

 to receive under the Funds’ governing documents. The Committee objected to the relief sought in

 the Motion,3 and Acis Capital Management, L.P., and Acis Capital Management GP, LLC

 (collectively, “Acis,” and together with the Committee, the “Objecting Parties”) filed a joinder to

 the Committee Objection.4 In their objections, the Objecting Parties – citing only to Section 105(a)

 of the Bankruptcy Code as authority – requested that this Court order the Debtor to “withhold and

 segregate” the proceeds due to the Related Entity Investors. (Committee Objection, § 20.) That

 relief amounts to a request for a preliminary injunction and a prejudgment attachment without

 filing any underlying action or otherwise complying with the procedural and substantive

 requirements to obtain a prejudgment attachment under applicable law. As set forth below, the



 2
   All capitalized terms used but not defined herein shall have the meanings given to them in the Motion.
 3
   Objection of the Official Committee of Unsecured Creditors to the Motion of the Debtor for Entry of an Order
 Authorizing, but Not Directing, the Debtor to Cause Distributions to Certain “Related Entities.” [Docket No. 487]
 (the “Committee Objection”).
 4
   Joinder of Acis Capital Management, L.P., and Acis Capital Management GP, LLC to the Committee’s Objection to
 the Motion of the Debtor for Entry of an Order Authorizing, but Not Directing, the Debtor to Cause Distributions to
 Certain “Related Entities,” and Comment to the Same [Docket No. 489] (the “Joinder”).

                                                         2
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Case 21-03005-sgj Doc 134-7 Filed 12/18/21                 Entered 12/18/21 02:10:25         Page 29 of 610

 Case 19-34054-sgj11 Doc 499 Filed 03/04/20               Entered 03/04/20 06:33:33        Page 3 of 10



 existence of potential claims against the Related Parties are not, in and of themselves, sufficient to

 justify such extraordinary relief.

                  2.         As the Debtor disclosed in the Motion it, or in the case of AROF, one of its

 subsidiaries manage the Funds and that the Debtor’s Independent Board (after consultation with

 outside counsel) believes that, as a registered investment adviser, the Debtor has certain duties to

 the funds that it manages, including the Funds. Those duties exist regardless of whether the

 investors in those funds are Related Entities or otherwise and are based on contract and on the laws

 of the United States, Delaware, and the Cayman Islands. Importantly, applicable law prohibits the

 Debtor from asserting its own interest ahead of those of investors. In the Motion, the Debtor

 further disclosed that it did not have the contractual or legal authority to withhold or cause the

 Funds to withhold distributions from the Related Entity Investors or to treat the Related Entity

 Investors differently than non-Related Entity Investors.

                  3.         Because of those duties – duties which both the Debtor and the Independent

 Board take seriously – the Debtor sought the relief requested in the Motion. Although the

 Committee and Acis objected to that relief, notably, neither the Committee nor Acis have alleged

 that any of the Debtor, the Funds, or any other entity can without violating their contractual and

 fiduciary obligations elect not to distribute to the Related Entity Investors their allocable portion

 of the distributions being made to the investors in the Funds. Nor has any party alleged that any

 of the Funds’ assets are property of the Debtor’s estate or that any of the Funds have claims against

 their Related Entity Investors. Instead, the Objecting Parties have asked this Court to use its

 equitable powers under Section 105(a) of the Bankruptcy Code to cause the Debtor to withhold

 distributions to the Related Entity Investors because of certain alleged bad acts and potential claims

 that may exist against those Related Entities.



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                                                                                              Appx. 04154
Case 21-03005-sgj Doc 134-7 Filed 12/18/21                 Entered 12/18/21 02:10:25       Page 30 of 610

Case 19-34054-sgj11 Doc 499 Filed 03/04/20               Entered 03/04/20 06:33:33       Page 4 of 10



                  4.         The Independent Board respects the Committee’s intention to investigate

 claims against the Related Entity Investors and insiders as contemplated by the Term Sheet,

 approved by this Court on January 9, 2020, which led to the installation of the Independent Board.

 The Independent Board intends to cooperate with the Committee in its efforts. At the same time,

 the Independent Board was installed to revamp the Debtor’s prior culture, including to ensure

 obligations to the investors in the funds managed by the Debtor are being appropriately honored.

 The Independent Board believes this is essential to rebuilding the Debtor’s reputation in the

 marketplace and the investor community, and to prospectively protect the Debtor from liability.

 However, neither Section 105(a) nor any other provision of the Bankruptcy Code allows this Court

 to grant the relief that the Objecting Parties are actually requesting – an injunction and prejudgment

 attachment against third parties not currently before the Court.

                                                   Reply

                  5.         The Debtor, or with respect to AROF, its subsidiary, is the investment

 adviser to each of the Funds. As the investment adviser, the Debtor has contractual discretion over

 the selection and disposition of the Funds’ investments, but does not serve in a governance role.

 Rather, the governing body of each Fund is either a board of directors or a general partner. And

 the terms of each of the Funds is governed by its applicable governing documents, which each

 investor was furnished and relied upon when subscribing for an interest in the Fund. The Dynamic

 Fund Documents govern Dynamic; the AROF Fund Documents govern AROF; and the RCP Fund

 Documents govern RCP (the Dynamic Fund Documents, the AROF Fund Documents, and the

 RCP Fund Documents, collectively, the “Fund Documents”). Each of the Fund Documents is in

 turn governed, as applicable, by U.S. and Delaware or Cayman law.




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 DOCS_NY:40258.9 36027/002

                                                                                            Appx. 04155
Case 21-03005-sgj Doc 134-7 Filed 12/18/21                        Entered 12/18/21 02:10:25                Page 31 of 610

Case 19-34054-sgj11 Doc 499 Filed 03/04/20                       Entered 03/04/20 06:33:33               Page 5 of 10



                   6.        As discussed at length in the Motion, each of the Funds is its own separate

 legal entity which owns its own assets, and none of the Fund Documents allow the Debtor to treat

 the Related Entity Investors – regardless of who such investors happen to be or by whom they are

 owned – differently than non-Related Entity Investors. (Motion, ¶¶ 42-47.) Importantly, neither

 the Committee nor Acis has stated or alleged that: (a) any of the Funds is a debtor in the

 Bankruptcy Case or subject to this Court’s jurisdiction; (b) the assets held by the Funds are

 property of the Debtor’s estate; (c) the Debtor does not have contractual and fiduciary obligations

 to the Funds; or (d) any provision in any of the Fund Documents allows the Debtor to treat the

 Related Entity Investors in the Funds differently than the non-Related Entity Investors in the

 manner being requested.

                   7.        Instead, the Objecting Parties rely on alleged bad acts by the Debtor and

 certain of the Debtor’s employees and principals5 and the Committee’s potential, but inchoate,

 causes of action against such parties to seek what amounts to an injunction from this Court under

 Section 105(a) and a prejudgment attachment against the proceeds that the Related Entity Investors

 in the Funds are contractually entitled to receive – not from the Debtor – but from the Funds.

 However, those alleged bad acts – regardless of whether they occurred pre- or postpetition – and



 5
   The Debtor does not believe that the provenance of the $123.25 million in proceeds from the MGM Sale or Mr.
 Dondero’s role in the MGM Sale is relevant to the Motion. What the Debtor does believe is relevant is that (a) RCP
 is currently in liquidation and is required to liquidate its assets in an orderly manner and (b) RCP’s investors, such as
 the California Public Employees’ Retirement System (“CalPERS”), have requested that the Debtor disburse the
 proceeds of the MGM Sale as quickly as possible in the manner required by the RCP Fund Documents. See, e.g.,
 Response by CalPERS to Motion by the Debtor for Entry of an Order Authorizing, but Not Directing, the Debtor to
 Cause Distributions to Certain “Related Entities” [Docket No. 486].
 Whether or not Mr. Mr. Dondero had the authority to bind RCP to sell the MGM common stock is not relevant to the
 Motion. When the Independent Board and the Debtor’s professionals found out that Mr. Dondero had agreed to the
 MGM Sale, they reviewed the MGM Sale and independently determined that it was in the best interests of the Debtor’s
 estate to close that sale. The Independent Board disclosed their reasoning to the Committee, and the Committee did
 not object to the MGM Sale. (Committee Objection, § 14.) Consequently, the MGM Sale closed on February 24,
 2020. To the extent the Committee seeks to investigate further the circumstances surrounding the MGM Sale, the
 Independent Board will ensure that the Debtor cooperates with such investigation. However, that issue is not relevant
 to the relief the Debtor is seeking here.

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 DOCS_NY:40258.9 36027/002

                                                                                                             Appx. 04156
Case 21-03005-sgj Doc 134-7 Filed 12/18/21                       Entered 12/18/21 02:10:25                 Page 32 of 610

 Case 19-34054-sgj11 Doc 499 Filed 03/04/20                      Entered 03/04/20 06:33:33               Page 6 of 10



 potential causes of action are not the subject of the Motion. And if either the Committee or Acis

 believe that such claims exist, the Committee, at least, has been granted standing to pursue those

 claims (and Acis has shown itself more than capable of standing up for its rights). Further, the

 Committee’s and Acis's request is procedurally and substantively improper. To obtain a pre-

 judgment writ or attachment, they are required to commence an action and seek such remedy in

 accordance with due process and to prove the substantive elements that support such relief. The

 Objecting Parties have done neither.

                   8.        First, assuming, arguendo, that Texas state law applies to the Related Entity

 Investors (although the law of other States and the Cayman Islands may also apply), the burden

 associated with seeking a prejudgment attachment is a significant one, and it is placed on the

 moving party – in this case the Objecting Parties. See S.R.S. World Wheels v. Enlow, 946 S.W.2d

 574, 575 (Tex. Civ. App. - Ft. Worth 1997) (“[a]ttachment is a harsh, oppressive remedy; therefore,

 attachment is not available unless statutory safeguards are strictly observed.”).                            To get a

 prejudgment attachment, the Objecting Parties would first be required to commence an action

 articulating the nature and extent of the claims supporting such attachment. Next, the Committee

 would be required to file and serve a request for a prejudgment attachment with appropriate notice

 to the defendant. Finally, to obtain that relief under Texas law, the Committee would have to

 prove the following elements: (a) defendant is justly indebted to the plaintiff; (b) attachment is

 not sought for purposes of harassment or injury; (c) plaintiff will probably lose his debt if there is

 no attachment; and (d) specific grounds for the attachment exist.6 Tex. Civ. Prac. & Rem. Code.


 6
   Specific grounds for attachment under Texas law exist if: (a) the defendant is not a resident of this state or is a
 foreign corporation or is acting as such; (b) the defendant is about to move from this state permanently and has refused
 to pay or secure the debt due the plaintiff; (c) the defendant is in hiding so that ordinary process of law cannot be
 served on him; (d) the defendant has hidden or is about to hide his property for the purpose of defrauding his creditors;
 (e) the defendant is about to remove his property from this state without leaving an amount sufficient to pay his debts;
 (f) the defendant is about to remove all or part of his property from the county in which the suit is brought with the
 intent to defraud his creditors; (g) the defendant has disposed of or is about to dispose of all or part of his property

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 DOCS_NY:40258.9 36027/002

                                                                                                             Appx. 04157
Case 21-03005-sgj Doc 134-7 Filed 12/18/21                        Entered 12/18/21 02:10:25                 Page 33 of 610

Case 19-34054-sgj11 Doc 499 Filed 03/04/20                        Entered 03/04/20 06:33:33               Page 7 of 10



 § 61.001. Neither Objecting Party has pled any of the foregoing statutory elements let alone carried

 its burden.

                   9.        Second, Section 105(a) of the Bankruptcy Code – which is the only

 provision cited by the Objecting Parties to justify their position – does not allow this Court to grant

 the Objecting Parties’ request. As a general matter, Section 105(a) does not create a “roving

 commission” for a court “to do equity.” See, e.g., United States v. Sutton, 786 F.2d 1305, 1308

 (5th Cir. 1986); see also New England Dairies, Inc. v. Dairy Mart Convenience Stores, Inc. (In re

 Dairy Mart Convenience Stores, Inc.), 351 F.3d 86, 92 (2nd Cir. 2003). Rather, relief under

 Section 105(a) must be tethered to some provision of the Bankruptcy Code. See, e.g., Law v.

 Siegel, 571 U.S. 415, 421 (2014) (“We have long held that ‘whatever equitable powers remain in

 the bankruptcy courts must and can only be exercised within the confines of’ the Bankruptcy

 Code.”) (citing cases); New England Dairies, 351 F.3d at 91-92 (“[S]ection 105(a) [confers] the

 power to exercise equity in carrying out the provisions of the Bankruptcy Code. . . This language

 ‘suggests that an exercise of section 105 power be tied to another Bankruptcy Code section and

 not merely to a general bankruptcy concept or objective.’”) (citations omitted) (emphasis in

 original). Here, the Committee has not cited to any provision under the Bankruptcy Code

 justifying its request besides the general powers available under Section 105(a).

                   10.       Instead, the Committee has requested that this Court cause the “[temporary]

 withholding” of distributions to Related Entity Investors in Dynamic, AROF, and RCP.

 (Committee Objection, ¶¶ 16-20.) As such, the Committee and Acis, through the Joinder, are

 asking this Court for an injunction only under Section 105(a) ordering “the Debtor to withhold and


 with the intent to defraud his creditors; (h) the defendant is about to convert all or part of his property into money for
 the purpose of placing it beyond the reach of his creditors; or (i) the defendant owes the plaintiff for property obtained
 by the defendant under false pretenses. See Tex. Civ. Prac. & Rem. Code. § 61.002. There is no factual record before
 the Court to support any of these required findings.

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 DOCS_NY:40258.9 36027/002

                                                                                                              Appx. 04158
Case 21-03005-sgj Doc 134-7 Filed 12/18/21                       Entered 12/18/21 02:10:25                 Page 34 of 610

Case 19-34054-sgj11 Doc 499 Filed 03/04/20                       Entered 03/04/20 06:33:33              Page 8 of 10



 segregate the Proposed Insider Distributions.” (Id., ¶ 20.) However, because the Related Entity

 Investors in the Funds have a contractual right to their distributions from the Funds – not from the

 Debtor – any order from this Court enjoining the “Proposed Insider Distributions” would also, by

 necessity, be an order from this Court enjoining such Related Entity Investors from asserting their

 contractual rights against the Funds and enjoining the Funds from making distributions to the

 Related Entity Investors.7 Such injunction would therefore be an order enjoining third party action

 and require the Committee to satisfy the standards for a preliminary injunction. Feld v. Zale Corp.

 (in Re Zale Corp.), 62 F.3d 746, 765 (5th Cir. 1995) (citing In re Eagle-Picher Industries, Inc.,

 963 F.2d 855, 858 (6th Cir. 1992) (“When issuing a preliminary injunction pursuant to its powers

 set forth in section 105(a), a bankruptcy court must consider the traditional factors governing

 preliminary injunctions issued pursuant to Federal Rule of Civil Procedure 65.”).

                   11.       Here, however, the Objecting Parties have not followed the procedural or

 substantive requirements to obtain a pre-judgment remedy: a proper complaint providing the

 Related Parties with the opportunity to respond as well as a separate application for prejudgment

 attachment is required. Only then would the Court be in a position to evaluate whether the

 Committee can establish: (a) substantial likelihood of success on the merits; (b) substantial threat

 of irreparable injury; (c) the threatened injury outweighs the harm of the injunction; and (d) the

 injunction will not disserve the public interest. Id. The Committee has not carried its burden.

 Section 105(a) does not allow the Objecting Parties to bootstrap their objections into a prejudgment


 7
   CLOH is invested in the AROF Cayman feeder fund. The AROF Cayman feeder fund is managed by an independent
 board of Cayman-based directors. The Debtor, as a matter of Cayman law, has no ability to compel those independent
 directors to “withhold and segregate the Proposed Insider Distributions,” and while the Cayman directors may have
 some ability to treat certain investors differently than others, the Debtor has no right to direct the Cayman directors.
 Consequently, any order from this Court seeking to require the Debtor to withhold distributions made to CLOH by
 the AROF Cayman feeder fund will be an order with which the Debtor simply cannot comply. As such, any order
 enjoining payments on account of CLOH’s interest in the AROF Cayman feeder fund will need to be an order
 compelling the Cayman directors to take or not to take action; however, for such an order to be binding in the Cayman
 Islands, it must first be recognized by a Cayman court of competent jurisdiction.

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 DOCS_NY:40258.9 36027/002

                                                                                                            Appx. 04159
Case 21-03005-sgj Doc 134-7 Filed 12/18/21                       Entered 12/18/21 02:10:25                 Page 35 of 610

 Case 19-34054-sgj11 Doc 499 Filed 03/04/20                      Entered 03/04/20 06:33:33               Page 9 of 10



 attachment against assets that are not property of the Debtor’s estate and that contractually are

 owed to parties not currently before this Court, i.e., Mr. Okada, CLOH, and HCM Services. If the

 Objecting Parties desire such relief, they should bring a procedurally appropriate motion instead

 of seeking an ex parte injunction and prejudgment attachment.8

                   12.       In sum, it is uncontroverted that (a) the Funds are not debtors in this

 Bankruptcy Case; (b) the Funds’ assets are not property of the Debtor; (c) the Fund Documents do

 not allow the Debtor to cause the Funds to not make certain distributions that they would otherwise

 be required to make to their Related Entity Investors; and (d) there are no provisions in the Fund

 Documents – or applicable law – that would allow the Debtor to do what the Objecting Parties are

 demanding. It is also uncontroverted that the Independent Board determined that (i), after seeking

 advice from U.S. and Cayman-based fund and regulatory counsel, as the parties in control of a

 registered investment advisor, they have obligations to the Debtor’s managed funds and, by

 extension, the investors in such funds and (ii) those obligations required the Independent Board to

 file and prosecute the Motion.

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 8
   The Committee cannot argue it was unaware of the procedural deficiencies in the Committee Objection as one of the
 cases cited by the Committee – In re DeLorean Motors Co. – lays out the appropriate way to use Section 105(a). 755
 F.2.d 1223 (6th Cir. 1985). In DeLorean, the unsecured creditors committee (and later the trustee) believed certain
 assets were property of the debtor’s estate. To secure those assets, the committee filed an adversary proceeding
 seeking a declaration that the assets were estate property and could not be removed from the estate. In reviewing the
 case, the Sixth Circuit first noted that committee was not seeking an attachment. “The preliminary injunction in the
 present case is similarly not for the purpose of securing satisfaction of the judgment ultimately to be entered in the
 action. The trustee does not seek to attach. . . assets in order to satisfy a possible damage award. The relief sought is
 merely a declaration that the assets are a part of the bankruptcy estate.”). DeLorean, 755 F.3d at 1227. Because the
 moving party was not seeking attachment, but rather a preliminary injunction, the Sixth Circuit found that Rule 64 of
 the Federal Rules of Civil Procedure did not apply but that to get an injunction that the moving party had to satisfy
 Rule 65 and its traditional four part test. Id.
 Consequently, DeLorean highlights the appropriate way to use Section 105(a). Section 105(a) is to be paired with
 another section of the Bankruptcy Code (in DeLorean, Section 541), and if an injunction and attachment is sought, (a)
 an adversary proceeding should be filed, (b) the appropriate parties noticed, and (c) the requirements of Rules 64 and
 65 of the Federal Rules of Civil Procedure satisfied. The Committee, however, has failed to abide by any of the
 procedural or statutory requirements laid out in DeLorean.

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 DOCS_NY:40258.9 36027/002

                                                                                                             Appx. 04160
Case 21-03005-sgj Doc 134-7 Filed 12/18/21             Entered 12/18/21 02:10:25         Page 36 of 610

Case 19-34054-sgj11 Doc 499 Filed 03/04/20             Entered 03/04/20 06:33:33       Page 10 of 10



                   WHEREFORE, for the reasons set forth above and in the Motion, the Committee

  Objection and the Acis Objection should be overruled in all respects and the relief requested in the

  Motion should be granted.

   Dated: March 4, 2020                      PACHULSKI STANG ZIEHL & JONES LLP
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                                             Debtor-in-Possession




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  DOCS_NY:40258.9 36027/002

                                                                                           Appx. 04161
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 37 of 610




                             EXHIBIT 205




                                                                          Appx. 04162
Case 21-03005-sgj Doc 134-7 Filed 12/18/21              Entered 12/18/21 02:10:25           Page 38 of 610

     Case21-03005-sgj
     Case 21-03010-sgjDoc
          21-03010-sgj Doc86-2
                          4-3 Filed
                          10-4 Filed02/17/21
                                     02/18/21 Entered
                                     10/29/21 Entered02/17/21
                                                      02/18/2108:45:45
                                                      10/29/21 13:50:54 Page
                                                               17:22:38 Page21
                                                                             2of
                                                                               of20
                                                                                  20
                                                                                  19




                 AMENDED AND RESTATED SHARED SERVICES AGREEMENT

             This Amended and Restated Shared Services Agteement (as amended, modified, waived,
     su:pplemei1ted or restated from time to tiine in accordance wlth the tetms hereof, this
     '·Agreement"), dated effective as of January 1, 2018, is entered into by and between NexPoint
     Advisors; LP ., a Delaware Hniited partnership, as. the management company· hereunder (in such
     capacity, the ''Management Company''); and Highland Capital Managemertt1 L.P., a Delaware
     limited partnership ("Highland"), ~s the staff mid .services provider hereunder (in such capacity,
     the "Staffand Services Provider" and together With.the Management Company,the "Parties"). ·



            WHEREAS, tl1e Staff anci Servic.es Provider is a registered investment adviser under the
     Tnvestnient Advisers Act of 1940, as atnended (the "Advisers Act");

             WHEREAS,the :S taffandServices Provider and the Management Company are engaged
     in the business of providing investment management services;          ·            ·

             WHEREAS, the Parties e11tered into that certain Shared Services Agreement, dated
     effective as of Januaty l, 2013 (the "Original Agreem:ent");

             WHEREAS, the Parties desire to amend and restated the Original Agreement and the Staff
     andServices Provider is hereby being reta~nedto provide certain back., and middle-office services
     and ad1nirtistrative, infrastructure and other Services to assist the Management Comparty in
     conducting its business, and the Staff and Services Provider is willing to make such ~ervices
     available to the Management Company, in each case, on the te1ms and conditions hereof;

             WHEREAS, the Management Company may employ certain individuals to perform
     portfolio selection and asset rnariagement functions for the Management Company, and certam     of
     these individuals may also be employed simultaneously by the Staff a:nd Services Provider <luting
     their employment with the Management Company; and

              WHEREAS, each Person employed by both the Management Company and the Staff and
     Services Provider as described above (each, a"Shared Employee';). ifany; is and shall be identified
     on. the books and reQords gf each c,f the Management Company and the 'Staff and Services Provider
     (as amended, modified, supplemented or restated from time to time).

            NOW, THEREFORE, for good and valua:b1e consideration, the receipt and sufficiency of
     which is hereby acknowledged, the Parties hereby agree, and the Original Agreement is hei·eby
     amended" restated and replaced in its entfrety as follows.

                                               ARTICLE I

                                              DEFINITIONS

             Sectlonl.01 Certain Defined Terms; As 11sed in this Agreement, the following tenns
     shall have the following meanings:




                                                                                              Exhibit A
                                                                                              Appx. 04163
Case 21-03005-sgj Doc 134-7 Filed 12/18/21                   Entered 12/18/21 02:10:25            Page 39 of 610

     Case21-03005-sgj
     Case 21-03010-sgjDoc
          21-03010-sgj Doc86-2
                          4-3 Filed
                          10-4 Filed02/17/21
                                     02/18/21 Entered
                                     10/29/21 Entered02/17/21
                                                      02/18/2108:45:45
                                                      10/29/21 13:50:54 Page
                                                               17:22:38 Page32
                                                                             3of
                                                                               of20
                                                                                  20
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            "Affiliate" shall mean with respect to a Person, any other Person that directly, ot indirectly
     through one or more intermediaries, controls, is controlled by, or is. under common control with
     the first Person. The t9nu "control" means (i) the legal or beneficial owi1ership of securities
     representing a majority of the voting power of any person or (ii) the possession, directly or
     indirectly, ofthe power to direct or cause the direction of the management and policies of a person,
     whether by contract or othetwise.

             "Applicable Asset .Criteria and Concentrations;' means any applicable eligibility criteria;
     portfolio concentration limits and other similar ctiteria ol' lim:its which tbe Management Company
     instructs in writing to the Staff and Setvices Provider in respect ofthe Portfolio or one or more
     Accounts, ~s such criteria or limits may be n1odified, amended or supplemented fro111 time to time
     in writing by the Management Company;

               ''Applicable Law" shall mean, withrespectto any Person or property of such Person, any
     action, code, consent decree, constitution, decree, directive, enactment, finding, guideline, law,
     injurictio11, ii1terpretation, judgment, order, ordinai1ce, policy .statement~ proclani.ation, fotrnaJ
     guidance, promulgation; regul~tion, requirement, rule, rule oflaw, rule of public policy, settlement
     agreement statute, Writ, oi• any particulat section, part .ot :provision thereof of any Governmental
     Authority to which tl1.e Person in question is subject or by which itor any of its property is bound.

             ''Client or Account" shall mean any fund, client or accoµnt advised by the Management
     Company, as applicable.      ·

            "Covered Person" shall mean the Staffand Services Provider, any of its Affiliates, and any
     of their respective managers, members, principals, partners, directors, officers, .shareholders,
     employees and agents (but shall not include the Management Company, its subsidiaries or
     member(s) and any managers, members, ptincipals, ,partners, directors; offiqers, shareholders,
     employees and agents of the Managemei1t Company or its subsidiaries 01' membet(s) (in their
     capacity as such)).

             "Governmental Authority" shall mean (i) any government or quasi,.governm~ntal authority
     or political subdivision thereof, whether natiomil, state, comity, municipal or regional, whether
     U.S. or non~U.S.; (ii) any agency, regulator, arbitrator, board, body, branch, bureau, commission,
     corporation, department, maste~; mediator, pm1el, referee; system or instrumentality of any such
     government, political subdivisi01i or other government or quasi-:government entity, whether non-
     U.S. or U.S.; and (iii) any cotirt, whether U.S. or non-U.S.

              "Indebtedness" shall mean: (a) alI indebtedness for borrowed money mid all other
     obligations, contingentm otherwise, with respect to suretybonds1 guarantees ofbotrowed money,
     letters of credit and bankers' acceptances whether or not matt,rred, and hedges and other .detivative
     contracts and :financial instnunents; (b) all obligations evidenced by notes, bonds, debenturesi ot
     similar instruments, or incurred ·under bank guaranty or letter of credit faqilities or credit
     agreements; (c) all iitdebted.ness cteated or a:risingun'der any conditional sale or other title retention
     agreement with respect to any propetty of the Management Company or any subsidiary; (d)all
     capital kase obligatio1is; (e) all indebtedness guaranteed by such Person or any of its subsidial'ies;
     and (f) all indebtedness guaranteed by such Person oi• any of its subsidiaries.



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Case 21-03005-sgj Doc 134-7 Filed 12/18/21                  Entered 12/18/21 02:10:25               Page 40 of 610

     Case21-03005-sgj
     Case 21-03010-sgjDoc
          21-03010-sgj Doc86-2
                          4-3 Filed
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                                     02/18/21 Entered
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                                                      02/18/2108:45:45
                                                      10/29/21 13:50:54 Page
                                                               17:22:38 Page43
                                                                             4of
                                                                               of20
                                                                                  20
                                                                                  19




           ''Operating Guidelines" meai1s any operating guidelines attached to a11Y portfolio
     management agrech1ent, investment management agreement or .similar agreement entered into.
     between the Management Contpany and a Client bl' Account.

             . "Portfolio'; means the portfolio of.securities and other assets, including without limitation,
     financial instruments, equity investii1ents, collateral loan obligations, debt securities, prefetrc:d
     return notes .and other similar obligations held directly or indirectly by, or on behalf of, Clients
     a1:id Ac.counts frqm time to time;                                            ·
             "Securities Act'' shall mean the Securities Act of 1933, asmnerided.

              Section 1.02 Interpretation. The following rules apply to the .use of defined terms and.
     the interpretation of this Agreement: (i) the singular includes the phiral and the plural incl\tdes the
     singular; (ii) "or'' is not exclusive (unless preceded by "either"} arid ''inchide" and "including" are
     not limiting; (iii) unless the context otherwise requires, reforencesto agreements shall be deemed
     tC) mean and include such agreements as the same may be <'lmend¢d, supplemented, waive<,t and
     otherwise modified from time to time; (iv) a ·reference to a law includes any amendment or
     modification to such law and any rules or regulations issued thereunder or any law enacted in
     substitutio1ior replacement therefor; (v) ateferehce to aPetson includes its sticcessors and assigns;
     (vi) a reference to a Section without further reference is to the relevant Section ofthis Agreement;
     (vii) the headings of the Sections and subsections are for co~1venience and shall riot affect the
     mea.1iirig of this Agreement; {viii) "writing\ "writtei1" and comparable terms i'efot to printing,
     typing, lithography and other shall mean of reproducing words in a visible form (including
      telefacsimile and electronic ni:ail); (i}<.} "hereof', "heteii1", "!1.ereundet" arid cmnparable terms refet
      to the entire instrument in which such terms are used and nof to any particillar article, section o:r
     other subdivision thereof ot ~ttachment thereto; l:lnd (x)references to any gender include any other
     gender, masculine; feminine or neuter, as the context requires.

                                                   ARTICLEU

                                                   SERVICES

          . Section2.0J General Atithoritv. Hig}Jland is lwreby appointed as Staff <'lnd Services
     Providet for 1he purpose of providing such services and assistance a's the Management Company
     may request from time to time to, and ifapplicable, to make available the Shared Employees to,
     the Managen1ent Company in accord~nce With and subjectto the provisions ofthis Agreement and
     the Staff and Services Providet hereby accepts such appointment. The Staffand Services Provider
     hereby agrees to such engagement during the term hereof and to render the services described
     herein for the compensation provided herein, subject to the limitations contained herein.

             Section2.02 Provision of Services. Without limiting the generality of Section 2:01 and
     subject to Se~tion 2.Q4 (Applicable Asset Criteria ancl Concentrations) below, the Staff and
     Sel'vices Provider hereby agrees, from the date hereof, to provide the followinghack- and middle-
     officeservices and.a,ciministrative, infrastructure a.nd otht;r services to the Management Company.

                    (a)    Back- and Midd/e.,,O,fjice: Assistance and advice with respect to back- and,
     middle-office functions including, but not limited to, investment research, trade desk services,




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Case 21-03005-sgj Doc 134-7 Filed 12/18/21                  Entered 12/18/21 02:10:25           Page 41 of 610

     Case21-03005-sgj
     Case 21-03010-sgjDoc
          21-03010-sgj Doc86-2
                          4-3 Filed
                          10-4 Filed02/17/21
                                     02/18/21 Entered
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                                                      02/18/2108:45:45
                                                      10/29/21 13:50:54 Page
                                                               17:22:38 Page54
                                                                             5of
                                                                               of20
                                                                                  20
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     including trade execution and settlement, finance and accolll1ting, payments; operations_; hook
     keeping, cash management, cash forecasting, accounts payable, accounts receivable, expense
     reimbt1rsement, vendor inanagement, and information technology (including, withoi1t limitation,
     general suppott and maintenance (OMS, development, support), telecoirt (cellphones, telephones ·
     and broadband) and WSO);                                                .

                    (b)     Legal/Compliance/Risk Analysis; Assista.1i.ce and advice with respect to
     legal issues, litigation support, management of outside counsel, compliance support and
     implenientaticm and general .risk analysis;

                      (t)    Tax. Assistance artd advice with respect to tax audit suppo1t, tax planning
     aJJ.d tax preparation and filing.

                     (d)    Management of Clients widAccounts: Assistance .a nd advice with respect
     to (i) the adhetence to Operating Guidelines by·the Managemei1f Cornpm1y, and (ii)·perfotn1i1ig
     any obligations of the Management Company under or in connection with any back~ and middle-
     office function set forth in any poxtfolio managel'nent agreeinent, investment ma11agement
     agreement or similar agreement in effect between the Management Company and any Client or
     Account from time to time.

                    (e)       Valuation, Advice relating to the appointrnent of suitable third parties to
     provide valuations oi1 assets comprising the Portfolio and i11duding; but not limited to, such
     valuations required to facilitate the preparation of finap.cial statements by the Management
     Company or the provision of valuations in connection with, or prepatation of reports otherwise
     relating to, a Client or Account for which the Management Company serves as portfolio manager
     or investment managerC,n· in a similar capacity;

                    (f)    Execution andl)ocumentation. Assistancerelatingto the negotiation of the
     terms of, and the execution and delivery by the Management Company of, any and all clocuments
     which the Management Company considers to be necessary in connection with the acquisition and
     disposition of an asset in the Portfolio by the Management Company or a. Client or Account
     managed by the Management Company, ttansactiohs involving the Managerhehf Company or a
     Client or Account managed by the Management Company, and any other rights and obligations of
     the Management Company or a Client or Account managed by the Managemi;:nt Company;

                    (g)    Marketing. Provide access to tnarketing team representatives to assist with
     the marketing ofthe Management Company and any specified Clients or Accounts managed by
     the Management Company conditional          on
                                                  the Management Company's agreement that any
     incerttive compensation related to such marketing shall be borne by the Management Company;

                      (b}     Reporting. Assistance relating to any reporting the Management Company
     is required to inake _in relation to the Pottfolio or any Client or Account, including reports relating
     to (i) credit facility n;porting and purchases, sales, liquidations, acqµisitions, disposals,
     sub-stit11tions and excha11ges of assets in the Portfolio, (ii) the requirements of an applicable
     regulator, or (iii) other type ofreporting which the Management Company and Staff and Services
     Provider may agrqc from time to time;                         ··          ·




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                                                                                                 Appx. 04166
Case 21-03005-sgj Doc 134-7 Filed 12/18/21                 Entered 12/18/21 02:10:25        Page 42 of 610

     Case21-03005-sgj
     Case 21-03010-sgjDoc
          21-03010-sgj Doc86-2
                          4-3 Filed
                          10-4 Filed02/17/21
                                     02/18/21 Entered
                                     10/29/21 Entered02/17/21
                                                      02/18/2108:45:45
                                                      10/29/21 13:50:54 Page
                                                               17:22:38 Page65
                                                                             6of
                                                                               of20
                                                                                  20
                                                                                  19




       .            (i)    Administrative Services. The provision of office space; information
     technology services and equiptilent, infrastructure; rent arid parking, and othei: related services
     reque~ted or utilizedbythe Management Compaµyfrom time to time;

                   G)    Shared Employees. To the extent applicable, the provision of Shared
     Employees and such additional human capital as may be mutually agreed by the Management
     Company arid the Staff and Services Provider in accordance with the provisions of Section 2;03
     hereof;

                     (k)    Anci/lc,ry Services.     Assist.ance and advice on all things ancillary or
     incidental to the foregoing; and

                   (1)    Other: Assistance and advice relatii1g to such other back- a:nd rhiddle~office
     services in connection with the day-to-day business of the Management Company as the
     Management Company and the Staff and Services Provider may from time to tin1e agree.

     For the avoidance of doubt, none of the services contemplated hereunder shall constitute·
     investment advisory services, and the Staff & Services Provider shall not provide any advice to
     the Mmmgemei1t Company or perform any duties on bchalfof the Mm1agemetit Company, other
     than the back- and middle~office services contemplated herein, with respect to (a) the general
     management .of the Management Company, its bus_iness or activities, (b) the initiation or
     structuring of any Client or Account or similar securitization, (c) the substantive investment
     management decisions with respect to any Client or Account or any related collateral obligations
                                                of
     or securitization, (d) the acttml sdectio11 an:y collateral obligation or assets by the Management
     Company, (e) binding recommendations as to any disposal of or .amendinentto any Collateral
     Obligation.or (f} any similar.fi.mctions.                                                ·

               Sectiorl 2.03   Shafr:d Employees.

                     (a)    'the Staff and Services Provider hereby agrees and consents that each
     SharedEmployee, ifany, shall.be employed by the Management Company, and the Management
     Company hereby agrees .an:d consents that each Shared Employee shall he employed by the Staff
     and Services Provider; Except as may otherwise separately be agreed in writing between the
     applicable Shared Employee and the ManagGment Coinpany and/or the Staff mid Services
     Provider, in each of their discretio11, each Shared Employee is an at-V1-·ili employee and rto
     guarnnteed e111ployment or pther employmentarrangerne11t is agreed or implied by this Agreen1ent
     with respect to arty Shared Employee, and for avoidance of doubt this Agreement.shall not amend,
     limit, constrain or modify in any way the employment an-a11gements as between any Shared
     Employee and the Staff and Services Provider or as between any Shared Employee arid the
     Management Company, it being understood thatthe Management Company may enter into a short-
     form employment agreement with ariy Shared Employee meniorializing such Shared Employee's
     status as an eniployee of the Management Company. To the extent applicable, the Staff and
     Services Provider shall ensure that the Management Con'l.pany has ~lifficient access fo the Shared
     Employees so that the Shal'ed Employees spend adequate time to provide the services required.
     hereunder. The Staffijnd Services Provider may als.o employ the services of persons other than
     the- Specified Persons as it deems fit in its sole discretion




                                                       5



                                                                                              Appx. 04167
Case 21-03005-sgj Doc 134-7 Filed 12/18/21                 Entered 12/18/21 02:10:25          Page 43 of 610

     Case21-03005-sgj
     Case 21-03010-sgjDoc
          21-03010-sgj Doc86-2
                          4-3 Filed
                          10-4 Filed02/17/21
                                     02/18/21 Entered
                                     10/29/21 Entered02/17/21
                                                      02/18/2108:45:45
                                                      10/29/21 13:50:54 Page
                                                               17:22:38 Page76
                                                                             7of
                                                                               of20
                                                                                  20
                                                                                  19




                     (b)    Notwithstanding that the Shared Employees, if any, shall be employed by
     both the Staff and Services Ptovider and the Managerilent Company, the Parties acknowledge and
     agree that any and all salary and bepefits of each Shared Employee shall be paid e:icclusively by
     the Staff and Services Provider and shall not be paid or borne by the Management Company and
     no additional amounts in cc_>nnecti on 1herewith shall be d uc ·from the Management Company to the
     Staff and .Services Provider.

                    (c)     To the extent that a Shared Employee participates in the rendering. of
     services to the Management Company's clients, the Shared Erriployee. shall be subject to the
     oversight and .control of the Management Company and such services shall be. provided by the
     Shared. Employee exclµsively in his or her capacity as a "s\1pervised person;' of, or "person
     associated with", the Management Company (as such terms are defined in Sections 202(a)(25) and
     202(a)(17),rcspectively, ofthe Advisers Act),

                    (d)     Each Party may continue to oversee,. supervise and manage the services of
     each Shared Employee in oi·der to(l) erisure conipliance with the Party's compliance policies and
     procedures, (2) ensure compliance with .regulations .applicable to the Party and (J) protect the
     inforests ofthe Party and its cliel)ts; provided that Staff and Services..Provider shall (A) cooperate
     with the Management Conipany;s supervisory efforts and (B) make periodic reports. to the
     Management Company regarding the adherenc.e of Shared Employees to Applicable Law,
     including but not limited to the 1940 Act, the Advisers. Act arid the United States Commodity
     Exchange Act ofl 936~ as amended, in performing the services hereunder. .                .

                     (e)     Where a Shared Employee provides .· services hereunder through both
     Parties, the Patties shall cooperate to ensure that all such services are performed consistently with
     Applicable Law and relevant compliance controls and procedures designed .to prevent, among
     other things, breaches .in infonnation security or the communication of confidential, proprietary or
     :material non-publicinformation.                            ·

                  . (t)      The Staffand Services Provider shall ensure that eachShared Employee has
     any registrations, q1ialifications and/at licenses necessary to provide the services hereunder.

                    (g)     The Parties will cooperate to ensure that information about the Shared
     Employees is adequately and appropriately disclosed to cJients, investors (and potential investors),
     iiwestinent banks operating as initial purchaser or placement agent with respect to any CHei1t or
     Account, and regtl!ators, as applicable; To facilitate such disclosure, the Staff and Servic;es
     Provider agrees to provide, or cause to be provided, to the Management Comparty suchirt:fortriatiqn
     as is deemed by the Management Comparty to be necessary or appropriate with respect to the Staff
     and Services Provider and the Shareq Employees (including, but not limited to, biographical
     information about·each Shared Employee).

                    (h)    The Parties shall cooperate to ensure that, when so required, each has
     adopted a Code of Ethicstneeting the requireti1ents ofthe Advisers Act{"Code ofEthics") that is
     consistent with applicable law and which is substantially similar t o the other Pa:rty's Code _of
     Ethic.s.




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                                                                                                Appx. 04168
Case 21-03005-sgj Doc 134-7 Filed 12/18/21                 Entered 12/18/21 02:10:25             Page 44 of 610

     Case21-03005-sgj
     Case 21-03010-sgjDoc
          21-03010-sgj Doc86-2
                          4-3 Filed
                          10-4 Filed02/17/21
                                     02/18/21 Entered
                                     10/29/21 Entered02/17/21
                                                      02/18/2108:45:45
                                                      10/29/21 13:50:54 Page
                                                               17:22:38 Page87
                                                                             8of
                                                                               of20
                                                                                  20
                                                                                  19




                    (i)    The Staff and Services Provider shall make reasonably available for use by
     the Management Cornpany, including through Shared Employees providing services pursuant to
     this Agreement, any relevant intellectt1al prope:1ty and systei:hs necessary for the provision of the
     services hereunder.

                    G)      The Staff and Services Provider shall requirethat each Shared Employee:

                           (i)     certify that he br she is subject to, .a nd has been pi'ovided with, a
            copy ofeach Partis Code of.Ethics and will make such reports, and seek prior clearan.ce
            for such actions and activities1 as may be reqt1ired under the Codes bf Ethics;

                            (ii)   be. subject to the supervision and oversight of each Party's officers
            and directors, including without limitation its Chief Compliance Officer ("CCO;'), which
            CCO may be the same Person, with respe.ct to the services provided to that Party or its
            clients;

                          {iii) provide services hereunder and take actions hereunder only as
            approved by the Management Company;

                           (iv)    ptovide any information requested by a Patty, as necessary to
            coITiply with applicable disclosure or regulatory obligations;

                           (v)     to the extent authorized to tran~act on behalf of the 1vlanage1n~nt
            Company or a Client or Account/take reasonable steps to ensure thatari.y such trai1saction
            is consistent with any policies and procedures that may be esti,1.bHshed by the Parties and
            all Applicable Asset Criteria and Concentrations; and ·

                            (vi)   act, at all times, in.a manner consistent with the.fiduciary duties and
            standard ofcare owed by the Management C91npany to its me111.bers and direct. or indirect.
            investoi"s or to a Clieht or Account as well as clients of Staff mid Setvices Providet by
            seeking to ensure that, among other things, information about any investment advisory or
            ti'adirig activity applicable to a pa1ticular client orgtoup nf clients is not used to benefitthe
            Shared Employee, any Pmty or any other cHent or group of clients in contravention of such
            fiduciary duties or standard of care.

                     (k)     Unless specifically authorized to do so, or appointed as a:n officer ot
     al.lthorized person of the Management Company with such authority, .no Shared Empioyee may
     contract on behalfor in the name of the Management Company; actii1g as principal.
                                     .             .                .   .   .      .
                                                                                   .




            Section 2.04    Applicable Asset Criteria and Concentrations. The Management Company
     wiU promptly inform the Staff and Services Provider in writing of any Applicable Asset Criteria
     and Concentrations to which it agrees frotn tifoe to time and the Staff and Services Provider shall
     take such Applicable Asset Criteria and Concentrations into.account when providing assistance_
     and advice in accordance with Section 2.02 abo,;e and any othe1' assistaJ1ce or advice provided in
     accordance with this.Agreement.

          Scction2.05 Compliance with Management Company Policies and Procedures. The
     Management Company will from time to time provide the Staff and Services Provider and the


                                                       7


                                                                                                  Appx. 04169
Case 21-03005-sgj Doc 134-7 Filed 12/18/21                  Entered 12/18/21 02:10:25           Page 45 of 610

     Case21-03005-sgj
     Case 21-03010-sgjDoc
          21-03010-sgj Doc86-2
                          4-3 Filed
                          10-4 Filed02/17/21
                                     02/18/21 Entered
                                     10/29/21 Entered02/17/21
                                                      02/18/2108:45:45
                                                      10/29/21 13:50:54 Page
                                                               17:22:38 Page98
                                                                             9of
                                                                               of20
                                                                                  20
                                                                                  19




     Shared Employees, if any, with any policy and procedure documentation which it establishes
     internally and to which it- is bound to adhere. in conducting its business pursuant to regulation,
     contract or othen;vise. Subject to ai1y other lirrtitations in this Agreeri1ent, the Staff mid Services
     Provider will use reasonable efforts to ensure any services it and the Shared Employees provide
     pursuant to this Agreement complies with or takes account of such internal policies and
     procedures.

             Section2.06 Authority. The Staffana·servicesProvider's.scope of assistance and advice
     hereunder is limited to the services specifically provided for in this Agreement. The ~taff and
     Services Provider shall not assume or be deemed to assume any tights or obligations of the
     tvianagement Comp1;1ny un_det any Qther docu_ment or agreement to which the Management
     Company is a party. Notwithstanding any other express or implied provision to the contrary in
     this Agreement, the activities of the Staffand Services Provider pursuant to this Agreement shall
     be subject to the overall policies ofthe Management Company, as notified to the Staff and Sei-vices
     Provider from time to time. The Staff and Services Provider shall not have any duties or
     obligations to the Management Company unless those duties and obligations are specifically
     provided for in this Agteement(or in any am:endnient,1nodification or novatimt hereto or hereof
     to whichthe Staff and Services Provider is a party).

            Seption 2.07    Third Parties.

                     (a)    The Staff and Services Provide1· may eirtploy thii'd parties, including its
     affiliates, to render advice, provide assistance and to perform -any of its duties under this
     Agreement; provided that notwithstanding the employment of third parties for any su,ch pµrpose,
     the Staffand Services Provider shall not be relieved of any of its obligations or liabilities under
     this Agreement.

                      (b)      In providing services hereunder1 the Staffand Services Provider may rely
     in good faith   upon and will incur no liability for relying uponadvice of nationally recognized
     counsel. (which may be counsel for the Management Company, a Client or Account or any Affiliate
     of the foregoing), accountants or other advisers as the Staff and Services Provider determines, in
     its sole discretton, is reasonably appropriattl in connection with the services provided by the Staff
     and Services Pi·ovider urider this Agreement.

            Section2.08 Management Compmiy to Cooperate with the- Staff'and Services Provider.
     In furtherance, of the Staff and Services Provider'$ obligations under this Agreement the
     Management Company shall cooperate with, provide to, and fuUy infonn the Staff and Services
     Provider of, any and all documents and information the Staff and Services Provider reasonably
     requires to perfonri its obligations u11der this Agrcei11ent

             Section 2. 09 Power ofAttorney. If the Management Company considers it necessary for
     the provision by the Staff and ServicesPi'ovider of the l:lSsistance and advic.e underthis Agreement
     (after consultation with the Staff and Setvices Provider), it may appoint the Staff and Services
     Provider as its true and lawful agent and attorney, with full power and authority in its nan1e to sign,
     execute, certify, swear to, acknowledge, deliver, file, receive and i·ecord any and all documents
     that the Staff and Services Providerreasonably deems appropriate or necessary in connection with
     the execution a1td settlerriertt of acquisitions of assets as directed by the Management Company



                                                        8


                                                                                                 Appx. 04170
Case 21-03005-sgj Doc 134-7 Filed 12/18/21                   Entered 12/18/21 02:10:25           Page 46 of 610

    Case 21-03010-sgj
    Case21-03010-sgj  Doc10-4
         21-03005-sgjDoc 4-3
                         86-2Filed
                              Filed02/17/21
                              Filed 10/29/21 Entered
                                    02/18/21  Entered02/17/21
                                             Entered  10/29/2108:45:45
                                                      02/18/21 17:22:38 Page
                                                               13:50:54  Page10
                                                                        Page  9 of
                                                                              10 of20
                                                                                   19
                                                                                    20




     a:nd the Staff and Services Provider~s powers and duties he1·eunder (whkh for the a:voida:nce of
     doubt shaU in no w~y involve H1e discretion .:mator authority of the Management Company with
     respect to investments). Any such power shall be revocable in the sole discretion of the
     Management Company.

                                                 ARTICLE III

                                   CONSIDERATION AND EXPENSES

             Section 3.01 Consideration. As compensation for its performance of its obligations as
     Staff and Services Provider lmder this Agreement, the Staffand Services Provider will be entitled
     to receive a flat fee. of $168,000 pet month (the "Sfaff and Setvices Fee"), payable m,ontllly in
     advance on the first business day of each month.

             Section 3. 02 Costs arid Expenses, Each party shall bear its. own expenses; provided that
     the Management Company shall reimburse the Staff and Services Provi,der for any and all costs
     a:nd expenses that 111ay be borne propeilyhy the Manag~ment Company.

             Section 3 .03   Deferral. Notwithstanding anything to the contrary contained herein; if on
     any date the Management Company determines that it would nothavesufficient funds available
     td it to make a payment of Indebtedness, it shall have the right to defer any a:11 and amounts payable
     to the Staff and Services Provider pursuant to this Agreement, including any fees and expenses;
     provided that the Mam1gement Conipany shall pi'omptly pay all such amounts on the first date
     thereafter that sufficient amounts exist to make payment thereof.

                                                 ARTICLE IV

                                REPRESENTATIONS AND COVENANTS

             Section 4.01    Representations; Each of the Parti9s hereto represents and warrants that

                    (a)     It has full power and authority to execute and deliver, and to perform its
     obligations under, this Agreement;                   ·

                       (b)    this Agreement has been duly authorized, exec;uted and delivered by it and
     constitutes .its valid and binding, obligation, enforceable in accordance With its. tel':ms except as the
     enforceal;lility hereof may be subject to (i) bankruptcy, insoiv~ncy, reorganization rporatorium,
     receivership, conservatorship or other similar laws now or hereafter in effect relating to creditors'
     rights and (ii) general principles of equity (regardless of wheiher such enfotcement is considered
     ina proceeding, in equity or at law); ·        · ·

                     (c)     no consent, approval, authorization or. order of or declaratioi1 or filing with
     any Governmental Authority is required for the execution of this Agreement or the performance
     byit of its duties beteurtder, except si1ch as have been duly rnade·Or obtain.eel; and

                     (d)     neither the execution and delivery ofthis Agreement nor the fulfiliment of
     the terms hereof conflicts with or results in a bn::ach or violation Of a:ny of the terms or provisions
     of; ot constitutes a default under, (i) its constituting and mgan1zational documents; or (ii) the terms


                                                         9



                                                                                                   Appx. 04171
Case 21-03005-sgj Doc 134-7 Filed 12/18/21                    Entered 12/18/21 02:10:25         Page 47 of 610

    Case21-03005-sgj
    Case 21-03010-sgjDoc
         21-03010-sgj Doc86-2
                         4-3 Filed
                         10-4 Filed02/17/21
                                    02/18/21 Entered
                                    10/29/21 Entered02/17/21
                                                     02/18/2108:45:45
                                                     10/29/21 13:50:54 Page
                                                              17:22:38 Page11
                                                                            11of
                                                                            10 of20
                                                                                  20
                                                                                  19




     of any· niaterial indenture, contract, lease, mortgage, deed of trust, note, agreement or other
     evidence of indebtedness or othe.r material agreement, obligation, condition, covenant or
     ii1strmnent to which it is ct party 01' by which it is bound.

                                                 ARTICLE V

                                                 COVENANTS

             Section 5.01   Compliance: Advisory Restrictions,

                    (a)     The Staff and Services Provider shall reasonably cooperate with the
     Managernent Company       m   connection with the Management Coinpanf s compliance with its
     policies and procedures relating to oversightofthe Staffand Services Provider. Specifically, the
     Staff and Services Provider agrees tha,t it will provide the. Management Company withreasprtable.
     access to irtform:ation telatihg to the pei"fo1111ance of Staff and Services Provider's obligations
     under this Agreement..

                     (b)     This Agreeri1ent is not intended to and shall not constitute art assignment,
     pledge or transfer of any portfolio management agreemei1t or rniy part thereof. It is the express
     intention ofthe parties hereto that this Agreement and all services performed hereunder comply in
     all respects with all (a) applicable contractual provisions and restrictions contaiti.ed in each
     portfolio management agreement, investment management agreement or similar agreement and
     each document contemplateci thereby; and (b) Applicable Laws (collectively, the "Advisory
     Restrictio11s"). If any provision ofthis Agteementis detennined to be in violation of any Advisory
     Restriction, then the services to be. provided. under this Agreement shall automatically be limited
     witho11t action by any person or entity, teduced or modified to the extent necessary a.1l:d appropriate
     to be enforceable to the maximum extent pe:rmi tted by such Advisory Restriction.             ·

             Section 5.02    Records; Confidentiality.

                    The Staff and Services. Provider shall maintain or cause to be maintained
     appropriate books of account and records relating to its services performed hereunder, and such
     books of account aqd reCon:ls      s.hallbe accessible for fhspection by representatives of the
     Management Company and its accountants an:d other agents at any time during nonnal business
     hours and upon not less than three (3) Business D~ys' priqr notice; provided that the Staff and
     Services Provider shall not be obligated to provide access to any non-pliblic information ifit in
     good faith detenrtines that the disclosure of such infonnation would violate any applicable law,
     regulation or contr~ctua1 ·ari"angement.

                      The Staff and Services Provider shall follow its customary procedUi'es to keep
     confidential any and alL information obtained in c.onn.ection with the services rendered hereunder
     that is either (a) ofa type that would ordinarily be considered proptietary or confidential, such as
     information conceni.ing the composition of assets, rates of return, credit quality, structure or
     o,:vnership of securities, or (b} designated as confidential obtained in connection with the services
     rendered by the Staff and Services Provider hereunder and shall not disclose any such info1mation
     tq non-affiliated third parties, except (i) with the prior written consent of the Managernent
     Cornpany, (ii)such information as atating agency shall reasonablyrequest in connection with its



                                                         10


                                                                                                 Appx. 04172
Case 21-03005-sgj Doc 134-7 Filed 12/18/21                 Entered 12/18/21 02:10:25          Page 48 of 610

    Case21-03005-sgj
    Case 21-03010-sgjDoc
         21-03010-sgj Doc86-2
                         4-3 Filed
                         10-4 Filed02/17/21
                                    02/18/21 Entered
                                    10/29/21 Entered02/17/21
                                                     02/18/2108:45:45
                                                     10/29/21 13:50:54 Page
                                                              17:22:38 Page12
                                                                            12of
                                                                            11 of20
                                                                                  20
                                                                                  19




     fating of notes issued .by a CLO or supplying cretjit esthnates on any obligation inclt1dedjn the:
     Portfolio, (iii) in connection with establishing trading at investment accounts or otherwise in.
     coi1nection with effecti.ng transactious on behalf of the Mruwgement Company or any Client or
     Account for Which the Manage1nent Company serves as portfolio manager ot investment m:artager
     or in a similar capacity, (iv) as required by (A) Applicable Law or (B) the mies or regulations of
     any self:,regu1ating oi"gartization; body or official havingjurisdiction over the Staff and Sei·vfoes
     Provider or any ofits Affiliates, (v) to its professional advisors (including, without lirnitation1
     legal, tax and accolrilting advisors), (vi) such infmmation as shall have b~en pi1blicly disclosed
     other tha11 in known violation of this Agreement ot shall have beert obtained by the Staff and
     Services Provider on a rion-confidential basis, (yii) such information as is necessary orappropriate
     to disclose so that the Staff and Services Provider may. perform its duties hereunder, (viii). as
     expressly permitted in. the final offering memorandum or ru1y definitive.transaction documents
     relating to a:ny Client or.Accoui1t, (ix}infonnation relating to perfonn,imce .of the Po1tfolio a$ may
     be used by the Staff and .Services Provider in the ordinary course of its business or (xx) such
     infonnation as is routinely d.isclosed to the trustee, custodian or collateral administrator of any
     Client or Account in connectioh with Such trustee's, custodian's ot collateral administrator's
     performance ofits obligations under the transaction documents related to such Client or Account.
     Notwithstanding the foregoing, it is agreed that the Staff and Services Prnvider may discl9se
     without the consent of any Person Jl) that it is serving as staff and services ptovider to the
     Managen1erit Cornpany, (2) the nature, <1ggregate principal amount and overall perfonnance of the
     Portfolio, {3) the arnmtnt of earnings on the Portfolio, (4) such other infom1aticm about the
     Management Company; the Portfolio and the Clients or Accounts as is customarily disclosed by
     staff andservices providets to management vehicles similar to the ManagernentCompany~ and (5)
     the United States federal income tax treatment and United States federal income tax structure of
     the transactions qontempJated. by this Agreement and the related documents and all materials of
     any kind (including opinions and other tax ru1alyses} that are provided to them i'elati:ng to such
     United States federal income tax treatment and United States income ·tax structure. This
     ciuthorization to disd.ose the U.S; tax treatment and t~ stntctu.re does noi permit cliscl.osure of
     infonnationidentifyirig the Staff and Services Providei', the Clients at Accounts or any other party
     to the fra11sactions contemplated by this .Agreement (except to the extent such infonnation is
     relevant to U.S. tax structure or tax treatment of such transactions).

                                                ARTICLE VI

                              EXCULPATION AND INDEMNIFICATION

             Section 6.01 Standard of Care, Except as otherwise expressly provided herein, each
     Covered Person shall discharge its dhties under this ,Agreement with the care, skilI, prudence and
     diligence under the circumstances then pi'evailing that a prudent person acting in a like capacity
     and familiar with such matters would use in the conduct of an enterprise of a like character and
     with likeaiins. To the extentnotincotisistentwith the foregoing, each Covered Pei·sonshaU follow·
     its customary stm1dai:ds, policies .and procedures in performing its duties. hereunder. No Covered
     Person shall deal with the income or assets of the Manage1nent Cornpany in such Covered Person's
     own interest or for its own account. Each Covered Person in its respective sole and absolute
     discretion may separately engage or invest in any other b(1siness ventures, including those that ma)'
     be in competition with the Management Compaity, and the Management Company will not have
     any tights irtor to such ventures or the income or profits derived therefrom


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                                                                                                Appx. 04173
Case 21-03005-sgj Doc 134-7 Filed 12/18/21                   Entered 12/18/21 02:10:25           Page 49 of 610

    Case21-03005-sgj
    Case 21-03010-sgjDoc
         21-03010-sgj Doc86-2
                         4-3 Filed
                         10-4 Filed02/17/21
                                    02/18/21 Entered
                                    10/29/21 Entered02/17/21
                                                     02/18/2108:45:45
                                                     10/29/21 13:50:54 Page
                                                              17:22:38 Page13
                                                                            13of
                                                                            12 of20
                                                                                  20
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              Section 6.02 Exculpation. ·Tothe fullestextent permitted by law;no Covered Person will
     be liable to the Management Company, any Member, or any shareholder, partner or member
     thereof~ for (i) any acts at oniissions by such Coveted Pei'son arising out of 01; in connection with
     the conduct ofthe business ofthe Management Company or its General Partner, or any investment
     made or held by the Management Company or its General Pru1ner, unless it is determined
     ultimately by a court of conipetentjut1sdiction, in a fi11al nbnappealable judgment, to be the result
     of gross negligence or to constitute fraud or willful misconduct (as interpreted under the laws qf
     the State of Delaware) (each, a "Disabli11g Conduct") on the patt of:such Covered Person, (ii) arty
     act or omission of any Investor, (iii)any mistake, gross:negligence,. misconduct or bad faith of any
     erhpldyee, broker, administrator or other agent or representative of such Covered Person,provided
     that such employee, broker; administrator or agent was selected, engaged or retained by or on
     behalf ofsuch C::overed Person with reasonable care, or (iv) any consequential (including loss of
     profit), ihdfrect, special or punitive damages. To the extentthat, at law or in equity, any Covered
     Person has duties (including fiduciary duties) and liabilities relating thereto to the Management
     Corti.party or arty Member, no Covered Person ctcting under this Agreement shall. be liable to th.e
     Mana:gementCompanyor to any such Member for its good~faithrelianceon the provisions of this
     Agreement. Tlle exculpations ~et forth in this Section 6.02 shaH exculpate any Covered Person
     regardless of such Cove1'ed Person's sole, comparative, joint, concurrent, or subsequent
     negligence.                                                                           ·          ·

             To the fullest extent permitted by law; no Covered Persqn shall have any personal liability
     to the Management Coh1pany or any Member solely by reason ofany change in U.S. federal, State
     or local or foreign income tax laws, or in interpretations thereof, asthey apply to the Mam1gement
     Company or the Members, wJ1ether the change occi.lrs thrb:ug}1 legislative, judicial or
     administrative action.

             Any Covered Person in its sole and absolute discretio11 may consult legal counsel,
     accountants or othe1' advisers selected by it; and any act or on':iission taken; or made 1n good faith
     by such Person on behalf ofthe Management Company or in furtherance of the, business of the
     Management Company in good-faith reliance on and in accordance with the advice of such
     counsel, accountants or other advisers shalLbe full justification for. the act or omission, and to the
     fullest extent permitted by applicable la,w,.no Covyred Person shall be liable to the Management
     Company or any Member in so acting or omitting to. act if such coirnsel; accountants or other
     advisers were selected, engaged or re,tained with n~asonable: care.

              Section 6.03 Indemnification by the Manage1i:i.ent Company.                  The Management
     Conipany shall and hereby does, to the fullest exte1itperrnitted by applicable law, indemnify and
     hold hannless any Covered Person from andagainst any and all claims, causes of action (including,
     but not 1irnite.d to, 'strict liability, negligence, statutory violation, regulatory violation, breach of
     contract; and .all other torts and claims arising tmdcr common law), demands, liabilities, costs,
     expenses, damages, losses, suits, proceedings, judgments, assessme111s, i}ctions and other
     liabilities, whether judicial1 administrative, investigative or otherwise, of whatever nature, known
     or unknown, liquidated or u,nliquida~ed ("Claims"), that may accrue to or be incurred by apy
     Covered Person, or iri. which any Covered Person may become involved, as a party or otherwise,
     or with which any Covered Person may be threatened, relating to or arising out oftheinvest111ent
     or other activities of the Management Coinpany or its General Partner, or activities undertaken in
     connection with the Management Company or its General Partner, or otherwise relating to or


                                                        12


                                                                                                   Appx. 04174
Case 21-03005-sgj Doc 134-7 Filed 12/18/21                   Entered 12/18/21 02:10:25           Page 50 of 610

    Case21-03005-sgj
    Case 21-03010-sgjDoc
         21-03010-sgj Doc86-2
                         4-3 Filed
                         10-4 Filed02/17/21
                                    02/18/21 Entered
                                    10/29/21 Entered02/17/21
                                                     02/18/2108:45:45
                                                     10/29/21 13:50:54 Page
                                                              17:22:38 Page14
                                                                            14of
                                                                            13 of20
                                                                                  20
                                                                                  19




     arising out of this Agreement, including amounts paid in satisfaction ofjudgments, in compromise
     or as fines or penalties, and attorneys' fees and expenses incuned in connection with the
     preparation for or defense or disposition of any investigation, action, suit, ru.'bitration ot other
     proceeding (a "Proceeditig"), whether civil or criminal (all ofsuch Claims, amounts and expenses
     referred to therein are teferred to collecfrvely as ''Damages''), except tci the extentthatit shaU have
     been determined .ultimately by a court of competent jurisdiction, in a final nonappealable
     judgment, that such Damages arose primarily from Disabling Conduct of such Covered Person.
     The termination of any Proceeding..by settlement, judgment., order; conviction or upon a plea of
     nolo con:tendere or its equivalent shall not; of itself; c.reate a presumption that any Damages relating·
     to such settlement, judgment, order~ conviction or plea of nolo contendere or its equivalent or
     otherwise relating to suc.h Proceeding arose primarily from Disabling Conduct of any Covered
     Persons. Any Coveted Person shall be indemhified under the terms ofthis Section 6.03 regardless
     of such Covered Person's sole, comparative) joint, concurrent, or subsequent negligence.

             Expenses (including attorneys' feesJincurred by a Covered Person in defense or settlement
     ofahy Claim tha:t rnay be .subject to a tight of inde1nniflcation hefeundcr shall be advanced by the
     Management Company prior to the final disposition thereof upon receipt of a written undertaking
     by ot cm behalf of the Covered Person to .repay the .amoi.nit advanced to the extent that it shall   be
     determine.d ultimately by a court of competent jurisdiction that the Covered Person is riot entitied
     to be indemnified heret1nder. The right of any Covered.Persons to the indemnification provided
     herein shall be cumulative of, and in addition to, any and all rights to which the Covered Person
     may otherwise be entitled by contract or as a matter of law or equity and shall be extended to ihe
     Covered Person's sU<;cessors, assigns anq legal representatives. · Any judgments against the
     Management Company and/or any Covered Persons in respect of which such Covered Pers01i is
     entitled to indemnification shall firstbe satisfied from the assets of the Management Company,
     including DrawdoW1iS; before such Covered Person is respcuisible therefor.

             Notwithstanding any provision of this Agreement to the contrary, the provisions of this
     Section 6.03 shall not be co11strued so as to prqvide for the indemnification of any Covered Person
     for any liability (including liability under Federal securities laws which, under certain
     circumstances, impose liability even on persons that act ip good faith); to the extent (but only to
     the extent) that st.tch indemnification would be ih violation ofa:pplicable law, bt1tshal1 be construed
     so as to effectuate the provisions of this Section 6.03 to th~ fullest extent permitted by law.

             Sectioi1 6.04   Other Sources of Recovery etc. The inde1:nnification rights set forth in
     Section 6.03 are in addition to, and shall 11ot exc1ude,1irrtit or otherwise adverselyaffect, ahy other
     indemnification or similar rights to which any Covered Person may be entitled. lf and to the extent
     that other sources of recovery (including.proceed~ of any applicable policies. of insurance or
     indemnification from any Person in which any .of the Clients or Accotmts has an investment) are
     available to any Covered Person, such Cov~n~d .Person shall use reasonable efforts to obtain
     recovety froni such other sources before the Company sha.11 be required to make ·arty payment in
     respect of its indemnification obligations hereunder; provided that, if such other recovery is not
     available without delay, the Covered Person shall be entitled to such payrhertt by the Managenient
     Company and the Management Company shall be entitled to reimbursementqut of such other
     recovery when and if obtained.




                                                        13



                                                                                                   Appx. 04175
Case 21-03005-sgj Doc 134-7 Filed 12/18/21                   Entered 12/18/21 02:10:25            Page 51 of 610

    Case21-03005-sgj
    Case 21-03010-sgjDoc
         21-03010-sgj Doc86-2
                         4-3 Filed
                         10-4 Filed02/17/21
                                    02/18/21 Entered
                                    10/29/21 Entered02/17/21
                                                     02/18/2108:45:45
                                                     10/29/21 13:50:54 Page
                                                              17:22:38 Page15
                                                                            15of
                                                                            14 of20
                                                                                  20
                                                                                  19




            Section 6.05 Rights of Heirs. Successors and Assigns. 11Je indemnification rights
     provided by Section 6.03 shall in:ure to the benefit of the, heirs, executors, administrators,
     successors and assigns of each Covered Person.

              Section 6.06 Reliance. A Covered Person shall incur no liability to the Management
     Company or any Member in acting upon any sjgnature or writing reasonably believed by him, her
     or it to be genuine, and may rely in good faith 011 a certificate signed by an officer ofany Person
     in order to ascertainany fact withrespect to s_uch Person or within suqh'Person's kriowledge. Each
     Covered Person may act directly or through his, her or its agents or atto111eys.

                                                 ARTICLE VU

                                               TERJ.vUNATION

              Section 7.01 Te1mination. Either Party may terminate this Agreeme11t at any time upon
     at least thirty (30) days' vvritten notice to th~ other. ··          ·             ·

                                                ARTICLE VIII

                                             MISCELLANEOUS

             Section 8.01 Amend1i1ents. This Agreement may not be arnended or modified except by
     an instrument in writing signed by .each Party.

             Section 8.02    Assignment and Delegation.

                      (a)      Neither Party may assign, pledge, grant or othei:wise encumber ot transfer
     all or any -part of its rights .or responsibilities under this Agreement; in whole ot in part, except (i)
     as provided in clau.scs (b) and (c}ofthis Section 8.02, v-.rithol1tthe prior written consent of the other
     Party and (H) in acc6edance with Applicable Law.

                   (b)    Except as otherwise provided in this Section 8.02, the Staff ancl Services
     Provider may not assign its :rights or responsibilities under this Agreement unless (i) the
     Manageri1ent Company conserttsin writing thereto and (ii) such assignmentis made in accordance
     with Applicable Law. .                               ..

                     (c)       Th~ Staff and Services Provider may; without satisfying any of the
     conditions of Section 8.02(a) otherthan clause·(ii) thereof, (1) assign anyofitsrights or obligations
     under this Agreement to an Affiliate; providedthat. such Affiliate (i) has demonstrated ability,
     whether as m'l entity or by its principals and employees, to professionally and cbmpetently perforn1
     duties similar to those imposed upon the Staff and Services Provider purstrnnt to this Agreement
     and (ii) has the legal l'ight inid capacity to act as Staffartd Services Provider under this Agree1rient,
     or(2) entet into (or have its parent enter into) any consolidation or amalgamation with, ormerger
     with or into, or transfer of all or substantially all of its assets to, another entity; provided that, at
     the time of Such consolidation, merger, amalgamation or transfer the resulting, surviving or
     transfore.e entity assumes all the obligc.1tions of the Staff and Services Provider m1der this
     Agreement generally (whether by operation of law or by contract) and the other entity is a
     continuation of the Staff and Services Provider in another corporate· or .similar form and has


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                                                                                                   Appx. 04176
Case 21-03005-sgj Doc 134-7 Filed 12/18/21                   Entered 12/18/21 02:10:25            Page 52 of 610

    Case21-03005-sgj
    Case 21-03010-sgjDoc
         21-03010-sgj Doc86-2
                         4-3 Filed
                         10-4 Filed02/17/21
                                    02/18/21 Entered
                                    10/29/21 Entered02/17/21
                                                     02/18/2108:45:45
                                                     10/29/21 13:50:54 Page
                                                              17:22:38 Page16
                                                                            16of
                                                                            15 of20
                                                                                  20
                                                                                  19




     substantially the same staff; providedfi1rther that the Staff and Services Provider shall deliver ten
     (10) Business Days' prior notice to the Management Company of any assignment or combination
     made pursuant to this sentence. Upon the execution and clelivety of any &uch 1:1ssignment by the
     assignee, the Staff and Services Piovider will be released from further obligations pursuant to this
     Agreement except to the extent expressly provided herein.

             Section. 8.03   Non-Recourse: Non-Petition.

                        (a)     The Staff and Services Provider agrees that the payment of all amounts to
     which itis erititledpurs11i:u1ttothis Agreement shall be payable by the Manage111entCompa11y only
     to the ex'.terit of assets held in the Portfolio.

                     (b)     Notwithstanding anything to the contrary contained herein, the liability of
                                                                                             in
     the Manage1i1ent Company to the Sta:ffand Services Provider hereµnder is limited recourse to
     the.Poiifolio, and if the proceeds of the Portfolio following the liquidation thei'eofareinsuf:ficfont
     to meet the obligations of the Management Company hereund<:!r in full~ the Management Company
     shall have no further liability in respect of any such outstanding obligations, and snch obligations
     and all claims of the Staff and Services Provider or any other Person against the. Management
     Cornp~ny hereunder shall tl)ereupon extinguish and not thereafter revive.· ·The Staff and Services
     Ptovider accepts that the obligations ofthe·Management Compatiy hereunder ate the corporate
     obligations ofthe Management Company and are not the obligations ofany employee, member,
     officer, director or administrator of the Management Con1pany and no action may be taken against
     any such Person ih relation to the obHsatiorts of the Mana~ement Company hereunder,

                    (c)     Notwithstanding anything to the contrary contained herein, any Staff and
     Services Provider agrees not to institute against, or join any other Person in instituting against, the
     Management Company any bankruptcy, reorganization, arrangement, insolve11cy, rnoratoriµm or
     liquidation proceedings, or other proceedings under United States federal or state bankruptcy laws,
     or similar laws until at least one year and one day {or; if longer; the then applicable preference
     period plus one day) after the paymentin full all amounts payable in respect of any Indebtedness
     incurred to finance aily p01tion of the Portfolio; provided that nothing in this provision shall
     preclude, or be deeirted to stop, theStaffand Services P~ovider·from taking any action prior to the
     expiration of the aforementioned one year and one day period (or, if longel', the applicable
     preference period then in effect plus one day) in (i) any case or proceeding voluntarily filed or
     commenced by the Management Company, or (ii) any involuntary·insolvency proceeding ii.led or
     commenced against the Mat1agement Company by ·a Person other than the Staff and Services
     Provider.

                     (d)     The Mana:ge1rnmt Company hereby ackI1owl~dges and agl'ees that the Staff
     and Services Provider's obligations heteilridershall be solely the corporate obligations of the Staff
     and Services Provider; and are not the obligations of any employee, member, officer, director or
     administrator of the Staff and Services Providet and no action n'l.ay be taken against ariy such
     Person in relation to the obligations of the Staffand Services Provider heretmder.

                    (e)     The provisions of this Section 8,03 shall survive tennination of this
     Agreement foi" any. reason whatsoever,




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Case 21-03005-sgj Doc 134-7 Filed 12/18/21                  Entered 12/18/21 02:10:25           Page 53 of 610

    Case21-03005-sgj
    Case 21-03010-sgjDoc
         21-03010-sgj Doc86-2
                         4-3 Filed
                         10-4 Filed02/17/21
                                    02/18/21 Entered
                                    10/29/21 Entered02/17/21
                                                     02/18/2108:45:45
                                                     10/29/21 13:50:54 Page
                                                              17:22:38 Page17
                                                                            17of
                                                                            16 of20
                                                                                  20
                                                                                  19




             Section: 8 .04   Governing Law.

                     (a)     This Agreement sfaill be governed by, and construed in accordance with,
     the laws ofthe State of Texas. The Parties unconditionally and itrevocal:ily consent to the exchrnive
     jurisdiction ofthe courts located in the State of Texas and waive any objection with respectthereto,
     fqr the pmpcise. of any action, suit or proceeding arisingout of or relating to this Agreement or the
     transactions contemplated hereby.

                     (b)    The Parties iITevocabJy agree for the benefit ofeach other that the courts of
     the State of Texas and the United States District Court located iirthe Northern District ofTexas in
     Dallas are to have exclusive jurisdiction to settle any disputes (whether contractual or non~
     contractual) which may arise out of or in comiection with this Agreement and that accordingly any
     action arising out of or iri connection thei·ewith (together refe1ted to as "Proceedings") may be
     brought in such courts. The Parties irrevocably submit to the jurisdiction of such courts andwaive
     ariy objection which they faay have now or hereafter to the layingnf the venue ofany Proceedfr1gs
     in any such court and any claim that any Proceedings have been brought in an inconvenient forwn
     and further irrevocably agree that. a judgment .in any Proceedings brought in such cou1ts shall be
     co11clusive and binding upon the Patties and 1nay be· enfoi'ced h1 the courts of any other jurisdiction.

                   WAIVER OF JURY TRIAL. EACH OF THE PARTIES HERETO
            Section 8.05
     HEREBY KNOWINGLY, V0LUNTARILYAND INTENTIONALLY WAIVES ANY RIGHTS
     IT MAY HAVE TO A TRIAL BY JURY IN RESPECT· OF ANY LITIGATION BASED
     HEREON, OR ARISING OUT OF, UNDER, OR IN CONNECTION WITH, THiS
     AGREEMENT. EACH PARTY HERETO ACKNOWLEDGES AND AGREES THAT IT HAS
     RECENED FULL AND SDFFICIENT .CONSIDERATION FOR THIS PROVISION AND
     THAT THIS PROVISION IS A MATERIAL INPUCEMENTFOR ITS ENTERING INTO THIS
     AGREEMENT

             Section 8.06 Severability. The provisions of this Agreement are independent of and
     severable from each other, ahd no provision shall be affected Or rendered invalid or utienforceable
     by virtue ofthe fact thatfor any reason any other or others ofthem may be invalid ·o nmenforceable
     in whole or in part. Upon such determination that any term or other provision is invalid, illegal or
     incapable ofbeirtg enforced, the Parties shall negotiate fa good faith to modify this Agreement so
     as to effect the original intent of the.Parties.             ·                 ·

             Section 8.07 No Waiver. The performance of any condition or obligation imposed upoh
     any Party may be waived 011ly upbh the written consent of the Paities. Such waiver shall be,limited
     to the terms thereof and shaU not constitute a waiver of any other condition or obligation of the
     other Party. Any failure by any Party to enforce any provision shall not constitute a waiver ofthat
     or any other provision or this Agreement.

              Section 8.08 Counterparts; This Agreement may be e~ecuted in MY number of
     cou:riterparts by facsih1ile or other written or electronic fotm of communication, each of which
     shall he deemed to b.e an original as agai11st any Party whose signature appears thereon, and all of
     which shall together constitute one and the same instrument. This Agreement shall become
     binding when one or more counterparts h(;reof, individually or taken together, shall bear the
     signatures of all of the Parties reflected hereon as the signatories.



                                                       16


                                                                                                  Appx. 04178
Case 21-03005-sgj Doc 134-7 Filed 12/18/21                  Entered 12/18/21 02:10:25         Page 54 of 610

    Case21-03005-sgj
    Case 21-03010-sgjDoc
         21-03010-sgj Doc86-2
                         4-3 Filed
                         10-4 Filed02/17/21
                                    02/18/21 Entered
                                    10/29/21 Entered02/17/21
                                                     02/18/2108:45:45
                                                     10/29/21 13:50:54 Page
                                                              17:22:38 Page18
                                                                            18of
                                                                            17 of20
                                                                                  20
                                                                                  19




             Section 8.09 Third Party Beneficiaries. This Agreement is for the sole benefit of the
     Parties hereto and their permitted assigns and nothing herein express or implied shall giv~ or be
     construed to give to any Person, othetthan the Parties hereto ai1d such permitted assigns, any legal
     or equitahlerights hereunder. For avoidance of doubt, this Agreement is not for the benefit or and
     is not enforceable by any Shared Employee, CHenLor Account or arty investor (directly or
     indirectly) in the Management Company.

             Section 8.10 No Paitnership or JointVenture~ Nothing set forth in this Agreement shall.
     constitute; or he construed to create, an employment relationship, a pmtnership or a jojnt venture
     between the Par~ies. Except as expressly provided herein or in any other written agreement
     between the Parties, 110 Party has any authority, express or implied, to bind or to incut liabilities
     on behalf of, or in the name of, any other Pmty.                     ·

     .      Section8J l     Independent Contractor. Notwithstanding anything to the contrary,         the
     Staff and Services Provider shall be deemed to be an independent contractor and; except as
     expressly provided or authotized herein, shall have no authority to act for or represent the
     Management Company or any Client or Account in which the Management Company acts as
     portfolio mai1agel' or investment manager or in a similar capacity in any manner ot otherwise be
     deemed an agent ofthe Management Company orany Client or Account.in.which the Management
     Co1i1pany acts as portfolio manager or investment manager or in a similar capacity.

             Section 8.12 Written Disclosute Statement. The Mmmgement Company acknowledges
     receipt of Part 2 ofthe Staffand Services Provider's Form ADV, as required by Rule 204-3under
     the Advisers Act, on or before the date ofexecution of this Agree1nent.

           Section 8.13 Headings. The desctlptive headings contained in this Agreement are for
     convenience of reference only and shall not affect in any way the1Ueaning or interpretation ofthis
     Agreement.

             Section 8.14 Er1tire Agreement. This Agreement constitutes.the entire agreement ofthe
     Partie$ With respect to the subject matter hereof and $llpersedes all prior agreements and
     undertakings, both written and oral, between the Parties with respect to such subject matter;

            Section 8.15 Notices. Any notice or demand to any Party to be given, made or served
     for any purposes under this Agreement shall be given, made oi' served by sendi1ig the sarne·by
     overnight mail or email transmission or by delivering it by hand as follows:

                    (a)     If to the Management Company:
                            NexPoiht Advisors, L.P.
                            200 Cre:Sce1it Court   ·
                            Suite 700
                            Dallas; TX 75201




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                                                                                               Appx. 04179
Case 21-03005-sgj Doc 134-7 Filed 12/18/21                 Entered 12/18/21 02:10:25          Page 55 of 610

    Case21-03005-sgj
    Case 21-03010-sgjDoc
         21-03010-sgj Doc86-2
                         4-3 Filed
                         10-4 Filed02/17/21
                                    02/18/21 Entered
                                    10/29/21 Entered02/17/21
                                                     02/18/2108:45:45
                                                     10/29/21 13:50:54 Page
                                                              17:22:38 Page19
                                                                            19of
                                                                            18 of20
                                                                                  20
                                                                                  19




                    (b)     If to the Staff and Services Providei·:
                            Highland Capital Management, L.P.
                            300 Crescent Court
                            St.1ite700
                            Dallas, TX: 75201

     or to such other address or email address as shall have been notified.to the other Parties.




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                                                      18


                                                                                                   Appx. 04180
Case 21-03005-sgj Doc 134-7 Filed 12/18/21       Entered 12/18/21 02:10:25          Page 56 of 610

    Case21-03005-sgj
    Case 21-03010-sgjDoc
         21-03010-sgj Doc86-2
                         4-3 Filed
                         10-4 Filed02/17/21
                                    02/18/21 Entered
                                    10/29/21 Entered02/17/21
                                                     02/18/2108:45:45
                                                     10/29/21 13:50:54 Page
                                                              17:22:38 Page20
                                                                            20of
                                                                            19 of20
                                                                                  20
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            IN WITNESS WHEREOF, each Party has caused this Agreemenfto be executed as ofthe
     date hereof by its duly authorized representative.


                                                   NEXPOINT ADVISORS, L.P.

                                                   By: NexPoint Advisors GP, LLC, its
                                                   General Partner



                                                   By:_ _ _ _ _ _ _ _ _ _ _ __
                                                   Name: Frank Waterhouse
                                                   Title: Treasurer



                                                   HIGHLAND CAPITAL
                                                   MANAGEMENT, L.P.

                                                   By: Strand Advisors, Inc., its General


                                                   ~:·~
                                                   Name: Frank Waterhouse
                                                   Title: Treasurer




                                                                                      Appx. 04181
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 57 of 610




                             EXHIBIT 206




                                                                          Appx. 04182
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 58 of 610




                      IN THE UNITED STATES BANKRUPTCY COURT
   1                    FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION
   2
                                      )      Case No. 19-34054-sgj-11
   3   In Re:                         )      Chapter 11
                                      )
   4   HIGHLAND CAPITAL               )      Dallas, Texas
       MANAGEMENT, L.P.,              )      Tuesday, February 2, 2021
   5                                  )      9:30 a.m. Docket
                 Debtor.              )
   6                                  )      CONFIRMATION HEARING [1808]
                                      )      AGREED MOTION TO ASSUME [1624]
   7                                  )
   8                        TRANSCRIPT OF PROCEEDINGS
                   BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
   9                     UNITED STATES BANKRUPTCY JUDGE.

  10   WEBEX APPEARANCES:

  11   For the Debtor:                Jeffrey Nathan Pomerantz
                                      PACHULSKI STANG ZIEHL & JONES, LLP
  12                                  10100 Santa Monica Blvd.,
                                        13th Floor
  13                                  Los Angeles, CA 90067-4003
                                      (310) 277-6910
  14
       For the Debtor:                John A. Morris
  15                                  Gregory V. Demo
                                      PACHULSKI STANG ZIEHL & JONES, LLP
  16                                  780 Third Avenue, 34th Floor
                                      New York, NY 10017-2024
  17                                  (212) 561-7700

  18   For the Debtor:                Ira D. Kharasch
                                      PACHULSKI STANG ZIEHL & JONES, LLP
  19                                  10100 Santa Monica Blvd.,
                                        13th Floor
  20                                  Los Angeles, CA 90067-4003
                                      (310) 277-6910
  21
       For the Official Committee     Matthew A. Clemente
  22   of Unsecured Creditors:        SIDLEY AUSTIN, LLP
                                      One South Dearborn Street
  23                                  Chicago, IL 60603
                                      (312) 853-7539
  24

  25




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Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 59 of 610




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   1   APPEARANCES, cont'd.:
   2   For Redeemer Committee of      Terri L. Mascherin
       the Highland Crusader          JENNER & BLOCK, LLP
   3   Fund:                          353 N. Clark Street
                                      Chicago, IL 60654-3456
   4                                  (312) 923-2799
   5   For Acis Capital               Rakhee V. Patel
       Management GP, LLC:            WINSTEAD, P.C.
   6                                  2728 N. Harwood Street, Suite 500
                                      Dallas, TX 75201
   7                                  (214) 745-5250
   8   For UBS Securities, LLC:       Andrew Clubok
                                      LATHAM & WATKINS, LLP
   9                                  555 Eleventh Street, NW,
                                        Suite 1000
  10                                  Washington, DC 20004
                                      (202) 637-2200
  11
       For Patrick Daugherty:         Jason Patrick Kathman
  12                                  PRONSKE & KATHMAN, P.C.
                                      2701 Dallas Parkway, Suite 590
  13                                  Plano, TX 75093
                                      (214) 658-6500
  14
       For HarbourVest, et al.:       Erica S. Weisgerber
  15                                  DEBEVOISE & PLIMPTON, LLP
                                      919 Third Avenue
  16                                  New York, NY 10022
                                      (212) 909-6000
  17
       For James Dondero:             Clay M. Taylor
  18                                  John Y. Bonds, III
                                      D. Michael Lynn
  19                                  Bryan C. Assink
                                      BONDS ELLIS EPPICH SCHAFER
  20                                    JONES, LLP
                                      420 Throckmorton Street,
  21                                    Suite 1000
                                      Fort Worth, TX 76102
  22                                  (817) 405-6900
  23   For Get Good Trust and         Douglas S. Draper
       Dugaboy Investment Trust:      HELLER, DRAPER & HORN, LLC
  24                                  650 Poydras Street, Suite 2500
                                      New Orleans, LA 70130
  25                                  (504) 299-3300




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Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 60 of 610




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       APPEARANCES, cont'd.:
   1
       For Certain Funds and          Davor Rukavina
   2   Advisors:                      Julian Vasek
                                      MUNSCH, HARDT, KOPF & HARR
   3                                  500 N. Akard Street, Suite 3800
                                      Dallas, TX 75201-6659
   4                                  (214) 855-7587
   5   For Certain Funds and          A. Lee Hogewood, III
       Advisors:                      K&L GATES, LLP
   6                                  4350 Lassiter at North Hills
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       For the NexPoint               Lauren K. Drawhorn
   9   Parties:                       WICK PHILLIPS
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  10                                  Dallas, TX 75204
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       For Scott Ellington,           Frances A. Smith
  12   Isaac Leventon, Thomas         ROSS & SMITH, P.C.
       Surgent, and Frank             Plaza of the Americas
  13   Waterhouse:                    700 N. Pearl Street, Suite 1610
                                      Dallas, TX 75201
  14                                  (214) 593-4976
  15   For Scott Ellington,           Debra A. Dandeneau
       Isaac Leventon, Thomas         BAKER & MCKENZIE, LLP
  16   Surgent, and Frank             452 Fifth Avenue
       Waterhouse:                    New York, NY 10018
  17                                  (212) 626-4875
  18   For CLO Holdco, Ltd.:          John J. Kane
                                      KANE RUSSELL COLEMAN LOGAN, P.C.
  19                                  901 Main Street, Suite 5200
                                      Dallas, TX 75202
  20                                  (214) 777-4261
  21   For Davis Deadman, Todd     Jason Patrick Kathman
       Travers, and Paul Kauffman: PRONSKE & KATHMAN, P.C.
  22                               2701 Dallas Parkway, Suite 590
                                   Plano, TX 75093
  23                               (214) 658-6500
  24

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Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 61 of 610




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   1   APPEARANCES, cont'd.:
   2   For the United States          David G. Adams
       of America (IRS):              U.S. STATES DEPARTMENT OF JUSTICE,
   3                                    TAX DIVISION
                                      717 N. Harwood Street, Suite 400
   4                                  Dallas, TX 75201
                                      (214) 880-2432
   5
       For Highland CLO Funding,      Rebecca Matsumura
   6   Ltd.:                          KING & SPALDING, LLP
                                      500 West 2nd Street, Suite 1800
   7                                  Austin, TX 78701
                                      (512) 457-2024
   8
       For Crescent TC                Michael S. Held
   9   Investors:                     JACKSON WALKER, LLP
                                      2323 Ross Avenue, Suite 600
  10                                  Dallas, TX 75201
                                      (214) 953-5859
  11
       For the Issuer Group:          Amy K. Anderson
  12                                  JONES WALKER, LLP
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                                      (713) 437-1866
  14
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                                      Shady Shores, TX 76208
  19                                  (972) 786-3063
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  24          Proceedings recorded by electronic sound recording;
                 transcript produced by transcription service.
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Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 62 of 610




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      1             DALLAS, TEXAS - FEBRUARY 2, 2021 - 9:38 A.M.

      2              THE COURT:   Good morning.      Please be seated.     All

      3   right.   We are ready to get started now in Highland Capital.

      4   We have a confirmation hearing as well as a motion to assume

      5   the non-residential real property lease at the headquarters.

      6   All right.   This is Case No. 19-34054.        I know we're going to

      7   have a lot of appearances today.        I think we're just down to a

      8   handful of objections, but I'm nevertheless going to go ahead

      9   and get formal appearances from our key parties that we've had

     10   historically in this case.

     11        First, for the Debtor team, do we have Mr. Pomerantz and

     12   your crew?

     13              MR. POMERANTZ:    Yes.    Good morning, Your Honor.      Jeff

     14   Pomerantz, along with John Morris, Ira Kharasch, and Greg

     15   Demo, on behalf of the Debtor-in-Possession, Highland Capital.

     16              THE COURT:   All right.     Good morning.     All right.

     17   For the Unsecured Creditors' Committee team, do we have Mr.

     18   Clemente and others?

     19              MR. CLEMENTE:    Yes.    Good morning, Your Honor.

     20   Matthew Clements; Sidley Austin; on behalf of the Official

     21   Committee of Unsecured Creditors.

     22              THE COURT:   All right.     I'm actually going to call a

     23   roll call for the Committee members who have obviously been

     24   very active during this case.        For the Redeemer Committee and

     25   Crusader Fund, do we have Ms. Mascherin and her team?




                                                                           Appx. 04187
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 63 of 610




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       1   (Pause.)   Okay.   We're -- if -- you must be on mute.

       2              MS. MASCHERIN:    Your Honor, I apologize.

       3              THE COURT:    Okay.    Go ahead.

       4              MS. MASCHERIN:    I apologize, Your Honor.         I was on

       5   mute and could not figure out how to unmute myself quickly.

       6   Terri Mascherin; Jenner & Block; on behalf of the Redeemer

       7   Committee.

       8              THE COURT:    All right.   Good morning.

       9        All right.    What about Acis?     Do we have Ms. Patel and

      10   others for the Acis team?

      11              MS. PATEL:    Good morning, Your Honor.      Rakhee Patel

      12   on behalf of Acis Capital Management.

      13              THE COURT:    Good morning.

      14        All right.    Mr. Clubok, I see you there for the UBS team,

      15   correct?

      16              MR. CLUBOK:    Yes.    Good morning, Your Honor.

      17              THE COURT:    Good morning.

      18        All right.    For Patrick Daugherty, I think I see Mr.

      19   Kathman out there, correct?

      20              MR. KATHMAN:    Good morning, Your Honor.      Jason

      21   Kathman on behalf of Patrick Daugherty.

      22              THE COURT:    All right.   Good morning.

      23        All right.    What about HarbourVest?      Anyone on the line

      24   for HarbourVest?

      25              MS. WEISGERBER:    Good morning, Your Honor.        Erica




                                                                           Appx. 04188
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 64 of 610




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       1   Weisgerber for HarbourVest.

       2             THE COURT:    All right.    Very good.

       3        All right.   Well, I'll now, I guess, turn to some of the

       4   Objectors that I haven't hit yet.       Who do we have appearing

       5   for Mr. Dondero this morning?

       6             MR. TAYLOR:    Good morning, Your Honor.      Clay Taylor

       7   of the law firm of Bonds Ellis Eppich Schaefer & Jones

       8   appearing on behalf of Mr. Dondero.       I have with me, of

       9   course, Mr. Dondero, who is in the room with me.         Dennis

     10    Michael Lynn, John Bonds, and Bryan Assink are also appearing

     11    on behalf of Mr. Dondero.

     12              THE COURT:    All right.    Thank you, Mr. Taylor.

     13         All right.   For the Dugaboy Trust and Get Good Trust, do

     14    we have Mr. Draper and others?

     15              MR. DRAPER:    Yes, Your Honor.     This is Douglas Draper

     16    on the line.

     17              THE COURT:    All right.    Good morning.

     18              MR. DRAPER:    Good morning, Your Honor.

     19              THE COURT:    All right.    What about what I'll call

     20    Highland Fund, the Highland Funds and Advisors?         Do we have

     21    Mr. Rukavina this morning, or who do we have?

     22              MR. RUKAVINA:    Your Honor, good morning.          Davor

     23    Rukavina and Julian Vasek for the Funds and Advisors.            I can

     24    make a full appearance, but it's the parties listed on Docket

     25    1670.




                                                                           Appx. 04189
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 65 of 610




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       1               THE COURT:   All right.    Thank you, Mr. Rukavina.

       2        All right.   What about --

       3               MR. HOGEWOOD:   Your Honor?

       4               THE COURT:   Go ahead.

       5               MR. HOGEWOOD:   Your Honor, Lee Hogewood.         I'm sorry,

       6   Your Honor.    Lee Hogewood is also here on behalf of the same

       7   parties.

       8               THE COURT:   All right.    Thank you, sir.

       9        All right.   What about NexPoint Real Estate Partners, HCRE

     10    Partners?

     11                MS. DRAWHORN:   Good morning, Your Honor.         Lauren

     12    Drawhorn with Wick Phillips on behalf of NexPoint Real Estate

     13    Partners, LLC.    I'm also here on behalf of the NexPoint Real

     14    Estate entities which are listed on Docket 1677, and NexBank,

     15    which is -- their objection is 1676.

     16                THE COURT:    All right.    Thank you.

     17         All right.   Let's cover some of the employees.          I think I

     18    see Ms. Smith out there.     Are you appearing for Mr. Ellington

     19    and Mr. Leventon?

     20                MS. SMITH:   Yes, Your Honor.    Frances Smith with Ross

     21    & Smith, along with Debra Dandeneau of Baker McKenzie, on

     22    behalf of Scott Ellington, Isaac Leventon, Thomas Surgent, and

     23    Frank Waterhouse.

     24                THE COURT:   All right.    Could you spell the last name

     25    of your co-counsel from Baker McKenzie?        I didn't clearly get




                                                                           Appx. 04190
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25     Page 66 of 610




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      1   that.

      2              MS. SMITH:    Yes, Your Honor.       It's Debra Dandeneau,

      3   D-A-N-D-E-N-N-A-U [sic].

      4              THE COURT:    Okay.     Thank you.

      5        All right.    CLO Holdco, do we have you appearing this

      6   morning?

      7              MR. KANE:    Your Honor, John Kane on behalf of CLO

      8   Holdco.

      9              THE COURT:    Thank you, Mr. Kane.

     10        All right.    I know we had a different group of current or

     11   former employees -- Brad Borud, Jack Yang -- and some joining

     12   parties:    Kauffman, Travers, Deadman.         Who do we have

     13   appearing for those?      (Pause.)    Anyone?    If you're appearing,

     14   we're not hearing you.      Go ahead.

     15              MR. KATHMAN:    Good morning, Your Honor.       Jason

     16   Kathman.    I represent Mr. Deadman, Mr. Travers, and Mr.

     17   Kauffman as well.

     18              THE COURT:    Okay.     Thank you.    And I can't remember

     19   who represents Mr. Borud and Yang.        Someone separately.

     20              MR. KATHMAN:    It's Mr. Winikka, Your Honor.

     21              THE COURT:    Oh, Mr. Winikka.

     22              MR. KATHMAN:    And I haven't scrolled through to see

     23   whether he's with -- in the 120 people signed in this morning.

     24   But I believe that objection has been resolved.          I think Mr.

     25   Pomerantz will probably address that later.          So Mr. Winikka




                                                                            Appx. 04191
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 67 of 610




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       1   may not be appearing.

       2               THE COURT:   Okay.    All right.   Well, anyone for the

       3   IRS?

       4               MR. ADAMS:   Good morning, Your Honor.     David Adams,

       5   Department of Justice, on behalf of the United States and its

       6   agency, the Internal Revenue Service.

       7               THE COURT:   Thank you, Mr. Adams.

       8          For the U.S. Trustee, who do we have appearing this

       9   morning?    (No response.)    I'm not hearing you.     If you're

     10    trying to appear, you must be on mute.         (No response.)    All

     11    right.    Well, I suspect at some point we'll hear from the U.S.

     12    Trustee, even though I don't hear anyone now.

     13           At this point, I will open it up to anyone else who wishes

     14    to appear who I failed to call.

     15                MS. MATSUMURA:   Your Honor, this is Rebecca Matsumura

     16    from King & Spalding representing Highland CLO Funding, Ltd.

     17    Thank you.

     18                THE COURT:   All right.   Thank you, Ms. Matsumura.

     19    HCLOF.

     20           Anyone else?

     21                MR. HELD:    Your Honor, this is Michael Held with the

     22    law firm of Jackson Walker, LLP on behalf of the office

     23    landlord, Crescent TC Investors, LP.

     24                THE COURT:   All right.   Thank you, Mr. Held.

     25                MR. HELD:    Thank you, Your Honor.




                                                                           Appx. 04192
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 68 of 610




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       1              THE COURT:   Okay.     Any other lawyer appearances?

       2        All right.   Well, again, if there's anyone out there who

       3   did not get to appear, maybe we'll hear from you at some point

       4   as the day goes on.

       5        All right.   Mr. Pomerantz, this is an important day,

       6   obviously.   How did you want to begin things?

       7              MR. POMERANTZ:    So, Your Honor, I have a brief

       8   opening to talk about what I plan to do, and a little more

       9   lengthy opening, and it'll be come clear.        So if I may

     10    proceed, Your Honor?

     11               THE COURT:   You may.

     12               MR. POMERANTZ:    Your Honor, we're here to request

     13    that the Court confirm the Debtor's Fifth Amended Plan of

     14    Reorganization, as modified.       The operative documents before

     15    Your Honor are the Fifth Amended Plan, as modified, that was

     16    filed along with our pleadings in support of confirmation on

     17    January 22nd and the minor amendments that we filed on

     18    February 1st.

     19         Here is my proposal on how we can proceed this morning.           I

     20    would intend to provide the Court with an opening statement

     21    that would last approximately 20 minutes.        And then after any

     22    other party who desires to make an opening statement, I would

     23    propose that the Debtor put on its evidence that it intends to

     24    rely on in support of confirmation.       The evidence consists of

     25    the exhibits that the Debtor filed with its witness and




                                                                          Appx. 04193
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 69 of 610




                                                                             12


       1   exhibit list on January 22nd and certain amendments that we

       2   filed yesterday.

       3        We would also put on the testimony of the following

       4   witnesses:    Jim Seery, the Debtor's chief executive officer,

       5   who Your Honor is very familiar with, and also a member of

       6   Strand's board of directors; John Dubel, a member of Strand's

       7   board of directors; and Mark Tauber, a vice president with Aon

       8   Financial Services, the Debtor's D&O broker.

       9        We have also submitted the declaration of Patrick Leatham,

     10    who is with KCC, the Debtor's balloting agent.         And we don't

     11    intend to put Mr. Leatham on the stand, but he is available on

     12    the WebEx for cross-examination, to the extent necessary.

     13         I propose that I would leave the bulk of my argument,

     14    which includes going through the Section 1129 requirements for

     15    plan confirmation, as well as responding to the remaining

     16    outstanding objections, until my closing argument.

     17         With that, Your Honor, I will pause and ask the Court if

     18    Your Honor has any questions before I proceed.

     19               THE COURT:   I do not have questions, so your method

     20    of going forward sounds appropriate.       You may go ahead.

     21               MR. POMERANTZ:    Thank you, Your Honor.

     22                 OPENING STATEMENT ON BEHALF OF THE DEBTOR

     23               MR. POMERANTZ:    As I indicated, Your Honor, we stand

     24    here side by side with the Creditors' Committee asking that

     25    the Court confirm the Debtor's plan of reorganization.




                                                                          Appx. 04194
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 70 of 610




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       1        As Your Honor is well aware, this case started in December

       2   in -- October 2019, was transferred to Your Honor's court in

       3   December 2019, and has been pending for approximately 15

       4   months.

       5        On January 9, 2020, I stood before Your Honor seeking the

       6   approval of the independent board of directors of Strand, the

       7   general partner of the Debtor, pursuant to a heavily-

       8   negotiated agreement with the Committee.        And as the Court has

       9   remarked on occasions throughout the case, the economic

     10    stakeholders in this case believed that the installation of a

     11    new board consisting of highly-qualified restructuring

     12    professionals and a bankruptcy judge, a former bankruptcy

     13    judge, was far more attractive than the alternative, which was

     14    appointment of a trustee.     And upon approval of the

     15    settlement, members of the board -- principally, Mr. Seery --

     16    testified that one of the board's goals was to change the

     17    culture of litigation that plagued Highland in the decade

     18    before filing and threatened to embroil the Debtor in

     19    continued litigation if changes were not made.

     20         And as Your Honor is well aware, the last 14 months have

     21    not been easy.    The board took its role as an independent

     22    fiduciary extremely seriously, much to the consternation of

     23    the Committee at times, and more recently, to the

     24    consternation of Mr. Dondero and his affiliated entities.

     25         And what has the Debtor, under the leadership of the




                                                                          Appx. 04195
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 71 of 610




                                                                             14


       1   board, been able to accomplish during this case?         The answer

       2   is a lot more than many parties believed when the board was

       3   installed.

       4        The Debtor reached a settlement with the Redeemer

       5   Committee, resolving disputes that had been litigated for many

       6   years, in many forums, and that resulted in an arbitration

       7   award that was the catalyst for the bankruptcy filing.

       8        Participating in a court-ordered mediation at the end of

       9   August 2020 and September, the Debtor reached agreement with

     10    Acis and Josh Terry.     The Court is all too familiar with the

     11    years of disputes between the Debtor and Acis and Josh Terry,

     12    which spanned arbitration proceedings and an extremely

     13    combative Chapter 11 that Your Honor presided over.

     14         The Debtor next reached an agreement with HarbourVest

     15    regarding their assertion of over $300 million of claims

     16    against the estate.    The HarbourVest litigation stemmed from

     17    its investment in the Acis CLOs and would have resulted in

     18    complex, fact-intensive litigation which would have forced the

     19    Court to revisit many of the issues addressed in the Acis

     20    case.

     21         And perhaps most significantly, Your Honor, the Debtor was

     22    able to resolve disputes with UBS, disputes which took the

     23    most time of any claim in this case, through a contested stay

     24    relief motion, a hotly-contested summary judgment motion, and

     25    a Rule 3018 motion.




                                                                          Appx. 04196
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 72 of 610




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       1         While the Debtor and UBS hoped to file a 9019 motion prior

       2   to the commencement of the hearing, they were not able to do

       3   so.   However, I am now in a position to disclose to the Court

       4   the terms of the settlement, which is the subject of

       5   documentation acceptable to the Debtor and UBS.         The

       6   settlement provides for, among other things, the following

       7   terms:

       8         UBS will receive a $50 million Class 8 general unsecured

       9   claim against the Debtor.

     10          UBS will receive a $25 million Class 9 subordinated

     11    general unsecured claim against the Debtor.

     12          UBS will receive a cash payment of $18.5 million from

     13    Multi-Strat, which was a defendant and the subject of

     14    fraudulent transfer claims.

     15          The Debtor will use reasonable efforts to assist UBS to

     16    collect its Phase I judgment against CDL Fund and assets CDL

     17    Fund may have.

     18          The parties will also agree to mutual and general

     19    releases, subject to agreed carve-outs.

     20          And, of course, the parties will not be bound until the

     21    Court approves the settlement pursuant to a 9019 motion we

     22    would hope to get on file shortly.

     23          I am also pleased to let the Court know -- breaking news

     24    -- that this morning we reached an agreement to settle Patrick

     25    Daugherty's claims.     I would now like to, at the request of




                                                                          Appx. 04197
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 73 of 610




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      1   Mr. Kathman, read into the record the Patrick Daugherty

      2   settlement.

      3        Under the Patrick Daugherty settlement, Mr. Daugherty will

      4   receive a $750,000 cash payment on the effective date.           He

      5   will receive an $8.25 million general unsecured claim, and he

      6   will receive a $2.75 million Class 9 subordinated claim.

      7        The settlement of all claims against the Debtor and its

      8   affiliates -- and affiliates will be defined in the documents

      9   -- with the exception of the tax claim against the Debtor, Mr.

     10   Dondero, and Mr. Okada -- and for the avoidance of doubt,

     11   except as I describe below, nothing in the settlement is

     12   intended to affect any pending litigation Mr. Daugherty has

     13   against Mr. Dondero, Scott Ellington, Isaac Leventon, Marc

     14   Katz, Michael Hurst, and Hunton Andrew Kurth.

     15        Mr. Daugherty will release the Debtor and its affiliates

     16   and current employees for all claims and causes of action,

     17   except for the agreements I identify below, and dismiss all

     18   current employees as to pending actions.        We believe this only

     19   applies to Thomas Surgent and no other employee is implicated.

     20        Mr. Surgent and other employees, including but not limited

     21   to David Klos, Frank Waterhouse, Brian Collins, Lucy Bannon,

     22   and Matt Diorio, will receive releases similar to the covenant

     23   in Paragraph 1D of the Acis settlement agreement, which

     24   essentially provided the release would go away if they

     25   assisted anyone in pursuing claims against Mr. Daugherty.




                                                                          Appx. 04198
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 74 of 610




                                                                              17


       1        Highland and the above-mentioned parties will accept

       2   service of any subpoenas and acknowledge the jurisdiction of

       3   the Delaware Chancery Court for the purposes of accepting any

       4   subpoenas.   And for the avoidance of doubt, Highland will

       5   accept service on behalf of the employees only in their

       6   capacity as such.

       7        Highland will also use material -- will use reasonable

       8   efforts at no material cost to assist Daugherty in vacating a

       9   Texas judgment that was issued against him.         We've also looked

      10   at a form of the motion and believe we have agreed on the form

      11   of the motion.

      12        Highland, its affiliates, and current employees will

      13   covenant and agree they will not pursue or seek to enforce the

      14   injunction and the Texas judgment against Daugherty.

      15        And lastly, Daugherty will not be able to settle any

      16   claims for negligence or other claims that might be subject to

      17   indemnification by the Debtor or any successor.

      18        Accordingly, Your Honor, other than the claims of Mr.

      19   Dondero and his related entities, and the unliquidated claims

      20   of certain employees, substantially all claims have been

      21   resolved in this case, a truly remarkable achievement.

      22        Separate and apart, Your Honor, from the work done

      23   resolving the claims, the Debtor, under the direction of the

      24   independent board, has worked extremely hard to develop a plan

      25   of reorganization.




                                                                          Appx. 04199
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 75 of 610




                                                                              18


       1        After the independent board got its bearings, it started

       2   to work on various plan alternatives.         And the board received

       3   a lot of pressure from the Committee to go straight to a plan

       4   seeking to monetize assets like the one before Your Honor

       5   today.   However, the board believed that before proceeding to

       6   do so and go down an asset monetization path, it should

       7   adequately diligence all alternatives, including a

       8   continuation of the current business model, a reorganization

       9   sponsored by Mr. Dondero and his affiliates, a sale of the

     10    Debtor's assets, including a sale to Mr. Dondero.

     11         In June 2020, plan negotiations proceeded in earnest, and

     12    the Debtor started to negotiate an asset monetization plan

     13    with the Committee, while still pursuing other alternatives.

     14         Preparation of an asset monetization plan is not typically

     15    a complicated process.     However, creating the appropriate

     16    structure for a business like the Debtor's was extremely

     17    complicated, because of the contractual, regulatory, tax, and

     18    governance issues that had to be carefully considered.

     19         At the same time the Committee negotiations were

     20    proceeding down that path, Mr. Seery continued to spend

     21    substantial time trying to negotiate a grand bargain plan with

     22    Mr. Dondero.    It is not an exaggeration to say that over the

     23    last several months Mr. Seery has dedicated hundreds of hours

     24    towards a potential grand bargain plan.

     25         And why did he do it?        Because he has always believed that




                                                                           Appx. 04200
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 76 of 610




                                                                             19


       1   a global restructuring among all parties was the best

       2   opportunity to fully and finally resolve the acrimony that

       3   continued to plague the Debtor.

       4        Notwithstanding Mr. Seery's and the independent board's

       5   best efforts, they were not able to reach consensus on a grand

       6   bargain plan, and the Debtor filed the plan, the initial plan,

       7   on August 12th, which ultimately evolved into the plan before

       8   the Court today.

       9        The Court conducted an initial hearing on the disclosure

     10    statement on October 27th, and then ultimately approved -- the

     11    Court approved the disclosure statement at a hearing on

     12    November 23rd.

     13         While the Debtor continued to work towards resolving

     14    issues with the Committee with the filed plan, Mr. Dondero,

     15    beginning to finally see that the train was leaving the

     16    station, started to do whatever he could to get in the way of

     17    plan confirmation.

     18         He objected to the Acis settlement.       When his objection

     19    was overruled, he filed an appeal.

     20         He objected to the HarbourVest settlement.        When his

     21    objection was overruled, he had Dugaboy file an appeal.

     22         He started to interfere with the Debtor's management of

     23    its CLOs, stopping trades, refusing to provide support, and

     24    threatening Mr. Seery and the Debtor's employees.

     25         He had his Advisors and Funds that he owned and controlled




                                                                          Appx. 04201
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 77 of 610




                                                                              20


      1   file motions that Your Honor said was a waste of time.

      2          He had those same Funds and Advisors threaten to terminate

      3   the Debtor as a manager, in blatant violation of the Court's

      4   January 9, 2020 order.

      5          His conduct was so egregious that it warranted entry of a

      6   temporary restraining order and preliminary injunction against

      7   him.    And of course, he has appealed that ruling as well.

      8          But that was not all.   He brazenly threw out his phone, in

      9   what the Court has remarked was spoliation of evidence, and he

     10   violated the TRO in other ways, actions for which he will

     11   answer for at the contempt hearing scheduled later this week.

     12          And, of course, he and his pack of related entities have

     13   filed a series of objections.       We have received 12 objections

     14   to the plan, Your Honor, excluding three joinders.             And as I

     15   mentioned, we have been pleased to report that we've been able

     16   to resolve six of them:      those of the Senior Employees, those

     17   of Patrick Daugherty, those of CLO Holdco, those of the IRS,

     18   those of Texas Taxing Authorities, and those of Jack Young and

     19   Brad Borud.

     20          The CLO Holdco objection was withdrawn in connection with

     21   the settlement reached with them in connection with the

     22   preliminary injunction hearing that the Court heard -- started

     23   to hear last week.

     24          The Taxing Authorities' objections have been resolved by

     25   the Debtor agreeing to make certain modifications to the plan




                                                                           Appx. 04202
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 78 of 610




                                                                              21


       1   that were included in our filing yesterday and to include

       2   certain provisions in the confirmation order to address other

       3   concerns.

       4        The group of employees who are referred to as the Senior

       5   Employee are comprised of four individuals -- Frank

       6   Waterhouse, Thomas Surgent, Scott Ellington, and Isaac

       7   Leventon -- although Mr. Ellington and Mr. Leventon are no

       8   longer employed by the Debtor.

       9        On January 22nd, Your Honor, we filed executed

      10   stipulations with Frank Waterhouse and Thomas Surgent.           These

      11   stipulations were essentially the Senior Employee stipulations

      12   that were referred to in the plan and the disclosure

      13   statement.

      14        And as part of those stipulations, the Debtor, in

      15   consultation with and agreement from the Committee, agreed to

      16   certain modifications of the prior version of the Senior

      17   Employee stipulation with both Mr. Waterhouse and Mr. Surgent

      18   that effectively reduced the compensation they needed to

      19   provide for the release from 40 percent to five percent of

      20   their claims.

      21        The Debtor and the Committee believed the resolution with

      22   Mr. Surgent and with Mr. Waterhouse was fair, given the

      23   importance of these two people to the transition effort and

      24   the increased reliance upon them that the Debtor would have

      25   with the departure of Mr. Ellington and Mr. Leventon.          And as




                                                                          Appx. 04203
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 79 of 610




                                                                             22


       1   a result of that agreement, Your Honor, on January 27th, Mr.

       2   Waterhouse and Mr. Surgent withdrew from the Senior Employee

       3   objection.

       4        Subsequently, we reached agreement with Mr. Ellington and

       5   Mr. Leventon to resolve the objections they raised with

       6   confirmation.    And at Ms. Dandeneau's request, I would like to

       7   read into the record the agreement reached with both of them,

       8   and I know she will correct me if I get anything wrong.

       9             THE COURT:    Okay.

     10              MR. POMERANTZ:     Among other things, Mr. Ellington and

     11    Mr. Leventon asserted in their objection that they were

     12    entitled to have their liquidated bonus claims treated as

     13    Class 7 convenience claims under the plan, under their reading

     14    of the plan, and their understanding of communications with

     15    Mr. Seery.   The Debtor disputed the entitlement to elect Class

     16    7 based upon the terms of the plan, the disclosure statement,

     17    and applicable law.    But as I said, the parties have resolved

     18    this dispute.

     19         Mr. Ellington asserts liquidated bonus claims in the

     20    aggregate amount of $1,367,197, which, to receive convenience

     21    class treatment under anybody's analysis, would have had to be

     22    reduced to a million dollars.

     23         Mr. Leventon asserts a liquidated bonus claim in the

     24    amount of $598,198.

     25         If Mr. Ellington and Mr. Leventon were entitled to be




                                                                          Appx. 04204
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 80 of 610




                                                                              23


       1   included in the convenience class, as they claimed, they would

       2   be entitled to receive 85 percent of their claim as and when

       3   the claims were allowed under the plan.

       4        To settle the dispute regarding whether, in fact, they

       5   would be entitled to the convenience class treatment, they

       6   have agreed to reduce the percentage they would otherwise be

       7   entitled to receive from 85 percent to 70.125 percent.           And as

       8   a result, Mr. Ellington's Class 7 convenience claim would be

       9   entitled to receive $701,250 if allowed, and Mr. Leventon's

      10   Class 7 convenience claim would be entitled to receive

      11   $413,175.10 if allowed.

      12        Mr. Ellington and Mr. Leventon would reserve the right to

      13   assert that a hundred percent of their liquidated bonus claims

      14   are entitled to administrative priority, and the Debtor, the

      15   Committee, the estate and their successors, would reserve all

      16   rights to object.

      17        If anyone did object to the allowance of the liquidated

      18   bonus claims and Mr. Ellington and/or Mr. Leventon prevailed

      19   in such disputes, then the discount that was previously agreed

      20   to -- 85 percent to 70.125 percent -- would go away and they

      21   would be entitled to receive the full 85 percent payout as

      22   essentially a penalty for litigating against them on their

      23   allowed claims and losing.

      24        As an alternative to the estate preserving the right to

      25   object to the allowance of Mr. Ellington and Mr. Leventon's




                                                                          Appx. 04205
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 81 of 610




                                                                             24


       1   liquidated bonus claims, the Debtor and the Committee have an

       2   option to be exercised before the effective date to just agree

       3   that both their claims will be allowed, and allowed as Class 7

       4   convenience claims.    And if that agreement was reached, then

       5   the amount of such liquidated bonus claims, they would receive

       6   a payment equal to 60 percent of their allowed convenience

       7   class claim.

       8        In exchange, Mr. Ellington and Mr. Leventon would waive

       9   their right to assert payment of a hundred percent of their

     10    liquidated bonus claims as an administrative expense.

     11         So, under this circumstance, Mr. Ellington would receive

     12    an allowed claim of $600,000, which is 60 percent of a million

     13    dollars, and Mr. Leventon will receive a payment on account of

     14    his Class 7 claim of $358,918.80.

     15         Under both scenarios, Mr. Ellington and Mr. Leventon would

     16    preserve their paid time off claims that are treated in Class

     17    6, and they would preserve their other claims in Class 8,

     18    largely unliquidated indemnification claims, subject to the

     19    rights of any party in interest to object to those claims.

     20         Mr. Ellington will change his vote in Class 8 from

     21    rejecting the plan to accepting the plan, and Mr. Leventon

     22    would change his votes in Class 8 and Class 7 from rejecting

     23    the plan to accepting the plan.       And Mr. Ellington and Mr.

     24    Leventon would withdraw any remaining objections to

     25    confirmation of the plan, and we intend to put this settlement




                                                                          Appx. 04206
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 82 of 610




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      1   in the confirmation order.

      2        Your Honor, six objections to the plan remain outstanding.

      3   One objection was filed by the Office of the United States

      4   Trustee, and the remaining five objections are from Mr.

      5   Dondero and his related entities.        And I would like to put up

      6   a demonstrative on the screen which shows how all of these

      7   objections lead back to Jim Dondero.

      8              THE COURT:    All right.

      9              MR. POMERANTZ:    You see on the top left, Your Honor,

     10   there's a box in white that says A through E, which are the

     11   five remaining objections.         And you can see how they relate.

     12   But all of it goes back to that orange box in the middle, Jim

     13   Dondero.

     14        These objections, which I will address in my closing

     15   argument in detail, are not really focused on concerns that

     16   creditors are being treated unfairly, and that's because Mr.

     17   Dondero and his entities don't really have any valid claims.

     18   Mr. Dondero owns no equity in the Debtor.          He owns the

     19   Debtor's general partner, Strand, which in turn owns a quarter

     20   percent of the total equity in the Debtor.          Mr. Dondero's only

     21   other claim is a claim for indemnification.          And as Your Honor

     22   would expect, the Debtor intends to fight that claim

     23   vigorously.

     24        Dugaboy and Get Good have asserted frivolous

     25   administrative and unsecured claims, which I will discuss in




                                                                           Appx. 04207
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 83 of 610




                                                                             26


      1   more detail later.

      2        Dugaboy does have an equity interest in the Debtor, but it

      3   represents eighteen-hundredths of a percent of the Debtor's

      4   total equity.

      5        And Mr. Rukavina's clients similarly have no general

      6   unsecured claims against the Debtor.        Either his clients did

      7   not file proofs of claim or filed claims and then agreed to

      8   have them expunged.     The only claims that his clients assert

      9   is a disputed administrative claim filed by NexPoint Advisors.

     10        And the objections aren't legitimately concerned about the

     11   post-confirmation operations of the estate, to preserve equity

     12   value, how much people are getting, whether Mr. Seery is

     13   really the right person to run these estates.         That's because

     14   Mr. Dondero has repeatedly told the Court that he believes his

     15   offer, which doesn't come close to satisfying claims in full

     16   in this case, is for fair value and that creditors, who are

     17   owed more than $280 million, will not receive anywhere close

     18   to the amount of their claims.

     19        Rather, Mr. Dondero and his entities are concerned with

     20   one thing and one thing only:       how to preserve their rights to

     21   continue their frivolous litigation after confirmation against

     22   the independent directors, the Claimant Trustee, the

     23   Litigation Trustee, the employees, the Claimant Trust

     24   Oversight Board, and anyone who will stand in their way.           For

     25   Mr. Dondero, the decision is binary:        Either give him what he




                                                                          Appx. 04208
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 84 of 610




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       1   wants, or as he has told Mr. Seery, he will burn down the

       2   place.

       3        Your Honor will hear a lot of argument today about how the

       4   -- and tomorrow, in closing -- about how the injunction, the

       5   gatekeeper, and the exculpation provisions of the plan are not

       6   appropriate under applicable law.       The Debtor, of course,

       7   disagrees with these arguments, and I will address them in

       8   detail in my closing argument.

       9        But I do think it's important to focus the Court at the

     10    outset on the January 9, 2020 order that the Court entered

     11    which addressed some of these issues.        This order, which has

     12    not been appealed, which was actually agreed to by Mr.

     13    Dondero, has no expiration by its terms and will continue

     14    post-confirmation, did some things that the Objectors just

     15    refuse to recognize and accept.

     16         It approved an exculpation for negligence for the

     17    independent directors and their agents.        It provided that the

     18    Court would be the gatekeeper to determine whether any claims

     19    asserted for them -- against them for gross negligence and

     20    willful misconduct could be pursued, and if so, provided that

     21    this Court would have exclusive jurisdiction to adjudicate

     22    those claims.    And it prevented Mr. Dondero and his related

     23    entities from causing any related entity to terminate any

     24    agreements with the Debtor.

     25         I also note, Your Honor, that the Court's July 16, 2020




                                                                          Appx. 04209
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 85 of 610




                                                                             28


       1   order approving Mr. Seery as chief executive officer and chief

       2   restructuring officer included the same exculpation and

       3   gatekeeping provision as contained in the January 29th --

       4   January 9th order.

       5        Your Honor, we have all come too far to allow Mr. Dondero

       6   to make good on his promise to Mr. Seery to burn down the

       7   place if he didn't get what he wanted.        The Debtor deserves

       8   better, the creditors deserve better, and this Court deserves

       9   better.

     10         That concludes my opening argument, Your Honor.

     11              THE COURT:    All right.    Thank you.    I had one follow-

     12    up question about the Daugherty settlement.        You did not

     13    mention, is it going to be reflected in the confirmation

     14    order, is it going to be the subject of a 9019 motion, or

     15    something else?

     16              MR. POMERANTZ:     It'll be subject to a -- it'll be

     17    subject to a 9019 motion, Your Honor.

     18              THE COURT:    All right.

     19              MR. POMERANTZ:     I apologize for leaving that out.

     20              THE COURT:    All right.    Thank you.    Well, --

     21              MR. KATHMAN:    Your --

     22              THE COURT:    -- I appreciate that you stuck closely to

     23    your 20-minute time estimate.

     24         As far as other opening statements today, I'm going to

     25    start with the objections that were resolved.         Mr. Kathman, I




                                                                          Appx. 04210
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 86 of 610




                                                                              29


       1   see you there.    Who will speak on behalf of Patrick Daugherty

       2   and the announced settlement?

       3            OPENING STATEMENT ON BEHALF OF PATRICK DAUGHERTY

       4              MR. KATHMAN:   Good morning, Your Honor.       Jason

       5   Kathman on behalf of Mr. Daugherty.

       6        Mr. Pomerantz correctly recited the bullet points of the

       7   settlement that we agreed to in principle this morning.           There

       8   was one that he did leave off that I do want to make sure that

       9   I mention and that it's read into the record.         And he read at

      10   the top end that Mr. Daugherty does maintain his ability to

      11   pursue his 2008 tax refund bonus claim, or tax refund

      12   compensation claim.     If the Court will recall, there's a

      13   contingent liability out there based on how compensation was

      14   paid back in 2008 that's the subject of an IRS audit.          And so

      15   the settlement expressly contemplates that those -- that that

      16   claim will be preserved and Mr. Daugherty may pursue that

      17   claim.   Should the IRS have an adverse ruling and we have to

      18   pay money back, we get to preserve that claim.

      19        And so the one thing that is preserved, Your Honor -- and

      20   the same way that Mr. Pomerantz read verbatim the words, I'm

      21   going to read verbatim the words that we've agreed to:

      22   Daugherty maintains and may pursue the 2008 tax refund

      23   compensation portion of his claim that is currently a disputed

      24   contingent liability.     The Debtor and all successors reserve

      25   the right to assert any and all defenses to this portion of




                                                                          Appx. 04211
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 87 of 610




                                                                              30


       1   the Daugherty claim.      The litigation of this claim shall be

       2   stayed until the IRS makes a final determination, provided,

       3   however, Daugherty may file a motion with the Bankruptcy Court

       4   seeking to have the amount of his tax claim determined for

       5   reservation purposes as a "disputed claim" under the Debtor's

       6   plan.   The Debtor and all successors reserve the right to

       7   assert any and all defenses to any such motion.

       8        So the Debtor's plan says that they can make estimations

       9   for disputed claims.      There is not currently something

      10   reserving this particular claim, so we wanted to make sure we

      11   reserve our rights to be able to have that amount reserved

      12   under the Debtor's plan.      And the Debtor obviously preserves

      13   their ability to object to that.

      14        With that, Your Honor, it is going to be papered up in a

      15   9019, and we'll have some further things to say at the 9019

      16   hearing, but didn't want to derail the Debtor's confirmation

      17   hearing this morning.

      18              THE COURT:   All right.    And --

      19              MR. POMERANTZ:    And Mr. Kathman is -- Mr. Kathman is

      20   correct.   I neglected to mention that provision, but he is --

      21   he read it, and that's agreed to.

      22              THE COURT:   All right.    And I did not hear anything

      23   about Mr. Daugherty's vote on the plan.        Is there an agreement

      24   to change or a motion to change the vote from no to yes?

      25              MR. KATHMAN:    Your Honor, that wasn't, I think,




                                                                          Appx. 04212
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 88 of 610




                                                                                 31


       1   directly -- and Mr. Pomerantz can correct me if I'm wrong, or

       2   Mr. Morris, actually, probably more could -- that wasn't

       3   directly addressed, but I think the answer to that is probably

       4   they don't need our vote.

       5               THE COURT:   Okay.

       6               MR. KATHMAN:   I think they have enough votes in that

       7   class to carry.

       8               THE COURT:   Okay.

       9               MR. KATHMAN:   But the answer directly is that that

      10   wasn't specifically addressed one way or the other.

      11               THE COURT:   All right.

      12               MR. POMERANTZ:   That is correct, Your Honor.        We

      13   would, of course, not oppose Mr. Daugherty changing his vote,

      14   but as Your Honor saw in the ballot summary, we are way over

      15   the amount in dollar amounts of claims.         But if they wanted to

      16   change their vote, we wouldn't oppose.

      17               THE COURT:   All right.    Well, --

      18               MR. KATHMAN:   Your Honor, I have -- I have the

      19   benefit of Mr. Daugherty.        He is on -- I should note, Mr.

      20   Daugherty is on the hearing this morning.         He just let me know

      21   that he is willing to change his vote.         If the Debtor were to

      22   so make a motion, we're fine changing our vote to in favor of

      23   the plan.

      24               THE COURT:   All right.    All right.    Well, we'll get

      25   the ballot agent declaration or testimony later.          At one time




                                                                           Appx. 04213
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 89 of 610




                                                                             32


       1   when I had checked, there was a numerosity problem but not a

       2   dollar amount problem.       And it sounds like that is no longer

       3   an issue, perhaps because of the employee votes, or I don't

       4   know.

       5        But, all right.     Well, thank you.

       6               MR. POMERANTZ:    Your Honor, there is still a

       7   numerosity problem.

       8               THE COURT:   Okay.

       9               MR. POMERANTZ:    There's not a dollar amount problem.

     10                THE COURT:   Okay.

     11                MR. POMERANTZ:    But we'll address that and cram-down

     12    in closing.

     13                THE COURT:   All right.   Very good.

     14         All right.   Well, I want to hear from the -- what we've

     15    called the Senior Employee group.       Is Ms. Dandeneau going to

     16    confirm the announcement of Mr. Pomerantz?

     17                MS. DANDENEAU:    Yes, Your Honor.    I confirm that Mr.

     18    Pomerantz's recitation of the terms to which we've agreed is

     19    accurate.

     20                THE COURT:   All right.   Very good.

     21         All right.   I suppose I should circle back to UBS.         We've,

     22    of course, heard in prior hearings the past few weeks that

     23    there was a settlement with UBS, but Mr. Clubok, could I get

     24    you to confirm what Mr. Pomerantz announced earlier about the

     25    UBS settlement?




                                                                          Appx. 04214
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 90 of 610




                                                                              33


       1              MR. CLUBOK:    Yes.    Good morning again, Your Honor.

       2        Yes, we have reached a settlement, and it's just -- and

       3   it's been approved internally at UBS and obviously by the

       4   Debtor.    It's just subject to the final documentation.         And we

       5   are working very closely with the Debtor to try to do that as

       6   quickly as possible.

       7              THE COURT:    All right.    Thank you.

       8        All right.   Well, let me go, then, to other opening

       9   statements.    Is there anyone else who at this time wishes to

     10    make an opening statement?        And, you know, for the pending

     11    objectors, please, no more than 20 minutes.

     12               MR. CLEMENTE:    Your Honor?     Your Honor, if I may,

     13    it's Matt Clemente on behalf of the Committee.

     14               THE COURT:    Okay.

     15               MR. CLEMENTE:    I'd be very brief, but I would like to

     16    make some remarks to Your Honor.        It'll be less than five

     17    minutes.

     18               THE COURT:    All right.    Go ahead.

     19               MR. CLEMENTE:    Thank you, Your Honor.

     20    OPENING STATEMENT ON BEHALF OF THE UNSECURED CREDITORS' COMMITTEE

     21               MR. CLEMENTE:    Again, for the record, Matt Clemente;

     22    Sidley Austin; on behalf of the Official Committee of

     23    Unsecured Creditors.

     24         Your Honor, to be clear, the Committee fully supports

     25    confirmation of the Debtor's plan and believes the plan is




                                                                           Appx. 04215
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 91 of 610




                                                                              34


       1   confirmable and should be confirmed.

       2        Although it has taken us quite some time to get to this

       3   point, Your Honor, and as Mr. Pomerantz referred, the Debtor's

       4   business is somewhat complex, the plan is remarkably

       5   straightforward, Your Honor, and has only been made

       6   complicated by the various objections filed by Mr. Dondero's

       7   tentacles.

       8        At bottom, Your Honor, the plan is designed to recognize

       9   the reality of the situation that the Committee has

      10   continually been expressing to Your Honor, and that is the

      11   overwhelming amount of creditors in terms of dollars are

      12   litigation creditors, creditors who are here entirely because

      13   of the fraudulent and other conduct of Mr. Dondero and his

      14   tentacles.

      15        The other third-party creditors, Your Honor, by and large

      16   are those collateral to these litigation claims in terms of

      17   true trade creditors and service providers.

      18        Recognizing this fact, Your Honor, the plan contains an

      19   appropriate convenience class, which, in the Committee's view,

      20   provides a fair way to capture a large number of claims and

      21   appropriately recognizes the distinction between those claims

      22   and the large litigation claims.       And the holders of these

      23   large litigation claims, including now Mr. Daugherty, have

      24   voted in favor of allowing this convenience class treatment.

      25        Your Honor, after distributions are made to the




                                                                          Appx. 04216
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 92 of 610




                                                                             35


       1   administrative creditors, the priority creditors, the secured

       2   creditors, and the convenience creditors, the remainder goes

       3   to general unsecured creditors who will control how this value

       4   is realized.    These are the large litigation creditors.

       5        Additionally, Your Honor, recognizing the possibility of

       6   recovery in excess of general unsecured claims plus interest,

       7   and to thwart, from the Committee's perspective, what would

       8   have undoubtedly been an argument by one of the Dondero

       9   tentacles that the general unsecured creditors could be paid

     10    more than they are owed, the plan provides for a contingent

     11    interest to kick in after payment in full for interests of all

     12    prior claims.

     13         Your Honor, this is the sum and substance of the plan.            At

     14    bottom, fairly straightforward.       And the true creditors, Your

     15    Honor, have voted overwhelmingly in favor of the plan.          Class

     16    8 has voted to support the plan.       Class 7 has voted to accept

     17    the plan.   And now I believe, with Mr. Daugherty's settlement,

     18    one hundred percent in amount of Class 8, non-insider, non-

     19    Dondero-controlled or (audio gap) have voted in favor of the

     20    plan.

     21         To be clear, as Your Honor pointed out and as Mr.

     22    Pomerantz referenced, there is not numerosity in Class 8, Your

     23    Honor, but that is driven, as Your Honor will see, from

     24    approximately 30 no-votes of current employees who the

     25    Committee believes are not owed any amounts and therefore they




                                                                          Appx. 04217
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 93 of 610




                                                                              36


       1   will not be receiving payments under the plan, yet they voted

       2   against the plan.    So although we have a technical cram-down

       3   plan from the Class 8 perspective, Your Honor, the plan voting

       4   reflects the reality that the economic parties in interest

       5   overwhelmingly support the plan.

       6        So, Your Honor, cutting through the machinations of the

       7   Dondero tentacles, we do have a fairly straightforward plan

       8   and a plan that the Committee believes is confirmable and

       9   should be confirmed.

      10        Your Honor, since I've been in front of you for over a

      11   year now, I've referred to the goals of the Committee in this

      12   case, and the goals are straightforward in terms of expressing

      13   them but can be difficult in reality to implement them.           The

      14   Committee's goals have been two-fold:        to maximize the value

      15   of the estate and therefore the recoveries for its

      16   constituency, and to disentangle from the Dondero (audio gap).

      17        As with all things Highland, although these goals are

      18   straightforward, they're remarkably difficult to achieve,

      19   given the Dondero tentacles.      However, the Committee strongly

      20   believes the plan achieves these two goals.

      21        First, the plan provides a credible path to maximize

      22   recovery with Mr. Seery, who has gotten to know the assets and

      23   who has performed skillfully and credibly throughout this very

      24   difficult process.    It is a difficult set of assets and

      25   complex set of assets, as Your Honor knows very well.




                                                                          Appx. 04218
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 94 of 610




                                                                             37


       1        To be sure, there is uncertainty associated with the

       2   Debtor's projections, but that is inherent in the nature of

       3   the assets of the Debtor, and frankly, is inherent in the

       4   nature of projections themselves.       And Mr. Dondero and his

       5   tentacles will point to the downside, potentially, in those

       6   projections, but the Court will be reminded that there is also

       7   potential upside in those projections, an upside that would

       8   inure to the benefit of the general unsecured claims.

       9        Second, Your Honor, although it is seemingly impossible to

     10    free yourself from the Dondero web until every single one of

     11    the 2,000 barbed tentacles is painfully removed, if that's

     12    even possible, Your Honor, the Reorganized Debtor, the

     13    Claimant Trust, the Claimant Trustee, the Litigation Sub-

     14    Trust, the Litigation Trustee, and the Oversight Board

     15    construct and mechanisms is a structure that the Committee

     16    believes provides the creditors with the best possibility to

     17    do so, and that is to deal with what will undoubtedly be a

     18    flurry of attacks from Mr. Dondero and his tentacles.

     19         This is a virtual certainty, Your Honor.        The creditors

     20    have seen this movie before and Your Honor has seen this movie

     21    before.   They have seen Mr. Dondero make and break promises.

     22    They have seen Mr. Dondero attempt to bludgeon adversaries

     23    into submission in order to accept his offerings, and they

     24    have heard Mr. Dondero say that which he has said in this

     25    court during the preliminary injunction hearing --




                                                                          Appx. 04219
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 95 of 610




                                                                             38


      1   specifically, that the Debtor's plan "is going to end up in a

      2   myriad of litigation."

      3        The creditors are steeled in their will to be rid of Mr.

      4   Dondero, and they're confident in this structure to do so.

      5        To be clear, Your Honor, what is before the Court today

      6   for confirmation is the Debtor's plan, not some other plan

      7   that no one supports other than Mr. Dondero and his tentacles.

      8   The question isn't whether Mr. Dondero has a better proposal

      9   -- and footnote, Your Honor, the answer is he does not, both

     10   from a qualitative and quantitative perspective -- but whether

     11   the plan before the Court is in the best interest of creditors

     12   and should be confirmed.      The Committee strongly believes it

     13   is, and should, and all the Committee members support

     14   confirmation of the Debtor's plan.

     15        Recognizing Mr. Dondero's behavior, Your Honor, and

     16   threats regarding how he will behave in the future, there are

     17   certain provisions in the plan that are of critical importance

     18   to the creditors.     Of course, all provisions in the plan are

     19   extremely important, Your Honor, but as Mr. Pomerantz

     20   referenced, the creditors need the gatekeeper, exculpation,

     21   and injunction provisions.

     22        The reason is obvious, and is emphasized by the

     23   supplemental objection filed just yesterday by some of Mr.

     24   Dondero's tentacles -- namely, the Dugaboy and the Get Good

     25   Trusts.    And I quote, Your Honor:      "It is virtually certain




                                                                          Appx. 04220
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 96 of 610




                                                                              39


      1   that, under the Debtor's plan, there will be years of

      2   litigation in multiple adversary proceedings, appeals, and

      3   collection activities, all adding substantial uncertainty and

      4   delay."

      5        Additionally, Your Honor has seen from the proceedings in

      6   this case and has expressed frustration at numerous times at

      7   the myriad and at times baseless and borderline frivolous and

      8   out of touch with reality suits and objections and proceedings

      9   that the Dondero tentacles bring.        The creditors need the

     10   gatekeeper, exculpation, and injunction provisions to preserve

     11   and protect value.      And the record, I think, to this point is

     12   clear, and will be further made clear through the confirmation

     13   proceedings, that the protections are appropriate and entirely

     14   within this Court's authority to grant.

     15        In sum, Your Honor, the Committee fully supports

     16   confirmation of the plan.      The Committee believes it is

     17   confirmable and should be confirmed, and two classes of

     18   creditors and the overwhelming amount of creditors in terms of

     19   dollars agree.

     20        That's it, Your Honor.        Unless you have questions for me,

     21   I have nothing further at this time.

     22              THE COURT:    All right.     Thank you, Mr. Clemente.

     23              MR. CLEMENTE:    Thank you, Your Honor.

     24              THE COURT:    All right.     Who else wishes to be heard?

     25              MR. DRAPER:    Your Honor, this is Douglas Draper.         I'd




                                                                           Appx. 04221
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 97 of 610




                                                                             40


       1   like to be heard.    I have a few -- I'll take five minutes, at

       2   most --

       3               THE COURT:    All right.   Go ahead.

       4               MR. DRAPER:    -- and just focus on a few things.

       5    OPENING STATEMENT ON BEHALF OF THE GET GOOD TRUST AND DUGABOY

       6                              INVESTMENT TRUST

       7               MR. DRAPER:    I'm going to focus my opening remarks on

       8   the releases, the exculpations, and channeling injunctions in

       9   the plan.    I'm not waiving my other objections, but, rather,

     10    trying not to subject the Court to hearing the same argument

     11    from multiple lawyers.

     12         The good thing about the law is that it's absolute in

     13    certain respects.    It does not matter who is asserting a legal

     14    protection, the law applies it.        For example, a serial killer

     15    is entitled to a Miranda warning and a protection against

     16    unlawful search and seizure.      The law does not allow tainted

     17    evidence or an unlawful admission into evidence,

     18    notwithstanding the fact that the lack of admission of that

     19    evidence may lead to the freeing of that serial killer.

     20         Today, you must make an independent evaluation as to

     21    whether the plan complies with 1129 and applicable law.           The

     22    decision must be made notwithstanding the fact that it is

     23    being made by a Dondero entity.        It's not being -- it must be

     24    applied notwithstanding the fact that it's being made by me.

     25         We contend that the plan does not meet the hurdle and




                                                                          Appx. 04222
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 98 of 610




                                                                             41


       1   confirmation should be denied, notwithstanding the fact that

       2   the infirmity with the plan is asserted by me and

       3   notwithstanding the fact that Mr. Pomerantz and the unsecured

       4   creditors have overwhelming support.

       5        We all know 1141, the Barton Doctrine, and 544 -- 524

       6   provide injunctions and protections for certain parties

       7   associated with the Debtor.       Had the plan merely referenced

       8   these sections and stated that the injunction, et cetera,

       9   shall not exceed those allowed pursuant to Pacific Lumber, I

     10    would not be making this argument.

     11         Instead, we see a plan that has a definition of Exculpated

     12    Parties, Released Parties, Related Parties, that exceed the

     13    protections afforded by the Bankruptcy Code, the Barton

     14    Doctrine, and 524.

     15         We have a grant of jurisdiction and oversight that exceeds

     16    that allowed under Craig's Store, the Craig's Store line of

     17    cases.

     18         We have releases of claims against non-debtor parties,

     19    such as Strand, who is, under the Bankruptcy Code, under 723,

     20    liable for the debts of the Debtor.

     21         The plan, with its expansive releases, released parties,

     22    grant of injunctions, exculpations and channeling injunctions,

     23    are impermissible under Fifth Circuit case law.         And I would

     24    ask the Court to look closely at those definitions, who is --

     25    who the law allows to be exculpated and released and who the




                                                                          Appx. 04223
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 99 of 610




                                                                             42


       1   law specifically prohibits being exculpated and released, and,

       2   in fact, apply the Pacific Lumber line of -- case, as well as

       3   524 and the Bankruptcy Code when you look at these issues.

       4        Notwithstanding the overwhelming so-called support by the

       5   creditors at issue, the law must be applied, and it must be

       6   applied pursuant to what the Fifth Circuit requires.

       7               THE COURT:   All right.   Thank you, Mr. Draper.

       8        Other Objectors with opening statements?

       9               MR. RUKAVINA:   Your Honor, Davor Rukavina.       Briefly?

     10                THE COURT:   Okay.

     11       OPENING STATEMENT ON BEHALF OF CERTAIN FUNDS AND ADVISORS

     12                MR. RUKAVINA:   Your Honor, I represent various funds,

     13    including three of which have independent boards.         The Debtor

     14    manages more than $140 million of those funds, and the Debtor

     15    manages around a billion dollars in CLOs.

     16         Whether I am a tentacle of Mr. Dondero or not -- I'm not,

     17    since there's an independent board -- the fact remains that

     18    the Debtor wants to manage these assets and my clients' money

     19    post-assumption and post-confirmation with effective judicial

     20    immunity.    So our fundamental problem with this plan is the

     21    assumption of those contracts under 365(c) and (b).           I think

     22    we'll have to wait for the evidence to see what the Debtor

     23    proposes and has, and I will reserve, I guess, the balance of

     24    my arguments on that to closing, depending on what the

     25    evidence is.




                                                                          Appx. 04224
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 100 of 610




                                                                              43


       1        But I don't want the Court to lose sight of the fact that

       2   what the Debtor wants to do is, in contravention of our

       3   desires, continue managing our assets post-confirmation, even

       4   as it liquidates, just to make a buck.        It's our money, Your

       5   Honor, and whether we're Dondero or not, we're a couple

       6   hundred million, probably, or more, of third-party investment

       7   professionals, pension funds, et cetera, and we should not be

       8   all tainted without evidence as a tentacle of someone whom,

       9   I'll remind everyone here, built a multi-billion dollar

      10   company and made a lot of money for people.

      11        The second objection, Your Honor, goes to the Class 8

      12   rejection.    It sounds like there's still a problem with the

      13   number of creditors, even though certain creditors have

      14   switched their votes.     That raises now the fair and equitable

      15   standard, together with the undue discrimination and the

      16   absolute priority rule.      I think we'll have to let the

      17   evidence play out, and I'll reserve the balance of my closing

      18   or the balance of my remarks to closing on that issue.

      19        The third issue, Your Honor, is the same exculpation and

      20   release and injunction provisions that Mr. Draper raised.

      21   Those are legal matters that I'll discuss at closing, but I do

      22   note that the Debtor purports to prevent my clients from

      23   exercising post-assumption post-confirmation rights, period.

      24   And that's just inappropriate, because if the Debtor wants the

      25   benefits of these agreements, well, then of course it has to




                                                                          Appx. 04225
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 101 of 610




                                                                               44


       1   comply with the burdens.      And to say a priori that anything

       2   that my clients might do post-confirmation would be the result

       3   of a bad-faith Mr. Dondero strategy, there's no basis for that

       4   and that's not the basis on which my clients' rights in the

       5   future, when there is no bankruptcy estate and there is no

       6   bankruptcy jurisdiction, can be enjoined.

       7        And the final point, Your Honor, entails this channeling

       8   injunction.    I'll talk about it during closing.        It is

       9   inappropriate under 28 U.S.C. 959.        This is not a Barton

      10   Doctrine trustee issue, this is a debtor-in-possession, and a

      11   channeling injunction, the Court will have no jurisdiction

      12   post-confirmation.

      13        Thank you, Your Honor.

      14              THE COURT:    All right.    Thank you.

      15        Does Mr. Dondero's counsel have an opening statement?

      16              MR. TAYLOR:    I do, Your Honor.     I'll keep it brief.

      17   This is Clay Taylor on behalf of Mr. Dondero.

      18              THE COURT:    Okay.

      19            OPENING STATEMENT ON BEHALF OF JAMES D. DONDERO

      20              MR. TAYLOR:    Your Honor, the plan is clear in some

      21   respects, and I'm not going to belabor these points, as other

      22   objecting counsel have already addressed this.          But the plan

      23   does provide for non-debtor releases, and it provides for non-

      24   debtor releases for parties beyond that which is allowed by

      25   Pacific Lumber and under the Code.




                                                                            Appx. 04226
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 102 of 610




                                                                              45


       1        It also provides for exculpations of non-debtor parties in

       2   excess of that which is allowed under the Code and applicable

       3   case law.

       4        Finally -- or, not finally, but third, it requires this

       5   Court to keep a broad retention of post-confirmation

       6   jurisdiction that could go on for years, and that is improper.

       7        Finally, it requires the parties to submit to the

       8   jurisdiction of this Court via a channeling injunction, which

       9   we believe is beyond that which is allowed under applicable

      10   Fifth Circuit precedent.

      11        What is clear, what the evidence will show -- and I

      12   thought it was interesting that none of the proponents of plan

      13   confirmation ever talk about what the evidence is going to

      14   show.    They testified a lot before Your Honor, but they didn't

      15   ever talk about what the evidence would show.         What the

      16   evidence will show is this plan was solicited via a disclosure

      17   statement that told all the unsecured creditors, we project

      18   that you're going to receive 87 cents on the dollar on your

      19   claim.

      20        About two months later, and this was Friday of this past

      21   week, they changed those projections, and those projections

      22   then showed unsecured creditors, under a plan analysis, that

      23   they were going to receive 62 cents on the dollar.            That is in

      24   contrast to the liquidation analysis that had been prepared

      25   just two months prior showing that, under a hypothetical




                                                                           Appx. 04227
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 103 of 610




                                                                              46


       1   Chapter 7 liquidation analysis, that the unsecured creditors

       2   would receive 65 cents on the dollar.        Obviously, 62 cents is

       3   less than 65 percent.

       4        Realizing they had a problem, I guess, over the weekend,

       5   they changed last night, the night before confirmation, and

       6   sent us some new projections that now show that the unsecured

       7   creditors under a plan would receive 71 cents on the dollar.

       8        Your Honor, what the evidence will show, and it is

       9   Highland's burden to show this, is that -- that they meet the

      10   best interests of the creditors.        And part of that is that

      11   they will do better under a plan rather than under a

      12   hypothetical Chapter 7.

      13        Quite simply, they don't have the evidence, nor have they

      14   done the analysis to be able to prove that to this Court.

      15        What the evidence will also show is clear is that Mr.

      16   Seery, under the plan analysis, is scheduled to receive at

      17   least $3.6 million over just the first two years of this plan

      18   if it doesn't go any further.       And that's just for monthly

      19   payouts of $150,000 per month.       That's not including a to-be-

      20   agreed-upon success fee structure, which hasn't been

      21   negotiated yet.     And if it hasn't been negotiated yet, it

      22   can't be analyzed yet to see if those costs would exceed their

      23   benefits and therefore drive the return down such that a

      24   hypothetical Chapter 7 trustee could do better.

      25        There is also going to be additional costs for the




                                                                          Appx. 04228
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 104 of 610




                                                                              47


       1   Litigation Trustee and the fees that they are going to charge.

       2   There's going to be an Oversight Committee, and those fees are

       3   also to be negotiated.     There's also U.S. Trustee fees, which

       4   Mr. Seery tells us that he has calculated within the

       5   liquidation and plan analysis numbers, albeit both myself and

       6   Mr. Draper, as the evidence will show, have asked for the

       7   rollups that come behind the liquidation and plan analysis in

       8   each instance of the three iterations that have been done in

       9   two months, and we have been denied that information.           That

      10   evidence is not going to come in before this Court, and

      11   without that rollup information, this Court can't make an

      12   independent verification that this meets the best interests of

      13   the creditor and better than a hypothetical Chapter 7 trustee.

      14        What the evidence will also show, make an assumption that,

      15   under a plan analysis, that Mr. Seery will be able to generate

      16   higher returns on the sale of the assets of the Highland

      17   debtor and its subsidiaries, to the neighborhood of $60

      18   million higher.    There is no independent verification of this.

      19   There has been no due diligence done.        It was merely an

      20   assumption done by Mr. Seery and his advisors, and we submit

      21   that they will not have the evidence to show that they can

      22   beat a Chapter 7 trustee.

      23        This Court does have an alternative before it.           There is

      24   an alternative plan that has been filed under seal.           The Court

      25   is aware of it.    And it guarantees that creditors will receive




                                                                           Appx. 04229
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 105 of 610




                                                                               48


       1   at least 65 cents on the dollar.         Moreover, those claims are

       2   guaranteed -- and they're going to be secured that they will

       3   be paid that money.

       4              MR. POMERANTZ:    Your Honor, this is under -- this is

       5   under seal.    And I never interrupt somebody's argument, but

       6   this plan is under seal for a reason, Your Honor, and I object

       7   to any description of the terms of a plan that's not before

       8   Your Honor and is under seal.

       9              THE COURT:    Okay.     I sustain that objection.

      10              MR. TAYLOR:    Your Honor has a means to cut the

      11   Gordian knot of the litigation and appeals before it and to

      12   ensure that there is certainty for creditors.          It would

      13   massively reduce the administrative fee burn that is

      14   contemplated under the proposed plan before the Court.            As

      15   I've mentioned, it's at least $3.6 million just in monthly

      16   fees for Mr. Seery alone.         All of the rest of the fees are yet

      17   to be determined and to be negotiated.         I don't see how any

      18   analysis could have been done regarding the administrative fee

      19   burn that is going to happen over the two years and

      20   potentially much further as this case draws on.

      21        For those reasons alone, Your Honor, we believe that the

      22   plan confirmation should be denied and this Court should look

      23   at the alternatives before it.

      24              MR. KATHMAN:    Can I say something before --

      25              MR. TAYLOR:    Thank you, Your Honor.




                                                                           Appx. 04230
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 106 of 610




                                                                               49


       1              THE COURT:    All right.     Thank you.

       2        All right.    Have I missed any Objectors?

       3              MR. KATHMAN:    Your Honor?

       4              MS. DRAWHORN:    Yes, Your Honor.

       5              THE COURT:    Okay.    Ms. --

       6              MR. KATHMAN:    Your Honor, if I could spend just one

       7   minute, and I -- we -- I -- we filed a joinder on behalf of

       8   Mr. -- or, Jason Kathman on behalf of Davis Deadman, Todd

       9   Travers, and Paul Kauffman.

      10              THE COURT:    Uh-huh.

      11      OPENING STATEMENT ON BEHALF OF DAVIS DEADMAN, TODD TRAVERS,

      12                              AND PAUL KAUFFMAN

      13              MR. KATHMAN:    Mr. Pomerantz had noted, I think, at

      14   the front end that the Debtor amended their plan that resolved

      15   those objections.     I just want to say for the record that

      16   those had been resolved.

      17        And with that, Your Honor, may I be dismissed?

      18              THE COURT:    Yes, you may.     Thank you.

      19              MR. KATHMAN:    Thank you, Your Honor.

      20              THE COURT:    All right.     Was Ms. Drawhorn speaking up

      21   to make an opening statement?

      22              MS. DRAWHORN:    Yes.

      23              THE COURT:    Go ahead.

      24              MS. DRAWHORN:    Yes, Your Honor.

      25              THE COURT:    Go ahead.




                                                                           Appx. 04231
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 107 of 610




                                                                              50


       1          OPENING STATEMENT ON BEHALF OF THE NEXPOINT PARTIES

       2              MS. DRAWHORN:    Just very briefly, Lauren Drawhorn on

       3   behalf of NexPoint Real Estate Partners, the NexPoint Real

       4   Estate entities, and NexBank.

       5        Just a very brief opening.       Just wanted to note that it

       6   seems that the Debtor's and the Committee's position seems to

       7   be if there's some way, any way, to connect an entity to Mr.

       8   Dondero, then they don't need to perform any true evaluation

       9   of potential claims or that party's rights or their concerns,

      10   and that results in ignoring not only the merits of many

      11   claims but also the basic requirements of due process and the

      12   statutes, the Bankruptcy Code, and the case law.

      13        We filed objections that were focused largely on the

      14   injunctions and the releases, and then also the proposed

      15   subordination provisions.

      16        Two of my clients, one of them has a proof of claim, and

      17   while it is being disputed, that claim is out there and should

      18   get -- be entitled to be pursued and defended, and many of the

      19   injunctions appear to prevent my client from doing so.

      20        Similarly, it was mentioned that NexBank, in the

      21   demonstrative, had a terminated service agreement, but there's

      22   periods of time for which no services were provided but

      23   payment was made, and that's a potential admin claim that has

      24   been raised.    And the injunction, again, appears to prevent my

      25   clients from pursuing these claims.




                                                                          Appx. 04232
Case 21-03005-sgj Doc 134-7 Filed 12/18/21     Entered 12/18/21 02:10:25   Page 108 of 610




                                                                                  51


       1          So I think, despite the general response to any connection

       2   to Dondero means there's no merit, that's not what we're here

       3   for today.       We need to really look at the merits of all

       4   potential claims and all -- the rights of all parties and the

       5   -- how the injunction and release provisions prevent that and

       6   how they don't comply with the required law.

       7          And, of course, we join in with many of the other

       8   objections, but that's my main point for the opening today.

       9                  THE COURT:    All right.   Thank you.

      10          All right.    I think I have covered all of the at least

      11   pending objections except the U.S. Trustee.            I'll check again

      12   to see if someone is out there for the U.S. Trustee.             (No

      13   response.)       All right.     If you're there, we're not hearing

      14   you.    You're on mute.

      15          Okay.    Any other attorneys out there who wish to make an

      16   opening statement?

      17          All right.    Well, I'll turn back to Mr. Pomerantz.         You

      18   may call your first witness.

      19                  MR. POMERANTZ:    Okay.    I will turn the virtual podium

      20   over to my partner, John Morris, who will be putting on our

      21   witnesses.

      22                  THE COURT:    All right.   Mr. Morris, you may call your

      23   first witness.

      24                  MR. MORRIS:    Good morning, Your Honor.    John Morris

      25   from Pachulski Stang Ziehl & Jones on behalf of the Debtor.




                                                                            Appx. 04233
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 109 of 610




                                                                              52


       1   Can you hear me okay?

       2              THE COURT:    I can.

       3              MR. MORRIS:    Okay.    Thank you very much.

       4        The Debtor calls James Seery as its first witness.

       5              THE COURT:    All right.     Mr. Seery, if you could say,

       6   "Testing, one, two," please.

       7              MR. SEERY:    Testing, one, two.

       8              THE COURT:    All right.    Hmm, I've not picked up your

       9   video yet.    Let's try it again.

      10              MR. SEERY:    Testing, one, two.     Testing.

      11              MR. MORRIS:    We have the audio.

      12              THE COURT:    We have the audio.

      13              MR. SEERY:    Oh.

      14              MR. MORRIS:    There we go.

      15              THE COURT:    There you are.

      16              MR. SEERY:    The video should be working.

      17              THE COURT:    All right.

      18              MR. POMERANTZ:      Yeah.   Actually, one -- Your Honor,

      19   one thing before we start.        We have Patrick Leatham from KCC.

      20   He is prepared to sit on the line for the whole day until his

      21   time comes.    I would just like to know if anyone intends to

      22   cross-examine him or object to his declaration.          Because if

      23   they don't, we could excuse Mr. Leatham.

      24              THE COURT:    All right.    What about that?       Anyone

      25   want to cross-examine the balloting agent?




                                                                          Appx. 04234
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 110 of 610




                                                                               53


       1               MR. RUKAVINA:    Your Honor, Davor Rukavina.      I do not.

       2   If the Debtor would just state, with the change of votes in

       3   Class 8, what the final tally is, I see no reason to dispute

       4   that, and then we can dismiss this gentleman.         But I do think

       5   that we should all know, with the change of votes, what it now

       6   is.

       7               THE COURT:    All right.

       8               MR. POMERANTZ:   We will -- we will work on that, Your

       9   Honor, with the changes as a result of the settlements today,

     10    and including Mr. Daugherty's client.          We can get that

     11    information sometime today.

     12                THE COURT:    All right.   So, Mr. Rukavina, do you

     13    agree that he can be excused with that representation, or do

     14    you want --

     15                MR. RUKAVINA:    Yes, Your Honor.

     16                THE COURT:    Okay.   All right.    So, it's Mr. Leatham?

     17    You are excused if you want to drop off this video.

     18          All right.   Mr. Seery, please raise your right hand.

     19                  JAMES P. SEERY, DEBTOR'S WITNESS, SWORN

     20                THE COURT:    All right.   Thank you.    Mr. Morris, go

     21    ahead.

     22                MR. MORRIS:    Thank you, Your Honor.

     23          If I may, I'd like to just begin by moving my exhibits

     24    into evidence so that it'll make this all go a little bit

     25    smoother.




                                                                            Appx. 04235
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 111 of 610




                                                                               54


       1              THE COURT:    All right.

       2              MR. MORRIS:    And if you'll indulge me just a little

       3   patience, please, because the Debtor's exhibits are found in

       4   three separate places.

       5              THE COURT:    Uh-huh.

       6              MR. MORRIS:    And I would just take them one at a

       7   time.

       8        First, at Docket No. 1822, the Court will find Debtor's

       9   Exhibits A through what I'm referring to as 6Z.           Six Zs.   So

      10   the Debtor respectfully moves into evidence Exhibits A through

      11   6Z on Docket No. 1822.

      12              THE COURT:    All right.     Are there any objections?

      13              MR. RUKAVINA:    Your Honor, I have a number of

      14   targeted objections to all of the exhibits.          Did I hear Mr.

      15   Morris say 6Z?

      16              THE COURT:    Yes.

      17              MR. MORRIS:    Yes.

      18              MR. RUKAVINA:    Or six -- then, Your Honor, I can go

      19   through my limited objections, if that pleases the Court.

      20              THE COURT:    All right.     Go ahead.

      21              MR. RUKAVINA:    Your Honor, Exhibit B, a transcript, B

      22   as in boy.    Exhibit D, an email, D as in dog.        Exhibit E as in

      23   Edward.   Moving on, Your Honor, 4D as in dog.         4E as in

      24   Edward.

      25              MR. MORRIS:     Slow down, please.




                                                                           Appx. 04236
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 112 of 610




                                                                               55


       1              THE COURT:    Okay.

       2              MR. RUKAVINA:    I'm sorry.

       3              THE COURT:    You said 4D as in dog, correct?

       4              MR. RUKAVINA:    Then -- yes, Your Honor.       Then 4E as

       5   in Edward.

       6              THE COURT:    Okay.

       7              MR. RUKAVINA:    4G as in George.       Your Honor, one,

       8   two, three, four, five T.         5T as in Tom.   And then, Your

       9   Honor, one, two -- 6R.      6S.    6T as in Tom.    And 6U as in

      10   under.   That's it.

      11              THE COURT:    All right.     Well, Mr. Morris, do you want

      12   to carve those out for now and just offer them the old-

      13   fashioned way and I can rule on the objections then?

      14              MR. MORRIS:     Why don't we do that?      I may just deal

      15   with it at the end of the case.        But subject to those

      16   objections, the Debtor then moves into evidence the balance of

      17   the exhibits on Docket 1822.

      18              THE COURT:    All right.     So, for the record, the Court

      19   will admit all exhibits at Docket No. 1822 at this time except

      20   B, D, E, 4D, 4E, 4G, 5T, 6R, 6S, 6T, and 6U.

      21        (Debtor's Docket 1822 exhibits, exclusive of Exhibits B,

      22   D, E, 4D, 4E, 4G, 5T, 6R, 6S, 6T, and 6U, are received into

      23   evidence.)

      24              THE COURT:    All right.     Mr. Morris, continue.

      25              MR. MORRIS:    Thank you, Your Honor.




                                                                           Appx. 04237
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 113 of 610




                                                                                 56


       1        Next, at Docket 1866, you'll find Debtor's Exhibits 7A

       2   through 7E, and the Debtor respectfully moves those dockets --

       3   documents into evidence.

       4               THE COURT:    All right.   Any objection?    (No

       5   response.)    Are there any objections?

       6               MR. RUKAVINA:    Your Honor, not from -- not from me.

       7               THE COURT:    All right.   Hearing no objections, the

       8   Court will admit all Debtor exhibits appearing at Docket Entry

       9   No. 1866.

      10               MR. MORRIS:    Thank you, Your Honor.

      11        (Debtor's Docket 1866 exhibits are received into

      12   evidence.)

      13               MR. MORRIS:    And finally, at Docket 1877, the Court

      14   will find Debtor's Exhibits 7F through 7Q, and the Debtor

      15   respectfully moves for the admission of those documents into

      16   evidence.

      17               THE COURT:    All right.   Any objection?

      18               MR. RUKAVINA:    Your Honor, I might have to talk about

      19   this with Mr. Morris, but I have 7F as any document entered in

      20   the case, 7G as any document to be filed, et cetera.            Mr.

      21   Morris, am I wrong about that?

      22               MR. MORRIS:    I don't have that list in front of me.

      23   So I'll reserve on those documents and we can talk about them

      24   at a break, Your Honor.

      25               THE COURT:    All right.




                                                                           Appx. 04238
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 114 of 610




                                                                              57


       1              MR. DRAPER:    Your Honor, this is Douglas Draper.         I

       2   object, and I don't have the number in front of me, it's the

       3   liquidation analysis and the plan summary.         It's a summary

       4   exhibit, and we've not been given the underlying documentation

       5   with respect to them.     I'd ask Mr. Morris to deal with that

       6   separately also.

       7              MR. MORRIS:    All right.    Well, we're certainly going

       8   to be moving that into evidence, so we can deal with that at

       9   the time, Your Honor.

      10              THE COURT:    Okay.    Which documents are they?     Which

      11   exhibits are those?

      12              MR. DRAPER:    I don't have the number in front -- Mr.

      13   Morris, do you have the number for that exhibit?

      14              MR. MORRIS:    I do, but why don't we just deal with it

      15   when I -- when I get into --

      16              THE COURT:    Okay.

      17              MR. MORRIS:    -- into the testimony?

      18              THE COURT:    I just wanted the record clear what I am

      19   admitting at this time at Docket Entry No. 1877.          Or do you

      20   want to just --

      21              MR. MORRIS:    Okay.

      22              THE COURT:    -- hold all those --

      23              MR. MORRIS:    Mr. Rukavina, other than F and G, which

      24   you noted, is there any objection to any of the other

      25   documents on that witness and exhibit list?




                                                                          Appx. 04239
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25    Page 115 of 610




                                       Seery - Direct                             58


       1               MR. RUKAVINA:    Well, I also have H as impeachment/

       2   rebuttal, I as any document offered by any other party.                So I

       3   would suggest, Mr. Morris, that I have my associate confirm

       4   that I have the right -- the right stuff here, and we can take

       5   it up maybe during a break.        But I have F, G, H, I as so-

       6   called catchalls, not any discrete exhibits.

       7               MR. MORRIS:    All right.    All right, Your Honor.

       8   Let's, let's just proceed.         We've got -- we took care of

       9   Docket No. 1822 and 1866, and the balance we'll deal with at a

      10   break, --

      11               THE COURT:    All right.

      12               MR. MORRIS:     -- unless they come up through

      13   testimony.

      14               THE COURT:    All right.    That sounds good.

      15               MR. MORRIS:    Okay.    Thank you very much.       May I

      16   proceed?

      17               THE COURT:    You may.

      18               MR. MORRIS:    Okay.

      19                             DIRECT EXAMINATION

      20   BY MR. MORRIS:

      21   Q    Good morning, Mr. Seery.

      22   A    (no response)

      23   Q    Can you hear me?

      24   A    Apologies.    I went on mute.      Can you hear me now?       I

      25   apologize.




                                                                            Appx. 04240
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 116 of 610




                                       Seery - Direct                          59


       1   Q    Yes.    Good morning.

       2                MR. MORRIS:    So, let's begin, Your Honor, with just a

       3   little bit of background of Mr. Seery and how he got involved

       4   in the case.

       5   BY MR. MORRIS:

       6   Q    Mr. Seery, what's your current position with the Debtor?

       7   A    I am the CEO, the CRO -- the chief restructuring officer

       8   -- as well as an independent director on the Strand Advisors

       9   board of directors.

      10   Q    Okay.

      11                MR. MORRIS:    Your Honor, I'm going to ask Mr. Seery

      12   to describe a bit for his background.         For the record, you'll

      13   find that Exhibits 6X, 6Y, and 6Z, on the Debtor's exhibit

      14   list at Docket 1822, the resumes and C.V.s of the three

      15   independent members of the board.         If Your Honor has any

      16   question about their qualifications and their experience, that

      17   evidence is already in the record.

      18                THE COURT:    Okay.

      19   BY MR. MORRIS:

      20   Q    But Mr. Seery, without going into the detail of everything

      21   that's on your C.V., can you just describe for the Court

      22   generally your professional background, starting, well, with

      23   your time as a lawyer?

      24   A    I've been involved in the restructuring, finance,

      25   investing and managing of assets and banking-type assets for




                                                                           Appx. 04241
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 117 of 610




                                     Seery - Direct                           60


       1   over 30 years.

       2        I began in restructuring in real estate.         Became a lawyer,

       3   and was a lawyer in private practice dealing with

       4   restructuring and finance for approximately ten years, in

       5   addition to time before that on the real estate side.

       6        I joined Lehman Brothers on the business side in 1999,

       7   where I immediately began working on the -- with a distress

       8   team as a team member investing off the balance sheet, Lehman

       9   Brothers assets in various types of distressed financing

      10   investments.    Bonds, loans, equities.      In addition, then I

      11   became the head of Lehman's loan business globally.           I ran

      12   that business for the number of years.        Was one of the key

      13   players in selling Lehman Brothers to Barclays in a very

      14   difficult situation and structure.

      15        After that, joined some of my partners, we formed a hedge

      16   fund called RiverBirch Capital, about a billion and a half

      17   dollar hedge fund in -- operating in -- globally, but mostly

      18   U.S. stressed/distressed assets that we invested in.

      19   Oftentimes, though, we would run from high-grade assets all

      20   the way down to equities, different types of investors,

      21   different types of investments.

      22        Thereafter, I left -- was -- joined Guggenheim.          I left

      23   Guggenheim, and shortly thereafter became a director at

      24   Strand.

      25   Q    Prior to acceptance of the positions that you described




                                                                          Appx. 04242
Case 21-03005-sgj Doc 134-7 Filed 12/18/21     Entered 12/18/21 02:10:25   Page 118 of 610




                                       Seery - Direct                           61


       1   earlier, were you at all familiar with Highland or Mr.

       2   Dondero?

       3   A    Yeah.    I was, yes.

       4   Q    Can you just describe for the Court how you became

       5   familiar with Highland and Mr. Dondero?

       6   A    Highland was a customer of Lehman Brothers, and it was --

       7   particularly in the loan business.          And the CLO businesses.

       8   Highland was run by Mr. Dondero, and I knew of that business

       9   through that --

      10        (Interruption.)

      11                MR. MORRIS:    Can somebody please put their device on

      12   mute?

      13                A VOICE:   That's Mr. Taylor.

      14                THE COURT:    Mr. Taylor, you were off mute,

      15   apparently, for a moment.          Make sure you're staying on mute.

      16   Thank you.

      17                MR. TAYLOR:    Yes.    Sorry, Your Honor.    I thought we

      18   might have a hearsay objection.          I wasn't sure what the answer

      19   was going to be, so I wanted to be prepared to object.

      20                THE COURT:    All right.    Thank you.

      21   BY MR. MORRIS:

      22   Q    Did you know or meet Mr. Dondero in the course of what you

      23   just described?

      24   A    Yes, I did.    I believe we met once or twice over the

      25   years.   There was a senior team member who handled the




                                                                            Appx. 04243
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 119 of 610




                                     Seery - Direct                           62


       1   Highland relationship.       He was quite good, quite experienced,

       2   and he handled most of the Highland relationship issues.           But

       3   Highland, we came across a number of times, whether it be in

       4   -- I came across a number of times, whether it be in specific

       5   investments we had where they would be either a competing

       6   party or holding a similar interest, whether they were a

       7   customer purchasing loans or securities, whether they were a

       8   potential CLO customer where we were structuring some assets

       9   for them.

      10   Q    Okay.   And who are the two other members of the

      11   independent board at Strand?

      12   A    John Dubel and Russel Nelms.

      13   Q    And had you had any personal experience with either of

      14   those gentleman prior to this case?

      15   A    I knew of Mr. Nelms and his experience as a bankruptcy

      16   judge in the Northern District of Texas, and I had worked on

      17   one matter with Mr. Dubel, but very, very briefly, while he

      18   was the CEO of FGIC, which is a large insurer in the financial

      19   insurance space that he was responsible for reorganizing and

      20   ultimately winding down.

      21   Q    Okay.   How did you learn about this particular case?          How

      22   did you learn about the opportunity or the possibility of

      23   becoming an independent director?

      24   A    Initially, I was contacted by some of the creditors and

      25   asked whether I was interested, and I indicated that I was.




                                                                          Appx. 04244
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 120 of 610




                                     Seery - Direct                           63


       1   Subsequently, I received a call from the Debtor's

       2   representatives as well meeting the counsel as well as the

       3   financial advisor as well as specific members of the Debtor's

       4   senior management.

       5   Q    Do you know how long in advance of the January 9th

       6   settlement you were first contacted?

       7   A    Probably four, four or five days at the most, but started

       8   working immediately at that time because it was a pretty

       9   complicated matter and the interview process would be quick

     10    because of the hearing date that was coming up.

     11    Q    Do you recall the names of any of the creditors who

     12    reached out to you?

     13    A    I spoke to counsel for UBS.      Certainly, Committee counsel.

     14    I don't recall if I spoke to anybody from Jenner Block in the

     15    initial interview.    And then I spoke to representatives from

     16    your firm as well as Mr. Leventon and ultimately Mr.

     17    Ellington.

     18    Q    Did you do any due diligence before accepting the

     19    appointment?

     20    A    I did, yes.

     21    Q    Can you describe for the Court the due diligence you did

     22    before accepting your appointment as independent director?

     23    A    Well, I got the petition, I read the petition, as well as

     24    the first day, as well as the venue-changing motion.          In

     25    addition, I went through the schedules.        Ultimately, I took a




                                                                          Appx. 04245
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 121 of 610




                                     Seery - Direct                           64


       1   look at and examined the limited partnership agreement of the

       2   Debtor, with particular focus on the indemnity provisions.              I

       3   then sat down with the Committee to get their views as part of

       4   the interview process, as well as the Debtor's counsel and

       5   Debtor's representatives.

       6   Q    Did you -- in the course of your diligence, did you come

       7   to an understanding or did you form a view as to why an

       8   independent board was being sought at that time?

       9   A    Yes, I did.

      10   Q    And what view or understanding did you come to?

      11   A    There was extreme antipathy from the creditors, as

      12   evidenced by the venue motion and the documents around that

      13   venue motion.

      14        In addition, in the first day order, or affidavit, you

      15   could see the issues related to Redeemer and the length of

      16   time that litigation has been gone on, going on.

      17        The creditors became extremely concern with Mr. Dondero

      18   having any control over the operations of the Debtor and

      19   wanted to make sure that either he was removed from that or

      20   that -- and someone else was brought in, or that the case was

      21   somehow taken over by a trustee.

      22   Q    Did you form any views as to the causes of the Debtor's

      23   bankruptcy filing?

      24   A    The initial cause was the entry or the soon-to-be-entered

      25   order related to the arbitration with Redeemer, but it was




                                                                          Appx. 04246
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 122 of 610




                                     Seery - Direct                            65


       1   pretty clear from looking at the first day that there was a

       2   number of litigations.      The bulk of the creditor body was made

       3   up of -- on the liquidated side was made up of litigation

       4   creditors.    And then the other creditors, the Committee

       5   members, other than Meta-e, were significant litigation

       6   creditors.

       7              MR. MORRIS:    Your Honor, I think Mr. Seery was sworn

       8   in, but unless -- unless you -- if you think there's a need,

       9   I'm happy to have you swear Mr. Seery in again just to make

      10   sure his testimony is under oath.

      11              THE WITNESS:    I was sworn in.

      12              THE COURT:    Yes, I swore him in.

      13              MR. MORRIS:    That's what I thought.       That's what I

      14   thought.    Somebody had made the suggestion to me, so I was

      15   just trying to make sure, because I didn't want any unsworn

      16   testimony here today.

      17              THE COURT:    We did.

      18              MR. MORRIS:    Okay.

      19              THE COURT:    We did.

      20              MR. MORRIS:    Thank you.     Thank you.

      21   BY MR. MORRIS:

      22   Q    Ultimately, sir, just to move this along a little bit, do

      23   you recall that an agreement was reached with the UCC and Mr.

      24   Dondero and the Debtor concerning governance issues?

      25   A    Yes, I do.




                                                                           Appx. 04247
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 123 of 610




                                     Seery - Direct                           66


       1   Q    And did you accept your position as an independent

       2   director at Strand as part of that corporate governance

       3   settlement?

       4   A    That, that was part of the appointment.         We -- the

       5   independent directors were brought in to take -- really, to

       6   take control of the company as independent fiduciaries.           And

       7   the idea, I think, was that there was a Chapter 7 motion that

       8   was about to be filed by the Committee, or at least that was

       9   the representation, and the Debtor had a choice, they could

      10   either accept the independent directors or they could face the

      11   motion.

      12        What actually happened was a little bit more complicated.

      13   The creditors and the Debtor agreed on the selection of Mr.

      14   Dubel and myself.     And then because they couldn't agree on the

      15   third member of the independent board, they left it to Mr.

      16   Dubel and myself to actually come up with a process, interview

      17   candidates, and make that selection, which we did, which

      18   ultimately became Mr. Nelms.

      19   Q    And did all of this take place during that four- or five-

      20   day period prior to January 9th?

      21   A    It did, yes.

      22   Q    Okay.    And let's talk about the makeup of the board.

      23   You've identified the other individuals.         How would you

      24   characterize the skillset and the capability of the

      25   individual?




                                                                          Appx. 04248
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 124 of 610




                                     Seery - Direct                           67


       1   A    Well, on paper, I think it's a pretty uniquely-constructed

       2   board for this type of asset management business with the

       3   diversity of these types of assets and the diversity of issues

       4   that we had.

       5        So, former Judge Nelms, obviously skilled in bankruptcy

       6   and the law around bankruptcy, but also very skilled in

       7   mediation, conflict resolution, and in particular his

       8   prepetition or maybe pre-judicial experience in litigation and

       9   litigation involving fiduciary duties we thought could be

      10   very, very important because of the myriad of interrelated

      11   issues that we could see that might arise.

      12        John Dubel is an extremely well-known and respected

      13   restructuring professional.       He has been dealing these kinds

      14   of assignments as an independent fiduciary for, gosh, as long

      15   as I can recall, but at least going back 15 to 20 years.           He

      16   had experience in accounting, but he's also been the leader of

      17   these kinds of organizations going through restructuring in

      18   many operational type roles, and so he was a perfect fit.

      19        And my experience in both restructuring as well as asset

      20   management and investment I think dovetailed nicely with the

      21   experience that Mr. Nelms and Mr. Dubel have.

      22   Q    Okay.   Let's talk for just a moment at a high level of the

      23   agreement that was reached.       Do you remember that there were

      24   several documents that embodied the terms of the agreement?

      25   A    Yes, I do.




                                                                          Appx. 04249
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 125 of 610




                                     Seery - Direct                           68


       1   Q    And do you remember one of them was an order that the

       2   Court entered on January 9th?

       3   A    Yes.

       4               MR. MORRIS:   All right.    Your Honor, just for the

       5   record, and we'll be looking at this, but that would be

       6   document Exhibit 5Q as in queen, and that's at Docket No.

       7   1822.

       8   BY MR. MORRIS:

       9   Q    Do you remember there was a separate term sheet, Mr.

      10   Seery, that was also part of the agreement among the

      11   constituents?

      12   A    Yes.   There were -- I think there were a couple of term

      13   sheets and stipulations, but I do recall that there was some

      14   very specific term sheets with the terms.

      15               MR. MORRIS:   All right.    And we'll look at that one

      16   as well, Your Honor, but that can be found at Exhibit 5O as in

      17   Oscar.

      18   BY MR. MORRIS:

      19   Q    And then, finally, do you recall that Mr. Dondero signed a

      20   stipulation that was also part of the agreement?

      21   A    Yes.   That was absolutely key to the agreement for the

      22   creditors and perhaps the Court.        But it was really -- it

      23   needed to be clear that he was signed on to this transaction.

      24               MR. MORRIS:   Okay.   And we'll look at that as well.

      25   That's Exhibit 7Q.     And remind me, we'll move that one into




                                                                          Appx. 04250
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 126 of 610




                                     Seery - Direct                           69


       1   evidence.

       2   BY MR. MORRIS:

       3   Q    Did you and the other prospective independent directors

       4   actually participate in the negotiation of any aspect of this

       5   agreement that you've generally described?

       6   A    Absolutely.    Although we hadn't been appointed yet, these

       7   agreements were going to be the structure with which -- or

       8   under which we would come in as independent fiduciaries.           They

       9   would govern a lot of our relationships.         They would provide

      10   for the protections that we required and that I required.            So

      11   they were exceedingly important to me.

      12   Q    Can you describe for the Court at a general level your

      13   understanding of the overall structure of the corporate

      14   governance settlement?

      15   A    From a very high level, the settlement was -- Highland

      16   Capital Partners is a limited partnership.         It's managed by

      17   its general partner, Strand Advisors.        Although Strand is the

      18   GP, its effective interest in Highland is minimal, about .25

      19   percent of the effective partnership interest.          But it is the

      20   general partner.     So it does govern the -- the partnership.

      21        We came in as an independent board that would oversee and

      22   control Strand Advisors and thereby, through the general

      23   partner position, oversee and control HCMLP, the Debtor.

      24        In addition, the Committee then overlaid what we could do

      25   with respect to how we operated the business in the ordinary




                                                                          Appx. 04251
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 127 of 610




                                     Seery - Direct                             70


       1   course in Chapter 11 with a specific set of protocols that

       2   governed certain transactions that we would have to get

       3   permission from either the Committee or the Court to engage

       4   in.

       5         And in addition, Mr. Dondero, notwithstanding the

       6   insertion of the independent board at Strand, also had a set

       7   of restrictions around him, because, of course, not only was

       8   he the former control entity at Highland and Strand, he also

       9   had a hundred percent of the ownership -- indirectly, of

      10   course -- of Strand and could have removed the board.           So

      11   there were restrictions around what he could do with respect

      12   to the board.      There were also restrictions around what he

      13   could do through various entities to terminate contracts and

      14   --

      15   Q     All right.    We'll look at some of those in detail.        Did,

      16   to the best of your recollection, did Mr. Dondero give up his

      17   position as president or CEO of the Debtor?

      18   A     He did, yes.

      19   Q     And did he nevertheless stay on as an employee of the

      20   Debtor and retain a position as portfolio manager?

      21   A     He did.   At the last second, I believe it was the night

      22   before, when we were actually in Dallas preparing for the

      23   hearing, but Mr. Ellington raised the concern that if Dondero

      24   was removed from not only the presidency but also the

      25   portfolio management position, potentially there would be some




                                                                          Appx. 04252
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 128 of 610




                                     Seery - Direct                           71


       1   agreements that might or might not be subject to Court

       2   approval that could be terminated and value would be lost.              So

       3   this was a very last-second provision.        Obviously, the -- as

       4   new estate fiduciaries, we didn't want value to be lost

       5   instantly for key man or some other reason.         And the Committee

       6   ultimately, or I guess you'd say reluctantly, agreed to that

       7   because we just didn't have time to look at any of -- any such

       8   agreements.

       9              MR. MORRIS:    All right.    Let's -- can we put up on

      10   the screen, Ms. Canty, Debtor's Exhibit 5Q?

      11        And this is in evidence, Your Honor.        This is the January

      12   9th order.

      13        And can we please go to Paragraph 8?

      14   BY MR. MORRIS:

      15   Q    Mr. Seery, you had mentioned just a few minutes ago that

      16   there were certain restrictions that were placed on Mr.

      17   Dondero.   Does Paragraph 8, to the best of your recollection,

      18   provide for the substance of at least some of those

      19   restrictions?

      20   A    It does, yes.

      21   Q    And can you just describe for the Court your understanding

      22   of the restrictions that were imposed on Mr. Dondero pursuant

      23   to Paragraph 8?

      24   A    Well, as I recall, when Mr. Ellington came in with the

      25   last-minute request, the Committee was extremely upset about




                                                                          Appx. 04253
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 129 of 610




                                        Seery - Direct                         72


       1   it.   We talked about it.       Obviously, we, as an independent

       2   board that was going to come in, didn't know the underlying

       3   contracts and couldn't really render any judgment as to

       4   whether there would be value lost.         So, the Committee agreed,

       5   but they wanted to make sure that Mr. Dondero still reported

       6   to -- directly to the board, and if the board asked Mr.

       7   Dondero to leave, he would do so.

       8   Q     Okay.    Just looking at this paragraph, is it your

       9   understanding that the scope and responsibilities of Mr.

      10   Dondero would be determined by the board?

      11   A     Yes.

      12   Q     And was it your understanding that Mr. Dondero would serve

      13   without compensation?

      14   A     Yes.

      15                 MR. DRAPER:    Objection.   Leading, Your Honor.

      16                 THE COURT:    Overruled.

      17   BY MR. MORRIS:

      18   Q     Was it your understanding that Mr. Dondero's role would be

      19   subject to the direct supervision, direction, and authority of

      20   the board?

      21   A     That's, you know, that's what the order says and that's

      22   what the agreement was.        In practice, that was really going to

      23   have to evolve because we were coming in very cold and

      24   obviously he'd been there for --

      25         (Interruption.)




                                                                           Appx. 04254
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 130 of 610




                                     Seery - Direct                           73


       1               THE COURT:   All right.    Someone needs to put their

       2   phone on mute.    I don't know who it is.

       3   BY MR. MORRIS:

       4   Q    Was it also part of the agreement that Mr. Dondero would

       5   (garbled) upon the board's request?

       6   A    I think I got you, but yes, that's contained in this

       7   paragraph, and Mr. Dondero agreed to that.

       8               THE COURT:   All right.    Whoever LC is, your phone

       9   needs to be put on mute.       Okay.   Please be sensitive to

      10   keeping your device on mute except for Mr. Morris and Mr.

      11   Seery.

      12        All right.    Go ahead.

      13   BY MR. MORRIS:

      14   Q    Do you recall, Mr. Seery, whether there were any

      15   restrictions placed on Mr. Dondero's ability to terminate

      16   agreements with the Debtor?

      17   A    Yes.   That was a very specific provision as well.

      18   Q    Can we take a look at Paragraph 9 below?        Is that the

      19   provision that you're referring to?

      20   A    That's the provision in the order.        I believe there were

      21   other agreements -- certainly, discussion around it -- because

      22   it was an important provision because it had been borne out of

      23   some experience that Acis and Mr. Terry had had in particular.

      24   So it was supposed to be broad and prevent both direct and

      25   indirect termination of agreements.




                                                                          Appx. 04255
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 131 of 610




                                      Seery - Direct                            74


       1   Q    Okay.    And do you know, do you recall that the definition

       2   of related entity is contained within the term sheet that you

       3   referred to earlier?

       4   A    It's a pretty extensive -- I recall the definition not

       5   specifically, but it's a pretty extensive definition.           It

       6   includes any of the entities that he owns, that Mr. Dondero

       7   owns, that Mr. Dondero controls, that Mr. Dondero manages,

       8   that Mr. Dondero owns indirectly, that Mr. Dondero manages

       9   indirectly, and it really covers a wide swath of those

      10   entities in which he has interests and control.

      11                MR. MORRIS:   All right.   Let's see if we could just

      12   look at the definition specifically at Exhibit 5O as in Oscar.

      13   And if we could just scroll down to the next page.

      14        Now, this was -- this is part of the term sheet that was

      15   filed at Docket 354.

      16   BY MR. MORRIS:

      17   Q    At Definition I(d), is that the definition of related

      18   entity that you were referring to?

      19   A    That's correct.

      20   Q    Okay.    In addition to what you've described, I think you

      21   also mentioned that there was a separate stipulation that Mr.

      22   Dondero entered into as part of the corporate governance

      23   settlement.     Do I have that right?

      24   A    That's my recollection, yes.       And I believe he signed it,

      25   and that was a key gating issue to the hearing that we had on




                                                                          Appx. 04256
Case 21-03005-sgj Doc 134-7 Filed 12/18/21       Entered 12/18/21 02:10:25   Page 132 of 610




                                         Seery - Direct                           75


       1   January 9th.

       2   Q      And what do you recall about that document as being a key

       3   gating issue?

       4   A      The key gating issue that I recall is that it had to be

       5   signed.    And I don't believe it was signed until that very

       6   morning.

       7                  MR. MORRIS:    All right.    Can we call up Exhibit 7Q as

       8   in queen?

       9   BY MR. MORRIS:

      10   Q      All right.    Is this the stipulation that you were

      11   referring to?       We can scroll down to any portion you want.

      12   A      I believe that is, yes.

      13                  MR. MORRIS:    Okay.   Can we just scroll down to see

      14   Mr. Dondero's signature?         Yeah.     That's -- okay.

      15          So, that's dated January 9th.         This was filed at Docket

      16   338.    It's on the Debtor's exhibit list as Exhibit 7Q.             And

      17   the Debtor would respectfully move Exhibit 7Q into evidence.

      18                  THE COURT:    Any objection?    All right.    7Q is

      19   admitted.

      20          (Debtor's Exhibit 7Q is received into evidence.)

      21                  MR. MORRIS:    Okay.   And if we could just scroll up a

      22   page or two to the four bullet points.            Yeah, right there.        A

      23   little more.

      24   BY MR. MORRIS:

      25   Q      Okay.    So, do you see Paragraph 10 contains the




                                                                              Appx. 04257
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 133 of 610




                                      Seery - Direct                          76


       1   stipulation?

       2   A    Yes.

       3   Q    And as you recall, Mr. Seery, in the events leading up to

       4   the entry of the order approving the settlement, was this one

       5   of the documents that was being negotiated among -- among the

       6   parties?

       7   A    Yes, it was.

       8   Q    Okay.    You mentioned that there were certain provisions of

       9   the January 9th order that were important to you and the other

      10   independent directors.      Do I have that right?

      11   A    Yes.

      12                MR. MORRIS:   Let's see if we can back to Exhibit 5Q,

      13   please, Paragraph 4.

      14   BY MR. MORRIS:

      15   Q    Okay.    Paragraph 4, can you tell me what Paragraph -- what

      16   Paragraph 4 is and why it was important to you?

      17   A    Well, there really were four key, I guess I'll use the

      18   term gating items again, for my involvement, and ultimately in

      19   discussions with Mr. Nelms and Mr. Dondero -- Mr. Dubel, their

      20   involvement in the matter.

      21        Because of the litigious nature of the Highland operations

      22   and the expectations we had for more litigation after taking a

      23   look at the Acis case, we wanted to make sure that, as

      24   independents coming into a situation with really no stake in

      25   the particular outcome, other than trying to achieve a




                                                                          Appx. 04258
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 134 of 610




                                     Seery - Direct                           77


       1   successful reorganization, that we were protected.            So, number

       2   one, I looked at the limited partnership agreement.           I wanted

       3   to make sure that the LPA contained broad and at least

       4   standard indemnification provisions and that they would apply

       5   to the board.

       6        Number two, because -- that then requires you to look at

       7   the indemnification provisions at Strand, because you're a

       8   director of Strand, the GP.       So then we looked at those.       I

       9   took a close examination of those.        They looked okay, except

      10   Strand didn't have any assets other than its equity interest

      11   in Highland, and if that equity interest turned out to be

      12   zero, that indemnity wouldn't be very valuable.

      13        So I wanted to make sure that Highland, the Debtor,

      14   guaranteed the indemnity (garbled) on a postpetition basis, so

      15   that if there were a failure of D&O, which I'll get to in a

      16   second, or it wasn't enough, that we would have a senior claim

      17   in the case, an admin claim in the case.

      18        I then, of course, wanted to make sure that we had D&O

      19   insurance.    This was very difficult to get, because, frankly,

      20   there's a Dondero exclusion in some of the markets, we've been

      21   told by our insurance brokers, and so getting the right policy

      22   that would cover the independent board was difficult.           We did

      23   get that.

      24        And then ultimately there'll be another provision in the

      25   agreement here -- I don't see it off the top of my head -- but




                                                                           Appx. 04259
Case 21-03005-sgj Doc 134-7 Filed 12/18/21     Entered 12/18/21 02:10:25   Page 135 of 610




                                       Seery - Direct                           78


       1   a gatekeeper provision.       And that provision --

       2   Q    Hold on one second, Mr. Seery, because we'd want to

       3   scroll.     So Paragraph 4 and Paragraph 5, were those, were

       4   those provisions put in there at the insistence of the

       5   prospective independent directors?

       6   A    Yes.    And remember, so the Paragraph 4, as I said, is the

       7   guarantee of Strand's obligations for its indemnity.             Again,

       8   Strand didn't have any money, so the Debtor had to be the one

       9   purchasing the D&O for the directors and for Strand.             So those

      10   are the two provisions that really worked to address my

      11   concerns about the indemnities and then the D&O.

      12               MR. MORRIS:     Okay.    Can we go to Paragraph 10,

      13   please?     There you go.

      14   BY MR. MORRIS:

      15   Q    Is this the other provision that you were referring to?

      16   A    This is.    It's come to be known as the gatekeeper

      17   provision, but it's a provision that I actually got from other

      18   cases.    Again, another very litigious case that I thought it

      19   was appropriate to bring in to this case.

      20        And the concept here is that when you're dealing with

      21   parties that seem to be willing to engage in decade-long

      22   litigation in multiple forums, not only domestically but even

      23   throughout the world, it seemed important and prudent for me

      24   and a requirement that I set out that somebody would have to

      25   come to this Court, the court with jurisdiction over these




                                                                            Appx. 04260
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 136 of 610




                                       Seery - Direct                         79


       1   matters, to determine whether there was a colorable claim.

       2   And that colorable claim would have to show gross negligence

       3   and willful misconduct, i.e., something that would not

       4   otherwise be indemnified.

       5         So it basically sets an exculpation standard for

       6   negligence.      It exculpates the directors from negligence.       And

       7   if somebody wants to bring a cause against the directors, they

       8   have to come to this Court first and get a finding that

       9   there's a colorable claim for gross negligence or willful

      10   misconduct.

      11   Q     Would you have accepted the engagement as an independent

      12   director without the Paragraphs 4, 5, and 10 that we just

      13   looked at?

      14   A     No.    These were very specific requests.      The language here

      15   has been 'smithed, to be sure, but I provided the original

      16   language for 10 and insisted on the guaranty provision above

      17   to assure that the indemnity would have some support.

      18   Q     And ultimately, did the Committee and the Debtor agree to

      19   provide all of the protection afforded by Paragraphs 4, 5, and

      20   10?

      21   A     Yes.

      22   Q     Okay.

      23                 MR. MORRIS:   Your Honor, we're going to move on now

      24   to good faith, Section 1129(e)(3), just to give you a little

      25   bit of a roadmap of where we're going.




                                                                          Appx. 04261
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 137 of 610




                                     Seery - Direct                           80


       1   BY MR. MORRIS:

       2   Q    Let's talk about the process that led to the plan that the

       3   Debtor is asking the Court to confirm today.         Real basic stuff

       4   at the beginning.     Can you tell me your understanding of the

       5   makeup of the UCC, of the Creditors' Committee?

       6   A    The Creditors' Committee in this case has four members.

       7   It's UBS, the Redeemer Committee, which are former holders of

       8   interests in a fund called the Crusader Fund, which was a

       9   Highland fund, who had redeemed and then had a dispute with

      10   Highland.

      11        And the next creditor is Mr. Terry and Acis.         We generally

      12   group them as one, but the creditor is Acis.

      13        And the fourth creditor is an entity called Meta-e, and

      14   they provide litigation support and technical support and

      15   discovery support in litigations for the Debtor, including in

      16   this case now.

      17   Q    All right.    Just focusing really on the early period, the

      18   first few months, can you describe the early stages of the

      19   negotiations with the UCC as best as you can recall?

      20   A    Well, I think the early stage of the case wasn't directly

      21   a negotiation; it was really trying to understand as best we

      22   could the myriad of assets that we had here, the various

      23   businesses that the Debtor either owned, controlled, or

      24   managed, as well as the claims.

      25        We went through a process of trying to understand each of




                                                                          Appx. 04262
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 138 of 610




                                     Seery - Direct                           81


       1   the claims that the Debtor -- or against the Debtor that were

       2   represented by the Committee, as well as some other claims

       3   that were not on the Committee.

       4   Q    Was the Debtor -- I mean, was the Committee initially

       5   pushing the independent board to go to a monetization plan, an

       6   asset monetization plan?

       7   A    Very quickly and early on, the Debtor -- the Committee

       8   took a pretty aggressive approach with the Debtor and the

       9   independent board.     I think the Committee's perspective, as

      10   articulated to me, and where -- at least how we took it, was

      11   that they'd been litigating for years and they sort of knew

      12   the situation and the value of their claims, that the Debtor

      13   was insolvent, in their view, and that we should be operating

      14   the estate in essence for the benefit of the creditors.

      15   Q    And what was the board's view in reaction to that?

      16   A    We disputed it.     And the reason we disputed it was very

      17   straightforward.     Save for the Redeemer claim, which at least

      18   had an arbitration award, Acis and Mr. Terry didn't have any

      19   specific awards, notwithstanding the results of the Acis

      20   bankruptcy, and UBS, while it had a judgment, that judgment

      21   was not against the Debtor.

      22        So our view was, until we have our hands around these

      23   claims and we determine what the validity is in our estate,

      24   that we would treat the Debtor as if it were solvent.           We also

      25   wanted to assess the value of the assets.         So, looking at the




                                                                          Appx. 04263
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 139 of 610




                                     Seery - Direct                           82


       1   assets not just from a book value but what they might be

       2   really worth in the market.

       3   Q    And did the board in the early portion of the case

       4   consider all strategic alternatives?

       5   A    I don't know if we considered every strategic alternative,

       6   but we certainly considered a lot of alternatives.

       7   Q    Can you describe for the Court the alternatives that were

       8   considered by the board before settling on the asset

       9   monetization plan?

      10   A    Well, early on, you know, we looked at each of the -- what

      11   we would think of the large category types of ways to resolve

      12   a case.   Number one, could we go through a very traditional

      13   reorganization with either stretching out claims to creditors

      14   after settlement or converting some of those to equity,

      15   getting new equity infusions?        We considered those

      16   alternatives.

      17        Number two, we considered whether we should simply sell

      18   the assets.     That's one of the things that the Committee was

      19   pushing for.    They could be sold to third parties.          They could

      20   be sold individually.     Mr. Dondero potentially could buy some

      21   of the assets.    That'd be a reasonable reorganization in this

      22   case.

      23        We also considered whether that, you know, we would just

      24   do a straight liquidation.        Is there some value to doing --

      25   converting the case to a 7 and doing a straight liquidation?




                                                                           Appx. 04264
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 140 of 610




                                     Seery - Direct                           83


       1        We also considered a grand bargain plan, and this was

       2   something that I worked on quite a bit.        The phrase is mine,

       3   although no pride of authorship, certainly, since it didn't

       4   work out.   But that perhaps we could come to an agreement with

       5   the major creditors and with Mr. Dondero and then shift some

       6   of the expenses in the case out further to litigate some of

       7   the other claims while reorganizing around the base business.

       8        And then, finally, we considered the asset monetization

       9   plan, and ultimately that evolved into what we have today.

      10   Q    Were there guiding principles or factors that the board

      11   was focused on as it assessed these different options?

      12   A    Well, the number one guiding principle was overall

      13   fairness and equitable treatment of the various stakeholders.

      14   So, again, at that point, we didn't know exactly what, if

      15   anything, we would owe to claimants like UBS or HarbourVest or

      16   even Mr. Terry and Acis.     We had a good sense of where we

      17   would end up with Redeemer, I think, but we still had some

      18   options and wanted to negotiate the issues related to

      19   potential appeal rights that we had.        So I think that was the

      20   number one overall concern.

      21        But that did evolve over time.       Costs of the case were

      22   exceptionally high.     And the reason they're so high is that

      23   Highland was run for a long time, at least from what we can

      24   tell, at an operating deficit.       Typically, what it would do is

      25   run at a deficit and then sell assets to cover the shortfall,




                                                                          Appx. 04265
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 141 of 610




                                     Seery - Direct                           84


       1   and it would defer a whole bunch of employee -- potential

       2   employee compensation.      And because of the way the environment

       3   was going, particularly in the first half of the year, it

       4   didn't look to us like there was going to be any great asset

       5   increase that would somehow save us from the hole that was

       6   being dug, the considerable amount of expenses to run the

       7   case.

       8   Q    Did changing the culture of litigation factor into the

       9   path that the board considered?

      10   A    Well, we certainly looked at the way the company had run

      11   and why it got to where it is in terms of litigating.           And not

      12   just litigating valid claims, but litigating any claim to the

      13   nth degree.    And stories are legion, I won't talk about them,

      14   but of Highland taking outrageous positions and then pursuing

      15   them, hoping that the other side caves.

      16        We determined that this estate couldn't bear that kind of

      17   expense, and it wasn't fair and equitable to do that anyway.

      18   So we wanted to attack the claims that we could -- and I say

      19   attack; try to resolve them as swiftly as we could --

      20   protecting the Debtor's interests but trying to find an

      21   equitable resolution.

      22        I'm not averse to litigating.       And I think when there are

      23   claims that are legitimate, the Debtor should pursue them.

      24   There's always -- a good settlement is always better than a

      25   bad litigation.     But if there (indecipherable) to resolve




                                                                          Appx. 04266
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 142 of 610




                                     Seery - Direct                            85


       1   them, we should -- we should pursue those.         And if we have

       2   defenses, we should pursue those, and not just be held up

       3   because someone else is willing to, you know, take a more

       4   difficult position than we are.

       5        But in this case, it really did cry out for some sort of

       6   resolution on many of these cases because they were far beyond

       7   -- far beyond the facts and far beyond the dollars.            There was

       8   personal antipathy involved in virtually every one of the

       9   unlitigated or unliquidated Committee cases.

      10   Q    Did the board, as it was assessing the various strategic

      11   alternatives, consider maximization of the value?

      12   A    Always number one was, can we maximize value?            But that

      13   has to be done within the context of the risk you're taking

      14   and the time it takes.      So, not all wine ages well in a cave

      15   and not all investments get to be more valuable over time.               We

      16   wanted to look at each individual asset that the Debtor had,

      17   each claim that the Debtor had, each defense that the Debtor

      18   had, and consider the time and the costs and then try to find

      19   the best way to maximize value with those multiple

      20   considerations.

      21   Q    How about the role and support of the UCC, how did that

      22   factor into the decision-making, the Debtor's decision-making

      23   as to what plan to pursue?

      24   A    Well, you know, the decision-making with the UCC was

      25   cumbersome and oftentimes difficult.        Sometimes our relations




                                                                           Appx. 04267
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 143 of 610




                                     Seery - Direct                           86


       1   were very contentious, and sometimes they continue to be.           But

       2   the Committee had significant oversight because of the

       3   protocols that had been agreed to.        Some of the disputes we

       4   had with the Committee found their way into the court.           Those

       5   time and that cost, some of which we won, some of which we

       6   lost, but those factored into our analysis.

       7        But eventually we knew that we were going to need to get,

       8   you know, some significant portion of the Committee to agree,

       9   because, at minimum, Meta-e had a liquidated claim, and

      10   Redeemer was very close to fully liquidated, so we were going

      11   to need support from the Committee with whatever we tried to

      12   push through.    And so that's how we negotiated with the

      13   Committee from that perspective.

      14   Q    Is it fair to say that the Debtor and the Committee's

      15   interests because aligned upon approval of the disclosure

      16   statement back at the end of November?

      17   A    I don't think they became perfectly aligned, because we

      18   still have, you know, some disputes around, you know,

      19   implementation and things like the employee releases, which

      20   were very important to me.        But I think we're largely aligned

      21   and that the Committee is supportive, as Mr. Clemente said at

      22   the start of this hearing, of the plan.         We negotiated at

      23   arm's length with them about most of the provisions.           I would

      24   say virtually everything was a relatively significant

      25   negotiation, or at least there was a good faith exchange of




                                                                          Appx. 04268
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 144 of 610




                                     Seery - Direct                            87


       1   views on each side and assessment of legal and financial

       2   risks.   And I think at this point they're largely in support

       3   of the plan.

       4   Q    All right.    Let's -- you mentioned the grand bargain, and

       5   I just want to spend a few minutes talking about that, how

       6   that evolved.     Focusing your attention in the kind of late

       7   spring/early summer, can you tell me what efforts you and the

       8   board made in trying to achieve a grand bargain in that early

       9   part of the case?

      10   A    Well, we had -- at that point, we had reached agreement,

      11   at least in principle, with Redeemer.         And the thought was --

      12   my thought was that we could construct a plan, understanding

      13   what the cash flows looked like and what we thought the base

      14   value of the asset looked like -- and those are not just the

      15                                            notes that
           assets that are tangible assets, but the notes that are
                                                               are

      16   collectible by
           collectible by the Debtor as well -- and then engage with UBS

      17   in particular.     Redeemer.      To some degree, Mr. Terry.     We had

      18   not yet reached any agreement with him.          But UBS, we thought

      19   of as a slightly -- I don't mean this to be disparaging -- but

      20   a slightly more commercial player than Acis because of the

      21   history that Acis had to deal with and endure.

      22        And we were hoping that we could get some sort of

      23   coalescence around an agreed distribution that would require

      24   those creditors to take a lot less than they might have

      25   otherwise agreed, Mr. Dondero to put in more than he otherwise




                                                                           Appx. 04269
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 145 of 610




                                     Seery - Direct                           88


       1   thought he could put in or would be willing to put in, and

       2   then we would get out to Acis and the other creditors with a

       3   plan.

       4          And so I built, with the team at DSI, a detailed model on

       5   how the distributions could work and what the potential timing

       6   could be, trying to, each time, move in a multidimensional way

       7   with UBS, Redeemer, Mr. Dondero, and to some degree Acis,

       8   around the respective issues for their claims.

       9          Again, UBS and Acis had not been resolved and weren't

      10   close, but the thought was if we could get dollar agreements

      11   for distribution, perhaps we could then figure out how to

      12   construct settlements of their claims.

      13   Q      During this time period, did you work directly with Mr.

      14   Dondero in the formulation of a potential grand bargain?

      15   A      I did, yes.

      16   Q      And the model that you described, did that go through a

      17   number of iterations?

      18   A      It went through multiple iterations.      I don't believe I

      19   ever shared the model with anybody.        One of the reasons for

      20   that is I didn't want -- I felt I had -- if I was going to

      21   share it with Mr. Dondero, for example, I'd have to share it

      22   with UBS and I'd have to share it with Redeemer.          And I wanted

      23   it to be -- I wanted it to be a working model with the team at

      24   DSI.    In particular, we would make, you know, adjustments on

      25   an almost-daily basis.




                                                                          Appx. 04270
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 146 of 610




                                     Seery - Direct                            89


       1        Mr. Dondero had -- remember, he was still portfolio

       2   manager at that time.     He also had a related-party interest,

       3   as people have seen from some of the litigation around the

       4   sales of securities.     He had access and was receiving emails

       5   from the team as well as from the finance team.          So he had

       6   access to the information at that point and had a view around

       7   the value.    And this was more trying to adjust what those

       8   distributions would look like depending on the amounts that he

       9   would be willing to contribute.

      10   Q    Moving on in time, did there come a time when the Debtor

      11   participated in a mediation with certain of the major

      12   constituents in the case?

      13   A    Yes.    That was towards the end of the summer.

      14   Q    And during that mediation, did the concept of a grand

      15   bargain, was that put on the table?        Without discussing any

      16   particulars about it, just as a matter of process, was the

      17   grand bargain subject to the mediation discussions?

      18   A    Well, the mediation had multiple components, so the answer

      19   to the question in short is yes, but I'll go longer because I

      20   tend to.    The grand bargain plan stayed in place, and that was

      21   going to be an overall settlement.        The mediation was

      22   initially, I think, as a main course, focused on Acis, UBS,

      23   and then the third piece being the grand bargain.             And if you

      24   could settle one of those claims, perhaps -- obviously, if you

      25   could settle both of them, you could get to then focusing on




                                                                            Appx. 04271
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 147 of 610




                                     Seery - Direct                            90


       1   the grand bargain.

       2        But even before we got to mediation, the idea of the

       3   monetization plan had also been put forth.          Notwithstanding

       4   that it wasn't my idea, I actually thought that it was a good

       5   idea, ultimately.     Didn't initially.      And the reason for that

       6   is that it set a marker for what a base expectation could be

       7   for the creditors and just for Mr. Dondero.          And knowing that

       8   that was out there, at least with them, that could hopefully

       9   be a catalyst in the mediation for folks to say, let's see if

      10   we can get our claims done and get a grand bargain done,

      11   because if we don't we have this Debtor monetization plan.

      12   And by that -- at that point, I don't think we had much

      13   agreement with the Committee on anything, and certainly with

      14   Mr. Dondero, on -- on a monetization plan.

      15   Q    All right.    And let's just bring it forward from the fall,

      16   post-mediation, to the present.        Has -- has -- have you and

      17   the board continued discussing with Mr. Dondero the

      18   possibility of a grand bargain?

      19   A    Well, it's shifted.     So, the grand bargain discussions

      20   really -- you had multiple phases.        So, you had pre-mediation.

      21   There was the grand bargain discussions that I just described

      22   previously that also involved UBS and Redeemer, and to some

      23   degree Acis and Mr. Terry.        Then you have the mediation, which

      24   is much more focused on the claims and whether they can fit

      25   into the grand bargain with Mr. Dondero.




                                                                           Appx. 04272
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 148 of 610




                                     Seery - Direct                           91


       1        And the way that was conducted was a little bit more

       2   separated, meaning the parties would talk to the mediator, the

       3   mediator would then go and talk to other parties and try to

       4   work a settlement on each of those components.

       5        Subsequent to the mediation where we reached the agreement

       6   with Acis and Mr. Terry, and we ultimately in that timeframe

       7   banged out the final terms of our agreement with Redeemer, we

       8   engaged with Mr. Dondero around -- I wouldn't call it the

       9   grand bargain, but a different plan.        By that point, the

      10   monetization plan had started to gain some traction with the

      11   creditor group, and Mr. Dondero and his counsel, I believe,

      12   focused on the potential of what was referred to as a pot

      13   plan.   And while it has the -- it could have the ability of

      14   being a resolution plan, it wasn't the grand bargain plan that

      15   I had initially envisioned.       And pot plan was really a

      16   misnomer, because it didn't have a whole pot, so -- so it's a

      17   little bit of a hybrid.

      18   Q    Did the board spend time during its meetings discussing

      19   various pot plan proposals that had been put forth by Mr.

      20   Dondero?

      21   A    Oh, absolutely.     And not only the board.      I mean, we did

      22   our own work as an independent board and then brought in our

      23   professional advisors, both your firm and the DSI folks, to go

      24   through analytics around the pot plan, and even before that,

      25   the other plan alternatives, but we had direct discussions




                                                                          Appx. 04273
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 149 of 610




                                     Seery - Direct                           92


       1   with Mr. Dondero and his counsel.

       2   Q    And in the last couple of months, has the board listened

       3   to presentations that were made by Mr. Dondero and his counsel

       4   concerning various forms of the pot plan?

       5   A    Yes.    At least two or three.

       6   Q    And during this time, has the board and the Debtor

       7   communicated with the Committee concerning different

       8   iterations of the proposed pot plan?

       9   A    Yes.    We've had continual discussions with the Committee

      10   regarding the various iterations of the potential grand

      11   bargain all the way through the pot plan.

      12   Q    And during this process, did the Debtor provide Mr.

      13   Dondero and his counsel with certain financial information

      14   that had been requested?

      15   A    Yes.    As I said, up 'til the point where he resigned and

      16   was then ultimately, at the end of the year, removed from the

      17   office, he had access to financial information related to the

      18   Debtor and even got the information from the financial group.

      19   Subsequent to that, we've provided him with requests -- with

      20   financial information that was requested by his counsel.

      21   Q    Okay.   Were your efforts at the grand bargain or the

      22   pursuit of the pot plan successful?

      23   A    No, they were not.

      24   Q    Do you have an understanding as to -- just, again, without

      25   going into -- into details about any particular proposal, do




                                                                          Appx. 04274
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 150 of 610




                                     Seery - Direct                            93


       1   you have an understanding as to what the barrier was to

       2   success?

       3   A    The grand bargain, we just never got the traction that we

       4   needed to get that going and the sides were just far -- too

       5   far apart.    And the pot plan, similarly.       Our discussions with

       6   Mr. Dondero and the Committee, they're -- they're very far

       7   apart.

       8   Q    And is it fair to say that the Committee's lack of support

       9   in either the grand bargain or the pot plan is the principal

      10   cause as to why we're not talking about that today?

      11   A    Well, it's -- it -- right now, we've got the plan that's

      12   on file, the monetization plan.       The monetization plan has

      13   gone out for creditor vote and has received support.           It

      14   distributes, we think, equitably, as well as a significant

      15   amount of distributions to unsecured creditors.          And there

      16   really isn't an alternative that we see, based upon the

      17   numbers I've seen, that competes with it or has any traction

      18   with the largest creditors.

      19   Q    All right.    So, now we've talked about various proposals

      20   or alternatives that were considered by the board, including

      21   the grand bargain and the pot plan.        Let's spend some time

      22   talking about the plan that is before the Court today and how

      23   we got here.    And I'd like to take you really back to the

      24   beginning, if I may.

      25        Tell us, tell the Court just what the board was doing in




                                                                          Appx. 04275
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 151 of 610




                                     Seery - Direct                            94


       1   the early months after getting appointed, because I think

       2   context is important here.        What were you all doing the first

       3   few months of the case?

       4   A    Well, the first few months, we really were drinking from

       5   the proverbial fire hose, trying to get an understanding of

       6   the business, how it had been managed previously, what the

       7   issues related to the different parts of the business were.

       8   And then an understanding of each of the employees that were

       9   working under us, what their roles were, how they performed

      10   them, who sat where with respect to each of the assets, what

      11   the contracts looked like, whether they be shared service or

      12   management agreements.     And then we started looking at the

      13   individual assets in terms of value.

      14        At the same time, we were trying to get up to speed on the

      15   complex nature of the claims that were in the case.           The

      16   liquidated claims were relatively easy, but there had been a

      17   significant amount of transfers in and out of the Debtor, and

      18   then there's a myriad of relationships involving related

      19   entities that we had to understand, both with respect to the

      20   claims as well as with respect to the assets.

      21        And so that -- those were the main things we were doing

      22   for those first few months in the case.

      23   Q    Just a couple months into the case, the COVID pandemic

      24   reared its head.     Do you recall that?

      25   A    Yes.   We had been in Dallas every day working up 'til the




                                                                          Appx. 04276
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 152 of 610




                                     Seery - Direct                           95


       1   time of the COVID and some of the shutdown orders,

       2   particularly in the Northeast, and so that changed the dynamic

       3   of how we could function every day.

       4        Notwithstanding that, we -- we were able to manage from

       5   afar, and ultimately, when there were some cases in the office

       6   of COVID, we -- on the Highland side, not the related entity

       7   side, but on the Highland side -- we determined that the staff

       8   and the team should work from home, which they were able to do

       9   quite well.

      10   Q    Okay.    In those early months, do you recall that there was

      11   a substantial erosion of value, at least as of the time you

      12   were appointed in those first three or four months?

      13   A    There was.    And I think we've heard some -- some noise

      14   about what that value was and the drop in the asset value as

      15   opposed to net value.     But the asset value did, did drop

      16   significantly.

      17   Q    Can you describe for the Court your recollection as to the

      18   causes of the drop in the value that you just descried?

      19   A    Yes.    The number one drop was a reservation that the board

      20   took for a receivable from an entity called Hunter Mountain.

      21   The quick version of this is that Hunter Mountain owns

      22   Highland.    As I mentioned, while Strand is the GP, it only has

      23   a quarter-percent interest in Highland.        The vast majority of

      24   the interests are owned by an entity called the Hunter

      25   Mountain Investment Trust in a very complicated, tax-driven




                                                                          Appx. 04277
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 153 of 610




                                     Seery - Direct                           96


       1   structure.

       2        Dondero and Okada transferred their interests in Highland

       3   at a high valuation to Hunter Mountain.        Hunter Mountain then

       4   didn't have the money, so it, in essence, borrowed the money

       5   from the Debtor in a note to pay for those interests.           There's

       6   a circular running of the cash, but we were not sure where, if

       7   any, where any assets are, if they would be sufficient.           So we

       8   took a reservation of $58 million for that note.

       9        The second biggest piece of the reduction in value was the

      10   equity that was lost in the Select Equity account.            This is a

      11   Debtor trading account that was managed by Mr. Dondero.           $54

      12   million was lost in that account.        Basically, it was really

      13   highly margined, very high leverage in that account when the

      14   market volatility came in.        As it grew through January,

      15   February, March, more and more margin calls.         Ultimately,

      16   Jefferies, which had Safe Harbor protections -- technically,

      17   the account was not a Debtor account, but they would have had

      18   it anyway -- they seized that account.        $54 million in equity

      19   was lost in that account.

      20        The next highest amount is about $35 million, but it's

      21   higher now.    That's just the bankruptcy costs, where we have

      22   spent cash and Debtor assets in the case.         It was about $36 to

      23   $40 million through the end of the year.         That's now higher.

      24        About $30 million was lost in paying back Jefferies on the

      25   asset side of the ledger in the Highland internal equity




                                                                           Appx. 04278
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 154 of 610




                                     Seery - Direct                           97


       1   account.    This was similar to the equity -- the Select Equity

       2   account, also managed by Mr. Dondero.        Extremely highly-

       3   levered coming into the market volatility of the first

       4   quarter, which was exacerbated, obviously, by the COVID.           That

       5   was about $30 million that was repaid in margin loan in that

       6   account.

       7        In addition, $25 million of equity was lost in that

       8   account while Mr. Dondero was managing it.         I took over

       9   effectively managing it in mid-March and worked with Jefferies

      10   to keep them from seizing the account.        We've since gotten a

      11   bunch of value coming back from that account, but that was the

      12   amount that was lost.

      13        About $10 million was lost in the Carey Limousine loan

      14   transaction.    That is a -- an interesting little company.           Has

      15   done a nice job -- management did a very good job coming into

      16   the year, and it actually had real value, notwithstanding the

      17   changeover to Uber in people's preferences.         But with the

      18   COVID, it really relied on events, airport travel, executive

      19   travel, and that really took a bite out of it, although, you

      20   know, we're hoping to be able to restructure, we have

      21   restructured it to some degree, and we're hoping that there

      22   could be value there.

      23        And then about $7 million was lost in equity in an entity

      24   called NexPoint Hospitality Trust.        This is another extremely

      25   highly-levered hospitality REIT that NexPoint manages.           It




                                                                          Appx. 04279
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 155 of 610




                                     Seery - Direct                            98


       1   trades on the Toronto Stock Exchange.        And I think likely that

       2   -- it's got a lot of issues with respect to its mortgage debt.

       3   And because it was hospitality, it was really hurt by the

       4   COVID.

       5        And I think that's probably -- those numbers add up to

       6   north of $200 million of the loss.

       7   Q    All right.    Thank you for that recitation, Mr. Seery.          So,

       8   turning to the spring, after all of those issues were

       9   addressed, at the same time you were working on the grand

      10   bargain, did the Debtor and its professionals begin

      11   formulating the monetization plan that we have today?

      12   A    I'm sorry, in the spring?      I lost that question.       I

      13   apologize.

      14   Q    That's okay.    After you dealt with everything that you

      15   just described, were you doing two things at once?            Were you

      16   working on the grand bargain and the asset monetization plan

      17   at the same time?

      18   A    Yes, that's correct.

      19   Q    All right.    Can you just describe for the Court kind of,

      20   you know, how the asset monetization plan evolved up until the

      21   point of the mediation?

      22   A    Yes.    I alluded to it earlier, but because the Debtor was

      23   running an operating deficit, we were very concerned about

      24   liquidity.    Highland typically runs, from a liquidity

      25   perspective and a cash perspective, very close to the edge.              I




                                                                           Appx. 04280
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 156 of 610




                                     Seery - Direct                           99


       1   don't feel particularly comfortable helping lead an

       2   organization that's running that close to the edge.           And I was

       3   very focused on the burn that we had on an operating basis, as

       4   well as the professional cost burn, because for a case this

       5   size it was significant.

       6        The rest of the board felt similarly, and one of the

       7   directors, and I'm not sure if it was Mr. Nelms or Mr. Dubel,

       8   came up with the idea that we needed an alternative to

       9   continuing to just burn assets while we were in this case.

      10   There had to be some sort of catalyst to get the parties, both

      11   Mr. Dondero as well as the creditors -- at that point, as I

      12   said, we weren't settled with Acis or UBS, and we weren't,

      13   frankly, close with either of them.        And so we needed what --

      14   what I think the -- the idea was that we needed a catalyst to

      15   have people focus on what the alternative was.          Because

      16   continuing to run the case until we ran out of money was not

      17   an acceptable alternative.

      18        What I didn't like about the plan was it didn't have

      19   anybody's support, and so I wasn't sure how we made progress

      20   with it without having some Committee member or Mr. Dondero in

      21   support of it.     I was outvoted, although maybe I came around

      22   in the actual vote.     But ultimately, I think it was actually a

      23   quite smart idea, because it did set the basis for what the

      24   case would be.     Either there would be some resolution or it

      25   would push towards the monetization plan, and parties could




                                                                          Appx. 04281
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 157 of 610




                                     Seery - Direct                           100


       1   then assess whether they liked the monetization plan or not.

       2   That if I was going to be the Claimant Trustee or the --

       3   defending the, you know, against the claims, they would have

       4   the pleasure of litigating with me for some period of time.

       5   Or they could come to some either grand bargain or ultimately

       6   some other resolution.

       7        And as we started to develop a plan and put more of a

       8   framework -- more flesh around the framework, it actually

       9   started to look more and more like a real viable alternative

      10   to either long-term litigation or some other grand bargain if

      11   we couldn't get there.

      12   Q    And ultimately, did the board authorize the Debtor to file

      13   its initial version of the asset monetization plan at around

      14   the time of the mediation?

      15   A    Yeah.    We developed it over the summer and really fleshed

      16   it out in terms of how the structure would work, what the tax

      17   issues were, what the governance issues were.         We did that

      18   largely negotiating with ourselves, so we -- we were extremely

      19   successful.    And then we filed, we filed that plan right

      20   before the mediation.

      21        And my recollection is that there was some concern from

      22   the mediators that they thought that putting that plan out in

      23   the public could upset the possibility of a grand bargain, so

      24   we ended up filing that under seal.

      25   Q    Do you recall what the Committee's initial reaction was to




                                                                          Appx. 04282
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 158 of 610




                                     Seery - Direct                           101


       1   the asset monetization plan that you filed under seal?

       2   A    Well, initially, they -- the Committee didn't like it.

       3   They didn't like the governance.       They didn't like the fact

       4   that it set up for those creditors who didn't litigate the

       5   prospect of litigations to try to resolve their claims.           It

       6   effectively cut out some of the advisory that the Committee

       7   currently had.    The -- one of the driving forces behind the

       8   asset monetization plan and how we initially started it is we

       9   can't continue these costs, as I said.        Well, an easy way to

      10   get rid of -- to reduce the costs is to get rid of half of

      11   them.

      12        So if you could get rid of the Committee, effectively, and

      13   coalesce around an asset monetization vehicle, then if folks

      14   wanted to resolve their claim, you could.         If you had to

      15   litigate it, you could, but you'd have one set of lawyers that

      16   the estate was paying for, one set of financial advisors the

      17   estate was paying for, as opposed to multiple sets.

      18   Q    In addition to the corporate governance issues that you

      19   just described, did the Committee and the Debtor quickly reach

      20   an agreement on the terms of the treatment of employee claims

      21   and the scope of the releases for the employees?

      22   A    No.   Not very quickly at all.

      23   Q    Yeah.

      24   A    You know, again, one of the issues in this case that

      25   drives perspectives is the history that creditors have in




                                                                          Appx. 04283
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 159 of 610




                                     Seery - Direct                           102


       1   dealing with Highland and in dealing with many of the

       2   employees at Highland, you know, who had worked for Mr.

       3   Dondero and served at his pleasure for a long time, and how

       4   they had been treated in various of their attempts to collect

       5   their claims.    So the idea of giving any sort of releases to

       6   the employees was anathema to -- to many of the Committee

       7   members.

       8        From my perspective, you know, releases are particularly

       9   important because there's a quid pro quo leading up to the

      10   confirmation of a plan, particularly with a monetization plan

      11   where it's clear that the employees are all going to be or

      12   largely going to be either transitioned or terminated.           If

      13   they're going to keep working towards that, we either have to

      14   have some sort of financial incentive or some sort of

      15   assurance that their actions which are done in good faith to

      16   try to pursue this give them the benefit of more than just

      17   their paycheck.

      18        And so we thought we were setting up the quid pro quo in

      19   terms of work towards the monetization, bring the case home,

      20   and you're entitled to a release, so long as you haven't done

      21   something that was grossly negligent or willful misconduct.

      22   And the Committee, I think, wanted to have a more aggressive

      23   posture.

      24   Q    And did those disagreements over corporate governance and

      25   the employee releases kind of spill out into the public at




                                                                          Appx. 04284
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 160 of 610




                                     Seery - Direct                           103


       1   that disclosure statement hearing in October?

       2   A     I think they spilled out at that hearing as well as in the

       3   hearing either the next day or two days later around Mr.

       4   Daugherty's claim.     And again, it was -- it was contentious.

       5   I tend to try to reach resolution, but I tend to hold firm

       6   when I think that there's a good reason, an equitable reason

       7   to do so, and compromising that issue was very difficult for

       8   me.

       9   Q     But in the weeks that followed, did the Committee and the

      10   Debtor indeed negotiate to resolve to their mutual

      11   satisfaction the issues surrounding corporate governance and

      12   employee releases?

      13   A     We did, yes.

      14   Q     And were -- was the Debtor able to get its disclosure

      15   statement approved with Committee support in late November?

      16   A     We did, yes.

      17   Q     Can you describe for the Court generally kind of the

      18   process by which the Debtor negotiated with the Committee?

      19   I'll ask it as broadly as I can, and I'll focus if I need to.

      20   A     Yeah.   The process was usually in group settings with the

      21   independent directors, professionals, and the Committee

      22   members and their professionals.       Oftentimes, then, there

      23   would be certain one-off conversations if there was a

      24   particular issue that was more important to one Committee

      25   member or another, or if they were designated by the Committee




                                                                          Appx. 04285
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 161 of 610




                                     Seery - Direct                           104


       1   to be the point on that.      And so I negotiated on behalf of the

       2   Debtor, both collectively and individually, around these

       3   points.

       4        The biggest issues related to governance of the Claimant

       5   Trust, the separation of the Claimant Trust and the Litigation

       6   Trust, which was important to me, the treatment of employees

       7   between the filing -- the time we came up with the case and

       8   when we were going to exit, and then how that release

       9   provision would work.

      10   Q    Is it fair to say that numerous iterations of the various

      11   documents that embodied the plan were exchanged between the

      12   Debtor and the Committee?

      13   A    Yes.    There were -- there were dozens.

      14   Q    Fair to say that the negotiations were arm's length?

      15   A    Absolutely.    Often contentious, always professional, but I

      16   do think that there were, you know, well -- good-faith views

      17   held by folks on both sides.       And I think we were fortunate to

      18   be able to get resolution of those, because they were

      19   strongly-held views.

      20   Q    Okay.   And ultimately, I think you've already testified,

      21   and Mr. Clemente certainly made it clear:         Is the Debtor --

      22   does the Debtor have the Committee on board for their plan

      23   today?

      24   A    My understanding is again -- and you heard Mr. Clemente --

      25   both the Committee and each of the individual members are




                                                                          Appx. 04286
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 162 of 610




                                     Seery - Direct                            105


       1   supportive of the plan.

       2   Q    All right.    Let's switch to Mr. Dondero and his reaction

       3   to the asset monetization plan.        Can you describe for the

       4   Court based on your experience and your interaction with him

       5   what you interpreted Mr. Dondero's position to be?

       6              A VOICE:    Objection, hearsay, or --

       7              MR. DRAPER:    Objection, hearsay.      Calls for

       8   speculation, Your Honor.

       9              THE COURT:    Overruled.

      10              THE WITNESS:    Yeah.     I had direct discussions with

      11   Mr. Dondero regarding the plan, the asset monetization plan,

      12   as I mentioned, direct discussions regarding a potential grand

      13   bargain.    The initial view from Mr. Dondero was, and he told

      14   me, that if he didn't get a plan that he agreed to, if he

      15   didn't have a specific control or agreement around what got

      16   paid to Acis and Mr. Terry and what got paid to Redeemer

      17   specifically, that he would, quote, burn the place down.            I

      18   know that because it is, excuse the pun, seared into my mind,

      19   but I also wrote it down.         And that was, you know, in the

      20   early summer.

      21        We had subsequent discussions around the plan, and as we

      22   were talking about the -- about the grand bargain or -- the

      23   pot plan hadn't come out at that point -- even on a large call

      24   -- the plan initially called for a transition, and still does,

      25   of employees of the Debtor to a related entity to continue




                                                                           Appx. 04287
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 163 of 610




                                     Seery - Direct                           106


       1   performing services that were under the prior shared service

       2   agreements that we were going to terminate.

       3        But that transition is wholly dependent on Mr. Dondero.

       4   And we had a call with at least five to seven people on it

       5   where I said to Mr. Dondero, look, this is going to be in your

       6   financial interest to agree to a smooth transition.           These

       7   people have worked for you for a long time.         It's for their

       8   benefit.    You portfolio-manage these funds.       It's to the

       9   benefit of those funds to do this smoothly.         And if there's

      10   litigation between you and the estate later, then those chips

      11   will fall where they may.

      12        And he told me to be prepared for a much more difficult

      13   transition than I envisioned.

      14        And I specifically said to him, and this one sticks in my

      15   mind because I recall it, I said, don't worry, Mr. Dondero --

      16   I think I used Jim -- I will be prepared.         I was a Boy Scout

      17   and we spend time preparing for these kinds of things.           So

      18   we're -- we would love to get done the best transition we can,

      19   but we will be prepared for a difficult one.

      20        So, from the start, the idea of the monetization plan was

      21   not something that obviously he supported.         We did agree with

      22   -- after his inquiry or request with the mediators, to file it

      23   under seal while we went into the mediation.

      24   BY MR. MORRIS:

      25   Q    And after, after that was filed in September, early




                                                                          Appx. 04288
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 164 of 610




                                     Seery - Direct                           107


       1   October, did Mr. Dondero start to act in a way that the board

       2   perceived to be against the Debtor's interests?

       3   A    Certainly.    I mean, he previously had shown inclinations

       4   of that, but that -- it got very aggressive as he interfered

       5   with the trades we were trying to do in terms of managing the

       6   CLO assets.    He took a position that postpetition, which was

       7   really one of his entities taking a position, that

       8   postposition a sale of life policy assets was somehow not in

       9   the best interests of the funds and that we had abused our

      10   position, notwithstanding that he turned it over to us with no

      11   liquidity to maintain those life policies.         There were several

      12   other instances.     And those led to the decision to, one, have

      13   him resign, and then ultimately, after the text to me that I

      14   perceived as threatening, and we've had subsequent hearings on

      15   it, we asked him to leave the office.

      16   Q    Okay.    Let's move back to the plan here.       Can you

      17   describe, you know, generally, if you can, the purpose and

      18   intent of the asset monetization plan?

      19   A    Well, very simply, the main purpose is to maximize value.

      20   This is not a competition between Mr. Dondero and myself.            I

      21   have no stake in getting more money out of the maximization

      22   other than my duty to do the job that I was hired to do.

      23        So our goal is to manage the assets in what we think is

      24   the best way to do that over time, and find opportunities

      25   where the market is right to monetize the assets, primarily




                                                                           Appx. 04289
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 165 of 610




                                     Seery - Direct                           108


       1   through sales.     There may be other instances, depending on the

       2   type of asset, whether a sale makes sense, if we can structure

       3   it through some kind of distribution that's more structured.

       4   Q    We've used the phrase a bunch of times already.          Can you

       5   describe in your own words what an asset monetization plan is

       6   in the context of the Debtor's proposal?

       7   A    Well, it may be slightly an awkward moniker, but I think

       8   it's not completely different than what you'd see, in some

       9   respects, to a regular plan, where you equitize debt and you

      10   operate the business for the benefit of the equitized debt.

      11   Here, it's a little different in that we know exactly how

      12   we're going to move forward.       We've effectively -- we'll

      13   effectively turn the debt obligations into trust interests and

      14   we will pay those as we sell down assets.         So we've got it

      15   structured in a way where we can pivot depending on market

      16   conditions and we'll be managing certain funds that the assets

      17   sit in.

      18        So there's really four assets where the assets sit, and

      19   we'll manage those.     First are the ones that the Debtor owns

      20   directly.    Second will be the ones that are in Restoration

      21   Capital -- Restoration Capital Partners.         Third are the assets

      22   in a fund called Multi-Strat.       Fourth is the direct ownership

      23   interest in Cornerstone, and technically (garbled) would be

      24   the -- would be the next one.

      25        So we have the ability to manage these individual assets




                                                                          Appx. 04290
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 166 of 610




                                     Seery - Direct                            109


       1   and then be able to sell them in what we determine to be the

       2   best way to maximize value, depending on the timing.

       3   Q    And when you say that you're going to continue to operate

       4   the business, do you mean that the Debtor will continue to

       5   manage the assets you've just described in the same way that

       6   it had prior to the petition date?

       7   A    It'll be a smaller team, but that's the Debtor's business.

       8   So what we won't be doing are the shared services anymore.

       9   That was part of the Debtor's business.        But we will be

     10    managing the assets.     So the 1.0 CLOs, we'll manage those

     11    assets.   The RCP assets, we'll manage those assets.          The

     12    Trussway Holdings assets, we'll managing those assets.          Each

     13    of them is a little bit different.       There's things as diverse

     14    as operating companies to real estate.        We'll operate, subject

     15    to final agreement, but the Longhorn A and B, which are

     16    separate accounts that are -- were funded and are controlled

     17    by the largest -- one of the largest investors in the world.

     18    And so they have agreed that we should manage those assets for

     19    them.

     20         So we're -- that's the business that the Debtor is in.            It

     21    won't be doing all of the businesses that the Debtor was in

     22    before, like the shared services, but the management of the

     23    assets will be very similar.

     24    Q    And why do these funds and these assets need continued

     25    management?   Why aren't you just selling them?




                                                                          Appx. 04291
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 167 of 610




                                     Seery - Direct                            110


       1   A    Well, in some respects, they could just be sold, but the

       2   -- we believe that the value would be a lot lower.            So, a lot

       3   of them are complex.     The time to sell them may not be now.

       4   Some will require restructuring in some way, whether -- not

       5   through a reorganization process, but some sort of structural

       6   treatment to how the obligations at the individual asset are

       7   treated, or the equity at the individual asset.          So we're

       8   going to manage each of them and look for market opportunities

       9   where we think the value can be maximized.

      10              MR. MORRIS:    Your Honor, I'm about to switch to

      11   another topic.     We have been going for a little bit more than

      12   two and a half hours.     I'm happy to just continue if you and

      13   the witness are, but I just wanted to give you a head's up

      14   that I'm about to switch topics.        If you wanted to take a

      15   short break, we could.      If you want me to continue, I'm happy

      16   to do that, too.

      17              THE COURT:    Well, let me ask you, how much longer do

      18   you think you're going to take overall with Mr. Seery?

      19              MR. MORRIS:    I think I'll probably have another hour

      20   to an hour and a half, Your Honor.        We want to make a complete

      21   factual record here.

      22              THE COURT:    All right.    Well, it's 12:07 Central

      23   time.   Why don't we take a 30-minute lunch break, okay?           Can

      24   everybody do their lunch snack that fast?

      25              MR. MORRIS:    Sure.




                                                                           Appx. 04292
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 168 of 610




                                     Seery - Direct                           111


       1              THE COURT:    I think that would probably be the way to

       2   go.   So we'll come back -- it's now 12:08.        We'll come back at

       3   12:38 Central time and resume --

       4              MR. MORRIS:    Okay.

       5              THE COURT:    -- resume this direct testimony, okay?

       6   So, see you in 30 minutes.

       7              MR. MORRIS:    Thank you very much.

       8              THE COURT:    Okay.

       9              THE CLERK:    All rise.

      10         (A recess ensued from 12:08 p.m. to 12:44 p.m.)

      11              THE COURT:    We are going back on the record in the

      12   Highland confirmation hearing.       It's 12:44 Central time.      I

      13   took a little bit longer break than I said we would.

      14         Mr. Morris and Mr. Seery, are you ready to resume?

      15              MR. MORRIS:    I am, Your Honor.

      16              THE WITNESS:    Yes, Your Honor.

      17              THE COURT:    Okay, good.    A couple of things.     I'm

      18   required to remind you you're still under oath, Mr. Seery.

      19   And also, just for people's planning purposes, what I intend

      20   to do is, when the direct examination of Mr. Seery is

      21   finished, I'm going to allow cross-examination of the

      22   Objectors in the same amount of time in the aggregate that the

      23   Debtor got, okay?     So, Objectors, in the aggregate, you can

      24   spend as long cross-examining as the Debtor spent examining.

      25   I can figure out this is the most significant witness, so I'm




                                                                          Appx. 04293
Case 21-03005-sgj Doc 134-7 Filed 12/18/21     Entered 12/18/21 02:10:25    Page 169 of 610




                                       Seery - Direct                              112


       1   assuming that Debtor's other witnesses are going to be a lot

       2   shorter than this, but --

       3                MR. MORRIS:    Yes, I promise.

       4                THE COURT:    -- that's how we'll proceed.         And I

       5   expect to finish Mr. Seery today.

       6        So, all right.       With that, you may proceed, Mr. Morris.

       7                MR. MORRIS:    Okay.

       8                        DIRECT EXAMINATION, RESUMED

       9   BY MR. MORRIS:

      10   Q    Can you hear me okay, Mr. Seery?

      11   A    Yes, sir.

      12   Q    Okay.    Before we move on to the next topic, you spent some

      13   time describing the asset monetization plan.           Would it be fair

      14   to describe that as a long-term going-concern liquidation?

      15   A    Long-term is subjective.        We anticipate that we'll be able

      16   to monetize the assets in two years.          We could go out longer

      17   to three.     There's no absolute restriction that we couldn't

      18   take longer, depending on what we see in the market, but the

      19   objective would be to find maximization opportunities within

      20   that time period.

      21   Q    Okay.    So let's turn now to the post-confirmation

      22   corporate governance structure.

      23        (Interruption.)

      24                THE WITNESS:    Mr. Golub (phonetic), you should mute.

      25                THE COURT:    Yes.   I don't know -- I didn't catch who




                                                                             Appx. 04294
Case 21-03005-sgj Doc 134-7 Filed 12/18/21     Entered 12/18/21 02:10:25    Page 170 of 610




                                       Seery - Direct                            113


       1   that was.     But anyway, anyone other than --

       2                A VOICE:   It's someone named Garrett Golub.

       3                THE COURT:    -- Morris and Seery, please mute.         All

       4   right.   Go ahead.

       5                MR. MORRIS:    Okay.

       6   BY MR. MORRIS:

       7   Q    At a high level, Mr. Seery, can you please describe for

       8   the Court the post-confirmation structure that's envisioned

       9   under the proposed plan?

      10   A    At a high level, we anticipate reorganizing HCMLP such

      11   that the current parties of interest will be extinguished and,

      12   in exchange, creditors will get trust interests.            There'll be

      13   a trust that will sit on top of HCMLP and it will have an

      14   overall responsibility for the Claimant Trust, which will be

      15   the HCMLP assets plus the assets that we move into the

      16   Claimant Trust, depending on structural considerations.               And

      17   then a Litigation Trust, which will be a separate trust, and

      18   that will roll up into the main trust.          And the main trust

      19   will be where the creditors hold their interests.               And those

      20   interests take the form of senior interests or junior

      21   interests.

      22   Q    All right.    You mentioned a Claimant Trust.         Who is

      23   proposed to serve as the Claimant Trustee?

      24   A    I am.

      25   Q    And you mentioned a Litigation Trust.          Is there someone




                                                                              Appx. 04295
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 171 of 610




                                     Seery - Direct                           114


       1   proposed to serve as the Litigation Trustee?

       2   A    A gentleman named Marc Kirschner.       He's been doing these

       3   kinds of things for a long time.

       4   Q    Is there going to be any kind of oversight group or

       5   committee?

       6   A    There is an oversight committee that sits at the main

       7   trust.    Into it will report Mr. Kirschner and myself.         It has

       8   oversight responsibilities similar to a board of directors in

       9   terms of the operations of the Claimant Trust and the

      10   Litigation Trust.

      11   Q    Do you have an understanding as to who the initial members

      12   of the Claimant Oversight Committee?

      13   A    The initial members will be each of the members of the

      14   Creditors' Committee.     So, UBS, Acis, Redeemer, a

      15   representative from Redeemer, and Meta-e, as well as an

      16   independent named David Pauker.       So that's the initial

      17   structure.

      18   Q    And can you describe for the Court, how did Mr. Pauker get

      19   involved in this?

      20   A    He was selected by the Committee.

      21   Q    Okay.   Is there -- Meta-e is a convenience class claim

      22   holder.   Do I have that right?

      23   A    Yeah.   They're -- they -- as I went through earlier, they

      24   had a liquidated claim for litigation services.         So we

      25   expected that they'll be paid off rather early in the process.




                                                                           Appx. 04296
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 172 of 610




                                     Seery - Direct                           115


       1   At that point, we suspect they wouldn't -- they would no

       2   longer be an Oversight Committee member and they would be

       3   replaced by an independent.

       4   Q    And do you have any understanding as to how that

       5   independent will be chosen?

       6   A    I believe it's chosen by the other members.

       7   Q    Okay.   Can you describe your proposed compensation

       8   structure as the proposed Claimant Trustee?

       9   A    My compensation will be $150,000 a month, which is the

      10   same compensation I have now.       In addition, we'll negotiate a

      11   bonus structure with the Oversight Committee.         And that will

      12   likely be a bonus not just for myself but for the entire team,

      13   depending on performance.

      14   Q    Okay.   And that -- and who is that negotiation going to be

      15   had with?

      16   A    The Oversight Committee.

      17   Q    Okay.   Are you familiar with Mr. Pauker's compensation

      18   structure?

      19   A    I -- I've seen it.     I don't recall specifically.       I think

      20   his -- from the models, I think he's about 40 or 50 grand a

      21   month, something along those lines.

      22   Q    Okay.   How about Mr. Kirschner?      Do you recall -- let me

      23   just ask you this.     Does it refresh your recollection at all

      24   if I said that 250 in year one for Mr. Pauker?

      25   A    Yeah.   So maybe closer to $20,000 to $25,000 a month.          And




                                                                          Appx. 04297
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 173 of 610




                                     Seery - Direct                           116


       1   then Mr. Kirschner is a lower amount, but he would get a

       2   contingency fee arrangement somewhere dependent on the

       3   recoveries from his litigations.

       4   Q    Okay.   You mentioned earlier that the Debtor intends to

       5   continue operations at least for some period of time post-

       6   effective date.     Do you have a view as to whether the post-

       7   confirmation entity will have sufficient personnel to manage

       8   the business?

       9   A    I do, yes.

      10   Q    And why is that?     What makes you believe that the Debtor

      11   will have -- the post-confirmation Debtor will have sufficient

      12   personnel to manage the business?

      13   A    Well, we've gone through and looked at each of the assets

      14   and what is required to manage those assets.         We have a lot of

      15   experience doing it during the case.        The bulk of the

      16   employees, who do a fine job, are really doing shared service

      17   arrangements.     The direct asset management group is a smaller

      18   group, and we'll be able to manage those with the team we're

      19   putting together.

      20   Q    Okay.   How does the ten employees compare to the original

      21   plan that was set forth in the disclosure statement, if you

      22   recall?

      23   A    Well, we had less, and I believe the number was either two

      24   or three, along with me, and then using a lot of outside

      25   professional help.     But we determined that we wanted to have a




                                                                          Appx. 04298
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 174 of 610




                                     Seery - Direct                           117


       1   much more robust team, based on the litigation that we're

       2   seeing around the case and we expect to continue post-exit, so

       3   that the team can manage those assets unfettered.

       4        In addition, we were taking on the CLO management, the 1.0

       5   CLO contracts.    These one -- as I've mentioned before, they're

       6   not traditional CLOs in the sense that they require the same

       7   hands-on management, but they do require an experienced team

       8   to help manage the exposures, most of which are cross-holdings

       9   in different -- in different entities or different investments

      10   that Highland also has exposure to.

      11   Q    In addition to the assumption of the CLO management

      12   agreements, has the Debtor made any decisions regarding the

      13   possibility of hiring a sub-servicer?

      14   A    We have, yes.

      15   Q    And did that factor into the Debtor's decision to increase

      16   the number of personnel it was going to retain?

      17   A    Well, we determined we weren't going to hire a sub-

      18   servicer.    And I'm not sure exactly when we made that

      19   determination.    We do have a TPA, which is SEI, and that's a

      20   third-party administrator, to sift through the funds and

      21   provide accounting supporting to those, to those funds.           So

      22   that -- they will help.      We also have an outside consultant

      23   that we're using, Experienced Advisory Consultants, who are

      24   financial consultants who've worked in the business.           So we do

      25   have those.




                                                                          Appx. 04299
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 175 of 610




                                      Seery - Direct                          118


       1        But we didn't think that we would get a third-party sub-

       2   servicer, as was the case in Acis, and determined that wasn't

       3   in the best interest of the estate.

       4   Q    Can you just shed a little light on what factors the

       5   Debtor took into account in deciding not to hire a sub-

       6   servicer?

       7   A    Well, we primarily looked at cost, as well as control of

       8   the assets, and determined that that was -- those were in the

       9   best interests of the estate, to keep them managed internally.

      10   We reviewed that with the Committee, and they agreed.

      11   Q    Okay.

      12                MR. MORRIS:   Let's turn now to the best interests of

      13   creditors' test, Your Honor, 1129(a)(7), and let's talk about

      14   whether the plan is in the best interests of creditors.

      15   BY MR. MORRIS:

      16   Q    Has the Debtor done any analysis to determine the likely

      17   value to be realized in a Chapter 7 liquidation?

      18   A    We have, yes.

      19   Q    And has the Debtor done any analysis to determine the

      20   likely recoveries under the plan?

      21   A    Yes.

      22   Q    Okay.    Do you recall when these projections were first

      23   prepared?

      24   A    We started working on projections in the fall, as we were

      25   developing the monetization plan.       We filed projections, I




                                                                          Appx. 04300
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 176 of 610




                                        Seery - Direct                         119


       1   believe, in November.        We've subsequently updated those

       2   projections based on the claims, market condition, and value

       3   of the assets.

       4   Q     And were those updates provided to plan objectors last

       5   week?

       6   A     Yes, they were.

       7   Q     Okay.    Can we refer to the projections that were in the

       8   disclosure statement as the November projections?

       9   A     That'd be fine.

      10   Q     And can we refer to the projections that were provided to

      11   the objectors last week as the January projections?

      12   A     Yes.

      13   Q     And as --

      14   A     I think they're actually -- I think they're actually dated

      15   February 1, is the most recent update.

      16   Q     Okay.    And then was a further update provided yesterday

      17   and filed on the docket, to the best of your knowledge?

      18   A     Yes.

      19   Q     All right.    We'll talk about some of the changes in those

      20   projections.

      21                 MR. MORRIS:    Can we call up on the screen Debtor's

      22   Exhibit 7D as in dog?        And this document is in evidence.      Um,

      23   --

      24                 THE COURT:    No, this is -- oh, wait.    How many Ds is

      25   it?   Seven?




                                                                           Appx. 04301
Case 21-03005-sgj Doc 134-7 Filed 12/18/21     Entered 12/18/21 02:10:25   Page 177 of 610




                                       Seery - Direct                           120


       1                MR. MORRIS:    It's 7D, so that would be on Docket

       2   1866, all of which has been admitted.

       3                THE COURT:    Okay.    You're right.

       4                MR. MORRIS:    Okay.

       5        And if we could just, I'm sorry, go to Page 3.

       6   BY MR. MORRIS:

       7   Q    Is there any way to look at this, Mr. Seery?           Is this the

       8   January projections that were provided last week?

       9   A    Yes.

      10   Q    Okay.    Can you describe for the Court the process by which

      11   this set of projections and the November projections were

      12   prepared?     How did the Debtor go about preparing these

      13   projections?

      14   A    Yeah.    These are prepared what I would call bottoms-up.

      15   So what we did was we looked at each of the assets that the

      16   Debtor owns or manages or has a direct or indirect interest

      17   in, used the values that we have for those assets, because we

      18   do keep valuations for each of the assets that the Debtor owns

      19   or manages in the ordinary course of business.           We then

      20   adjusted those depending on what we saw as the outcomes for

      21   the case, either a plan outcome or a liquidation outcome, and

      22   then rolled those into the -- into the numbers that you see

      23   here.

      24        So the 257 and change.         And please excuse my eyesight.

      25   I'm going to make this bigger.         The 257 is the estimated




                                                                            Appx. 04302
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 178 of 610




                                       Seery - Direct                          121


       1   proceeds from monetization.       Above that, you see cash.        That's

       2   our estimated cash at 131.        And we monitor those, those values

       3   daily.

       4   Q    And were these projections prepared under your

       5   supervision?

       6   A    They were, yes.

       7   Q    Okay.    And who was involved in the preparation of this

       8   document and other iterations of the projections?

       9   A    The team at DSI.       Obviously, myself; the team at DSI; as

      10   well as the, at least from a review perspective, counsel.

      11   Q    All of these contain various assumptions.         Do I have that

      12   right?

      13   A    Yes.

      14                MR. MORRIS:    Can we go to the prior page, please, I

      15   think is where the assumptions are?        And let's just look at a

      16   few of them.     Okay.     Can we make that a little bigger, La

      17   Asia?    Okay.   Good.

      18   BY MR. MORRIS:

      19   Q    Why does the Debtor's projections and liquidation analysis

      20   contain any assumptions?       Why, why include assumptions?

      21   A    Well, all projections contain assumptions.         So an

      22   assumption -- I was strangely asked the question at

      23   deposition, what does that mean?        It's a thing or fact that

      24   one accepts as true for the purposes of analysis.             And so in

      25   terms of looking out into the future as to what the potential




                                                                            Appx. 04303
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 179 of 610




                                     Seery - Direct                           122


       1   operation expenses will be and what the potential recoveries

       2   will be, one has to make assumptions in order to be able to

       3   compare apples to apples.

       4   Q    And do you believe that these assumptions are reasonable?

       5   A    Yes.    It would make no sense to have assumptions that

       6   aren't reasonable.     I mean, and we've all seen that with

       7   analysis through our respective careers.         It really should be

       8   grounded in some fact and a reasonable projection on what can

       9   happen in the future, based upon experience.

      10   Q    Okay.   And have you personally vetted each of the

      11   assumptions on this page?

      12   A    Yes.

      13   Q    Okay.   Let's just look at a few of them.        Let's start with

      14   B.   It says, All investment assets are sold by December 31,

      15   2022.   Do you see that?

      16   A    Yes.

      17   Q    Why did the Debtor make that assumption?

      18   A    We looked at a two-year projection horizon.         We thought

      19   that that was a reasonable amount of time, looking at these

      20   assets, to monetize the assets.       Remember that we did go

      21   through a process of the case over the last year, and we did

      22   consider monetization asset events for certain of the assets

      23   throughout the case, some of which we were successful on, some

      24   of which we weren't, some we just determined to pull back.

      25   But we do believe that, based upon our view of the market and




                                                                          Appx. 04304
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 180 of 610




                                     Seery - Direct                           123


       1   where we think these assets will be positioned, that

       2   monetizing them over a two-year period makes sense.

       3   Q    And is it possible that it takes longer than that?

       4   A    It's possible.    The -- you know, we would be wrong about

       5   the market.    The -- we could go into a full-blown recession.

       6   Capital could dry up.     The financing markets could turn

       7   negative.    But they're extremely positive right now.         Those

       8   things could happen.     But we're assuming that they won't.

       9   Q    And is it possible that you complete the process on a more

      10   accelerated timeframe?

      11   A    That's always possible.      It's not, in my experience, a

      12   good way to plan.     Luck really isn't a business strategy.           But

      13   if good opportunity shows up and folks want to pay full value

      14   for an asset, we certainly wouldn't turn them away just so we

      15   could stretch out the time period.

      16   Q    Is it fair to say that this projected time period is your

      17   best estimate on the most likely timeframe needed?

      18   A    It's -- I think it's the best estimate that we have based

      19   upon our experience with the assets, again, and our projection

      20   of the marketplace that we see now.        If things change, we'll

      21   adjust it, but this is a fair estimate of when we can get the

      22   monetization accomplished.

      23   Q    Okay.    The next assumption relates to certain demand

      24   notes.   Do you see that?

      25   A    Yes.




                                                                          Appx. 04305
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 181 of 610




                                      Seery - Direct                          124


       1   Q    Can you
                Can you explain
                        explain to the Court what that assumption
                                                       assumption is
                                                                  is and

       2   why
           why the Debtor believed
                          believed that it
                                        it was reasonable?

       3   A    Well, the Debtor has certain notes that are demand notes.

       4   These are all from related entities.        Most of the notes, the

       5   demand
           demand notes,
                  notes, we have demanded,
                                 demanded, and we've commenced litigation
                                                               litigation

       6   to collect.     And we assume that we're going to be able to

       7   collect those.

       8        Three notes that were long-term
                Three                 long-term notes
                                                notes -- these
                                                         these were
                                                               were notes
                                                                    notes

       9   with maturities
           with maturities in
                           in 2047
                              2047 that had been stretched out a couple
                                                                 couple

      10   years ago -- were defaulted recently.        And we have accelerated

      11   those notes
           those notes and
                       and we've
                           we've asserted
                                 asserted demands
                                          demands and we
                                                      we have
                                                         have commenced
                                                              commenced

      12   litigation, I believe,
           litigation,   believe, on each of those last week to collect.

      13      we do estimate
           So we    estimate that
                             that we
                                  we will
                                     will collect
                                          collect on
                                                  on all
                                                     all of
                                                         of the
                                                            the notes
                                                                notes

      14   that we've
           that we've demanded
                      demanded and
                               and that we've commenced action on.           So

      15   the demand notes as well as the accelerated notes.

      16        The next,
                The next, the next bullet
                                   bullet shows there's one Dugaboy
                                                            Dugaboy note

      17   that has not defaulted.      That also has a 2047 maturity.       I

      18   believe it's about $18 million.                          one to
                                                 And we expect that one

      19   stay current,
           stay current, because now I think
                                       think the
                                             the relater
                                                 relater parties
                                                         parties learned

      20   that when you
           that      you don't pay
                               pay a long-dated
                                     long-dated note,
                                                note, it
                                                      it accelerates,
                                                         accelerates,

      21   provided the holder, which
           provided             which is
                                      is us, wishes
                                             wishes to accelerate it,
                                                                  it,

      22   which we did.     And so that note we do not expect to be

      23   collected in the time
           collected        time period.
                                 period.

      24   Q    Okay.

      25                MR. MORRIS:   Let's go down to M.




                                                                          Appx. 04306
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 182 of 610




                                     Seery - Direct                           125


       1   BY MR. MORRIS:

       2   Q    M relates to certain claims.       Do you see that?

       3   A    Yes.

       4   Q    Can you just describe at a high level what assumption was

       5   made with which -- with respect to which particular claims?

       6   A    Well, we've summarized them there.        And what we've assumed

       7   is that, with respect to Class 8, IFA, which is a derivative

       8   litigation claim that seeks to hold, loosely, HCMLP liable for

       9   obligations of NexBank, is worth zero.        I think that's pretty

      10   close to settling.     We assumed here $94.8 million for UBS,

      11   which was the estimated amount, and $45 million for

      12   HarbourVest.

      13   Q    And when you say the estimated amount, are you referring

      14   to the 3018 order on voting?

      15   A    Yes.    We just use the estimated amount in this projection

      16   based upon the 3018 order.

      17   Q    Okay.   And finally, let's look at P.       P has a payout

      18   schedule.    Do I have that right?

      19   A    That's an estimated payout schedule, yes.

      20   Q    And what do you mean by that, that it's estimated?

      21   A    Based upon our projections and how we perceive being able

      22   to monetize the assets and reach the valuations that we want

      23   to reach, we believe we could make these distributions.

      24   However, there's no requirement to make them.

      25        So the first and foremost objective we have, as I said




                                                                          Appx. 04307
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 183 of 610




                                       Seery - Direct                         126


       1   earlier, is to maximize value, and not -- it's not based on a

       2   payment schedule, it's based upon the market opportunity.           And

       3   we've estimated for our purposes here that we'll be able to

       4   meet these distribution amounts, but there's no requirement to

       5   do so.

       6   Q    Okay.

       7                MR. MORRIS:    Let's go to Page 3 of the document,

       8   please.

       9   BY MR. MORRIS:

      10   Q    Can you just describe generally what this page reflects?

      11   A    This is a comparison of the plan analysis and what we

      12   expect to achieve under the plan and the liquidation analysis

      13   if a trustee, a Chapter 7 trustee, were to take over.           And it

      14   compares those two distribution amounts based upon the

      15   assumptions on the prior page.

      16   Q    All right.    Let's just look at some of the -- some of the

      17   data points on here.       If we look at the plan analysis, what is

      18   -- what is projected to be available for distribution, the

      19   value that's available for distribution?

      20   A    $222.6 million.

      21   Q    Okay.    So, 222?     And on a claims pool that's estimated to

      22   be, for this purpose, how much?

      23   A    $313 million.

      24   Q    And what is the distribution, the projected distribution

      25   to general unsecured creditors on a percentage basis?




                                                                          Appx. 04308
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 184 of 610




                                     Seery - Direct                           127


       1   A    On this analysis, to general unsecured creditors, it's

       2   62.14 percent.     But remember, that backs out the payment to

       3   the Class 7 creditors of 85 cents above.

       4   Q    Okay.   And does this plan analysis include any value for

       5   litigation claims?

       6   A    No, it does not.

       7   Q    And is that true for all forms of the Debtor's

       8   projections?

       9   A    That's correct, yes.

      10   Q    Okay.   And let's look at the right-hand column for a

      11   moment.    It says, Liquidation Analysis.       What does that column

      12   represent?

      13   A    That represents our estimate of what a Chapter 7 trustee

      14   could achieve if it were to take over the assets, sell them,

      15   and make distributions.

      16   Q    Okay.   And let's just look at the comparable data points

      17   there.    Under the liquidation analysis, as of -- the January

      18   liquidation analysis as of last week, what was projected to be

      19   available for distribution?

      20   A    A hundred and -- approximately $175 million.

      21   Q    Okay.   And what was the claims pool?

      22   A    The claims pool was $326 million.        Recall that that's a

      23   slightly larger claims pool because it doesn't back out the

      24   Class 7 claims.

      25   Q    Okay.   The convenience class claims?




                                                                          Appx. 04309
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 185 of 610




                                     Seery - Direct                           128


       1   A    Correct.

       2   Q    Okay.    And what's the projected recovery for general

       3   unsecured claims under the liquidation analysis?

       4   A    Based on this analysis and the assumptions, 48 (audio

       5   gap).

       6   Q    Okay.    Based on the Debtor's analysis, are creditors

       7   expected to do better under this analysis in the -- under the

       8   Debtor's plan versus the hypothetical Chapter 7 liquidation?

       9   A    Yes.    Both -- both Class 7 and Class 8.

      10   Q    Okay.    Now, this set of projections differs from the

      11   projections that were included in the disclosure statement; is

      12   that right?

      13   A    That's correct.

      14   Q    Okay.    Can we just talk about what the differences are

      15   between the November projections that were in the disclosure

      16   statement and the January projections that are up on the

      17   screen?     Let's start with the monetization of assets, the

      18   second line.     Do you recall if there was an increase, a

      19   decrease, or did the value from the monetization of assets

      20   stay the same between the November projections and the January

      21   projections?

      22   A    They increased from November 'til -- 'til now.

      23   Q    Okay.    Can you explain to the judge why the value from the

      24   monetization of assets increased from November to January?

      25   A    Well, really, it's the composition of the assets and their




                                                                          Appx. 04310
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 186 of 610




                                     Seery - Direct                            129


       1   value.    So there's four main drivers.

       2        The first is HarbourVest.        We had a settlement with

       3   HarbourVest, which include HarbourVest transferring to the

       4   Debtor $22-1/2 million of HCLOF interests.          Those have a real

       5   value, and we've now included them in the -- in the asset

       6   pool.    We've also included HarbourVest in the claims pool.

       7        The
                The second
                    second was
                           was we
                               we talked
                                  talked a little
                                           little bit earlier
                                                      earlier on
                                                              on the
                                                                 the

       8   assumptions on the notes.
           assumptions                       We previously had anticipated that,

       9   on the long-dated
           on     long-dated notes,
                             notes, a collection,
                                      collection, we
                                                  we -- we'd
                                                        we'd receive
                                                             receive

      10   principal and interest
           principal     interest currently,
                                  currently, but we wouldn't receive
                                                             receive the
                                                                     the

      11   full amount of the principal
           full               principal that
                                        that was due well
                                                     well off
                                                          off in
                                                              in the
                                                                 the

      12   future, and we would sell it a discount.
           future,

      13           the amount
                So the amount of
                              of the
                                 the asset pool
                                           pool has been increased
                                                         increased by
                                                                   by $24
                                                                      $24

      14   million, and that reflects the delta between or the change
           million,                                            change

      15   between what was in
           between          in the prior
                                   prior plan,
                                         plan, the notes paying
                                                         paying and then

      16   being sold at a discount,
           being           discount, and what's in
                                                in the current plan,
                                                               plan,

      17   which include
           which include the
                         the accelerated
                             accelerated notes,
                                         notes, which
                                                which is
                                                      is a $24
                                                           $24 million
                                                               million

      18        that Advisors
           note that Advisors defaulted
                              defaulted on
                                        on that
                                           that we
                                                we have
                                                   have accelerated
                                                        accelerated and
                                                                    and

      19   brought action
           brought action on, as well as two six
                                             six -- roughly
                                                    roughly $6 million
                                                               million

      20   notes, one from Highland
           notes,          Highland Capital
                                    Capital Real Estate and the other

      21   from HCM Services.     So that's, that's additional 24.

      22        In addition, Trussway, we've reexamined where Trussway is

      23   in the market, both its marketplace and its performance, and

      24   reassessed where the value is.        So that has increased by about

      25   $10.6 million.




                                                                           Appx. 04311
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 187 of 610




                                     Seery - Direct                            130


       1        That doesn't mean that we would sell it today.           It means

       2   that, when you look at the performance of the company, what we

       3   think are the best opportunities in the market.          As we see the

       4   marketplace with managing the company over time, we think that

       5   that asset has appreciated considerably since November.

       6        And then, finally, there were additional revenues that

       7   flow into the model from the November analysis which would be

       8   distributable, and those include revenues from the 1.0 CLOs.

       9   Q    Okay.    So that accounts for the difference and the

      10   increase in value from the monetization of assets.            Is there

      11   also an increase in expenses from the November projections to

      12   the January projections?

      13   A    Yeah.    It's -- it's about -- it's around $25 million

      14   additional increase.

      15   Q    And can you explain to the Court what is the driver behind

      16   that increase in expenses?

      17   A    Yeah.    There's several drivers to that.       The first one is

      18   head count.    So our head count, we've increased.        As I

      19   mentioned earlier, we determined that we wanted to have a much

      20   more robust management presence.        So we've increased the head

      21   count, so we have a base comp, compensation, about $5 million

      22   more than we initially thought.

      23        Secondly, we have bonus comp.       So we've back-ended --

      24   structured a backend bonus performance bonus for the team, and

      25   that will run another $5 million, roughly.




                                                                            Appx. 04312
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 188 of 610




                                     Seery - Direct                            131


       1        Previously, we had thought about, as you mentioned

       2   earlier, the sub-servicing, but we've now talked about and we

       3   have engaged a TPA, SEI, as well as experienced advisors.

       4   That's another $1 to $2 million.

       5        Operating expenses have increased by about $8 million,

       6   based upon our assessment.        The biggest driver there is D&O,

       7   which is up about $3 million.        In addition, we've gotten -- we

       8   determined to keep a bunch of agreements related to data

       9   collection and operations.        Those were requested by the

      10   Committee, but they also serve us in performing our functions.

      11   That's another couple million dollars.

      12        My comp, my bonus comp was not in the prior model.           So I

      13   have a bonus that has not been agreed to by the Court for the

      14   bankruptcy performance.     This is not a future bonus.         And we

      15   built that into the model.        Obviously, it's subject to Court

      16   approval and Committee objection, and I suppose anybody else's

      17   objection, but we'll -- we'll be before the Court for that.

      18   But we wanted to build that into the model so that we had it

      19   covered in the event that it was approved.

      20   Q    Was there also a change in the assumption from November to

      21   January with respect to the size of the general unsecured

      22   claim pool?

      23   A    Yes.   There have been -- there have been several changes

      24   that have happened, and we've added those and refined the

      25   claim pool numbers.




                                                                           Appx. 04313
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 189 of 610




                                       Seery - Direct                         132


       1   Q    And are those changes reflected in the assumption we

       2   looked at earlier, Exhibit -- Assumption M, which went through

       3   certain claims that have been liquidated?

       4   A    Some, some are.       That assumption, I don't believe, was --

       5   it's not in front of me, but wasn't up to date.          So, that one,

       6   for example, assumed UBS at the 3018 estimated amount.           We've

       7   since refined that number to reflect the agreed-upon

       8   transaction with UBS, which is subject to Court approval.

       9   Q    Right.    But before we get to that, for purposes of the

      10   January model, the one that's up on the page -- and if we need

      11   to look at the prior page --

      12                MR. MORRIS:    Let's go to the prior page, the

      13   assumption.     Assumption M.

      14   BY MR. MORRIS:

      15   Q    Assume the UBS, the UBS claim at the $94.8 million, the

      16   3018 number.     Do you remember that?

      17   A    Yeah.    That's, that -- that's the assumption in this

      18   model.   I think back in November we assumed HarbourVest at

      19   zero and UBS at zero.       So we've since -- we've since refined

      20   those numbers, obviously, through both the 3018 process as

      21   well as the settlement with HarbourVest.

      22   Q    And did the -- did the inclusion -- withdrawn.           At the

      23   time that you prepared the November model -- withdrawn.           At

      24   the time the Debtor prepared the November model, did it know

      25   what the UBS or the HarbourVest claims would be valued at?




                                                                          Appx. 04314
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 190 of 610




                                      Seery - Direct                          133


       1   A    No.    We just had our assumption back then, which was zero.

       2   And now, obviously, we know.

       3   Q    And so the January model took into account the settlement

       4   with HarbourVest and the 3018 motion; do I have that right?

       5   A    That's correct.      That's in the assumptions.

       6   Q    And what was the impact on the projected recoveries to

       7   general unsecured creditors from the changes that you've just

       8   described, including the increase in the claims amount?

       9   A    Well, when -- like any fraction, the distribution will go

     10    down if the claimant pool goes up.       So, with the denominator

     11    going up by the UBS and the UBS amount -- the UBS and the

     12    HarbourVest amounts, the distribution percentage went down.

     13    Q    Okay.    I want to focus your attention on the second line

     14    where we've got the monetization of assets under the plan at

     15    $258 million but under the liquidation analysis it's $192

     16    million.     Do you see that?

     17    A    Yes.

     18    Q    Can you tell Judge Jernigan why the Debtor believes that

     19    under the plan the Debtor or the post-confirmation Debtor is

     20    likely to receive or recover more for the --

     21         (Interruption.)

     22                 THE COURT:   All right.   Hang on a minute.      Where is

     23    that coming from, Mike?

     24                 THE CLERK:   Someone is calling in.

     25                 THE COURT:   Okay.




                                                                           Appx. 04315
Case 21-03005-sgj Doc 134-7 Filed 12/18/21     Entered 12/18/21 02:10:25    Page 191 of 610




                                       Seery - Direct                            134


       1                MR. MORRIS:    Thank you.

       2                THE COURT:    Mr. --

       3                MR. MORRIS:    Let me restate the question.

       4                THE COURT:    Yes.   Restate.

       5   BY MR. MORRIS:

       6   Q    Can you explain to Judge Jernigan why the Debtor believes

       7   that the -- under the plan corporate structure, the Debtor is

       8   likely to recover more from the monetization of assets than a

       9   Chapter 7 liquidation trustee would?

      10   A    Sure.    My experience is that Chapter 7 trustees will

      11   generally try to move quickly to monetize assets.               They will

      12   retain their own professionals, they will examine the assets,

      13   and they will look to sell those assets swiftly.

      14        The monetization plan does not plan to do that.              I've got

      15   a year's of experience -- a year now of experience with these

      16   assets, as well as we'll have a team with several years at

      17   least each of experience with the assets.           We intend to look

      18   for market opportunities, and think we'll be able to do it in

      19   a much better fashion than a liquidating Chapter 7 trustee.

      20        The nature of these assets is complex.          Many of them are

      21   private equity investments in operating businesses.              Certain

      22   of them are complicated real estate structures that need to be

      23   dealt with.     Some of them are securities that, depending on

      24   when you want to sell them, we believe there'll be better

      25   times than moving quickly forward to sell them now.




                                                                              Appx. 04316
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 192 of 610




                                     Seery - Direct                           135


       1        So, with each of them, we think that we'll be able to do

       2   better than a Chapter 7 trustee based upon our experience.

       3   The only thing that we're level-set with a Chapter 7 trustee

       4   on is that cash is cash.

       5   Q    Do you have any concerns that a Chapter 7 trustee might

       6   not be able to retain the same personnel that the Debtor is

       7   projected to retain?

       8   A    Well, again, in my experience, it would be very difficult

       9   for a Chapter 7 trustee to retain the same professionals, and

      10   typically they don't.

      11        Secondly, retaining the individuals, I think, would be

      12   very difficult for a Chapter 7 trustee, would not have a

      13   relationship with them, and that gap of time and the risks

      14   that they would have to take to join a Chapter 7 trustee I

      15   think would lead most of them to look for different

      16   opportunities.

      17   Q    Okay.    One of the other things, one of the other changes I

      18   think you mentioned between the November and the January

      19   projections was the decision to assume the CLO management

      20   contracts.    Do I have that right?

      21   A    That's correct.

      22   Q    And why has the Debtor decided to assume the CLO

      23   management contracts?     How does that impact the analysis on

      24   the screen?

      25   A    Well, it does add to the expense, but it also adds to the




                                                                          Appx. 04317
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 193 of 610




                                     Seery - Direct                           136


       1   proceeds.

       2        When we did the HarbourVest settlement, we ended up with

       3   the first significant interest in HCLOF.         HCLOF owns the vast

       4   majority of the equity in Acis 7, and also owns significant

       5   preferred share interests in the 1.0 CLOs.         And we think it's

       6   in the best interest of the estate to keep the management of

       7   those assets where we have an interest in the outcome of

       8   maximizing value with the estate.

       9        In addition, we're going to have employees who are going

      10   to work with us to manage those specific assets, so we feel

      11   like that will be something where we can control the

      12   disposition much better.

      13        There's also cross-interests that these CLOs have in --

      14   the 1.0 CLOs have in a number of other investments that

      15   Highland has.    As in all things Highland, it's interrelated,

      16   and so many of the companies have direct loans from the CLOs.

      17   We intend to refinance that, but we feel much more comfortable

      18   and feel that there would be value maximization if we're able

      19   to work directly with the Issuers as a manager while we seek

      20   in those underlying investments to refinance the CLO debt.

      21   Q    Has the Debtor -- has the Debtor reached an agreement with

      22   the Issuers on the assumption of the CLO management

      23   agreements?

      24   A    Yes, we have.

      25   Q    Can you describe for the Court the terms of the




                                                                          Appx. 04318
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 194 of 610




                                      Seery - Direct                          137


       1   assumption?

       2              MR. RUKAVINA:    Your Honor, this --

       3              THE WITNESS:    Yes.

       4              MR. RUKAVINA:    Your Honor, this is Davor Rukavina.          I

       5   would object to this as hearsay.

       6              THE COURT:    Well, he has not --

       7              MR. MORRIS:    It's --

       8              THE COURT:    He's not said an out-of-court statement

       9   yet, so I overrule.

      10        Go ahead.

      11              THE WITNESS:    Yeah, we -- we are going to assume the

      12   CLO contracts.    We have had direct discussions with the

      13   Issuers.    They have agreed.

      14        The basic terms are that we're going to cure them by

      15   satisfying about $500,000 of cure costs related to costs that

      16   the CLO Issuers have incurred in respect of the case, and

      17   we'll be able to pay that over time.

      18              MR. RUKAVINA:    Your Honor, this is Davor Rukavina.          I

      19   would renew my objection and move to strike his answer that

      20   they've agreed.     That is hearsay, an out-of-court statement

      21   offered to prove the truth of the matter asserted.

      22              THE COURT:    Okay.    Mr. Morris, what is your response?

      23              MR. MORRIS:    He's describing an agreement.       I

      24   actually think it's in the Debtor's plan that's on file

      25   already.    But he's describing the terms of an agreement.         He's




                                                                          Appx. 04319
Case 21-03005-sgj Doc 134-7 Filed 12/18/21     Entered 12/18/21 02:10:25   Page 195 of 610




                                       Seery - Direct                           138


       1   not saying what anybody said.         There's no out-of-court

       2   statement.     It's an agreement that's being described.

       3                THE COURT:    All right.    Thank you.    I overrule the

       4   objection.

       5                MR. MORRIS:    Okay.

       6   BY MR. MORRIS:

       7   Q    Does the Debtor believe that the CLO agreements will be

       8   profitable?

       9   A    Yes.

      10   Q    And why does the Debtor believe that the CLO agreements

      11   will be profitable to the post-confirmation estate?

      12   A    Well, we don't -- we don't break out profitability on a

      13   line-by-line basis.        But the simple math is that the revenues

      14   from the CLO contracts which will roll in to the Debtor from

      15   the management fees are more than what we anticipate the

      16   actual direct costs of monitoring and managing those assets

      17   would be.

      18   Q    Okay.    Are you aware that yesterday the Debtor filed a

      19   further revised set of projections?

      20   A    I am, yes.

      21   Q    All right.    Let's call those the February projections.

      22                MR. MORRIS:    Can we put those on the screen?

      23        It's Exhibit 7P, Your Honor.

      24                THE COURT:    Okay.

      25                MR. MORRIS:    All right.    I think that for some reason




                                                                            Appx. 04320
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 196 of 610




                                     Seery - Direct                           139


       1   -- yeah, okay.    There we go.     Perfect.   Right there.

       2        Your Honor, these are the projections that were filed

       3   yesterday.    I'm going to move for the admission into evidence

       4   of these projections.

       5              THE COURT:    All right.

       6              MR. TAYLOR:    Your Honor, this is Clay Taylor.

       7              THE COURT:    Go ahead.

       8              MR. TAYLOR:    We object.    These were -- these were not

       9   previously provided.     They were provided on the eve of the

      10   confirmation hearing, after the Debtors had already revised

      11   them once and provided those on -- after close of business on

      12   a Friday before Mr. Seery's deposition.        And these were

      13   provided even later, certainly not within the three days

      14   required by the Rule.     And therefore we move to -- that these

      15   should not be allowed into evidence.

      16              THE COURT:    Mr. Morris, what is your response to

      17   that?

      18              MR. MORRIS:    Your Honor, first of all, the January

      19   projections were provided in advance of Mr. Seery's deposition

      20   and he was questioned extensively on it.         These projections

      21   have been updated since then, I think for the singular purpose

      22   of reflecting the UBS settlement.

      23        As Your Honor just saw, the prior projections included an

      24   assumption based on the 3018 motion.        Since Mr. Seery's

      25   deposition, UBS and the Debtor have agreed to publicly




                                                                          Appx. 04321
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 197 of 610




                                     Seery - Direct                           140


       1   disclose the terms of the settlement, and that's reflected in

       2   these revised numbers.     I think there was one other change

       3   that Mr. Seery can testify to, but those are the only changes

       4   that were made.

       5              THE COURT:    All right.    Mr. Seery, what besides the

       6   UBS settlement do you think was put in these overnight ones?

       7              THE WITNESS:    I believe the only other change, Your

       8   Honor, was correcting a mistake.       In Assumption M, the second

       9   line is assumes RCP claims will offset against HCMLP's

      10   interest in the fund and will not be paid from the Debtor's

      11   assets.   That hasn't changed.

      12        Basically, the Debtor got an advance from RCP that was to

      13   -- for tax distributions, and did not repay it.         The RCP

      14   investors are entitled to recovery of that.         So we had

      15   previously backed that out.       It's about four million bucks.

      16   What happened was it was just double-counted.

      17              THE COURT:    Okay.

      18              THE WITNESS:    So, as an additional claim, it was

      19   counted as $8 million.     I think that's the only other change.

      20              THE COURT:    All right.    I overrule the objection.

      21   You may go forward.      I admit 7P.

      22              MR. MORRIS:    Thank you, Your Honor.

      23        (Debtor's Exhibit 7P is received into evidence.)

      24              MR. MORRIS:    Can you just -- if we can go to the next

      25   page, please.




                                                                           Appx. 04322
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 198 of 610




                                     Seery - Direct                           141


       1   BY MR. MORRIS:

       2   Q    So, with -- seeing that the claims pool under the plan

       3   previously was $313 million, and what's the claims pool under

       4   the projections up on the screen under the plan?

       5   A    Two -- well, remember, there's 273 for Class 8, and then

       6   you'd add in the Class 7 as well, which is the $10.2 million.

       7   So the 273 went from 313 to 273 with that settlement.

       8   Q    And is there any -- is there any reason for the decrease

       9   other than the change from the 3018 settlement -- order figure

      10   to the actual settlement amount?

      11   A    For the UBS piece, no.       And then, as I mentioned, I

      12   believe the other piece would have been that four million --

      13   that additional $4 million that was taken out.

      14   Q    And did those two changes have a -- did those two changes

      15   have an impact on the projected recoveries under the plan?

      16   A    Sure, particularly with respect to -- to the Class 8.

      17   Those recoveries went up significantly because the denominator

      18   went up.

      19   Q    Okay.   Does the Debtor believe that its plan is feasible?

      20   A    Yes, absolutely.

      21   Q    And do you know whether the administrative priority and

      22   convenience class claims will be paid in full under the

      23   Debtor's plan?

      24   A    Yes.    We monitor the cash very closely, so we do have

      25   additional cash to raise, but we're set to reach or exceed




                                                                          Appx. 04323
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 199 of 610




                                     Seery - Direct                           142


       1   that target, so we do believe we'll be able to pay all the

       2   administrative claims when they come in.        Obviously, we have

       3   to see what they are.     We will be able to pay Class 7 on the

       4   effective date.    Any other distributions, we expect to be able

       5   to make as well.

       6        So, and then it's -- then it's a question of going forward

       7   with a few other claims that we have to pay over time.           We

       8   have the cash flow to pay those.       Frontier, for example, we'll

       9   be able to pay that claim over time in accordance with the

      10   restructured terms.     If the assets that secure that claim are

      11   sold, they would be paid when those assets are sold.

      12   Q    Frontier, will the plan enable the Debtor to pay off the

      13   Frontier secured claim?

      14   A    Yes.    That's what I was explaining.      The cash flow is

      15   sufficient to support the current P&I on that claim.           We will

      16   be able to satisfy it from other assets if we determine not to

      17   sell the asset securing the Frontier claim, or if we sell the

      18   asset securing the Frontier claim we could satisfy that claim.

      19   The asset far exceeds the value of the claim.

      20   Q    Has the plan been proposed for the purpose of avoiding the

      21   payment of any taxes?

      22   A    No.    We expect all tax claims to be paid in accordance

      23   with the Code, and to the extent that there are additional

      24   taxes generated, we would pay them.

      25   Q    Okay.   Let's just talk about Mr. Dondero for a moment




                                                                          Appx. 04324
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 200 of 610




                                     Seery - Direct                           143


       1   before we move on.     Are you aware that Mr. Dondero's counsel

       2   has requested the backup to, you know, these numbers,

       3   including the asset values?

       4   A    It -- I'm not sure if it was his counsel or one of the

       5   other related-entity counsels.

       6   Q    Okay.    But you're aware that a request was made for the

       7   details regarding the asset values and the other aspects of

       8   this?

       9   A    Yes.

      10   Q    Those were -- were those formal requests or informal

      11   requests?

      12   A    They were certainly at my deposition.

      13   Q    Right.    But you haven't seen a document request or

      14   anything like that, have you?

      15   A    No.

      16   Q    Did the Debtor make a decision as to whether or not to

      17   provide the rollup, the backup information to Mr. Dondero or

      18   the entities acting on his behalf?

      19   A    Yes.

      20   Q    And what did the Debtor decide?

      21   A    We would not do that.

      22   Q    And why did the Debtor decide that?

      23   A    Well, I think that's pretty standard.        The underlying

      24   documentation and the specific terms of the model are very

      25   specific, and they are -- they are confidential business




                                                                          Appx. 04325
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 201 of 610




                                      Seery - Direct                          144


       1   information that runs through what we expect to spend and what

       2   we expect to receive and when we expect to sell assets and

       3   then receive proceeds, and the prices at which we expect to

       4   sell them.

       5        To the extent that any entity wants to have that

       6   information as a potential bidder, that would be very

       7   detrimental to our ability to maximize value.         So, typically,

       8   I wouldn't expect that to be given out, and I would not

       9   approve it to be given out here.

      10   Q    Did the Debtor disclose to Mr. Dondero's counsel or

      11   counsel for one of his entities the agreement in principle

      12   with UBS before the updated plan analysis was filed last

      13   night?

      14   A    I believe that disclosure was done a while ago, to Mr.

      15   Lynn.

      16   Q    So, to the best of your -- so, to the best of your

      17   knowledge, the Debtor actually shared the specifics of the

      18   agreement with UBS with Mr. Dondero and his counsel before

      19   last night?

      20   A    Yes.    I have specific personal knowledge of it because we

      21   had to ask UBS for their permission, and they agreed.

      22   Q    Okay.

      23                MR. MORRIS:   All right.   Let's move on to 1129(b),

      24   Your Honor, the cram-down portion.

      25   BY MR. MORRIS:




                                                                          Appx. 04326
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 202 of 610




                                     Seery - Direct                          145


       1   Q    Are you aware, Mr. Seery, how various classes have voted

       2   under the plan?

       3   A    I am generally, yes.

       4   Q    Okay.    Did any class vote to reject the plan, to the best

       5   of your knowledge?

       6   A    I don't -- I guess it depends on how you define the class.

       7   I think the answer is that I don't believe that, when you

       8   count the full votes of the -- the allowed claims and the

       9   votes in any class, I don't believe any of the classes voted

     10    to reject the plan.

     11    Q    What type of claims are in Class 8?

     12    A    General unsecured claims.

     13    Q    And what percentage of the dollar amount of Class 8 voted

     14    to accept?

     15    A    It's -- I think it's near -- now with the Daugherty

     16    agreements, it's near a hundred percent of the third-party

     17    dollars.     I don't know the individual employees' claims off

     18    the top of my head.

     19    Q    All right.    And what about the number in Class 8?        Have a

     20    majority voted to accept or reject in Class 8?

     21    A    If you include the employee claims -- which, again, we

     22    think have no dollar amounts -- then I think it's a majority

     23    would have rejected.     The vast dollar amounts did accept.

     24    Q    Okay.    Let's talk about those employees claims for a

     25    moment.    Do you have an understanding as to the basis of the




                                                                          Appx. 04327
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 203 of 610




                                       Seery - Direct                         146


       1   claims?

       2   A    Yes.

       3   Q    What's your understanding of the basis of the claims?

       4   A    Most of the claims are based on deferred compensation, and

       5   that's the 2005 Highland Capital Management bonus plan.           And

       6   that bonus plan provides certain deferred payment amounts to

       7   the employees to be paid over multiple-year periods, provided

       8   that they are in the seat when the payment is due.            That's the

       9   vesting date.

      10   Q    Okay.

      11                MR. MORRIS:    Your Honor, just as a note-keeping

      12   matter, the deferred compensation plan and the annual bonus

      13   plan are Exhibits 6F and 6G, respectively, and they're on

      14   Docket 1822.

      15                THE COURT:    All right.

      16   BY MR. MORRIS:

      17   Q    And Mr. Seery, are you generally familiar with those

      18   plans?

      19   A    I am, yes.

      20   Q    In order to receive benefits under the plans, are the

      21   employees required to be employed at the time of vesting?

      22   A    Yeah.    Our counsel refers to them, various terms, but

      23   generally -- our outside labor counsel.        They're referred to

      24   as seat-in-the-seat plans, meaning that your seat has to be in

      25   a seat at the office at the day that the payment is due.            If




                                                                           Appx. 04328
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 204 of 610




                                     Seery - Direct                           147


       1   you're terminated for cause or if you resign, you're not

       2   entitled to any payment.

       3        So either you're there and you receive it or you're not

       4   and you don't.    The only exception to that, I believe, is

       5   death and disability.     Or disability.

       6   Q    All right.    Did the Debtor terminate the annual bonus

       7   plan?

       8   A    Yes, we did.

       9   Q    And in what context did the Debtor terminate the annual

      10   bonus plan?

      11   A    Well, we had discussion on it last week.         As Mr. Dondero

      12   had also testified, the plan was to terminate all the

      13   employees prior to the transition.        That's well known among

      14   the employees.    The board terminated the 2005 bonus plan and

      15   instead replaced it with a KERP plan that was approved by this

      16   Court.

      17   Q    And what was your understanding of the consequences of the

      18   termination of the bonus plan for -- for purposes of the

      19   claims that have been asserted by the employees who rejected

      20   in Class 8?

      21   A    It's clear that, under the 2005 HCMLP bonus plan, no

      22   amounts are due because the plan has been terminated.

      23   Q    All right.    Do you have an understanding as to when

      24   payments become due under the deferred compensation -- under

      25   the compensation plan?




                                                                          Appx. 04329
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 205 of 610




                                        Seery - Direct                        148


       1   A    I do, yes.

       2   Q    And when are they due?

       3   A    The next payments are due in May.

       4   Q    And what is the Debtor intending to do with respect to the

       5   objecting employees?

       6   A    The Debtor will have terminated all those employees before

       7   that date.

       8   Q    All right.    So, what's -- what are the consequences of

       9   their termination vis-à-vis their claims under the deferred

      10   compensation plan?

      11   A    They won't have any claims.

      12   Q    Okay.    So is it the Debtor's view that the employees who

      13   voted to reject in Class 8 have no valid claims under the

      14   annual comp -- annual bonus plan or the deferred compensation

      15   plan?

      16                MR. RUKAVINA:    Your Honor, this is Davor Rukavina.

      17   With due respect, Your Honor, these employees have voted.           The

      18   voting is on file.        There has been no claim objections to

      19   their claims filed.       There's been no motion to designate their

      20   votes filed.     So Mr. Seery's answer to this is irrelevant.

      21   They have votes -- pursuant to this Court's disclosure

      22   statement order, they have votes and they have counted, and

      23   now Mr. Seery is attempting to basically impeach his own

      24   balloting summary.

      25                THE COURT:    Mr. Morris, what is your response?




                                                                          Appx. 04330
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 206 of 610




                                     Seery - Direct                           149


       1              MR. MORRIS:    The point of cram-down, Your Honor, is

       2   it fair and equitable.     Does -- does -- is it really fair and

       3   equitable to the 99 percent of the economic interests to allow

       4   24 employees who have no valid claims to carry the day here?

       5   And this is -- that's what cram-down is about, Your Honor.

       6              THE COURT:    All right.    I overrule the objection.

       7   BY MR. MORRIS:

       8   Q    Let's talk about Class 7 for a moment, Mr. Seery.          That's

       9   the convenience class; is that right?

      10   A    That's correct.

      11   Q    How and why was that created?

      12   A    Well, initially, that was created because we had two types

      13   of creditors in the case, broadly speaking.         We had liquidated

      14   claims, which were primarily trade-type creditors, and we had

      15   unliquidated claims, which were the litigation-type creditors.

      16   And so that class was created to deal with the liquidated

      17   claims, and the Class 8 would deal with the unliquidated

      18   claims, which were expected to, as we talked about earlier

      19   with respect to the monetization plan, take some time to

      20   resolve.

      21   Q    Was the creation of the convenience class a product of

      22   negotiations with the Committee?

      23   A    The initial discussion on how we set it up I believe was

      24   generated by the Debtor's side, but how it evolved and who

      25   would be in it and how it was treated in terms of




                                                                          Appx. 04331
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 207 of 610




                                     Seery - Direct                           150


       1   distributions was a product of negotiation with the Committee.

       2   Q    Okay.   So how was the dollar threshold figure arrived at?

       3   How did you actually determine to create a convenience class

       4   at a million dollars?

       5   A    It was through negotiation with the Committee.           So this

       6   was one of those items that moved a fair bit, in my

       7   recollection, through the many negotiations we had, heated

       8   negotiations on some of these items, with the Committee.

       9   Q    And are all convenience class -- all holders of

      10   convenience class claims holders of claims that were

      11   liquidated at the time the decision was made to create the

      12   class?

      13   A    I believe so.    I don't think there's been -- other than --

      14   well, there -- we just had some settlements today, and I think

      15   that relates to the employees, but those would be the only

      16   ones that there would be disputes about, and that would roll

      17   into the liquidat... the convenience class.

      18   Q    Okay.   Finally, is there any circumstance under which

      19   holders of Class 10 or 11, Class 10 or Class 11 claims will be

      20   able to obtain a recovery under the plan?

      21   A    Theoretically, there's a circumstance, and that is if

      22   every other creditor in the case were to be paid in full, with

      23   interest at the federal judgment rate, including Class 9,

      24   which are the subordinated claims.       If those all got paid in

      25   full, then theoretically the junior interest holders could




                                                                           Appx. 04332
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 208 of 610




                                     Seery - Direct                           151


       1   receive distributions.

       2        However, based upon our projections, that would be wholly

       3   dependent on a significant recovery in the Litigation -- by

       4   the Litigation Trustee.

       5   Q    Okay.   Let's move now to questions of the Debtor release

       6   and the plan injunction.      Is the Debtor providing a release

       7   under the plan?

       8   A    Yes.

       9   Q    Is anyone other than the Debtor providing a release under

      10   the plan?

      11   A    No.

      12   Q    Who is the Debtor proposing to release under the plan?

      13   A    The release parties are pretty similar to what you

      14   typically would see, in my experience, in most plans.           You

      15   have the independent board, myself as CEO and CRO, the

      16   professional -- the Committee members, the professionals in

      17   the case, and the employees that we reached agreement with

      18   respect to certain of them who have signed on to a

      19   stipulation, and others, get a broader release for negligence.

      20   Q    Okay.   Is the Debtor aware of any facts that might give

      21   rise to a colorable claim against any of the proposed release

      22   parties?

      23   A    Not with respect to any of the release parties.          So the --

      24   obviously, I don't think there's any claims against me.           But

      25   the same is true with respect to the oversight board, the




                                                                          Appx. 04333
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 209 of 610




                                     Seery - Direct                              152


       1   independent board.

       2        The Committee has been, you know, working with us hand-in-

       3   glove, and I think if they thought we -- there was something

       4   there, we would have heard it.

       5        With respect to the professionals, we haven't seen

       6   anything as an independent board.

       7        And with respect to the employees' that -- general

       8   negligence release, these are current employees and we have

       9   been monitoring them for a year and we don't have any evidence

      10   or anything to suggest that there would be a claim against

      11   them.

      12   Q    Are there conditions to the employees' release?

      13   A    There are.    So, the employee release, as we talked about

      14   earlier, was highly negotiated with the Committee.            It

      15   requires that employees assist in the monetization efforts,

      16   which is really on the transition and the monetization.               They

      17   don't have to assist in bringing litigations against anybody,

      18   so that's not part of what the provision requires.            But it

      19   does require that they assist generally in our efforts to

      20   monetize assets.

      21        We don't think that's going to be significant, but if

      22   there are individual questions or help we need, we certainly

      23   would reach out to them.      If it's significant time, that will

      24   be a different discussion.

      25        And then with respect to the two senior employees who




                                                                              Appx. 04334
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 210 of 610




                                      Seery - Direct                          153


       1   signed the stipulation, they have to give up a part of their

       2   distribution for their release.

       3   Q    All right.    I think you just alluded to this, but has the

       4   release been the subject of negotiation with the Creditors'

       5   Committee?

       6   A    Yeah.    We've touched on it a bunch of times, and we

       7   certainly, unfortunately, let it spill over into the court a

       8   couple times.     It was a hotly-negotiated piece of the plan.

       9   Q    Okay.    Has the Committee indicated to the Debtor in any

      10   way that anybody subject to the release is the subject of a

      11   colorable claim?

      12   A    Anyone subject to the release?       No.

      13   Q    Yeah.    All right.   Let's talk about the plan injunction

      14   for a moment.     Are you familiar with the plan injunction?

      15   A    Broadly, yes.

      16   Q    And what is your broad understanding of the plan

      17   injunction?

      18   A    Anybody who has a claim or thinks they have a claim will

      19   broadly be enjoined from bringing that, other than as it's

      20   satisfied under the plan or else ultimately bringing it before

      21   this Court.    And that's the gatekeeper part, which is a little

      22   bit of combining the two pieces.

      23   Q    And what's your understanding of the purpose of the

      24   injunction?

      25   A    It's really to prevent vexatious litigation.         We, as




                                                                          Appx. 04335
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 211 of 610




                                     Seery - Direct                           154


       1   independent directors, stepped into what I think most people

       2   would fairly say is one of the more litigious businesses and

       3   enterprises that they've seen.       And we have a plan that will

       4   allow us to monetize assets for the benefit of the creditor

       5   body, provided we're able to do that and not have to put out

       6   fires every day on different fronts.        So what we're hoping to

       7   do with the injunction is ensure that we can actually fulfill

       8   the purposes of the plan.

       9   Q    All right.    Let's talk about some of the litigation that

      10   you're referring to.

      11              MR. MORRIS:    Can we put up on the screen the

      12   demonstrative for the Crusader litigation?

      13   BY MR. MORRIS:

      14   Q    And Mr. Seery, I would just ask you to kind of describe

      15   your understanding in a general way about the history of the

      16   Crusader litigation.

      17              MR. MORRIS:    And, Your Honor, just to be clear here,

      18   this is a demonstrative exhibit.        As you can see in the

      19   footnotes, it's heavily footnoted to the documents and to --

      20   and, really, to the court cases themselves.         The documents on

      21   the exhibit list include the dockets from each of the

      22   underlying litigations.      And I just want to just have Mr.

      23   Seery describe at an extremely high level some of the

      24   litigation that the Debtor has confronted over the years, you

      25   know, as the driver, as he just testified to, for the decision




                                                                          Appx. 04336
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 212 of 610




                                      Seery - Direct                           155


       1   to seek this gatekeeper injunction.

       2                THE COURT:   All right.

       3   BY MR. MORRIS:

       4   Q    So, Mr. Seery, can you just describe kind of in general

       5   terms the Crusader litigation?

       6   A    Yeah.    I apologize to the Redeemer team for maybe not

       7   doing this justice.       But this is litigation that came out of a

       8   financial crisis upheaval related to this fund.          Disputes

       9   arose with respect to the holders of the interests, which were

      10   the -- ultimately became the Redeemers, and Highland as the

      11   manager.

      12        That went through initial litigation, and then into the

      13   Bermuda courts, where it was subject to a scheme.             The scheme

      14   required or allowed for the liquidation of the fund and then

      15   distributions to the -- to the holders, and then deferred many

      16   of the payments to Highland.

      17        At some point, Highland, frustrated that it wasn't able to

      18   get the payments, decided to just take them, and I think, you

      19   know, fairly -- can be fairly described, at least by the

      20   arbitration panel, as coming up with reasons that may not have

      21   been wholly anchored in reality as to what its reasons were

      22   for taking that money.

      23        That led to further disputes with the Redeemers, who then

      24   terminated Highland and brought an arbitration action against

      25   Highland.     They were successful in that arbitration and




                                                                            Appx. 04337
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 213 of 610




                                      Seery - Direct                          156


       1   received a $137 arbitration award.       And right up to the

       2   petition date, that arbitration pursued.        When they finally

       3   got their -- the arbitration award, they were going to

       4   Delaware Chancery Court to file it and perfect it, and the

       5   Debtor filed.

       6   Q    Okay.

       7                MR. MORRIS:   Let's go to the next slide, the Terry/

       8   Acis slide.     If we could just open that up a little bit.        It's

       9   -- as you can imagine, Your Honor, it's a little difficult to

      10   kind of summarize the Acis/Terry saga in one slide, but we've

      11   done the best we can.

      12   BY MR. MORRIS:

      13   Q    Mr. Seery, can you describe generally for Judge Jernigan,

      14   who is well-versed in the matter, the broad overview of this

      15   litigation?

      16   A    There's clearly nothing I can tell the Court about the

      17   bankruptcy that it doesn't already know.        But very quickly,

      18   for the record, Mr. Terry was an employee at Highland.           He

      19   also has a partnership interest in Acis, which was, in

      20   essence, the Highland CLO business.        He -- and he got into a

      21   dispute with Mr. Dondero regarding certain transactions that

      22   Mr. Dondero wanted to enter into and Mr. Terry didn't believe

      23   were appropriate for the investors.

      24        Strangely, the assets that underlie that dispute are still

      25   in the Highland portfolio, both Targa (phonetic) and Trussway.




                                                                          Appx. 04338
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 214 of 610




                                     Seery - Direct                           157


       1   Mr. Terry was terminated, or quit, depending on whose side of

       2   the argument you take.      Mr. Terry then sought compensation in

       3   the arbitration pursuant to the partnership agreement.

       4   Ultimately, he was awarded an arbitration award of roughly $8

       5   million.

       6        When he went to enforce that -- that was against Acis.

       7   When he went to enforce that against Acis, which had all the

       8   contracts, Highland went about, I think, terribly denuding

       9   Acis and moving value.      Mr. Terry ultimately was able to file

      10   an involuntary against Acis, and after a tremendous amount of

      11   litigation had a plan confirmed that gave him certain rights

      12   in Acis and any ability to challenge certain transactions with

      13   respect to Highland that formed the basis of his claims in the

      14   Highland bankruptcy.

      15        That wasn't the end of the saga, because Highland

      16   commenced a litigation -- well, not Highland, but HCLOF and

      17   others, directed by others -- commenced litigation against Mr.

      18   Terry in Guernsey, an island in the English Channel.           That

      19   litigation wound its way for a couple -- probably close to two

      20   years, at least a year and a half, and ultimately was -- it

      21   was dismissed in Mr. Terry's favor.

      22        While that was pending, litigation was commenced in New

      23   York Supreme Court against Mr. Terry and virtually anybody who

      24   had ever associated with him in the business, including --

      25   including some of the rating agencies.        That was withdrawn as




                                                                          Appx. 04339
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 215 of 610




                                       Seery - Direct                          158


       1   part of our efforts working with DAF to try to bring a little

       2   bit of sanity to the case.        But it was withdrawn without

       3   prejudice.

       4        But ultimately, you know, we've agreed to a claims

       5   settlement, which was approved by this Court, with Acis and

       6   Mr. Terry.

       7   Q    All right.

       8                MR. MORRIS:    How about UBS?   Can we get the UBS

       9   slide?

      10                THE WITNESS:   I should mention that there's other

      11   litigations involving Mr. Terry and Highland individuals that

      12   are outstanding, I believe, in Texas court.         We have not yet

      13   had to deal with those.

      14   BY MR. MORRIS:

      15   Q    Okay.    Can you describe for the Court your general

      16   understanding of the UBS litigation?

      17   A    Again, UBS comes out of the financial crisis.            It was a

      18   warehouse facility that UBS had established for Highland.            It

      19   actually was a pre-crisis facility that was restructured in

      20   early '08, while the markets were starting to slide but before

      21   they really collapsed.       That litigation started after Highland

      22   failed to make a margin call.        UBS foreclosed out -- or it

      23   wasn't really a foreclosure, because it's a warehouse

      24   facility, but basically closed out all the interest and sought

      25   recovery from Highland for the shortfall.




                                                                           Appx. 04340
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 216 of 610




                                     Seery - Direct                           159


       1        Highland was one of the defendants, but there are numerous

       2   defendants, including some foreign subsidiaries of Highland.

       3        That case wend its way through the New York Supreme Court,

       4   up and down between the Supreme and the Appellate Division,

       5   which is the intermediate appellate court in New York.

       6   Incredibly litigious effort over virtually every single item

       7   you could possibly think of.

       8        Ultimately, UBS got a judgment for $500-plus million and

       9   -- plus prejudgment interest against two of the Highland

      10   subsidiaries.    It then sought to commence action up -- enforce

      11   its judgment through various theories against Highland.           That

      12   is part of the settlement that we have -- it's been part of

      13   the lift stay motion here, the 3019, as well as the 3018, and

      14   as well as the ultimate settlement we've discussed today.

      15   Q    Okay.   Moving on to Mr. Daugherty, can you describe for

      16   the Court your understanding of the Daugherty litigation?

      17   A    The Daugherty litigation goes back even further.          It did

      18   -- I think the original disputes were -- or, again, started to

      19   happen between Mr. Daugherty and Mr. Dondero even prior to the

      20   crisis, but Mr. Dondero -- Daugherty certainly stayed with

      21   Highland post-crisis.     And then when Mr. Daugherty was severed

      22   or either resigned or terminated from his position, there was

      23   various litigations that began between the parties very

      24   intensely in state court, one of the more nasty litigations

      25   that you can imagine, replete with salacious allegations and




                                                                          Appx. 04341
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 217 of 610




                                     Seery - Direct                           160


       1   press releases.

       2          That litigation then led to an award originally for Mr.

       3   Daugherty from HERA, which was an entity that had assets that

       4   Mr. Daugherty alleges were stripped.        Mr. Daugherty had to pay

       5   a judgment against Highland.       Ultimately, litigations were

       6   commenced in both the state court and the Delaware Chancery

       7   Court.    Those litigations, many of those continue, because

       8   they're not just against the entities but specific

       9   individuals.    Mr. Daugherty got a voting -- a claim allowed

      10   for voting purposes in our case of $9.1 million, and we've

      11   since reached an agreement with Mr. Daugherty on his claim,

      12   save for a tax case which we announced earlier that relates to

      13   compensation, claimed compensation with respect to a tax

      14   distribution, which we have defenses for and he has claims

      15   for.

      16               MR. MORRIS:   All right.    We can take that down,

      17   please.

      18   BY MR. MORRIS:

      19   Q      And let's just talk for a few minutes about some of the

      20   things that have happened in this case.         Did Mr. Dondero

      21   engage in conduct that caused the Debtor to seek and obtain a

      22   temporary restraining order?

      23   A      Yes, he did.

      24   Q      And did the Debtor -- did Mr. Dondero engage in conduct

      25   that caused the Debtor to seek and obtain a preliminary




                                                                          Appx. 04342
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 218 of 610




                                     Seery - Direct                           161


       1   injunction against him?

       2   A    Yes.

       3   Q    And has the Debtor filed a motion to hold Mr. Dondero in

       4   contempt for violation of the TRO?

       5   A    Yes.

       6   Q    Are you aware that -- of the CLO-related motion that was

       7   filed in mid-December?

       8   A    It's similar in that these are controlled entities that

       9   brought similar types of claims against the Debtor and

      10   interfered in similar ways, albeit not as directly threatening

      11   with respect to the personnel of the Debtor.

      12   Q    Okay.   And you're aware of how that -- that motion was

      13   resolved?

      14   A    I know we resolved it, and I'm drawing a blank on that.

      15   But --

      16   Q    All right.    Are you aware, did Mr. Daugherty also object

      17   to the Acis and HarbourVest settlements, or at least either

      18   him or entities acting on his behalf?

      19   A    I think you meant Mr. Dondero.       I don't believe Mr.

      20   Daugherty did.

      21   Q    You're right.    Thank you.     Let me ask the question again.

      22   Thank you for the clarification.        We're almost done.     To the

      23   best of your knowledge, did Mr. Dondero or entities that he

      24   controls file objections to the Acis and HarbourVest

      25   settlements?




                                                                          Appx. 04343
Case 21-03005-sgj Doc 134-7 Filed 12/18/21      Entered 12/18/21 02:10:25   Page 219 of 610




                                        Seery - Direct                           162


       1   A    Yes, they did.

       2   Q    And we're here today with this long recitation because the

       3   remaining objectors are all Mr. Dondero or entities owned or

       4   controlled by him; is that right?

       5   A    That's correct.

       6   Q    All right.

       7                MR. RUKAVINA:    Your Honor, I didn't have a chance to

       8   object in time.     Entities owned or controlled by Mr. Dondero.

       9   There's no evidence of that with respect to at least three of

      10   my clients, and this witness has not been asked predicate

      11   questions to lay a foundation.          Mr. Dondero does not own or

      12   control the three retail (inaudible).           So I move to strike

      13   that answer.

      14                MR. MORRIS:    Your Honor, I withdraw with respect to

      15   the three funds.     It's fine.

      16                THE COURT:    All right.     With that withdrawal, then I

      17   think that resolves the objection.

      18                MR. MORRIS:    Uh, --

      19                THE COURT:    Or I overrule the remaining portion.

      20        Okay.    Go ahead.

      21                MR. RUKAVINA:    That does, Your Honor.       Thank you.

      22   BY MR. MORRIS:

      23   Q    Are -- are -- is everything that you just described, Mr.

      24   Seery, the basis for the Debtor's request for the gatekeeper

      25   and injunction features of the plan?




                                                                             Appx. 04344
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 220 of 610




                                     Seery - Direct                           163


       1   A    Well, everything I described are a part of the basis for

       2   that.   I didn't describe every single basis with respect to

       3   why those --

       4   Q    So what are -- what are the other reasons that the Debtor

       5   is seeking the gatekeeper and injunction provisions in the

       6   plan?

       7   A    We really do need to be able to operate the business and

       8   monetize the assets without direct interference and litigation

       9   threats.    We didn't go through some of the specifics, and I

      10   hesitate to burden the Court again, but the email to me, the

      11   email to Mr. Surgent, the testimony threatening -- effectively

      12   threatening Mr. Surgent, in my opinion, by Mr. Dondero, in the

      13   court in previous weeks, statements by his counsel indicating

      14   that Mr. Dondero is going to sue me for hundreds of millions

      15   of dollars down the road.

      16        I mean, this is nonstop.      I'm an independent fiduciary.

      17   I'm trying to maximize value for the estate.         I've got some

      18   guy who's threatening to sue me?       It's absurd.

      19              MR. MORRIS:    Your Honor, I have no further questions,

      20   but what I would respectfully request is that we take just a

      21   short five-minute break.      I'd like to just confer with my

      22   colleagues before I pass the witness.

      23              THE COURT:    All right.    Five-minute break.

      24              MR. MORRIS:    Thank you, Your Honor.

      25              THE CLERK:    All rise.




                                                                          Appx. 04345
Case 21-03005-sgj Doc 134-7 Filed 12/18/21     Entered 12/18/21 02:10:25   Page 221 of 610




                                       Seery - Direct                           164


       1        (A recess ensued from 1:58 p.m. to 2:06 p.m.)

       2                THE CLERK:    All rise.

       3                THE COURT:    All right.    Please be seated.      We're back

       4   on the record in Highland.          Mr. Morris, anything else?

       5                MR. MORRIS:    All right, Your Honor.      Can you hear me?

       6                THE COURT:    I can, uh-huh.

       7                MR. MORRIS:    Okay.    Mr. Seery, are you there?

       8                THE WITNESS:    I am, yes.

       9                MR. MORRIS:    I just have a few follow-up questions,

      10   Your Honor, if I may.

      11                THE COURT:    Okay.

      12                        DIRECT EXAMINATION, RESUMED

      13   BY MR. MORRIS:

      14   Q    Okay.    Mr. Seery, we talked for a bit about the difference

      15   between the convenience class and the general unsecured

      16   claims.     Do you recall that?

      17   A    Yes.

      18   Q    And that's the difference between Class 7 and 8; do I have

      19   that right?

      20   A    Yes.

      21   Q    And what is the recovery for claimants in Class 7, to the

      22   best of your recollection, the convenience class?

      23   A    It's 85 cents.

      24   Q    And under --

      25   A    On the dollar.




                                                                            Appx. 04346
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 222 of 610




                                       Seery - Direct                         165


       1   Q    And under the projections that were filed last night, and

       2   we can call them up on the screen if you don't have total

       3   recall, do you recall what Class 8 is projected to recover now

       4   that we've taken into account the UBS settlement?

       5   A    Approximately 71.

       6   Q    Okay.

       7   A    Percent.    71 cents on the dollar.

       8                THE COURT:   Okay.   The answer --

       9   BY MR. MORRIS:

      10   Q    Okay.    Do I this right --

      11                THE COURT:   The answer was a little garbled.      Can you

      12   repeat the answer, Mr. Seery?

      13                THE WITNESS:   Approximately 71 cents on the dollar,

      14   Your Honor.

      15                THE COURT:   Okay.   Thank you.

      16   BY MR. MORRIS:

      17   Q    Okay.    And do I have that right, that that 71 cents

      18   includes no value for potential litigation claims?

      19   A    That's correct.      We didn't even put that in our

      20   projections at all.

      21   Q    So is it possible, depending on Mr. Kirschner's work, that

      22   holders of Class 8 claims could recover an amount in excess of

      23   85 percent?

      24   A    It's possible, yes.

      25   Q    Okay.    Are you aware that Dugaboy has suggested that the




                                                                          Appx. 04347
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 223 of 610




                                     Seery - Direct                           166


       1   Debtor should resolicit because their -- their -- the

       2   projections in the November disclosure statement were

       3   misleading?

       4   A      I'm aware that they've made allegations along those lines,

       5   yes.

       6   Q      Okay.   Do you think the November projections were

       7   misleading in any way?

       8   A      No, not at all.

       9   Q      And why not?

      10   A      Well, the plan was -- the projections are for the plan,

      11   and they contain assumptions.       And it was clear in the plan

      12   that those assumptions could change.        So the value of the

      13   assets, which aren't static, does change.         The costs aren't

      14   static.    They do change.    The amount of the claims, the

      15   denominator, was not static and would change.

      16   Q      Okay.   And were the -- were the changes in the claims, for

      17   example, changes that were all subject to public viewing, as

      18   the Court ruled on 3018, as the settlement with HarbourVest

      19   was announced?

      20   A      Well, the plan -- the terms of the plan made clear that

      21   the Class 8 claims would -- would be whatever the final

      22   amounts of those claims were going to be.         We did resolve the

      23   claims of HarbourVest and then ultimately the settlement

      24   announced today, but in front of -- in front of the world, in

      25   front of the Court, with a 9019 motion.




                                                                          Appx. 04348
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 224 of 610




                                     Seery - Direct                           167


       1   Q    Okay.   We had finished up with some questioning about the

       2   gatekeeper and the injunction provision.        Do you recall that?

       3   A    Yes, I do.

       4   Q    And you had testified as to the reasons why the Debtor was

       5   seeking that particular protection.        Do you recall that?

       6   A    Yes.

       7   Q    In the absence of that protection, does the Debtor have

       8   any concerns that interference by Mr. Dondero could adversely

       9   impact the timing of the Debtor's plan?

      10   A    Well, that's my opinion and what I testified to before.             I

      11   think the -- the injunction -- the exculpation, the

      12   injunction, and the gatekeeper are really critical and

      13   essential elements of this plan, because we have to have the

      14   ability, unfettered by litigation, particularly vexatious

      15   litigation in multiple jurisdictions, we have to be able to

      16   avoid that and be able to focus on monetizing the assets and

      17   try to maximize value.

      18   Q    Is there a concern that that value would erode if

      19   resources and time and attention are diverted to the

      20   litigation you've just described?

      21   A    Absolutely.    The focus of the team has to be on the

      22   assets' monetization, creative ways to get the most value out

      23   of those assets, and not on defending itself, trying to paper

      24   up some sort of litigation defense against vexatious

      25   litigation, and also spending time actually defending




                                                                          Appx. 04349
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 225 of 610




                                        Seery - Direct                         168


       1   ourselves in various courts.

       2   Q    Okay.    Last couple of questions.       If there was no

       3   gatekeeper provision in the plan, would you accept appointment

       4   as the Claimant Trustee?

       5   A    You broke up.    No which provision?

       6   Q    If there was no gatekeeper provision in the -- in the

       7   confirmation order, would you accept the position as Claimant

       8   Trustee?

       9   A    No, I wouldn't.       Just -- just like when I came on, there

      10   were -- there are some pretty essential elements that I

      11   mentioned before.     One is indemnification.      Two is directors

      12   and officers insurance.        And three was a gatekeeper function.

      13   I want to make sure that we're not at risk, that I'm not at

      14   risk, for doing my job.

      15   Q    And I think you just said it, but if you were unable to

      16   obtain D&O insurance, would you accept the position as

      17   Claimant Trustee?

      18   A    No, I would not.

      19                MR. MORRIS:    I have no further questions, Your Honor.

      20                THE COURT:    All right.   So, you went two hours and 34

      21   minutes in total with your direct.        So we'll now pass the

      22   witness for cross.        And the Objectors get an aggregate of two

      23   hours and 34 minutes.

      24        Who's going to go first?

      25                MR. RUKAVINA:    Your Honor, Davor Rukavina.       I will.




                                                                           Appx. 04350
Case 21-03005-sgj Doc 134-7 Filed 12/18/21     Entered 12/18/21 02:10:25   Page 226 of 610




                                         Seery - Direct                         169


       1                 THE COURT:    Okay.   Go ahead.

       2                 MR. RUKAVINA:    Mr. Vasek, if you can pull up Exhibit

       3   6N, the ballot summary, Page 7 of 15 on the top.

       4                 MR. POMERANTZ:    Mr. Morris, you're not on mute.

       5                 MR. MORRIS:    Thank you, sir.

       6                 MR. RUKAVINA:    Mr. Vasek, did you hear me?      There it

       7   is.

       8                                 CROSS-EXAMINATION

       9   BY MR. RUKAVINA:

      10   Q     Mr. Seery, are you familiar with this ballot tabulation

      11   that was filed with the Court and that has been admitted into

      12   evidence?

      13   A     Yes, I believe I've seen this.

      14   Q     Okay.    And this says that 31 Class 8 creditors rejected

      15   and 12 Class 8 creditors accepted the plan, correct?

      16   A     That's correct.

      17   Q     And since then, I think we've heard that Mr. Daugherty and

      18   maybe two other employees have changed their vote to an

      19   accept; is that correct?

      20   A     That's correct, yes.

      21   Q     Okay.    Other than three, those three employees that are

      22   changing, do you know of any other Class 8 creditors that are

      23   changing their votes?

      24   A     Mr. Daugherty is not an employee.

      25   Q     I apologize.    Other than those three Class 8 creditors




                                                                            Appx. 04351
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 227 of 610




                                      Seery - Cross                           170


       1   that are changing their votes, do you know of any other ones

       2   that are changing their votes?

       3   A    No.

       4   Q    Okay.   You didn't tabulate the ballots, did you?

       5   A    No, I did not.

       6   Q    Do you have any reason to question the accuracy of this

       7   ballot summary that's been filed with the Court?

       8   A    No, I do not.

       9   Q    Okay.   You mentioned that many of the people that rejected

      10   the plan are former employees who you don't think will

      11   ultimately have allowed claims, correct?

      12   A    Not ultimately.     I said they don't have them now.

      13   Q    Okay.   Are you aware that the Court ordered that

      14   contingent unliquidated claims be allowed to vote in an

      15   estimated amount of one dollar?

      16   A    I'm aware of that, yes.

      17   Q    Okay.   All right.    Now, no motion to reconsider that order

      18   has been filed, correct?

      19   A    Not to my knowledge.

      20   Q    Okay.   No objection to these rejecting employees' claims

      21   have been filed yet, correct?

      22   A    Correct.

      23   Q    Okay.   And no motion to strike or designate their vote has

      24   been filed as of now, correct?

      25   A    Correct.




                                                                          Appx. 04352
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 228 of 610




                                        Seery - Cross                         171


       1                MR. RUKAVINA:    You can take down that exhibit, Mr.

       2   Vasek.

       3   BY MR. RUKAVINA:

       4   Q    Mr. Seery, the Debtor itself is a limited partnership; I

       5   think you confirmed that earlier, correct?

       6   A    Correct.

       7   Q    And its sole general partner is Strand Advisors, Inc.,

       8   correct?

       9   A    Correct.

      10   Q    And to your understanding, the Debtor, as a limited

      11   partnership, is managed by its general partner, correct?

      12   A    Correct.

      13   Q    Okay.    And Strand, that's where the independent board of

      14   you, Mr. Nelms, and Mr. Dubel -- or I apologize if I'm

      15   misspelling, misstating his name -- that's where the board

      16   sits, at Strand, correct?

      17   A    Yes.

      18   Q    Okay.    And that board has been in place since about

      19   January 9, 2020?

      20   A    Yes.

      21   Q    Okay.    Strand is not a debtor in bankruptcy, correct?

      22   A    No.

      23   Q    Okay.    Do you have any understanding as to whether, under

      24   non-bankruptcy law, a general partner is liable for the debts

      25   of the limited partnership that it manages?




                                                                          Appx. 04353
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 229 of 610




                                       Seery - Cross                          172


       1   A    I do.

       2   Q    Okay.    What's your understanding?

       3   A    Typically, a general partner is liable for the debts of

       4   the partnership.

       5   Q    Okay.    And under the plan, Strand itself is an exculpated

       6   party and a protected party and a released party for matters

       7   arising after January 9, 2020, correct?

       8   A    Yes.

       9   Q    Okay.    You mentioned that you're the chief executive

      10   officer and chief restructuring officer in this case for the

      11   Debtor, correct?

      12   A    For the Debtor, yes.

      13   Q    Yeah.    You are not a Chapter 11 trustee, right?

      14   A    No.

      15   Q    Okay.    You are one of the principal authors of this plan,

      16   correct?

      17   A    Consultant.

      18                MR. MORRIS:    Objection to the form of the question.

      19                THE COURT:    Sustained.

      20   BY MR. RUKAVINA:

      21   Q    You are --

      22                THE COURT:    Sustained.

      23   BY MR. RUKAVINA:

      24   Q    You are --

      25                THE COURT:    Rephrase.




                                                                          Appx. 04354
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 230 of 610




                                        Seery - Cross                        173


       1   BY MR. RUKAVINA:

       2   Q    -- one of the principal --

       3                MR. RUKAVINA:    I apologize.

       4   BY MR. RUKAVINA:

       5   Q    You had input in creating this plan, didn't you?

       6   A    I did, yes.

       7   Q    Okay.    And you're familiar with the plan's provisions,

       8   aren't you?

       9   A    Yes.

     10    Q    Okay.    And you, of course, approve of the plan, correct?

     11    A    Yes.

     12    Q    Okay.    And you are, of course, familiar generally with

     13    what the property of the estate currently is, correct?

     14    A    Yes.

     15    Q    Okay.    And part of the purpose of the plan, I take it, is

     16    to vest that property in the Claimant Trust in some respects

     17    and the Reorganized Debtor in some respects, correct?

     18    A    I don't -- I don't know if that's a fair characterization.

     19    Some property -- maybe some property will stay with the

     20    Debtor, some will be transferred directly to the Trust.

     21    Q    Okay.    All property of the estate as it currently exists

     22    will stay with the Debtor or go to the Trust, correct?

     23    A    Yes.

     24    Q    Okay.    And under the plan, the Creditor Trust will be

     25    responsible for payment of prepetition claims, correct?




                                                                          Appx. 04355
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 231 of 610




                                       Seery - Cross                          174


       1   A    Yes.

       2   Q    And under the plan, the Creditor Trust will be responsible

       3   for the payment of postpetition pre-confirmation claims,

       4   correct?

       5   A    Do you mean admin claims?       I don't --

       6   Q    Sure.

       7   A    I don't understand your question.        I'm sorry.

       8   Q    Yes.    We can call them admin claims.

       9   A    Yeah.    Those -- they'll be -- they will be paid on the

      10   effective date or in and around that time.          So I'm not sure if

      11   that's actually going to be from the Trust, but I think it's

      12   actually from the Debtor, as opposed to from the Trust.

      13   Q    Okay.    But after the creation of the Claimant Trust, --

      14   A    Uh-huh.

      15   Q    -- whatever administrative claims are not paid by that

      16   time will be assumed by and paid from the Claimant Trust,

      17   correct?

      18   A    I don't recall that specifically.

      19   Q    Is it your testimony that the Reorganized Debtor will be

      20   obligated post-effective date of the plan to pay any admin

      21   claims that are then unpaid?

      22                MR. MORRIS:    Objection to the form of the question.

      23                THE COURT:    Sustained.   Rephrase.

      24   BY MR. RUKAVINA:

      25   Q    Who pays unpaid admin claims under the plan once the plan




                                                                          Appx. 04356
Case 21-03005-sgj Doc 134-7 Filed 12/18/21     Entered 12/18/21 02:10:25   Page 232 of 610




                                        Seery - Cross                           175


       1   goes effective?

       2   A    I believe the Debtor does.         The Reorganized Debtor.

       3   Q    Okay.    The Reorganized Debtor also gets a discharge,

       4   correct?

       5   A    Yes.

       6   Q    Okay.    And there is no bankruptcy estate left after the

       7   plan goes effective, correct?

       8                MR. MORRIS:    Objection to the form of the question.

       9                THE COURT:    Overruled.

      10                MR. RUKAVINA:    Your Honor, I have the right to know

      11   what the objection to my question is.

      12                THE COURT:    I overruled.

      13                MR. MORRIS:    Okay.

      14                THE COURT:    I overruled the objection.

      15                MR. RUKAVINA:    Thank you.

      16   BY MR. RUKAVINA:

      17   Q    Mr. Seery, do you remember my question?

      18   A    That whether there was a bankruptcy estate after the

      19   effective date?

      20   Q    Yes.

      21   A    There wouldn't be a bankruptcy estate anymore, no.

      22   Q    Okay.    Under the plan, the creditors, to the extent that

      23   they have their claims allowed, the prepetition creditors,

      24   they're the beneficiaries of the Claimant Trust, correct?

      25   A    They are some of the beneficiaries, yes.




                                                                            Appx. 04357
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 233 of 610




                                      Seery - Cross                           176


       1   Q    Okay.   And you would be the Trustee, I think you said, of

       2   the Claimant Trust?

       3   A    Of the Claimant Trust, yes.

       4   Q    Okay.   And you will have fiduciary duties to the

       5   beneficiaries of the Claimant Trust, correct?

       6   A    I believe I have some, yes.

       7   Q    Okay.   Well, as the Trustee, you will have some fiduciary

       8   duties; you do agree with that?

       9   A    That's what I said, yes.

      10   Q    Okay.   What's your understanding of what those fiduciary

      11   duties to the beneficiaries of the Claimant Trust will be?

      12   A    I think they'll be -- they are cabined to some degree by

      13   the provisions of the agreement, but generally there will be a

      14   duty of care and a duty of loyalty.

      15   Q    Do you feel like you'll have a duty to try to maximize

      16   their recoveries?

      17   A    That depends.

      18   Q    On what?

      19   A    My judgment on what's the -- if I'm exercising my duty of

      20   care and my duty of loyalty.

      21   Q    Okay.   But surely you'd like to, whether you have a duty

      22   or not, you'd like to maximize their recoveries as Trustee,

      23   wouldn't you?

      24   A    Yes.

      25   Q    Okay.   Now, in addition to the beneficiaries, which I




                                                                          Appx. 04358
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 234 of 610




                                        Seery - Cross                          177


       1   believe are the Class 8 and Class 9 creditors, the plan

       2   proposes to give non-vested contingent interests in the Trust

       3   to certain holders of limited partnership interests, correct?

       4   A    Yes.

       5   Q    Okay.    And those non-vested contingent interests would

       6   only be paid and would only vest if and when all unsecured

       7   creditors and subordinated creditors are paid in full, with

       8   interest, correct?

       9   A    Yes.

      10   Q    Okay.    And those non-vested contingent interests are a

      11   property interest, although they're an inchoate property

      12   interest, correct?

      13   A    I don't know.    I think I testified in my deposition that I

      14   -- I reached for inchoate, but I'm not an expert in the

      15   definitions of property interests.         I don't know if they're

      16   too ethereal to be considered a property interest.

      17   Q    Okay.

      18                MR. RUKAVINA:    Mr. Vasek, will you please pull up Mr.

      19   Seery's deposition at Page 215?        And if you'll go to Page 200

      20   -- can you zoom -- can you zoom that in a little bit?           Mr.

      21   Vasek, can you zoom on that?

      22                MR. VASEK:   Just a moment.     There's some sort of

      23   issue here.

      24                MR. RUKAVINA:    Okay.   And then go to Page 216.

      25   Scroll down to 216, please.




                                                                          Appx. 04359
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 235 of 610




                                        Seery - Cross                         178


       1                MR. VASEK:   Okay.   I can't see it, so --

       2                MR. RUKAVINA:    Okay.   Stay, stay where you are.     Go

       3   down one more row.

       4   BY MR. RUKAVINA:

       5   Q    Okay.    Mr. Seery, can you see this?

       6   A    Yes.

       7   Q    Okay.    So, I ask you on Line 21, "They may be a property

       8   interest, but inchoate only, correct?"        And you answer, "That

       9   is my belief.     I don't claim to be an expert on the different

      10   types of property interests," --

      11                MR. RUKAVINA:    Mr. Vasek, can you go to the next

      12   page?

      13   BY MR. RUKAVINA:

      14   Q    (continues) "-- whether they be inchoate, reversionary,

      15   ethereal.     I don't claim to be an expert on the different

      16   types of property interests."

      17        Do you see that answer, sir?

      18   A    Yes.

      19   Q    And do you stand by your answer given on Lines 23 through

      20   Line 4 of the next page?

      21   A    Yes.

      22   Q    Okay.     And these non-vested contingency -- contingent

      23   interests in the Claimant Trust, they may have some value in

      24   the future, correct?

      25   A    Yes.




                                                                          Appx. 04360
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 236 of 610




                                        Seery - Cross                         179


       1                MR. RUKAVINA:    Okay.   You can take that down, Mr.

       2   Vasek.

       3   BY MR. RUKAVINA:

       4   Q    Have you tried to see whether anyone outside this case, or

       5   anyone at all, would pay anything for those unvested

       6   contingent interests to the Claimant Trust?

       7   A    No.

       8   Q    Okay.    Now, the Debtor is a registered investment advisor

       9   under the Investment Advisers Act of 1940; is that correct?

      10   A    That's correct.

      11   Q    And under that Act, the Debtor owes a fiduciary duty to

      12   the funds that it manages and to the investors of those funds,

      13   correct?

      14   A    Clearly to the funds, and generally to the investors more

      15   broadly, yes.

      16   Q    Okay.    And would you agree that that duty compels the

      17   Debtor to look for the interests of the funds and the

      18   investors of those funds ahead of its own interests?

      19   A    Generally, but it's a much more fine line than what you're

      20   describing.     It means you can't -- the manager can't put its

      21   own interests in front of the investors and the funds.           It

      22   doesn't mean that the manager subordinates its interest in the

      23   -- to the investors and the funds.

      24                MR. RUKAVINA:    Well, Mr. Vasek, please pull up the

      25   October 20th transcript at Page 233.




                                                                          Appx. 04361
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 237 of 610




                                      Seery - Cross                            180


       1              MR. MORRIS:    What transcript is this?

       2              MR. RUKAVINA:    October 20, 2019.     Mr. Vasek has the

       3   docket entry.

       4              MR. MORRIS:    Oh, so it's the -- Your Honor, I just do

       5   want to point out that Mr. Rukavina objected, in fact, to the

       6   use of trial transcripts, but we'll get to that when we put on

       7   our evidence, when we finish up.

       8              MR. RUKAVINA:    Well, Your Honor, I believe that

       9   you're allowed to use a trial transcript to impeach testimony,

      10   which is what I'm going to do now.

      11        So, for that purpose, Mr. Vasek, if you could -- are you

      12   on Page 233?

      13              THE COURT:    And just so the record is clear, this is

      14   from October 2020, not October 2019, which is, I think, what I

      15   heard.   Continue.

      16              MR. MORRIS:    Your --

      17              MR. RUKAVINA:    Your Honor, I apologize, you did hear

      18   that and I did make a mistake.       Yes, this is at Docket 1271.

      19        Mr. Vasek, if you'll scroll down, please.         Okay.    No, stop

      20   there.

      21   BY MR. RUKAVINA:

      22   Q    And you see on Line 16, sir, you're asked your

      23   understanding, and then you answer, "Okay."         "And in

      24   exercising those duties, the manager, under the Advisers Act,

      25   has a duty to subordinate its interests to the interests of




                                                                           Appx. 04362
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 238 of 610




                                        Seery - Cross                         181


       1   those investors in the CLOs, correct?"        And you answer --

       2                MR. RUKAVINA:    Go down, Mr. Vasek.

       3   BY MR. RUKAVINA:

       4   Q    -- "I think -- I think, generally, when you think about

       5   the fiduciary duty, and I think that we -- I want to make sure

       6   I'm very specific about this, is that the manager has a duty,

       7   fiduciary duties -- there's a whole bunch of legal analysis of

       8   what they are, but they are significant -- that the manager

       9   owes to the investors.       And to the extent" --

      10                MR. RUKAVINA:    Scroll down, please.

      11   BY MR. RUKAVINA:

      12   Q    "And to the extent that the manager's interests would

      13   somehow be -- somehow interfere with the investors' in the

      14   CLO, he is supposed to -- he or she is supposed to subordinate

      15   those to the benefit of the investors."

      16        Did I read that accurately, Mr. Seery?

      17   A    You did.

      18   Q    Was that your testimony on October 20th last?

      19   A    Yes.

      20   Q    Okay.    Are you willing to revise your testimony from a few

      21   minutes ago that the manager does not have to subordinate its

      22   interests to the interests of the investors?

      23   A    No.    I think that's very similar.

      24   Q    Okay.

      25   A    You left out the part about garbled up top where I said it




                                                                          Appx. 04363
Case 21-03005-sgj Doc 134-7 Filed 12/18/21     Entered 12/18/21 02:10:25    Page 239 of 610




                                          Seery - Cross                          182


       1   was nuanced, almost exactly what I just said.           On Line 9, I

       2   believe, on the prior page.

       3   Q      Well, I heard you say a couple of minutes ago, and maybe I

       4   misunderstood because of the WebEx nature, that the manager

       5   does not have to subordinate its interests to the interests of

       6   the investors.       Did I misheard you say that a few minutes ago?

       7   A      I think you misheard it.      I said it's a nuanced analysis,

       8   and it's -- it's pretty significant.           But the manager does

       9   subordinate his general interest and assures that the CLO or

      10   any of the investors' interests are paramount, but he doesn't

      11   subordinate every single interest.

      12          For example, and I think it's in this testimony, the

      13   manager, if the fund isn't doing well, doesn't just have to

      14   take his fee and not get paid.         He's allowed -- entitled to

      15   take his fee.       He doesn't subordinate every single interest of

      16   his.    He doesn't give up his home and his family.             So it's --

      17   it's a nuanced analysis.         The interests of the manager are

      18   subordinated to the interests of the investors and the fund.

      19   I don't -- I don't disagree with anything I said there.              I

      20   think I'm consistent.

      21   Q      Okay.

      22                  MR. RUKAVINA:    You can take that down, Mr. Vasek.

      23   BY MR. RUKAVINA:

      24   Q      So, how do you describe, sir, the fiduciary duty that the

      25   Debtor owes to the funds that it manages and to the investors




                                                                              Appx. 04364
Case 21-03005-sgj Doc 134-7 Filed 12/18/21     Entered 12/18/21 02:10:25   Page 240 of 610




                                       Seery - Cross                            183


       1   in those funds?

       2                MR. MORRIS:    Objection to the -- to the extent it

       3   calls for a legal conclusion, Your Honor.           I just want to make

       4   sure we're -- we're asking a witness for his lay views.

       5                THE COURT:    Okay.    I overrule the objection.      He can

       6   answer.

       7                THE WITNESS:    Yes.   As a manager of a fund, the

       8   manager is a fiduciary to the fund, and sometimes to the

       9   investors, depending on the structure of the fund.              Some funds

      10   are purposely set up where the investors are actually debt-

      11   holders, and their interests are much more cabined by the

      12   terms of the contract, as opposed to straight equity holders.

      13   But the manager has a duty to seek to maximize value of the

      14   assets in the best interests of the underlying -- of the fund

      15   and the underlying investors, to the extent that it can,

      16   within the confines and structure of the fund.

      17   BY MR. RUKAVINA:

      18   Q    Okay.    And these duties as you just described them, they

      19   would apply to the Reorganized Debtor, correct?

      20   A    They would apply to the Reorganized Debtor to the extent

      21   that it's a manager for a fund, not, for example, with respect

      22   to necessarily interests -- the inchoate interests that we

      23   talked about earlier.

      24   Q    Sure.    And I apologize, I meant just for the fund.           And if

      25   the manager, the Reorganized Debtor, breaches those duties,




                                                                             Appx. 04365
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 241 of 610




                                      Seery - Cross                           184


       1   then it's possible that there's going to be liability,

       2   correct?

       3   A    It's possible.

       4   Q    Okay.   Now, under the plan, the limited partnership

       5   interests in the Reorganized Debtor will be owned by the

       6   Claimant Trust, correct?

       7   A    Yes.

       8   Q    Okay.   And there's a new entity called New GP, LLC that

       9   will be created or already has been created, correct?

      10   A    Yes.

      11   Q    Okay.   And that entity will hold the general partnership

      12   interest in the Reorganized Debtor, correct?

      13   A    I believe that's correct.

      14   Q    Okay.   And that entity -- that being New GP, LLC -- will

      15   also be owned by the Claimant Trust, correct?

      16   A    Yes.

      17   Q    Okay.   Who will manage the Reorganized Debtor?

      18   A    The G -- the GP will manage the Reorganized Debtor.

      19   Q    Okay.   And will there be an officer or officers of the

      20   Reorganized Debtor, or will it all be managed through the GP?

      21   A    It'll be managed through the GP.

      22   Q    Okay.   And who will manage the GP?

      23   A    Likely, I will.

      24   Q    Okay.   That's the current plan, that you will?

      25   A    I'll be the Claimant Trustee, and I believe that I'll be




                                                                          Appx. 04366
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 242 of 610




                                      Seery - Cross                           185


       1   responsible for any assets that remain in the Reorganized

       2   Debtor, yes.

       3   Q    Okay.   Right now, the Debtor is managing its own assets as

       4   the Debtor-in-Possession, right?

       5   A    Yes.

       6   Q    And it is managing various funds and CLOs, right?

       7   A    Yes.

       8   Q    Okay.   And right now, the Debtor is attempting to reduce

       9   some of its assets to money, like the promissory notes that

      10   you mentioned
           you mentioned earlier
                         earlier that the Debtor filed
                                                 filed suit
                                                       suit on,
                                                            on, correct?
                                                                correct?

      11   A    Yes.

      12   Q    And the Debtor is
                And            is trying
                                  trying to reduce some of its
                                                           its assets to

      13   money, like the promissory notes, to benefit its creditors,

      14   correct?
           correct?

      15   A    Yes.

      16   Q    Okay.   And correct me if I'm wrong, but the Committee has

      17   filed various claims and causes of action against Mr. Dondero,

      18   correct?

      19   A    They -- they've filed some.       I haven't -- I haven't looked

      20   at their (indecipherable) closely, but --

      21   Q    Okay.

      22   A    -- some are preserved in the case.

      23   Q    You understand --

      24   A    In the plan.    I'm sorry.

      25   Q    You understand that the Committee is doing that for the




                                                                          Appx. 04367
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 243 of 610




                                      Seery - Cross                           186


       1   benefit of the estate, correct?

       2   A    Yes.

       3   Q    And you understand that they're also doing that for the

       4   benefit of creditors, correct?

       5   A    Yes.

       6   Q    Okay.   And under the plan, just so that I'm clear, those

       7   claims that the Committee has asserted will be preserved and

       8   will vest in either the Claimant Trust or the Litigation Sub-

       9   Trust, correct?

      10   A    Yes.

      11   Q    Okay.   And under the plan, the Reorganized Debtor would

      12   continue to manage its assets, correct?

      13   A    Yes.

      14   Q    And it would continue to manage the Funds and the CLOs,

      15   correct?

      16   A    Yes.

      17   Q    And the Claimant Trust would attempt to liquidate and

      18   distribute to its beneficiaries the assets that are

      19   transferred to it, correct?

      20   A    Yes.

      21   Q    Okay.   And you mentioned that the Claimant Trust will have

      22   an Oversight Board comprised of five members, right?

      23   A    Yes.

      24   Q    And four of them will be the people that are currently on

      25   the Committee, right?




                                                                          Appx. 04368
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 244 of 610




                                      Seery - Cross                           187


       1   A    Yes.

       2   Q    And the fifth is David Pauker, and I think you mentioned

       3   that he's independent.      David Pauker is the fifth member,

       4   right?

       5   A    Yes.

       6   Q    Who -- who is he?

       7   A    David Pauker is a very well-known professional in the

       8   restructuring world.     He's a long-time financial advisor in --

       9   in reorganizations.     He's served on numerous boards in

      10   restructuring -- restructurings.

      11   Q    Okay.   So, other than a different corporate structure and

      12   the Claimant Trust, the monetization of assets for the benefit

      13   of creditors would continue post-confirmation as now, correct?

      14   A    I -- I believe so.     I'm not exactly sure what you asked

      15   there.

      16   Q    No one is putting in any new money under the plan, are

      17   they?

      18   A    No.    No.

      19   Q    Okay.   There's no exit financing contingent on the plan

      20   being confirmed, right?

      21   A    You mean no exit -- the plan is not contingent on exit

      22   financing.    I think you just mixed up your -- your financing

      23   and your plan.

      24   Q    I apologize.    There's no exit financing in place today,

      25   correct?




                                                                          Appx. 04369
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 245 of 610




                                      Seery - Cross                           188


       1   A    No.

       2   Q    Okay.   So, post-confirmation, you are basically going to

       3   continue managing the CLOs and funds and trying to monetize

       4   assets for creditors the same as you are today, correct?

       5   A    Similar, yes.

       6   Q    Okay.   And just like the Committee has some oversight role

       7   in the case, the members of the Oversight Board will have some

       8   oversight role post-confirmation, correct?

       9   A    Yes.

      10   Q    Okay.   You don't need anything in the plan itself to

      11   enable you to continue managing the Debtor and its assets,

      12   correct?

      13   A    I don't need anything in the plan?

      14   Q    Correct.

      15   A    I don't -- I don't understand the question.         Can you

      16   rephrase it?

      17   Q    Well, you are managing the Debtor and its assets today,

      18   correct?

      19   A    Yes.

      20   Q    Okay.   Nothing in the plan is going to change that,

      21   correct?

      22   A    Well, it's going to change it a lot.

      23   Q    Okay.   Well, with respect to you managing the Funds and

      24   the CLOs, you don't need anything in the plan that you don't

      25   have today to keep managing them, do you?




                                                                          Appx. 04370
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 246 of 610




                                      Seery - Cross                           189


       1   A    No.    The Debtor manages them, and I will -- I'm the CEO

       2   and I'll be in a similar position with a different team.

       3   Q    Okay.   And I believe you told me that you expect the

       4   Debtor to administer the CLOs for two or three years, maybe?

       5   A    However long it takes, but we expect -- our projections

       6   are that we'd be able to monetize most of the assets within

       7   two years.

       8   Q    Does that include the CLOs?

       9   A    It does, yes.

      10   Q    Okay.   Now, you're going to be the person for the

      11   Reorganized Debtor in charge of managing the CLOs, correct?

      12   A    I'll be the person responsible for managing the

      13   Reorganized Debtor.     The Reorganized Debtor will be the

      14   manager of the CLOs.

      15   Q    Okay.   But the buck will stop with you at the Reorganized

      16   Debtor, right?

      17   A    Yes.

      18   Q    Okay.   You're going to have a team of employees and

      19   outside professionals helping you, but ultimately, on behalf

      20   of the Reorganized Debtor, you're going to be the one in

      21   charge of managing the CLOs, correct?

      22   A    Yes.

      23   Q    Okay.   That means that you'll also be making decisions as

      24   to when to sell assets of the CLOs, correct?

      25   A    Yes.




                                                                          Appx. 04371
Case 21-03005-sgj Doc 134-7 Filed 12/18/21      Entered 12/18/21 02:10:25   Page 247 of 610




                                       Seery - Cross                             190


       1   Q    Okay.    And to be clear, the CLOs, they own their own

       2   assets, whatever they are, and the Debtor just manages those

       3   assets, right?

       4   A    Correct.

       5   Q    The Debtor doesn't directly own those assets, right?

       6   A    No.

       7   Q    And currently there's more than one billion dollars in CLO

       8   assets that the Debtor manages?

       9   A    Approximately.

      10   Q    Yeah.    And the Debtor receives fees for its services,

      11   correct?

      12   A    Yes.

      13   Q    Can you generally describe how the amount of those fees is

      14   calculated and paid, if you have an understanding?

      15   A    How the fees are calculated and paid?

      16   Q    Yes, sir.

      17   A    It's a percentage of the assets.

      18   Q    Assets administered or assets sold in any given time

      19   period?

      20   A    Administered.

      21   Q    Okay.    So the sale of CLO assets does not affect the fees

      22   that the Reorganized Debtor would receive under these

      23   agreements?

      24                MR. MORRIS:    Objection to the form of the question.

      25                THE COURT:    Over --




                                                                             Appx. 04372
Case 21-03005-sgj Doc 134-7 Filed 12/18/21      Entered 12/18/21 02:10:25   Page 248 of 610




                                        Seery - Cross                            191


       1                THE WITNESS:    That's not correct.

       2                THE COURT:   Overruled.

       3   BY MR. RUKAVINA:

       4   Q    Okay.    What is not correct about that?

       5   A    When you sell the assets, the amount administered shrinks,

       6   so you have less fees.

       7                MR. RUKAVINA:    Your Honor, the answer cut out at the

       8   very end.     You have less--?

       9                THE WITNESS:    Fees.

      10   BY MR. RUKAVINA:

      11   Q    Fees?    I understand.    Okay.      So are you saying that there

      12   is a disincentive to the Reorganized Debtor to sell assets in

      13   the CLOs?

      14   A    No.

      15   Q    Okay.    Is there an incentive to the Reorganized Debtor to

      16   sell assets in the CLOs?

      17   A    To do their job correctly, yes.

      18   Q    Okay.    And the Debtor wishes to assume those contracts

      19   because the Debtor will get those fees going forward and

      20   there'll be a profit, even after the expenses of servicing

      21   those contracts are taken out, correct?

      22   A    They are profitable. That's one of the reasons that we're

      23   assuming, yes.

      24   Q    Okay.    Now, over my objection, you testified that the CLOs

      25   have agreed to the assumption of these contracts, right?




                                                                             Appx. 04373
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 249 of 610




                                      Seery - Cross                            192


       1   A    Yes.

       2   Q    Okay.    Is there anything in the record other than your

       3   testimony here today demonstrating that?

       4   A    I believe there is, yes.

       5   Q    What do you believe there is in the record other than your

       6   testimony?

       7   A    I believe we filed a notice of assumption.

       8   Q    Okay.    My question is a little bit different.          You

       9   testified that the CLOs, over my objection, have agreed to the

      10   assumption.    You did testify so, right?

      11   A    Yes.

      12   Q    Okay.    What is there in the record, sir, from the CLOs

      13   confirming that?

      14   A    You mean today's record?

      15   Q    Yes, sir.

      16   A    I'm the only one who's testified so far.

      17   Q    Okay.    Are you aware of anything in the exhibits that

      18   would confirm your testimony?

      19   A    Not that I know of.

      20   Q    Has there been an agreement with the CLOs that's been

      21   reduced to writing?

      22   A    Yes.

      23   Q    So there is a written agreement with the CLOs providing

      24   for assumption?

      25   A    Yes.




                                                                           Appx. 04374
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 250 of 610




                                        Seery - Cross                         193


       1   Q    A signed, written agreement?

       2   A    No, it's -- it's email.

       3   Q    Okay.    When was this email agreement reached?

       4   A    Within the last couple weeks.         There's a number of back

       5   and forths where that was agreed to, and I believe we filed a

       6   notice of assumption.

       7                MR. RUKAVINA:    Mr. Vasek, if you will please pull up

       8   Mr. Seery's January 29th deposition.

       9   BY MR. RUKAVINA:

      10   Q    Mr. Seery, you remember me deposing you last Friday,

      11   correct?

      12   A    Yes.

      13   Q    And you remember me asking you if there was a written

      14   agreement in place with the CLOs?

      15   A    I don't recall specifically.

      16                MR. RUKAVINA:    Okay.   Mr. Vasek, if you would please

      17   scroll to that.     Okay.    Stop there.

      18   BY MR. RUKAVINA:

      19   Q    Sir, you'll recall I also deposed you January 20th, right?

      20   A    Yes.

      21   Q    Okay.    And do you remember that we had some discussion

      22   regarding whether the CLOs would consent or not?

      23   A    Yes.

      24   Q    Okay.    And do you remember telling me something like that

      25   like you think that they will and that's still in the works on




                                                                          Appx. 04375
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 251 of 610




                                        Seery - Cross                         194


       1   January 20th?

       2   A    I don't recall specifically, but if you say that's what it

       3   says.

       4   Q    Okay.    Well, here I'm asking you on January 29th, Line 17,

       5   "I asked you before and you didn't have anything in writing by

       6   then, so let me ask now.       As of today, do you have anything in

       7   writing from the CLOs consenting to the assumption of those

       8   management agreements?"       I'm sorry.     Contracts.   Answer, "I

       9   don't believe that I do.       It could be on my email I opened.         I

      10   don't recall."

      11                MR. RUKAVINA:    Scroll down, Mr. Vasek.

      12   BY MR. RUKAVINA:

      13   Q    Okay.    Then I ask, "Do you have an understanding of

      14   whether those CLOs have consented in writing to the assumption

      15   of the management agreements?"       And you answer, "I believe

      16   they have.     The actual final docs haven't been completed, but

      17   I believe they have agreed in writing, yes."

      18        Then I ask --

      19                MR. RUKAVINA:    Scroll down a little bit more.

      20   BY MR. RUKAVINA:

      21   Q    I ask, "Do you expect the final docs to be completed

      22   before Tuesday's confirmation hearing?"         Answer, "I don't know

      23   whether they will be done by Tuesday."

      24        Did I read all of that correctly, sir?

      25   A    Other than your misstatement.         The word was "unopened."




                                                                          Appx. 04376
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 252 of 610




                                         Seery - Cross                         195


       1   Q     Thank you.    So, let me ask you again today.       As of today,

       2   is there a written agreement that has been signed by the

       3   parties providing for the assumption of the CLO agreements?

       4   A     When phrased the way you did, is it signed by the parties,

       5   no.

       6   Q     Okay.

       7                 MR. RUKAVINA:    You can take that down, Mr. Vasek.

       8   BY MR. RUKAVINA:

       9   Q     I think -- I'm not sure if you quantified this earlier,

      10   but it might help.      I believe that the Reorganized Debtor

      11   projects that it will generate revenue of $8.269 million post-

      12   reorganization from managing the CLO contracts, correct?

      13   A     It's in that neighborhood.       I did not testify to that

      14   earlier.

      15   Q     That's what I meant.       And when I asked you at deposition,

      16   you were able to give me an estimate of how much it would cost

      17   to generate that revenue, correct?

      18   A     I was not?

      19   Q     You were?    I'm sorry.     Let me --

      20   A     Did you say I wasn't or I was?

      21   Q     Let me -- I apologize.       Let me ask again.    I talk too fast

      22   and I have an accent.         You have been able to give an estimate

      23   of how much the Reorganized Debtor will expend to generate

      24   that revenue, correct?

      25   A     Yes.




                                                                           Appx. 04377
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 253 of 610




                                      Seery - Cross                            196


       1   Q    Okay.   Do you remember what your estimate is?

       2   A    I -- I think it was around $2 million a year.            It was a

       3   portion of our employees plus the contracts.

       4   Q    Okay.   So, over the life of the projection at $8.2

       5   million, do you remember that you projected costs of about

       6   $3.5 to $4 million to generate that revenue?

       7   A    If -- if you are representing that to me, I'd accept it.

       8   Yes, that sounds about right.

       9   Q    Well, suffice it to say you're projecting at least $4

      10   million in net profit over the next two years for the

      11   Reorganized Debtor from managing the CLO agreements, correct?

      12   A    Net profit is not a fair, fair way to analyze it, no.

      13   Q    Okay.   Are you projecting any profit for the Reorganized

      14   Debtor from managing the CLO agreements post-confirmation?

      15   A    Yes.

      16   Q    Okay.   Do you have an estimate of what that profit is?

      17   A    General overview are the contracts are profitable to about

      18   the tune of $4 million over that period.

      19   Q    Okay.   Thank you.    If the Reorganized Debtor makes a

      20   profit post-confirmation, is it fair to say that that would

      21   then be dividended up or distributed up to the partners,

      22   ultimately to the Claimant Trust?

      23   A    I don't think that's fair to say, no.

      24   Q    Okay.   So, if the Reorganized Debtor makes a profit post-

      25   confirmation, where does that profit go?




                                                                           Appx. 04378
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 254 of 610




                                        Seery - Cross                          197


       1   A    The Reorganized Debtor -- what kind of profit?            I don't

       2   understand your question.

       3   Q    Okay.    I apologize if I'm being too simplistic about it.

       4   If a business, after it takes account of its expenses to

       5   generate revenue, has any money left over, would that be

       6   profit to you?

       7   A    Yes.

       8   Q    Okay.    Do you think that the Reorganized Debtor, post-

       9   confirmation, will make a profit?

      10   A    I don't know.

      11   Q    Okay.    Do you think that the Reorganized Debtor, post-

      12   confirmation, will lose money?

      13   A    I think there will be costs, and the costs will exceed the

      14   -- the amount that it generates on an income basis, yes.

      15   Q    Okay.    Thank you.

      16                MR. RUKAVINA:    Mr. Vasek, if you'll please pull up

      17   the plan, the injunctions, and releases.         9F.

      18        (Pause.)

      19   BY MR. RUKAVINA:

      20   Q    I apologize, Mr. Seery.

      21                MR. RUKAVINA:    So, Mr. Vasek, if you'll go to the

      22   bottom of the Page 51.       Stop there.

      23   BY MR. RUKAVINA:

      24   Q    So, I'm going to read just the first couple sentences

      25   here, Mr. Seery, if you'll read it along with me.             Subject --




                                                                            Appx. 04379
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 255 of 610




                                     Seery - Cross                           198


      1   this is the bottom paragraph:       Subject in all respects to

      2   Article 12(b), no enjoined party may commence or pursue a

      3   claim or cause of action of any kind against any protected

      4   party that arose or arises from or is related to the Chapter

      5   11 case, the negotiation of the plan, the administration of

      6   the plan, or property to be distributed under the plan, the

      7   wind-down of the business of the Debtor or Reorganized Debtor.

      8        I'd like to stop there.       Do you see that clause there, Mr.

      9   Seery, talking about the wind-down of the business of the

     10   Debtor or Reorganized Debtor?       Do you see that, sir?

     11   A    Yes.

     12   Q    Okay.    Do I understand correctly that this provision we've

     13   just read means that, upon the assumption of these CLO

     14   management agreements, if the counterparties to those

     15   agreements want to take any action against the Reorganized

     16   Debtor, they first have to go through this channeling

     17   injunction?

     18   A    I believe that's what it says, yes.

     19   Q    Okay.    Because the wind-down of the business of the

     20   Reorganized Debtor will include the management of these CLO

     21   portfolio management agreements, correct?

     22   A    Yes.

     23   Q    Okay.    As well as the management of various funds that the

     24   Debtor owns, correct?

     25   A    Yes.




                                                                          Appx. 04380
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 256 of 610




                                      Seery - Cross                           199


       1   Q    Okay.    And would you agree with me that the new general

       2   partner, New GP, LLC, is also a protected party under the

       3   plan?

       4   A    I assume it is.     I don't recall specifically.

       5   Q    I believe you discussed to some degree postpetition

       6   losses.     I'd like to visit a little bit about those.        Since

       7   January 9th, 2020, Mr. Dondero was not an officer of the

       8   Debtor, correct?

       9   A    Correct.

      10   Q    And since January 9th, 2020, he was no longer a director

      11   of Strand, correct?

      12   A    That's correct.

      13   Q    Since January 9th, 2020, until he was asked to resign, he

      14   was an employee, correct?

      15   A    Yes.

      16   Q    And about -- I'm trying to remember.        About when did he

      17   resign?     October something of 2020?     Do you remember?

      18   A    I don't recall.

      19   Q    Okay.    Do you recall if it was in October 2020?

      20   A    It was in the fall.

      21   Q    Okay.    And he resigned because the independent board asked

      22   him to resign, correct?

      23   A    Yes.

      24   Q    Okay.    And you mentioned that the estate has had a

      25   postpetition drop in the value of its assets and the assets




                                                                          Appx. 04381
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 257 of 610




                                      Seery - Cross                            200


       1   that it manages.     Right?

       2   A    I believe I went through the estate's assets.            The only

       3   asset that wasn't a direct estate asset was the hundred

       4   percent control of Select Equity Fund.        I didn't talk about

       5   the Fund assets.

       6   Q    Okay.   Do you recall that the disclosure statement that

       7   the Court approved states that, postpetition, there was a drop

       8   from approximately $566 million to $328 million in the value

       9   of Debtor assets and assets under Debtor management?

      10   A    Yes.    That's the $200 million I walked through earlier.

      11   Q    Okay.   And I believe you mentioned some of it was due to

      12   the pandemic, right?

      13   A    It certainly impacted the markets.        The pandemic didn't

      14   cause a specific loss.     It impacted the markets and the

      15   ability to work within those markets.

      16   Q    But you also believe that Mr. Dondero was responsible for

      17   something like a hundred million dollars of these losses,

      18   right?

      19   A    Probably more.

      20   Q    Okay.   Mr. Dondero is not being released or exculpated for

      21   that, is he?

      22   A    No.

      23   Q    And while Mr. Dondero was an employee during the period of

      24   these losses, he answered to you as CEO and CRO, correct?

      25   A    Not during that period.      I wasn't (audio gap) until later.




                                                                           Appx. 04382
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 258 of 610




                                      Seery - Cross                           201


       1   Q    I'm sorry.    As of January 9th, 2020, were you the CEO of

       2   the Debtor?

       3   A    No.

       4   Q    When did you become the CEO of the Debtor?

       5   A    I believe the order was July 9th, retroactive to a date in

       6   March.

       7   Q    July 9th, 2020?

       8   A    Correct.

       9   Q    Okay.    And when did you become the CRO of the Debtor?

      10   A    At the same time.

      11   Q    Okay.    So, between January and July 2020, you were one of

      12   the independent directors, correct?

      13   A    Yes.

      14   Q    Okay.    So, during that period of time, would Mr. Dondero

      15   have answered to that independent board?

      16   A    Yes.

      17   Q    Okay.    Now, if someone alleges that that independent board

      18   has any liability on account of Mr. Dondero's losses, that's

      19   released under this plan, isn't it?

      20   A    Yes.

      21   Q    Okay.    And if someone alleges that Strand has any

      22   liability on account of Mr. Dondero's losses, that's released

      23   under this plan, correct?

      24   A    Yes.

      25   Q    Okay.    And if someone believes that the Debtor -- that the




                                                                          Appx. 04383
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 259 of 610




                                      Seery - Cross                            202


       1   way that the Debtor has managed the CLOs or its funds

       2   postpetition gives rise to a cause of action in negligence,

       3   that's also released and exculpated in the plan, correct?

       4   A    I believe it would be.        I'm not positive, but I believe it

       5   would be.

       6   Q    Well, let's be clear.        The plan does not release or

       7   exculpate you or Strand or the board for willful misconduct,

       8   gross negligence, fraud, or criminal conduct, correct?

       9   A    No, it does not.

      10   Q    Okay.    And I'm not, just so we're clear, I'm not alleging

      11   that, okay?    So I want the judge to understand I'm not

      12   alleging that.    But the plan does release and exculpate for

      13   negligence, right?

      14   A    Yes.

      15   Q    Okay.    Where do you have an understanding a cause of

      16   action for breach of fiduciary duty lies on the spectrum of

      17   negligence all the way to criminal conduct?

      18   A    It's -- it's not -- generally not criminal, although I

      19   suppose that breach of fiduciary duty could be criminal.

      20   Typically, it's negligence, and that you would breach a duty

      21   for either duty of care, duty of loyalty.          But it could slide

      22   to willful.    And probably most of the instances where they

      23   come up are where someone has done something willfully or

      24   grossly negligent.

      25   Q    Okay.    But -- and I would agree with you.        But there are




                                                                           Appx. 04384
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 260 of 610




                                      Seery - Cross                           203


       1   certain breaches of fiduciary duty that are possible based on

       2   simple negligence, correct?

       3   A    They are, and in these instances, they don't -- they don't

       4   rise to actionable claims because they're indemnified by the

       5   funds.

       6   Q    Okay.   You have to explain that to me.       So, the negligence

       7   claim is not actionable because someone is indemnifying it?

       8   A    Typically, there's no way to recover because it's

       9   indemnified by the fund that the investor might be in.           If it

      10   goes beyond that, then it wouldn't be.

      11   Q    Okay.   So there are potential negligence breach of

      12   fiduciary duty claims that might be subject to these

      13   exculpations and releases that would not be indemnified?

      14   A    Gross negligence and willful misconduct, certainly.

      15   Q    Okay.   Now, post-confirmation, post-confirmation, if the

      16   Debtor, or the Reorganized Debtor, rather, engages in

      17   negligence or any actionable conduct, that's when the

      18   channeling injunction comes into play, right?

      19   A    I don't quite understand your question.

      20   Q    Okay.

      21   A    Can you repeat that?

      22   Q    Sure.   To your understanding, does the channeling

      23   injunction we're looking at right now -- and you can read it

      24   if you need to -- does it apply to purely post-confirmation

      25   alleged causes of action?




                                                                          Appx. 04385
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 261 of 610




                                      Seery - Cross                           204


       1   A    It does apply to those, yes.

       2   Q    Okay.   And it says that the Bankruptcy Court will have

       3   sole and exclusive jurisdiction to determine whether a claim

       4   or cause of action is colorable, and, only to the extent

       5   legally permissible and as provided for in Article 11, shall

       6   have jurisdiction to adjudicate the underlying colorable claim

       7   or cause of action.

       8        Do you see that, sir?

       9   A    I do.

      10   Q    Okay.   And this -- the Bankruptcy Court's exclusive

      11   jurisdiction here, that would continue after confirmation?           Is

      12   that the intent behind the plan?

      13   A    It has -- it says what it says.       Will have the sole and

      14   exclusive jurisdiction to determine whether a claim is

      15   colorable, and then, to the extent permissible, it'll have

      16   jurisdiction to adjudicate.

      17   Q    Okay.   Nothing in this plan limits the period of the

      18   Bankruptcy Court's inquiry to the pre-confirmation time frame,

      19   correct?

      20   A    I don't believe it does, no.

      21   Q    Okay.   Have you taken into account the potential that this

      22   bankruptcy case will eventually be closed with a final decree?

      23   A    Have I taken that into account?

      24   Q    Well, do you know what a final decree in Chapter 11 is?

      25   A    I do.




                                                                          Appx. 04386
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 262 of 610




                                        Seery - Cross                         205


       1   Q    Okay.    So, help me understand.      If there's a final decree

       2   and the bankruptcy case is closed, then who do I go to,

       3   because the Bankruptcy Court has exclusive jurisdiction, to

       4   get this clearing injunction cleared?

       5                MR. MORRIS:    Objection to the form of the question,

       6   Your Honor.

       7                THE COURT:    Sustained.    Rephrase.

       8                MR. RUKAVINA:    Okay.

       9   BY MR. RUKAVINA:

      10   Q    Is it the plan's intent, Mr. Seery, that this channeling

      11   injunction that we just looked at would continue to apply even

      12   after a point in time in which the bankruptcy case is closed?

      13   A    I don't believe so.

      14                MR. RUKAVINA:    Again, Your Honor, someone -- I heard

      15   someone's phone right when he answered, and I didn't hear his

      16   answer, if he could please re-answer.

      17                THE WITNESS:    I don't -- I don't think if the case is

      18   closed that's the intention.

      19   BY MR. RUKAVINA:

      20   Q    Okay.    What about if there's a final decree entered?

      21                MR. MORRIS:    Objection, Your Honor.    You know, the

      22   document kind of speaks for itself.

      23                THE COURT:     Overruled.   He can answer if he knows.

      24                THE WITNESS:     Yeah.   I don't -- I don't -- I'm not

      25   making a distinction between the case being closed and the




                                                                          Appx. 04387
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 263 of 610




                                        Seery - Cross                         206


       1   final decree.     I believe in both instances they'll be pretty

       2   close to the same time and we'll make a judgment then as to

       3   how to close the case in accordance --

       4   Q    Okay.

       5   A    -- with the rules.

       6                MR. RUKAVINA:    Mr. Vasek, if you'll please scroll up

       7   to the beginning of this injunction.         A little bit higher.

       8   Right there.     Right there.

       9   BY MR. RUKAVINA:

      10   Q    The very first clause, Mr. Seery, if you'll read with me,

      11   says, Upon entry of the confirmation order -- pardon me --

      12   all enjoined parties are and shall be permanently enjoined on

      13   and after the effective date from taking any actions to

      14   interfere with the implementation or consummation of the

      15   plan.

      16        Do you see that, sir?

      17   A    I do, yes.

      18   Q    What does interfering with the implementation or

      19   consummation of the plan mean?

      20   A    It means in some way taking actions to upset, distract,

      21   stop, or otherwise prohibit or hurt the estate from

      22   implementing or consummating the plan.

      23   Q    Okay.     And is that intended -- is that clause we just

      24   read and you described intended to be very broad?

      25   A    I -- I think it's -- if the words have meaning, yes, that




                                                                          Appx. 04388
Case 21-03005-sgj Doc 134-7 Filed 12/18/21     Entered 12/18/21 02:10:25   Page 264 of 610




                                        Seery - Cross                          207


       1   it should -- it's pretty broad.

       2   Q    Okay.    Is the Debtor not able to state with more

       3   specificity what it would believe interference with the

       4   implementation or consummation of the plan would mean?

       5                MR. MORRIS:    Objection to the form of the question.

       6                THE COURT:     Sustained.

       7                THE WITNESS:     I think it's -- I think it's --

       8                THE COURT:     Sustained.

       9                MR. RUKAVINA:     Okay.

      10                THE WITNESS:     I'm sorry.

      11   BY MR. RUKAVINA:

      12   Q    Well, you just gave us four or five examples of what

      13   interfering with the implementation or consummation of the

      14   plan might be.     Why isn't that, those four or five examples,

      15   why aren't they listed here?

      16                MR. MORRIS:    Object to the form of the question.

      17                MR. RUKAVINA:     Well, Your Honor, I'll withdraw it

      18   and I'll argue this at closing argument.

      19                THE COURT:     Okay.

      20   BY MR. RUKAVINA:

      21   Q    When did the Committee agree to you serving as the

      22   Claimant Trustee?

      23   A    In the late -- in the late fall.          I've been contemplated

      24   to be the Claimant Trustee.         I'm willing to take -- if we can

      25   come to an agreement.        They have their options open if we




                                                                            Appx. 04389
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 265 of 610




                                       Seery - Cross                          208


       1   can't come to an agreement on compensation.

       2   Q      Okay.   And since the Committee agreed to you being the

       3   Claimant Trustee, you have reached a resolution with UBS,

       4   correct?

       5   A      I don't think so.    I think that that was before UBS, the

       6   UBS resolution was reached.

       7   Q      I'm sorry.   When did you reach the UBS resolution in

       8   principle with UBS?

       9   A      I don't recall the exact date, but I do recall specific

      10   conversations where some of the Committee members were

      11   supportive.     I didn't know that UBS wasn't, but I assumed

      12   that some meant not all.      And that was UBS, because I don't

      13   think we had a deal yet.

      14   Q      Well, let me ask the question in a little bit of a

      15   different way.      Whenever the Debtor reached the agreement in

      16   principle with UBS that your counsel described this morning,

      17   whenever that point in time was, the Committee had already

      18   agreed before that point in time to you serving as Claimant

      19   Trustee, correct?

      20   A      I believe so, yes.

      21   Q      And is the answer the same with respect to the

      22   HarbourVest settlement?

      23   A      I believe so.   With HarbourVest, I believe so as well,

      24   yes.

      25   Q      What about the Acis settlement?




                                                                          Appx. 04390
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 266 of 610




                                        Seery - Cross                         209


       1   A    I don't believe so.       I think Acis came first.       I don't

       2   think we settled on an agreement on Claimant Trustee until

       3   after the Acis -- certainly after the Acis agreement, maybe

       4   not after the Acis 9019.        I just don't recall.

       5   Q    Okay.    And the million-dollar cutoff for convenience

       6   class creditors, that number was a negotiated amount with the

       7   Committee, correct?

       8   A    Yes.

       9   Q    Okay.     Thank you, Mr. Seery.

      10                MR. RUKAVINA:    Your Honor, I'll pass the witness.

      11                THE COURT:    All right.   Just for purposes of time,

      12   it's 3:00 o'clock, so you went 48 minutes.

      13        Who's next?

      14                MR. DRAPER:     Mr. Taylor is.

      15                THE COURT:    All right.   Mr. Taylor, go ahead.

      16                MR. TAYLOR:   Yes, Your Honor.     At this time, what we

      17   would like the Court to do, we are asking for a brief

      18   continuance and to go into tomorrow, and there is a reason

      19   for that and I would like to explain it.

      20        Mr. Dondero has communicated an offer which we believe to

      21   be a higher and better offer than what the plan analysis,

      22   even in its most recent iteration that was just changed last

      23   night, will yield significantly higher recoveries.            Those are

      24   guaranteed recoveries.        There is a cash component to that

      25   offer.    There are some debt components, but they would be




                                                                           Appx. 04391
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 267 of 610




                                      Seery - Cross                           210


       1   secured by substantially all of the assets of Highland.

       2        We believe it's a higher and better offer, that the

       3   creditors and the Creditors' Committee, Mr. Seery, who

       4   obviously has been testifying all day on the stand, may have

       5   heard some -- some inkling of it via a text or an email he

       6   might have been able to glance at, or maybe not, because he's

       7   been too busy, and that's understandable.

       8        But we do believe it is a material offer.          It is a real

       9   offer.    And for that reason, we would like to request the

      10   Court's indulgence.      This has gone rather fast.      We believe

      11   that in the event that it does not gain any traction, then we

      12   could complete this confirmation hearing tomorrow, or it's

      13   more than likely that we could.         And therefore we would

      14   request a continuance until tomorrow morning beginning at

      15   9:30 so all the parties can confer, consider that offer, and

      16   see if it gains any traction.

      17              THE COURT:    All right.

      18              MR. POMERANTZ:     Your -- Your --

      19              THE COURT:    Go ahead.    Mr. Morris?    Or who is going

      20   to respond --

      21              MR. POMERANTZ:     Your --

      22              THE COURT:    -- to that?

      23              MR. POMERANTZ:     Your Honor, this is Jeff --

      24              THE COURT:    Mr. Pomerantz?

      25              MR. POMERANTZ:     This is Jeff Pomerantz. I will




                                                                          Appx. 04392
Case 21-03005-sgj Doc 134-7 Filed 12/18/21     Entered 12/18/21 02:10:25   Page 268 of 610




                                       Seery - Cross                            211


       1   respond.

       2        I think right at the beginning of the hearing, or

       3   slightly after, I did receive an email from Michael Lynn

       4   extending this offer.       The email was also addressed to Mr.

       5   Clemente.    As we have told Your Honor before, if the Committee

       6   is interested in continuing negotiations with Mr. Dondero, far

       7   be it from us to stand in the way.

       8        So what I would really ask is for Mr. Clemente to respond

       9   to think if -- to see if he thinks that this offer is worthy.

      10   If it's worthy and the Committee wants to consider it, we

      11   would by all means support a continuance.           If it is not, I

      12   think this is just a last-minute delay without a reason.             And

      13   if there is no likelihood of that being acceptable or the

      14   Committee wanting to engage, we would want to continue on.

      15               THE COURT:   All right.      Mr. Clemente, what say you?

      16               MR. CLEMENTE:    Yes.     Yes, Your Honor.    Matt Clemente

      17   on behalf of the Committee.

      18        Obviously, I haven't had a chance to confer with my

      19   Committee members, but there's no reason to not continue the

      20   confirmation hearing today.         I will be able to confer with

      21   them over email, et cetera, this evening.           There's simply no

      22   reason to not continue going forward at this particular point

      23   in time, Your Honor.

      24        So, although I haven't conferred with the Committee

      25   members, that would be what I would recommend to them.             And so




                                                                            Appx. 04393
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 269 of 610




                                       Seery - Cross                           212


       1   my view, the Committee's view, I believe, would be let's

       2   continue forward and we'll discuss Mr. Dondero's proposal that

       3   I know came across after opening statements this morning, you

       4   know, in due course.       But I do not believe that a continuance

       5   here is necessary or appropriate.

       6                THE COURT:    All right.   Mr. Taylor, that request is

       7   denied, so you may cross-examine.

       8                MR. TAYLOR:    Yes.   (Pause.)   I'm sorry, Your Honor.

       9   I have a couple people that are in my ear.          But yes, I'm ready

      10   to proceed.

      11                THE COURT:    Okay.

      12                               CROSS-EXAMINATION

      13   BY MR. TAYLOR:

      14   Q    Mr. Seery, I believe you can probably largely testify from

      15   your memory of the various iterations of the plan analysis

      16   versus the liquidation analysis.        But to the extent that

      17   you're unable to, we can certainly pull those up.

      18        Mr. Seery, you put forth or Highland put forth on November

      19   24th of 2020 a plan analysis versus a liquidation analysis,

      20   correct?

      21   A    I think that's the approximate date, yes.

      22   Q    Okay.    And do you recall what the plan analysis predicted

      23   the recovery to general unsecured creditors in Class 8 would

      24   be at that time?

      25   A    I believe it was in the 80s.




                                                                           Appx. 04394
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 270 of 610




                                       Seery - Cross                           213


       1   Q    And approximately 87.44 percent?

       2   A    That sounds close, yes.

       3   Q    Okay.    And then just right before -- the evening before

       4   your deposition that took place on January 29th, I believe a

       5   revised plan analysis versus a liquidation analysis was

       6   provided.     Do you remember that?

       7   A    Yes.

       8   Q    Okay.    And what was the predicted recovery to general

       9   unsecured creditors under that analysis?

      10   A    I believe that was --

      11                MR. MORRIS:    Object to the form of the question.       I

      12   just want to make sure that we're talking about the -- and

      13   maybe I misunderstood the question -- plan versus liquidation.

      14                THE COURT:    Okay.   Could you restate --

      15                MR. TAYLOR:    I said plan analysis.

      16                THE COURT:    Plan.

      17                THE WITNESS:    I believe that that initially was in

      18   the -- in the high 60s.

      19   BY MR. TAYLOR:

      20   Q    It was --

      21   A    Might have been --

      22   Q    -- 62.14 percent; is that correct?

      23   A    Okay.    Yeah.    That sounds -- I'll take your

      24   representation.       That's fine.

      25   Q    Okay.    And going back to the November 28th liquidation




                                                                           Appx. 04395
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 271 of 610




                                      Seery - Cross                           214


       1   analysis, what did Highland believe that creditors in Class 8

       2   would get under a liquidation analysis?

       3   A    I don't recall the -- if you just tell me, I'll -- I'll --

       4   if you're reading it, I'll agree with -- because I -- from my

       5   memory.

       6   Q    62.6 percent?    Is that correct?

       7   A    That sounds about right.

       8   Q    You would agree with me, would you not, that 62.6 cents on

       9   the dollar is higher than 62.14 cents, correct?

      10   A    Yes.

      11   Q    And so at least comparing the January 28th versus -- of

      12   2021 versus the November 24th of 2020, the liquidation

      13   analysis actually ended up being higher than the plan

      14   analysis, correct?

      15   A    Yes.

      16   Q    But there was -- there was some changes also in the plan

      17   analysis.    I'm sorry.   There were some subsequent changes that

      18   were done over the weekend that were provided on February 1st.

      19   Is that correct?

      20   A    Yes.

      21   Q    Okay.   And what were -- give us an overview of what those

      22   changes were.

      23   A    What are -- what are you comparing?        What would you like

      24   me to compare?

      25   Q    Okay.   The January to February plan analysis, what were




                                                                          Appx. 04396
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 272 of 610




                                      Seery - Cross                           215


       1   the changes?     Why did it go up from 62.6 to 71.3?

       2   A    The main changes, as we discussed earlier, and maybe the

       3   only major change, was the UBS claim amount, which went down

       4   significantly from the earlier iteration.         And then there was

       5   the small change related to the RCP recovery, which was a

       6   double-count.

       7   Q    Okay.    And you talked about earlier about what assumptions

       8   went into these analyses, correct?

       9   A    Yes.

      10   Q    And you said these assumptions were always done after

      11   careful consideration.      Is that a correct summation of what

      12   you said?

      13   A    I think that's fair.

      14   Q    Okay.

      15                MR. TAYLOR:   Mr. Assink, could you pull up the

      16   November assumptions?

      17   BY MR. TAYLOR:

      18   Q    I believe that's coming up, Mr. Seery.        The Court.

      19        (Pause.)

      20                MR. TAYLOR:   And go down one page, please, Mr.

      21   Assink.     Roll up.   The Assumption L.

      22   BY MR. TAYLOR:

      23   Q    So, these are the November assumptions, correct, Mr.

      24   Seery?

      25   A    I believe so, yes.




                                                                          Appx. 04397
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 273 of 610




                                       Seery - Cross                          216


       1   Q    Okay.    And what was the assumption that you made after

       2   careful consideration regarding the claims for UBS and

       3   HarbourVest?

       4   A    The plan assumes zero, that was L, for those claims.

       5   Q    Okay.    And ultimately what did -- and I believe you just

       6   announced this today and made this public today -- what is

       7   UBS's claim?     What are you proposing that it be allowed at?

       8   A    $50 million in Class 8, and then they have a junior claim

       9   as well.

      10   Q    Okay.    And what about HarbourVest?      What kind of allowed

      11   claim did they end up with?

      12   A    $45 million in Class 8 and a $35 million junior claim.

      13   Q    So your well-reasoned assumption, carefully considered,

      14   was off by $95 million; is that correct?

      15                MR. MORRIS:    Objection to the form of the question.

      16                THE COURT:    Overruled.

      17                THE WITNESS:    The difference between zero and those

      18   numbers is $95 million, yes.

      19   BY MR. TAYLOR:

      20   Q    You solicited creditors of the Highland estate based upon

      21   the November plan analysis and liquidation analysis that was

      22   provided and that we're looking at right now, correct?

      23   A    It was one of the bases, yes.       It's the plan is what --

      24   what we solicited votes for, not the projections.

      25   Q    But this was included within the disclosure statement; is




                                                                          Appx. 04398
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 274 of 610




                                      Seery - Cross                           217


       1   that correct?

       2   A    It's one of the bases.       It was included, yes.

       3   Q    And this is the bases by which you believe that the best

       4   interests of the creditors have been met better than a Chapter

       5   7 liquidation, correct?

       6   A    I believe this evidences that the best interest test would

       7   be satisfied, yes.

       8   Q    And so the record is very clear, for this Court and

       9   anybody looking at the record, no solicitation was done of the

      10   creditor body after the disclosure statement was sent out?           No

      11   updates were sent, correct?

      12   A    Updated projections were filed, but no solicitation was --

      13   was -- there was only one solicitation.        We did not resolicit.

      14   That's correct.

      15   Q    Okay.   Mr. Seery, how much are you -- after this plan, or

      16   if this plan is confirmed, how much are you going to be paid

      17   per month to be the Trustee?

      18   A    For the Trustee role, $150,000 per month is the base.

      19   Q    It's a base amount?     On top of that, you're going to

      20   receive some sort of bonus amount, correct?

      21   A    There's two bonuses.     There's a bonus for the bankruptcy

      22   case, which I'd need Court approval for, and then I'm going to

      23   seek a bonus for the Trustee work, which would be a

      24   combination of myself and the team for a performance bonus.

      25   That's to be negotiated.




                                                                          Appx. 04399
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 275 of 610




                                      Seery - Cross                            218


       1        To be fair, the Committee or the Oversight Group may not

       2   agree to any change, in which case we would not have an

       3   agreement.

       4   Q    And what would happen if you don't come to an agreement,

       5   Mr. Seery?

       6   A    They would have to get a different Plan Trustee.

       7   Q    Okay.   So it's certainly going to have to be greater than

       8   zero, correct?

       9   A    Typically.

      10   Q    Is it going to be in the nature of three or four percent

      11   of the sales proceeds, or have you considered that?

      12   A    Oh, I'm sorry.    Yeah, you mean the bonus?        No.    I've been

      13   thinking -- my apologies.         I misunderstood.   I thought you

      14   meant any number.     I haven't -- I haven't had negotiation with

      15   them.   I'm thinking about looking at the full recovery of the

      16   team -- for the team, looking at expected performance numbers,

      17   and then trying to negotiate a structure of bonus compensation

      18   that would be payable to the whole team, and then allocated by

      19   the CEO (garbled) which would be made.

      20   Q    When predicting the expenses of the Trust going forward in

      21   your projections, did you build in an amount for a bonus fee?

      22   A    No.   It wouldn't be part of the expenses.         It would come

      23   out at the end.

      24   Q    Okay.   So those additional expenses are not shown in the

      25   plan analysis, correct?




                                                                           Appx. 04400
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 276 of 610




                                      Seery - Cross                           219


       1   A    No, they're not.     It's just not going to be an expense.

       2   It'll be a -- as an operating expense.        It'll be an

       3   expenditure at the end out of distributions.

       4   Q    Okay.    And did you subtract those from the distributions?

       5   A    No.

       6   Q    Okay.    A Chapter 7 trustee is not going to charge $150,000

       7   or more to monetize these assets, is he?

       8   A    No.

       9   Q    Have you priced how much D&O insurance is going to be on a

      10   go-forward basis post-confirmation?

      11   A    I'm sorry.    I couldn't -- couldn't hear you.

      12   Q    Sorry.    Let me get closer to my mic.      Have you priced what

      13   D&O insurance is going to run the Trust on a go-forward basis

      14   post-confirmation?

      15   A    Yes.

      16   Q    Okay.    And what are you projecting that to run?

      17   A    About $3-1/2 million.

      18   Q    And is that per annum for over the two-year life of this

      19   plan?

      20   A    Well, it's the two-year projection period, not life.           But

      21   I expect that that's for the two-year projection period.

      22   Q    Okay.    So approximately one point -- I'm sorry, you said

      23   $3.5 million, correct?

      24   A    Yes.

      25   Q    Okay.    So, $1.75 million per year?




                                                                          Appx. 04401
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 277 of 610




                                      Seery - Cross                            220


       1   A    Yes.

       2   Q    On top of the minimum $1.8 million per year that you're

       3   going to be paid, correct?

       4   A    Well, that's -- that's the base compensation.            But, again,

       5   to be fair to the Oversight Committee, they haven't approved

       6   it yet.     So the Committee, the Committee reserves their rights

       7   to negotiate a total package.

       8   Q    And there's going to be a Litigation Trustee, correct?

       9   A    Yes.

      10   Q    And that Litigation Trustee is going to be paid some

      11   amount of compensation, correct?

      12   A    Yes.

      13   Q    That has not been negotiated yet, correct?

      14   A    No, I believe -- I believe the base piece has.           But his --

      15   I don't know what the contingency fee or if that's been

      16   negotiated yet.     I don't know.

      17   Q    And what is the base fee for the Litigation Trustee?

      18   A    My recollection is it was about $250,000 a year, some

      19   number in that area.

      20   Q    Thank you.    So, at this point, over the two-year period,

      21   we're looking at approximately $3.6 million to you, $3.5

      22   million to the D&O insurance, and approximately $500,000 base

      23   fee to the Litigation Trustee, plus a contingency.            Is that

      24   correct?

      25   A    That's probably real close, yes.




                                                                           Appx. 04402
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 278 of 610




                                      Seery - Cross                           221


       1   Q    Okay.   And how about U.S. Trustee fees?        You've estimated

       2   of how much those are going to be during the two-year period,

       3   correct?

       4   A    They're built into the plan up 'til -- I think it's only

       5   up until the actual effective date, but I don't recall the

       6   specifics.

       7   Q    Okay.   And U.S. Trustee fees, the case is going to stay

       8   open and those are going to continue to have to be paid, even

       9   after confirmation, correct?

      10   A    Yes.

      11   Q    Okay.   And do you have an estimate of how much those are

      12   going to run per annum or over that two-year period?

      13   A    I don't recall, no.

      14   Q    Okay.   Well, they're provided within your projections,

      15   correct?

      16   A    Yes.

      17   Q    Okay.   A Chapter 7 trustee would not have to incur any of

      18   these costs, would they?

      19   A    I don't think they'll have to incur Chapter -- U.S.

      20   Trustee fees.    I don't know whether they would bring on a

      21   litigation trustee or not.        I would assume, since there's --

      22   appear to be valuable claims, they probably would, but perhaps

      23   they would do it themselves.        So I don't know the specifics of

      24   what they would do.

      25   Q    In preparing your liquidation analysis, did you ask




                                                                          Appx. 04403
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 279 of 610




                                      Seery - Cross                           222


       1   Pachulski if they would be willing to work for a Chapter 7

       2   trustee if one was appointed?

       3   A    I didn't specifically ask, no.

       4   Q    Did you ask DIS, your, for lack of a better word,

       5   financial advisors in this case, if they would be willing to

       6   work with a Chapter 7 trustee?

       7   A    DSI.    No, I did not specifically ask them.

       8   Q    Okay.   All right.    Any of the accountants that you're

       9   working with, did you ask them if they would be willing to

      10   work with a Chapter 7 trustee?

      11   A    I didn't specifically ask them, no.

      12   Q    Okay.   The proposed plan has no requirements that you

      13   notice any potential sale of either Highland assets or

      14   Highland subsidiary assets; is that correct?

      15   A    Do you mean after the effective date?

      16   Q    Yes.

      17   A    No, it does not.

      18   Q    In the SSP sale, which is a subsidiary of Trussway, which

      19   is a subsidiary of Highland, or actually it's a sub of a sub

      20   of Highland, you conducted the sale of SSP, correct?

      21   A    The team did, yes.     I was part.

      22   Q    All right.    That was not noticed to the creditor body; is

      23   that correct?

      24   A    That's correct.

      25   Q    And it is the Debtor's and your position that no notice




                                                                          Appx. 04404
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 280 of 610




                                      Seery - Cross                           223


       1   was required because this was a sub of a sub and therefore

       2   this was in the ordinary course?

       3   A    Not exactly, no.

       4   Q    Okay.   Then what is your position?

       5   A    It was in the ordinary course.       It was -- I believe it's a

       6   sub of a sub of a sub, and a significant portion of the

       7   interests are owned by third parties.

       8   Q    It is possible, is it not, that had you noticed this to

       9   the larger creditor body, that you might have engendered a

      10   competitive bidding situation that might have reached a higher

      11   return for investors, correct?

      12   A    The same possibility is it could have gone lower.

      13   Q    But it is possible, correct?

      14   A    Certainly possible.

      15   Q    In fact, there is normally requirements under the

      16   Bankruptcy Code and the Rules that asset sales are noticed out

      17   to the creditor body, correct?

      18   A    Asset sales that -- property of the estate, yes.          Other

      19   than in the ordinary course, of course.

      20   Q    I believe you have described Mr. Dondero as being very

      21   litigious within this case; is that correct?

      22   A    I believe so, yes.

      23   Q    Okay.   Did Mr. Dondero initiate any litigation in this

      24   case prior to September 2020?

      25   A    Prior to September?     I don't believe so.      I don't know




                                                                          Appx. 04405
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 281 of 610




                                      Seery - Cross                            224


       1   when he filed the claim from NexPoint.        It certainly indicated

       2   that -- I believe it was from NexPoint.        My memory is slightly

       3   off here.    He filed a claim in -- administrative claim, which

       4   effectively is like you're bringing a complaint, against HCMLP

       5   for the management of Multi-Strat and the sale of the life

       6   settlement policies out of Multi-Strat, which was conducted in

       7   the spring.

       8   Q    And wasn't Mr. Dondero seeking document production related

       9   to that sale?

      10   A    No.

      11   Q    Okay.    I believe that the preliminary injunction that you

      12   talked about and were questioned earlier, the plan asks to

      13   enjoin (garbled) party from allowing the plan to go effective.

      14   Is that correct?

      15   A    I'm sorry.    I didn't understand you question.          There was a

      16   -- there was a bunch of interference.

      17   Q    Okay.    Sure.   I'm sorry about that.     I don't know if

      18   that's -- I don't think that's me, but --

      19   A    It may not be.    It sounded like someone else.

      20   Q    The injunction prohibits anybody from interfering with the

      21   plan going effective, correct?

      22   A    The plan injunction?

      23   Q    Yes.

      24   A    Yes.

      25   Q    Okay.    Just so I'm clear, is the plan injunction




                                                                            Appx. 04406
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 282 of 610




                                      Seery - Cross                            225


       1   attempting to strip appellate rights of Mr. Dondero?

       2   A    No.

       3   Q    Okay.    So, if, for instance, if he were to file any appeal

       4   of an order confirming this plan, he wouldn't be in violation

       5   of that plan injunction?

       6   A    I don't think so, because the order wouldn't be final.

       7   Q    Okay.    But it -- it says upon entry of a confirmation

       8   order, you're enjoined from doing so.         So that's not the

       9   intent?

      10   A    It certainly would not be my intent.         I don't think that

      11   anybody had that in mind.

      12   Q    Okay.    And if Mr. Dondero were to seek a stay pending

      13   appeal either during that 14-day period or afterwards, is that

      14   plan injunction attempting to stop that -- that sort of

      15   action?

      16   A    I apologize.    You're breaking up.       But I think I

      17   understood your question.         No, it was -- it was your screen as

      18   well.   No.   If either this Court stays its own order or a

      19   higher court says that the order is stayed, then there would

      20   be no way there could be any allegation that it's interfering

      21   with an order if it's not effective.

      22   Q    Mr. Dondero opposed the Acis sale, correct?

      23   A    The Acis settlement?

      24   Q    Correct.

      25   A    Yes.




                                                                           Appx. 04407
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 283 of 610




                                      Seery - Cross                            226


       1   Q    After he opposed the Acis settlement, the next filing Mr.

       2   Dondero made was requesting that the Debtor notice the sale of

       3   any assets or any major subsidiary assets.         Is that correct?

       4   A    I don't recall the sequence of his filings.         I think that

       5   Judge Lynn at least sent a letter to that effect.             I don't

       6   recall if there is a filing to that effect.

       7   Q    Did Mr. Dondero, through his counsel, attempt to resolve

       8   that motion without filing anything further?

       9   A    I don't recall the specifics of the motion.         I know they

      10   asked for some sort of relief that -- that we thought was

      11   inappropriate.

      12   Q    When the Court postponed any hearing on Mr. Dondero's

      13   request for relief until the eve of the confirmation hearing,

      14   and Mr. Pomerantz announced that no sales were expected before

      15   confirmation, did Mr. Dondero withdraw his motion?

      16   A    Again, I don't recall the specifics of the motion.            I only

      17   recall the letter from Judge Lynn.

      18   Q    Did Mr. Dondero do anything more than object to the

      19   HarbourVest deal?

      20   A    Not that I know of.

      21   Q    Did Mr. Dondero do anything more than respond to the

      22   Defendants' injunction suit?

      23              MR. MORRIS:    Objection to the form of the question.

      24   I mean, -- objection to the form.

      25              THE COURT:    Overruled.




                                                                            Appx. 04408
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25    Page 284 of 610




                                      Seery - Cross                             227


       1              MR. TAYLOR:    I apologize.     I should have said the

       2   Debtor's injunction suit.

       3              THE WITNESS:    Yeah, the -- I'm not sure of the

       4   specific order, but certainly the communications with me,

       5   which I think are prior to the order.         The communications with

       6   Mr. Surgent, which I believe are after the order.              Certain

       7   communications with Mr. Waterhouse, which were oral.             Those

       8   were all similarly difficult and obstreperous actions.

       9   BY MR. TAYLOR:

      10   Q    Has Mr. Dondero commenced any adversary proceeding or

      11   litigation in this case other than filing a competing plan?

      12              MR. MORRIS:    Objection to the form of the question.

      13              THE COURT:    Over --

      14              THE WITNESS:    Yeah, I don't --

      15              THE COURT:    -- ruled.

      16              THE WITNESS:    I don't believe he's commenced an

      17   adversary.    I'm sorry, Judge.      I don't believe he's commenced

      18   an adversary proceeding, no.

      19   BY MR. TAYLOR:

      20   Q    Mr. Dondero didn't file any opposition to the life

      21   settlement sale, did he?

      22   A    We didn't do the life settlement (garbled) Court.

      23   Q    Right.   Again, that wasn't noticed through the -- this

      24   Court, was it?

      25   A    It was an -- the reason was it was an asset of Multi-Strat




                                                                             Appx. 04409
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 285 of 610




                                      Seery - Cross                           228


       1   Fund.   It wasn't an asset of the Debtor's.

       2   Q    Okay.   Mr. Dondero did have concerns regarding the life

       3   settlement sale, correct?

       4   A    Yes.

       5   Q    In fact, he believed that they were being sold for

       6   substantially less than what could have otherwise been

       7   received, correct?

       8   A    He may have.

       9   Q    And if you conduct any subsequent sales for less than

      10   market value that might ultimately prevent the waterfall from

      11   ever reaching Mr. Dondero, he would have no recourse under

      12   this proposed plan to object to this sale or otherwise have

      13   any comment on it.     Is that correct?

      14   A    I clearly object to the thinking that that was less than

      15   market value.    It was -- it was more than market value.         So I

      16   don't -- I disagree with the premise of your question.

      17   Q    So, I don't believe that was the question that was asked.

      18   The question that was asked is, as you move forward with your

      19   -- what I will characterize as a wind-down plan, not putting

      20   that word in your mouth -- but as you execute forward on your

      21   plan, as these sales of these assets go through, no notice is

      22   going to be provided, correct?

      23   A    Not necessarily.     It depends on the asset and what we

      24   think of the, you know, the -- the position of the parties at

      25   the time.




                                                                          Appx. 04410
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 286 of 610




                                      Seery - Cross                           229


       1        If we have a -- if we have a transaction that's pending

       2   that wouldn't be hurt by a notice and that we'd be able to get

       3   the Court's imprimatur to maybe more better insulate, if you

       4   will, against Mr. Dondero's attacks, then we may well come to

       5   the Court to seek that.

       6        The problem with noticing sales is that -- that it often

       7   depresses value.     That's just not the way folks outside of the

       8   bankruptcy world (audio gap) sales.

       9   Q    So there's no requirement that either public or private

      10   notice be provided, correct?

      11   A    No.   Meaning it is correct.

      12   Q    Okay.   And if Mr. Dondero had objections either to the

      13   pricing of the sale or the manner and means by which the sale

      14   was being conducted, he would be prohibited by the plan

      15   injunction from bringing any objection to such sale, correct?

      16   A    I believe so, yes.

      17   Q    Mr. Dondero also had concerns regarding the OmniMax sale,

      18   correct?

      19   A    Mr. Dondero did not go along with the OmniMax sale with

      20   the assets that he managed.       I don't know if he had concerns

      21   with -- with our sale or OmniMax's interests.

      22   Q    Did Mr. Dondero ever express to you any concern that the

      23   value wasn't being maximized regarding the sale of those

      24   assets?

      25   A    He thought he could get more.       I don't know that he




                                                                          Appx. 04411
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 287 of 610




                                      Seery - Cross                           230


       1   thought that he could get more for his assets that he was

       2   managing or whether he thought he could get more for all of

       3   the assets.

       4   Q    Other than voicing those concerns, did Mr. Dondero file

       5   any pleading with this Court attempting to block that sale?

       6   A    Pleading with the Court?      No.

       7              MR. TAYLOR:     Your Honor, I would like to confer with

       8   my colleagues just very briefly and see if they have anything

       9   further.    And even if they don't, Mr. Lynn of my firm would

      10   like a very brief moment to address the Court prior to me

      11   passing the witness.

      12        So, if I may have a literally hopefully one-minute break

      13   where I can turn my camera off and my microphone off to confer

      14   with my colleagues, and then move forward?

      15              THE COURT:     Okay.   Well, you can have a one-minute

      16   break, but we're going to continue on with cross-examination

      17   at this point.    Okay?    I'm not sure what you meant by Mr. Lynn

      18   wants to raise an issue at this point.         Could you elaborate?

      19              MR. TAYLOR:     I will get some elaboration during our

      20   30-second to one-minute break, Your Honor.         I was just passed

      21   a note.

      22              THE COURT:     All right.     So, but I'll just you know,

      23   --

      24              A VOICE:   Your Honor?

      25              THE COURT:     -- I'm inclined to continue with the




                                                                          Appx. 04412
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 288 of 610




                                      Seery - Cross                             231


       1   cross-examination.      You know, this isn't a time for, you know,

       2   arguments or anything like that.         All right?

       3        So, we'll take a one-minute break.         You can turn off your

       4   audio and video for one minute, and come back.

       5        (Off the record, 3:33 p.m. to 3:34 p.m.)

       6              THE WITNESS:    Your Honor?

       7              THE COURT:    Yes?

       8              THE WITNESS:    It's Jim Seery.      Can I turn it into

       9   just a two-minute break, since I've sat in my seat, and it

      10   would be better for him to just continue straight through.              I

      11   could use one or two minutes.

      12              THE COURT:    Okay.

      13              THE WITNESS:    I apologize.

      14              THE COURT:    All right.     Well, it's been more than

      15   minute.    Let's just say a five-minute break for everyone, and

      16   we'll come back at 3:39 Central time.         Okay.

      17              THE WITNESS:    Okay.     Thank you, Your Honor.      I

      18   appreciate that.

      19        (A recess ensued from 3:35 p.m. until 3:40 p.m.)

      20              THE CLERK:    All rise.

      21              THE COURT:    Please be seated.      All right.     We are

      22   back on the record.      Mr. Taylor, are you there?

      23              MR. TAYLOR:    I am, Your Honor.      My video is not

      24   wanting to start, but my -- I believe my audio is on.

      25              THE COURT:    Okay.    After you went offline for your




                                                                           Appx. 04413
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 289 of 610




                                      Seery - Cross                           232


       1   one-minute break, Mr. Seery asked for a five-minute bathroom

       2   break, or a couple-minute.        Anyway, we've been gone on a

       3   bathroom break.     We're back now.

       4              MR. TAYLOR:    Thank you.    I was actually -- I was

       5   still listening with one ear, --

       6              THE COURT:    Okay.

       7              MR. TAYLOR:    -- Your Honor, so I understand.

       8              THE COURT:    All right.

       9              MR. TAYLOR:    So, thank you.

      10              THE COURT:    Are you finished with cross, or no?

      11              MR. TAYLOR:    Just a little bit of a follow-up.

      12                        CROSS-EXAMINATION, RESUMED

      13   BY MR. TAYLOR:

      14   Q    Mr. Seery, you had previously testified that Mr. Dondero's

      15   counsel had threatened you and/or the independent board, I was

      16   not exactly sure who you were referring to, with suits, and I

      17   believe you said a hundred million dollars' worth of suits and

      18   getting dragged into litigation.

      19        Is that still your testimony today, that you were -- you

      20   were threatened with suit by this firm of a suit of over a

      21   hundred million dollars?

      22   A    I believe what I was told by my counsel was that, not Mr.

      23   Dondero's, but one of the other counsel, who I can name, said

      24   specifically that Dondero will sue Seery for hundreds of

      25   millions of dollars.     We're going to take it up to the Fifth




                                                                          Appx. 04414
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 290 of 610




                                       Seery - Cross                             233


       1   Circuit, get it reversed, and he'll go after him.

       2   Q    Okay.    So it was not Mr. Dondero's counsel, and you were

       3   not -- is that correct?

       4   A    No.    It was one of the other counsel on the phone today.

       5   Q    Okay.    And you base that not upon your own personal

       6   knowledge but based on some -- something else that you were

       7   told, correct?

       8   A    Yes.    By my counsel.

       9   Q    Thank you.

      10                MR. TAYLOR:    Yes, Your Honor.    We can pass the

      11   witness.

      12                THE COURT:    Okay.   So, you've gone, or you and Mr.

      13   Rukavina collectively have gone one hour and 17 minutes.               Mr.

      14   Draper, you're next.

      15                MR. DRAPER:    Yes, Your Honor.    Thank you.     I

      16   basically have no more than ten questions, so I gather the

      17   Court will welcome that.

      18                THE COURT:    Okay.

      19                               CROSS-EXAMINATION

      20   BY MR. DRAPER:

      21   Q    Mr. Seery, has the new general partner been formed yet?

      22   A    I don't know if they've been -- we've actually done the

      23   formation, but it -- it would be in process.

      24   Q    So it either has been formed or has not been formed?

      25   A    I don't -- I don't know the answer.




                                                                              Appx. 04415
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 291 of 610




                                      Seery - Cross                           234


       1   Q    Okay.   Now, going forward, Judge Nelms and Mr. Dubel will

       2   have nothing to do with the Reorganized Debtor, correct?

       3   A    Not necessarily, but they don't have a specific role at

       4   this time.

       5   Q    They won't be officers or directors of the new general

       6   partner or the Reorganized Debtor, correct?

       7   A    I don't -- I don't believe so, but it's not set in stone.

       8   Q    All right.    Has any finance -- has any party who is the

       9   beneficiary of an exculpation, a release, or the channeling

      10   injunction contributed anything to this plan of reorganization

      11   in terms of money?

      12   A    No.

      13   Q    Have you ever interviewed a trustee as to how they would

      14   liquidate the assets or monetize the assets in this case?

      15   A    No.

      16   Q    And last question is, is there any bankruptcy prohibition

      17   that you're aware of that a Chapter 7 trustee could not do

      18   what you're doing?

      19   A    Which -- which -- what do you mean, under the plan?

      20   Q    No.   Could not monetize the assets of the estate in the

      21   manner that you're attempting to monetize them.

      22   A    I don't think there's a specific rule, but I just haven't

      23   -- I haven't seen that before, no.        So I don't think there's a

      24   specific rule that I know of.

      25   Q    Okay.




                                                                          Appx. 04416
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 292 of 610




                                       Seery - Cross                          235


       1              MR. DRAPER:     I have nothing further for this witness.

       2              THE COURT:     All right.    I should have asked, we had a

       3   couple of other objectors.        Ms. Drawhorn, did you have any

       4   questions?

       5              MS. DRAWHORN:     I have no questions, Your Honor.

       6              THE COURT:     All right.    Were there any other

       7   objectors out there that I missed that might have questions?

       8        All right.    Any redirect?

       9              MR. MORRIS:     Your Honor, if I may, can I -- can I

      10   just take a short minute to confer with my colleagues?

      11              THE COURT:     Sure.   You can --

      12              MR. MORRIS:     Thank you.

      13              THE COURT:     -- put you --

      14              MR. MORRIS:     Two -- two minutes, Your Honor.

      15              THE COURT:     Okay.

      16        (Pause, 3:45 p.m. until 3:48 p.m.)

      17              THE COURT:     All right.    We've been a couple of

      18   minutes.    Mr. Morris?

      19              MR. MORRIS:     Yes, Your Honor.

      20              THE COURT:     What are --

      21              MR. MORRIS:     Just, just a few points, Your Honor.

      22              THE COURT:     Okay.

      23              MR. MORRIS:     Hold on a sec.    You ready, Mr. Seery?

      24              THE WITNESS:     I am, yes.

      25                             REDIRECT EXAMINATION




                                                                          Appx. 04417
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 293 of 610




                                    Seery - Redirect                          236


       1   BY MR. MORRIS:

       2   Q    You were asked a number of questions about your

       3   compensation.     Do you recall all that?

       4   A    Yes, I do.

       5   Q    And you testified to the $150,000 a month.         Do you recall

       6   that?

       7   A    Yes.

       8   Q    Under the -- under the documentation right now, your

       9   compensation is still subject to negotiation with the

      10   Committee; is that right?

      11   A    Yes, it is.

      12   Q    Okay.   You were asked a couple of questions about the

      13   conduct of Mr. Dondero.      Earlier, you testified that the

      14   monetization plan was filed under seal at around the time of

      15   the mediation.     Do I have that right?

      16   A    Yes.    Right at the start of the mediation.

      17   Q    Okay.   And is that the first time that the Debtor made the

      18   constituents aware, including Mr. Dondero, that it intended to

      19   use that as a catalyst towards getting to a plan?

      20   A    That's the first time that we filed it, but that plan had

      21   been discussed prior to that.

      22   Q    And do you recall that there came a point in time where

      23   you -- when the Debtor gave notice that it intended to

      24   terminate the shared services agreements with the Dondero-

      25   related entities?




                                                                          Appx. 04418
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 294 of 610




                                      Seery - Redirect                        237


       1   A    Yes.

       2   Q    And when did that happen?

       3   A    That was about 60 -- now it's like 62 days ago.

       4   Q    Uh-huh.    And you know, from your perspective, from the

       5   filing of the monetization plan in August through the notice

       6   of shared services, is that what you believe has contributed

       7   to the resistance by Mr. Dondero to the Debtor's pursuit of

       8   this plan?

       9   A    Well, I think there's a number of factors that

      10   contributed, but the evidence that I've seen is that when we

      11   started talking about a transition, if there wasn't going to

      12   be a deal, if Mr. Dondero couldn't reach a deal with the

      13   creditors, we were going to push forward with the monetization

      14   plan.   And the monetization plan required the transition of

      15   the employees.     And indeed, it called specifically, and we had

      16   testimony regarding it all through the case, about the

      17   employees being terminated or transferred.

      18        In order to transfer them over to an entity that's

      19   related, Mr. Dondero pulls all of those strings.          And he

      20   refused to engage on that.        We started in the fall.     We

      21   specifically told employees of the Debtor not to engage.           They

      22   couldn't spend his money, which made sense --

      23               MR. TAYLOR:    Objection, Your Honor.

      24               THE WITNESS:    So, very -- that --

      25               THE COURT:    Just -- there's an objection.




                                                                          Appx. 04419
Case 21-03005-sgj Doc 134-7 Filed 12/18/21     Entered 12/18/21 02:10:25   Page 295 of 610




                                      Seery - Redirect                          238


       1               MR. MORRIS:    There's an objection.

       2               THE WITNESS:    I'm sorry.

       3               THE COURT:    There was an objection.

       4               MR. TAYLOR:    Yes, Your Honor.      Object --

       5               THE COURT:    Go ahead.

       6               MR. TAYLOR:    Yes, Your Honor.      This is Clay, Clay

       7   Taylor.    Objection.     He's directly said Mr. Dondero told other

       8   employees x, and that is purely hearsay, not based upon his

       9   personal opinion, or his personal knowledge, and therefore

      10   that part of the answer should be struck.

      11               MR. MORRIS:    Your Honor, it's a statement against

      12   interest.

      13               THE COURT:    Overrule the objection.       Go ahead.

      14               THE WITNESS:    Yeah.     The difficulty of transitioning

      15   this business, I've equated it to doing a corporate carve-out

      16   transaction on an M&A side.         It's hard, and you need

      17   counterparties on the other side willing to engage.             And what

      18   we went through over the weekend, on Friday, was seemingly

      19   that the Funds, you know, directed by Mr. Dondero, just

      20   haven't engaged.

      21        We actually gave them an extra two weeks to engage,

      22   because it's -- they've really been unable to do anything.              I

      23   mean, hopefully, we've got the employees working in a way that

      24   can -- that can foster and get around some of this

      25   obstreperousness, and I've used that word before, but that's




                                                                            Appx. 04420
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 296 of 610




                                    Seery - Redirect                          239


       1   what it is.    It's really an attempt to just prevent the plan

       2   from going forward.

       3        And at some point, the plan will go forward.         And if we

       4   are unable to transition people, we will simply have to

       5   terminate them.     And that is not a good outcome for those

       6   employees, but it's not a good outcome for the Funds, either.

       7   And the Funds, Mr. Dondero, the Advisors, the boards, nobody

       8   wants to do anything except come in this court.

       9   BY MR. MORRIS:

      10   Q    Do you recall being asked about Mr. Dondero and certain

      11   things that he didn't do and certain actions that he hadn't

      12   taken?

      13   A    Yes.

      14   Q    By Mr. Taylor?     To the best of your recollection, did Mr.

      15   Dondero personally object to the HarbourVest settlement?

      16   A    I -- I don't recall if he did or if it was one of the

      17   entities.

      18   Q    It was Dugaboy.     Does that refresh your recollection?

      19   A    Dugaboy certainly objected, yes.

      20   Q    And do you understand that Dugaboy has appealed the

      21   granting of the 9019 order in the HarbourVest settlement?

      22   A    Yes.

      23   Q    And Mr. Taylor asked you to confirm that Mr. Dondero

      24   hadn't taken any action with respect to the life settlement

      25   deal.    Do you remember that?




                                                                          Appx. 04421
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 297 of 610




                                      Seery - Redirect                         240


       1   A    I do.

       2   Q    But are you aware that Dugaboy actually filed an

       3   administrative claim relating to the alleged mismanagement of

       4   the life settlement sale?

       5   A    Yes, I did, I did allude to that.         I wasn't sure it was

       6   Dugaboy, but -- but that was very --

       7   Q    Uh-huh.

       8   A    -- very early on, an objection filed in the form of an

       9   administrative claim or complaint against, if you will,

      10   against Highland for the management of Multi-Strat.

      11   Q    Uh-huh.    And Mr. Dondero didn't personally file any motion

      12   seeking to inhibit the Debtor from managing the CLO assets; is

      13   that right?

      14   A    No, not the CLO assets, no.

      15   Q    Yeah.    But the Funds and the Advisors did.        That was the

      16   hearing on December 16th.         Do you recall that?

      17   A    Yeah.    That was the -- the Funds.       K&L Gates, the Funds,

      18   and the various Advisors.

      19   Q    All right.    Do you recall Mr. Rukavina asking you whether

      20   there was any evidence in the record to support your testimony

      21   that there was an agreement in place to assume the CLO

      22   management agreements?

      23   A    I recall the question, yes.

      24   Q    Okay.

      25                MR. MORRIS:   Your Honor, I'm going to ask Ms. Canty




                                                                           Appx. 04422
Case 21-03005-sgj Doc 134-7 Filed 12/18/21      Entered 12/18/21 02:10:25   Page 298 of 610




                                         Seery - Redirect                        241


       1   to put up on the screen the Debtor's omnibus reply to the plan

       2   objections.

       3                  THE COURT:    Okay.

       4                  MR. MORRIS:    It was filed -- it was filed on January

       5   22nd.    And if we can go, I think, to -- I think it's Paragraph

       6   -- I think it's Paragraph 135 on Page 71.            Yeah.   Okay.

       7   BY MR. MORRIS:

       8   Q      Take a look at that, Mr. Seery.          Does that -- does that

       9   statement in Paragraph 135 accurately reflect the

      10   understanding that's been reached between the Debtor and the

      11   CLO Issuers with respect to the Debtor's assumption of the CLO

      12   management agreements?

      13   A      Yes.    I think that's consistent with what I testified to

      14   earlier, the substance of the agreement.

      15                  MR. MORRIS:    And if we can just scroll to the top,

      16   just to see the date.          Or the bottom.    I guess the top.

      17                  THE WITNESS:    Do you mean the date of this pleading?

      18   BY MR. MORRIS:

      19   Q      Yeah.    So, it was filed on January 22nd, right, ten days

      20   ago?    Okay.

      21   A      That's correct.

      22                  MR. MORRIS:    I'd like to put up on the screen an

      23   email, Your Honor, that I'd like to mark as Debtor's Exhibit

      24   10A.    And this is --

      25   BY MR. MORRIS:




                                                                             Appx. 04423
Case 21-03005-sgj Doc 134-7 Filed 12/18/21     Entered 12/18/21 02:10:25   Page 299 of 610




                                       Seery - Redirect                         242


       1   Q    Do you recall, Mr. Seery, you testified that the agreement

       2   was reflected in an email?

       3   A    Yes.

       4   Q    Is this the email that you're referring to?

       5                MR. MORRIS:    If we could scroll down.      Right there.

       6                THE WITNESS:    Yes.

       7                MR. MORRIS:    Okay.   One -- the email below.      Okay.

       8   Right there.

       9   BY MR. MORRIS:

      10   Q    Is that the -- is that the email you had in mind?

      11   A    It was the series of emails.         We -- we had a -- I think I

      12   testified in the prior testimony, or my -- one of my

      13   depositions, that we had had a number of conversations with

      14   the Issuers and their counsel, and this was the summary of the

      15   agreement that was contained in these emails.

      16   Q    Okay.    And this is, this is the same date as the omnibus

      17   reply that we just looked at, right, January 22nd?

      18   A    That's correct.

      19   Q    Okay.    You were asked a question, I think, late in your

      20   cross-examination about a Chapter 7 trustee's ability to sell

      21   the assets in the same way as you are proposing to do.             Do you

      22   recall that testimony?

      23   A    Yes.

      24   Q    And I think, if I understood correctly, the question was

      25   narrowly tailored to whether there was any legal impediment to




                                                                            Appx. 04424
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 300 of 610




                                    Seery - Redirect                           243


       1   a trustee doing -- performing the same functions as you.            Do I

       2   have that right?

       3   A    That's the question I was asked, whether the Bankruptcy

       4   Code had a specific prohibition.

       5   Q    Okay.   And I think, I think you testified that you weren't

       6   aware of anything.     Is that right?

       7   A    That's correct.

       8   Q    All right.    But let's talk about practice.       Do you think a

       9   Chapter 7 trustee will realize the same value as you and the

      10   team that you're assembling will, in terms of maximizing value

      11   and getting the maximum recovery for the assets?

      12   A    No.   As I testified earlier, you know, I've been working

      13   with these assets now for a year.        It's a complicated

      14   structure.    The assets are all slightly different.          And

      15   sometimes much more than slightly.        And the team that we're

      16   going to have helping managing is familiar with the assets as

      17   well.   We believe we'll be able to execute very well in the

      18   markets that we (garbled).

      19   Q    Do you think a Chapter 7 trustee will have a steep

      20   learning curve in trying to even begin to understand the

      21   nature of the assets and how to market and sell them?

      22   A    I think anybody coming into this, the way this company is

      23   set up, as an asset manager, and the diversity of the assets,

      24   would have a steep learning curve, yes.

      25   Q    Do you have any view as to whether the perception in the




                                                                           Appx. 04425
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 301 of 610




                                    Seery - Redirect                           244


       1   marketplace of a Chapter 7 trustee taking over to sell the

       2   assets will have an impact on value as compared to a post-

       3   confirmation estate of the type that's being proposed under

       4   the plan?

       5   A    Yes, I do, and it certainly would be negative, in my

       6   experience.    Typically, assets are not conducted -- asset

       7   sales are not conducted through a bankruptcy court, and

       8   certainly not with a Chapter 7 trustee that has to sell them,

       9   and generally is viewed as having to sell them quickly.            So we

      10   -- we approach each asset differently, but certainly in a way

      11   that would be much more conducive to maximizing value than a

      12   Chapter 7 trustee could, just by the nature of their role.

      13   Q    Is it -- is it your understanding that, under the proposed

      14   plan and under the proposed corporate governance structure,

      15   that the Claims Oversight Committee will -- will manage you?

      16   That you'll report to that Committee and that they'll have the

      17   opportunity to make their assessment as to the quality of your

      18   work?

      19   A    Yeah, absolutely.     And that's consistent with what we've

      20   done before in this case.         Even where it wasn't an asset of

      21   the estate or was being sold in the ordinary course, we spent

      22   time with the Committee and the Committee professionals before

      23   selling assets.

      24   Q    And you've worked with the Committee for over -- for a

      25   year now, right?




                                                                           Appx. 04426
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 302 of 610




                                    Seery - Redirect                          245


       1   A    It's over a year.

       2   Q    And the Committee is comfortable with you taking this

       3   role; is that right?

       4   A    I think they're supportive of it.        Comfortable might be

       5   not the right word choice.

       6   Q    Okay.   I appreciate the clarification.       And do you have

       7   any reason to believe that the -- that the Oversight Committee

       8   is going to allow you the unfettered discretion to do whatever

       9   you want with the assets of the Trust?

      10   A    Not a chance.    Not with this group.      Nor would I want to.

      11   There's no right or wrong answer for most of these things, and

      12   the collaborative views from professionals and people who have

      13   an economic stake in the outcome will be helpful.

      14   Q    Okay.   You were asked some questions about the November

      15   projections and the -- and the assumption that was made that

      16   valued the HarbourVest and the UBS claims at zero.            Do you

      17   recall that?

      18   A    Yes.

      19   Q    As of that time, was the Debtor still in active litigation

      20   with both of those claim holders?

      21   A    Very much so.

      22   Q    And after the disclosure statement was issued, do you

      23   recall that the Court entered its order on UBS's Rule 3018

      24   motion?

      25   A    Yes.




                                                                           Appx. 04427
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 303 of 610




                                    Seery - Redirect                          246


       1   Q    And do you recall what the -- what the claims estimate was

       2   for voting purposes under that order?

       3   A    It was about $95 million.       That was -- it was together

       4   with the summary judgment orders of that date.         They were

       5   separate orders, but that was the lone hearing.

       6   Q    And was that public information, that order was publicly

       7   filed on the docket; isn't that right?

       8   A    Yes, it was.

       9   Q    Is there anything in the world that you can think of that

      10   would have prevented any claim holder from doing the math to

      11   try to figure out the impact on the estimated recoveries from

      12   the -- by using that 3018 claims estimate?

      13   A    No.   It would have -- it would have been quite easy to do.

      14   Q    And, in fact, that's what you wound up doing with respect

      15   to the January projections, right?

      16   A    That's correct.

      17   Q    And do you recall when the HarbourVest settlement, when

      18   the 9019 motion was filed?

      19   A    I don't recall the actual filing.        It was subsequent to

      20   the UBS, though.

      21              MR. MORRIS:    Ms. Canty, if you have it, can we just

      22   put it on the screen, to see if we can refresh Mr. Seery's

      23   recollection?    If we could just look at the very top.

      24   BY MR. MORRIS:

      25   Q    Does that refresh your recollection that the 9019 motion




                                                                          Appx. 04428
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 304 of 610




                                    Seery - Redirect                          247


       1   was filed on December 23rd?

       2   A    Yes, it does.    The agreement was reached before that, but

       3   it took a little bit of time to document the particulars and

       4   then to -- to get it filed.

       5   Q    And this wasn't filed under seal, to the best of your

       6   recollection, was it?

       7   A    No, no.    This was -- this was open, and we had a very open

       8   hearing about it, because it was a related-party objection.

       9   Q    And to the best of your recollection, did this 9019 motion

      10   publicly disclose all of the material terms of the proposed

      11   settlement?

      12   A    Yes, it did.

      13   Q    Can you think of anything in the world that would have

      14   prevented any interested party from doing the math to figure

      15   out how this particular settlement would impact the claim

      16   recoveries set forth in the Debtor's disclosure statement?

      17   A    No.   And just again, to be clear, the plan and the

      18   projections had assumptions, but the plan was very clear that

      19   the denominator was going to be determined by the total amount

      20   of allowed claims.

      21   Q    And, again, at the time that that was filed, you hadn't

      22   reached a settlement with HarbourVest, had you?

      23   A    No.

      24   Q    And the order on the 3018 motion hadn't yet been filed; is

      25   that right?




                                                                          Appx. 04429
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 305 of 610




                                    Seery - Redirect                          248


       1   A    That's correct.

       2   Q    Okay.   Has -- are you aware of any creditor expressing any

       3   interest in trying to change their vote as a result of the

       4   updates of the forecasts?

       5   A    Only Mr. Daugherty.     And actually, they have a stipulation

       6   with the two -- the two former employees.

       7   Q    All right.    But to be fair, that wasn't -- had nothing to

       8   do with the revisions to the projections?         That was just in

       9   connection with their settlement; is that right?

      10   A    That's correct.     As was, I suspect, Mr. Daugherty's, but

      11   he'd been aware of the settlements, just like everyone else.

      12   Q    Okay.   You were asked a couple of questions, I think, by

      13   Mr. Rukavina about whether there is anything that you need to

      14   do your job on a go-forward basis.        And I think you said no.

      15   Do I -- do I have that right?       Nothing further that you need?

      16   A    I -- I'm not really sure what your question means, to be

      17   honest.

      18   Q    Okay.   Fair enough.    To be clear, is there any chance that

      19   you would accept the position as the Claimant Trustee if the

      20   gatekeeper and injunction provisions of the proposed plan were

      21   extracted from those documents?

      22   A    No.   As I said earlier, they're integral in my view to the

      23   entire plan, but they're absolutely essential to my bottom.

      24   Q    Okay.   And through -- through the date of the effective

      25   date, are you relying on the exculpation clause of the -- have




                                                                          Appx. 04430
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25    Page 306 of 610




                                      Seery - Redirect                         249


      1   you been relying on the exculpation clause in the January 9th

      2   order that you testified to at the beginning of this hearing?

      3   A    Yeah.    Both the January 9th order as well as the July

      4   order with respect to my CEO/CRO positions.

      5   Q    Okay.

      6                MR. MORRIS:    I've got nothing further, Your Honor.

      7                THE COURT:    All right.   Any recross on that redirect?

      8                A VOICE:   I believe Mr. Rukavina is speaking but is

      9   muted, Your Honor.

     10                THE COURT:    Mr. Rukavina, do you have any recross?

     11                MR. RUKAVINA:    Your Honor, I do, yes.     Thank you.     I

     12   apologize.

     13                THE COURT:    Okay.

     14                MR. RUKAVINA:    Can you hear me now?

     15                THE COURT:    Yes.

     16                THE WITNESS:    Yes.

     17                MR. RUKAVINA:    Thank you.

     18        Mr. Vasek, if you'll please pull up the Debtor's Omnibus

     19   Reply, Docket 1807.        And if you'll go to Exhibit C.        Do a word

     20   search for Exhibit C.        It's attached to it.    Okay.      Now scroll

     21   down.   Stop there.

     22                               RECROSS-EXAMINATION

     23   BY MR. RUKAVINA:

     24   Q    Mr. Seery, do you see what's attached as Exhibit C to the

     25   Omnibus Reply, which is proposed language in the confirmation




                                                                             Appx. 04431
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 307 of 610




                                     Seery - Recross                          250


       1   order?

       2   A    I see the exhibit.       I didn't know if this was -- I don't

       3   know exactly what it's for.        If it's proposed language, I'll

       4   accept your representation.

       5                MR. RUKAVINA:    Well, scroll back up to Exhibit C, Mr.

       6   Vasek.    I want to make sure that I understand what you're

       7   saying.     Scroll back up.    Do the word search for where Exhibit

       8   C appears first.     Start again.     Okay.   So scroll up.

       9   BY MR. RUKAVINA:

      10   Q    So, you'll recall Mr. Morris was asking you about the

      11   paragraph in here where you outlined the terms of the

      12   agreement with the CLOs.       Do you recall that testimony?

      13   A    Yes.

      14   Q    Okay.    And then you see it says, The Debtor and the CLOs

      15   agreed to seek approval of this compromise by adding language

      16   to the confirmation order.        A copy of that language is

      17   attached hereto as Exhibit C and will be included in the

      18   confirmation order.

      19        Do you see that, sir?

      20   A    I do.

      21   Q    Okay.

      22                MR. RUKAVINA:    Mr. Vasek, go back to Exhibit C.

      23   BY MR. RUKAVINA:

      24   Q    So it's correct that this Exhibit C is the referenced

      25   agreement that the Debtor and the CLOs will seek approval of,




                                                                          Appx. 04432
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 308 of 610




                                    Seery - Recross                          251


      1   correct?

      2   A    The -- the -- it may be word-splitting, but I believe it

      3   says that they've reached agreement and this is the language

      4   that will evidence that agreement or embody that agreement.

      5   Q    Okay.

      6                MR. RUKAVINA:   Scroll down, Ms. Vasek, to the next

      7   page, please.

      8   BY MR. RUKAVINA:

      9   Q    Real quick, do the CLOs owe the Debtor any money for the

     10   management fees?

     11   A    I don't -- well, the answer is there are accrued fees that

     12   haven't been paid, but when they have cash they run through

     13   the waterfall and pay them.

     14   Q    And I believe you mentioned to me those accrued fees

     15   before.    They're several million dollars, correct?

     16   A    It -- I don't know right off the top of my head.          They can

     17   aggregate and then they get paid down in the quarter depending

     18   on the waterfall.     And it's -- it's not a fair statement by

     19   either of us to say the CLOs, as if they're all the same.

     20   Each one is different.

     21   Q    I understand.    But as of today, you agree that the CLOs

     22   collectively owe some amount of money to the Debtor in accrued

     23   and unpaid management fees?

     24   A    I believe that's the case.

     25   Q    Okay.    And do you believe it's north of a million dollars?




                                                                          Appx. 04433
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 309 of 610




                                     Seery - Recross                          252


       1   A    I don't recall.

       2   Q    Okay.

       3                MR. RUKAVINA:   Well, scroll down a couple of more

       4   lines, Mr. Vasek.     Stay there.

       5   BY MR. RUKAVINA:

       6   Q    Sir, if you'll read with me, isn't the Debtor releasing

       7   each Issuer, which is the CLOs, for and from any and all

       8   claims, debts, et cetera, by this provision?

       9   A    Claims.    Not -- not fees, but claims.      I don't believe

      10   there's any release of fees that the CLOs might owe and would

      11   run through the waterfall here.

      12   Q    Okay.    For and from any and all claims, debts,

      13   liabilities, demands, obligations, promises, acts, agreements,

      14   liens, losses, costs, and expenses, including without

      15   limitation attorneys' fees and related costs, damages,

      16   injuries, suits, actions, and causes of action, of whatever

      17   kind or nature, whether known or unknown, suspected or

      18   unsuspected, matured or unmatured, liquidated or unliquidated,

      19   contingent or fixed.

      20        Are you saying that that does not release whatever fees

      21   have accrued and the CLOs owe?

      22   A    I don't believe it would.       If it did, your client should

      23   be ecstatic.     But I don't believe it does that.

      24   Q    And you don't believe that it releases the CLOs of any and

      25   all other obligations that they may have to the Debtor and the




                                                                          Appx. 04434
Case 21-03005-sgj Doc 134-7 Filed 12/18/21      Entered 12/18/21 02:10:25   Page 310 of 610




                                       Seery - Recross                           253


       1   estate?

       2   A    I -- again, I don't believe there are any, but I think

       3   it's a broad release of claims away from the actual fees that

       4   are generated by the Debtor.          I don't believe there's an

       5   intention to release fees that have accrued.

       6   Q    Have you seen this language before I showed it to you

       7   right now?

       8   A    I believe I have, yes.

       9   Q    Okay.    Take a minute.      Can you point the Court to anywhere

      10   where present or future fees under the CLO agreements are

      11   excepted from the release?

      12   A    I could go through, I'll take your representation, but I

      13   don't believe that that's what it -- it's supposed to release

      14   fees.   Again, if the fees are owed, they get paid, if there

      15   are assets there to pay them.

      16   Q    Okay.    This release and this settlement was never noticed

      17   out as part of a 9019, was it?

      18   A    I don't believe so, no.

      19   Q    Okay.    So, other than bringing it up here today, this is

      20   the first that the Court, at least, has heard of this,

      21   correct?

      22   A    Yeah, again, I don't --

      23                MR. MORRIS:    Objection to the form of the question.

      24                THE WITNESS:    Yeah.     I just stated before that I

      25   don't think this is a -- that there claims.




                                                                             Appx. 04435
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 311 of 610




                                     Seery - Recross                           254


       1              THE COURT:    Wait.    Slow down.    I think --

       2              MR. SEERY:    Oh, I'm sorry, Your Honor.

       3              THE COURT:    -- there was an objection.      Go ahead, Mr.

       4   Morris.

       5              MR. MORRIS:    The notion that this is the first time

       6   the Court has heard of this is just factually incorrect.

       7   First of all, it's in the document from January 22nd.            Second

       8   of all, Mr. Seery testified to it last week at the preliminary

       9   injunction hearing.      I mean, --

      10              THE COURT:    I -- I --

      11              MR. MORRIS:    -- I don't know what the point of the

      12   inquiry is, but there's -- this is not new news.

      13              THE COURT:    Okay.    I sustain the objection.

      14   BY MR. RUKAVINA:

      15   Q    And Mr. Seery, can you point me to any document where

      16   counsel for the CLOs has signed this particular confirmation

      17   order or any other document agreeing to this language in the

      18   confirmation order?

      19   A    I don't think there's any document that's signed.            I think

      20   we already went over that.        I think the email is evidence

      21   their agreement to the general terms.          I don't see any

      22   agreement with respect to this particular language.

      23   Q    Well, you have no personal information?         You're going on

      24   what your lawyers told you that the CLOs agreed to, correct?

      25   A    That's correct.




                                                                            Appx. 04436
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 312 of 610




                                      Seery - Recross                         255


       1   Q    Okay.    You didn't personally --

       2   A    Excuse me.    That's correct with respect to this language,

       3   not with respect to the agreement.        I was on the phone when

       4   they agreed.

       5   Q    Okay.    And they agreed orally, you're saying, to basically

       6   the assumption of the CLO management agreements?

       7   A    Correct.

       8   Q    Okay.

       9                MR. RUKAVINA:    Thank you, Your Honor.     I'll pass the

      10   witness.

      11                THE COURT:    All right.   Other recross?

      12                MR. TAYLOR:    Yes, Your Honor, I do.

      13                THE COURT:    Go ahead.

      14                              RECROSS-EXAMINATION

      15   BY MR. TAYLOR:

      16   Q    Mr. Seery, Clay Taylor again.       You worked -- I'm sorry,

      17   let me restart.     I believe you testified earlier, in response

      18   to questions by Mr. Morris, that you didn't believe a Chapter

      19   7 trustee would be very effective in monetizing these assets,

      20   correct?

      21   A    I think I said I didn't believe that the Chapter 7 trustee

      22   would be as effective at monetizing the assets as the

      23   Reorganized Debtor would be, and me in the role as Claimant

      24   Trustee.

      25   Q    And one of the reasons that you gave is you believe that




                                                                          Appx. 04437
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 313 of 610




                                     Seery - Recross                          256


       1   the Chapter 7 trustee had to liquidate assets so quickly that

       2   it could not be effective; is that correct?

       3   A    Typically, that's the case, yes.

       4   Q    You worked for the Lehman trustee, correct?

       5   A    That's incorrect.

       6   Q    Okay.   Did you work on the Lehman case?

       7   A    Did I work in the case?      No.

       8   Q    Okay.   Did you -- how were you involved within -- within

       9   the Lehman case?

      10   A    It's a long history, but I was a relatively senior person,

      11   not senior level, not senior management level person at

      12   Lehman.    I ran the loan businesses and I helped a number of

      13   other places and I -- in the organization.         I helped construct

      14   the sale of Lehman to Barclays out of the broker-dealer and

      15   then helped consummate that sale.

      16   Q    Okay.   I believe, in that case, it was a SIPC -- the

      17   trustee was a SIPC trustee, correct?

      18   A    With respect to the broker-dealer.

      19   Q    Okay.   And you believe that a SIPC trustee is very -- has

      20   very similar rules with respect to asset sales; is that

      21   correct?

      22   A    There are some similarities, absolutely.

      23   Q    Okay.   And so in that case, the trustee was in place for

      24   seven years, yet you believe -- you want this Court to believe

      25   that a Chapter 7 trustee has to liquidate assets in a very




                                                                          Appx. 04438
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 314 of 610




                                      Seery - Recross                         257


       1   short time frame, is that correct?

       2               MR. MORRIS:    Objection to the form of the question.

       3               THE WITNESS:    Yeah, in the Lehman case, --

       4               THE COURT:    Overruled.

       5               THE WITNESS:    I'm sorry, Judge.

       6               THE COURT:    Go ahead.

       7               THE WITNESS:    In the Lehman case, the SIPC trustee

       8   spent years litigating, not liquidating.         The broker-dealer

       9   was sold in our structured deal to Barclays, and then the SIPC

      10   trustee liquidated the remainder of the estate, which was the

      11   broker-dealer, but most of it had been sold to Barclays.           It

      12   was really a litigation case.

      13   BY MR. TAYLOR:

      14   Q    But it did -- that trustee did sell off subsequent assets

      15   after the initial sale, correct?

      16   A    That trustee, I don't think, managed -- I don't know about

      17   that.   The trustee didn't really manage any assets.          Other

      18   than litigations.

      19   Q    You've also testified that you didn't believe or that you

      20   would not take on this role without the gatekeeper and

      21   injunction -- gatekeeper role and injunction being in place;

      22   is that correct?

      23   A    Yes.

      24   Q    And you're also familiar with the Barton Doctrine,

      25   correct?




                                                                          Appx. 04439
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 315 of 610




                                      Seery - Recross                          258


       1   A    I'm not.

       2   Q    Okay.    Do you believe that a Chapter 7 trustee could be

       3   sued by third parties without obtaining either relief from

       4   this Court -- let me just stop there.        Do you believe that a

       5   Chapter 7 trustee could be sued without seeking leave of this

       6   Court?

       7   A    I think it would be difficult.       I know that Chapter 7

       8   trustees have qualified immunity, so I think, whether it would

       9   be leave of this Court or it's just that there's a very high

      10   bar to suing them, I'm not exactly sure.         It's not something

      11   I've spent time on.

      12   Q    Okay.    So a hypothetical Chapter 7 trustee would have no

      13   need of the gatekeeper role or injunction if this case were

      14   converted to one under Chapter 7, correct?

      15   A    That's probably true.

      16   Q    Thank you.

      17                MR. TAYLOR:    No further questions.

      18                THE COURT:    All right.   Any other recross?

      19                MR. DRAPER:    Your Honor, I have nothing --

      20                THE COURT:    All right.

      21                MR. DRAPER:    -- further.

      22                THE COURT:    All right.   I think we're done, but

      23   anyone I've missed?

      24        All right.    Mr. Seery, it's been a long day.       You are

      25   excused from the virtual witness stand.




                                                                          Appx. 04440
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 316 of 610




                                     Seery - Recross                          259


       1              THE WITNESS:    Thank you, Your Honor.

       2              THE COURT:    All right.    Mr. Morris, let's see if

       3   there's anything else we can accomplish today.         It's 4:18

       4   Central time.    Who would be your next witness?

       5              MR. MORRIS:    My next witness would be John Dubel,

       6   Your Honor.

       7              THE COURT:    All right.    Can you give us a time

       8   estimate for direct?

       9              MR. MORRIS:    I wouldn't expect Mr. Dubel to be more

      10   than 20 minutes or so, but I would offer the Court, if you

      11   think it would be helpful, counsel for the CLO Issuers is on

      12   the call, and I believe that they would be prepared to just

      13   confirm for Your Honor that there is an agreement in

      14   principle, just as Mr. Seery has testified to, and maybe you

      15   want to hear from her.     I know she's not really a witness, but

      16   she might be able to make some representations to give the

      17   Court some comfort that everything Mr. Seery has said is true.

      18              THE COURT:    I think that would be useful.        Is it Ms.

      19   Anderson or who is it?

      20              MS. ANDERSON:    That is -- it is, Your Honor.        And you

      21   know, I appreciate the testimony given.        I certainly do not

      22   want to testify, but thought it might be useful for the Court

      23   to hear from us.

      24        Amy Anderson on behalf of the Issuers from Jones Walker.

      25   Schulte Roth also represents the Issuers.        And I can represent




                                                                           Appx. 04441
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 317 of 610




                                                                                  260


       1   to the Court that the agreement as it's represented on Docket

       2   1807, as more particularly described in Exhibit C, which Your

       3   Honor has seen, is the agreement reached between the Issuers

       4   and the Debtor.

       5        There was some testimony about fees owed, accrued fees

       6   owed to the Debtor.      I certainly cannot speak to the substance

       7   of each particular management agreement with each CLO.            They

       8   are all distinct and unique and very lengthy documents.            I

       9   will -- I can represent to the Court that any accrued fees

      10   that are owed were not intended to be included in the release.

      11   It is -- it is not meant to release fees owed to Highland

      12   under the particular management agreements.

      13        Of course, if the Court has any questions or if I can

      14   provide anything further, I'm happy to.        And I will be on the

      15   hearing today and tomorrow, but I thought it might be useful,

      16   given the topic of the testimony this afternoon.

      17              THE COURT:    All right.    That was useful.       Thank you,

      18   Ms. Anderson.

      19        All right.    Well, Mr. Morris, shall we go ahead and hear

      20   from Mr. Dubel today, perhaps finish up a second witness?

      21              MR. MORRIS:    Yeah.    I think we have the time.       I

      22   think Mr. Dubel is here.     Are you here, Mr. Dubel?

      23              MR. DUBEL:    I am.    Can you hear me, Your Honor?

      24              THE COURT:    I can hear you, but I cannot see you.

      25   Oh, now I can see you.     Please raise your right hand.




                                                                            Appx. 04442
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 318 of 610




                                       Dubel - Direct                         261


       1                  JOHN S. DUBEL, DEBTOR'S WITNESS, SWORN

       2                THE COURT:    All right.   Thank you.   Mr. Morris, go

       3   ahead.

       4                MR. MORRIS:    Thank you very much, Your Honor.

       5                              DIRECT EXAMINATION

       6   BY MR. MORRIS:

       7   Q    Mr. Dubel, can you hear me?

       8   A    I can, Mr. Morris.

       9   Q    Okay.    Do you have a position today with the Debtor, sir?

      10   A    I am a director of Strand Advisors, Inc., which is the

      11   general partner of the Debtor.

      12   Q    Okay.    And can you --

      13                MR. MORRIS:    Your Honor, just as a reminder, I'm

      14   going to ask Mr. Dubel to describe his professional experience

      15   in some detail, to put into context his testimony, but his

      16   C.V. can be found at Exhibit 6Y as in yellow on Docket No.

      17   1822.

      18                THE COURT:    All right.

      19   BY MR. MORRIS:

      20   Q    Mr. Dubel, can you describe your professional background?

      21   A    Yes.    I have approximately, almost, and I hate to say it

      22   because it's making me feel old, but I have almost 40 years of

      23   experience working in the restructuring industry.

      24        I have served in many roles in that, both as an advisor,

      25   an investor in distressed debt, and also a member of




                                                                          Appx. 04443
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 319 of 610




                                     Dubel - Direct                           262


       1   management teams, and as a director, both an independent

       2   director and a non-independent director.

       3        My executive roles have included the -- both an executive

       4   director, chief executive officer, president, chief

       5   restructuring officer, chief financial officer.          And I have

       6   been involved in some of the largest Chapter 11 cases over the

       7   last several decades, including cases like WorldCom and

       8   SunEdison.

       9   Q    Let's focus your attention for a moment just on the

      10   position of independent director.        Have you served in that

      11   capacity before this case?

      12   A    I have.

      13   Q    Can you describe for the Court some of the cases in which

      14   you've served as an independent director?

      15   A    Sure.   I've served as an independent director in several

      16   cases that were I'll call post-reorg cases.         Werner Company,

      17   which was the largest climbing equipment manufacturer in the

      18   world, manufacturer of ladders, Werner Ladders.          You'll see

      19   them on every pickup truck running around the countryside.

      20        FXI Corporation, which is a -- one of the largest foam

      21   manufacturers.     Everybody's probably slept or sat on one of

      22   their products.

      23        Barneys New York, back in 2012, when they did an out-of-

      24   court restructuring.     I had previously been involved with

      25   Barneys 15 years before that, and so I was called upon because




                                                                          Appx. 04444
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 320 of 610




                                     Dubel - Direct                           263


       1   of my knowledge to be an independent director in that

       2   situation.    Have had no relationship with Barneys since it

       3   emerged from Chapter 11 back in 1998.

       4        I have been the independent director in WMC Mortgage,

       5   which was a mortgage company owned by General Electric.

       6        And I am currently serving as an independent director in a

       7   company -- in two companies.        One, Alpha Media, which is a

       8   large radio station chain that recently filed Chapter 11, I

       9   believe it was late Sunday night, and I am also an independent

      10   director in the Purdue Pharma bankruptcy, and have served

      11   prior to the bankruptcy and am the chair of the special

      12   independent committee of directors -- special committee of

      13   independent directors in that particular situation.

      14   Q    That sounds like a lot.       In terms of other fiduciary

      15   capacities, I think your C.V. refers to Leslie Fay.           Were you

      16   involved in that case, and if so, how?

      17   A    I was.   That was -- for those people who may remember it,

      18   that goes back into the 1993 era.        Leslie Fay was a large

      19   apparel manufacturer, and at the time was one of the largest

      20   companies that had gone through an extensive fraud.           I say at

      21   the time because it was about a $180 million fraud, which

      22   pales by some of the ones that have followed it.

      23        I was brought in as the executive vice president in charge

      24   of restructuring, chief financial officer, and was also added

      25   to the board of directors.        Even though I wasn't independent,




                                                                          Appx. 04445
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 321 of 610




                                     Dubel - Direct                           264


       1   I was added to the board of directors to have the fresh face

       2   on the board in that particular situation because of the fraud

       3   that had taken place.

       4   Q    And --

       5   A    Sun --

       6   Q    Go ahead.

       7   A    SunEdison, I was brought in as the CEO.         Actually,

       8   initially, as the chief restructuring officer, with a mandate

       9   to replace the CEO, which took place shortly after I was

      10   brought on board and -- because of various issues surrounding

      11   investigations by the SEC, DOJ, and allegations by the

      12   creditors of fraud.     And so I was brought in to run the

      13   company through its Chapter 11 process.

      14        As I'd mentioned earlier, WorldCom, I was brought in at

      15   the beginning of the case as the fresh chief financial

      16   officer.    And I think everybody is familiar with what happened

      17   in the WorldCom situation.

      18   Q    All right.    Based on that experience, do you have a view

      19   as to whether the appointment of independent directors is

      20   unusual?

      21   A    It is not.    More recently, it has -- it had been in the

      22   past.   Usually, you know, they would try and take the existing

      23   directors and form a special committee of the existing

      24   directors.    But I think the state of the art has become more

      25   where independent directors are brought in, mainly because the




                                                                          Appx. 04446
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 322 of 610




                                     Dubel - Direct                           265


       1   cases have become a lot more complex in nature, and larger,

       2   and the transactions themselves are much more sophisticated.

       3   And so having somebody independent has been important for

       4   analyzing the various transactions.        And also, quite often,

       5   it's just bringing a fresh, independent voice to the company

       6   on the board.

       7   Q    Do you have an understanding as to the purpose and the

       8   role of independent directors generally in restructuring and

       9   bankruptcy cases?

      10   A    Sure.   As I kind of alluded to a little bit earlier, the

      11   -- probably the most critical thing is for restoring

      12   confidence in the company and in the management in terms of

      13   corporate governance, especially when there have been troubled

      14   situations, where -- whether it's been fraud or allegations

      15   made against the company and its prior management or when

      16   management has left under difficult situations.

      17        Also, you know, independent thought process being brought

      18   to the board is very important for helping guide companies.

      19   It's quite often the existing management team or the existing

      20   board may get stuck in a rut, as you can say, you know, in

      21   terms of their thinking on how to manage it, and having

      22   somebody with restructuring experience who provides that

      23   independent voice is very important to the operations.

      24        In addition, having someone who can look at conflicts that

      25   might arise between shareholders or shareholders and the board




                                                                          Appx. 04447
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 323 of 610




                                     Dubel - Direct                           266


       1   members is important.     As I mentioned earlier, the WMC

       2   Mortgage situation was one where I was brought on to -- as an

       3   independent member of the board to effectively negotiate an

       4   agreement or a settlement between WMC and its parent, General

       5   Electric.    That entity was being -- WMC was being sued for

       6   billions of dollars, and there were issues as to whether or

       7   not General Electric should fund those obligations.           And so

       8   that was a role that is quite often occurring in today's day

       9   and age.

      10        In addition, evaluating transactions for companies is

      11   important, whereby either the shareholders who sit on the

      12   board or board members may be involved in those transactions,

      13   needing an independent voice to review it.         And, you know, I

      14   have served in situations.        Again, Barneys New York and Alpha

      15   Media is another example where, as an independent director, I

      16   am one of the parties responsible for evaluating those

      17   transactions and making recommendations to the entire board.

      18        And then, again, you know, situations where it's just

      19   highly-contentious and having, as I said, having that

      20   independent view brought to the table is something that is

      21   very helpful in these cases.

      22   Q    I appreciate the fulsomeness of the answer.         During the

      23   time that you served in these various fiduciary capacities, is

      24   it fair to say you spent a lot of time considering and

      25   addressing issues relating to D&O and other executive




                                                                          Appx. 04448
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 324 of 610




                                     Dubel - Direct                          267


       1   liability issues?

       2   A    It's usually one of the things that you get involved with

       3   thinking about prior to taking on the role because you want to

       4   make sure that there are the appropriate protections for the

       5   director.

       6   Q    Can you describe for the Court some of the protections

       7   that you've sought or that you've seen employed in some of the

       8   cases you've worked on, including this one, by the way?

       9   A    Sure.   I mean, one of the first things you look to is does

     10    the company -- will the company indemnify the director for

     11    serving in that capacity?     And if the company will not

     12    indemnify, then there's always a question as to why not, and

     13    it's probably something you don't want to get involved with.

     14         Generally, that is something that I don't think I've ever

     15    seen a case where there has not been indemnification.

     16    Obviously, it would, you know, cause great pause or concern if

     17    they weren't willing to indemnify.       But that is important.

     18         Providing D&O insurance is very important.        And in most

     19    situations, you know, over the last 10-15 years, if there's

     20    not adequate D&O insurance -- quite often, the D&O insurance

     21    has been tapped out because of claims that will -- have been

     22    brought or are anticipated to be brought -- new D&O insurance

     23    is something that's front and center for the minds of

     24    independent directors such as myself.

     25         As you -- that gets you into the case and gets you moving.




                                                                          Appx. 04449
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 325 of 610




                                     Dubel - Direct                           268


       1   As you start to look towards the confirmation and exit from

       2   the case, things that would be appropriate, that, you know,

       3   would always be something you would want to look at would be

       4   exculpation language, releases.       And in this particular case,

       5   the injunction, or what Mr. Seery earlier referred to as the

       6   gatekeeper clause, is something that is very important for

       7   directors, both, you know, as they're thinking through it and

       8   as they emerge.

       9   Q    All right.    Let's shift now to this case, with that

      10   background.    How did you learn about this case?

      11   A    I had a party who was involved in the case reach out to me

      12   in early part of December of 2019 to see if I would be

      13   interested in getting involved.       I think that was about the

      14   time -- it was after -- as I recall, it was after the case had

      15   been moved to Dallas and when there was a -- consideration of

      16   either a Chapter 11 or a Chapter 7 trustee.         I can't remember

      17   exactly which it was.     But there was talk about a motion to

      18   bring on a trustee and get rid of all the management and the

      19   like and such.

      20   Q    Can you describe in as much detail as you can recall the

      21   facts and circumstances that led to your appointment as an

      22   independent director?

      23   A    Sure.    I, as I said, I had -- early December, I had an --

      24   one of the parties involved -- had, probably within the next

      25   week, probably two or three others -- that reached out to see




                                                                          Appx. 04450
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 326 of 610




                                     Dubel - Direct                           269


       1   if I would be interested in participating.         I met with the

       2   Creditors' Committee or -- I'm not sure if it was all the

       3   members, but representatives of the Creditors' Committee,

       4   along with counsel, and I believe financial advisors were

       5   involved.    They walked me through the issues.       They wanted to

       6   hear about my C.V.     Quite a few of them knew me, knew me well,

       7   but others wanted to hear about my background and how I would

       8   look at things as an independent director.

       9        That went through into the latter part of December.           I

      10   knew that they were talking to other parties.         I think it was

      11   probably right around the first of the year or so that I was

      12   informed, maybe a little bit earlier than that, that I was

      13   informed that Mr. Seery was one of the other parties that they

      14   were talking to, and Mr. Seery and I were put in touch with

      15   each other.    I had worked with Mr. Seery back probably nine

      16   years earlier when I was the CEO of FGIC.         He was involved in

      17   a matter that we were restructuring, and so knew him a little

      18   bit and was comfortable working with him as a, you know,

      19   another independent director.

      20        Then we took the time that we had to to -- or, I took the

      21   time to -- from the beginning, you know, the early part of

      22   December, look at the docket, understand what was taking

      23   place.   I -- in addition, I met with the company and its

      24   advisors, in-house counsel, the folks at DSI who were at the

      25   time the CRO and the company's counsel to better understand




                                                                          Appx. 04451
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 327 of 610




                                     Dubel - Direct                            270


       1   some of the issues.

       2        Mr. Seery and I, as I said, were both selected, and we

       3   went through the process of, I guess, breaking the tie, I

       4   think, if I could say it that way, amongst the creditors and

       5   the Debtor as to who would be the third member of the board.

       6   And we were given the opportunity to go out, interview, and

       7   select the third member, which resulted in Russell Nelms'

       8   appointment to the board.         And also during that time, we were

       9   given the opportunity to have some input -- not a hundred

      10   percent input, but some input -- on the January 9th order that

      11   -- the January 9, 2020 order that was put in place appointing

      12   us and giving us some of the protections that we felt were

      13   appropriate and necessary in this case.

      14   Q    All right.    We'll get to that in a moment, but during this

      15   diligence period, did you form an understanding as to why an

      16   independent board was being formed, why it was being sought?

      17   A    Yes.   There was, my words, there was a lot of distrust

      18   between the creditors and the management -- not the CRO, but

      19   the prior management of the company -- and there had been a

      20   motion brought both to obviously bring the case back to Dallas

      21   from I think it was originally in Delaware and then there was

      22   a motion to seek, you know, to remove management and put in a

      23   trustee.

      24        There had been a dozen years of litigation with one party,

      25   about eight or nine years with another major party, and




                                                                           Appx. 04452
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 328 of 610




                                     Dubel - Direct                             271


       1   several other of the major creditors were litigants.           The

       2   other, as I understood, the other creditors, main creditors in

       3   the case were all lawyers who had not yet gotten paid for the

       4   litigation work that they had done.        And so it was obvious

       5   that this was a very -- a highly-litigious situation.

       6   Q    In addition to speaking with the various constituents, did

       7   you do any diligence on your own to try to understand the case

       8   before you accepted the appointment?

       9   A    Yes.    I went to the docket to look at all the -- not every

      10   single thing that had been filed, but to try and look at all

      11   the key, relevant items that had been filed, get a better

      12   understanding of what was out there.        Looked at some of the

      13   initial filings of the company in terms of the, you know, the

      14   creditors, to understand who the creditor base was per the

      15   schedules that had been filed.       Looked at the -- some of the

      16   various pleadings that had been put in place.

      17   Q    Did you form a view as to the causes of the bankruptcy

      18   filing?

      19   A    Litigation.    That was my clear view.      This company had

      20   been in litigation with multiple parties, various different

      21   parties, since around 2008.       Generally, you would see

      22   litigation like the types that were, you know, that were here,

      23   you know, you'd litigate for a while, then you'd try and

      24   settle it.

      25        It did not appear to me that there was any intention on




                                                                          Appx. 04453
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 329 of 610




                                     Dubel - Direct                            272


       1   the -- the Debtor to settle these litigations, but would

       2   rather just continue the process and proceed forward on the

       3   litigation until the very last minute.        And so it was obvious

       4   that this was going to -- that the Debtor was a, as I said, a

       5   highly-litigious shop, and that was one of the causes,

       6   obviously, the cause of the filing, along with the fact that

       7   judgments were about to be entered against the Debtor.

       8   Q    All right.    And in January 2020, do you recall that's when

       9   the agreement was reached between the Debtor, the Committee,

      10   and Mr. Dondero?

      11   A    Yeah, it was the first week or so, which resulted in a

      12   hearing on I believe it was January 9th in front of Judge

      13   Jernigan.

      14   Q    And as a part of that -- I think you testified at that

      15   hearing.    Do I have that right?

      16   A    I don't recall if I did.      I might have.     I might have

      17   testified at a subsequent hearing.        But --

      18   Q    But was --

      19   A    -- I was in the courtroom for that hearing, yes.

      20   Q    Was it part of that process by which you accepted the

      21   appointment as independent director?

      22   A    I accepted it based upon the order that had been

      23   negotiated amongst the parties, the creditors, the Debtor, Mr.

      24   Dondero, and others.     And that was the key thing that was --

      25   and approved by the Court on that date.        And that was key for




                                                                          Appx. 04454
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 330 of 610




                                     Dubel - Direct                           273


       1   my acceptance of the role as an independent director.

       2   Q    And did you and the other prospective independent

       3   directors participate in the negotiation of the substance of

       4   the agreement?

       5   A    We did.    We didn't have a hundred percent say over it, but

       6   we were able to get our voices heard.        As Mr. Seery testified

       7   earlier, he was instrumental in coming up with an idea about

       8   how to put in place the injunction, you know, the -- I think

       9   he referred to it as the gatekeeper injunction, which was

      10   obviously in this case very critical to all three of us:           Mr.

      11   Seery, Mr. Nelms, and myself.

      12   Q    Can you describe for the Court kind of the issues of

      13   concern to you and the other prospective board members?           What

      14   was it that you were focused on in terms of the negotiations?

      15   A    Well, obviously, indemnification was important, but that

      16   was something that was going to be granted.         Having the right

      17   to obtain separate D&O insurance just for the three directors

      18   was important.    We were concerned that Strand Advisors, Inc.

      19   really had no assets, and so we wanted to make sure that the

      20   Debtor was going to get -- was going to basically guarantee

      21   the indemnification.

      22        The -- because of the litigious nature and what we had

      23   heard from all of the various parties involved, including

      24   people inside the Debtor who we had talked with, that it would

      25   be something that was important for us to make sure that the




                                                                          Appx. 04455
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 331 of 610




                                     Dubel - Direct                           274


       1   injunction, the gatekeeper injunction was put in place.

       2   Q    And can you elaborate a little bit on I think you said you

       3   had done some diligence and you had formed a view as to the

       4   causes of the bankruptcy filing, but did this case present any

       5   specific concerns or issues that you and the board members had

       6   to address perhaps above and beyond what you experienced in

       7   some of the other cases you described?

       8   A    Well, as I said earlier, the fact that the litigation --

       9   the various litigations with the creditors have been going on

      10   for what I viewed as an inordinate amount of years, and that

      11   it was clear from my diligence that I had done that this had

      12   been directed by Mr. Dondero, to keep this moving forward in

      13   the litigation, and to, in essence, just, you know, never give

      14   up on the litigation.

      15        It was important that the types of protections that we

      16   were afforded in the January 9th order were put in place,

      17   because we -- none of us -- none of the three of us, and

      18   myself in particular, did not want to be in a position where

      19   we would be sued and harassed through lawsuits for the next,

      20   you know, ten years or so.        That's not something anybody would

      21   want to sign up for.

      22   Q    All right.    Let's look at the January 9th order and the

      23   specific provisions I think that you're alluding to.

      24              MR. MORRIS:    Can we call up Exhibit 5Q, please?

      25              THE WITNESS:    Pardon me while I put my glasses on to




                                                                          Appx. 04456
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 332 of 610




                                      Dubel - Direct                          275


       1   read this.

       2                MR. MORRIS:   All right.    And if we can go to

       3   Paragraph 4.

       4   BY MR. MORRIS:

       5   Q    Is that the paragraph, sir, that was intended to address

       6   the concern that you just articulated about Strand not having

       7   any assets of its own?

       8   A    Yes, it is.

       9   Q    And can you just describe for the Court how that

      10   particular provision addressed that concern?

      11   A    Sure.    Since we were directors of Strand, which is the

      12   general partner of the Debtor, we felt it was important that

      13   the general -- that Highland, the Debtor, would provide the

      14   guaranty on indemnification, because Highland had the assets

      15   to back up the indemnification.

      16        It was also pretty clear, from my experience in having

      17   placed D&O insurance, you know, over the last 25-30 years,

      18   that if there was no, you know, opportunity for

      19   indemnification, putting in place insurance would be very

      20   difficult or exorbitantly expensive.        So having this

      21   indemnification by Highland was a very important piece of the

      22   order that we were seeking.

      23   Q    And the next piece is the insurance piece in Paragraph 5.

      24   Do you see that?

      25   A    I do.




                                                                          Appx. 04457
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 333 of 610




                                     Dubel - Direct                           276


       1   Q    Did you have any involvement in the Debtor's efforts to

       2   obtain D&O insurance for the independent board?

       3   A    I did.

       4   Q    Can you just describe for the Court what role you played

       5   and what issues came up as the Debtor sought to obtain that

       6   insurance?

       7   A    Sure.    The Debtors had been looking to get an insurance

       8   policy in place.     They were not able to do that.       I happen to

       9   have worked with an insurance broker on D&O situations in some

      10   very difficult situations over the years and brought them into

      11   the mix.     They were able to go out to the market and find a

      12   policy that would cover us, the -- kind of the key components

      13   of that policy, though, were, number one, the guaranty that

      14   HCMLP would give -- I'm sorry, the guaranty that HCMLP would

      15   give to Strand's obligations, and also the -- I'll call it the

      16   gatekeeper provision was very important because these parties

      17   did not want to have -- they wanted to have what was referred

      18   to, commonly referred to as the Dondero Exclusion.

      19        So while we were -- we purchased a policy that covered us,

      20   it did have an exclusion, unless there were no assets left,

      21   and then the what I'll call -- we refer to as kind of a Side A

      22   policy would kick in.

      23   Q    Okay.    What do you mean by the Dondero Exclusion?

      24   A    The insurers did not want to cover the -- any litigation

      25   that Mr. Dondero would bring against directors.          It was pretty




                                                                          Appx. 04458
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 334 of 610




                                     Dubel - Direct                            277


       1   commonly known in the marketplace that Mr. Dondero was very

       2   litigious, and insurers were not willing to write the

       3   insurance without the protections that this order afforded

       4   because they did not want to be hit with frivolous -- hit with

       5   claims on the policy for frivolous litigation that might be

       6   brought.

       7              MR. TAYLOR:    Your Honor, this is Mr. Taylor.        I've

       8   got to object to the last answer.         He testified as to what the

       9   insurers' belief was and what they would or would not do based

      10   upon their own knowledge.         It's not within his personal

      11   knowledge.    And therefore we'd move to strike.

      12              THE COURT:    I overrule that objection.

      13              MR. MORRIS:    Your Honor?

      14              THE COURT:    I overrule the objection.

      15              MR. MORRIS:    Thank you.     Thank you, Your Honor.

      16   BY MR. MORRIS:

      17   Q    Mr. Dubel, can you explain to the Court, in your work in

      18   trying to secure the D&O insurance, what rule the gatekeeper

      19   provision played in the Debtor's ability to get that?

      20   A    Based upon my discussions with the insurance broker, who I

      21   have worked with for 25-plus years, had that gatekeeper

      22   provision not been put in place, we would not have been able

      23   to get insurance.

      24   Q    All right.    Let's look at the gatekeeper provision.

      25              MR. MORRIS:    Can we go down to Paragraph 10, please?




                                                                           Appx. 04459
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 335 of 610




                                       Dubel - Direct                         278


       1   Perfect.     Right there.

       2   BY MR. MORRIS:

       3   Q    Is this gatekeeper provision, is this also the source of

       4   the exculpation that you referred to?

       5   A    Yes.

       6   Q    And what's your understanding of how the exculpation and

       7   gatekeeper functions together?

       8   A    Well, my apologies, I'm not an attorney, so just from a

       9   business point of view, the way I look at this is that, you

      10   know, obviously, we're -- you know, the directors are not

      11   protected from willful misconduct or gross negligence, but any

      12   negligence -- you know, claims brought under negligence and

      13   the likes of such, and things that might be considered

      14   frivolous, would have to first go to Your Honor in the

      15   Bankruptcy Court for a review to determine if they were claims

      16   that should be entitled to be brought.

      17   Q    If you take a look at the provision, right, do you

      18   understand that nobody can bring a claim without -- in little

      19   i, it says, first determining -- without the Court first

      20   determining, after notice, that such claim or cause of action

      21   represents a colorable claim of willful misconduct or gross

      22   negligence against an indirect -- independent director.           Do

      23   you see that?

      24   A    I do.

      25   Q    Is it your understanding that parties can only bring




                                                                          Appx. 04460
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 336 of 610




                                     Dubel - Direct                           279


       1   claims for gross negligence or willful misconduct if the Court

       2   makes a determination that there is a colorable claim?

       3   A    That's my understanding.

       4   Q    And the second --

       5   A    I think they have the right -- I think they have the right

       6   to go to the Court to ask if they can bring the claim, but the

       7   Court has to make the determination that it's a colorable

       8   claim for willful misconduct or gross negligence.

       9   Q    And if the Court -- is it your understanding that if the

      10   Court doesn't find that there is a colorable claim of willful

      11   misconduct or gross negligence, then the claim can't be

      12   brought against the independent directors?

      13   A    That is my understanding, yes.

      14   Q    And was -- taken together, Paragraphs 4, 5, and 10, were

      15   they of importance to you and the other independent directors

      16   before accepting the position?

      17   A    They were absolutely critical to me and definitely

      18   critical to the other directors, because we all negotiated

      19   that together, and it would -- I don't -- I don't think any of

      20   the three of us would have taken on this role if those

      21   paragraphs had not been included in the order.

      22   Q    Okay.   Just speaking for yourself personally, is there any

      23   chance you would have accepted the appointment without all

      24   three of those provisions?

      25   A    I would not have.




                                                                          Appx. 04461
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 337 of 610




                                     Dubel - Direct                           280


       1   Q    And why is that?     In this particular case, why did you

       2   personally believe that you needed all three of those

       3   provisions?

       4   A    Well, you know, people like myself, you know, someone

       5   who's coming in as an independent director, come in in a

       6   fiduciary capacity.     And, you know, we take on risks.        Now,

       7   granted, in a Chapter 11 case, as the saying goes, you know,

       8   it's a lot safer because everything has to be approved by the

       9   Court, but there are still opportunities for parties to, in

      10   essence, have mischief going on and bring nuisance lawsuits

      11   that would take a lot of time and effort away from either the

      12   role of our job of restructuring the entity or post-

      13   restructuring, would just be nuisance things that would cost

      14   us money.    And we, you know, I did not want to be involved in

      15   that situation, knowing the litigious nature of Mr. Dondero

      16   from the research that I had done, you know, the diligence

      17   that I had done.     I did not want to subject myself to that.

      18   And it has proven an appropriate and very solid order because

      19   of the conduct of Mr. Dondero, as Mr. Seery has testified to

      20   earlier.

      21   Q    Do you have a view as to what the likely effect would be

      22   on future corporate restructurings if you and your fellow

      23   directors weren't able to obtain the type of protection

      24   afforded in the January 9th order?

      25   A    I think it would be very difficult to find qualified




                                                                          Appx. 04462
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 338 of 610




                                    Dubel - Direct                            281


      1   people who would be willing to serve in these types of

      2   positions if they knew they had a target on their backs.            You

      3   know, it was something that was clear to us, to Mr. Seery, Mr.

      4   Nelms, myself at the time, that if we had a target -- we felt

      5   like we would have a target on our back if we didn't have

      6   these protections.

      7        It just wasn't worth the risk, the stress, the

      8   uncertainty, the potential cost to us.        And so I don't think

      9   anybody else would be, you know, willing to take on the roles

     10   as an independent director with the facts and circumstances

     11   and the players involved in this particular case.

     12              MR. MORRIS:    I have no further questions, Your Honor.

     13              THE COURT:    All right.    Pass the witness.       Let's see.

     14   You went -- I'm going to give a time.        You went 32 minutes.

     15   So, for cross of this witness, I'm going to limit it to an

     16   aggregate of 32 minutes.      Who wants to go first?

     17              MR. DRAPER:    Your Honor, this is Douglas Draper.

     18   I'll be happy to go first.

     19              THE COURT:    All right.

     20                             CROSS-EXAMINATION

     21   BY MR. DRAPER:

     22   Q    Mr. Dubel, prior to your engagement, did you happen to

     23   read the case of Pacific Lumber?

     24   A    I did not.

     25   Q    And were you advised about Pacific Lumber by somebody




                                                                           Appx. 04463
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 339 of 610




                                      Dubel - Cross                           282


       1   other than a -- your lawyer?

       2   A    I'm not familiar with the case at all, Mr. Draper.

       3   Q    Are you aware, and you've been around a long time, that

       4   different circuits have different rules for liabilities of

       5   officers, directors, and people like that?

       6   A    I am aware that there are different, I don't know what the

       7   right term is, but precedents, I guess, in different circuits

       8   for any number of things, whether it's a sale motion or

       9   protections of officers and directors or anything.            So each

      10   circuit has its own unique situations.

      11   Q    And one last question.       On a go-forward, after -- if this

      12   plan is confirmed and on the effective date, you will not have

      13   any role whatsoever as an officer or director of the new

      14   general partner, correct?

      15   A    I have not been asked to.       As Mr. Seery testified, he may

      16   ask for assistance or just -- in most situations that I'm

      17   involved with, I may have a continuing role just as a -- I'll

      18   call it an advisor or somebody to provide a history.           But at

      19   this point in time, I have not been asked to have any

      20   involvement.

      21   Q    And based on your experience, you know that there's a

      22   different liability for a director and an officer versus

      23   somebody who is an advisor?

      24              MR. MORRIS:    Objection to the form of the question.

      25   No foundation.




                                                                           Appx. 04464
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 340 of 610




                                      Dubel - Cross                           283


       1              THE COURT:    Overruled.

       2              MR. DRAPER:    Mr. Dubel has shown --

       3              THE COURT:    Mr. Dubel, you can answer if you know.

       4              MR. DRAPER:     Mr. Dubel, you can answer.

       5              THE WITNESS:    I'm sorry, Your Honor, I didn't hear

       6   you say overruled.      Thank you.

       7        Mr. Draper, I apologize, could you repeat the question?

       8   BY MR. DRAPER:

       9   Q    The question is you know from your experience that there's

      10   a different liability for somebody who is an officer or

      11   director versus somebody who's an advisor?

      12   A    Yes, that's my experience, which is why in several

      13   situations post-reorganization, while I have not been involved

      14   per se, and I use the term involved meaning, you know, on a

      15   day-to-day basis, if someone asks me to assist, I'll usually

      16   ask them to bring me in as a non -- an unpaid employee or a,

      17   you know, a nominally-amount-paid employee, so that I would be

      18   protected by whatever protections the company might provide.

      19              MR. DRAPER:    I have nothing further for this witness,

      20   Your Honor.

      21              THE COURT:    All right.    Other cross?

      22              MR. TAYLOR:    Yes, Your Honor.

      23              MR. RUKAVINA:    Yes, Your Honor.

      24              MR. TAYLOR:    Oh, go ahead, Davor.

      25              MR. RUKAVINA:    No, Clay, go ahead.




                                                                          Appx. 04465
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 341 of 610




                                      Dubel - Cross                           284


       1                             CROSS-EXAMINATION

       2   BY MR. TAYLOR:

       3   Q    Mr. Dubel, this is Clay Taylor here on behalf on Mr.

       4   Dondero.     I believe you had previously testified in response

       5   to questions from Mr. Morris that Mr. Dondero had engaged in a

       6   pattern of litigious behavior; is that correct?

       7   A    I believe that's the testimony I gave, yes.

       8   Q    Okay.    And please give me the specific examples of which

       9   cases you believe he has engaged in overly-litigious behavior.

      10   A    Well, all of the cases that resulted in creditors, large

      11   creditors in our bankruptcy.       That would be the UBS situation,

      12   the Crusader situation which became the Redeemer Committee,

      13   litigation with Mr. Daugherty, with Acis and Mr. Terry.           And

      14   as I mentioned earlier, I'd, you know, been informed by

      15   members of the management team that it was Mr. Dondero's style

      16   to just litigate until the very end to try and grind people

      17   down.

      18   Q    Okay.    Was Mr. Dondero or a Highland entity the plaintiff

      19   in the UBS case?

      20   A    No, but what was referred -- what I was referring to was

      21   the nature in which he defended it and went overboard and

      22   refused to ever, you know, try and settle things in a manner

      23   that would have gotten things done.        And just looking at,

      24   having been involved in the restructuring industry for the

      25   last 40 years, as I said, almost 40 years, and been involved




                                                                          Appx. 04466
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 342 of 610




                                      Dubel - Cross                           285


       1   in many, many litigious situations, it's obvious when someone

       2   is litigious, whether they're the plaintiff or the defendant.

       3   Q      So are you personally familiar with the settlement

       4   negotiations in the UBS case that happened pre-bankruptcy,

       5   then?

       6   A      I have been informed that there were settlement

       7   negotiations, and subsequently determined, through discussions

       8   with the parties, that they weren't really close to -- to a

       9   settlement.

      10   Q      But are you aware of --

      11   A      Mr. Dondero might have thought they were, but they were

      12   not.

      13   Q      Okay.   Would you be surprised to learn if UBS had offered

      14   to settle pre-bankruptcy for $7 million?

      15   A      As I understand, settlements -- settlement offers pre-

      16   bankruptcy had a tremendous number of -- I don't know what the

      17   right term is -- things tied to it and that clearly were never

      18   going to get done.

      19   Q      Okay.   When you say things were tied to it, what things

      20   were tied to it?

      21   A      I don't know all of the settlement discussions that took

      22   place, but what I was informed was that there were a lot of

      23   conditions that were included in that.        And it's -- if it had

      24   been an offer of $7 million and Mr. Dondero didn't settle for

      25   that, there must have been a reason why.         So, you know, since




                                                                          Appx. 04467
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 343 of 610




                                      Dubel - Cross                            286


       1   the entities -- all of the entities within the Highland

       2   Capital empire, if you'd call it that, were being sued for

       3   almost a billion dollars.

       4   Q    Okay.   And you say there was lots of conditions that were

       5   tied to that.    What were the conditions?

       6   A    As I said earlier, I wasn't informed of them on all the

       7   prepetition settlements.      That's just what I was told, there

       8   was conditions.

       9   Q    Okay.   And who were you told these things by?

      10   A    Both external counsel and internal counsel.         Mr.

      11   Ellington, Scott Ellington, and Isaac -- the litigation

      12   counsel.

      13   Q    Okay.   So --

      14   A    That's -- sorry.

      15   Q    Okay.   In each of these cases, you were informed by your

      16   views by statements that were made to you by other people?

      17   A    Yes.

      18   Q    Okay.

      19   A    Made -- and particularly made by members of management of

      20   the Debtor, which is pretty informed.

      21   Q    Okay.   Which members of management were those?

      22   A    As I just testified, it was Mr. Ellington, who was the

      23   general -- the Debtor's general counsel, and Mr. Leventon,

      24   Isaac Leventon, who was the -- I believe his title was

      25   associate general counsel in charge of litigation.




                                                                           Appx. 04468
Case 21-03005-sgj Doc 134-7 Filed 12/18/21     Entered 12/18/21 02:10:25   Page 344 of 610




                                         Dubel - Cross                          287


       1   Q      Okay.    Thank you.

       2                  MR. TAYLOR:    No further questions.

       3                  THE COURT:    All right.   Mr. Rukavina?

       4                                 CROSS-EXAMINATION

       5   BY MR. RUKAVINA:

       6   Q      Mr. Dubel, we've never met, although I think we were on

       7   the phone once together.         I know you're a director, so you're

       8   at the top, but having been in this case for more than a year,

       9   you probably have some understanding of the assets that the

      10   Debtor has, don't you?

      11   A      I do, but I'm not as facile with it as Mr. Seery,

      12   obviously.

      13   Q      Sure.    Is it true, to your understanding, that the Debtor

      14   owns various equity interests in third-party companies?

      15   A      Either directly or indirectly.       That's my understanding,

      16   yes.

      17   Q      Okay.    Have you heard of an entity called Highland Select

      18   Equity Fund, LP?

      19   A      I have.

      20   Q      And is that a publicly-traded company?

      21   A      I'm not familiar with its nature there, no.

      22   Q      Do you know how much of the equity of that entity the

      23   Debtor owns?

      24   A      I don't know off the top of my head, no.

      25   Q      And again, these may be unfair questions because you're at




                                                                            Appx. 04469
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 345 of 610




                                      Dubel - Cross                           288


       1   the top, so I'm not trying to make you look foolish.           I'm just

       2   trying to see.    Let me ask one more.      Have you heard of

       3   Wright, W-R-I-G-H-T, Limited?

       4              MR. MORRIS:    Objection, Your Honor.      Beyond the

       5   scope.

       6              MR. RUKAVINA:    Your Honor, I can recall him on my

       7   direct, then.

       8              THE COURT:    Yeah.    I'll --

       9              MR. RUKAVINA:    But I'd just rather get it over with.

      10              THE COURT:    I'll allow it.

      11              MR. MORRIS:    All right.    If we're going to get rid of

      12   --

      13              THE COURT:    Overruled.

      14              MR. MORRIS:     No, that's fine.

      15   BY MR. RUKAVINA:

      16   Q    Have you heard of Wright, W-R-I-G-H-T, Limited?

      17   A    I think I have, but I just don't recall it, Mr. Rukavina.

      18   I'm sorry, Rukavina.     Sorry.

      19   Q    It's okay.    It's a --

      20   A    I'm looking at your chart here, at your name here, and it

      21   looks like Drukavina, so I really apologize.

      22   Q    Believe it or not, it's actually a very famous name in

      23   Croatia, although it means nothing here.

      24        So, all of the entities that the Debtor owns equity in, I

      25   guess you probably, just because, again, you're not in the




                                                                          Appx. 04470
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 346 of 610




                                      Dubel - Cross                           289


       1   weeds, you can't tell us how much of that equity the Debtor

       2   owns, can you?

       3   A    I can't individually, no.       You know, Mr. Seery is our CEO

       4   and he's responsible for the day-to-day, you know, issues.            So

       5   usually we look at it more on a consolidated basis and not in

       6   the, you know, down in the weeds, as you refer to it, unless

       7   something specific came up.

       8   Q    Well, would you remember whether, when Mr. Seery or the

       9   prior CRO would provide you, as the board member, financial

      10   reports, whether that included P&Ls and balance sheets and

      11   financial reports for the entities that the Debtor owned

      12   interests in?

      13   A    We might -- we would have seen certain consolidating

      14   reports that might -- that would be, you know, consolidating

      15   financial statements that would be P&Ls.         Where we didn't

      16   consolidate them, I'm not sure we saw the actual individual-

      17   entity P&Ls on a regular basis.       We might have seen them if

      18   there was a transaction taking place.        But again, you know, I

      19   don't have -- I don't remember every single one of them, no.

      20   Q    And you would agree with me, sir, that the Pachulski law

      21   firm is an excellent restructuring, reorganization, insolvency

      22   law firm, wouldn't you?

      23   A    Yes, I would agree with you there.

      24   Q    Okay.   And you would expect them to ensure that anything

      25   that has to be filed with Her Honor is timely filed, wouldn't




                                                                          Appx. 04471
Case 21-03005-sgj Doc 134-7 Filed 12/18/21        Entered 12/18/21 02:10:25   Page 347 of 610




                                         Dubel - Cross                            290


      1   you?

      2   A      I would expect that they would follow the rules.

      3   Q      Okay.    And you have the utmost of confidence, I take it,

      4   in your CRO, don't you?

      5   A      I have a tremendous amount of confidence in our CEO, who

      6   also happens to hold the title of CRO, yes, if that's what

      7   you're referring to as, Mr. Seery.

      8          (Interruption.)

      9                  MR. RUKAVINA:    John.

     10   BY MR. RUKAVINA:

     11   Q      Okay, I think -- yeah, I think I heard that you have

     12   tremendous confidence in the CEO, who happens to be the CRO,

     13   right?

     14   A      Yes, that's the case.

     15                  MR. RUKAVINA:    Thank you, Your Honor.       I'll pass the

     16   witness.

     17                  THE COURT:    All right.     Any other cross of Mr. Dubel?

     18          All right.    Mr. Morris, redirect?

     19                  MR. MORRIS:    Yeah, just very briefly, Your Honor.

     20                                REDIRECT EXAMINATION

     21   BY MR. MORRIS:

     22   Q      You were asked about that Pacific Lumber case, Mr. Dubel;

     23   do you remember that?

     24   A      I do remember being asked about it.

     25   Q      And you weren't familiar with that case, right?




                                                                               Appx. 04472
Case 21-03005-sgj Doc 134-7 Filed 12/18/21     Entered 12/18/21 02:10:25   Page 348 of 610




                                         Dubel - Redirect                       291


       1   A      I'm not familiar with the name of the case, no.

       2   Q      But you did know that the exculpation and gatekeeping

       3   provisions were going to be included in the order; is that

       4   fair?

       5   A      I did.

       6   Q      And did you testify that you wouldn't have accepted the

       7   position without it?

       8   A      I did testify that way.

       9   Q      And if you knew that you couldn't get those provisions in

      10   the Fifth Circuit, would you ever accept a position as an

      11   independent director in the Fifth Circuit on a go-forward

      12   basis?

      13   A      Not in a situation such as this, no.

      14   Q      Okay.    Okay.

      15                  MR. MORRIS:    No further questions, Your Honor.

      16                  THE COURT:    All right.   Any recross on that narrow

      17   redirect?

      18          All right.    Well, Mr. Dubel, you are excused from the

      19   virtual witness stand.

      20                  THE WITNESS:    Thank you, Your Honor.

      21                  THE COURT:    All right.   I want to go ahead and --

      22                  MR. DUBEL:    Do you mind if I turn my video off?

      23                  THE COURT:    I'm sorry, what?

      24                  MR. DUBEL:    I said, do you mind if I turn my video

      25   off?




                                                                            Appx. 04473
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 349 of 610




                                                                               292


       1              THE COURT:    No, you may.     That's fine.

       2              MR. DUBEL:    Thank you, Your Honor.

       3              THE COURT:    All right.     I want to break now, unless

       4   there's any quick housekeeping matter.         Anything?

       5               MR. MORRIS:    No, Your Honor, but I would just ask

       6   all parties to let me know by email if they have any

       7   objections to any of the exhibits on the witness list that was

       8   filed at Docket No. 1877, because I want to begin tomorrow by

       9   putting into evidence the balance of our exhibits.

      10              MR. RUKAVINA:    And Your Honor, I was responsible for

      11   this due to an internal mistake.         The only ones I have an

      12   objection to are -- is that 7?        John, is that 7, right, 7OO --

      13              MR. MORRIS:    Yes.

      14              MR. RUKAVINA:    Your Honor, I only have an objection

      15   to 7O and 7P, although I think -- think the Court has already

      16   admitted 7P, so my objection is moot.

      17              THE COURT:    I have.

      18              MR. RUKAVINA:    Okay.

      19              THE COURT:    So, what --

      20              MR. RUKAVINA:    Then it would just be --

      21              THE COURT:    Go ahead.

      22              MR. RUKAVINA:    I'm sorry.     It would just be 7O.

      23   Septuple O or whatever the word is.

      24              THE COURT:    All right.     So I will go ahead and admit

      25   7F through 7Q, with the exception of 7O.          Again, these appear




                                                                           Appx. 04474
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 350 of 610




                                                                              293


       1   at Docket Entry 1877.      And Mr. Morris, you can try to get in

       2   7O the old-fashioned way if you want to.

       3               MR. MORRIS:    Yeah, I'll deal with 7O and the very

       4   limited number of other objections at the beginning of

       5   tomorrow's hearing.

       6               THE COURT:    All right.

       7        (Debtor's Exhibits 7F through 7Q, with the exception of

       8   7O, are received into evidence.)

       9               THE COURT:    So we will reconvene at 9:30 Central time

      10   tomorrow.    I think we're going to hear from the Aon, the D&O

      11   broker, Mr. Tauber; is that correct?

      12               MR. MORRIS:    That's right.    And that should be

      13   shorter than even Mr. Dubel.

      14               THE COURT:    All right.   Well, we will see you at 9:30

      15   in the morning.     We are in recess.

      16               MR. MORRIS:    Thank you so much.

      17               THE CLERK:    All rise.

      18        (Proceedings concluded at 5:09 p.m.)

      19                                     --oOo--

      20                                 CERTIFICATE

      21        I certify that the foregoing is a correct transcript from
           the electronic sound recording of the proceedings in the
      22   above-entitled matter.
      23      /s/ Kathy Rehling                                   02/04/2021

      24   ______________________________________               ________________
           Kathy Rehling, CETD-444                                  Date
      25   Certified Electronic Court Transcriber




                                                                          Appx. 04475
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 351 of 610




                                                                              294

                                             INDEX
       1
           PROCEEDINGS                                                              5
       2
           OPENING STATEMENTS
       3
           -   By   Mr.   Pomerantz                                              12
       4
           -   By   Mr.   Kathman                                                29
       5   -   By   Mr.   Clemente                                               33
           -   By   Mr.   Draper                                                 40
       6   -   By   Mr.   Rukavina                                               42
           -   By   Mr.   Taylor                                                 44
       7   -   By   Mr.   Kathman                                                49
           -   By   Ms.   Drawhorn                                               50
       8
           WITNESSES
       9
           Debtor's Witnesses
      10
           James P. Seery
      11
           - Direct Examination by Mr. Morris                                    58
      12   - Cross-Examination by Mr. Rukavina                                  169
           - Cross-Examination by Mr. Taylor                                    212
      13   - Cross-Examination by Mr. Draper                                    233
           - Redirect Examination by Mr. Morris                                 236
      14   - Recross-Examination by Mr. Rukavina                                249
           - Recross-Examination by Mr. Taylor                                  255
      15
           John S. Dubel
      16   - Direct Examination by Mr. Morris                                   261
           - Cross-Examination by Mr. Draper                                    281
      17   - Cross-Examination by Mr. Taylor                                    284
           - Cross-Examination by Mr. Rukavina                                  287
      18   - Redirect Examination by Mr. Morris                                 290
      19
           EXHIBITS
      20
           Debtor's Docket 1822 Exhibits                             Received    55
      21     (exclusive of Exhibits B, D, E, 4D, 4E, 4G,
              5T, 6R, 6S, 6T, and 6U)
      22   Debtor's Docket 1866 Exhibits                             Received 56
           Debtors' Exhibits 7F through 7Q (exclusive of             Received 293
      23     Exhibit 7O)
           Debtor's Exhibit 7P                                       Received 140
      24   Debtor's Exhibit 7Q                                       Received 75
      25




                                                                          Appx. 04476
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 352 of 610




                                                                           295


   1                                     INDEX
                                        Page 2
   2
        RULINGS
   3

   4    Confirmation Hearing [1808] - Continued to 2/3/2021                  293

   5    Agreed Motion to (1) Assume Non-Residential Real Property            293
        Lease with Crescent TC Investors, LP upon Confirmation of
   6    Plan and (II) Extend Assumption Deadline [1624] -
        Continued to 2/3/2021
   7
        END OF PROCEEDINGS                                                   293
   8
        INDEX                                                            294-295
   9

  10

  11

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  13

  14

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Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 353 of 610




                              EXHIBIT 207




                                                                          Appx. 04478
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 354 of 610




                      IN THE UNITED STATES BANKRUPTCY COURT
   1                    FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION
   2
                                       )     Case No. 19-34054-sgj-11
   3    In Re:                         )     Chapter 11
                                       )
   4    HIGHLAND CAPITAL               )     Dallas, Texas
        MANAGEMENT, L.P.,              )     Wednesday, February 3, 2021
   5                                   )     9:30 a.m. Docket
                  Debtor.              )
   6                                   )     CONFIRMATION HEARING [1808]
                                       )     AGREED MOTION TO ASSUME [1624]
   7                                   )
                                       )     Continued from 02/02/2021
   8                                   )
   9                        TRANSCRIPT OF PROCEEDINGS
                   BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
  10                     UNITED STATES BANKRUPTCY JUDGE.

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Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 355 of 610




                                                                           2


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Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 356 of 610




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                                       UNITED STATES BANKRUPTCY COURT
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   3                                   (214) 753-2062
   4    Transcribed by:                Kathy Rehling
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  24          Proceedings recorded by electronic sound recording;
                 transcript produced by transcription service.
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                                                                          Appx. 04481
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 357 of 610




                                                                              4


       1              DALLAS, TEXAS - FEBRUARY 3, 2021 - 9:38 A.M.

       2              THE CLERK:    All rise.    The United States Bankruptcy

       3   Court for the Northern District of Texas, Dallas Division, is

       4   now in session, the Honorable Stacey Jernigan presiding.

       5              THE COURT:    Good morning.    Please be seated.      All

       6   right.    We are ready for Day Two of the confirmation hearing

       7   in Highland Capital Management, LP, Case No. 19-34054.           I'll

       8   just make sure we've got the key parties at the moment.           Do we

       9   have Mr. Pomerantz, Mr. Morris, for the Debtor team?

      10              MR. POMERANTZ:    Yes.    Good morning, Your Honor.      Jeff

      11   Pomerantz for the Debtors.

      12              MR. MORRIS:    And I'm here as well, Your Honor.

      13              THE COURT:    All right.    Good.

      14        All right.    For our objecting parties, do we have Mr.

      15   Taylor and your crew for Mr. Dondero?

      16              MR. TAYLOR:    Yes, Your Honor.

      17              THE COURT:    Good morning.

      18        All right.    For Dugaboy Trust and Get Good Trust, do we

      19   have Mr. Draper?     (No response.)    All right.    I do see Mr.

      20   Draper.   I didn't hear an appearance.         You must be on mute.

      21              MR. DRAPER:    I'm present, --

      22              THE COURT:    Okay.

      23              MR. DRAPER:    -- Your Honor.

      24              THE COURT:    Okay.    Good morning.

      25              MR. DRAPER:    I'm present, Your Honor.




                                                                          Appx. 04482
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 358 of 610




                                                                               5


       1              THE COURT:    Good morning.     I heard you that time.

       2   Thank you.

       3        All right.    And now for what I'll call the Funds and

       4   Advisors Objectors, do we have Ms. Rukavina present?

       5              MR. RUKAVINA:    Yes, Your Honor.       Good morning.

       6              THE COURT:    Good morning.     All right.    And I will

       7   check.    Do we have Mr. Clemente or your team there?

       8              MR. CLEMENTE:    Yes.     Good morning, Your Honor.      Matt

       9   Clemente from Sidley Austin on behalf of the Committee.

      10              THE COURT:    All right.     Ms. Drawhorn, do we have you

      11   there for the NexPoint Real Estate Partners and related funds?

      12              MS. DRAWHORN:    Yes, Your Honor.       Good morning.

      13              THE COURT:    Good morning.     All right.    Did I miss --

      14   I think that captured all of our Objectors.          Anyone who I've

      15   missed?

      16        All right.    Well, when we recessed yesterday, Mr. Morris,

      17   I think you were about to call your third witness; is that

      18   correct?

      19              MR. MORRIS:    It is, Your Honor.       But if I may, I'd

      20   like to just address the objections to the remaining exhibits,

      21   since I hope that won't take too long.

      22              THE COURT:    All right.     You may.

      23              MR. POMERANTZ:    Actually, Your Honor, before we go

      24   there, we filed the supplemental declaration of Patrick

      25   Leatham, as we indicated we would do yesterday.           We just




                                                                           Appx. 04483
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 359 of 610




                                                                              6


       1   wanted to get confirmation again that nobody intends to cross-

       2   examine him, so that he doesn't have to sit through the

       3   festivities today.

       4              THE COURT:    All right.    Well, I did see that you

       5   filed that.

       6        Does anyone anticipate wanting to cross-examine Mr.

       7   Leatham, the balloting agent?

       8              MR. RUKAVINA:    Your Honor, I take it that that

       9   declaration is part of the record.        As long as the Court

      10   confirms that, I do not intend to call the gentlemen.

      11              THE COURT:    All right.    Well, I will take judicial

      12   notice of it and make it part of the record.         It appears at

      13   Docket Entry No. 1887.      Again, it was filed -- well, it was

      14   actually filed early this morning, I think.         So, all right.

      15   So, with --

      16              MR. MORRIS:    And to avoid --

      17              THE COURT:    Go ahead.

      18              MR. MORRIS:     To -- I was just going to say, to avoid

      19   any ambiguity, Your Honor, the Debtor respectfully moves that

      20   document into the evidentiary record.

      21              THE COURT:    All right.    The Court will --

      22        (Interruption.)

      23              THE COURT:    Someone needs to put their phone on mute,

      24   perhaps.    Unless someone was intentionally speaking.

      25        All right.    So, I will grant that request.       Docket Entry




                                                                          Appx. 04484
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 360 of 610




                                                                              7


       1   No. 1887 will be part of the confirmation evidence of this

       2   hearing.

       3        (Debtor's Patrick Leatham Declaration at Docket 1887 is

       4   received into evidence.)

       5              THE COURT:    All right.    Anything else?    There were

       6   other exhibits I think you were going to talk about?

       7              MR. MORRIS:    Yeah.    Let me just go through them one

       8   at a time, if I may, Your Honor.

       9              THE COURT:    Okay.

      10              MR. MORRIS:    All right.    So, I'm going to deal with

      11   the transcripts that have been objected to one at a time.              And

      12   I'll just take them in order.       The first one can be found at

      13   Exhibit B.    It is on Docket No. 1822.

      14              THE COURT:    Okay.

      15              MR. MORRIS:    Exhibit B is the deposition transcript

      16   from the December 16, 2020 hearing on the Advisor and the

      17   Funds' motion for an order restricting the Debtor from

      18   engaging in certain CLO-related transactions.

      19        During that hearing, the Court heard the testimony of

      20   Dustin Norris.     Mr. Norris is an executive vice president for

      21   each of the Funds and each of the Advisors.

      22        We would be offering the transcript for the limited

      23   purposes of establishing Mr. Dondero's ownership and control

      24   over the Advisors.

      25        Mr. Norris also gave some pretty substantial testimony




                                                                          Appx. 04485
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 361 of 610




                                                                              8


       1   concerning the so-called independent board of the Funds.

       2          And as a general matter, Your Honor, to the extent that

       3   the objection is on hearsay grounds, the transcript -- at

       4   least the portions relating to Mr. Norris's testimony --

       5   simply are not hearsay under Evidentiary Rule 801(d)(2).

       6   These are statements of an opposing party, and I think we fall

       7   well within that.

       8          So, we would respectfully request that the Court admit

       9   into the record the transcript from December 16th, at least

      10   the portions of which are Mr. Norris's testimony.

      11               THE COURT:    All right.   And, again, these appear at

      12   -- I think I heard you say B and then E.         Is that correct?

      13               MR. MORRIS:    Just B.   Just B at the moment.      B as in

      14   boy.

      15               THE COURT:    Okay.   Just B at the moment?

      16          All right.   Any objections to that?

      17               MR. RUKAVINA:    Your Honor, I had objected, but now

      18   that it's offered for that limited purpose, I withdraw my

      19   objection.

      20               THE COURT:    All right.   Then B -- I'm sorry.      Was

      21   there anyone else speaking?

      22          B will be admitted.   And, again, it appears at Docket

      23   Entry 1822.

      24          (Debtor's Exhibit B, Docket Entry 1822, is received into

      25   evidence.)




                                                                          Appx. 04486
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 362 of 610




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       1              MR. MORRIS:    Okay.    Next, the next transcript can be

       2   found at Exhibit 6R, and that's Docket 1866.         Exhibit 6R is

       3   the transcript of the January 9, 2020 hearing where the Court

       4   approved the corporate governance settlement.         We think that

       5   that transcript is highly relevant, Your Honor, because it

       6   reflects not only Mr. Dondero's notice and active

       7   participation in the consummation of the corporate governance

       8   agreement, but it also reflects the Court and the parties'

       9   views and expectations that were established at that time,

      10   such that if anybody contends that there's any ambiguity about

      11   any aspect of the order, I believe that that would be the best

      12   evidence to resolve any such disputes.

      13        So, for the purpose of establishing Mr. Dondero's notice,

      14   Mr. Dondero's participation, and the parties' discussions and

      15   expectations with regard to every aspect of the corporate

      16   governance settlement, including Mr. Dondero's stipulation,

      17   the order that emerged from it, and the term sheet, we think

      18   that that's properly into evidence.

      19              THE COURT:    Any objection?

      20        All right.    6R will be admitted.      Again, at Docket Entry

      21   1822.

      22        (Debtor's Exhibit 6R, Docket Entry 1822, is received into

      23   evidence.)

      24              MR. MORRIS:    Next, Your Honor, we've got Exhibits 6S

      25   as in Sam and 6T as in Thomas.       They're companions.      And they




                                                                          Appx. 04487
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 363 of 610




                                                                              10


       1   can be found at Docket 1866.        And those are the transcripts.

       2   The first one is from the October 27th disclosure statement

       3   hearing, and the second one actually is from the Patrick

       4   Daugherty, I believe, lift stay motion.

       5        I'll deal with the first one first, Your Honor.          We

       6   believe that the transcript of the October 27th hearing goes

       7   to the good faith nature of the Debtor's proposed plan.            It

       8   shows that the Debtor and the Committee were not always

       9   aligned on every interest.        It shows that the Committee, in

      10   fact, strenuously objected to certain aspects of the then-

      11   proposed plan by the Debtors.        And we just think it goes to

      12   the heart of the good faith argument.

      13        The transcript for the 28th, we would propose to offer for

      14   the limited purpose of the commentary that you offered at the

      15   end of that hearing, where Your Honor made it clear that

      16   employee releases would not be -- would not likely be

      17   acceptable to the Court unless there was some consideration

      18   paid.

      19        And it was really, frankly, Your Honor's comments that

      20   helped spur the Committee and the Debtor to discuss over the

      21   next few weeks the resolution of the issues concerning the

      22   employee releases.

      23        So we're not offering Exhibit 6T for anything having to do

      24   with Mr. Daugherty or his claim, but just the latter portion

      25   relating to the discussion about the employee releases.            And,




                                                                          Appx. 04488
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 364 of 610




                                                                              11


       1   with that, we'd move those transcripts into evidence.

       2              THE COURT:    Any objection?

       3              MR. RUKAVINA:    Your Honor, yes, I do object.        6S is

       4   hearsay, and under Rule 804(b)(1) it's admissible only if the

       5   witnesses are unavailable to be called.         There's been no

       6   suggestion that they're not.

       7        As far as 6T, what Your Honor says is not hearsay, so as

       8   long as it's just what Your Honor was saying, I do not object

       9   to 6T.   I object to the balance of it.

      10              THE COURT:    Okay.    What about that objection on 6S?

      11              MR. MORRIS:    Yeah.    One second, Your Honor.      I would

      12   go to the residual exception to the hearsay rule under 807.

      13   807 specifically applies if the statement being offered is

      14   supported by sufficient guarantees of trustworthiness and it's

      15   more probative on the point -- and the point here is simply to

      16   help buttress the Debtor's good faith argument -- and it's

      17   more probative on the point than any other evidence.           And I'm

      18   not sure what better evidence there would be than an on-the-

      19   record discussion between the Debtor and the Committee as to

      20   the disputes they were having on the disclosure statement.

      21              THE COURT:    All right.    I'm going to overrule the

      22   objection and accept that 807 exception as being valid here.

      23   So, I am admitting both 6S and 6T.        And for the record, I

      24   think you said they appeared at 1866.        They actually appear at

      25   1822.




                                                                          Appx. 04489
Case 21-03005-sgj Doc 134-7 Filed 12/18/21     Entered 12/18/21 02:10:25   Page 365 of 610




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       1              MR. MORRIS:    Okay, Your Honor.       I am corrected.     It

       2   is 6S and 6T, and they are indeed at 1822.           Forgive me.

       3              THE COURT:    Okay.

       4        (Debtor's Exhibits 6S and 6T, Docket Entry 1822, is

       5   received into evidence.)

       6              MR. MORRIS:    The next transcript and the last one is

       7   6U, which is also at 1822.        6U is the transcript from the

       8   December 10th hearing on the Debtor's motion for a TRO against

       9   Mr. Dondero.    We believe the entirety of that transcript is

      10   highly relevant, and it relates specifically to the Debtor's

      11   request for the exculpation, gatekeeper, and injunction

      12   provisions of their plan.         And on that basis, we would offer

      13   that into evidence.

      14              THE COURT:    Any objection?

      15              MR. TAYLOR:    Yes, Your Honor.       This is Clay Taylor on

      16   behalf of Mr. Dondero.

      17        We do object, on the same basis that it is hearsay.            There

      18   has certainly been plenty of testimony before this Court and

      19   on the record as to why the Debtor believes that its plan

      20   provisions are appropriate and allowable, and there's no need

      21   to allow hearsay in for that.         All of the witnesses were

      22   available to be called by the Debtor.          The Debtor is in the

      23   midst of its case and can call whoever else it needs to call

      24   to get these into evidence or to get those docs into evidence.

      25   And therefore, we don't believe that any residual exception




                                                                            Appx. 04490
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 366 of 610




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       1   should apply.

       2              THE COURT:    Mr. Morris, your response?

       3              MR. MORRIS:    First, Your Honor, any statements made

       4   by or on behalf of Mr. Dondero would not be hearsay under

       5   801(d)(2).

       6        And secondly, there is no other evidence of the Debtor's

       7   motion of the -- of the argument that was had.          There is no

       8   other evidence, let alone better evidence, than the transcript

       9   itself.    And I believe 807 is certainly the best rule to

      10   capture that.

      11        It is a statement that's supported by sufficient

      12   guarantees of trustworthiness.        Again, these are the litigants

      13   appearing before Your Honor.       It may not be sworn testimony,

      14   but I would hope that everybody is doing their best to comply

      15   with the guarantee of trustworthiness in that regard, putting

      16   aside advocacy.

      17        And it is more probative on the point for which we're

      18   offering -- and that is on the very issues of exculpation,

      19   gatekeeper, and injunction -- than anything else we can offer

      20   in that regard.

      21              THE COURT:    All right.    I overrule the objection and

      22   I will admit 6U.     Okay.

      23        (Debtor's Exhibit 6U, Docket Entry 1822, is received into

      24   evidence.)

      25              MR. MORRIS:    All right.    Going back to the top, Your




                                                                          Appx. 04491
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 367 of 610




                                                                              14


       1   Honor, Companions Exhibit D as in David and E as in Edward,

       2   which are at Docket 1822.

       3        Exhibit D is an email string that relates to the Debtor's

       4   communications with the Creditors' Committee concerning a

       5   transaction known as SSP, which stands for Steel Products --

       6   Structural and Steel Products.       So that was an asset that the

       7   Debtor was selling, trying to sell at a particular point in

       8   time.   And Exhibit E is a deck that the Debtor had prepared

       9   for the benefit of the UCC.

      10        And if we looked that those documents, Your Honor, you'd

      11   see that the Debtor was properly following the protocols that

      12   were put in place in connection with the January 9th corporate

      13   governance settlement.     And the Committee is being informed by

      14   the Debtor of what the Debtor intends to do with that

      15   particular asset.

      16        And the reason that it's particularly relevant here, Your

      17   Honor, is Dustin Norris had submitted a declaration in support

      18   of their motion that was heard on September -- on December

      19   16th.   That declaration is an exhibit to what is Exhibit A on

      20   Docket 1822.    Exhibit A on the docket is the Advisor and the

      21   Funds' motion.    Okay?   So, Exhibit A is the motion.        Attached

      22   to that Exhibit A is an exhibit, which is Mr. Norris's

      23   declaration.

      24        At Paragraph 9 of Mr. Norris's declaration, he takes issue

      25   with the Debtor's process for the sale of that particular




                                                                          Appx. 04492
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 368 of 610




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       1   asset.

       2        And so, having admitted already into the record Mr.

       3   Norris's declaration, we believe that these documents rebut

       4   the statements made in Mr. Norris's declaration, and indeed,

       5   were part of the transcript that has now already been admitted

       6   into evidence.     So we think the documents are needed because

       7   they were exhibits during that hearing.

       8              THE COURT:    All right.    Any objection?

       9              MR. RUKAVINA:    Your Honor, yes, I object based on

      10   authenticity.    This document has not been authenticated, nor

      11   has the attachment.      And on hearsay.    And I don't think that

      12   the Debtor can introduce one exhibit just to introduce another

      13   to rebut the first.

      14              THE COURT:    Your response?

      15              MR. MORRIS:    You know, in all honesty, I wish that

      16   the authenticity objection had been made yesterday and I might

      17   have been able to deal with that.

      18        These documents have already been admitted by the Court

      19   against these very same parties.        I think it would be a little

      20   unfair for them now to exclude the document that they had no

      21   objection to the first time around.        They clearly relate to

      22   Paragraph 9 of Mr. Norris's declaration, which was admitted

      23   into evidence in this case without objection.

      24              THE COURT:    All right.    I overrule the objection.        D

      25   and E are admitted.




                                                                          Appx. 04493
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 369 of 610




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       1        (Debtor's Exhibits D and E, Docket Entry 1822, is received

       2   into evidence.)

       3              MR. MORRIS:    Next, Your Honor, we have Exhibits 4D as

       4   in David, 4E as in Edward, and 4G as in Gregory.          And those

       5   can all be found on Docket 1822.       And to just cut to the

       6   chase, Your Honor, these are the K&L Gates letter that were

       7   sent in late December and my firm's responses to those

       8   letters.

       9        Those letters are being offered, again, to support --

      10   well, the Debtor contends that, in the context of this case,

      11   and at the time and under the circumstances, the letters

      12   constituted interference and evinces a disregard for the

      13   January 9th order, for Mr. Dondero's TRO, and for the Court's

      14   comments at the December 16th hearing.        And they go

      15   specifically to the Debtor's request for the gatekeeper,

      16   exculpation, and injunction provisions.

      17        To the extent that those exhibits contain the letters that

      18   were sent on behalf of the Funds and on behalf of the

      19   Advisors, they would simply not be hearsay under 801(d)(2).

      20   And to the extent the objection goes to my firm's response, I

      21   think just as a matter of completeness the Court -- I won't

      22   offer them for the truth of the matter asserted.          I'll simply

      23   offer the Pachulski responses at those exhibits for the

      24   purpose of stating the Debtor's position, without regard to

      25   the truth of the matter asserted.




                                                                          Appx. 04494
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 370 of 610




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       1               THE COURT:    All right.    Any objection?

       2               MR. RUKAVINA:    Your Honor, with that understanding,

       3   I'll withdraw my objection to these exhibits.

       4               THE COURT:    All right.    So, 4D, 4E, and 4G are

       5   admitted.

       6        (Debtor's Exhibits 4D, 4E, and 4G, Docket Entry 1822, are

       7   received into evidence.)

       8               MR. MORRIS:    Next, Your Honor, we've got Exhibit 5T

       9   as in Thomas.    That document can be found at Docket No. 1822.

      10   Your Honor, that document is a schedule of a long list of

      11   promissory notes that are owed to the Debtor by the Advisors,

      12   Dugaboy, and Mr. Dondero.         But I think that, upon reflection,

      13   I'll withdraw that exhibit.

      14               THE COURT:    All right.

      15        (Debtor's Exhibit 5T is withdrawn.)

      16               MR. MORRIS:    And then, finally, just one last one.         I

      17   think Mr. Rukavina objected to Exhibit 7O as in Oscar, which

      18   can be found at Docket No. 1877.         Exhibit 7O are the documents

      19   that were admitted in the January 21st hearing, and I believe

      20   that they all go -- they're being offered to support the

      21   Debtor's application for the gatekeeper, exculpation, and

      22   injunction provisions.

      23               THE COURT:    All right.    7O is being offered.     Any

      24   objection?

      25               MR. RUKAVINA:    Yes, Your Honor.     I do object.     Those




                                                                           Appx. 04495
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 371 of 610




                                                                               18


       1   are exhibits from a separate adversary proceeding that has not

       2   been concluded.     In fact, my witness is still on the stand in

       3   that.

       4        And I'll note that that's another 20,000 pages that's very

       5   duplicative of the current record, and we already are going to

       6   have an unwieldy record.       So I question why Mr. Norris -- why

       7   Mr. Morris would even need this.

       8        So that's my objection, Your Honor.

       9              MR. MORRIS:    You know what?      That's a fair point,

      10   Your Honor.    And -- that is a fair point, and I guess what I'd

      11   like to do is at some point this morning see if I can single

      12   out documents that are not duplicative and come back to you

      13   with very specific documents.        I think that's a very fair

      14   point.

      15              THE COURT:    All right.

      16              MR. MORRIS:    And with that, Your Honor, I think we've

      17   now addressed every single document that the Debtor has

      18   offered into evidence, and I believe, other than the

      19   withdrawal of --

      20              THE COURT:    5T.

      21              MR. MORRIS:    -- 5T --

      22              THE COURT:    Uh-huh.

      23              MR. MORRIS:    -- and the open question on 7O, I

      24   believe every single document at Docket 1822, 1866, and 1877

      25   has been admitted.      Do I have that right?




                                                                           Appx. 04496
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 372 of 610




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       1              THE COURT:    All right.    Yes, because I did admit

       2   yesterday 7F through 7Q, minus 7O, at 1877.         So, yes, I agree

       3   with what you just said.

       4              MR. RUKAVINA:    Your Honor, I apologize.      And Mr.

       5   Morris.   I have that 5S -- or six -- that 5S and 6C, Legal

       6   Entities List, have not been admitted.          But if I'm wrong on

       7   that, then I apologize.

       8              THE COURT:    Okay.    5S was part of 1866, which I

       9   admitted entirely.

      10        And what was the other thing?

      11              MR. RUKAVINA:    I'm counting letters, Your Honor.

      12   One, two, three, four.      6D, Legal Entities List, Redacted.

      13              THE COURT:    Okay.    6B would have been --

      14              MR. RUKAVINA:    D, Your Honor, as in dog.         I'm sorry.

      15   6-dog.

      16              THE COURT:    Okay.    6D, yeah, that was part of 1822

      17   that I admitted en masse yesterday.

      18              MR. MORRIS:     Yeah, I didn't hear an objection to that

      19   one yesterday, and I agree, Your Honor.         My records show that

      20   it was already admitted.

      21              MR. RUKAVINA:    Then I apologize to the Court.

      22              THE COURT:    All right.    Any --

      23              MR. MORRIS:    No worries.    Let's get --

      24              THE COURT:    Any other housekeeping matters before we

      25   go to the next witness?




                                                                           Appx. 04497
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25     Page 373 of 610




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      1               MR. MORRIS:    No, Your Honor.     Not from the Debtor.

      2               THE COURT:    Anyone else?

      3        All right.    Well, let's hear from the next witness.

      4               MR. MORRIS:    All right, Your Honor.      The Debtor calls

      5   as its next and last witness Marc Tauber.

      6               THE COURT:    All right.    Mr. --

      7               MR. MORRIS:    Mr. Tauber, if you're on the phone,

      8   please identify yourself.

      9        (No response.)

     10               THE COURT:    Mr. Tauber, we're not hearing you.

     11   Perhaps you are on mute.         Could you unmute your device?

     12        (No response.)

     13               THE COURT:    All right.    If it's a phone, you need to

     14   hit *6.

     15        Hmm.   Any -- do you know which caller he is?

     16               THE CLERK:    I'm trying to find out.

     17               THE COURT:    All right.    We've got well over a hundred

     18   people, so we can't easily identify where he is at the moment.

     19        All right.    Mr. Tauber, Marc Tauber?       This is Judge

     20   Jernigan.    We cannot hear you, so -- all right.         Well, maybe

     21   we can --

     22               MR. MORRIS:    Can we just take a three-minute break

     23   and let me see if I can track him down?

     24               THE COURT:    Yes.     Why don't you do that?       So let's

     25   take a three-minute break.




                                                                             Appx. 04498
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 374 of 610




                                                                              21


       1              MR. MORRIS:    Thank you, Your Honor.

       2              THE COURT:    Okay.

       3        (A recess ensued from 10:02 a.m. until 10:04 a.m.)

       4              MR. MORRIS:    Your Honor, if we may, he'll be dialing

       5   in in a moment.     But I've been reminded that there is one more

       6   exhibit.    It's the exhibit I used on rebuttal yesterday with

       7   Mr. Seery.    There was the one document that was on the docket,

       8   and that was the Debtor's omnibus reply to the plan

       9   objections, where we looked at Paragraph 135, I believe.           And

      10   we would offer that into evidence for the purpose of just

      11   establishing that the Debtor had given notice no later than

      12   January 22nd of its agreement in principle to assume the CLO

      13   management contracts.

      14        And then the second exhibit that we had offered that I

      15   think I suggested could be marked as Exhibit 10A was the email

      16   string between my firm and counsel for the CLO Issuers where

      17   they agreed to the agreement in principle for the Debtor's

      18   assumption of the CLO management contracts.

      19        And we would offer both of those documents into evidence

      20   as well.

      21              THE COURT:    All right.    Any objections?

      22        All right.    Well, I will admit them.

      23        As far as this email string with the CLO Issuers that you

      24   called 10A, does that appear on the docket?         I remember you

      25   putting it on the screen, but, if not, you'll need to file a




                                                                          Appx. 04499
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 375 of 610




                                                                              22


       1   supplement to the record, a supplemental exhibit.

       2              MR. MORRIS:    We will, Your Honor.     We'll do that for

       3   both of those exhibits.

       4              THE COURT:    And then as -- okay, for both?       Because I

       5   -- I've read that reply, and I could reference the docket

       6   number if we need to.

       7              MR. MORRIS:    We'll clean that up, Your Honor.

       8              THE COURT:    Okay.

       9        (Debtor's Exhibit 10A is received into evidence.)

      10        (Clerk advises Court re new caller.)

      11              THE COURT:    Oh, okay.    Just a minute.    I was looking

      12   up something.

      13        (Pause.)

      14              THE COURT:    All right.    Well, you're going to file --

      15   hmm, I really wanted to just reference where that reply brief

      16   appears on the record.     There were a heck of a lot of things

      17   filed on January 22nd.

      18        (Interruption.)

      19              THE COURT:    Okay.    We'll --

      20              MR. MORRIS:    All right.    We're just going to need one

      21   more minute with Mr. Tauber.       It's my fault, Your Honor.

      22              THE COURT:    Okay.

      23              MR. MORRIS:    I didn't send him easily-digestible

      24   dial-in instructions.     He'll be just a moment.

      25              THE COURT:    Okay.




                                                                          Appx. 04500
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 376 of 610




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      1        (Court confers with Clerk regarding exhibit.)

      2               THE COURT:    Oh, it's at 1807?     Okay.   So, the reply

      3   brief that we talked about Paragraph 35, that is at Docket No.

      4   1807.   Okay?   All right.

      5        (Debtor's Omnibus Reply to Plan Objections, Docket 1807,

      6   is received into evidence.)

      7        (Pause.)

      8               MR. TAUBER:    Hi.    It's Marc Tauber.

      9               THE COURT:    All right.

     10               MR. MORRIS:    Excellent.

     11               THE COURT:    Mr. Tauber, this is Judge Jernigan.        I

     12   can hear you, but I can't see you.         Do you have a video --

     13               MR. TAUBER:    Yeah, I don't know why it's not working.

     14               THE COURT:    Hmm.

     15               MR. TAUBER:    I'm on WebEx all day.      Usually it works

     16   no problem.

     17               THE COURT:    Okay.    Well, do you want to give it

     18   another try or two?

     19               MR. TAUBER:    Yeah.    It looks like it's starting to

     20   come up.    It's all -- pictures, so --

     21               THE COURT:    Okay.

     22               MR. TAUBER:    -- hopefully you'll be able to see me in

     23   a second.

     24               THE COURT:    Okay.    The first thing I'm going to need

     25   to do is swear you in, so we'll see if the video comes up here




                                                                           Appx. 04501
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 377 of 610




                                                                               24


       1   in a minute.

       2              MR. TAUBER:    Okay.

       3              THE COURT:    Can you see us, Mr. Tauber?

       4              MR. TAUBER:    I can see four people.       The rest are

       5   just names still.

       6              THE COURT:    Okay.

       7              MR. TAUBER:    I can go out and try to come back in, if

       8   you think that's --

       9              THE COURT:    I'm afraid of losing you.       So, your

      10   audio, is it on your phone or is it on --

      11              MR. TAUBER:    No.

      12              THE COURT:    -- a computer?

      13              MR. TAUBER:    On the computer.     Yeah.

      14              THE COURT:    Okay.    So you're coming through loud and

      15   clear on your computer.

      16              MR. TAUBER:    Yeah.   Like I said, we use WebEx for

      17   work, so I have them on all day long without any issues,

      18   typically.

      19              THE COURT:    Okay.

      20        (Court confers with Clerk.)

      21              THE COURT:    Okay.    Our court reporter thinks it's a

      22   bandwidth issue on your end, so I don't --

      23              MR. TAUBER:    There's only two of us here at home on

      24   the line right now, so I don't know why.         It looks like it's

      25   trying to come in, and then just keeps --




                                                                          Appx. 04502
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 378 of 610




                                     Tauber - Direct                          25


       1              THE COURT:    I at least see your name on the screen

       2   now, which I did not before.

       3              MR. TAUBER:    Yeah.

       4              THE COURT:    So hopefully we're going to -- ah.        We

       5   got you.

       6              MR. TAUBER:    There it is.

       7              THE COURT:    All right.

       8              MR. TAUBER:    Yeah.

       9              MR. MORRIS:    There we go.

      10              MR. TAUBER:    I might lose you, though.      Give me one

      11   second, because I have a thing saying the WebEx meeting has

      12   stopped working.     Let me close that.

      13              THE COURT:    Okay.    We've still got you.    Please raise

      14   your right hand.

      15              MR. TAUBER:    Okay.

      16                  MARC TAUBER, DEBTOR'S WITNESS, SWORN

      17              THE COURT:    All right.    Thank you.    Mr. Morris?

      18              MR. MORRIS:    Thank you, Your Honor.

      19                             DIRECT EXAMINATION

      20   BY MR. MORRIS:

      21   Q    Good morning, Mr. Tauber.

      22   A    Good morning.

      23   Q    I apologize for the delay in getting you the information.

      24   Are you currently employed, sir?

      25   A    Yes, sir.




                                                                          Appx. 04503
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 379 of 610




                                      Tauber - Direct                         26


       1   Q      By whom?

       2   A      Aon Financial Services.

       3   Q      And does Aon Financial Services provide insurance

       4   brokerage services among its services?

       5   A      Yes.

       6   Q      And what position do you currently hold?

       7   A      Vice president.

       8   Q      How long have you been a vice president at Aon?

       9   A      Since October of 2019.

      10   Q      Can you just describe for the Court generally your

      11   professional background?

      12   A      Sure.   I spent about 20 years on Wall Street, working in a

      13   variety of jobs, in research, trading, and as the COO of a

      14   hedge fund.       And then in 2010 I switched to the insurance

      15   world.    I was an underwriter for ten-plus years for Zurich and

      16   QBE.    And then in 2019 switched to the brokering side for Aon.

      17   Q      And what are your duties and responsibilities as a vice

      18   president at Aon?

      19   A      Well, we're responsible or my team and I are responsible

      20   for creating bespoke insurance programs, focusing on D&O and

      21   E&O insurance for our insureds.

      22   Q      And what is, for the benefit of the record, what do you

      23   mean by bespoke insurance program?

      24   A      Well, each client is different, so the programs and the

      25   policies that we put in place might be off-the-shelf policies,




                                                                          Appx. 04504
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 380 of 610




                                     Tauber - Direct                          27


       1   but we endorse and amend them as needed to meet the needs of

       2   the individual client.

       3   Q    And during your work, both as an underwriter and now as a

       4   broker, have you familiarized yourself with the market for D&O

       5   and E&O insurance policies?

       6   A    Yes.

       7   Q    All right.    Let's talk about the early part of this case.

       8   Did there come a time in early 2020 when Aon was asked to

       9   place insurance on behalf of the board of Strand Advisors?

      10   A    Yes.

      11   Q    Can you describe for the Court how that came about?

      12   A    Sure.   One of our account executives, a man by the name of

      13   Jim O'Neill, had a relationship with a man named John Dubel,

      14   who was one of the appointees to serve on -- as a member of

      15   Strand, which was being appointed, as we understood it, to be

      16   the general partner of Highland Capital Management by the

      17   Bankruptcy Court.     And they -- we had done -- or, Jim and John

      18   had a longstanding relationship.        I had actually underwritten

      19   an account for a previous appointment of John's when I was an

      20   underwriter, so I had some familiarity with John as well, and

      21   actually brokered a subsequent deal for John at Aon.

      22        So I had, again, some familiarity with John, and we were,

      23   you know, tasked with going out and finding a program for

      24   Strand.

      25   Q    Can you describe what happened next?        How did you go about




                                                                          Appx. 04505
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 381 of 610




                                     Tauber - Direct                          28


       1   accomplishing that task?

       2   A    So, there are a number of markets or insurance companies

       3   that provide management liability insurance, which this was a

       4   management liability-type policy.        D&O is a synonym for

       5   management liability, I guess you'd say.         And we approached

       6   the, I think, 14 or 15 markets that we knew to provide

       7   insurance in this space and that would be willing to buy the

       8   type of policy we were seeking and have interest in a risk

       9   like this, which had a little hair on it.         Obviously, there

      10   was the Dondero involvement, as well as the bankruptcy.

      11   Q    As part of that process, did you and your firm put

      12   together a package of information for prospective interested

      13   parties?

      14   A    Yes.

      15   Q    Can you describe for the Court what was contained in the

      16   package?

      17   A    Had the C.V.s, some relevant pleadings from the case,

      18   court order.    I'd have to go back and look exactly.         But sort

      19   of just general, you know, general information that was

      20   available about the situation at hand and Strand's

      21   appointment.

      22   Q    And the court order that you just mentioned, is that the

      23   one that had that gatekeeper provision in it?

      24   A    Correct.

      25   Q    And can you explain to the Court why you and your team




                                                                          Appx. 04506
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 382 of 610




                                     Tauber - Direct                           29


       1   decided to include the order with the gatekeeper provision in

       2   the package that you were delivering to prospective carriers?

       3   A    Sure.   In our initial conversations to discuss our

       4   engagement, the gatekeeper function was explained to us by

       5   John.    And I'm not sure who else was on the initial call.

       6   And, but it was explained to us that I guess Judge Jernigan

       7   would sit as the gatekeeper between any potential claimant

       8   against the insureds and, you know, would basically have to

       9   approve any claim that would be made against (indecipherable),

      10   which would thereby prevent any frivolous claims from

      11   happening.

      12   Q    All right.    Let's just talk for a moment.        How did you and

      13   your firm decide which underwriters to present the package to?

      14   A    Again, you know, I -- my background, or my Wall Street

      15   background, obviously, sort of made me have a -- it was very

      16   unique for the insurance world when I switched over, so I had

      17   sort of risen to a certain level of expertise within the

      18   space.    And, you know, our team also is very experienced, and

      19   decades of experience in the insurance world.          So we're very

      20   familiar with the markets that are willing to provide these

      21   types of policies and the markets that would be likely to take

      22   a look at a risk such as this.

      23   Q    Okay.   You mentioned that there was -- I think your words

      24   were a little hair on this, and one of the things you

      25   mentioned was bankruptcy.         How did the fact that Strand was




                                                                           Appx. 04507
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 383 of 610




                                    Tauber - Direct                           30


       1   the general partner of a debtor in bankruptcy impact your

       2   ability to solicit D&O insurance?

       3   A    Well, it's just not a plain vanilla situation, so people

       4   are somewhat, you know, are -- I think -- so, the type of

       5   insurance, D&O insurance, that we write is very different from

       6   auto insurance, as an example.       Auto insurance, people expect

       7   there to be a certain amount of claims, and they expect the

       8   premiums to cover the claims plus the expenses and then

       9   provide them a reasonable profit on top of that.

      10        Our insurance is really much more by binary.         The

      11   expectation for underwriters is that they will be completing

      12   ignoring -- or, avoiding risk at all costs, wherever possible.

      13   So anytime there is a situation that looks a little risky, so

      14   the premium might be a little higher, the deductible might be

      15   a little higher, but, again, the underwriters are really

      16   making a bet that they will not have a claim.         Because the

      17   premiums pale in comparison to the limits that are available

      18   to the policyholder.

      19   Q    And so --

      20   A    So, -- I'm sorry.     What were you going to say?

      21   Q    I didn't mean to interrupt.

      22   A    Yeah.

      23   Q    Have you finished your answer?

      24   A    Sure.

      25   Q    Okay.   So, were some of the 14 or 15 markets that you




                                                                           Appx. 04508
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 384 of 610




                                     Tauber - Direct                           31


       1   contacted reluctant to underwrite because there was a

       2   bankruptcy ongoing?

       3   A    Well, I think that probably -- I mean, there are certain

       4   markets that we didn't go to in the beginning because they

       5   would be very reluctant to write a risk that had that kind of

       6   hair on it, based on our experience from dealing with them.

       7   And, you know, I think the bankruptcy was certainly a little

       8   bit of an issue.     And then, obviously, as people did their

       9   research and -- or if they weren't already familiar with

      10   Highland and got to know, you know, got -- I will just say for

      11   a simple Google search and learned a little bit about Mr.

      12   Dondero, I think there was definitely some significant

      13   reluctance to write this program.

      14   Q    Was the fact that the Debtor -- was the fact that the

      15   Debtor is a partnership an issue that came up, in your -- in

      16   your process?

      17   A    There are certainly some carriers who won't write what's

      18   known as general partnership liability insurance.             So, yes,

      19   that is part of that.     It was part of the limiting factor in

      20   terms of who we went to.

      21   Q    Okay.   And, finally, you mentioned Mr. Dondero.           What role

      22   did he play in your ability to obtain insurance for the Strand

      23   board?

      24   A    Well, that's a very significant role.        As, you know, as

      25   mentioned, the underwriters are very risk-averse, so the




                                                                            Appx. 04509
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 385 of 610




                                     Tauber - Direct                           32


       1   litigiousness of Mr. Dondero is a very strong red flag

       2   prohibiting a number of people from writing the insurance at

       3   all.    And the ones that were writing, that were willing to

       4   provide options, were looking for protections from Mr.

       5   Dondero.

       6   Q      And what kind of protections were they looking for?

       7   A      Well, the gatekeeper function was a key factor.        That was

       8   really the only way we could even start a conversation with

       9   any of the people that we were able to engage.          And in

      10   addition, they wanted a, you know, sort of a belts and

      11   suspenders additional protection of having an exclusion

      12   preventing any litigation brought by or on behalf of Mr.

      13   Dondero.

      14   Q      Were you able to identify any carrier who was prepared to

      15   underwrite D&O insurance for Strand without the gatekeeper

      16   provision or without a Dondero exclusion?

      17   A      We were not.

      18   Q      Okay.   Let's fast-forward now.    Has your firm been

      19   requested to obtain professional management insurance for the

      20   contemplated post-confirmation debtor entities and individuals

      21   associated with those entities?

      22   A      Yes.

      23   Q      Okay.   So let's just talk about the entities first, the

      24   Claimant Trust and the Litigation Trust.         In response to that

      25   request, have you and your team gone out into the marketplace




                                                                            Appx. 04510
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 386 of 610




                                     Tauber - Direct                          33


       1   to try to find an underwriter willing to underwrite a policy

       2   for those entities?

       3   A    Yes.

       4   Q    And have you been able to find any carrier who's willing

       5   to provide coverage for the Claimant Trust and the Litigation

       6   Trust?

       7   A    Yes.

       8   Q    And how many -- how many have expressed a willingness to

       9   do that?

      10   A    Two.

      11   Q    And have those two carriers indicated that there would be

      12   conditions to coverage for the entities?

      13   A    Both will require a -- the continuation of the gatekeeper

      14   function, as well as a Dondero exclusion.

      15   Q    Okay.   Have you also been tasked with the responsibility

      16   of trying to find coverage for the individuals associated with

      17   the Claimant Trust and the Litigation Trust, meaning the

      18   Claimant Trustee, the Litigation Trustee, and the Oversight

      19   Board?

      20   A    Yes.    So we did it concurrently.

      21   Q    Okay.   So, are the two firms that you just mentioned

      22   willing to provide insurance for the individuals as well as

      23   the entities?

      24   A    Correct.    With the same stipulations.

      25   Q    They require -- they both require the gatekeeper and the




                                                                          Appx. 04511
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 387 of 610




                                     Tauber - Direct                          34


       1   Dondero exclusion?

       2   A    That's correct.

       3   Q    Is there any other firm who has indicated a willingness to

       4   consider providing D&O insurance for the individuals?

       5   A    There is one that is willing to do so, as long as the

       6   gatekeeper function remains in place.        They have indicated

       7   that if the gatekeeper function was to be removed, that they

       8   would then add a Dondero exclusion to their coverage.

       9   Q    So is there any insurance carrier that you're aware of who

     10    is prepared to insure either the individuals or the entities

     11    without a gatekeeper provision?

     12    A    No.

     13    Q    And that last company, I just want to make sure the record

     14    is clear:    If the gatekeeper provision is overturned on appeal

     15    or is otherwise not effective, do you have an understanding as

     16    to what happens to the insurance coverage?

     17    A    They will either add an exclusion for any claims brought

     18    by or on behalf of Mr. Dondero or cancel the coverage

     19    altogether.

     20                MR. MORRIS:    I have no further questions, Your Honor.

     21                THE COURT:    All right.   Cross of this witness?

     22                               CROSS-EXAMINATION

     23    BY MR. RUKAVINA:

     24    Q    Mr. Tauber, I'm a little confused.        So, the insurance

     25    that's being written now for the post-bankruptcy entities, did




                                                                          Appx. 04512
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 388 of 610




                                        Tauber - Cross                        35


       1   I hear you say that there is one carrier that would give that

       2   insurance subject to having a Dondero exclusion?

       3   A    So, first of all, there's nothing currently being written.

       4   We have solicited quotes.        So, just to make sure that that --

       5   I want to make sure that's clear.

       6        We have three carriers that are willing to provide varying

       7   levels of coverage.        All three will only do so with the

       8   existence of the gatekeeper function continuing to be in

       9   place.     One of the three has -- two of those three will also

     10    provide the coverage with -- even with the gatekeeper function

     11    and the Dondero exclusion.        The third one was not requiring a

     12    Dondero exclusion unless the gatekeeper function goes away.

     13    Q    Okay.    So the third one, you believe, will, whatever the

     14    term is, write the insurance or provide the coverage without a

     15    gatekeeper, as long as there is a strong Dondero exclusion?

     16    A    No.    Their initial requirement is that the gatekeeper

     17    function remains in place.        That is their preferred option.

     18    If the gatekeeper function is removed, then they will add a

     19    Dondero exclusion in place of the gatekeeper exclusion.            In

     20    addition, that carrier is only willing to provide coverage for

     21    the individuals, not for the entities.

     22    Q    Okay.    Thank you.

     23                 MR. RUKAVINA:    I'll pass the witness, Your Honor.

     24                 THE COURT:    All right.   Other cross?

     25                 MR. TAYLOR:    Clay Taylor on behalf of Mr. Dondero.




                                                                           Appx. 04513
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 389 of 610




                                      Tauber - Cross                          36


       1                THE COURT:   Okay.

       2                              CROSS-EXAMINATION

       3   BY MR. TAYLOR:

       4   Q    Good morning, Mr. Tauber.

       5   A    Good morning.

       6   Q    Are you generally familiar with placing D&O insurance at

       7   distressed debt level private equity firms?

       8   A    I am familiar with it probably more from the underwriting

       9   side, and I also worked at a fund that was distressed and had

      10   to be liquidated, so I -- as the COO, so I have a fair amount

      11   of familiarity, yes.

      12   Q    Okay.    Before taking this to market for the first time for

      13   the pre-confirmation policies that you have in place, did your

      14   firm conduct any due diligence or analysis of comparing the

      15   amount of litigation the Highland entities and Mr. Dondero

      16   were involved in as compared to other comparable firms in the

      17   marketplace?     Say, you know, Apollo, Fortress, Cerberus, other

      18   similar market participants?

      19   A    Well, it wouldn't really be our role as the broker.

      20   That's the role of the underwriter.

      21   Q    Are you familiar if any of the underwriters undertook any

      22   such analysis?

      23   A    I would assume that they did, since they all had concerns

      24   about Mr. Dondero almost immediately.

      25   Q    Do you have any -- you didn't conduct any personal due




                                                                          Appx. 04514
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 390 of 610




                                     Tauber - Cross                           37


       1   diligence on comparing the amount of litigation that the

       2   Highland entities were involved in as compared to, say,

       3   Fortress, do you?

       4   A    Well, again, that wouldn't really be my role as the

       5   broker.   But I will say that I used to write the primary

       6   insurance for Fortress Investment Group when I was at Zurich.

       7   So I'm extremely familiar with Fortress, to use your example,

       8   and I would say that the level of litigation at Fortress was

       9   much, just out of personal knowledge, was significantly less

      10   than I had encountered or than I had read about at Highland.

      11   Q    That you have read about?       Is that based upon a number of

      12   cases where Fortress was a plaintiff as compared to Highland

      13   was a plaintiff?     Over what time period?

      14   A    Again, not my role.     Not something that I've done.        I'm

      15   just generally familiar with Fortress and I'm generally

      16   familiar with Highland.

      17   Q    All right.    So you're generally familiar and you say that

      18   -- you're telling me and this Court that Fortress is involved

      19   in less litigation.     Could you quantify that for me, please?

      20   A    No, but it's really irrelevant to the situation at hand.

      21   The issue is not my feelings whatsoever.         The issue is the

      22   underwriters' feelings and their concern with Mr. Dondero, not

      23   mine or anybody else's.

      24   Q    So, I appreciate your answer and thank you for that, but I

      25   believe the question that was before you is, have you




                                                                          Appx. 04515
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 391 of 610




                                     Tauber - Cross                            38


       1   quantitatively -- do you have any quantitative analysis by

       2   which you can back up the statement that Fortress is less

       3   litigious than Highland?

       4   A    I wouldn't even try, no.

       5   Q    Okay.   Do you have any quantitative analysis for -- that

       6   Cerberus is any less litigious than Highland?

       7   A    I don't have any real knowledge of Cerberus's

       8   litigiousness.

       9   Q    Same question as to Apollo.

      10   A    Again, the Fortress, you just happened to mention

      11   Fortress, which was a special case because I used to be their

      12   primary underwriter.     I don't have any specific -- I'm not a

      13   claims attorney.     I don't have any specific knowledge of the

      14   level of litigiousness.

      15        And, again, it's not up to me, my decision.         It's the

      16   underwriters' decision of whether or not they're willing to

      17   write the coverage, not mine.

      18   Q    You mentioned that the -- when you took this out to

      19   market, it had a little hair on it.        Correct?

      20   A    Correct.

      21   Q    And you put together a package of materials that you sent

      22   out to 14 or 15 market participants; is -- did I get that

      23   correct?

      24   A    Yes.

      25   Q    And in that package, you had certain pleadings, including




                                                                          Appx. 04516
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 392 of 610




                                     Tauber - Cross                           39


       1   the court order, correct?

       2   A    Yes.    I believe that's correct.

       3   Q    And that was after your initial conversation with John and

       4   -- where he pointed out the gatekeeper role.         Correct?

       5   A    Correct.

       6   Q    And so when you went out to market, presumably you

       7   highlighted the gatekeeper role to all the people you

       8   solicited offers from because you thought it included less

       9   risk, correct?

      10   A    It offered a level of protection that was not -- that's

      11   not common.     So it's, yes, it's a huge selling point for the

      12   risk.

      13   Q    Okay.    So, to be clear, you never went out to the market

      14   to even see if you could get underwriting the first time

      15   without the gatekeeper function; is that correct?

      16   A    Well, it's my job as a broker to present the risk in the

      17   best possible light.     So if we have a fact that makes the risk

      18   a better write for the underwriters, we, of course, will

      19   highlight it.    So, no, I did not do that.

      20   Q    Okay.    So, the quick answer to the question is no, you did

      21   not go out and solicit any bids without the gatekeeper

      22   function?

      23   A    Correct.

      24   Q    When you have approached the market for the post-

      25   confirmation potential coverage, did you approach the same 14




                                                                           Appx. 04517
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 393 of 610




                                       Tauber - Cross                         40


       1   or 15 parties that you did before?

       2   A    I don't have the two lists in front of me.         They would

       3   have been vastly similar, yes.

       4   Q    Okay.    And so, again, all of the 14 or 15 parties or the

       5   lists that you solicited were already familiar with the

       6   gatekeeper function, correct?

       7   A    Yes.

       8   Q    And so therefore they already had that right; they're not

       9   going to trade against themselves and therefore say that,

      10   without it, we'll go ahead and write coverage.          Correct?

      11   A    I -- I -- it'd be hard to answer that question.          I don't

      12   know.

      13   Q    Okay.    Because you didn't try that, did you?

      14   A    I would have had no reason to, no.

      15   Q    Okay.    So you don't know if a market exists without the

      16   gatekeeper function because you haven't asked, have you?

      17   A    I guess that's fair, yeah.

      18                MR. TAYLOR:    I have no further questions.

      19                THE COURT:    All right.   Any other Objectors with

      20   cross-examination?

      21                MR. DRAPER:    I have no questions for the witness,

      22   Your Honor.

      23                THE COURT:    All right.   Anyone else?   Mr. Morris,

      24   redirect?

      25                MR. MORRIS:    Just one.




                                                                          Appx. 04518
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 394 of 610




                                    Tauber - Redirect                         41


       1                            REDIRECT EXAMINATION

       2   BY MR. MORRIS:

       3   Q     One question, Mr. Tauber.      Is there any -- do all

       4   underwriters -- any underwriters for Fortress require, as a

       5   condition to underwriting the D&O insurance, require a

       6   gatekeeping provision?

       7   A     In my, you know, 11, 12 years of experience in this

       8   industry, in this space, I have never seen that gatekeeper

       9   function be available, as an underwriter or as a broker.           So,

      10   no.

      11              MR. MORRIS:    No further questions, Your Honor.

      12              THE COURT:    Any recross on that redirect?

      13         All right.   Well, Mr. Tauber, you are excused.         We thank

      14   you for your testimony today.       So you can log off.

      15              THE WITNESS:    Thank you.

      16              THE COURT:    Okay.

      17         (The witness is excused.)

      18              THE COURT:    Mr. Morris, does the Debtor rest?

      19              MR. MORRIS:    The Debtor does rest, Your Honor.

      20              THE COURT:    All right.    Well, what are we going to

      21   have from the Objectors as far as evidence?

      22              MR. RUKAVINA:    Your Honor, I will be very short.         I

      23   will call Mr. Seery for less than ten minutes.          I will call

      24   Mr. Post for less than ten minutes.        I will have one exhibit.

      25   And I think that that's it for all the Objectors, unless I'm




                                                                          Appx. 04519
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 395 of 610




                                                                               42


       1   mistaken, gentlemen.

       2             MR. TAYLOR:    Your Honor, I had one witness, Mr.

       3   Sevilla, under subpoena to testify, and needed a brief moment

       4   to discuss with my colleagues whether we're going to call him,

       5   and if so, put him on notice that he would be coming up

       6   probably about -- I don't know your schedule, Your Honor, but

       7   probably, I'm guessing, either before lunch or after, and I

       8   need to let him know that also.

       9        So I do need a brief three to five minutes to confer with

     10    my colleagues and some direction from the Court to, if we

     11    decide to call him, as to when we would tell him to be

     12    available.

     13              THE COURT:    All right.    Well, before I get to that,

     14    Mr. Draper, do you have any witnesses?

     15              MR. DRAPER:    I do not.

     16              THE COURT:    All right.    Well, let's see.        It's 10:34.

     17    We're making good time this morning.       If Seery is truly ten

     18    minutes of direct, and Post is truly ten minutes of direct,

     19    and I don't know how long the documentary exhibits are going

     20    to take, it sounds to me like we are very likely to get to Mr.

     21    Sevilla before a lunch break.

     22         So if you want to -- you know, I don't know what that

     23    involves, you sending text messages or making a quick phone

     24    call.   Do you need a five-minute break for that?

     25              MR. TAYLOR:    Yes, Your Honor.     It involves a phone




                                                                            Appx. 04520
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 396 of 610




                                                                               43


       1   call and an email.      Just a confirmatory phone call just to

       2   make sure that the guy -- just so you know who he is, he is

       3   actually a Highland employee, but he's represented by separate

       4   counsel, and so we do need to go through him just because

       5   that's the right thing to do.

       6              THE COURT:    All right.    Well, again, I mean, I never

       7   know how long cross is going to take, but I'm guessing, you

       8   know, we're going to get to him in an hour or so, if not

       9   sooner, it sounds like.      So, all right.     So, do we need a

      10   five-minute break?

      11              MR. RUKAVINA:    And Your Honor, it might make more

      12   sense to make it a ten-minute break.        I suspect that Mr.

      13   Taylor will be able to release his witness if he and I will

      14   just be able to talk.      So I would ask the Court's indulgence

      15   for a ten-minuter.

      16              THE COURT:    Okay.    We'll take a ten-minute break.

      17   We'll come back at 10:46 Central time.

      18              THE CLERK:    All rise.

      19        (A recess ensued from 10:36 a.m. until 10:46 a.m.)

      20              THE CLERK:    All rise.

      21              THE COURT:    Please be seated.     We're going back on

      22   the record in the Highland confirmation hearing.          Are the

      23   Objectors ready to proceed?

      24              MR. RUKAVINA:    Your Honor, Davor Rukavina.       We are.

      25              THE COURT:    All right.    Well, Mr. Rukavina, are you




                                                                          Appx. 04521
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 397 of 610




                                                                              44


       1   going to call your witnesses first?

       2              MR. RUKAVINA:    Yes, I will.     Before that, if it might

       3   help the Court and Mr. Morris:        Mr. Morris, with respect to

       4   that last exhibit, I do not object to the admission of any of

       5   the exhibits that were admitted at that PI hearing.

       6        But I do think, Your Honor, for the record, that -- and I

       7   would ask Mr. Morris that he should refile those exhibits here

       8   in this case, except for those that are duplicative.           Because,

       9   again, there's 10,000 pages of indentures, et cetera.

      10              MR. MORRIS:    Thank you very much, sir.

      11        Your Honor, if that's acceptable to you, we'll do that as

      12   soon as possible.

      13              THE COURT:    All right.    And let me make sure the

      14   record is clear.     Are we talking about what you've described

      15   as 7O?   I'm getting mixed up now.       Am I --

      16              MR. MORRIS:     Yes, Your Honor.

      17              THE COURT:    Okay.

      18              MR. MORRIS:    It's 7O, which is the documents that

      19   were introduced into evidence in the prior hearing.           And Mr.

      20   Rukavina is exactly right, that there is substantial overlap

      21   between that and other documents that have already been

      22   admitted in the record in this case.        So we'll just file an

      23   abridged version of Exhibit O that only includes non-

      24   duplicative documents.

      25              THE COURT:    All right.    So that will be admitted, and




                                                                          Appx. 04522
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 398 of 610




                                      Seery - Direct                          45


       1   we'll look for your filed abridged version to show up on the

       2   docket.   7O.

       3         (Debtor's Exhibit 7O is received into evidence as

       4   specified.)

       5              THE COURT:    All right.    What's next?

       6              MR. RUKAVINA:    Your Honor, Jim Seery, please.        Mr.

       7   James Seery.

       8              THE COURT:    All right.    Mr. Seery, welcome back.

       9   Please raise your right hand.

      10              MR. SEERY:    Can you -- can you hear me, Your Honor?

      11              THE COURT:    I can now.

      12       JAMES P. SEERY, CERTAIN FUNDS AND ADVISORS' WITNESS, SWORN

      13              THE COURT:    All right.    Thank you.

      14         Mr. Rukavina, go ahead.

      15                             DIRECT EXAMINATION

      16   BY MR. RUKAVINA:

      17   Q     Mr. Seery, --

      18              MR. RUKAVINA:    Thank you.

      19   BY MR. RUKAVINA:

      20   Q     Mr. Seery, good morning.

      21              MR. RUKAVINA:    Mr. Vasek, if you'll please pull up

      22   the schedules.

      23         What we have here, Your Honor, is Docket 247, the Debtor's

      24   schedules.    I'd ask the Court to take judicial notice of it.

      25              THE COURT:    All right.    The Court will do so.




                                                                          Appx. 04523
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 399 of 610




                                     Seery - Direct                           46


       1   BY MR. RUKAVINA:

       2   Q     Mr. Seery, are you familiar with these entities listed

       3   here on the Debtor's schedules?

       4   A     Generally.   Each one a little bit different.

       5   Q     Okay.   Do you agree that the Debtor still owns equity

       6   interests in these entities?

       7   A     I believe it does, yes.

       8   Q     Okay.   Is it true that none of these entities are publicly

       9   traded?

      10   A     I don't believe any of these are publicly-traded entities,

      11   no.

      12   Q     Okay.   And none of these, to your knowledge, are debtors

      13   in this bankruptcy case, right?

      14   A     No.   We only have one debtor in the case.

      15   Q     Okay.   So, Highland Select Equity Fund, LP, the Debtor

      16   owns more than 20 percent of the equity in that entity, right?

      17   A     I believe the Debtor owns the majority of that entity.

      18   That is a fund with an on- and offshore feeder.          And I, off

      19   the top of my head, don't recall exactly how the allocations

      20   of equity work.     But I believe we do.

      21   Q     Does 67 percent refresh your memory?       Are you prepared to

      22   say that the Debtor owns 67 percent of that equity?

      23   A     I'm not prepared to say that, no.

      24   Q     Okay.   Wright, Ltd.   Does the Debtor own more than 20

      25   percent of that equity?




                                                                          Appx. 04524
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 400 of 610




                                     Seery - Direct                           47


       1   A    There's about -- I don't recall.        There's about at least

       2   25 artist, designers, or designs.        Wright, AMES, Hockney,

       3   Rothco, all own in different places, and they all own in turn

       4   some other thing.     So I don't know what each of them, off the

       5   top of my head, own.     There's -- they're part of a myriad of

       6   corporate structures here.

       7   Q    Strak, Ltd.    Do you know whether the Debtor owns more than

       8   20 percent of the equity of that entity?

       9   A    Stark?    I don't know.

      10   Q    Okay.    I don't know how to pronounce the next one.         Eamis

      11   (phonetic) Ltd.     Do you know whether the Debtor owns more than

      12   20 percent of that equity?

      13   A    Off the top of my head, I don't recall.

      14   Q    What about Maple Avenue Holdings, LLC?

      15   A    I believe, I don't know if it's directly or indirectly,

      16   that we own a hundred percent of that entity.         But I'm not

      17   sure.

      18   Q    What about Highland Capital Management Korea, Ltd.?

      19   A    Effectively, Highland Capital Management is owned a

      20   hundred percent.

      21   Q    What about Highland Capital Management Singapore Pte.

      22   Ltd.?

      23   A    We are in the process of shutting it down, so I don't know

      24   that -- what the equity percentages are.         It's really just a

      25   question -- it's -- it's dissolved save for a signature from a




                                                                          Appx. 04525
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 401 of 610




                                        Seery - Direct                        48


       1   Singaporean.

       2   Q    Okay.    But did the Debtor own more than 20 percent of that

       3   entity?

       4   A    I don't know the specific allocations of equity ownership.

       5   Q    Okay.    What about Pennant (phonetic) Management, LP?         Do

       6   you know whether the Debtor owns or owned more than 20 percent

       7   of that entity?

       8   A    I don't recall, no.

       9                MR. RUKAVINA:    You can take that exhibit down, Mr.

      10   Vasek.

      11   BY MR. RUKAVINA:

      12   Q    Mr. Seery, very quick, are you familiar with Bankruptcy

      13   Rule 2015.3?

      14   A    I am, yes.

      15   Q    Okay.    Has the Debtor filed any Rule 2015.3 statements in

      16   this case?

      17   A    I don't believe we have.

      18   Q    Okay.

      19                MR. RUKAVINA:    Thank you, Your Honor.    I'll pass the

      20   witness.

      21                THE COURT:   All right.   Any other Objector

      22   questioning?     None from Mr. Taylor, none from Mr. Draper, none

      23   from Ms. Drawhorn?

      24        All right.    Any cross -- any examination from you, Mr.

      25   Morris?




                                                                          Appx. 04526
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 402 of 610




                                       Seery - Cross                          49


       1               MR. MORRIS:    Just one question.

       2               THE COURT:    Go ahead.

       3                              CROSS-EXAMINATION

       4   BY MR. MORRIS:

       5   Q    Mr. Seery, do you know why the Debtor has not yet filed

       6   the 2015.3 statement?

       7   A    I have a recollection of it, yes.

       8   Q    Can you just describe that for the Court?

       9   A    When we -- when we initially filed, when the Debtor filed

      10   and it was transferred over, we started trying to get all the

      11   various rules completed.      There are, as the Court is aware, at

      12   least a thousand and maybe more, more like three thousand,

      13   entities in the total corporate structure.

      14        We pushed our internal counsel to try to get that done,

      15   and were never able to really get it completed.          We did not

      16   have -- we were told we didn't have separate consolidating

      17   statements for every entity, and it would be difficult.           And

      18   just in the rush of things that happened from the first

      19   quarter into the COVID into the year, we just didn't complete

      20   that filing.    There was no reason for it other than we didn't

      21   get it done initially and I think it fell through the cracks.

      22               MR. MORRIS:    Nothing further, Your Honor.

      23               THE COURT:    All right.   Anything further, Mr.

      24   Rukavina?

      25                             REDIRECT EXAMINATION




                                                                          Appx. 04527
Case 21-03005-sgj Doc 134-7 Filed 12/18/21      Entered 12/18/21 02:10:25   Page 403 of 610




                                      Seery - Redirect                           50


       1   BY MR. RUKAVINA:

       2   Q    Mr. Seery, I appreciate that answer.           But you never sought

       3   leave from the Bankruptcy Court to postpone the deadlines for

       4   filing 2015.3, did you?

       5   A    No.   If it hadn't fallen through the cracks, it would have

       6   been something we recalled and we would have done something

       7   with it.     But, frankly, it just fell off the -- through the

       8   cracks.    We didn't deal with it.

       9   Q    Okay.

      10                MR. RUKAVINA:    Thank you, Your Honor.       Thank you, Mr.

      11   Seery.

      12                THE COURT:    All right.     Any other Objector

      13   examination?

      14        Mr. Morris, anything further on that point?

      15                MR. MORRIS:    No, thank you, Your Honor.       No further

      16   questions.

      17                THE COURT:    All right.     Mr. Seery, thank you.      You're

      18   excused once again from the witness stand.

      19        (The witness is excused.)

      20                THE COURT:    Your next witness?

      21                MR. SEERY:    Thank you, Your Honor.

      22                THE COURT:    Uh-huh.

      23                MR. RUKAVINA:    Your Honor, I'll call Jason Post.         Mr.

      24   Post, if you're listening, which I believe you are, if you'll

      25   please activate your camera.




                                                                             Appx. 04528
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 404 of 610




                                       Post - Direct                         51


       1               THE COURT:   Mr. Post, we do not see or hear you yet.

       2               MR. RUKAVINA:    Talk, Mr. Post, and I think it'll

       3   focus on you.

       4               MR. POST:    Yes.   Can you hear me now?

       5               THE COURT:   We can hear you.     We cannot see you yet.

       6   Could you say, "Testing, one, two; testing, one, two"?

       7               MR. POST:    Testing, one, two.    Testing, one, two.

       8               THE COURT:   There you are.     Okay.   Please raise your

       9   right hand.

     10         JASON POST, CERTAIN FUNDS AND ADVISORS' WITNESS, SWORN

     11                THE COURT:   All right.    Thank you.   You may proceed.

     12                              DIRECT EXAMINATION

     13    BY MR. RUKAVINA:

     14    Q    Mr. Post, good morning.       State your name for the record,

     15    please.

     16    A    Robert Jason Post.

     17    Q    How are you employed?

     18    A    I'm employed by NexPoint Advisors, LP.

     19    Q    What is your title?

     20    A    Chief compliance officer.

     21    Q    Were you ever employed by the Debtor here?

     22    A    Yes.

     23    Q    Between when and when?       Approximately?

     24    A    I believe it was July of '08 through October of 2020.

     25    Q    What was your last title while you were employed at the




                                                                          Appx. 04529
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 405 of 610




                                      Post - Direct                            52


       1   Debtor?

       2   A    Still chief compliance officer.         For the retail funds.

       3   Q    Okay.    Very, very quickly, what does a chief compliance

       4   officer do?    Or what do you do?

       5   A    It's multiple things.        Interaction with the regulators.

       6   Adherence to prospectus and SAI limitations for the funds.

       7   And then establishment of written policies and procedures to

       8   prevent and detect violations of the federal securities laws

       9   and then testing those on a frequent basis.

      10   Q    And I believe you mentioned you're the CCO for NexPoint

      11   Advisors and Highland Capital Management Fund Advisors.            Are

      12   you also the CCO for any funds that they advise?

      13   A    Yes.    For all the funds that they advise.

      14   Q    Okay.    Does that include so-called retail funds?

      15   A    Yes.    They're all retail funds.

      16   Q    What is a retail fund?

      17   A    It typically constitutes funds that are subject to the

      18   Investment Company Act of 1940, such as open-end mutual funds,

      19   closed-end funds, ETFs.

      20   Q    Obviously, you know who my clients are.          Are any of my

      21   clients so-called retail funds that you just described?

      22   A    Yes.

      23   Q    Name them, please.

      24   A    You've got NexPoint Capital, Inc., Highland Income Fund,

      25   and NexPoint Strategic Opportunities Fund.




                                                                           Appx. 04530
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 406 of 610




                                       Post - Direct                          53


       1   Q    Do those three retails funds hold any voting preference

       2   shares in the CLOs that the Debtor manages?

       3   A    Yes.

       4               MR. RUKAVINA:    Mr. Vasek, if you'll please pull up

       5   Exhibit 2.

       6        Your Honor, I believe I have a stipulation with Mr. Morris

       7   that this exhibit can be admitted, so I'll move for its

       8   admission.

       9               MR. MORRIS:    No objection, Your Honor.

      10               THE COURT:    All right.    Exhibit 2 will be admitted.

      11   And let's be clear.       That appears at -- is it Docket No. --

      12   let's see.    Is it 1673 that you have your -- no, no, no, no.

      13   1670?   Is that where your exhibits are?

      14               MR. RUKAVINA:    No, Your Honor.    It's 1863.    I think

      15   we did an amended one because we numbered our exhibits instead

      16   of having seventeen Os and Ps.         So it's 1863.

      17               THE COURT:    1863?   Okay.   All right.   There it is.

      18   Okay.   Again, this is -- I'm sorry.        I got sidetracked.    What

      19   exhibit?    It's Exhibit 2, is admitted.       Okay.

      20               MR. RUKAVINA:    Thank you, Your Honor.

      21        (Certain Funds and Advisors' Exhibit 2 is received into

      22   evidence.)

      23   BY MR. RUKAVINA:

      24   Q    Real quick, Mr. Seery.       What do these HIF, NSOF, NC, what

      25   do they stand for?       Do they stand for the retail funds you




                                                                          Appx. 04531
Case 21-03005-sgj Doc 134-7 Filed 12/18/21      Entered 12/18/21 02:10:25   Page 407 of 610




                                        Post - Direct                           54


       1   just named?

       2                MR. SEERY:    I don't think he meant me.

       3                THE WITNESS:    Yeah.

       4   BY MR. RUKAVINA:

       5   Q    I'm sorry, Mr. Post.      I didn't hear you.

       6   A    You addressed me as Mr. Seery.

       7   Q    Oh.    I apologize.     What do those initials stand for?

       8   A    The names of the funds that I mentioned.

       9   Q    Okay.    And what do these percentages show?

     10    A    The percentages show the amount of shares outstanding and

     11    the preference shares that each of the respective funds hold

     12    of the named CLOs.

     13    Q    And those CLOs on the left there, those are the CLOs that

     14    the Debtor manages pursuant to agreements, correct?

     15    A    Yes.    Those are some of them, correct.

     16    Q    Yes.    The ones that the retail funds you mentioned have

     17    interests in, correct?

     18    A    Correct.

     19    Q    And what does the far-right column summarize or show?

     20    A    That would be the aggregate across the three retail funds.

     21    Q    In each of those CLOs?

     22    A    Correct.

     23    Q    Thank you.

     24                 MR. RUKAVINA:    Mr. Vasek, you may pull this down.

     25    BY MR. RUKAVINA:




                                                                             Appx. 04532
Case 21-03005-sgj Doc 134-7 Filed 12/18/21     Entered 12/18/21 02:10:25   Page 408 of 610




                                         Post - Direct                          55


       1   Q     Mr. Post, in the aggregate, how much do those three retail

       2   funds have invested in those CLOs, ballpark?

       3   A     I believe it's approximately $130 million, give or take.

       4   Q     Is it closer to 140 or 130?

       5   A     A hundred -- I think it's 140, actually.

       6   Q     Okay.    Thank you.     Who controls those three retail funds?

       7   A     Ultimately, the board --

       8   Q     And what --

       9   A     -- of the funds.

      10   Q     What is -- what do you mean by the board?          Do they have

      11   independent boards?

      12   A     Yes.    They have a majority independent board, the funds

      13   do.

      14   Q     Do you report to that board?

      15   A     Yes.

      16   Q     Does Mr. Dondero sit on those boards?

      17   A     He does not.

      18   Q     Okay.

      19                 MR. RUKAVINA:    I'll pass the witness, Your Honor.

      20   Thank you, Mr. Post.

      21                 THE COURT:    All right.   Any other Objector

      22   examination of Mr. Post?

      23         All right.    Mr. Morris, do you have cross?

      24                 MR. MORRIS:    Yes, Your Honor, I do.

      25                 THE COURT:    Okay.




                                                                            Appx. 04533
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 409 of 610




                                      Post - Cross                            56


       1                             CROSS-EXAMINATION

       2   BY MR. MORRIS:

       3   Q    Mr. Post, can you hear me okay, sir?

       4   A    Yes, I can hear you.

       5   Q    Okay.    Nice to see you again.     When did you first join

       6   Highland?

       7   A    I believe it was July of '08.

       8   Q    So you've worked with the Highland family of companies for

       9   about a dozen years now; is that right?

      10   A    Yes.

      11   Q    And you were actually employed by the Debtor from 2008

      12   until October 2020; is that right?

      13   A    Correct.

      14   Q    And you left at that time and went to join Mr. Dondero as

      15   the chief compliance office of the Advisors; do I have that

      16   right?

      17   A    Yes.    I transitioned to NexPoint Advisors shortly, I

      18   believe, after Mr. Dondero left, but I was already the named

      19   CCO for that entity.

      20   Q    Right, but your employment status changed from being an

      21   employee of the Debtor to being an employee of NexPoint; is

      22   that right?

      23   A    Correct.

      24   Q    And that happened shortly after Mr. Dondero resigned from

      25   the Debtor and went to NexPoint Advisors, correct?




                                                                          Appx. 04534
Case 21-03005-sgj Doc 134-7 Filed 12/18/21     Entered 12/18/21 02:10:25   Page 410 of 610




                                        Post - Cross                            57


       1   A    Correct.

       2   Q    Okay.    You mentioned that the funds are controlled by

       3   independent boards; do I have that right?

       4   A    It's a majority independent board, correct.

       5   Q    Okay.    There's no independent board member testifying in

       6   this hearing, is there?

       7   A    I --

       8                MR. RUKAVINA:    Your Honor, Mr. Post wouldn't know

       9   that, but I'll stipulate to that as a fact.

      10                THE COURT:    All right.

      11                MR. MORRIS:    Okay.

      12   BY MR. MORRIS:

      13   Q    Did you -- do you speak with the board members from time

      14   to time?

      15   A    Yes.

      16   Q    Did you tell them that it might be best if they came and

      17   identified themselves and helped persuade the Court that they

      18   were, in fact, independent?

      19   A    They have counsel to assist them with that determination.

      20   I never mentioned anything along those line to them.

      21   Q    Okay.    Can you tell me who the board members are?

      22   A    Yes.    Ethan Powell, Bryan Ward, Dr. Bob Froehlich, John

      23   Honis, and then Ed Constantino.         He is only a board member,

      24   though, for NSOF.     NexPoint Strategic Opportunities Fund.

      25   Q    All right.    Mr. Honis, is he -- has he been determined to




                                                                            Appx. 04535
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 411 of 610




                                      Post - Cross                           58


       1   be an interested director, for purposes of the securities

       2   laws?

       3   A    Yes.

       4   Q    Okay.    Mr. Froeh..., do you know much about his

       5   background?

       6   A    I believe he worked at Deutsche Bank and a couple of the

       7   other -- or maybe a couple of other investment firms in the

       8   past.    And he also owns a minor league baseball team.

       9   Q    Do you know how long he served as a director of the funds?

     10    A    I don't know, approximately.      I think maybe seven -- six,

     11    seven years.

     12    Q    Okay.    How about Mr. Ward?    Did Mr. Froehlich ever work

     13    for Highland?

     14    A    Not that I can recall.

     15    Q    Did Mr. Ward ever work for Highland?

     16    A    Not that I can recall.

     17    Q    Do you recall how long he's been serving as a director of

     18    the funds?

     19    A    Mr. Ward?

     20    Q    Yes.

     21    A    I believe -- I'd be -- I don't recall specifically.          I

     22    think it's been, you know, 10 to 12 years, give or take.

     23    Q    He was a director when you got to Highland; isn't that

     24    right?

     25    A    He was on the board of directors.




                                                                          Appx. 04536
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 412 of 610




                                      Post - Cross                            59


       1   Q    Yeah.   So fair to say that Mr. Ward has been a director

       2   since at least the mid to late oughts?         2005 to 2008?

       3   A    I'm sorry, you cut out.      Late what?

       4   Q    The late oughts.    Withdrawn.    Is it fair to say that Mr.

       5   Ward's been a director of the funds since somewhere between

       6   2005 and 2008?

       7   A    Again, I don't recall specifically.        You know, I joined

       8   the complex, the retail complex as the named CCO in 2015, and

       9   he had been serving in that role prior to that, and I believe

     10    it was for probably a period of five to seven years, so that

     11    sounds in line.

     12    Q    Did you have a chance to review Dustin Norris's testimony

     13    from the December 16th hearing?

     14    A    I did not.

     15    Q    Do you know -- are you aware that he testified at some

     16    length regarding the relationship of each of these directors

     17    to Mr. Dondero and Highland?

     18    A    I didn't review anything, so I don't know what he said or

     19    how long it took.

     20    Q    Do you know if Mr. Powell's ever worked for Highland?

     21    A    He has.

     22    Q    Do you know in what capacity and during what time periods?

     23    A    He was -- I think his last title was -- I believe was

     24    chief product strategist, I believe.       And he was also the

     25    named PM for one of -- or, a suite of ETF funds.         I think he




                                                                           Appx. 04537
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 413 of 610




                                      Post - Cross                            60


       1   was last employed maybe --from my recollection, 2014,

       2   possibly.    Or 2015.   Somewhere around in there.

       3   Q    Okay.   And to the best of your knowledge, did Mr. Dondero

       4   appoint Mr. Powell to be the chief product strategist?

       5   A    I don't -- I don't know.      I wasn't involved in the

       6   decision for his appointment.       I don't know how he attained

       7   that role.

       8   Q    To the best of your knowledge, did Mr. Dondero appoint Mr.

       9   Powell as the PM of the ETF funds?

      10   A    Again, I wasn't involved in that determination, but he

      11   probably would have had a role in making the determination on

      12   who was the PM, along with probably some other investment

      13   professionals.

      14   Q    Okay.   And did Mr. Powell join the board of the funds

      15   before or after he left Highland around 2015?

      16   A    I can't recall specifically if he was already on the board

      17   or was an interested member, but I believe he, you know, I

      18   believe he joined shortly after he left.

      19   Q    Okay.   So he went from being an employee and being a

      20   portfolio manager at Highland to being on the board of these

      21   funds.   Do I have that right?

      22   A    Again, I can't recall specifically.        He may have already

      23   been on the board as an interested board member.          But, you

      24   know, I believe, you know, if that wasn't the case, he would

      25   have joined the board shortly after leaving.




                                                                          Appx. 04538
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 414 of 610




                                      Post - Cross                            61


       1   Q    And Mr. Ward, I think you said, has been on the funds'

       2   board since somewhere between 2005 and 2008.         Does that sound

       3   right?

       4   A    I think that was a time frame you referenced, and I think

       5   that was kind of in line, walking it back.         But I don't recall

       6   specifically when he joined.

       7   Q    And to the best of your knowledge, have the Advisors for

       8   which you serve as the chief compliance officer managed the

       9   Funds for which Mr. Ward has served as a director since the

      10   time he became a director?

      11   A    I'm sorry.    Can you repeat the question?

      12   Q    Yeah.    I'm just trying to understand if the advisors --

      13   withdrawn.    The Advisors manage the Funds; do I have that

      14   right?

      15   A    They provide investment advice on behalf of the Funds.

      16   Q    And they do that pursuant to written agreements; do I have

      17   that right?

      18   A    Correct.

      19   Q    And is it your understanding that, for the entire time

      20   that Mr. Ward has served as a member of the board of the

      21   Funds, the Advisors have provided the investment advice to

      22   each of those Funds?

      23   A    Yes, in one form or fashion.       I believe at one period in

      24   time, historically, the Advisor may have changed its name, but

      25   it would have been, you know, at the end of the day, one or




                                                                          Appx. 04539
Case 21-03005-sgj Doc 134-7 Filed 12/18/21     Entered 12/18/21 02:10:25   Page 415 of 610




                                        Post - Cross                              62


       1   more -- one of either NexPoint Advisors or Highland Capital

       2   Management Fund Advisors would have advised those Funds.

       3   Q    Is it fair to say that each of the Advisors for which you

       4   serve as the chief compliance officer has always been managed

       5   by an Advisor owned and controlled by Mr. Dondero?

       6   A    I believe so, yes.

       7               MR. MORRIS:     I have no further questions, Your Honor.

       8               THE COURT:    All right.    Any redirect?

       9               MR. RUKAVINA:    Yes.

     10                THE COURT:    Okay.   Mr. Rukavina?

     11                MR. RUKAVINA:    Your Honor, was I on mute?         I

     12    apologize.

     13                THE COURT:    Yes.

     14                              REDIRECT EXAMINATION

     15    BY MR. RUKAVINA:

     16    Q    Mr. Post, why did you leave Highland?

     17    A    It -- because I was a HCMLP employee and it was --

     18    basically, there was conflicts that were created by being an

     19    employee of the Debtor and by also serving as the CCO to the

     20    named Funds and the Advisors, and it coincided with Jim

     21    toggling over from HCMLP to NexPoint.          It just made sense more

     22    functionally and from a silo perspective for me to be the

     23    named CCO for that entity since he was no longer an employee

     24    of HCMLP.

     25    Q    And by Jim, you mean Jim Dondero?




                                                                               Appx. 04540
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 416 of 610




                                Post - Redirect/Recross                        63


       1   A    Yes, sorry.    Jim Dondero.

       2   Q    You're not some kind of lackey for Mr. Dondero, where you

       3   go wherever he goes, are you?

       4                MR. MORRIS:    Objection to the question.

       5                THE WITNESS:    No.

       6                THE COURT:    Overruled.   He can answer.

       7                MR. RUKAVINA:    Okay.

       8                THE WITNESS:    No.

       9                MR. RUKAVINA:    Okay.   Thank you, Your Honor.      I'll

      10   pass the witness.

      11                THE COURT:    Any other Objector examination?

      12        All right.    Any recross, Mr. Morris?

      13                               RECROSS-EXAMINATION

      14   BY MR. MORRIS:

      15   Q    Just one question, sir.       The conflicts that you just

      16   mentioned, they were in existence for the one-year period

      17   between the petition date and the date you left; isn't that

      18   right?

      19   A    I think -- I believe so, and I think they became more

      20   evident as, you know, time progressed.

      21   Q    Okay.    But they existed on day one of the bankruptcy

      22   proceeding; isn't that right?

      23   A    Yes, I believe so.

      24   Q    All right.

      25                MR. MORRIS:     No further questions, Your Honor.




                                                                           Appx. 04541
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 417 of 610




                                       Post - Recross                          64


       1               THE COURT:    All right.     Thank you, Mr. Post.     You're

       2   excused from the virtual witness stand.

       3        (The witness is excused.)

       4               THE COURT:    All right.     Your next witness?

       5               MR. RUKAVINA:    Your Honor, my exhibit has been

       6   admitted, I promised I'd be short, and my evidentiary

       7   presentation is done.       Thank you.

       8               THE COURT:    All right.     Well, Mr. Taylor, your

       9   evidence?

      10               MR. TAYLOR:    First of all, given the testimony that

      11   we have received just recently, we have released Mr. Sevilla

      12   from his subpoena and are not going to call him.

      13        With that being said, we do have some documents that we

      14   would like to get into evidence.         We filed our witness and

      15   exhibit list at Docket No. 1874.         I don't believe any of these

      16   are controversial.       I'm trying to keep from duplicating those

      17   that are already into evidence by the Debtor.         And therefore I

      18   would like to offer into evidence Exhibits No. 6 through 12

      19   and 17.    And that is it, Your Honor.

      20               THE COURT:    Okay.   Is there any objection to Dondero

      21   Exhibits 6 through 12 and 17, appearing at Docket 1874?

      22               MR. MORRIS:    I just want to be clear that Exhibits 6

      23   and 7, which are letters, I believe, from Mr. Lee (phonetic)

      24   are not being offered for the truth of the matter asserted in

      25   either letter.




                                                                           Appx. 04542
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 418 of 610




                                                                                65


       1              MR. TAYLOR:    That is correct, Your Honor.        Just

       2   merely that those requests and the words that were stated in

       3   there were indeed sent on those dates.

       4              MR. MORRIS:    And the same comment, Your Honor, with

       5   respect to Exhibits 9 through 12, that those documents are not

       6   being offered for the truth of the matter asserted.

       7              MR. TAYLOR:    Again, just that those requests were

       8   sent and those responses as stated were sent.

       9        And I apologize.     I missed one, Your Honor.      Also No. 15.

      10   6 through 12, 15, and 17.

      11              MR. MORRIS:    Your Honor, the Debtor has no objection

      12   to Exhibits 15, 16, and 17.

      13              THE COURT:    All right.    So, so they are all admitted

      14   with the representation that 6 and 9 through 12 are not being

      15   offered for the truth of the matter asserted.         With that

      16   representation, you have no objection, Mr. Morris?

      17              MR. MORRIS:    That's right.     I do just want to get

      18   confirmation that Exhibits 1 through 5 and 13 through 16 -- 13

      19   and 14 are not being offered at all.

      20              THE COURT:    Mr. Taylor?

      21              MR. TAYLOR:    So, that -- that is correct.        1 through

      22   5 would be duplicative of what has already been introduced

      23   into the record by Mr. Morris, so I am not offering those.

      24   And do not believe that 13 and 14 are relevant anymore, and so

      25   therefore did not offer those.




                                                                          Appx. 04543
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 419 of 610




                                                                              66


       1               THE COURT:    Okay.   So, with that, I have admitted 6

       2   through 12, 15, 16, and 17 at Docket Entry 1874.

       3          (Dondero Exhibits 6 through 12 and 15 through 17 are

       4   received into evidence.)

       5               THE COURT:    All right.    Anything else, Mr. Taylor?

       6               MR. TAYLOR:    No, Your Honor.    We are not calling any

       7   witnesses.

       8               THE COURT:    All right.    Mr. Draper, what about you?

       9   Any evidence?

      10               MR. DRAPER:    No evidence or witnesses.     The evidence

      11   that's been introduced by Mr. Taylor and Mr. Rukavina are

      12   sufficient for me.

      13               THE COURT:    All right.    Ms. Drawhorn, anything from

      14   you?

      15               MS. DRAWHORN:    No additional evidence, Your Honor.

      16               THE COURT:    All right.    Well, then, Mr. Morris, did

      17   you have anything in rebuttal?

      18               MR. MORRIS:    No, Your Honor.    I think we can proceed

      19   to closing statements.      I would just appreciate confirmation

      20   by the Objecting Parties that they rest.

      21               THE COURT:    All right.    Well, I guess we'll get that

      22   clear if it is isn't clear.       All of the Objectors rest.

      23   Confirm, yes, Mr. Rukavina?

      24               MR. RUKAVINA:    Confirm.

      25               THE COURT:    And Mr. Taylor?




                                                                          Appx. 04544
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 420 of 610




                                                                                67


       1              MR. TAYLOR:     Confirmed, Your Honor.

       2              THE COURT:    Okay.    And Draper and Drawhorn?

       3              MR. DRAPER:    Yes, Your Honor.

       4              MS. DRAWHORN:    Confirmed, Your Honor.

       5              THE COURT:    All right.    By the way, I assume Mr.

       6   Dondero has been participating this morning.           I didn't

       7   actually get that clarification before we started.            Mr.

       8   Taylor, is he there with you this morning?

       9              MR. TAYLOR:    Your Honor, he is.     He has been

      10   participating.     He is sitting directly to my left about

      11   slightly more than six feet apart.

      12              THE COURT:    Okay.    All right.   Good.

      13        All right.    Well, let's talk about our closing arguments

      14   and let me figure out, do we have -- should we break a bit

      15   before starting?     I have an idea in my brain about a time

      16   limitation, but before I do that, let me ask.           Mr. Morris,

      17   first I'll ask you.      How much time do you think you need for a

      18   closing argument?

      19              MR. MORRIS:    Your Honor, --

      20              MR. POMERANTZ:    Your Honor?

      21              MR. MORRIS:     -- I'll defer to Mr. Pomerantz, who's

      22   going to deliver that portion of our presentation today.

      23              THE COURT:    All right.    Mr. Pomerantz?

      24              MR. POMERANTZ:    Your Honor, I will be making -- yes,

      25   Your Honor.    I will be making the majority portion of the




                                                                             Appx. 04545
Case 21-03005-sgj Doc 134-7 Filed 12/18/21     Entered 12/18/21 02:10:25   Page 421 of 610




                                                                                68


       1   argument.    Mr. Kharasch will be making the portion of the

       2   argument dealing with the Advisor and Funds' objection.              But I

       3   expect my closing to be quite lengthy, given the 1129

       4   requirements, all the legal issues, which I plan to spend a

       5   fair amount of time.     So I would anticipate a range of an hour

       6   and 45 minutes.

       7               THE COURT:   An hour and 45 minutes?        All right.

       8   Well, --

       9               MR. POMERANTZ:   Correct.

      10               THE COURT:   I'm getting an echo.

      11               MR. CLEMENTE:    Your Honor, it's Matt Clemente on

      12   behalf on the Committee.      I'll have 15 minutes or less, Your

      13   Honor.   Just some things I would like to touch on.

      14               THE COURT:   All right.      So, two hours.    If I were to

      15   --

      16               MR. POMERANTZ:   And then you need, Your Honor, to add

      17   Mr. Kharasch.    I think he's on.       He can indicate how long his

      18   part of the closing will be.

      19               THE COURT:   Mr. Kharasch?

      20               MR. KHARASCH:    Yes.    I would figure my argument would

      21   probably be about 20 minutes to 30 minutes.

      22               THE COURT:   Okay.

      23               MR. RUKAVINA:    Your Honor, let me interject something

      24   that I think will help everyone out.          With the CLOs having

      25   consented through their counsel to the assumption, the bulk of




                                                                            Appx. 04546
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 422 of 610




                                                                               69


       1   my objection is now moot.         We no longer can and will argue

       2   that the contracts are unassignable under 365(b) or (c)

       3   because we do have now their consent.         So that will hopefully

       4   help the Debtor on that issue.

       5              MR. KHARASCH:    Your Honor, Ira Kharasch again.         I was

       6   not anticipating that.      I believe that that will take away the

       7   bulk of my argument.     I'm still going to be dealing with some

       8   of the other non-assumption-type arguments raised by the CLO

       9   Objectors, kind of dovetailing with Mr. Pomerantz's arguments

      10   on the injunction.      But that will greatly reduce, Your Honor,

      11   my argument.

      12              THE COURT:    All right.     So if I say two hours of

      13   argument for the Debtor and Creditors' Committee, Rukavina,

      14   Taylor and Draper and Drawhorn, can you collectively manage to

      15   share that two hours?      Have a two-hour argument in the

      16   aggregate?    That seems fair to me.

      17              MR. RUKAVINA:    Your Honor, I think -- I think that's

      18   fine, Your Honor.

      19              THE COURT:    All right.     And I guess I'll --

      20              MR. TAYLOR:    This is Mr. Taylor.        And yes, I agree.

      21              THE COURT:    Okay.     And Mr. Draper?

      22              MR. DRAPER:    This is Douglas Draper.       I agree.    I

      23   agree also, Your Honor.

      24              THE COURT:    All right.     And I'm going to ask --

      25              MR. POMERANTZ:    Your Honor, I --




                                                                           Appx. 04547
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 423 of 610




                                                                               70


       1              THE COURT:   Go ahead.

       2              MR. POMERANTZ:    Your Honor, we -- I think we may need

       3   like two hours and ten minutes, because mine was 1:45, Mr.

       4   Clemente was 15, and then Mr. Kharasch.          But we'll be around

       5   that.   And I tend to speak fast, so I might even shorten mine.

       6              THE COURT:   Okay.     You negotiated me up to two hours

       7   and ten minutes, Debtors/Objectors, each.

       8        I'm going to ask one more time.        The U.S. Trustee lobbed a

       9   written objection, but we've not heard anything from the U.S.

      10   Trustee.   Are you out there wanting to make an oral argument?

      11              MS. LAMBERT:    Yes, Your Honor.      The United States

      12   Trustee is on the line.     And we've been listening to the

      13   hearing.   I can turn my video on.       I think you're --

      14              THE COURT:   Yes.      I can hear you.   I can't see you.

      15              MS. LAMBERT:    Okay.    All right.    And so the U.S.

      16   Trustee feels that the issues about the releases have been

      17   adequately joined and raised by the other parties and that

      18   it's an issue of law.     The U.S. Trustee does not feel that we

      19   can add to that dialogue by, you know, wasting more of the

      20   Court's time.    I think it's been adequately briefed and it's

      21   been adequately argued here today.

      22              THE COURT:   Okay.

      23              MS. LAMBERT:    And we do have an agreement to include

      24   governmental release language in the order.          I understand that

      25   agreement is still being honored.        That's a separate agreement




                                                                           Appx. 04548
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 424 of 610




                                                                               71


       1   than the issue of whether the releases are precluded.            But

       2   we're going to let the other people carry the water on that.

       3              THE COURT:    Okay.

       4              MR. POMERANTZ:    Yeah.    And that is correct.       That is

       5   correct, Your Honor.     They asked for some information -- a

       6   provision on government releases.        They also asked for a

       7   provision regarding joint and several liability for Trustee

       8   fees.

       9        As I mentioned previously, the IRS has asked for a

      10   provision in the confirmation order, as have the Texas Taxing

      11   Authorities.

      12        We have not uploaded a proposed confirmation order, but I

      13   will state right now on the record that, before we do so, we

      14   will, of course, give Ms. Lambert, Mr. Adams, and the Texas

      15   Taxing Authorities the opportunity to review.         We expect there

      16   won't be any issue because the language has already been

      17   agreed to.

      18              THE COURT:    All right.    Well, how about this.       It's

      19   11:23 Central time.     Let's break until 12:00 noon Central

      20   time, okay, so that gives everyone a little over 30 minutes to

      21   have a snack and get their notes together, and we'll start

      22   with closing arguments at 12:00 noon.        All right?       So we're in

      23   recess until then.

      24              THE CLERK:    All rise.

      25        (A recess ensued from 11:24 a.m. until 12:05 p.m.)




                                                                            Appx. 04549
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 425 of 610




                                                                              72


       1               THE COURT:    All right.    Please be seated.     All right.

       2   This is Judge Jernigan.      We are back on the record in

       3   Highland.    Let me make sure we have the people we need.         Do we

       4   have the Pachulski team there?         Mr. Pomerantz, Mr. Kharasch?

       5               MR. POMERANTZ:    Yes, you do, Your Honor.

       6               THE COURT:    All right.    For our Objectors, Mr.

       7   Taylor, are you there?

       8               MR. TAYLOR:    Yes, Your Honor, I am.

       9               THE COURT:    All right.    I see Mr. Draper there on the

     10    video.   You're there.

     11                MR. DRAPER:    I'm here.    Can you hear me?

     12                THE COURT:    I can hear you loud and clear, yes.

     13                MR. DRAPER:    Great, because I didn't -- I'm not

     14    hearing, something so I apologize.

     15                THE COURT:    All right.    So we have Mr. Rukavina, and

     16    I think I see Mr. Hogewood there as well.        Is that correct?

     17    You're ready to go forward?

     18                MR. RUKAVINA:    Yes, Your Honor.

     19                THE COURT:    All right.

     20                MR. RUKAVINA:    Yes, Your Honor.    Good afternoon.

     21                THE COURT:    All right.    And Ms. Drawhorn, you're

     22    there?

     23                MS. DRAWHORN:    Yes, Your Honor.

     24                THE COURT:    Okay.   Committee.   Mr. Clemente, are you

     25    there?




                                                                           Appx. 04550
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 426 of 610




                                                                              73


       1               MR. CLEMENTE:    Yes, Your Honor.    I'm here, Your

       2   Honor.

       3               THE COURT:   Okay.    Very good.   All right.     So, let me

       4   reiterate.    We've given two-hour and 10-minute time

       5   limitations for the Debtor, and that'll be both any time you

       6   reserve for rebuttal and your closing, initial closing

       7   argument.    Mr. Clemente, you're going to be in that time frame

       8   as well.    Okay?

       9               MR. CLEMENTE:    Yes, Your Honor.

      10               THE COURT:   And so, as supporters of the plan.

      11        And then, of course, the Objectors, they have collectively

      12   two hours and ten minutes.

      13        A couple of things.     I'm going to have my law clerk, Nate,

      14   who you can't see but he's to my right, he's going to keep

      15   time.    I promise I won't be a jerk and cut anyone off

      16   midsentence, but please don't push the limit if I say, you

      17   know, "Time."

      18        The other thing I will tell you is I'll probably have some

      19   questions here or there.      And I've told Nate, cut off the

      20   timer if we're in a question-answer session.         I won't count

      21   that as part of the two hours and ten minutes.

      22        All right.     So, with that, Mr. Pomerantz, you may begin.

      23                CLOSING STATEMENT ON BEHALF OF THE DEBTOR

      24               MR. POMERANTZ:   Thank you, Your Honor.      As Your Honor

      25   is aware, the Debtor has been able to resolve all objections




                                                                          Appx. 04551
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 427 of 610




                                                                              74


       1   to confirmation other than the objection by Mr. Dondero or his

       2   entities and the United States Trustee.

       3        Your Honor, I have a very lengthy closing argument, given

       4   the number of issues that are raised in the objections, and I

       5   want to make a complete record, since I understand that

       6   there's a good likelihood that (garbled) appeal.

       7        With that in mind, Your Honor, I'm prepared to go through

       8   each and every confirmation requirement in Section 1129.

       9   However, as an alternative, I might propose that I can go

      10   through each of the Section 1129 requirements that are the

      11   subject of pending objections or otherwise depend upon

      12   evidence that Your Honor has heard.

      13              THE COURT:    Okay.

      14              MR. POMERANTZ:    And of course, I'll be happy to

      15   answer any questions that you have in the process.

      16              THE COURT:    Okay.

      17              MR. POMERANTZ:    And after my closing argument, I will

      18   turn it over to Mr. Kharasch to address the Advisor and Funds'

      19   objections.

      20              THE COURT:    Okay.

      21              MR. POMERANTZ:    Before I walk the Court through the

      22   confirmation requirements, I did want to note for the Court,

      23   as I did previously, that we filed an updated ballot summary

      24   at Docket No. 1887.     And as reflected in the summary, Classes

      25   2 and 7 have voted to accept the plan with the respective




                                                                          Appx. 04552
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 428 of 610




                                                                              75


       1   numerosity and amounts required.       In fact, the votes are a

       2   hundred percent.

       3        Class 8, however, has voted to reject the plan.          Seventeen

       4   creditors in Class 8 voted yes and 24 objectors, which are, I

       5   think, all but one the employees with one-dollar claims for

       6   voting purposes, voted against.

       7        In dollar amount, Class 8 has accepted the plan by 99.8

       8   percent of the claims.     And I will address the issues of the

       9   cram-down over that class a little bit later on.

      10        Lastly, during the course of my presentation, I will

      11   identify for the Court certain modifications we have made to

      12   address the objections that were filed on January 22nd and

      13   then also on February 1st.        And at the end of my presentation,

      14   I will raise a couple of other modifications that I won't get

      15   to during my presentation and will explain to the Court why

      16   all the modifications do not require resolicitation and are

      17   otherwise appropriate under Section 1127.

      18        Your Honor, as Your Honor is aware, Section 1129 requires

      19   the Debtors to demonstrate to the court that the plan

      20   satisfies a number of statutory requirements.         1129(a)(1)

      21   provides that the plan requires -- complies with all statutory

      22   provisions of Title 11, and courts interpreted this provision

      23   as requiring the debtor to demonstrate it complies with

      24   Section 1122 and 1123.

      25        With respect to classification, Your Honor, there has been




                                                                          Appx. 04553
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 429 of 610




                                                                              76


       1   one objection that was raised to essentially a classification,

       2   and that was raised by Mr. Dondero to Article 3C of the plan

       3   on the grounds that it purports to eliminate a class that did

       4   not have any claims in it as of the effective date but which

       5   may later have a claim in that class.

       6        I think he was primarily concerned about Class 9

       7   subordinated claims.     But Mr. Dondero misunderstands the

       8   provision.    It only eliminates a claim for voting purposes,

       9   and if there's later a claim in that class, it will be treated

      10   as the plan provides the treatment.

      11        In any event, Class 9, as we know now, will be populated

      12   by the HarbourVest claims, as well as the UBS claims and the

      13   Patrick Daugherty claims, if the Court approves the settlement

      14   approving those claims.

      15        Next, Your Honor, Section 1123(a) contains seven mandatory

      16   requirements that a plan must include.        Sections 1, 2, and 3

      17   of 1123(a) apply to the classification of claims and where

      18   they're impaired and treatment.       The plan does that.

      19        There has been an objection to 1123(a)(3) raised by

      20   several parties with respect to the classification and

      21   treatment of subordinated claims.        The concerns stem from the

      22   mistaken belief that the Debtor reserved the right to

      23   subordinate claims without providing parties with notice and

      24   without obtaining a court order.

      25        The Debtor never intended to have unilateral ability to




                                                                          Appx. 04554
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 430 of 610




                                                                              77


       1   subordinate claims without affording parties due process

       2   rights, and we've added some clarificatory language to so

       3   provide.

       4        We made changes to the plan on January 22nd, and then on

       5   February 1st, and the plan addresses all those issues in

       6   Article 3(j) and it talks about when a claim is going to be

       7   subordinated as a non-creditor.       We've also redefined the

       8   definition of subordinated claims to make clear that a claim

       9   is only subordinated upon entry of an order subordinating that

      10   claim.

      11        Mr. Dondero also objected on the grounds that the plan did

      12   not contain a deadline pursuant to which the Debtor would be

      13   required to seek any subordination, and we have revised

      14   Article 7(b) of the plan to provide that any request to

      15   subordinate a claim would have to be made on or before the

      16   claim objection deadline, which is 180 days after the

      17   effective date.

      18        Lastly, certain former employees, Mr. Yang and Borud,

      19   objection also joined by Mr. Deadman, Travers, and Kauffman,

      20   objected to the inclusion of language in the definition of

      21   "Subordinated Claims" that a claims arising from a Class A, B,

      22   or C limited partnership is deemed automatically subordinated.

      23   The concerns were that the language could broadly apply to any

      24   potential claims by a former partner, and could be also read

      25   to encompass claims outside the statutory scope of 510(b) or




                                                                          Appx. 04555
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 431 of 610




                                                                              78


       1   otherwise relating to limited partnership interests.

       2        While the Debtor does reserve the right to seek to

       3   subordinate the claims on any basis, we have modified the plan

       4   to address that concern and to address the concern that we're

       5   not attempting to create any new causes of action for

       6   subordination that don't otherwise exist under applicable law,

       7   but it just preserves the parties' rights with respect to

       8   subordination and deals with that at a later date.

       9        Next, Your Honor, Section 1123(a)(5).        I skipped over

      10   1123(a)(4) because there are no objections to that provision.

      11               THE COURT:   Okay.

      12               MR. POMERANTZ:   Section 1123(a)(5), a plan must

      13   provide for adequate means of implementation.         And the plan

      14   provides a detailed structure and blueprint how the Debtor's

      15   operations will continue, how the assets will be monetized,

      16   including the establishment of the Claimant Trust,

      17   establishment of the Litigation Sub-Trust, the Reorganized

      18   Debtor, the Claimant Trust Oversight Board.         And the documents

      19   precisely describing how this will occur were filed as part of

      20   the various plan supplements.

      21        1123(a)(7), Your Honor, requires that the plan only

      22   contain provisions that are consistent with the interest of

      23   equity holders and creditors with respect to the manner,

      24   selection, and -- of any director, officer, or trustee under

      25   the plan.    And as discussed in the plan, at the disclosure




                                                                          Appx. 04556
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 432 of 610




                                                                              79


       1   statement, and as testified to by Mr. Seery, the Committee and

       2   the Debtor had arm's-length negotiations regarding the post-

       3   effective date corporate governance and believe that the

       4   selection of the claimant Trustee, the Litigation Sub-Trustee,

       5   and the Claimant Trust Oversight Board are in the best

       6   interest of stakeholders.

       7        HCMFA has raised a particular objection, I think, to these

       8   issues, but I will address it in the context of the

       9   requirement under Section 1129(a)(5).

      10        Your Honor, Section 1129(a)(2) requires that the plan

      11   comply with the disclosure and solicitation requirements under

      12   the plan.    Section 1125 requires that the Debtor only solicit

      13   with a court-approved disclosure statement.         The Court

      14   approved the disclosure statement on November 23rd, and

      15   pursuant to the proofs of service on file, the plan and

      16   disclosure statement were mailed, along with solicitation

      17   materials that the court approved.

      18        Now, there has been an objection raised by Dugaboy, and

      19   also alluded to by Mr. Taylor in some of his comments before,

      20   that the plan does violate 1129(a)(2) because the Debtor's

      21   disclosure statement was deficient.

      22        In support of that argument, Dugaboy points to the

      23   reduction in the anticipated distribution to creditors from

      24   the November plan analysis to the January plan analysis, and

      25   argues that that reduction requires resolicitation.           However,




                                                                           Appx. 04557
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 433 of 610




                                                                              80


       1   those arguments are not well-taken.

       2        First, none of the people making these objections were

       3   solicited for their vote on the plan, or if they had been,

       4   they didn't vote or decided to reject the plan.         And to the

       5   extent that Class 8 creditors, the distribution has gone down

       6   -- that's the class that Mr. Taylor and Mr. Draper are

       7   concerned about -- you don't hear the Committee, Acis,

       8   Redeemer, UBS, HarbourVest, Daugherty, or the Senior Employees

       9   making their argument, this argument, and they represent over

      10   99 percent of the claims in that class.        And in fact, of the

      11   17 Class 8 creditors that have accepted the plan, 15 are

      12   represented by the parties I just mentioned.

      13        So who are the two creditors that they're so concerned

      14   about?   One is Contrarian, which is a claims trader that

      15   actually elected to be treated in Class 7, and one is one of

      16   the employees who voted to accept the plan.

      17        Second, Your Honor, the argument conflates the difference

      18   between adverse change to the treatment of a claim or interest

      19   that would require a resolicitation under Section 1127 and a

      20   change to the distribution that would not.

      21        More importantly, Your Honor, the argument is specious.

      22   As Mr. Seery testified yesterday, the material differences

      23   between the analysis contained on November and late January

      24   and the one we filed on February 1st were based on three types

      25   of changes:    an update regarding the increased value of assets




                                                                          Appx. 04558
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 434 of 610




                                                                              81


       1   based upon events that had transpired during this period,

       2   which included an increase in asset value, no recoveries, and

       3   revenues expected to be generated by the CLO management

       4   agreements; an update to the expected costs of the Reorganized

       5   Debtor and the Claimant Trust as a result of the continued

       6   evaluation of staffing needs, operational expenses, and

       7   professional fees; and an update to reflect resolution of the

       8   HarbourVest and UBS claims.

       9        In the filing Monday, Your Honor, we updated the plan

      10   projection, a liquidation analysis which revised the unsecured

      11   claims based upon the UBS settlement that I was able to

      12   disclose to Your Honor.      And in the filing, the distribution

      13   now revised to Class 8 creditors is now 71 percent, compared

      14   to the 87 percent that was in the disclosure statement that

      15   went out for solicitation.

      16        Your Honor, there can be no serious argument that the

      17   creditors in this case were not fully aware of the potential

      18   for the UBS and HarbourVest creditors receiving claims.           Your

      19   Honor's UBS 3018 order granting its claim for voting purposes

      20   was entered right around the time that the disclosure

      21   statement was approved.      And, in fact, a last-minute addition

      22   to the disclosure statement disclosed the 3018 amount,

      23   although the amount did not make it to the attachment to the

      24   disclosure statement.     And that reference, Your Honor, to the

      25   UBS claim being allowed for voting purposes can be found at




                                                                          Appx. 04559
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 435 of 610




                                                                              82


       1   Page 41 of Docket No. 1473.

       2        And the HarbourVest settlement was filed on about December

       3   23, two weeks before the voting deadline, sufficient time for

       4   people to take that into consideration.

       5        And as Your Honor surely knows, the hearings in this case

       6   have been very well-attended by the major parties, and I

       7   believe that if we went back and looked at the records of who

       8   was on the WebEx system during the HarbourVest and UBS

       9   hearings, you would find that representatives of basically

      10   every creditor, every major creditor in this case in Class 8

      11   participated.

      12        Moreover, Your Honor, creditors were not guaranteed any

      13   percentage recovery under the plan and disclosure statement,

      14   which clearly identified the size of the claims pool as a

      15   material risk.

      16        Article 4(a)(7) of the disclosure statement, which is at

      17   Docket 1473, is entitled "Claims Estimation" and warns

      18   creditors that there can be no assurances that the Debtor's

      19   claims estimates will prove correct, and that the actual

      20   amount of the allowed claims may vary materially.

      21        And if Dugaboy is arguing it was misled as the holder of a

      22   disputed administrative claim and general unsecured claim,

      23   that argument is simply preposterous.

      24        Dugaboy cites several cases for the proposition that

      25   deficient disclosure may warrant resolicitation, and the




                                                                          Appx. 04560
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 436 of 610




                                                                              83


       1   Debtor agrees with the proposition as a general matter.           But

       2   if one looks at the cases that were filed -- that Dugaboy

       3   cited to, it will see that they are clearly inapposite and

       4   distinguishable.

       5        In re Michaelson, the Bankruptcy Court for the Eastern

       6   District of California, revoked confirmation because the

       7   debtor failed to disclose in the disclosure statement a mail

       8   fraud indictment of the turnaround specialist who was to lead

       9   the reorganization effort and a prior Chapter 7 company he

      10   drove into the ground.

      11        In In re Brotby, the Ninth Circuit BAP affirmed a decision

      12   of the Bankruptcy Court that the individual debtor's decision

      13   to modify its financial projections on the eve of confirmation

      14   did not require a resolicitation.        And there, the financial

      15   projections were off by 75 percent.

      16        And in Renegade Holdings, the Bankruptcy Court granted a

      17   motion by a group of states to revoke confirmation by the

      18   debtors, who manufactured and distributed tobacco products,

      19   because the debtors failed to disclose in its disclosure

      20   statement that the debtor and its principals were under

      21   criminal investigation for unlawful trafficking in cigarettes,

      22   which was not disclosed to creditors.

      23        Your Honor, none of these cases are remotely analogous to

      24   this case, and they certainly do not stand for the proposition

      25   that the Debtor was required to resolicit.




                                                                          Appx. 04561
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 437 of 610




                                                                              84


       1        Next, Your Honor, the next requirement is 1129(a)(3),

       2   which requires that any plan be proposed in good faith.            As

       3   Mr. Seery testified at length, and the Court has personal

       4   knowledge of, having presided over this case for a year, the

       5   plan is the result of substantial arm's-length negotiations

       6   with the Committee over a period of several months.

       7        Mr. Seery testified yesterday that, soon after the board

       8   was appointed, the Committee wanted to immediately pursue down

       9   the path of an asset monetization plan.         However, as Mr. Seery

      10   testified, the board decided that it was inappropriate to rush

      11   to judgment and that it should consider all potential

      12   restructuring alternatives for the Debtor.         And Mr. Seery

      13   testified what those alternatives were:         a traditional

      14   restructuring and continuation of the Debtor's business; a

      15   potential sale of the Debtor's assets in one or more

      16   transactions; an asset monetization plan like the one before

      17   the Court today; and, last but not least, a grand bargain plan

      18   that would involve Mr. Dondero sponsoring the plan with a

      19   substantial equity infusion.

      20        As Mr. Seery testified, by the early summer of 2020, the

      21   Debtor decided that it was appropriate to start moving down

      22   the path of an asset monetization plan while it continued to

      23   work on the grand bargain plan.       Accordingly, Mr. Seery

      24   testified that the Debtor commenced good-faith negotiations

      25   with the Committee regarding the asset monetization plan, and




                                                                           Appx. 04562
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 438 of 610




                                                                              85


       1   that those negotiations took several months, were hard-fought

       2   and at arm's-length, and involved substantial analysis of the

       3   appropriate post-confirmation corporate structure, governance,

       4   operational, regulatory, and tax issues.         And on August 12th,

       5   Your Honor, the plan was filed with the Court.

       6        And although the Debtor at that time had not reached an

       7   agreement with the Committee on some of the most significant

       8   issues, Mr. Seery testified that the independent board

       9   believed that it was important to file that plan at that time,

      10   a proverbial stake in the ground to act as a catalyst for

      11   reaching a consensual plan with the Committee or others, which

      12   it has done.

      13        As Mr. Seery testified, he continued to work with Mr.

      14   Dondero to try to achieve a grand bargain plan, while at the

      15   same time proceeding down the path of the filed plan.

      16        He testified that the parties participated in mediation at

      17   the end of August and early September to try to reach an

      18   agreement on a grand bargain plan, but were unsuccessful.           And

      19   the Debtor proceeded on the path of the August 12th plan and

      20   sought approval of its disclosure statement on August 27th,

      21   2020.

      22        Mr. Seery testified that, at that time, the Debtor still

      23   had not reached an agreement with the Committee on certain

      24   significant issues involving post-confirmation governance and

      25   the scope of releases.     And as a result, after a contested




                                                                          Appx. 04563
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 439 of 610




                                                                             86


      1   hearing, Your Honor, Your Honor did not approve the disclosure

      2   statement on October 27th, but asked us to go back again to

      3   try to work out the issues, and we came back on November 23rd.

      4        Mr. Seery testified that the Debtor continued to negotiate

      5   with the Committee to resolve the material disputes leading --

      6   which led up to the November 23rd hearing, where we came in

      7   with the support of the Committee.        But as Mr. Seery has also

      8   testified, he has continued to try to reach a consensus on a

      9   global plan, notwithstanding the approval of the disclosure

     10   statement.    And he spent personally several hundred hours

     11   since his appointment trying to build consensus.

     12        As part of this process, Mr. Seery testified that Mr.

     13   Dondero received access to substantial information regarding

     14   the Debtor's assets and liabilities, most recently in

     15   connection with a series of informal document requests which

     16   were made at the end of December.

     17        And after the Court asked the parties to again reengage in

     18   efforts to try to reach a global hearing after the Debtor's

     19   preliminary injunction motion, Mr. Seery testified that he and

     20   the board participated in calls with Mr. Dondero and his

     21   advisors and the Committee to see if common ground could be

     22   attained.

     23        Unfortunately, as Mr. Seery testified, the Committee and

     24   Mr. Dondero were not able to reach an agreement.

     25        Accordingly, Your Honor, the testimony unequivocally and




                                                                          Appx. 04564
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 440 of 610




                                                                              87


       1   overwhelmingly demonstrates that the plan was proposed in good

       2   faith.

       3        I expect the Objectors may argue in closing that they have

       4   filed a plan under seal that is a better alternative than that

       5   being proposed by the plan that the Debtor seeks to confirm.

       6   Your Honor, as a threshold matter, yesterday I said any

       7   mention of the specifics of the recent plan would be

       8   inappropriate.    We are not here today to debate the merits of

       9   Mr. Dondero's plan, which the Court permitted him to file

      10   under seal.    He had ample opportunity to file this plan after

      11   exclusivity was terminated, seek approval of a disclosure

      12   statement, and, if approved, solicit votes in connection with

      13   a confirmation hearing, but he failed to do so.

      14        What matters today, Your Honor, is whether the Debtor's

      15   plan, the plan that has been accepted by 99.8 percent of the

      16   amount of creditors, and opposed only by Mr. Dondero, his

      17   related entities, and certain employees, meets the

      18   confirmation requirements of Section 1129, which we most

      19   certainly argue it does.

      20        And perhaps most importantly, Your Honor, the Court

      21   remarked at the last hearing that, without the Committee's

      22   support for a competing plan, Mr. Dondero's plan would be dead

      23   on arrival.    And as you have heard from Mr. Clemente, Mr.

      24   Dondero does not yet have the Committee's support.

      25        Next, Your Honor, is Section 1129(a)(5).         That requires




                                                                          Appx. 04565
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 441 of 610




                                                                               88


       1   that the plan disclose the identity of any director,

       2   affiliate, officer, or insider of the debtor, and such

       3   appointment be consistent with the best interest of creditors

       4   and equity holders.     Courts have held that this section

       5   requires the disclosure of the post-confirmation governance of

       6   the reorganized entity.

       7        HCMFA objects to the plan, arguing that it did not comply

       8   with Section 1129(a)(5) because it didn't disclose the people

       9   who would control and manage the Reorganized Debtor and who

      10   might be a sub-servicer.      HCMFA's objection is off-base.

      11   Under the plan, Mr. Seery will be the claimant Trustee and

      12   Marc Kirschner will be the Litigation Trustee.          Mr. Seery

      13   testified extensively about his background, and he has

      14   appeared before the Court many times and the Court is familiar

      15   with him.    We have also introduced his C.V. into evidence.

      16        As he testified, he will be paid $150,000 per month,

      17   subject to further negotiations with the Claimant Trust

      18   Oversight Committee regarding the monthly amount and any

      19   success fee and severance fee, which negotiation is expected

      20   to be completed within the 45 days following the effective

      21   date.

      22        Mr. Seery also testified regarding the names of the

      23   members of the Claimant Trust Oversight Committee, which

      24   information was also contained in the plan supplement and it

      25   generally includes the four members of the Committee and David




                                                                          Appx. 04566
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 442 of 610




                                                                              89


       1   Pauker, a restructuring professional with decades of

       2   restructuring experience.

       3        The members of the Oversight Committee will serve without

       4   compensation, except for Mr. Pauker, who Mr. Seery testified

       5   will receive $250,000 in the first year and $150,000 for

       6   subsequent years.

       7        As set forth in the Claimant Trust agreement, if at any

       8   time there is a vacant seat to be filled by another

       9   independent member, their compensation will be negotiated by

      10   and between the Claimant Trust Oversight Board and them.

      11        Mr. Seery has also testified that he believed the Claimant

      12   Trust will have sufficient personnel to manage its business.

      13   Specifically, he has testified that he intends to employ

      14   approximately ten of the Debtor's employees, who will be

      15   sufficient to enable him to continue to operate the Debtor's

      16   business, including as an advisor to the managed funds and the

      17   CLOs, until the Claimant Trust is able to effectively and

      18   efficiently monetize its assets for fair value, whether that

      19   takes two years or whether that takes 18 months or whether

      20   that takes longer.

      21        Mr. Seery further testified that he believes that the

      22   operations can be best conducted by the Debtor's employees.

      23   And while he did consider the retention of a sub-servicer, he

      24   ultimately decided, in consultation with the Committee, that

      25   the monetization would be a lot more effective if done with a




                                                                          Appx. 04567
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 443 of 610




                                                                               90


       1   subset of the Debtor's current employees.

       2        The proposed corporate governance is also consistent with

       3   the interests of the Debtor and its stakeholders.             The Court

       4   is very familiar with Mr. Seery and the Debtor, and I believe

       5   that Mr. Clemente, when he comments, will say the Committee

       6   can think of no better person to continue managing the

       7   Claimant Trust than Mr. Seery.

       8        Mr. Kirschner is also well qualified to be the Litigation

       9   Trustee.    His C.V. is part of the evidence that's been

      10   admitted and contains additional information regarding his

      11   background.    And he will receive $40,000 a month for the first

      12   three months and $20,000 a month thereafter, plus a to-be-

      13   negotiated success fee.

      14        There just simply can be no challenge to Mr. Seery's or

      15   Mr. Kirschner's qualifications or abilities to act in a manner

      16   contemplated by the plan or that their involvement is not in

      17   the best interest of the estate and its creditors.

      18        Your Honor, the next requirement that is objected to is

      19   Section 1129(a)(7).     That, of course, requires the Debtor to

      20   demonstrate that creditors will receive not less under the

      21   plan than they would receive if the Debtor was to be

      22   liquidated in Chapter 7.      And on February 1st, Your Honor, we

      23   filed our updated liquidation analysis, which contains the

      24   latest-and-greatest evidence to support that.

      25        These documents, the updated documents, in connection with




                                                                            Appx. 04568
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 444 of 610




                                                                              91


       1   the prior analysis, was provided to objecting parties in

       2   advance of the January 29th deposition, and Your Honor has

       3   heard the differences between the January 29th and the

       4   February 1st documents being very minimal.

       5        The Court heard extensive evidence and testimony from Mr.

       6   Seery regarding the assumptions that went into the preparation

       7   of the liquidation analysis and the differences of what

       8   creditors are projected to receive under the plan as compared

       9   to what they are projected to receive in a Chapter 7.

      10        Such testimony also included a comparison between the

      11   liquidation analysis that was filed with the plan in November,

      12   the updated liquidation analysis filed on the -- or, provided

      13   to parties on January 28th, and the last version, filed on

      14   February 1st.

      15        Mr. Seery
                Mr. Seery testified
                          testified that,
                                    that, on the revenue side,
                                                         side, the

      16   liquidation analysis
           liquidation analysis was updated
                                    updated to include
                                               include the HCLOF

      17   interest, which
           interest, which was
                           was required
                               required as part
                                           part of the settlement with
                                                                  with

      18   HarbourVest; the increase
           HarbourVest;     increase in
                                     in value of certain
                                                 certain assets,
                                                         assets,

      19   including Trussway;
           including Trussway; revenue expected
                                       expected to be generated
                                                      generated from
                                                                from

      20   continued management
           continued management of the CLOs; and increased recovery on

      21              result of
           notes as a result of the
                                the acceleration
                                    acceleration of
                                                 of certain
                                                    certain related
                                                            related

      22   notes.

      23        On the expense side, Mr. Seery testified regarding his

      24   best estimate of the likely expenses to be incurred by a

      25   Chapter 7 trustee -- by the Claimant Trust, including




                                                                          Appx. 04569
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 445 of 610




                                                                                92


       1   personnel costs; professional costs, which increase because of

       2   the litigious nature this case has become; and operating

       3   expenses.

       4        And lastly, on the claim side, Your Honor, Mr. Seery

       5   testified that the claims numbers have been updated to include

       6   the settlement from HarbourVest and initially the amount

       7   approved to UBS pursuant to the 3018 order and then the

       8   reduction at $50 million based upon the settlement announced.

       9   And like the prior liquidation analysis, the current analysis

      10   demonstrates that creditors will fare substantially better

      11   under in Chapter -- under the plan than in Chapter 7.           In

      12   fact, the projected recovery under the plan is 85 percent for

      13   Class 7 creditors and 71.32 percent for Class 8 creditors, as

      14   compared to 54.96 percent for all unsecured creditors in a

      15   Chapter 7.

      16        Mr. Seery also testified that expenses are expected to be

      17   more under Chapter 11 than under Chapter 7, but he also

      18   testified that the tens of millions of dollars in greater

      19   revenue and asset recoveries under the plan will more than

      20   offset the additional expenses.

      21        As a result, the Court has more than sufficient

      22   evidentiary basis to conclude that the Debtor has carried its

      23   burden to prove that it meets the best interest of creditors

      24   best.

      25        But Mr. Dondero's counsel spent a lot of time crossing --




                                                                          Appx. 04570
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25     Page 446 of 610




                                                                                93


       1   cross-examining Mr. Seery, in a vain attempt to demonstrate to

       2   the Court that a Chapter 7 actually would be much better for

       3   creditors.    And this argument has also been made by Dugaboy

       4   and the Advisors and the Funds.

       5        Before I address these arguments on its merits, Your

       6   Honor, I just wanted to remind the Court of the Objectors --

       7   these Objectors' interest in this case.        Mr. Dondero owns no

       8   equity in the Debtor.     He owns a general partner.          Strand, in

       9   turn, owns a quarter-percent -- a quarter of one percent of

      10   the total equity in the Debtor.       And Mr. Dondero's claim, it's

      11   only a claim for indemnification.       Dugaboy asserts two claims:

      12   a frivolous administrative claim relating to the postpetition

      13   management of a Multi-Strat, which, as an administrative

      14   claim, if it's valid, would not even be affected by the best

      15   interest of creditors test, because it would have to be paid

      16   in full.   And he also asserts a claim that the Debtor's

      17   subsidiary -- against the Debtor's subsidiary for which it

      18   tries to pierce the corporate veil.

      19        Just think about it.     Dugaboy, Mr. Dondero's entity, is

      20   arguing that he should be able to pierce the corporate veil to

      21   get at the entity that was his before the bankruptcy.

      22        Dugaboy's only other interest in this case relates to a --

      23   a one -- point eighteen and several-hundredths percent of the

      24   equity interest of the Debtor, and that is out of the money.

      25        And as I mentioned previously, Your Honor, Mr. Rukavina's




                                                                            Appx. 04571
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 447 of 610




                                                                               94


       1   clients either didn't file any general unsecured claims or

       2   filed them and withdrew them.        Their only claim is a disputed

       3   administrative claim against the Debtor that was filed a week

       4   ago and which, at the appropriate time, the Debtor will

       5   demonstrate is without merit.

       6        And I understand that, just today, NexPoint Advisors also

       7   filed administrative claim.

       8        So I'm not going to argue to Your Honor that these parties

       9   do not have standing, although their standing is tenuous, at

      10   best, to assert this argument.        The Court should keep their

      11   relative interests in mind when evaluating the merits and the

      12   good faith of this objection.

      13        The principal objection, as I said, is that creditors will

      14   do better in a Chapter 7.         Essentially, they argue that a

      15   Chapter 7 trustee can liquidate the assets just as well as Mr.

      16   Seery can and not require the cost structure that is included

      17   in the Debtor's plan projections.         Yes, they argue that a

      18   Chapter 7 will be more efficient.

      19        Mr. Seery's testimony, the only testimony on the topic,

      20   however, establishes that this preposterous proposition has no

      21   basis in reality.     Mr. Seery testified that a Chapter 7

      22   trustee's mandate would be to reduce Debtor's assets as fast

      23   as possible, while he will monetize assets as and when

      24   appropriate to maximize the value.

      25        But even if you can assume that the Chapter 7 trustee




                                                                           Appx. 04572
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 448 of 610




                                                                              95


       1   could get court authority in a Chapter 7 to operate, there are

       2   several reasons Mr. Seery testified why a liquidation by a

       3   Chapter 7 trustee would be far worse than the plan.

       4        First, Your Honor, no matter how competent the Chapter 7

       5   trustee is -- and Mr. Seery did not say he is more competent

       6   than anyone else out there -- the lack of a learning curve

       7   that Mr. Seery established through the 13 months in this case

       8   puts Mr. Seery at such a major advantage compared to a Chapter

       9   7 trustee.

      10        Second, Mr. Seery questioned whether the Chapter 7 trustee

      11   would be able to retain the Debtor's existing professionals,

      12   even assuming they were willing to be retained.          I'm not sure

      13   what's the Court's practice or the practice in the Northern

      14   District, but in many districts around the country debtor's

      15   counsel and professionals cannot be retained by Chapter 7

      16   trustee, as general counsel, at least.

      17        And I could just imagine, Your Honor, Mr. Dondero's

      18   position if the Chapter 7 trustee actually sought to hire

      19   Pachulski Stang and DSI.

      20        Third, Your Honor, regardless of whether the Chapter 7

      21   trustee obtained some operating authority, the market

      22   perception will be that a Chapter 7 trustee will sell assets

      23   for less value than would Mr. Seery as claimant Trustee.           Mr.

      24   Seery testified to that.

      25        The argument that the Objectors make that a Chapter 7




                                                                          Appx. 04573
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 449 of 610




                                                                              96


       1   process, whereby the trustee would seek court approval of

       2   assets, is better for value than a process overseen by the

       3   Claimant Trust Board lacks any evidentiary basis and also is

       4   contradicted by Mr. Seery's testimony.

       5        In fact, Mr. Seery testified that the Chapter 7 process,

       6   the public process of it, would very likely result in less

       7   recovery than a sale conducted in the Claimant Trust.

       8        And lastly, Mr. Seery testified that it's unlikely that

       9   the ten or so valuable employees who Mr. Seery is planning to

      10   heavily rely on to assist him with post-confirmation would

      11   agree to a work for Chapter 7 trustee.        Your Honor is all too

      12   familiar with the fights in the Acis case and Chapter 7

      13   trustee, and it's just hard to believe that any of the

      14   Highland employees would go work for the Chapter 7 trustee.

      15        So why is Mr. Dugaboy -- why is Dugaboy and Mr. Dondero

      16   actually making this objection and advocating for a Chapter 7?

      17   It's because they would expect to buy the Debtor's assets on

      18   the cheap from a Chapter 7 trustee, exactly what they've been

      19   trying to do in this case.

      20        Your Honor, moving right now to Section 1129(a)(11), that

      21   requires the debtor to demonstrate that the plan is feasible.

      22   In other words, it's not likely to be followed by a further

      23   liquidation or restructuring.       Under the Fifth Circuit law,

      24   the debtor need only demonstrate that the plan will have a

      25   reasonable probability of success to satisfy the feasibility




                                                                          Appx. 04574
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 450 of 610




                                                                               97


       1   requirement, and the Debtor has easily met this standard.

       2        As Mr. Seery testified, the Debtor's plan contemplates

       3   continued operations through which time the assets will be

       4   monetized for the benefit of creditors.         The plan contemplates

       5   that Class 7 creditors will be paid off shortly after the

       6   effective date.     Class 8 creditors are not guaranteed any

       7   recovery but will receive pro rata distributions over a period

       8   of time.    Class 2, Frontier secured claim, will be paid off

       9   over time, and the projections demonstrate that it will -- the

      10   Debtor will have money to do so.

      11        Mr. Seery testified at length regarding the assumptions

      12   that went into the preparation of the projections most

      13   recently filed on February 1, and based on that testimony, the

      14   Debtor has clearly demonstrated that the plan is feasible.

      15        Your Honor, I think that brings us to Section 1129(b).              Of

      16   course, again, Your Honor, if Your Honor has any other

      17   questions with the sections I'm skipping over.          I believe

      18   we've adequately covered them in the briefs and I don't think

      19   there's any objection.

      20        But as I mentioned before, we have three classes that have

      21   voted to reject the plan.         Class 8 is the general unsecured

      22   claims.    They voted to reject the plan.       Yes.   Even though,

      23   based upon the ballot summary, 99 percent of the amount of

      24   claims in that class voted to accept the plan, approximately

      25   24 employees voted to reject the plan.         And accordingly, the




                                                                           Appx. 04575
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 451 of 610




                                                                             98


       1   Debtor cannot satisfy the numerosity requirement of Section

       2   1126(c).

       3        I do want to briefly recount for Your Honor Mr. Seery's

       4   testimony regarding the nature of the claims of the 24

       5   employees who voted to reject the plan.        And I'm not doing

       6   this to argue that the votes from these contingent creditors

       7   are not valid or that the Debtor doesn't need to satisfy the

       8   cram-down requirements.     The Debtor understands it needs to

       9   demonstrate to the Court that Section 1129(b) is satisfied for

     10    the Court to confirm the plan.

     11         Rather, why I do this, Your Honor, is to provide the Court

     12    with context about the nature and extent of the creditors in

     13    this class as the Court determines whether the plan is, in

     14    fact, fair and equitable and can be crammed down to a

     15    dissenting vote.

     16         Mr. Seery testified that these employees originally had

     17    claims under the annual bonus plan and the deferred

     18    compensation plan.    And as he testified, in order for claims

     19    under each of those plans to vest -- I think he referred to

     20    them as be-in-the-seat plans -- the employee was required to

     21    remain employed as of that date.

     22         Mr. Seery testified that the Debtor terminated the annual

     23    bonus plan in the middle of January and replaced it with the

     24    key employee retention plan that the Court previously

     25    approved.




                                                                          Appx. 04576
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 452 of 610




                                                                               99


       1          Accordingly, Mr. Seery testified that no employee who

       2   voted to reject the plan anymore has a claim on the annual

       3   bonus plan.    He also testified that, with respect to the

       4   deferred compensation plan, people have contingent claims

       5   under that plan and that no payments are due until May 20 --

       6   2021.

       7          As Mr. Seery testified, if the employees who would be

       8   entitled to receive payments under the deferred compensation

       9   plan do not agree to enter into a separation agreement that

      10   was approved by the Court, they will be terminated before May

      11   and there will no -- not longer be any deferred compensation

      12   due.

      13          Accordingly, while the 24 employees who voted to reject

      14   the plan do technically have claims at this time they have

      15   voted, Mr. Seery testified the claims will go away soon.

      16          I do want to point out something that's obviously

      17   painfully obvious at this point, that while Class 8 voted to

      18   reject the plan, the Committee, the statutory fiduciary for

      19   all unsecured creditors, supports the plan enthusiastically

      20   and I believe it does so unanimously.

      21          The other classes to reject the plan, Your Honor, are

      22   Class 11, the A limited partnerships, and none of the holders

      23   in Class B and C limited partnerships voted on the plan, so

      24   cram-down is required over those classes as well.             So Your

      25   Honor is able to confirm the plan pursuant to the cram-down




                                                                            Appx. 04577
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 453 of 610




                                                                               100


       1   procedures under 1129(b) if the Court determines that the plan

       2   is fair and equitable and does not discriminate unfairly

       3   against the rejecting classes.

       4        Let's first turn to the fair and equitable requirement.              A

       5   plan is fair and equitable if it follows the absolute priority

       6   rule, meaning that if a class does not receive payment in

       7   full, no junior class will receive anything under the plan.

       8   With respect to Class 8, no junior class -- junior class to

       9   Class 8 will receive payment, and here is the key point,

      10   unless Class 8 is paid in full, with appropriate interest.

      11   NPA and Dugaboy -- Dugaboy in a brief filed on Monday -- argue

      12   that the plan does not satisfy the absolute priority rule

      13   because Class 10 and Class Equity Interests have a contingent

      14   right to receive property under the plan.

      15        Your Honor, this argument misunderstands the absolute

      16   priority rule.    Class 10 and Class Creditors will only receive

      17   payment after distribution to 8 and 9, the unsecured claims

      18   and the subordinated claims, are all paid in full, plus

      19   interest.

      20        And, in fact, Dugaboy, in its brief, to its credit, admits

      21   that the argument is contrary to the Bankruptcy Court's

      22   decision of Judge Gargotta in the Western District case of In

      23   re Introgen Therapeutics.         There, the Court was faced with a

      24   similar argument by a group of unsecured creditors who argued

      25   that the debtor's plan violated the absolute priority rule




                                                                           Appx. 04578
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 454 of 610




                                                                              101


       1   because equity was retaining a contingent interest that would

       2   only be payable if general unsecured claims were paid in full.

       3        In rejecting the argument, the Court reasoned, and I

       4   quote, "The only way Class 4 will receive anything is if Class

       5   3, in fact, gets paid in full, in satisfaction of

       6   1129(b)(2)(B)(i)," meaning that the absolute priority rule

       7   would not be an issue.     If Class 3 is not paid in full, Class

       8   4's property interest is not -- is just -- is not just

       9   valueless, it just doesn't exist.

      10        Your Honor, this is precisely the situation in this case.

      11   Equity interests will only receive a recovery if Class 8 and 9

      12   are paid in full.

      13        But Dugaboy attempts to escape the logical reading of the

      14   absolute priority rule by claiming that Introgen was wrongly

      15   decided and goes against the Supreme Court's decision in

      16   Ellers (phonetic).     Dugaboy argues that because the Supreme

      17   Court decided that property given to a junior class without

      18   paying a senior class in full is property, even if it's

      19   worthless.

      20        But Dugaboy misses the point.       Like the debtor in the

      21   Introgen, the Debtor here is not arguing that the property           --

      22   the absolute priority rule is not violated because the

      23   contingent trust is worthless.       Rather, the argument is that

      24   the absolute priority rule is not violated; it's, in order to

      25   receive anything on account of the junior -- of the equity,




                                                                          Appx. 04579
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 455 of 610




                                                                             102


       1   the senior creditors have to be paid a hundred percent plus

       2   interest.

       3        In fact, Your Honor, if the plan just didn't give any

       4   recovery to the equity Class 10 and 11, I bet you Dugaboy and

       5   Mr. Dondero would be arguing that it violated the absolute

       6   priority rule because senior classes, unsecured creditors,

       7   could potentially receive more than a hundred percent of their

       8   interest.    And there's a case in the Southern District of

       9   Texas, In re MCorp, where the Bankruptcy Court said that for a

     10    plan to be confirmed, its stockholders eliminated, creditors

     11    must not receive more than payment in full.

     12         Excess proceeds, Your Honor, if any, have to go somewhere.

     13    They can't go to creditors, so they have to go to equity.           And

     14    the absolute priority rule is not violated.

     15         And how is Dugaboy harmed?      They say they may want to buy

     16    the contingent interests, and the lack of a marketing effort

     17    violates the LaSalle opinion as well.        And who holds the Class

     18    B and Class C partnership interests that come before Dugaboy

     19    that Dugaboy is concerned may have this opportunity rather

     20    than them?   Yes, it's Hunter Mountain, Your Honor, an entity,

     21    like Dugaboy, that's owned and controlled by Mr. Dondero.

     22         Accordingly, the argument that the plan violates the

     23    absolute priority rule is actually a frivolous argument.

     24         Turning now to unfair discrimination, Your Honor, Dugaboy

     25    argued in its brief Monday that because the projected




                                                                          Appx. 04580
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 456 of 610




                                                                              103


       1   distribution to unsecured creditors has gone down in the

       2   recent plan projections, the discrepancy between Class 7 and

       3   Class 8 is so large that that amounts to unfair

       4   discrimination.

       5        Again, the Court should first ask why is Dugaboy even the

       6   right party to be making the objection.         Its claim against the

       7   Debtor to pierce the corporate veil, as I mentioned, is

       8   frivolous.    It's subject to objection.      It didn't even bother

       9   to have the claim temporarily allowed for voting purposes, as

      10   did other creditors who thought they had a valid claim.            Yet

      11   this is another example of Mr. Dondero, through Dugaboy,

      12   trying to throw as many roadblocks in front of confirmation as

      13   he can.

      14        But this argument, like the other ones, fails as well.

      15   Class 8 contains the general unsecured creditor claims,

      16   predominately litigation claims that have been pending against

      17   the Debtor for years.     The Debtor was justified in treating

      18   the other unsecured creditors differently.

      19        Class 6 consists of the PTO claims in excess of the cap,

      20   which are of different quality and nature than the other

      21   claims.

      22        Class 7 consists of the convenience class.         And it's

      23   appropriate to bribe convenience class creditors with a

      24   discount option for smaller claims to be cashed out for

      25   administrative convenience.




                                                                          Appx. 04581
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 457 of 610




                                                                              104


       1        Mr. Seery testified that when the plan was formulated, the

       2   concept was to separately classify liquidated claims in small

       3   amounts in Class 7 and unliquidated claims in Class 8.           Mr.

       4   Seery also testified that there's a valid business

       5   justification to treat the -- hold business 7 -- Class 7

       6   claims differently.     These creditors had a reasonable

       7   expectation of getting paid promptly, as compared to

       8   litigation creditors, who would expect to be paid over time.

       9        As the Court is aware, the litigation claims in Class 8

      10   involve litigation that has been pending for several years in

      11   the case of Acis, Daugherty, Redeemer, and more than a decade

      12   in UBS.

      13        And most importantly, as Mr. Seery testified, the

      14   Committee and the Debtor had significant negotiation regarding

      15   the classification and treatment provisions of the plan for

      16   Class 7.

      17        The Committee does have one constituent who is a Class 7

      18   creditor.    However, the other three creditors are all in Class

      19   8 and hold claims in excess of $200 million and supported the

      20   separate classification and the different treatment.

      21        So, Your Honor, discrimination, different treatment among

      22   Class 7 and 8 is appropriate, and the different treatment is

      23   not unfair.    In the February 1 projections, the Class 8

      24   creditors are estimated to receive 71.32 percent of their

      25   claims, but that's just an estimate.        As Mr. Seery testified,




                                                                          Appx. 04582
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 458 of 610




                                                                              105


       1   the number can go up based upon the value he can generate from

       2   the assets and, importantly, from litigation claims.           Class 8

       3   creditors could up end up receiving a hundred percent on

       4   account of their claims.      Class 7 creditors are fixed at 85

       5   percent.

       6        Giving Class 8 creditors the opportunity to roll the dice

       7   and potentially get more or less than the 85 percent offered

       8   to Class 7 is not at all unfair.

       9        For these reasons, Your Honor, the Court has the ability

      10   and should confirm the plan pursuant to the cram-down

      11   provisions of 1129(b).

      12        Your Honor, I'm now going to switch from the statutory

      13   requirements to all the issues raised by the release,

      14   injunction, and exculpation provisions.

      15        I'd just like to take a brief sip of water.

      16        Dugaboy -- I will first deal with the Debtor release

      17   provided in Article 9(f) of the plan, which we claim is

      18   appropriate.    Dugaboy and the U.S. Trustee have objected to

      19   the release contained in Article 9(f).        Dugaboy objects

      20   because it believes that the Debtor release releases claims

      21   that the Claimant Trust or Litigation Trust have that have not

      22   yet arisen, and the U.S. Trustee objects because it believes

      23   that the release is a third-party release.

      24        These objections have no merit, and they should be

      25   overruled.




                                                                          Appx. 04583
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 459 of 610




                                                                              106


      1        I would like to ask Ms. Canty to put up a demonstrative

      2   which contains the provision Article 9(f) of the plan.

      3        Your Honor, as set forth in this Article 9(f), only the

      4   Debtor is granting any release.            While that --

      5              THE COURT:    And for the record, it's 9(d)?         9(d),

      6   right?

      7              MR. POMERANTZ:    9(d)?     9(d), correct, Your Honor.

      8              THE COURT:    Yes.      Okay.

      9              MR. POMERANTZ:    Sorry about that.

     10              THE COURT:    Uh-huh.

     11              MR. POMERANTZ:    While the release is broad, it does

     12   not purport to release the claims of any third party.            The

     13   Claimant Trust and the Litigation Trust are only included in

     14   the release as successors of the Debtor.           The release is

     15   specifically only for claims that the Debtor or the estate

     16   would have been legally entitled to assert in their own right.

     17        Section 1123(b)(3)(A) of the Bankruptcy Code provides that

     18   a plan may provide for the settlement or adjustment of any

     19   claims or interests belonging to the debtor or the estate, and

     20   that's exactly what the Debtor release provides.

     21        Accordingly, Dugaboy is wrong that the release effects a

     22   release of claims that the Claimant Trust or the Litigation

     23   Sub-Trust have that won't arise until after the effective

     24   date.    And the U.S. Trustee is simply wrong; there's no third-

     25   party release aspect under the release.




                                                                           Appx. 04584
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 460 of 610




                                                                              107


       1        The last point I will address on the release, Your Honor,

       2   is who is being released and why and what does the evidence

       3   show.   The Debtor release extends to release parties which

       4   include the independent directors, Strand, for actions after

       5   January 9th, Jim Seery as the CEO and CRO, the Committee,

       6   members of the Committee, professionals, and employees.

       7        You have heard Mr. Seery's testimony that the Debtor does

       8   not believe that any claims against the parties that are

       9   proposed to be released actually exist.        You have heard Mr.

      10   Seery's testimony that he worked closely with the employees

      11   and believes that not only have they all been instrumental in

      12   getting the Debtor to the -- be on the cusp of plan

      13   confirmation, but that also Mr. Seery is not aware of any

      14   claims against them.

      15        Moreover, as Mr. Seery testified, the release for the

      16   employees is only conditional.       He testified that the

      17   employees are required to assist in the monetization of assets

      18   and the resolution of claims, and if they do not like -- if

      19   they do not lose their release, then any Debtor claims are

      20   tolled, such that could be pursued by the Litigation Trustee

      21   at a future time.

      22        Lastly, I'm sure that the Dondero entities will argue that

      23   someone needs to investigate claims against Mr. Seery for

      24   mismanagement or for, God forbid, having failed to file the

      25   2015.3 statements.     Such claims are part of the continuing




                                                                          Appx. 04585
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 461 of 610




                                                                             108


       1   harassment of Mr. Seery that the Dondero entities have

       2   embarked on after it was apparent that nobody would support

       3   their plan.

       4        There is no evidence of any claims that exist, Your Honor.

       5   In fact, the Committee and its professionals have watched the

       6   Debtor through this case like a hawk.        They have not been

       7   afraid to challenge the Debtor's actions in general and Mr.

       8   Seery's in particular.     FTI has worked on a daily basis with

       9   DSI and the company, had access to information.         When COVID

     10    was happening, they were looking at trades going on on a daily

     11    basis.

     12         So if the Committee, whose members hold approximately $200

     13    million of claims against the estate, are okay with the

     14    release against the independent directors and Mr. Seery, that

     15    should provide the Court with comfort to approve the releases

     16    as part of the plan.

     17         In summary, Your Honor, the Debtor release is entirely

     18    appropriate and does not affect the release of third-party

     19    claims that have not yet arisen.

     20         Next, Your Honor, I want to go to the discharge.          There's

     21    been objections to the discharge.       Dugaboy and NexPoint have

     22    objected that the Debtor receiving a discharge under the plan

     23    -- argue a debtor is liquidating.       The objection is not well

     24    taken based upon Mr. Seery's testimony regarding what it is

     25    the Claimant Trust and the Reorganized Debtor plan to do after




                                                                          Appx. 04586
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 462 of 610




                                                                             109


      1   the effective date, as compared to what the limitations of a

      2   discharge are under 1141(d)(3).

      3        Your Honor, Article 9 of the -- 9(b) of the plan provides

      4   that as -- except as otherwise expressly provided in the plan

      5   or the confirmation order, upon the effective date, the Debtor

      6   and its estate will be discharged or released under and to the

      7   fullest extent provided under 1141(d)(A) [sic] and other

      8   applicable provisions of the Bankruptcy Court.          Bankruptcy

      9   Code.

     10        Section 1141(d)(3) provides an exception to the discharge,

     11   and I'd like to have that section put up for Your Honor at

     12   this point.    Ms. Canty?

     13        As this -- as the section reflects, and as the Fifth

     14   Circuit has ruled in the TH-New Orleans Limited Partnership

     15   case cited in our materials, in order to deny the debtor a

     16   discharge under 1141(d)(3), three things must be true:           (1)

     17   the plan provides for the liquidation of all or substantially

     18   all of the property in the estate; (2) the debtor does not

     19   engage in business after consummation of the plan; and (3) the

     20   debtor would be denied a discharge under 727(a) of this title

     21   if the case was converted to Chapter 7.         Here, only C applies.

     22        With respect to A, Your Honor, while the plan does project

     23   that it will take approximately two years to monetize the

     24   Debtor's assets for fair value, the Debtor is just not

     25   liquidating within the meaning of Section A.




                                                                          Appx. 04587
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 463 of 610




                                                                               110


       1        As Mr. Seery testified, during the post-confirmation

       2   period, post-effective date period, the Debtor will continue

       3   to manage its funds and conduct the same type of business it

       4   conducted prior to the effective date.         It'll manage the CLOs.

       5   It'll manage Multi-Strat.         It'll manage Restoration Capital.

       6   It'll manage the Select Fund, and it'll manage the Korea Fund.

       7        The Bankruptcy Court for the Southern District of New

       8   York's 2000 opinion in Enron, cited in our materials, is on

       9   point.   There, the Court found that a debtor liquidating its

      10   assets over an indefinite period of time that is likely to

      11   take years is not liquidating within the meaning of Section

      12   1141(b)(3)(A), justifying a denial of discharge.

      13        But even if we failed A, based upon Mr. Seery's testimony,

      14   we would not fail B.     The Debtor will be continuing to do what

      15   it has done during the case, as it did before, as I said,

      16   managing its business.     B says the debtor does not engage in

      17   the business after management.        So while Mr. Seery testified

      18   that it would take approximately two years, it could take

      19   more, it could take less, and there is no requirement to

      20   liquidate assets over a period of time.

      21        Accordingly, Your Honor, the Debtor is conducting the type

      22   of business contemplated by Section B so as not to just deny a

      23   discharge.

      24        As the Fifth Circuit said in the TH-New Orleans case, the

      25   court granted a discharge there because it was likely that the




                                                                           Appx. 04588
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 464 of 610




                                                                               111


       1   debtor would be liquidating its assets and conducting business

       2   (indecipherable) years following a confirmation date.           And

       3   this result makes sense, Your Honor, because the Debtor will

       4   need the discharge and the tenant injunctions, which I'll get

       5   to in a moment, in order to prevent interference with the

       6   Debtor's ability to implement the terms of the plan and make

       7   distributions to creditors.

       8        I would now like, Your Honor, to turn to the exculpation

       9   provisions, which there's been -- there's been a lot of

      10   briefing on it, and I know Your Honor is very aware of the

      11   exculpation provisions and the Pacific Lumber case.           And

      12   several parties have objected to the exculpation contained in

      13   the plan, based primarily on the Fifth Circuit ruling in

      14   Pacific Lumber.

      15        The exculpation provision, which is not dissimilar to what

      16   is found in many plans around the country, including in plans

      17   confirmed in bankruptcy courts in the Fifth Circuit, acts to

      18   exculpate the exculpated parties for negligent-only acts as it

      19   contains the standard carve-outs for gross negligence,

      20   intentional conduct, and willful misconduct.

      21        I do want to bring to the Court's attention a deletion we

      22   made to the parties protected by the exculpation in the plan

      23   and now -- were filed on February 1st.        The definition of

      24   exculpated parties included, before February 1, not only the

      25   Debtor but its direct and indirect majority-owned subsidiaries




                                                                          Appx. 04589
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 465 of 610




                                                                               112


       1   and the managed funds.      In the plan amendment, we have deleted

       2   the Debtor's direct and indirect majority-owned subsidiaries

       3   and managed funds from the definition and are not seeking

       4   exculpation for those entities.

       5        But before, Your Honor, I address Pacific Lumber and why

       6   the Debtor believes it does not preclude the Court from

       7   approving the exculpation in this case, I do want to focus on

       8   something that the Objectors conveniently ignore from their

       9   argument.

      10        As I mentioned in my opening argument, Your Honor, the

      11   independent directors were appointed pursuant to the Court's

      12   order on January 9, 2020.         They have resolved many issues

      13   between the Debtor and the Committee, and avoided the

      14   appointment of a Chapter 11 trustee.

      15        The January 9th order was specifically approved by Mr.

      16   Dondero, who was in control of the Debtor at the time, and I

      17   believe the transcripts that are admitted into evidence will

      18   demonstrate that he was fully behind the approval of the

      19   January 9th order.

      20        In addition to appointing the independent directors into

      21   what was sure to be a contentiously litigious case, the

      22   January 9th order set the standard of care for the independent

      23   directors, and specifically exculpated them from negligence.

      24        You have heard Mr. Seery and Mr. Dubel testify that they

      25   had input into what the order said and would have not agreed




                                                                           Appx. 04590
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 466 of 610




                                                                               113


       1   to be appointed as independent directors if it did not include

       2   Paragraph 10, as well as the provisions regarding

       3   indemnification and D&O insurance.

       4        I would like to put a demonstrative on the screen, which

       5   is actually Paragraph 10 of that order.        Your Honor, Paragraph

       6   10, there's two concepts embedded here.        First, it requires

       7   any parties wishing to sue the independent directors or their

       8   agents to first seek such approval from the Bankruptcy Court.

       9   Secondly, and importantly for purposes of the independent

      10   directors and their agents, who would include the employees,

      11   it set the standard of care for them during the Chapter 11 and

      12   entitled them to exculpation for negligence.         Paragraph 10

      13   says the Court will only permit a suit to go forward if such

      14   claim represents a colorable claim for willful misconduct or

      15   gross negligence.

      16        And Your Honor, Paragraph 10 does not expire by its terms.

      17        By not including negligence in the definition of what a

      18   colorable claim might be, the Court has already exculpated the

      19   independent directors and their agents, which include the

      20   employees acting at their direction.

      21        And because the independent directors and their agents are

      22   exculpated under Paragraph 10, Strand needs to be exculpated

      23   as well for actions occurring after January 9th.          This is

      24   because a suit against Strand for conduct after the

      25   independent board was appointed is effectively a suit against




                                                                          Appx. 04591
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 467 of 610




                                                                              114


       1   the independent directors, who were the only people in control

       2   of Strand at that time.

       3        After the effective date, Mr. Dondero will regain control

       4   of Strand, as the independent directors will be discharged.

       5   And for parties able to sue Strand essentially for negligence

       6   for conduct conducted by the independent directors after

       7   January 9th, Strand will then be able to seek indemnification

       8   from the Debtor under the Debtor's partnership agreement

       9   because the partnership agreement does provide the general

      10   partner is entitled to indemnification.

      11        Accordingly, an exculpation for Strand is really the

      12   functional equivalent of an exculpation for the independent

      13   directors and the Debtor.

      14        The January 9th order was not appealed, and an objection

      15   to exculpation at this point as it relates to the independent

      16   directors, their agents, and Strand is a collateral attack on

      17   this order.    So, Your Honor, Your Honor does not even need to

      18   get to the thorny issues addressed by Pacific Lumber.

      19        However, even in the absence of the January 9th order,

      20   exculpation of the independent directors and their employees,

      21   as well as the other exculpated parties, is not prohibited by

      22   Pacific Lumber.     In Pacific Lumber, the Fifth Circuit reversed

      23   a bankruptcy court order confirming a plan because the

      24   exculpation provision was too broad and included parties that

      25   the Fifth Circuit thought could not be exculpated under




                                                                          Appx. 04592
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 468 of 610




                                                                                115


       1   Section 524(e) of the Code.

       2        A close look at the issue before the Court, Your Honor,

       3   the reasoning for the Court's ruling and why certain parties

       4   like Committee and its members were entitled to exculpation,

       5   reflects that this case does not prevent the Court from

       6   approving exculpation of this case.

       7        A careful read of the underlying briefs and opinions in

       8   Pacific Lumber reveals that the concern that the Appellants

       9   had in that case was the application of exculpation to non-

      10   fiduciary sponsors.     There were two competing plans in the

      11   case.   The first was filed by the indenture trustee.          The

      12   second was filed by the debtor's parent and lender, and was

      13   deemed -- called the Marathon Plan.        The Court confirmed the

      14   Marathon Plan, and the indenture trustee appealed, and the

      15   indenture trustee argued that the plan sponsors could not be

      16   exculpated.

      17        After determining that the appeal of the exculpation

      18   provisions were not equitably moot, the Fifth Circuit

      19   determined that exculpation was not authorized under 524(e) of

      20   the Code because that section provides a discharge of the

      21   debtor does not affect the liability of any other entity on

      22   such debt.

      23        However, and here's the important part, Your Honor:             The

      24   Fifth Circuit did not say that all exculpations are prohibited

      25   under the Code and authorized the exculpation of the Committee




                                                                          Appx. 04593
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 469 of 610




                                                                              116


       1   and its members.     And why did the Court do that?       Because it

       2   looked at the Committee's qualified immunity under 1103 and

       3   also reasoned that Committee members are essentially

       4   disinterested volunteers that should be entitled to

       5   exculpation on negligence.

       6        The Court also cited approvingly Colliers for the

       7   proposition that if Committee members were not exculpated for

       8   negligence and subject to suit by people who are unhappy with

       9   them, they just would not serve.

      10        Accordingly, the Fifth Circuit based its willingness to

      11   exculpate Committee members on the strong public policy that

      12   supports exculpation for those parties under those

      13   circumstances.    And against this backdrop, Your Honor, there

      14   are several reasons why the Court should authorize exculpation

      15   in this case, notwithstanding Pacific Lumber.

      16        First, Your Honor, the independent directors in this case

      17   are analogous -- much more analogous to the Committee members

      18   that the Fifth Circuit ruled were entitled to than the

      19   incumbent officer and directors.

      20        Your Honor has the following facts before the Court, based

      21   upon the testimony of Mr. Seery and Mr. Dubel and other

      22   evidence in the record.      The independent board members were

      23   not part of the Highland enterprise before the Court appointed

      24   them on January 9th.     The Court appointed the independent

      25   directors in lieu of a Chapter 11 trustee to address what the




                                                                          Appx. 04594
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 470 of 610




                                                                             117


      1   Court perceived as the serious conflicts of interest and

      2   fiduciary duty concerns with current management, as identified

      3   by the Committee.

      4        The independent directors would not have agreed to accept

      5   their role without indemnification, insurance, exculpation,

      6   and the gatekeeper function provided by the January 9th order.

      7        And Mr. Dubel testified regarding the significant

      8   experience he has as an independent director during his 30-

      9   plus years in the restructuring community, including several

     10   engagements as an independent director in Chapter 11 cases.

     11   And he testified that independent directors have become

     12   commonplace in complex restructurings over the last several

     13   years and have been appointed in many cases, including high-

     14   profile cases.     We've cited to just a few of those cases in

     15   our brief, but we could go on and on.

     16        Mr. Dubel testified that the independent directors are a

     17   critical tool in proper corporate governance and restoring

     18   creditor confidence in management in modern-day

     19   restructurings, and he testified that, based upon his

     20   experience, independent directors expect to be indemnified by

     21   the company, expect to obtain directors and officers

     22   insurance, and expect to be exculpated from claims of

     23   negligence when they agree to be appointed.

     24        He further testified that if independent directors cannot

     25   be assured that they will be exculpated for simple negligence,




                                                                          Appx. 04595
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 471 of 610




                                                                              118


       1   he believes they will be unwilling to serve in contentious

       2   cases like the one we have here, which will have a material

       3   adverse effect on the Chapter 11 restructuring process as we

       4   know it.

       5        Based upon the foregoing testimony, Your Honor, which is

       6   uncontroverted, the Court should have no problem finding that

       7   the independent directors are much more analogous to the

       8   Committee members in Pacific Lumber who the Fifth Circuit said

       9   could be exculpated.

      10        The facts, these facts also distinguish this case from the

      11   Dropbox v. Thru case which Your Honor decided and which was

      12   reversed on this issue by the District Court.         In neither

      13   Pacific Lumber or Thru was there an argument that the policy

      14   reasons that supported exculpation of Committee members also

      15   supported the exculpation of the parties sought to be

      16   exculpated.

      17        Moreover, Your Honor, the independent directors in this

      18   case were pointed as essentially as substitute for a Chapter

      19   11 trustee.    There was a Chapter 11 trustee motion filed a few

      20   days before, I believe, and the Court, in approving this, said

      21   that you -- better than a Chapter 11 trustee.         And Chapter 11

      22   Trustees are entitled to qualified immunity.         So, while, yes,

      23   the independent directors aren't truly Chapter 11 trustees,

      24   they are analogous.

      25        Second, Your Honor, while there is language in Pacific




                                                                          Appx. 04596
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 472 of 610




                                                                              119


       1   Lumber that says that the directors and officers of the debtor

       2   are not entitled to exculpation, the issue before the Court

       3   really on appeal was the plan sponsors and whether they were.

       4   So I would argue that any discussion of the exculpation not

       5   being available for directors and officers in the Fifth

       6   Circuit opinion in Palco is actually dicta.

       7        Third, Your Honor, as I discussed before, the Pacific

       8   Lumber decision was based solely on 524(e) of the Bankruptcy

       9   Code, which only says that the discharge of a claim against

      10   the debtor does not affect the discharge of a third party.

      11   However, the Debtor is not relying on 524(e) as the basis of

      12   their exculpation.     As we outline in our brief, Your Honor, we

      13   believe that the exculpation is appropriate under Section 105

      14   and 1123(b)(6) as a means -- part of an implementation of the

      15   plan.

      16        Importantly, Your Honor, as other courts hostile to third-

      17   party releases have determined, exculpation only sets a

      18   standard of care for parties and is not an effort to relieve

      19   fiduciaries of liability.

      20        Other courts that have aligned with the Fifth Circuit and

      21   rejected third-party releases, like the Ninth Circuit, have

      22   recently determined exculpation has nothing to do with 524(e).

      23   In In re Blixseth, a Ninth Circuit case decided at the end of

      24   2020 cited in our materials, they examined several of their

      25   circuit cases that had strongly prohibited non-consensual




                                                                          Appx. 04597
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 473 of 610




                                                                                 120


       1   third-party releases under 524(e).        But again, the Court

       2   concluded that 524(e) only prohibits third parties from being

       3   released from liability of a prepetition claim for which the

       4   debtor receives a discharge.       The Court reasoned that the

       5   exculpation clause, however, protects parties from negligence

       6   claims relating to matters that occurred during the Chapter 11

       7   case and has nothing to do with 524(e).

       8        The Ninth Circuit, which along with the Fifth Circuit has

       9   been notorious for prohibiting third-party releases, issued

      10   its ruling against this backdrop and said that exculpations

      11   are appropriate.

      12        Your Honor, the Objectors made a point yesterday of

      13   pointing out that Strand, as the Debtor's general partner, is

      14   liable for the debts under applicable law.         To the extent they

      15   intend to argue that the exculpation is seeking to discharge

      16   any such prepetition liability, they would be wrong.            The

      17   exculpation only applies to postpetition matters.             And to the

      18   extent they argue that the exculpation seeks to discharge

      19   Strand's potential postpetition liability, for the reasons I

      20   discussed, a claim against Strand will essentially be a claim

      21   against the Debtor because the Debtor will be obligated to

      22   indemnify them.

      23        Accordingly, Your Honor, we submit that if this matter

      24   goes up to appeal to the Fifth Circuit, which it may very well

      25   do, that the Fifth Circuit may very well come out the same way




                                                                            Appx. 04598
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 474 of 610




                                                                              121


       1   as the Ninth Circuit and start relaxing the standard or

       2   otherwise provide that the independent directors are much more

       3   like Committee members.

       4        Lastly, Your Honor, if the Court does confirm the plan,

       5   which we certainly hope it will do, it will have made a

       6   finding that the plan has been proposed in good faith, and in

       7   doing so, the Court essentially finds that the independent

       8   directors and their agents have acted appropriately and

       9   consistent with their fiduciary duties, and it makes --

      10   exculpation for negligence naturally flows from that finding.

      11        Your Honor, I would now like to go to the injunction

      12   provisions, and my argument is that the injunction provisions

      13   as amended are appropriate.

      14              THE COURT:    Can I stop you?

      15              MR. POMERANTZ:    We received several of -- yes.

      16              THE COURT:    I want to just recap a couple of things I

      17   think I heard you say.      You're not asking this Court, you say,

      18   to go contrary to Pacific Lumber per se.         You have thrown out

      19   there the possibility that Pacific Lumber mistakenly relied on

      20   524(e) in rejecting exculpations of plan sponsors.            You're

      21   saying, eh, as a technical matter, I think they were wrong in

      22   focusing on that statute because that statute seems to deal

      23   with prepetition liability.       Okay?   Its actual wording, 524(e)

      24   states, discharge of a debt of a debtor does not affect the

      25   liability of any other entity on such debts.




                                                                           Appx. 04599
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 475 of 610




                                                                              122


       1        And reading between the lines, I think you're saying --

       2   well, maybe this isn't what you're saying, but here's what I

       3   inferred -- "debt" is defined in 101(12) to mean liability on

       4   a claim, and then "claim" is defined in 101(5) of the

       5   Bankruptcy Code as meaning right to payment.         It doesn't say

       6   as of the petition date, but I think if you look at, then,

       7   Section 502 of the Bankruptcy Code that addresses claims and

       8   interests, clearly, it seems to be referring to the

       9   prepetition time period, you know, claims and interest as of

      10   the petition date.     And then -- that's 502.      And then 503

      11   speaks of, for the most part, postpetition administrative

      12   expenses.

      13        So that was my rambling way of saying I'm understanding

      14   you to say, eh, as a technical matter, we think the Fifth

      15   Circuit was wrong to focus on 524(e) because when you're

      16   talking about exculpation you're talking about postpetition

      17   liability, not prepetition liability.        And 524(e) is talking

      18   more about prepetition liability.

      19        But I think what I also hear you saying is, at bottom,

      20   Pacific Lumber was sort of a policy-driven holding where, you

      21   know, we're worried about no one would ever sign up for being

      22   on an unsecured creditors' committee if they could be exposed

      23   to lawsuits.    They're fiduciaries, we think, for policy

      24   reasons.    Exculpation is appropriate for this one group.         And

      25   you're saying, well, they didn't have an independent board




                                                                          Appx. 04600
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 476 of 610




                                                                              123


       1   that they were considering.       They were just considering non-

       2   fiduciary plan sponsors.      And so the rationale presented by

       3   Pacific Lumber applies equally here, and just they didn't make

       4   a holding in this factual context.

       5        Have I recapped what you're saying?

       6               MR. POMERANTZ:   Your Honor, that's generally --

       7   generally correct, with a couple of nuances.         So, yes, first,

       8   I think, on a policy basis, Your Honor -- again, putting aside

       9   the January 9th order, because we don't see --

      10               THE COURT:   Right.   Right.

      11               MR. POMERANTZ:   -- Your Honor even needs to get to

      12   this issue.

      13               THE COURT:   I understand.

      14               MR. POMERANTZ:   But if Your Honor does get to this

      15   issue, we think, as a first point, Your Honor could be totally

      16   consistent with Pacific Lumber because there's policy reasons

      17   and there was not a categorical rejection of exculpation.

      18   Okay.   So if there was a categorical rejection, then it

      19   wouldn't have been okay for committee members.         Okay.

      20        Second argument, yes, we don't think -- we think it's part

      21   of dicta.    It's not part of the holding.       We understand that

      22   other courts may have not agreed, maybe your Thru case, which

      23   Your Honor was appealed on.

      24        But the third issue, our argument is all they looked at

      25   was 524(e).    They said 523 -- 4(e) does not authorize it.




                                                                          Appx. 04601
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 477 of 610




                                                                               124


       1   They did not say 524(e) prohibits it.

       2        We think there's other provisions in the Code.            And then

       3   when you basically add in the analysis that Your Honor

       4   provided, which we agree with, and what 524 was -- to do,

       5   524(e) just says that discharge doesn't affect.          It doesn't

       6   say that under another provision of the Code or for another

       7   reason you are authorized to give an exculpation.             I think

       8   it's a nuance and it's a difference there.

       9        And my point of bringing up the Blixseth case -- which, of

      10   course, is Ninth Circuit and it's not binding on Your Honor,

      11   it's not binding on the Fifth Circuit -- is to say, when that

      12   was presented to them, they saw the distinction that 524(e)

      13   has nothing to do with an exculpation.        And while, yes, the

      14   Fifth Circuit hasn't ruled on that, and if the Fifth -- if

      15   that argument is made to the Fifth Circuit, we don't know how

      16   they would rule, I think that, based upon their analysis --

      17   which, again, Your Honor, is no more than a page and a half of

      18   their opinion, right, of a long, lengthy opinion on the

      19   confirmation issues.     So I think, Your Honor, with the Fifth

      20   Circuit, there is a good chance that based upon the developing

      21   case law of exculpation, based upon the sister circuit in

      22   Blixseth making that distinction, that there is a very good

      23   chance that the Fifth Circuit would change.

      24        But look, I recognize that argument requires Your Honor to

      25   say, okay, this is outside and -- and what Pacific Lumber did




                                                                            Appx. 04602
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 478 of 610




                                                                              125


       1   or didn't do.    But I think, Your Honor, there's several

       2   potential reasons, there's several potential arguments that

       3   you can get to the same place.

       4              THE COURT:    Okay.    Thank you.

       5              MR. POMERANTZ:    Okay.    If I may just get another

       6   glass of -- sip of water before my time starts?

       7              THE COURT:    Okay.

       8              MR. POMERANTZ:    Okay, Your Honor.     We're now turning

       9   to the injunction provision.       The Debtor received several

      10   objections to the injunction provisions in -- I think I have

      11   it right now -- Article 9(f) to the plan.        And we've modified

      12   Article 9(f) to address certain of those concerns, and we

      13   believe that, as modified, that the injunction provision

      14   implements and enforces the plan's discharge, release, and

      15   exculpation provisions to prevent parties from pursuing claims

      16   in interest that are addressed by the plan and otherwise

      17   interfering with consummation and implementation of the plan.

      18        I'd like to put up the first paragraph of the injunction

      19   on the screen now.

      20        Okay, Your Honor.     The first paragraph, all it does is

      21   prohibits the enjoined parties from taking action to interfere

      22   with consummation or implementation of the plan.         I suspect a

      23   sentence like that is probably in hundreds of plans in the

      24   Fifth Circuit and elsewhere.

      25        Initially, to address a concern that it applied to too




                                                                          Appx. 04603
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 479 of 610




                                                                               126


       1   many parties, the Debtor added a definition in the revised

       2   plan that defines "enjoined parties," which I'd like to now

       3   put that definition up on the screen.

       4        The changes -- it's a little hard to read there, but you

       5   have it in the -- oh, there you go.         The changes made clear

       6   that only parties who have a relationship to this case, either

       7   holding a claim or interest, having appeared in the case, be a

       8   -- or be a party in interest, Jim Dondero, or related entity,

       9   or related person of the foregoing are covered.          The claim

      10   objectors argue that the word "implementation and

      11   consummation" is vague, or vague and unclear.          Your Honor,

      12   these terms are both defined in the Bankruptcy Code and under

      13   the case law, and they're, as I said, common features of many

      14   plans.

      15        Section 1123(a)(5) of the Code provides that a plan shall

      16   provide for its implementation, and identifies a list of items

      17   that the plan can include.        Article 4 of our plan is defined

      18   as "Means of Implementation of This Plan," and describes the

      19   various corporate steps required to implement the provisions

      20   of the plan, including canceling equity interests, creation of

      21   new general partners and a limited part of the Reorganized

      22   Debtor, the restatement of the limited partnership agreement,

      23   and the establishment of the various trusts.

      24        Paragraph 1 rightly and appropriately enjoins efforts to

      25   interfere with these steps.




                                                                           Appx. 04604
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 480 of 610




                                                                              127


       1        Nor is the term "consummation of the plan" vague.

       2   "Consummation" also is a commonly-used term and has been

       3   defined by the Fifth Circuit and the Code.         1102 -- 1101(2)

       4   defines "Substantial Consummation" to be the transfer of

       5   assets to be transferred under the plan, the assumption by the

       6   debtor of the management of all the property dealt with by the

       7   plan, and the commencement of distributions under the plan.

       8        Section 1142 gives the Court authority to direct a party

       9   to perform any act necessary for consummation of a plan.           And

      10   as the Fifth Circuit, in United States Brass Corp., which is

      11   said in our material, states, said the Bankruptcy Court had

      12   post-confirmation jurisdiction to enforce the unperformed

      13   terms of a plan with respect to a matter that could affect the

      14   parties' post-confirmation rights because the plan had not

      15   been fully consummated.

      16        And Your Honor just wrote on this issue last year in the

      17   Senior -- the Texas -- the TXMS Real Estate v. Senior Care

      18   case, and you cited to U.S. Brass to find that, in that case,

      19   post-confirmation jurisdiction existed to resolve a dispute

      20   relating to an assumed contract because the matter related to

      21   interpretation, implementation, and execution of the plan.

      22        Accordingly, Your Honor, neither implementation or

      23   consummation are vague, and the first paragraph of the

      24   injunction is necessary and appropriate to enforce the

      25   Debtor's discharge.




                                                                          Appx. 04605
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 481 of 610




                                                                               128


       1        As I said before, I will leave it to Mr. Kharasch to

       2   address specifically the concerns that the Advisor and the

       3   Funds have with the injunction.

       4        The second and third paragraphs of the injunction, Your

       5   Honor, certain parties have objected to them on the ground

       6   that they constitute an improper release of the independent

       7   directors as well as the release of claims against the

       8   Reorganized Debtor, the Claimant Trust, and the Litigation

       9   Sub-Trust, entities that will not have come into existence

      10   until after the effective date.

      11        We believe we have addressed these concerns by

      12   modifications to the second and third paragraphs of the

      13   injunction, which I would now like to put the second and third

      14   paragraphs on the screen.

      15        (Pause.)

      16              MR. POMERANTZ:    As that is happening, Your Honor, I

      17   will -- there we go.

      18        We believe that the changes that were made to these

      19   paragraphs should address the Objectors' concerns.

      20        First, as with the first paragraph, we have created a

      21   defined term of "Enjoined Parties" who are subject to the

      22   injunction which is narrower than all persons, I believe, or

      23   all entities that was included in the prior plan.             So we've

      24   narrowed that.

      25        "Enjoined Parties" are generally defined, as I mentioned




                                                                            Appx. 04606
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 482 of 610




                                                                              129


       1   before, as entities involved in this case or related to Jim

       2   Dondero, or have appeared in this case.

       3        Second, we have removed independent directors from these

       4   paragraphs to address the concern that the injunction was a

       5   disguised third-party release.

       6        Third, we have removed the Reorganized Debtor and the

       7   Claimant Trust from the second paragraph and moved them to the

       8   third paragraph.     We did this to make clear that the

       9   Reorganized Debtor and Claimant Trust were only getting the

      10   benefit of the injunction as the successors to the Debtor.           As

      11   the Reorganized Debtor and the Claimant Trust receives the

      12   property from the Debtor free and clear of all claims and

      13   interests and equity holders under 1141(c), they are entitled

      14   to the benefit of the injunction.

      15        Fourth, we have addressed the concern that the injunction

      16   improperly affected set-off rights.        We added language to make

      17   clear that the injunction would only affect the parties' set-

      18   off of an obligation owed to the Debtor to the extent that

      19   that was permissible under 553 and 1141 of the Bankruptcy

      20   Code.

      21        In other words, we are punting the issue for another day,

      22   and there's nothing in the plan that gives the Debtor any more

      23   set-off rights than it otherwise has under the Bankruptcy

      24   Code.

      25        Lastly, Your Honor, certain Objectors have argued that the




                                                                          Appx. 04607
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 483 of 610




                                                                              130


       1   injunction somehow prevents them from enforcing the rights

       2   they have under the plan or the confirmation order.           We don't

       3   really understand this concern, as the language leading into

       4   the second paragraph of the injunction says, except as

       5   expressly provided in the plan, the confirmation order, or a

       6   separate order of the Bankruptcy Court.

       7        With these modifications, Your Honor, the provisions do

       8   nothing more than implement 1123(b)(6) and 1141 by preventing

       9   parties from taking actions to interfere with the Debtor's

      10   plan.

      11        The Court has also heard testimony from Mr. Seery

      12   regarding the importance of the injunction to implementation

      13   of the plan.    He testified that he intends to monetize assets

      14   in a way that will maximize value.        And to effectively do

      15   that, he has testified that the Claimant Trust needs to be

      16   able to pursue its objectives without interference and

      17   continued harassment from Mr. Dondero and his related

      18   entities.

      19        In fact, Mr. Seery testified that if the Claimant Trust

      20   were subject to interference by Mr. Dondero, it would take him

      21   more time to monetize assets, they would be monetized for less

      22   money, and creditors would be harmed.

      23        If Your Honor doesn't have any questions for me on the

      24   injunction provisions, I'd like to turn to the last part of

      25   the injunction, which is really the gatekeeper provision.




                                                                          Appx. 04608
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 484 of 610




                                                                              131


       1              THE COURT:    All right.    You may.

       2              MR. POMERANTZ:    Your Honor, the last paragraph in

       3   Article 9(f) is really not an injunction but is rather a

       4   gatekeeper provision.     And as originally drafted, it'd do two

       5   things:   first, it'd require that before any entity, which is

       6   defined very broadly, could file an action against a protected

       7   party relating to certain specified matters, the entity would

       8   have to seek a determination from this Court that the claim

       9   represented are colorable claim of bad faith, criminal

      10   conduct, willful misconduct, fraud, or gross negligence.           The

      11   specified matters to which the gatekeeper provision would

      12   apply included the Chapter 11 case, negotiations regarding the

      13   plan, the administration of the plan, the property to be

      14   distributed under the plan, the wind-down of the Debtor's

      15   business, the administration of the Claimant Trust, or

      16   transactions related to the foregoing.

      17        Subject to certain exceptions for Dondero-related parties,

      18   protected parties were defined to include the Debtor, its

      19   successors and assigns, indirect and direct, majority-owned

      20   subsidiaries and managed funds, employees, Strand, Reorganized

      21   Debtor, the independent directors, the Committee and its

      22   members, the Claimant Trust, the Claimant Trustee, the

      23   Litigation Trust, the Litigation Sub-Trustee, the members of

      24   the Oversight Committee, retained professionals, the CEO and

      25   CRO, and persons related to the foregoing.         Essentially,




                                                                          Appx. 04609
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 485 of 610




                                                                              132


       1   parties related to the pre-effective-date administration of

       2   the estate or the post-confirmation implementation of the

       3   plan.

       4        Second, the gatekeeper provision as originally presented

       5   gave the Bankruptcy Court exclusive jurisdiction to adjudicate

       6   any cause of action that it determined would pass through the

       7   gate.   The gatekeeper provision, Your Honor, is not a release

       8   in any way.    Rather, it permits enjoined parties who believe

       9   they have a claim against the protected parties to pursue such

      10   a claim, provided they first make a showing that the claim is

      11   colorable to the Bankruptcy Court.

      12        Several parties, Your Honor, objected to the Bankruptcy

      13   Court having exclusive jurisdiction to adjudicate the claims

      14   that pass through the gate.       The Debtor believes that the

      15   Bankruptcy Court would ultimately have jurisdiction of any of

      16   those claims that pass through the gate.         However, the Debtor

      17   did, upon reflection, appreciate the concern that if the Court

      18   agreed to that now, it would essentially be determining its

      19   jurisdiction before a claim was filed.

      20        Accordingly, in the January 22nd plan, Your Honor, we

      21   amended the provision to provide that the Bankruptcy Court

      22   will only have jurisdiction over such claims to the extent it

      23   was legally permissible to do so, essentially deferring the

      24   issue to a later time.

      25        And as Your Honor, I believe, in one of cases called the




                                                                          Appx. 04610
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 486 of 610




                                                                               133


       1   Icing on the Cake, the retention and jurisdiction provisions

       2   in the plan only are to the extent under applicable law and

       3   are quite broad and include the things that we would have the

       4   Court -- have jurisdiction for the Court, otherwise

       5   determined.

       6        The Court made some other changes to the gatekeeper

       7   provision, and I would like to place the amended gatekeeper

       8   provision on the screen right now.        In addition to the change

       9   I mentioned, the Debtor made the following changes:           the

      10   provision is limited now to apply only to enjoined parties,

      11   rather than any entity.      Than any entity.     Much narrower.     The

      12   provision added the administration of the Litigation Sub-Trust

      13   to the matters to which the provision would apply.            The

      14   provision makes clear now that any claim, including

      15   negligence, is a claim that could be sought and pursued

      16   through the gatekeeper function.        And the provision made some

      17   other syntax changes.

      18        We believe, Your Honor, with these changes, we believe

      19   that the gatekeeper provision is within the Court's

      20   jurisdiction and it's appropriate to include under the plan.

      21        But certain parties have argued that the Court does not

      22   have the authority, the jurisdictional authority to perform

      23   the gatekeeper function, separate and apart from whether it

      24   has jurisdiction to adjudicate the claims that pass through

      25   the gate.




                                                                           Appx. 04611
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 487 of 610




                                                                              134


       1        Your Honor, we submit that these arguments represent a

       2   fundamental misunderstanding of Bankruptcy Court jurisdiction

       3   and the Court's authority to make sure the Debtor is free of

       4   interference in carrying out the plan which I'll get to in a

       5   couple moments.

       6        As a preliminary matter, Your Honor, it is important for

       7   the Court to remember that Paragraph 10 of the January 9 order

       8   already contains a gatekeeper provision as it relates to the

       9   independent directors and their agents.        And as I mentioned on

      10   a couple of occasions, that order is not going away, it

      11   doesn't expire by its terms, and it cannot be collaterally

      12   attacked in this forum.

      13        The Debtor does acknowledge, though, that the gatekeeper

      14   provision in the plan is broader in terms of the people it

      15   protects and it applies to post-confirmation matters.

      16        Before I address the Court's authority to approve the

      17   gatekeeper provision, I want to summarize the evidence that it

      18   has heard from Mr. Seery and Mr. Tauber regarding why the

      19   gatekeeper is so important a provision to the success of the

      20   plan.

      21        Although the Court is all too familiar with the history of

      22   litigation initiated by and filed against Mr. Dondero and his

      23   related affiliates, Mr. Seery spent some time on the stand

      24   testifying about the litigation so the Court would have a

      25   complete record for this hearing.        He testified that prior to




                                                                          Appx. 04612
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 488 of 610




                                                                              135


      1   the petition date, the Debtor faced years of litigation from

      2   Mr. Terry and Acis that led to the Acis bankruptcy case, which

      3   Your Honor has said many times it's still in your mind.            Years

      4   of litigation with the Redeemer Committee which precipitated

      5   the filing of a bankruptcy case and resulted in an award very

      6   critical of the Debtor's conduct.        Years of litigation with

      7   UBS.    Years of litigation with Patrick Daugherty.        And we

      8   placed all the dockets for all these matters before the Court.

      9          Also, during the bankruptcy and after the Committee

     10   essentially rejected the Debtor's pot plan proposal and

     11   indicated -- and the Debtor indicated it would be terminating

     12   the shared service agreements with Mr. Dondero and his related

     13   entities, the Debtor was the subject of harassment from Mr.

     14   Dondero and related entities which resulted in the temporary

     15   restraining order against him, a preliminary injunction

     16   against him, a contempt motion, which Your Honor is scheduled

     17   to hear Friday, a motion by the Debtor's controlled -- by the

     18   Dondero-controlled investors and funds in CLO managed --

     19   managed by the Debtor, which the Court referred to that motion

     20   as being frivolous and a waste of the Court's time.            Multiple

     21   plan objections, most of which are focused on allowing the

     22   Debtors to continue their litigation crusade against the

     23   Debtor and its successors post-confirmation.         An objection to

     24   the Debtor approval of the Acis order and a subsequent appeal.

     25   An objection to the HarbourVest settlement and subsequent




                                                                           Appx. 04613
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 489 of 610




                                                                               136


       1   appeal.   A complaint and injunction against the Advisors and

       2   the Funds to prevent them from violating Paragraph 9 of the

       3   January 9th order.     And a temporary restraining order against

       4   those parties, which was by consent.

       5        Mr. Dondero's counsel tends to argue that he is the victim

       6   here and that the litigation is being commenced against him

       7   and -- instead of by him.         That response does not even deserve

       8   a response, Your Honor.     It is disingenuous.

       9        Mr. Tauber testified that he was part of the team at Aon

      10   that sourced coverage for the independent directors after

      11   their appointment in January 2020 and that he has over 20

      12   years of underwriting experience.        He testified that at Aon he

      13   builds bespoke insurance programs which are not cookie-cutter

      14   programs for his clients, with an emphasis on D&O and E&O.

      15   And he was asked by the independent board to obtain D&O and

      16   E&O insurance after the board's appointment on January 9th.

      17        Based upon the process Aon conducted in reaching out to

      18   insurance carriers, Mr. Tauber testified that Aon was only

      19   able to obtain D&O insurance based upon the inclusion of

      20   Paragraph 10 of the January 9 order, the gatekeeper provision.

      21   I know Mr. Taylor said that that was spoon-fed to the

      22   insurers, but Mr. Tauber's testimony is they knew about Mr.

      23   Dondero and they knew about his litigation tactics, so it is

      24   not a good inference to be made from the testimony that they

      25   would not have required something.        They probably would have




                                                                           Appx. 04614
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 490 of 610




                                                                                 137


       1   just said no.

       2        Aon has now been -- Mr. Tauber testified that Aon has now

       3   been asked to obtain D&O coverage for the Claimant Trustee,

       4   the Litigation Trustee, the Oversight Committee, the members,

       5   the Claimant Trust, and the Litigation Sub-Trust.             He

       6   testified that he and Aon have approached the insurance

       7   carriers that they believe might be interested in underwriting

       8   coverage.

       9        And no, he hasn't approached every D&O and E&O carrier out

      10   there, and there may be, just like an investment banker

      11   doesn't have to approach everyone.        They are experts in the

      12   field, and he testified they approached the people they

      13   thought would likely be willing or interested and potentially

      14   be willing to extend coverage.       And as a result of Aon's

      15   efforts, Mr. Tauber has determined that there's a continued

      16   resistance to provide any coverage that does not contain an

      17   exclusion for actions relating to Mr. Dondero or his related

      18   entities.    And he further believes that all carriers that will

      19   -- that have discussed a willingness to provide coverage will

      20   only do so if there is a gatekeeper provision, and only one

      21   carrier will agree to provide coverage without a Dondero

      22   exclusion.

      23        Mr. Tauber testified that he believes that any ultimate

      24   policy will provide that if at any time the gatekeeper

      25   provision is not in place, either the carrier will not cover




                                                                              Appx. 04615
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 491 of 610




                                                                              138


       1   any actions related to Mr. Dondero or his affiliates or that

       2   the coverage will be vacated or voided.

       3        Based upon the foregoing record, Your Honor, which is

       4   uncontroverted, there's ample justification on a factual basis

       5   for approval of the gatekeeper provision.

       6        I will now turn to the Court's authority to approve the

       7   gatekeeper provision.

       8        There are three alternative bases upon which the Court can

       9   approve the gatekeeper provision.        First, several provisions

      10   of the Bankruptcy Code give broad authority to approve a

      11   provision like the gatekeeper provision.

      12        Second, the Court can analogize to the Barton Doctrine the

      13   facts and circumstances in this case and authorize the Court

      14   to act as a gatekeeper to prevent frivolous litigation from

      15   being filed against court-appointed officers and directors and

      16   those that will lead the post-confirmation monetization of the

      17   estate's assets.

      18        And third, Your Honor, the Court can find that Mr. Dondero

      19   and his entities are vexatious litigants, and use the

      20   gatekeeper provision as a sanction to prevent the filing of

      21   baseless litigation designed merely to harass those in charge

      22   of the estate post-confirmation.

      23        So, Bankruptcy Court authority.       Your Honor, there are

      24   several provisions in the Bankruptcy Code which we rely on to

      25   support the Court's authority.       First, Section 1123(a)(5)




                                                                          Appx. 04616
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 492 of 610




                                                                              139


       1   permits the plan to approve adequate means of implementation,

       2   and contains a long, non-exclusive list.         Mr. Seery's

       3   testimony is uncontroverted that a gatekeeper provision is

       4   necessary for the adequate implementation of the plan.

       5        Second, Your Honor, 1123(b)(6) authorizes a plan to

       6   include any appropriate provision in a plan not inconsistent

       7   with any other provision in this Code.        There are not any

       8   provisions and none have been cited by the Objectors that

       9   would prohibit a gatekeeper provision.        Section 1141

      10   effectively holds that the terms of a plan bind the debtor and

      11   its creditors and vest property in a reorganized debtor, free

      12   and clear of the interests of third parties.

      13        If nothing else, Your Honor, the spirit of 1141 allows the

      14   Court to prevent, in appropriate cases, vexatious litigation

      15   by unhappy creditors and parties in interest from torpedoing

      16   the plan.

      17        1142(b), Your Honor, provides that the confirmation --

      18   that, after confirmation, the Court may direct any parties to

      19   perform any act necessary for the consummation of the plan,

      20   and requiring the party to seek court-approval before filing

      21   an action is certainly an act.

      22        And lastly, Your Honor, Section 105 allows the Court to

      23   enter orders necessary to order other things, enforce orders

      24   of the Court like the confirmation order, and prevent an abuse

      25   of process which would certainly occur if baseless litigation




                                                                          Appx. 04617
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 493 of 610




                                                                              140


       1   were filed against the parties in charge of the Reorganized

       2   Debtor and the trust vehicles entrusted with carrying out the

       3   plan.

       4        Your Honor, gatekeepers are not a novel concept and have

       5   been approved by courts in appropriate circumstances.           In the

       6   Madoff cases, the Court has been the gatekeeper post-

       7   confirmation to determine whether investor claims are

       8   derivative or direct claims.

       9        In General Motors, the Court has been the gatekeeper post-

      10   confirmation to determine whether product liability claims are

      11   proper claims against the reorganized debtor.

      12        Closer to home, Judge Lynn, Mr. Dondero's counsel,

      13   approved a gatekeeper provision, arguably even more far-

      14   reaching than the provision here, in the Pilgrim's Pride case.

      15   In that case, Judge Lynn held that Pacific Lumber prevented

      16   him -- prevented the Court from approving the exculpation

      17   provision in the plan.     However, he did hold that it was

      18   appropriate for the Court to ensure that debtor

      19   representatives are not improperly pursued for their good-

      20   faith actions by requiring that any actions against the debtor

      21   or its representatives, and further, on the performance of

      22   their obligations as debtor-in-possession, be heard

      23   exclusively before the Bankruptcy Court.

      24        And Pilgrim's Pride is not the only case in this district

      25   to include a gatekeeper provision, as Judge Houser approved




                                                                          Appx. 04618
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 494 of 610




                                                                               141


      1   one in the CHC Group in 2016, which is cited in our materials.

      2        The theme in all these cases, Your Honor, is that there

      3   are circumstances where it is necessary and appropriate for

      4   the Bankruptcy Court to act as a gatekeeper as a means of

      5   reducing litigation that could interfere with a confirmed plan

      6   and that a Court has the authority to approve such provisions.

      7        The Objectors argue that the Bankruptcy Court does not

      8   have jurisdiction to approve that provision.         The Debtor

      9   understands the argument as it related to the prior provision,

     10   which gave the Court exclusive jurisdiction over any claim it

     11   found colorable, and we've amended the plan to address that

     12   issue.   The jurisdiction to deal with those claims could be

     13   left to a later day.

     14        But to the extent the Objectors still pursue the

     15   jurisdiction argument in light of the current provision,

     16   they're really conflating two very different things:           the

     17   ability to determine whether a claim is colorable and the

     18   ability to adjudicate that claim if the Court determines it's

     19   colorable.

     20        None of the authorities cited by the Objectors hold that

     21   the Court is without jurisdiction to approve a gatekeeper

     22   provision like the one here.       So, rather, what they do is they

     23   try to -- they argue, based upon the Craig's Stores case,

     24   which is narrower than other circuits of post-confirmation

     25   jurisdiction in the Bankruptcy Court, and argue that the




                                                                          Appx. 04619
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 495 of 610




                                                                              142


       1   gatekeeper provision doesn't fall within that.          But that --

       2   such reliance is misplaced, Your Honor.

       3        Craig held that the Bankruptcy Court did not have

       4   jurisdiction to adjudicate a post-confirmation dispute over a

       5   private-label credit card agreement between the debtor and the

       6   bank.   In declining to find jurisdiction, the Fifth Circuit

       7   remarked that there was no antagonism or claim pending between

       8   the parties as of the reorganization and no facts or law

       9   deriving from the reorganization or the plan was necessary to

      10   the claim asserted by the debtor.

      11        However, in so ruling, Your Honor, the Fifth Circuit did

      12   reason that post-confirmation jurisdiction in the Bankruptcy

      13   Court continues to exist for matters pertaining to

      14   implementation and execution of the plan.         Requiring parties

      15   to seek Bankruptcy Court determination the claim is colorable

      16   before embarking on litigation that will impact

      17   indemnification rights and affect distributions to creditors

      18   is not an expansion of jurisdiction and fits well within the

      19   Craig reasoning.

      20        Unlike the credit card agreement dispute in Craig, Mr.

      21   Dondero and his entities have demonstrated tremendous

      22   antagonism towards the Debtor.       And while the Debtor's plan

      23   may be confirmed, further litigation has been threatened by

      24   Mr. Dondero.    It's in the pleadings.      That's one of the

      25   reasons Mr. Dondero says his plan is better.         It'll avoid




                                                                          Appx. 04620
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 496 of 610




                                                                              143


       1   tremendous amount of litigation.

       2        After Craig, the Fifth Circuit again examined the

       3   bankruptcy court's post-confirmation jurisdiction in the

       4   Stoneridge case in 2005.      In that case, the Fifth Circuit

       5   ruled that a bankruptcy court has post-confirmation

       6   jurisdiction to resolve a dispute between two nondebtors that

       7   could trigger indemnification claims against a liquidating

       8   trust formed as a result of a confirmed plan.

       9        And lastly, as I mentioned Your Honor's decision before,

      10   the TXMS Real Estate case, I think just a couple of months

      11   ago, it stands for the proposition that post-confirmation

      12   jurisdiction exists for matters bearing on the implementation,

      13   interpretation, and execution of a plan.         In that case, Your

      14   Honor ruled that Your Honor had jurisdiction to resolve a

      15   post-confirmation dispute between a liquidating trust formed

      16   under a plan and a landlord, the result of which could

      17   significantly and adversely affect the value of the

      18   liquidating trust and monies available for unsecured

      19   creditors.

      20        And you have heard Mr. Seery testify that litigation will

      21   have an adverse effect on the ability to make distributions to

      22   creditors.

      23        So, Your Honor, under these authorities, the Court

      24   undoubtedly would have jurisdiction to act as the gatekeeper

      25   for the litigation.




                                                                          Appx. 04621
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 497 of 610




                                                                              144


       1        There's also an independent basis for the gatekeeper

       2   provision, Your Honor, the Barton Doctrine, which the Court is

       3   very familiar from your opinion in the In re Ondova case in

       4   2017 and which provides that before a suit may be brought

       5   against a trustee, leave of Court is required.         In Ondova, the

       6   Court reviewed the history of the doctrine in connection with

       7   litigation brought by a highly-litigious debtor against a

       8   trustee and his professionals.       This Court noted that there

       9   are several important policies followed by the doctrine,

      10   including a concern for the overall integrity of the

      11   bankruptcy process and the threat of trustees being distracted

      12   from or intimidated from doing their jobs.         And Your Honor's

      13   language still:     For example, losers in the bankruptcy process

      14   might turn to other courts to try to become winners there by

      15   alleging the trustee did a negligent job.

      16        Your Honor, this is precisely what the Debtor is trying to

      17   prevent here, Mr. Dondero and his entities from putting the

      18   bad experience before Your Honor in this case behind it and

      19   going to try to find better luck in a more hospitable court.

      20        Your Honor, the Barton Doctrine originally only applied to

      21   receivers, and over the course of time has been extended to

      22   apply to various court-appointed fiduciaries, as we have cited

      23   in our materials:     trustees, debtors-in-possession, officers

      24   and directors, employees, and attorneys representing the

      25   debtor.




                                                                          Appx. 04622
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 498 of 610




                                                                              145


       1        And I expect the Objectors to argue that there is a

       2   statutory exception to the Barton Doctrine under 28 U.S.C. 959

       3   and it does not apply to acts or transactions in carrying out

       4   business conducted with a property.        The exception, Your

       5   Honor, is very narrow and was meant to apply for things like

       6   slip-and-fall cases.     In fact, the Eleventh Circuit in the

       7   Carter v. Rodgers case, 220 F.3d 1249 in 2000, held that

       8   Section 11 -- 28 U.S.C. 959(a) does not apply to suits against

       9   trustees for administering or liquidating the bankruptcy

      10   estate.

      11        The Objectors also argue that the gatekeeper provision

      12   violates Stern v. Marshal.        However, as the Court acknowledged

      13   in Ondova, the Fifth Circuit in Villegas v. Schmidt has

      14   recognized that the Barton Doctrine remains viable post-Stern

      15   v. Marshal.    The Fifth Circuit reasoned that while Barton

      16   Doctrine is jurisdictional in that a court does not have

      17   jurisdiction of an action if preapproval has not been

      18   obtained, it does not implicate the extent of a bankruptcy

      19   court's jurisdiction to adjudicate the underlying claim,

      20   precisely the distinction we're making here.         The bankruptcy

      21   court would be the gatekeeper for deciding whether the claim

      22   passes through the gate, and then after will decide if it has

      23   jurisdiction to rule on the underlying claim.

      24        And this is important especially in a case like this, Your

      25   Honor, where Your Honor has had extensive experience with the




                                                                          Appx. 04623
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 499 of 610




                                                                              146


       1   parties and is in the best position to determine whether the

       2   claims are valid or attempted to be used as harassment.

       3        The Objectors will complain about the open-ended nature of

       4   the gatekeeper provision, whether it will or won't apply after

       5   the case is closed or a final decree is issued, and the unfair

       6   burden of their rights.

       7        Your Honor has a previous reported opinion where basically

       8   jurisdiction does extend after a case is closed or a final

       9   decree is entered, so that issue is a red herring.

      10        As Your Honor is well aware, it's a decade-long -- a

      11   decade of litigation against the Dondero-controlled entities

      12   that caused the Highland bankruptcy.        And the Court is very

      13   well aware of the litigation that occurred in Acis, very well

      14   aware of the litigation that's occurred here that I mentioned

      15   a few minutes ago.     Your Honor, it is not over, you'll be

      16   presiding over the contempt hearing.

      17        And if the Court needs yet another ground to approve the

      18   gatekeeper provision, the Debtor submits that the procedure is

      19   an appropriate sanction for Dondero's vexatious litigation

      20   activities.    We cited the In re Carroll case in the Fifth

      21   Circuit of 2017 that held that a bankruptcy court has the

      22   authority to enjoin a litigant from filing any pleading in any

      23   action without the prior authority from the bankruptcy court.

      24        And in affirming the decision of the bankruptcy court, the

      25   Fifth Circuit commented on the reasons the bankruptcy court




                                                                          Appx. 04624
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 500 of 610




                                                                              147


       1   gave for its ruling.     After recounting the bad faith of

       2   appellants, the bankruptcy court determined that the Carrolls'

       3   true motives were to harass the trustee and thereby delay the

       4   proper administration of the estate, in the hope that they

       5   would be able to retain their assets or make pursuit of the

       6   assets so unappealing that the trustee would be compelled to

       7   settle on terms favorable to appellants.

       8        Sounds familiar, Your Honor.       The same can certainly be

       9   said about what Mr. Dondero is doing in this case.

      10        And to make a showing that a party is vexatious litigant,

      11   the Court must find that the party has a history of vexatious

      12   and harassing litigation, whether the party has a good faith

      13   -- the litigation or has filed it as a means to harass, the

      14   burden to the Court and other parties, and the adequacy of

      15   alternative sanctions.

      16        And as Your Honor is well aware from all the litigation,

      17   Your Honor is well, well able to make the finding required for

      18   the vexatious litigation finding.

      19        But here, we don't ask for the drastic sanction of

      20   enjoining from any further filings.        Rather, we just ask for a

      21   less-severe sanction, requiring Mr. Dondero and his entities

      22   to first make a showing that he has a colorable claim.

      23        The Fifth Circuit in Baum v. Blue Moon, 2007, did exactly

      24   that.   In Baum, the district court barred a vexatious litigant

      25   from initiating litigation without first obtaining the




                                                                          Appx. 04625
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 501 of 610




                                                                              148


       1   approval of the district court.       Ultimately, the matter

       2   reached the Fifth Circuit after the district court had

       3   modified the pre-filing injunction to limit it to a certain

       4   case, and then broadened it again based upon continued bad

       5   faith conduct.

       6        On appeal, the Fifth Circuit, citing several prior cases,

       7   noted that a district court has the authority to impose a pre-

       8   filing injunction to defer vexatious, abusive, and harassing

       9   litigation.

      10        And for those reasons, Your Honor, the Debtor asks the

      11   Court to overrule any objections to the gatekeeper provision.

      12        Your Honor, I was just going to then go to the plan

      13   modification provisions, but I wanted to stop and see if you

      14   had any questions at this point.

      15              THE COURT:   I do not.    Let's give him a time

      16   estimate, Nate.    About how --

      17              THE CLERK:   Twenty.

      18              MR. POMERANTZ:    I have another five or six minutes, I

      19   think, based upon --

      20              THE COURT:   Okay.

      21              MR. POMERANTZ:    And then I'll be ready to turn it

      22   over to --

      23              THE COURT:   Okay.

      24              MR. POMERANTZ:    -- to Mr. Kharasch.

      25              THE COURT:   All right.     Yes.   You've got -- you've




                                                                          Appx. 04626
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 502 of 610




                                                                             149


      1   done an hour and 33 minutes.       So you have about, I guess, 37

      2   minutes left.    Okay.   Go ahead.

      3              MR. POMERANTZ:    Thank you, Your Honor.

      4        I would like to address the modifications of the plan that

      5   were contained in our January 22nd plan and the additional

      6   changes filed on February 1, several of which I have referred.

      7        As a preliminary matter, Your Honor, under 1127(b), the

      8   Debtor can modify a plan at any time prior to confirmation if

      9   -- and not require resolicitation if there's no adverse change

     10   in the treatment of claim or interest of any equity holder.

     11        With that background, I won't go through the changes we

     12   made that I've already discussed, but I will point out a

     13   couple, Your Honor, that I would like to point out now.           We

     14   have modified the plan with respect to conditions of the

     15   effective date in Article 8.       First, a condition to the

     16   effective date will now be entry of a final order confirming a

     17   plan, as opposed just to entry of order.         And final order is

     18   defined as the exhaustion of all appeals.

     19        In addition, the ability to obtain directors and officers

     20   insurance coverage on terms acceptable to the Debtor, the

     21   Committee, the Claimant Trustee, the Claimant Trustee

     22   Oversight Board, and the Litigation Trustee is now a condition

     23   to the effective date.

     24        The Court heard testimony today and has experienced

     25   firsthand the litigiousness of Mr. Dondero and his related




                                                                          Appx. 04627
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 503 of 610




                                                                              150


       1   entities.    And the Court heard testimony from Mr. Tauber and

       2   Aon that the D&O insurance will not be available post-

       3   effective date without assurances that the gatekeeper

       4   provision will be in effect for the duration of the policy and

       5   any run-off period.

       6        Mr. Tauber further testified that he expected the final

       7   terms from the insurance carrier to provide that if the

       8   confirmation order was reversed on appeal and the gatekeeper

       9   was removed, it would void -- it would either void the

      10   directors and officers coverage or it'd result in a Dondero

      11   exclusion.

      12        Mr. Dondero and his entities are no strangers to the

      13   appellate process, as Your Honor knows.        They appealed several

      14   of your orders, and continue the tack in this case, having

      15   appealed the Acis and the HarbourVest orders and the

      16   preliminary injunction.      It would not surprise the Debtor if

      17   Mr. Dondero and his entities appealed your confirmation order,

      18   if Your Honor decides to confirm the plan.

      19        The Debtor is confident that it will prevail on any appeal

      20   in the confirmation order, as we believe the Debtor has made a

      21   compelling case for confirmation.

      22        The Debtor also believes a compelling case exists that if

      23   the plan went effective without a stay pending appeal, that

      24   the appeal would be equitably moot, but we understand we are

      25   facing headwinds from the courts, bankruptcy court have




                                                                          Appx. 04628
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 504 of 610




                                                                              151


       1   addressed that issue before.

       2        However, given the effect a reversal would have on the

       3   availability of insurance coverage, the Claimant Trustee, the

       4   Claimant Oversight Committee, and the Litigation Trustee are

       5   just not willing to take that risk.

       6        We are hopeful that Mr. Dondero and his entities will

       7   recognize that any appeal is futile and step aside and let the

       8   plan proceed and become effective.

       9        If Mr. Dondero and his related entities do appeal the

      10   confirmation order, preventing it from becoming final and

      11   preventing the effective date from the occurring, the Debtor

      12   intends to work closely with the Committee to ratchet down

      13   costs substantially and proceed to operate and monetize assets

      14   as appropriate until an order becomes final.

      15        None of these modifications adversely affect the treatment

      16   of claims or interests under the plan, Your Honor, and for

      17   those reasons, Your Honor, we request that the Court approve

      18   those modifications.

      19        And with that, I would like to turn the podium over to Mr.

      20   Kharasch to briefly address the remaining CLO objections.

      21              THE COURT:    All right.    Mr. Kharasch?

      22                CLOSING ARGUMENT ON BEHALF OF THE DEBTOR

      23              MR. KHARASCH:    Good afternoon, Your Honor.       I'll be

      24   as brief as possible.      I know we're under a deadline.

      25        As you've heard yesterday, you've heard before in other




                                                                          Appx. 04629
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 505 of 610




                                                                              152


       1   proceedings, Your Honor, the CLO Objecting Parties, the so-

       2   called investors, do have rights under the CLO management

       3   agreements and indentures, including contractual rights to

       4   terminate the management agreements under certain

       5   circumstances.

       6        What they complain about today, Your Honor, is that the

       7   injunction language in the plan, including the language

       8   preventing actions to interfere with the implementation and

       9   consummation of the plan, is so broad and ambiguous that their

      10   rights are or may be improperly impacted, especially any

      11   rights to remove the manager for acts of malfeasance.

      12        But the Debtor is primarily relying, Your Honor, not so

      13   much on the plan injunctions but on the clear provisions of

      14   the January 9 order, to which Mr. Dondero consented and which

      15   provides that Mr. Dondero shall not cause any of his related

      16   entities to terminate any agreements with the Debtor.

      17        Yes, that is a broad provision, but it is very clear, and

      18   it does not even allow the CLO Objecting Parties to come to

      19   court under a gatekeeper-type provision.         But that is what Mr.

      20   Dondero consented to on behalf of himself and his related

      21   entities.

      22        Important to note, Your Honor, we are not here today to

      23   litigate who is and who is not a related entity.          That will be

      24   left for another day.     However, Your Honor, we have considered

      25   these issues, including last night and this morning, and we




                                                                          Appx. 04630
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 506 of 610




                                                                              153


       1   are going to propose -- well, we will modify our plan through

       2   a provision in the confirmation order to provide the

       3   following:    Notwithstanding anything in the plan or the

       4   January 9 order, the CLO Objecting Parties will not be

       5   precluded from exercising their contractual or statutory

       6   rights in the CLOs based on negligence, malfeasance, or any

       7   wrongdoing, but before exercising such rights shall come to

       8   this Court to determine whether those rights are colorable and

       9   to also determine whether they are a related entity.           If the

      10   Court has jurisdiction, the Court can determine the underlying

      11   colorable rights or claims.

      12        This does not impact the separate settlement we have with

      13   CLO Holdco, Your Honor.

      14        We think that such modification addresses some of the

      15   concerns raised yesterday by the objecting parties by

      16   providing more clarity as to what the plan is doing and not

      17   doing with respect to the plan and the January 9 order, and we

      18   think it is also a fair resolution of some legitimate

      19   concerns.

      20        So, with that, Your Honor, we think that, with that

      21   clarification that we did not have to make but are willing to

      22   make, that this should fully satisfy the CLO Objecting Parties

      23   with regard to their objections to the injunction and the

      24   gatekeeper.

      25        Thank you, Your Honor.




                                                                          Appx. 04631
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 507 of 610




                                                                              154


       1              THE COURT:    All right.    Mr. Clemente?

       2        CLOSING ARGUMENT ON BEHALF OF THE CREDITORS' COMMITTEE

       3              MR. CLEMENTE:    Yes, Your Honor.     And I actually am

       4   going to be brief.      Mr. Pomerantz's discussion, obviously, was

       5   very, very thorough, so I'm able to cut out a lot of stuff.

       6        Thank you, Your Honor.       Matt Clemente, Sidley Austin, on

       7   behalf of the Committee.

       8        The plan, Your Honor, meets the confirmation standards and

       9   should be confirmed.     Mr. Pomerantz covered a lot of ground,

      10   and I will endeavor not to repeat that, but there are a few

      11   points that I think the Committee wishes to emphasize.

      12        Your Honor, since I first appeared in front of you, I have

      13   maintained consistently that no plan can or should be

      14   confirmed without the consent of the Committee.         Your Honor,

      15   in her wisdom, understood this immediately, as it was obvious

      16   -- it was the obvious conclusion, given the makeup of the

      17   creditor body, the asset pool, and the impetus for the filing

      18   of the case.

      19        Unfortunately, not everyone came to this conclusion so

      20   easily, and it took much hard-fought negotiations as well as a

      21   defeated disclosure statement, among other things, and

      22   tireless dedication and commitment by each individual

      23   Committee member to drive for a value-maximizing plan that is

      24   in the best interests of its constituencies and for us to get

      25   to where we are today.




                                                                          Appx. 04632
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 508 of 610




                                                                              155


       1          And where we are today, Your Honor, is at confirmation for

       2   a plan that the Committee unanimously supports, which was the

       3   inevitable outcome for this case from the very beginning.

       4          I've also said, Your Honor, that context is critical in

       5   this case.    It has been from the beginning, and it remains so

       6   now.    Mr. Draper, interestingly, began his comments yesterday

       7   by saying that even a serial killer is entitled to Miranda

       8   rights.    While I will admit that at times the rhetoric in this

       9   case has been heated, I have never certainly likened Mr.

      10   Dondero to a serial killer.       But the record shows, and Mr.

      11   Dondero's own words and actions show, that he is, in fact, a

      12   serial litigator who has no hesitation at all to take any

      13   position in an attempt to leverage an outcome that suits his

      14   self-interest.    And he has no hesitation at all to use his

      15   many tentacles in a similar fashion.

      16          That is a very important context in which the Court should

      17   view the remaining objections of the Dondero tentacles and

      18   weigh confirmation of the Debtor's plan.

      19          Against this context of a serial litigator, Your Honor, we

      20   have a plan supported by each member of the Official Committee

      21   of Unsecured Creditors, accepted by two classes of claims,

      22   Class 2 and Class 7, and holders of almost one hundred percent

      23   in amount of non-insider claims in Class 8.

      24          The parties that have voted against the plan are either

      25   employees who are not receiving distributions under the plan




                                                                          Appx. 04633
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 509 of 610




                                                                              156


       1   or are insiders or parties related to Mr. Dondero.

       2        The overwhelming number and amount of creditors who are

       3   receiving distributions under this plan, therefore, have

       4   accepted the plan.     The true creditors and economic parties in

       5   interest have spoken, they have spoken loudly, and they have

       6   spoken in favor of confirming the plan.

       7        Your Honor, I'm not going to address the technical

       8   requirements, as Mr. Pomerantz did that.         So I'm going to skip

       9   over my remarks in that regard, except I do want to emphasize

      10   the remarks regarding the gatekeeper, exculpation, and

      11   injunction provisions as they're of critical importance to the

      12   plan.

      13        The testimony has shown and the proceedings of this case

      14   has shown, again, Mr. Dondero is a serial litigator with a

      15   stated goal of causing destruction and delay through

      16   litigation.

      17        The testimony has further shown that none of the

      18   independent board members would have signed onto the role

      19   without the gatekeeper and injunction provisions and the

      20   indemnity from the Debtor.

      21        Therefore, it follows that such provisions are necessary

      22   to entice parties to serve in the Claimant Trustee and other

      23   roles under the plan, which, as I remarked in my opening

      24   comments, are integral to providing the structure that the

      25   creditors believe is necessary to unlocking the value and




                                                                          Appx. 04634
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 510 of 610




                                                                                157


       1   unlocking themselves from the Dondero web.

       2        Regarding the exculpation and injunction provisions

       3   specifically, Your Honor, the Court will recall that the

       4   Committee raised objections to them in connection with the

       5   first disclosure statement hearing.        In response, the Debtor

       6   narrowed the provisions, and the Committee believes they

       7   comply with the Fifth Circuit precedent, as Mr. Pomerantz ably

       8   walked Your Honor through.

       9        And to be clear, Your Honor, not only does the Committee

      10   believe the exculpation and injunction provisions comply with

      11   Fifth Circuit law, the Committee does not believe the estate

      12   is harmed by such provisions, as the Committee does not

      13   believe there are any cognizable claims that could or should

      14   be raised that would otherwise be affected by the exculpation

      15   or injunction, and, frankly, with respect to the release that

      16   Mr. Pomerantz walked Your Honor through with respect to the

      17   directors and the officers.

      18        Regarding the gatekeeper, Your Honor, Your Honor

      19   presciently approved it in her January 9th order, and the

      20   developments since then only serve as further justification

      21   for including it in the plan and confirmation order.           Mr.

      22   Dondero is a serial and vexatious litigator, and the

      23   instruments put in place under the plan to maximize value for

      24   the creditors and to oversee that value-maximizing process

      25   must be protected, and the gatekeeper function serves that




                                                                          Appx. 04635
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 511 of 610




                                                                                158


       1   protection while also, importantly, as Mr. Pomerantz pointed

       2   out, providing Mr. Dondero with a forum to advance any

       3   legitimate claims he and his tentacles may have.

       4        In short, Your Honor, the gatekeeper provision is

       5   necessary to the implementation to the plan, is fair under the

       6   circumstances of the case, and is therefore within this

       7   Court's authority, and it is appropriate to approve.

       8        Your Honor, in sum, it has been a long road to get here

       9   today, but we are finally here.         And we are here, Your Honor,

      10   I believe in large part as a result of the tireless efforts of

      11   the individual members of my Committee, and for that I thank

      12   them.

      13        The Committee fully supports and unanimously supports

      14   confirmation of the plan.         As demonstrated by the evidence,

      15   the plan meets all the requirements of the Bankruptcy Code.

      16   The Committee believes the plan is in the best interests of

      17   its constituencies.     And therefore the Committee, along with

      18   two classes of creditors and the overwhelming amount of

      19   creditors in terms of dollars, urge you to confirm the plan.

      20        That's all I have, Your Honor, but I'm happy to answer any

      21   questions you may have for me.

      22              THE COURT:    Okay.     Not at this time.

      23        Nate, how much time --

      24        (Clerk advises.)

      25              THE COURT:    Twenty-five minutes remaining?        All




                                                                           Appx. 04636
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 512 of 610




                                                                                 159


       1   right.    Just so you know, you've got a collective Debtor's

       2   counsel/Committee's counsel 25 minutes remaining for any

       3   rebuttal, if you choose to make it.

       4        Let's take a five-minute break, and then we'll hear the

       5   Objectors' closing arguments.        Okay.

       6              THE CLERK:    All rise.

       7        (A recess ensued from 2:00 p.m. until 2:06 p.m.)

       8              THE COURT:    All right.    Please be seated.      We're

       9   going back on the record in Highland.        We're ready to hear the

      10   Objectors' closing arguments.        Who wants to go first?

      11              MR. DRAPER:    Your Honor, this -- this is Douglas

      12   Draper.   I get the joy of going first.

      13              THE COURT:    Okay.

      14    CLOSING ARGUMENT ON BEHALF OF THE GET GOOD AND DUGABOY TRUSTS

      15              MR. DRAPER:    We've heard a great deal of testimony

      16   about the Debtor's belief that the circumstances in this case

      17   warrant an exception to existing Fifth Circuit case law, the

      18   Bankruptcy Code, and Court's post-confirmation jurisdiction.

      19        I would not be standing here today objecting to the plan

      20   if the Debtor didn't attempt to extend, move past and beyond

      21   the Barton Doctrine, move beyond 1141, move beyond Pacific

      22   Lumber.   In fact, I think I heard an argument that Pacific

      23   Lumber is not applicable and this Court should disregard Fifth

      24   Circuit case law.

      25        Let's start with the exculpation provision.         And the focus




                                                                          Appx. 04637
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 513 of 610




                                                                               160


       1   of this case has been, and what we've heard over the last few

       2   days, is about the independent directors.         I understand there

       3   was an order entered earlier, the order stands, and the order

       4   is applicable in this case.       It cuts off, however, when we

       5   have a Reorganized Debtor, because these independent directors

       6   are no longer independent directors.        It cuts off when we have

       7   a new general partner.

       8        And so the protections that were afforded by that order do

       9   not need to be afforded to the new officers and new directors

      10   of the new general partner.       And in fact, the protections that

      11   they're entitled to are completely different than the

      12   protections that were entitled -- that are covered by the

      13   order that the Court has looked at.

      14        Let's first focus on, however, the exculpation provision.

      15   And I wanted to ask the Court to look at the exculpated

      16   parties.    Have to be very careful and very interest -- and

      17   focus solely on the independent directors.         But if you look at

      18   the parties covered by exculpation provision, it includes the

      19   professionals retained by the Debtor.        My reading of Pacific

      20   Lumber is that neither the Creditors' Committee counsel nor

      21   the Debtor can be covered by an exculpation provision.            This

      22   in and of itself makes the plan non-confirmable.          This

      23   exculpation provision is unwarranted and unnecessary.

      24        Two, --

      25              THE COURT:    Well, let's drill down on that.




                                                                            Appx. 04638
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 514 of 610




                                                                                 161


       1              MR. DRAPER:    -- we have --

       2              THE COURT:    Let's drill down on that.      Mr. Pomerantz

       3   says that this wasn't what they considered one way or another

       4   by Pacific Lumber.      Debtor, debtor professionals.         Okay?   Do

       5   you disagree with that?

       6              MR. DRAPER:    I disagree with that.      Pacific Lumber

       7   said you could only have releases and exculpations for the

       8   Creditors' Committee members.        And the rationale behind that

       9   was that those people volunteered to be part and parcel of the

      10   bankruptcy process, that those parties did not get paid.

      11   Here, we have two professionals who both volunteered and are

      12   being paid, and are not entitled to an exculpation under

      13   Pacific Lumber.     They're not entitled to a --

      14              THE COURT:    Okay.    So you say Pacific --

      15              MR. DRAPER:    -- release.    Now, ultimately, they --

      16              THE COURT:    -- Pacific Lumber categorically rejected

      17   all exculpations except to Creditors' Committee and its

      18   members.    That's your --

      19              MR. DRAPER:    I agree.    That's --

      20              THE COURT:    -- interpretation of Pacific Lumber?

      21              MR. DRAPER:    Yes.

      22              THE COURT:    Okay.    All right.   So you just absolutely

      23   disagree, one by one, with every one of the arguments, that it

      24   was really -- the only thing before the Fifth Circuit was plan

      25   sponsors, okay?     A plan proponent that I think was like a




                                                                            Appx. 04639
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 515 of 610




                                                                              162


       1   competitor previously of the debtor, and I think a large

       2   creditor or secured creditor.       I think those were the two plan

       3   proponents.

       4        So you disagree -- I'm going to, obviously, go back and

       5   line-by-line pour through Pacific Lumber, but you disagree

       6   with Mr. Pomerantz's notion that, look, it was really a page

       7   and a half or two of a multipage opinion where the Fifth

       8   Circuit said, no, I don't think 524(e) is authority to give

       9   exculpation from postpetition liability for negligence as to

      10   these two plan sponsors.      And I guess it was also -- I don't

      11   know.   They say, Pachulski's briefing says it was really only

      12   looking at these two plan sponsors and the Committee and its

      13   members on appeal, you know, going through the briefing, and

      14   in such, you can see that these were all that was presented

      15   and addressed by the Fifth Circuit.        You disagree with that?

      16              MR. DRAPER:    Look, I know the facts of Pacific Lumber

      17   and they -- I know what the posture of the case was.           However,

      18   the literal language by the opinion in it, it transcends just

      19   a dispute in the case.     And I think the U.S. Trustee's

      20   position that this exculpation provision is correct as a

      21   matter of law support -- is further evidence of the fact that

      22   the U.S. Trustee, as watchdog of this process, and Pacific

      23   Lumber say this cannot be done, period, end of story.

      24              THE COURT:    Okay.    So you, at bottom, just totally

      25   disagree with Mr. Pomerantz?       You say Pacific Lumber is




                                                                          Appx. 04640
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 516 of 610




                                                                              163


       1   actually a very broad holding, and I guess, if such, there's a

       2   conflict among the Circuits, right?

       3              MR. DRAPER:    Well, that's okay.

       4              THE COURT:    So, --

       5              MR. DRAPER:    I mean, quite frankly, Pacific Lumber is

       6   binding on you.

       7              THE COURT:    Understood.

       8              MR. DRAPER:    There may be a conflict in the Circuits,

       9   and ultimately the Supreme Court may make a decision and

      10   decide who's right and who's wrong.

      11        But for purposes of today and for purposes of this

      12   exculpation provision and for purposes of this confirmation,

      13   Pacific Lumber is the applicable law.

      14              THE COURT:    Okay.    Well, again, this is a hugely

      15   important issue, although in many ways I don't understand why

      16   it is, because we're just talking about postpetition acts and

      17   negligence, okay?     You know, many might say it's much ado

      18   about nothing, but it's front and center of your objection.

      19   So I guess I'm just thinking through, if the Fifth Circuit was

      20   presented these exact facts and was presented with the

      21   argument, you know, the Blixseth case says 524(e) has nothing

      22   to do with exculpation because exculpation is a postpetition

      23   concept, and it's just talking about standard liability --

      24   these people aren't going to be liable for negligence; they

      25   can be liable for anything and everything else -- if presented




                                                                          Appx. 04641
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 517 of 610




                                                                              164


       1   with that Blixseth case, you know, there are several arguments

       2   that Mr. Pomerantz has made why, if you accept that 524(e)

       3   might not apply here, let's look at the reasoning, the little

       4   bit of reasoning we had of Pacific Lumber, that it was really

       5   a policy rationale, right?        These independent fiduciaries,

       6   strangers to the company and case, they'd never want to do

       7   this if they knew they were vulnerable for getting sued for

       8   negligence.    Mr. Pomerantz's argument is that these

       9   independent board members are exactly analogous to a

      10   Committee, more than prepetition officers and directors.           What

      11   do you have to say about that policy argument?

      12               MR. DRAPER:    Well, I think there's a huge distinction

      13   between the members of a Creditors' Committee who are

      14   volunteers and are not paid versus a paid independent

      15   director.    And more importantly, I think there's a huge

      16   difference between a member of a Creditors' Committee who's

      17   not paid and counsel for a Debtor and counsel for a Creditors'

      18   Committee.

      19               THE COURT:    Okay.

      20               MR. DRAPER:    Look, you have -- you've --

      21               THE COURT:    So, at bottom, it was all about

      22   compensation to the Fifth Circuit?

      23               MR. DRAPER:    Well, no.   The Fifth Circuit policy

      24   decision was we want to protect a party who wants to serve and

      25   do their civic duty to serve on a Creditors' Committee for no




                                                                          Appx. 04642
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 518 of 610




                                                                              165


       1   compensation.    I agree with that.      I think it's a laudable

       2   policy decision.     I think it makes sense.

       3        However, the Fifth Circuit in its language basically said,

       4   nobody else gets it.      It didn't say, look, you know, if there

       5   are circumstances that are different, we may look at it

       6   differently.    The language is absolute in the opinion.         And

       7   that's what I think is binding and I think that's what the

       8   case stands for.

       9        And look, just so the Court is very clear, when Pachulski

      10   files its fee application and the Court grants the fee

      11   application, any claim against them is res judicata.           So, in

      12   fact, they do have -- they do have protection.         They do have

      13   the ability to get out from under.        The Court -- they're just

      14   not -- they just can't get out from under through an

      15   exculpation provision.      And the same goes for Mr. Clemente and

      16   his firm.

      17               THE COURT:    Which, --

      18               MR. DRAPER:    And the same goes for DSI.

      19               THE COURT:    Which, by the way, that's one reason I

      20   think sometimes this is much ado about nothing.          It goes both

      21   ways.   The Debtor professionals, the Committee professionals,

      22   estate professionals, they're going to get cleared on the day

      23   any fee app is approved, right?        I mean, there's Fifth Circuit

      24   law that says --

      25               MR. DRAPER:    I -- I --




                                                                          Appx. 04643
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 519 of 610




                                                                               166


       1              THE COURT:    -- says that's res judicata as to any

       2   future claims.

       3        But I guess I'm really trying to understand, you know, at

       4   bottom, I feel like the Fifth Circuit was making a holding

       5   based on policy more than any directly applicable Code

       6   provision.

       7        I mean, it's been said, for example, that Committee

       8   members, they're entitled to exculpation because of, what,

       9   1103, some people argue, 1103, which subsection, (c)?            That's

      10   been quoted as giving, quote, qualified immunity to

      11   Committees.    But it doesn't really say that, right?          It's just

      12   something you infer.

      13              MR. DRAPER:    No.     Look, what I think, if you really

      14   want to put the two concepts together, I think what the Fifth

      15   Circuit, when they told lawyers and professionals that you

      16   can't get an exculpation, was very mindful of the fact that

      17   you can get released once your fee app is approved.            So, as a

      18   policy, they didn't need to do it in a exculpation provision.

      19   There was another methodology in which it could be done.

      20              THE COURT:    Uh-huh.

      21              MR. DRAPER:    And so that's -- you have to look at it

      22   as holistic and not just focus on the exculpation provision.

      23   Because, in fact, they recognize and they -- I'm sure they

      24   knew their existing case law on res judicata, and that's why

      25   they read it out.




                                                                           Appx. 04644
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 520 of 610




                                                                               167


       1        So, honestly, there's no reason for Pachulski to be in

       2   here.   There's no reason for Mr. Clemente to be in here.

       3   There's no reason for the professionals employed by the Debtor

       4   to be in here.    They have an exit not by virtue of the plan.

       5              THE COURT:    But so then it boils down to the

       6   independent directors and Strand post January 9th?

       7              MR. DRAPER:    It boils down somewhat to them, but

       8   quite frankly, there are two parts to this.          One is you have

       9   an order that's in place.         I am not asking the Court to

      10   overturn the order.      And quite frankly, this provision could

      11   have been written to the effect that the order that was in

      12   place on -- that's been presented to the Court is applicable

      13   and applied.

      14        However, let's parse that down.        Let's look at Mr. Seery.

      15   The order that's in place solely protects the independent

      16   directors acting in their capacities as independent directors.

      17   If somebody's acting as -- and if you want to liken it to a

      18   trustee, their protection is afforded by the Barton Doctrine,

      19   and that's how the protection arises.

      20        What's going on here is they're extending the provisions,

      21   first of all, of the Court's order, and number two, of the

      22   Barton Doctrine, which are -- which cannot be -- which should

      23   not be extended.    The law limits what protections you have and

      24   what protections you don't have.         And we, as lawyers -- look,

      25   I'll give you the best example.        Think of all the times you




                                                                           Appx. 04645
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 521 of 610




                                                                               168


      1   had somebody write in the concept of superpriority in a cash

      2   collateral order.     And how many times have you had a lawyer

      3   rewrite the concept of the issue as to diminution in value?

      4   The Code says diminution in value, and quite frankly, a cash

      5   collateral order should just say if, to the extent there's

      6   diminution in value, just apply the Code section.          It's

      7   written there.     Smart people put it in, and Congress approved

      8   it.   And once you start getting beyond that, those things

      9   should be limited.

     10         And what we have are lawyers trying to extend out by

     11   definitions things that the Code limits by its reach.           That

     12   goes for post-confirmation jurisdiction.         That goes for the

     13   injunction.    That goes for the so-called gatekeeper provision.

     14         And so, again, I would not be here if, in fact, they had

     15   said, we have an injunction to the full extent allowed by the

     16   Bankruptcy Code and Pacific Lumber.        We have an exculpation

     17   provision that's allowed by virtue of the Court's order.             We

     18   have the full extent and full reach of the Barton Doctrine.

     19   Those are legitimate.     Once you start expanding upon that,

     20   you're reaching into matters that are not authorized and not

     21   allowed.

     22         And then you get into 105 territory, which is always very

     23   dangerous.    And that's really what's going on here.          And

     24   that's the tenor of my argument and what I'm trying to say.

     25   The Code gives protections.        It is not for us to extend the




                                                                            Appx. 04646
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 522 of 610




                                                                               169


       1   protections.    It's not for us to enlarge them, even under a,

       2   gee, the other party's litigious.

       3        And so that's -- let's take Craig's Store.         Attempted to

       4   limit its reach.     Craig's Store says once you have a confirmed

       5   plan, any dispute between the parties, for -- let's take an

       6   executory contract.     If there's a breach of the executory

       7   contract, that's a matter to be handled aft... by another

       8   court.    It's not a matter to be handled by this Court.         This

       9   Court lets the parties out.

      10        And in this case, it's even worse, because you basically

      11   have a new general partner coming in, you have an assumption

      12   of various executory contracts, and you have a -- Strand is no

      13   longer present.

      14        If you adopted Mr. Seery's argument, anybody who appeals a

      15   decision, questions what he does or how he does it, is a

      16   vexatious litigator.     That's not the case.      And the fact that

      17   we are appealing a decision is a right that we have.           It

      18   shouldn't be limited, and it shouldn't be held against us.

      19   Courts can rule against us.       That's fine.

      20        And so that's really what the focus is here and that's why

      21   I gave the opening that I had.       We are willing to be bound by

      22   applicable law.     And quite frankly, the concept that the

      23   exigencies of a case allow a court to change what applicable

      24   law is is problematic.     I gave the criminal example as a

      25   reason.   And the reason was that, in certain instances, the




                                                                          Appx. 04647
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 523 of 610




                                                                                170


       1   application of law may allow a criminal to go free.           It's a

       2   problem with our system and how we work, but that's what the

       3   law does, and it is absolute in its application.

       4        Let me address the so-called gatekeeper provision.           The

       5   gatekeeper provision, in a certain sense, is recognized in the

       6   Barton Doctrine.     It's jurisdictional, and it says, to the

       7   extent you're going to litigate with somebody who served

       8   during the bankruptcy, who was a trustee, then you have to

       9   come to the bankruptcy court and pass through a gate.           It

      10   doesn't say you have to pass through a gate for a reorganized

      11   debtor who does something after a plan is confirmed and going

      12   forward.    And so that's -- there's a distinction.

      13        And if you look at Judge Summerhays' decision, which I

      14   will be happy to send to the Court, in WRT involving -- it's

      15   kind of (indecipherable) and Mr. Pauker, where, in that case,

      16   the trustee, the litigation trustee, spent more litigating

      17   than it had in recoveries, and Baker Hughes filed suit.              Judge

      18   Summerhays said, look, the Barton Doctrine only applies to a

      19   certain extent.     It is limited once you get into post-

      20   confirmation matters and related-to jurisdiction.

      21        And so, again, the Barton Doctrine is what it stands for.

      22   We agree with it, we recognize it, and it should be applied.

      23   The Barton Doctrine, however, should not be extended, should

      24   not go past its reach, and should not go past the grant of

      25   jurisdiction for this Court.




                                                                          Appx. 04648
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 524 of 610




                                                                              171


       1        And so you have in here, though they have -- they have

       2   tried to hide it in a limited fashion, this gatekeeper

       3   provision.    The gatekeeper provision, as currently written,

       4   covers post-confirmation claims that somebody has to come

       5   before this Court to the extent there's a breach of a

       6   contract.    That's not proper, and it's not covered by your

       7   post-confirmation jurisdiction.       To the extent there's an

       8   interpretation of an existing contract and an interpretation

       9   of the order, you do have authority, and I don't question

      10   that.

      11               THE COURT:    But address Mr. Pomerantz's statement

      12   that there's a difference between saying you have to go to the

      13   bankruptcy court and make an argument, we have a colorable

      14   claim that we would like to pursue, and having that

      15   jurisdictional step required.       There's a difference between

      16   that and the bankruptcy court adjudicating the claim.

      17               MR. DRAPER:    Well, there are two parts to that.

      18   Number one is there's an injunction in place from an action

      19   taken post-confirmation against property of the estate.           We

      20   all agree at that, correct?       And we believe that the

      21   injunction applies to post-confirmation action against

      22   property of the pre-confirmation estate.         We all agree to

      23   that.

      24        However, if in fact there's a breach of a contract

      25   postpetition that the parties have a dispute about, that




                                                                          Appx. 04649
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 525 of 610




                                                                              172


       1   contract is now no longer under your purview once the contract

       2   has been assumed.     And so they shouldn't have to make a

       3   colorable claim to you that a breach of the contract has

       4   occurred.    That should be the determining factor for another

       5   court.

       6        That's, in essence, what Craig's Store says.         Your

       7   jurisdiction and the jurisdiction of a bankruptcy court is

       8   limited.    It's limited by Stern vs. Marshall.       It's limited by

       9   your ability to render findings of fact and conclusions of law

      10   versus render a final decision.        That decision has been made

      11   not by us, it's been made by Congress and it's been made by

      12   the United States Constitution.

      13               THE COURT:    All right.   And I think we all agree with

      14   you regarding the holding of Craig's Stores and some of the

      15   other post-confirmation bankruptcy subject matter jurisdiction

      16   holdings.    But Mr. Pomerantz is arguing that this gatekeeping

      17   function is warranted by, among other things, you know, there

      18   was a district court holding, Baum v. Blue Moon, or a Fifth

      19   Circuit case, that upheld a district court having the ability

      20   to impose pre-filing injunctions in the context of a vexatious

      21   litigator.    So, you know, that's a strong analogy he makes to

      22   what's sought here.       What is your response to that?

      23               MR. DRAPER:    My response to that is a district court

      24   can do that.    A district court has jurisdiction to make that

      25   decision.    And quite frankly, a district court can sanction a




                                                                          Appx. 04650
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 526 of 610




                                                                              173


       1   vexatious litigator under Rule 11.

       2          So, in fact -- again, you have to bifurcate your power

       3   versus the power that a district court has.         And that

       4   gatekeeper provision is allowed by a district court because

       5   they had authority over the case.        You may not have authority

       6   over being the gatekeeper for a post-confirmation matter that

       7   you had no jurisdiction over to start with.

       8               THE COURT:    Okay.

       9               MR. DRAPER:    That, that's the distinction between

      10   here.    That's -- what's going on here is they are -- they are

      11   mashing together a whole load of concepts under the vexatious

      12   litigator and the anti-Dondero function that fundamentally

      13   abrogate the distinction between what your jurisdiction is

      14   pre-confirmation versus your jurisdiction post-confirmation.

      15   And that --

      16               THE COURT:    Do you think --

      17               MR. DRAPER:    -- is sacrosanct.

      18               THE COURT:    Do you think Judge Lynn got it wrong in

      19   Pilgrim's Pride?     Do you think Judge Houser got it wrong in

      20   CHC?    Or do you think this situation is different?

      21               MR. DRAPER:    There are two parts to that.       I have

      22   told Judge Lynn, since I have been working with him, that I

      23   think Pilgrim's Pride is wrongfully decided.         However, having

      24   said that, Pilgrim's Pride and those cases dealt with claims

      25   against the -- the channeling injunction affected actions




                                                                          Appx. 04651
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 527 of 610




                                                                                 174


       1   during the bankruptcy.      It did not serve as a post-

       2   jurisdictional grant of jurisdiction to the bankruptcy court.

       3   It did not pose as an ability -- as a limitation on a post-

       4   confirmation litigator or a post-effective date litigator to

       5   address a wrong done to them by an independent director of a

       6   general partner.

       7        In a sense, Judge Lynn's determination, and Judge Houser,

       8   is consistent somewhat with the Barton Doctrine.           Now, do I

       9   agree that they're right?         No.   But I understand the decision

      10   and I understand the context in which it was rendered and I

      11   don't have a huge problem with it.

      12        So, again, let's parse what we're trying to do here.

      13   Number one, we are -- we have to bifurcate post-confirmation

      14   jurisdiction or post-effective date jurisdiction and what you

      15   can do as a post-effective date arbiter versus what you could

      16   do pre-effective date and pre-effective date claims.            And

      17   again, that's the problem with what's written here.            It is

      18   designed one hundred percent to expand your post-effective

      19   date jurisdiction through both the gatekeeper provision and

      20   the jurisdictional grant that's here from your pre-effective

      21   date capability, your pre-effective date jurisdiction, and

      22   your pre-effective date ability to either curb a claim or not

      23   to curb a claim.     And that, that's the issue.

      24        And again, let's start talking about the independent

      25   directors.    I recognize, again, that there's an order there.




                                                                           Appx. 04652
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 528 of 610




                                                                              175


       1   But if Mr. Seery -- let's take Mr. Seery -- is acting as a

       2   director of Strand but is also an accountant for the Debtor

       3   and makes a mistake, he would be sued in his capacity as the

       4   accountant for the Debtor, not as an independent director of

       5   Strand.    That distinction needs to be made.

       6        What we are doing here under this plan, and what's been

       7   argued by Mr. Pomerantz, is too broad a brush.          It needs to be

       8   cut back.    The Court needs to take a very hard look at what's

       9   being presented here.

      10        And again, the Court's order is very clear.         And this is

      11   binding.    I recognize that.     But the protection they got was

      12   serving as an independent director.        The protection they

      13   didn't get was -- let's take Mr. Seery, if Mr. Seery was

      14   serving as an accountant and blew a tax return.          Those are

      15   distinctions that warrant analysis and warrant looking at

      16   here.   And again, it is too broad a brush that's touted here,

      17   and that is why this plan on its face is not confirmable with

      18   respect to both the post-confirmation jurisdiction, the

      19   gatekeeper provision, the exculpation provisions.

      20        And so let me address a few other things, just to address

      21   them.   Number one, the argument has been made with respect to

      22   the creditors and the resolicitation issue and that creditors

      23   could have come in looking, seen, followed the case, and

      24   basically calculated and made the same calculation that the

      25   Debtor made when they filed this and put forth the new plan




                                                                          Appx. 04653
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 529 of 610




                                                                               176


       1   analysis versus liquidation analysis.         And then they've also

       2   made the argument, well, nobody came and complained.            Well,

       3   two parts to that.

       4        Number one, as you know, a disclosure statement needs to

       5   be on its face and should not require a creditor to go back in

       6   and monitor the record -- and quite frankly, in this record,

       7   there are thousands of pages -- and do the calculation

       8   himself.    This was incumbent upon the Debtor to possibly

       9   resolicit when these material changes took place.

      10        Number two, the recalculation has not been subject to the

      11   entire creditor body seeing it.        And anybody who wanted to

      12   call them would have had to have seen the document they filed

      13   on February 1st and made a telephone call basically

      14   contemporaneous with seeing it.

      15        Those are two things.        The argument that they didn't call

      16   me is just nonsensical.      There's nobody -- you, you are

      17   sitting here -- and I've had a number of battles over the

      18   years with Judge (indecipherable), who was -- who -- and her

      19   view was, I'm here to protect the little guy who's not --

      20   didn't hire counsel, who's not represented by Mr. Clemente and

      21   his huge clients who have voted in favor of the plan.            It's

      22   the little person, i.e., the employees who would vote against

      23   a plan that they so -- so desperately tried to get out from

      24   under.

      25              THE COURT:    Well, --




                                                                           Appx. 04654
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 530 of 610




                                                                              177


       1               MR. DRAPER:    It's really a function --

       2               THE COURT:    -- Mr. Pomerantz argues it's not as

       3   though there was a materially adverse change in treatment; it

       4   was the disbursement estimate.       And doesn't every Chapter 11

       5   plan -- most Chapter 11 plans, not every -- they make an

       6   estimate.    I mean, and it's, frankly, it's very often a big

       7   range of recovery, right, a big range of recovery, because we

       8   don't know what the allowed claims are going to compute to at

       9   the end of the day.       There's obviously liquidation of assets.

      10   We don't know.     Isn't this sort of like every -- not, again,

      11   not every other plan, but most other plans -- where there's a

      12   big range of possible estimated distributions?          I mean, this

      13   wasn't a change in treatment, right?

      14               MR. DRAPER:    Well, let me address that.     There are

      15   two parts to that.       Most plans I see that contain some sort of

      16   analysis have a range.      This one doesn't have a range.       What

      17   they've done is they've buried in a footnote or assumption

      18   that these numbers may change.       So had they said, look, your

      19   recovery can go from 60 cents to 85 cents, God bless, they

      20   probably would have been right.

      21        Number two, which is more problematic to me, to be honest

      22   with you, is the fact that, number one, the operating expenses

      23   have increased over a hundred percent.        And number two, the

      24   Debtor has made a determination post-disclosure statement and

      25   pre-hearing that they're going to change their model of




                                                                          Appx. 04655
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 531 of 610




                                                                                178


       1   business.

       2        The original disclosure statement said we're not going to

       3   get into the managing CLO part of the business and we're going

       4   to let these contracts go.        However, at some point along the

       5   way, they made a change.      I don't know to this day, because I

       6   was never furnished the backup to the expense side.           I

       7   understand what they said why they didn't give me the asset

       8   side, but the expense side, they should have given me, and I

       9   did ask for.

      10        But, you know, what we have now is a more fundamental

      11   problem with the execution of the plan and the expectation

      12   that creditors -- what they're going to get, because, in fact,

      13   the expense items have doubled.

      14        I think creditors were entitled to know that, rather than

      15   it having been sprung upon everybody, when I got it the day

      16   before a deposition.     And so those are things that I think

      17   warranted a change in solicitation.        Now, the result may have

      18   been the same.     I don't know.     More people may have voted

      19   against the plan.     More people may have opted in from Class 8

      20   to Class 7, I mean, based upon that information.          That

      21   information was not provided to them.

      22        And so I look at two -- three things.        One is a range

      23   could have been given, and they probably would have been a

      24   whole lot better off.     Two, you have a material change in

      25   expenses.    And three, you have a material change in business




                                                                             Appx. 04656
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25     Page 532 of 610




                                                                                  179


      1   model.   Three things that occurred between November and this

      2   confirmation hearing.     Three things that were not known by the

      3   creditor body and not told to them.

      4              THE COURT:    Mr. Draper, I --

      5              MR. DRAPER:    Now, it may have been told --

      6              THE COURT:    I don't want to belabor this any more

      7   than I think we need to, but I've got a Creditors' Committee

      8   with very sophisticated professionals, very sophisticated

      9   members.    They're fiduciaries to this constituency.            You know,

     10   you mentioned the little guy.         I'm not quite sure who is the

     11   little guy in this case.        I think it's a case of all big guys.

     12   But, I mean, they're fine with what's happened here.

     13   Meanwhile, you -- I mean, clarify your standing here for

     14   Dugaboy and Get Good.     I mean, --

     15              MR. DRAPER:    I have --

     16              THE COURT:    -- I know you have standing.           Mr.

     17   Pomerantz did not say you don't have standing.           But in

     18   pointing out the economic interests here, I think he said your

     19   clients only have asserted a postpetition administrative

     20   expense.    Is that correct?

     21              MR. DRAPER:    No.      I have a post -- I have an -- I

     22   have a claim that's been objected to.         I don't think my

     23   economic --

     24              THE COURT:    A claim of what amount?

     25              MR. DRAPER:    I think it's $10 million.       But Mr.




                                                                                Appx. 04657
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 533 of 610




                                                                                180


       1   Pomerantz is right, it requires a looking through the --

       2   through the entity that I had a loan relationship with.

       3        I recognize all of those things.         I don't think that's

       4   relevant to whether my argument is correct or incorrect.             I

       5   have standing to do it.      I don't think whether my claim is 50

       6   cents or $50 million should change the Court's view of whether

       7   the claim is good or bad.

       8              THE COURT:    Well, I do want to understand, though.

       9   Okay.   So you have not asserted an administrative expense,

      10   correct?

      11              MR. DRAPER:    No.     There's been an administrative

      12   expense that's been asserted, --

      13              THE COURT:    For what?

      14              MR. DRAPER:    -- but that --

      15              THE COURT:    For what?

      16              MR. DRAPER:    I don't have the number in front of me,

      17   Your Honor.    I don't -- I don't have those numbers --

      18              THE COURT:    Okay.    Well, then, --

      19              MR. DRAPER:    -- in front of me.      I have asserted --

      20              THE COURT:    -- what is the concept?       What is the

      21   basis for it?

      22              MR. DRAPER:    It deals with -- Mr. Pomerantz is

      23   absolutely right as to how he's articulated it.

      24              THE COURT:    I can't remember what he said.

      25              MR. DRAPER:    It deals with -- it deals with a




                                                                           Appx. 04658
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 534 of 610




                                                                                 181


       1   transaction that's unrelated to the Debtor that deals with

       2   Multi-Strat.    I agree with that.

       3              THE COURT:    Okay.    So I remember him saying piercing

       4   the corporate veil.      Your trusts -- both of them, one of them,

       5   I don't know -- engaged in a transaction with Multi-Strat that

       6   you say --

       7              MR. DRAPER:    No, that --

       8              THE COURT:    -- gave -- okay.      Well, you say Multi-

       9   Strat is liable and the Debtor is also liable?

      10              MR. DRAPER:    No.     Let me make two things.      The

      11   administrative claim deals with a Multi-Strat transaction that

      12   took place during the bankruptcy.         My unsecured claim deals

      13   with a transaction that took place prior to the bankruptcy,

      14   where we lent money to another entity that then funneled money

      15   out into the Debtor.     We're -- our contention is that the

      16   Debtor is liable for that loan.

      17              THE COURT:    All right.     So both the administrative

      18   expense as well as the prepetition claim require veil-piercing

      19   to establish liability of the Debtor?

      20              MR. DRAPER:    Or single business enterprise.         I don't

      21   necessarily have to veil-pierce.

      22              THE COURT:    Okay.    I'm not even sure that single

      23   business enterprise is completely available anymore in Texas,

      24   by the Texas legislature doing different things, assuming

      25   Texas law applies.      I don't know, maybe Delaware does.           But I




                                                                           Appx. 04659
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 535 of 610




                                                                               182


       1   -- sorry.    Just let me let that sink in a little bit.          You're

       2   -- okay.    Okay.   Let me let it --

       3               MR. DRAPER:    Your Honor, I --

       4               THE COURT:    -- sink in a little bit.

       5               MR. DRAPER:    Okay.

       6               THE COURT:    These trusts -- of which Mr. Dondero is

       7   the beneficiary ultimately, right?

       8               MR. DRAPER:    Yes.    Well, and to --

       9               THE COURT:    So, your --

      10               MR. DRAPER:    Again, I have not gone up --

      11               THE COURT:    The beneficiary of your client --

      12               MR. DRAPER:    Mr. Dondero is --

      13               THE COURT:    The beneficiary of your client is

      14   ultimately hoping to succeed on the administrative expense and

      15   the claim on the basis that you should disregard the

      16   separateness of Highland and these other entities?

      17               MR. DRAPER:    Well, let's take the --

      18               THE COURT:    When he's resisted that --

      19               MR. DRAPER:    -- unsecured claim.       The --

      20               THE COURT:    -- in multiple pieces of litigation?

      21   Right?    I'm sorry.     I'm just trying to let this sink in.

      22   Okay.    If you could elaborate.      I'm sorry.     I'm talking too

      23   much.    You answer me.

      24               MR. DRAPER:    Okay.    What we are saying is that, in

      25   essence, the party we lent the money to was a conduit for the




                                                                           Appx. 04660
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 536 of 610




                                                                              183


       1   Debtor.

       2               THE COURT:    Okay.   And who was that entity that

       3   either --

       4               MR. DRAPER:    Highland Select.

       5               THE COURT:    -- Dugaboy or Get Good lent money to?

       6               MR. DRAPER:    The Get Good claim is completely

       7   different.    The Get Good claim is written as a tax claim.

       8   Honestly, I haven't taken a hard look at it.         I will, once we

       9   get through this, and it may be withdrawn.         The Dugaboy claim

      10   is a claim that arises through a conduit loan.

      11               THE COURT:    Okay.   But to which entity?

      12               MR. DRAPER:    Highland Select.

      13               THE COURT:    Okay.   All right.   Well, continue with

      14   your argument.    I'll get my flow chart out and --

      15               MR. DRAPER:    Well, let me -- again, I think I've made

      16   the points that I needed to make.        I think I've done it in a

      17   sense that you -- what I think the Court needs to do is take a

      18   very hard look at the jurisdictional extension that's being

      19   granted here.    I think the exculpation provision, in and of

      20   itself, just by the mere inclusion of Pachulski and the

      21   Debtor's professionals and the Committee professionals, is

      22   just unconfirmable.       It has to be stricken.

      23        And I think the injunction and the juris... the gatekeeper

      24   provision are not allowed by applicable law.         If this plan

      25   merely said, we will enforce the Barton Doctrine, we will




                                                                          Appx. 04661
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 537 of 610




                                                                              184


       1   abide -- and this order the Court has entered stands, the

       2   injunction that's provided and the rights that we have under

       3   1141 stand, nobody would be objecting.        That's why the U.S.

       4   Trustee has objected, because of the expansive nature of what

       5   the -- what's been done in this plan.

       6        And with that, I'll turn it over to Mr. Taylor or Davor.

       7              THE COURT:    All right.    Who's next?

       8              MR. RUKAVINA:    Your Honor, Davor Rukavina.       Can you

       9   hear me?

      10              THE COURT:    I can.

      11       CLOSING ARGUMENT ON BEHALF OF CERTAIN FUNDS AND ADVISORS

      12              MR. RUKAVINA:    Your Honor, thank you.      I'll try not

      13   to repeat the arguments from Mr. Draper, but I do want to

      14   point out a couple bigger-picture issues, I think.

      15        One, the issue today is not Mr. Dondero, what he has been

      16   alleged to have done, what he is alleged to do in the future.

      17   The Debtor has gone out of its way to create the impression

      18   that we're all tentacles, we're vexatious litigants, we're

      19   frivolous litigants.     The issue today is whether this plan is

      20   confirmable under 1129(a) and 1129(b).        And I think that that

      21   has to be the focus.

      22        Nor is the issue, I think, today any motivation behind my

      23   objection or Mr. Draper's or anything else.

      24        And I do take issue that my motivation or my client's

      25   motivation has some ulterior motive for a competing plan or




                                                                          Appx. 04662
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 538 of 610




                                                                              185


       1   burning down the house or anything like that.         It's very, very

       2   simple.    My clients do not want $140 million of their money

       3   and their investors' money, to whom they owe fiduciary duties,

       4   to be managed by a liquidating debtor under new management

       5   without proper staffing and with an obvious conflict of

       6   interest in the form of Mr. Seery wearing two hats.

       7        I respect very much that Mr. Seery wants to monetize

       8   estate assets for the benefit of the estate creditors.           That's

       9   his job.    That's incompatible with his job under the Advisers

      10   Act and, as he said, to maximize value to my clients and over

      11   a billion dollars of investments in these CLOs.

      12        That should not be, Your Honor, a controversial

      13   proposition.    I should not be described as a tentacle or

      14   vexatious because my clients don't want their money managed by

      15   someone that they, in effect, did not contract with.           I may be

      16   -- I may lose that argument.       The CLOs have obviously

      17   consented to the assumption.       But my argument should not be

      18   controversial.    It should not be painted with a broad brush of

      19   somehow being done in bad faith by Mr. Dondero.

      20        And in fact, Mr. Seery has admitted that the Debtor and he

      21   are fiduciaries to us.     The fact that today they call us

      22   things like tentacles and serial litigants and vexatious

      23   litigants -- we all know what a vexatious litigant is.           We've

      24   all dealt with those.     The fact that our fiduciary would call

      25   us that just reconfirms that it should have no business




                                                                          Appx. 04663
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 539 of 610




                                                                              186


       1   managing our or other people's money.

       2        And then for what?     Mr. Seery has basically said that the

       3   Debtor will make some $8.5 million in revenue from these

       4   contracts, net out $4 million of expenses.         That's net profit

       5   of $4.5 million.     But then they have to pay $3.5 million for

       6   D&O insurance and $525,000 in cure claims.         But it's the

       7   Debtor's business decision, not ours.

       8        Your Honor, the second issue is the cram-down of Class 8.

       9   There are two problems here:       the disparate treatment between

      10   Class 7 and Class 8, which also raises classification, and

      11   then the absolute priority rule.       Class 7 is a convenience

      12   class claim -- is a convenience claim, Your Honor, with a $1

      13   million threshold.     Objectively, that is not for

      14   administrative convenience, as the Code allows.          And the only

      15   evidence as to how that million dollars was arrived at was,

      16   oh, it was a negotiation of the Committee.

      17        There is no evidence justifying administrative

      18   convenience.    Therefore, there is no evidence justifying

      19   separate classification.      And on cram-down, the treatment has

      20   to be fair and equitable, which per se it is not if there is

      21   unfair discrimination.     And there is unfair discrimination,

      22   because Class 8 will be paid less.

      23        On the absolute priority rule, Your Honor, I think that

      24   it's very simple.     I think that the Code is very clear that

      25   equity cannot retain anything -- I'm sorry, equity cannot




                                                                          Appx. 04664
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 540 of 610




                                                                               187


       1   retain any property or be given any property.          Property is the

       2   key word in 1129(b), not value.        It doesn't matter that this

       3   property may not have any value, although Mr. Seery said that

       4   it might.    What matters is whether these unvested contingent

       5   interests in the trust are property.         And Your Honor, they are

       6   property.    They have to be property.       They are trust

       7   interests.

       8        So the absolute priority rule is violated on its face.

       9   There is no evidence that unsecured creditors in Class 8 will

      10   receive hundred-cent dollars.        The only evidence is that

      11   they'll receive 71 cents.         Mr. Seery said there's a potential

      12   upside from litigation.      He never quantified that upside.        And

      13   there is zero evidence that Class 8 creditors are likely to be

      14   paid hundred-cent dollars.        So, again, you have the absolute

      15   priority rule issue.

      16        And this construct where, okay, well, equity won't be in

      17   the money unless everyone higher above is paid in full, that

      18   is just a way to try to get around the dictate of the absolute

      19   priority rule.     If that logic flies, then the next time I have

      20   a hotel client or a Chapter 11 debtor-in-possession client

      21   where my equity wants to retain ownership, I'll just create

      22   something like, well, here's a trust, creditors own the trust,

      23   I won't distribute any money to equity, and equity can just

      24   stay in control.

      25        The point again is that this is property and it's being




                                                                           Appx. 04665
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 541 of 610




                                                                              188


       1   received on account of prepetition equity.

       2        And there's also the control issue.        The absolute priority

       3   rule, the Supreme Court is clear that control of the post-

       4   confirmation equity is also subject to the absolute priority

       5   rule.   Here you have the same prepetition management

       6   postpetition controlling the Debtor and the assets.

       7        Your Honor, the Rule 2015.3 issue, someone's going to say

       8   that it's trivial.     Someone's going to accuse me of pulling

       9   out nothing to make something.       Your Honor, it's not trivial.

      10   That's part of the problem in this case, that this Debtor owns

      11   other entities that own assets, and there's been precious

      12   little window given into that during the case, during this

      13   confirmation hearing, and in the disclosure statement.

      14        Rule 2015.3 is mandatory.       It's a shall.    I respect very

      15   much Mr. Seery's explanation that there was a lot going on

      16   with the COVID and with everything and that it just fell

      17   through the cracks.     That's an honest explanation.         But the

      18   Rule has not been complied with.        And 1107(a) requires that

      19   the debtor-in-possession comply with a trustee's duties under

      20   704(a)(8).    Those duties include filing reports required by

      21   the Rules.

      22        So we have an 1129(a)(3) problem, Your Honor, because this

      23   plan proponent has not complied with Chapter 11 and Title 11.

      24   I'll leave it at that, because I suspect, again, someone will

      25   accuse me of being trivial on that.        It is not trivial.     It is




                                                                           Appx. 04666
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 542 of 610




                                                                              189


       1   a very important rule.

       2        On the releases and exculpations, Your Honor, I'm not

       3   going to try -- I'm not going to hopefully repeat Mr. Draper.

       4   But there's a couple of huge things here with this exculpation

       5   that takes it outside of any possible universe of Pacific

       6   Lumber.

       7        First, you have a nondebtor entity that is being

       8   exculpated.    I understand the proposition that, during a

       9   bankruptcy case, the professionals of a bankruptcy case might

      10   be afforded some protection.       I understand that proposition.

      11   But here you have Strand and its board that's a nondebtor.

      12        The other thing you have that takes this outside of any

      13   plausible case law is that the Debtor is exculpated from

      14   business decisions, including post-confirmation.          I understand

      15   that professionals in a case make decisions, and

      16   professionals, at the end of the case, especially if the Court

      17   is making findings about a plan's good faith, that

      18   professionals making decisions on how to administer an estate

      19   ought to have some protection.

      20        That does not hold true for whether a debtor and its

      21   professionals should have protection for how they manage their

      22   business.    GM cannot be exculpated for having manufactured a

      23   defective product and sold it during its bankruptcy case.

      24        Here, I asked Mr. Seery whether this language in these

      25   provisions, talking about whether the administration of the




                                                                          Appx. 04667
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 543 of 610




                                                                               190


       1   estate and the implementation of the plan includes the

       2   Debtor's management of those contracts and funds.             He said

       3   yes.    He said yes.   So if you look at the exculpation

       4   provision, it is not limited in time.        It affects, Your Honor,

       5   I'm quoting, it affects the implementation of the plan.

       6   That's going forward.

       7          So you are exculpating the Debtor and its professionals

       8   from business decisions, including post-confirmation, from

       9   negligence.    Well, isn't negligence the number one protection

      10   that people that have invested a billion dollars with the

      11   Debtor have?    It's cold comfort to hear, well, you can come

      12   after us for gross negligence or theft.         I get that.     What

      13   about negligence?      Isn't that what professionals do?        Isn't

      14   that why professionals have insurance, liability insurance?

      15   It's called professional negligence for malpractice.

      16          So this exculpation, let there be no mistake -- I heard

      17   Your Honor's view and discussion -- this is a different

      18   universe, both in space and in time.

      19          And we don't have to worry about Pacific Lumber too much

      20   because we have the Dropbox opinion in Thru, Inc.             We have

      21   that opinion.    Whether it's sound law or not, I don't wear the

      22   robe.    But the exculpation provision in that case was

      23   virtually identical.     And Your Honor, that's a 2018 U.S. Dist.

      24   LEXIS 179769.    In that opinion, Judge Fish -- I don't think

      25   anyone could say that Judge Fish was not a very experienced




                                                                            Appx. 04668
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 544 of 610




                                                                               191


       1   district court judge -- Judge Fish found that the exculpation

       2   violated Fifth Circuit precedent.        That exculpation covered

       3   the debtor's attorneys, the debtor, the very people that Mr.

       4   Pomerantz is now saying, well, maybe the Fifth Circuit would

       5   allow an exculpation for.

       6              THE COURT:    Well, I think he is relying heavily on

       7   the analogy of independent directors to Creditors' Committee

       8   members, saying that's a different animal, if you will, than

       9   prepetition officers and directors.        And he thinks, given the

      10   little bit of policy analysis put out there by the Fifth

      11   Circuit, they might agree that that's analogous and worthy of

      12   an exculpation.

      13              MR. RUKAVINA:    And they might.     And they might.      And

      14   again, I usually do debtor cases.        You know that.       I'd love to

      15   be exculpated.

      16              THE COURT:    But --

      17              MR. RUKAVINA:    And I think, again, I do -- I do --

      18              THE COURT:    -- I really want people to give me their

      19   best argument of why, you know, that's just flat wrong.             And

      20   Mr. Draper just said it's, you know, there's a categorical --

      21              MR. RUKAVINA:    Yeah.

      22              THE COURT:    -- rejection of exculpations except for

      23   Committee members and Committee in Pacific Lumber.             And I'm

      24   scratching my head on that one.       And partly the reason I am,

      25   while 524(e) was thrown out there, the fact is there's nothing




                                                                            Appx. 04669
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 545 of 610




                                                                              192


       1   explicitly in the Bankruptcy Code, right, that explicitly

       2   permits exculpation to a Committee or Committee members.

       3   There's just sort of this notion, you know, allegedly embodied

       4   in 1103(c), or maybe there are cases you want to cite to me,

       5   that they're fiduciaries, they're voluntary fiduciaries, they

       6   ought to have qualified immunity.

       7        And again, I see it as more of a policy rationale the

       8   Fifth Circuit gave than pointing to a certain statute.           So if

       9   it's really a policy rationale, then I think the analogy given

      10   here to a newly-appointed independent board is pretty darn

      11   good.

      12        So tell me why I'm all wrong, why Mr. Pomerantz is all

      13   wrong.

      14              MR. RUKAVINA:    I am not going to tell you that you're

      15   all wrong.    I'm not going to tell Mr. Pomerantz that he's all

      16   wrong.   Although I am, I guess, a Dondero tentacle, I am not a

      17   Mr. Draper tentacle, and I happen to disagree with him.

      18   That's my right.     I respect the man very much.      I thought he

      19   did a very honorable and ethical job explaining his position

      20   to Your Honor.    I believe that the Fifth Circuit would approve

      21   exculpations for postpetition pre-confirmation matters taken

      22   by estate fiduciaries.     I do believe that they would.        And I

      23   do believe that that should be the case.

      24        But again, I'm telling you that this one is different.

      25   It's -- Mr. Pomerantz is misdirecting you.         The estate




                                                                           Appx. 04670
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 546 of 610




                                                                              193


       1   professionals manage the estate.       The Debtor manages its

       2   business.    It goes out into the world and it manages business.

       3   And as Your Honor knows, under that 1969 Supreme Court case,

       4   of course I blanked, and under 28 U.S. 959, a debtor must

       5   comply, when it's out there, with all applicable law.

       6        So if the Debtor -- and I'm making this up, okay?           I am

       7   making this up.    I'm not alleging anything.       But if the

       8   Debtor, through actionable neglect, lost $500 million of its

       9   clients' or its investor clients' money, I'm telling you that

      10   under no theory can that be exculpated, and I'm telling you

      11   that that's what this provision does.

      12        The estate and the Debtor can release their claims.          It

      13   happens all the time.       Whatever -- whatever claims the estate

      14   may have against professionals, those can be released.           It's a

      15   9019.   I'm not complaining about that.       Although I do think

      16   that it's premature in this case, because we don't know

      17   whether there's any liability for the $100 million that Mr.

      18   Seery told you Mr. Dondero lost.       But in no event can business

      19   -- business --

      20               THE COURT:   I don't understand what you just said.

      21               MR. RUKAVINA:    Your Honor, I --

      22               THE COURT:   Mr. Dondero is not released --

      23               MR. RUKAVINA:    -- went through Mr. Seery's --

      24               THE COURT:   -- by the estate.

      25               MR. RUKAVINA:    I understand.   I understand.     But we




                                                                          Appx. 04671
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 547 of 610




                                                                                194


      1   all have to also understand that a board of directors and

      2   officers can be liable, breaches of fiduciary duty by not

      3   properly managing an employee.        So I'm not suggesting -- I

      4   mean, I know that there's been an examiner motion filed.              I'm

      5   not suggesting that we have a mini-trial.         I'm not suggesting

      6   there's actionable conduct.        What I'm telling you is that the

      7   evidence shows that there's a large postpetition loss.             And

      8   it's premature to prevent third parties that might have claims

      9   from bringing those.

     10        And then I think -- I'm not sure that Your Honor

     11   understood my point.     Let me try to make it again.          This

     12   exculpation is not limited in time.        This exculpation is

     13   expressly not limited in time and applies to the

     14   administration of the plan post-confirmation.         I don't think

     15   under any theory would the Fifth Circuit or any court at the

     16   appellate level allow an exculpation for purely post-

     17   reorganization post-bankruptcy matters.         I have nothing more

     18   to tell Your Honor on exculpation.

     19              THE COURT:    Well, again, I -- perhaps I go down some

     20   roads I really don't need to go down here, but I'm not sure I

     21   read it the way you did.      I thought we were just talking about

     22   pre -- postpetition, pre-confirmation.        Or pre-effective date.

     23              MR. RUKAVINA:    Your Honor, Page --

     24              THE COURT:    The --

     25              MR. RUKAVINA:    Page 48 of the plan, Section C,




                                                                            Appx. 04672
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25    Page 548 of 610




                                                                                195


       1   Exculpation.    Romanette (iv).       The implementation of the plan.

       2   And I -- and that's -- that's part of why I asked Mr. Seery

       3   that yesterday.    Does the implementation of the plan, in his

       4   understanding, include the Reorganized Debtor's management and

       5   wind-down of the Funds, and he said yes.

       6              THE COURT:   Okay.

       7              MR. RUKAVINA:    So that's right there in black and

       8   white.

       9        It also includes the administration of the Chapter 11

      10   case.    If that is defined broadly, as Mr. Seery wants it to

      11   be, to define business decisions, then that also exceeds any

      12   permissible exculpation.

      13        So, again, I'm telling Your Honor, with due respect to you

      14   and to Mr. Pomerantz, that the focus of Your Honor's

      15   questioning is wrong.      The focus of Your Honor's questioning

      16   should be on exculpation from what?         From business -- i.e., GM

      17   manufacturing and selling the car -- or from management of the

      18   bankruptcy case?    Management of the bankruptcy case?           Okay.

      19   Postpetition pre-confirmation managing business, never okay.

      20        Your Honor, on the channeling -- and let me add, I think

      21   it's very clear, there is no Barton Doctrine here.             This is

      22   not a Chapter 11 trustee.         The Barton Doctrine does not

      23   extend to debtors-in-possession.         And I can cite you to a

      24   recent case, In re Zaman, 2020 Bankr. LEXIS 2361, that

      25   confirms that the Barton Doctrine does not apply to a debtor-




                                                                            Appx. 04673
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 549 of 610




                                                                               196


       1   in-possession.

       2        I want to --

       3              THE COURT:    Remind me of that --

       4              MR. RUKAVINA:    -- discuss, Your Honor, the --

       5              THE COURT:    Remind me of the facts of that case.         I

       6   feel like I read it, but -- or saw it in the advance sheets,

       7   maybe.

       8              MR. RUKAVINA:    I honestly do not recall.         I read it a

       9   few days ago, and since then, I hope Your Honor can

      10   appreciate, I've been up very late trying to negotiate

      11   something good in this case.

      12              THE COURT:    I'd like to know --

      13              MR. RUKAVINA:    So, I mean, I have the case in front

      14   of me.

      15              THE COURT:    I'd like to know about a holding that

      16   says Barton Doctrine can't be applied in a Chapter 11 post-

      17   confirmation context, if that's --

      18              MR. RUKAVINA:    Well, I have it --

      19              THE COURT:    -- indeed the holding.

      20              MR. RUKAVINA:    I have it right in front of me here,

      21   Your Honor, and I can certainly -- all I know is that this

      22   case held that -- it rejected the notion that the Barton

      23   Doctrine applies to a debtor-in-possession.

      24              THE COURT:    Okay.

      25              MR. RUKAVINA:    And maybe --




                                                                           Appx. 04674
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25    Page 550 of 610




                                                                                197


       1              THE COURT:    That --

       2              MR. RUKAVINA:    There it is, right there.

       3              THE COURT:    What judge?

       4              MR. RUKAVINA:    Your Honor, it is the Southern

       5   District of Florida, and it is the Honorable -- Your Honor, it

       6   is the Honorable Mindy Mora.

       7              THE COURT:    Okay.

       8              MR. RUKAVINA:    M-O-R-A.

       9              THE COURT:    Okay.

      10              MR. RUKAVINA:    I have not had the pleasure of being

      11   in front of that judge.

      12        Your Honor, let me discuss the channeling injunction.

      13   This is the big one for me.        This is the big one.        And I think

      14   we have to begin -- and it's the big one, as I'll get to,

      15   because Your Honor knows that the CLO management agreements

      16   give my clients certain rights, and this injunction would

      17   prevent those rights from being exercised post-confirmation.

      18   It's not dissimilar from the PI hearing that we're in the

      19   middle of in an adversary.

      20        But I begin my analysis, again, with 28 U.S.C. 959.             Your

      21   Honor, that -- the first sentence of that statute makes it

      22   very clear that when it comes to carrying on a business, a

      23   debtor-in-possession may be sued without leave of the court

      24   appointing them.

      25        So the first thing that this channel -- gatekeeper,




                                                                             Appx. 04675
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 551 of 610




                                                                               198


       1   channeling, I don't mean to miscall it -- the first thing that

       2   this gatekeeping injunction does is it stands directly

       3   opposite to 28 U.S.C. 959.

       4        28 U.S.C. 959 also says that jury rights must be

       5   preserved.    As I'll argue in a moment, this injunction also

       6   affects those rights.

       7        In addition to 959, we have the fundamental issue of post-

       8   confirmation jurisdiction.        As Mr. Draper said, here, this

       9   channeling injunction applies to post-confirmation matters.

      10   Similar to my answer to you on exculpation, I can see there

      11   being a place for a channeling injunction during the pendency

      12   of a case or for claims that might have arisen during the

      13   pendency of a case.     I cannot see that, and I don't know of

      14   any court that, at least at a circuit level, that would agree

      15   that this can apply post-confirmation.

      16        It is, again, the equivalent of GM manufacturing a car

      17   post-confirmation and having to go to bankruptcy court because

      18   someone's wanting to sue it for product negligence or

      19   liability.    It's unthinkable.      The reason why a debtor exits

      20   bankruptcy is to go back out into the community.          It's no

      21   longer under the protection of the bankruptcy court.           That's

      22   what the media calls Chapter 11, it calls it the protection of

      23   the court.    There's no such protection post-reorganization.

      24   So, --

      25              THE COURT:    Is that really analogous, Mr. Rukavina?




                                                                          Appx. 04676
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 552 of 610




                                                                              199


       1   Let's get real.      Is this really analogous --

       2               MR. RUKAVINA:   It is.

       3               THE COURT:   -- to GM --

       4               MR. RUKAVINA:   It is.

       5               THE COURT:   -- manufacturing thousands of cars?

       6               MR. RUKAVINA:   It absolutely is analogous.       Because

       7   this Debtor is going to assume these contracts and it is going

       8   to go out there and it is going to make daily decisions

       9   affecting a billion dollars of other people's money.           Each of

      10   those decisions hopefully will be done correctly and make

      11   everyone a lot of money, but each of those decisions is the

      12   potential for claims and causes of action.

      13        So it is analogous, Your Honor.        They want my clients and

      14   others to come to you for purely post-confirmation matters.

      15   The Court will not have that jurisdiction.         There will be no

      16   bankruptcy estate, nor can the Court's limited jurisdiction to

      17   ensure the implementation of the plan go to and affect a post-

      18   confirmation business decision.

      19        That's the distinction.      The Debtor's post-confirmation

      20   business is not the implementation of a plan.         As Mr. Draper

      21   said, there's a new entity.       There's a new general partner.

      22   There's a new structure.      Go out there and do business,

      23   Debtor.    That's what they're telling you.       They're telling you

      24   this is not a liquidation because they're going to be in

      25   business.    Okay.   Well, the consequence of that is that




                                                                          Appx. 04677
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 553 of 610




                                                                              200


       1   there's no post-confirmation jurisdiction.

       2        Now, Mr. Pomerantz says, and I think you asked Mr. Draper,

       3   well, the jurisdiction to adjudicate whether something is

       4   colorable is different from the jurisdiction to adjudicate the

       5   underlying matter.     Your Honor, I don't understand that

       6   argument, and I don't see a distinction.         If the Court has no

       7   jurisdiction to decide the underlying matter, then how can the

       8   Court have any jurisdiction to pass on any aspect of that

       9   underlying matter?

      10        And whether something is colorable is a fundamental issue

      11   in every matter.     That's the thing that courts look at in a

      12   12(b)(6), in a Rule 11 issue, in a 1927 issue.         So they're

      13   going to come -- or someone is going to have to come to Your

      14   Honor and present evidence and law that something is

      15   colorable.    Let's say that we've said there's a breach of

      16   contract.    Aren't we going to have to show you, here's the

      17   contract, here's the language, here's the facts giving rise to

      18   the breach, here's the elements?        And Your Honor is going to

      19   have to pass on that.     And if Your Honor decides that

      20   something is not colorable, then there ain't no step two.

      21        And if Your Honor decides that something is colorable,

      22   then isn't that going to be binding on the future proceeding?

      23   And if it's going to be binding on the future proceeding, then

      24   of course you're exercising jurisdiction to adjudicate an

      25   aspect of that lawsuit.




                                                                          Appx. 04678
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 554 of 610




                                                                              201


       1        I don't think that that -- I don't know I can be clearer

       2   than that, Your Honor, unless the Debtor has some other

       3   understanding of what a colorable claim or cause of action is

       4   that I'm misunderstanding.

       5        And Your Honor, I would ask, when Your Honor is in

       6   chambers, to look at one of these CLO management agreements.

       7   I'm sure Your Honor has already.        I just pulled one out of the

       8   Debtor's exhibits, Exhibit J as in Jason.         And Section 14, 14

       9   talks about termination for cause.        Most of these contracts

      10   are for cause.    So, Your Honor, cause includes willfully

      11   breaching the agreement or violating the law, cause includes

      12   fraud, cause includes a criminal matter, such as indictment.

      13        So let's imagine, Your Honor, that I come to you a year

      14   from now and I say, I would like to terminate this agreement

      15   because I don't want the Debtor managing my $140 million

      16   because of one of these causes.       What am I going to argue to

      17   Your Honor?    I'm going to argue to Your Honor that those

      18   causes exist.    And Your Honor is going to have to pass on

      19   that.

      20        And if Your Honor says they don't exist, again, I'm done.

      21   I just got an effective final ruling from a federal judge that

      22   my claim is without merit.        I'm done.   Your Honor has decided

      23   the matter effectively, legally, and finally.

      24        That's why, when Mr. Pomerantz says that the jurisdiction

      25   to adjudicate the colorableness of a claim is different from




                                                                          Appx. 04679
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 555 of 610




                                                                              202


       1   adjudicating that claim, it's not correct.         They're part of

       2   the same thing, Your Honor.

       3        We strenuously object to that injunction, we think it's

       4   unprecedented, and we strenuously object to that injunction

       5   because we are not Mr. Dondero.

       6        I understand the January 9th order.        I'll let Mr.

       7   Dondero's counsel talk about why that was never intended to be

       8   a perpetual order.     I'll let Mr. Dondero's counsel argue as to

       9   why the extension of that order ad infinitum in the plan is

      10   illegal.

      11        But even if Mr. Dondero is enjoined in perpetuity from

      12   causing the related parties to terminate these agreements,

      13   Your Honor, the related parties themselves are not subject to

      14   that injunction.     That's why you have the preliminary

      15   injunction proceeding impending in front of you on ridiculous

      16   allegations of tortious interference.

      17        So whether the Court enjoins Mr. Dondero or not in

      18   perpetuity is a separate matter.        The question is, as you've

      19   heard, at least my retail clients, they have boards.           Those

      20   boards are the final decision-makers.        Mr. Dondero is not on

      21   those boards.

      22        In other words, it is wrong to conclude a priori that

      23   anything that my clients do has to be at the direction of Mr.

      24   Dondero.    There is no evidence of that.       The evidence is to

      25   the contrary.




                                                                          Appx. 04680
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 556 of 610




                                                                              203


       1        Yes, a couple of my clients, the Advisors are controlled

       2   by Mr. Dondero.     Mr. Norris testified to that.       You'll not

       3   find Mr. Norris anywhere testifying in that transcript that

       4   Your Honor allowed into evidence that the funds, my retail

       5   fund clients are controlled by Mr. Dondero.         You won't find

       6   that evidence.     There was no evidence yesterday or today that

       7   Mr. Dondero controls those retail funds.         The only evidence is

       8   that they have independent boards.

       9        So I ask the Court to see that it's a little bit of a

      10   sleight of hand by the Debtor.       If I am to be enjoined or if I

      11   am to have to come to Your Honor in the future as a vexatious

      12   litigant or a tentacle or a frivolous litigant, whatever else

      13   I've been called today, then let it be because of something

      14   that I've done or failed to do, something that my client has

      15   done to warrant such a serious remedy, not something that Mr.

      16   Dondero is alleged to have done.

      17        And what have my clients done, Your Honor?         What have we

      18   done to be called vexatious litigants and serial litigants?

      19   We've done nothing in this case, pretty much, until December

      20   16th, when we filed a motion that was a poor motion,

      21   unfortunately, the Court found it to be frivolous, and the

      22   Court read us the riot act.

      23        We refused, on December 22nd, we, my clients' employees,

      24   to execute two trades that Mr. Dondero wanted us to execute.

      25   We had no obligation to execute them.        We knew nothing about




                                                                          Appx. 04681
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 557 of 610




                                                                              204


       1   them.   And Mr. Seery -- I'm sorry.       Not Mr. Dondero, that Mr.

       2   Seery wanted to execute.      And Mr. Seery closed those

       3   transactions that same day.       And then a professional lawyer at

       4   K&L Gates, a seasoned bankruptcy lawyer, sent three letters to

       5   a seasoned professional lawyer at Pachulski, and the letters

       6   were basically ignored.

       7        Okay.   Those are the things that we've done.        Other than

       8   that, we've defended ourselves against a TRO, we've defended

       9   ourselves against a preliminary injunction, we will continue

      10   to defend ourselves against a preliminary injunction, and we

      11   defend ourselves against this plan because it takes away our

      12   rights.    Is that vexatious litigation?      Is that, other than

      13   the frivolous motion, is that frivolous litigation?

      14        And we heard you loud and clear when you read us the riot

      15   act on December 16th.     And I will challenge any of these

      16   colleagues here today to point me to something that we have

      17   filed since then that is in any way, shape, or form arguably

      18   meritless.

      19        So where is the evidence that my retail funds are

      20   tentacles or vexatious litigants or anything else?            There is

      21   no evidence, Your Honor, and the Debtor is doing its best to

      22   give you smoke and mirrors to just make that mental jump from

      23   Mr. Dondero to my clients, effectively an alter ego, without a

      24   trial on alter ego.

      25        Once these contracts are assumed, the Debtor must live




                                                                           Appx. 04682
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 558 of 610




                                                                               205


       1   with their consequences.      It's as simple as that.         Your Honor

       2   has so held.    Your Honor has so held forcefully in the Texas

       3   Ballpark case.    And the Court, I submit respectfully, cannot

       4   excise by an injunction a provision of a contract.

       5        Also, this injunction will -- is a permanent injunction.

       6   We know from Zale and other cases the Fifth Circuit does

       7   permit certain limited plan injunctions that are temporary in

       8   hundred-cent plans.     This is a permanent one.      It doesn't even

       9   pretend to be a temporary one.

      10        It's also a permanent one because the Debtor knows and I

      11   think the Debtor is banking on me being unable to get relief

      12   in the Fifth Circuit before Mr. Seery is finished liquidating

      13   these CLOs.

      14        So what we are talking about today is effectively excising

      15   valuable and important negotiated provisions of these

      16   contracts, provisions that, although my clients are not

      17   counterparties to these contracts, you've heard from at least

      18   three of them we do control the requisite vote, the voting

      19   percentages, to cause a termination, to remove the Debtor, or

      20   to seek to enforce the Debtor's obligations under those

      21   contracts.

      22        And again, Your Honor, it's very simple.         Where those

      23   contracts require cause, there either is cause or is not

      24   cause.   If there is not cause, the Debtor has its remedies.

      25   If there is cause, I'll have my remedies.         But it's not for




                                                                            Appx. 04683
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 559 of 610




                                                                               206


       1   this Court post-confirmation to be making that determination.

       2   That's not my decision.      That's Congress's decision.

       3        So, Your Honor, for those reasons, we object, and we

       4   continue to object, and we'd ask that the Court not confirm

       5   this plan because it is patently unconfirmable.          Or if the

       6   Court does confirm the plan, that it excise those provisions

       7   of the releases, exculpations, and injunction that I just

       8   mentioned as being not in line with the Fifth Circuit or

       9   Supreme Court precedent.

      10        Thank you.

      11              THE COURT:    All right.    Can I -- I meant to ask Mr.

      12   Draper this.    Can we all agree that we do not have third-party

      13   releases per se in this plan?       Can we all agree on that?

      14              MR. DRAPER:     I don't know.    I have to look at that.

      15   I think what you have are exculpations and channeling

      16   injunctions for third parties who have not paid for those

      17   channeling injunctions or those exculpations.

      18              THE COURT:    All right.

      19              MR. RUKAVINA:     Your Honor, was that question -- was

      20   that question solely to Mr. Draper?

      21              THE COURT:    Well, no, it was to all of you.        I

      22   thought we could all agree that we don't have third party

      23   releases per se.     Okay.   There was --

      24              MR. RUKAVINA:     Your Honor, we --

      25              THE COURT:    -- a little bit of glossing over that in




                                                                          Appx. 04684
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 560 of 610




                                                                               207


       1   some of the briefing, I can't remember whose.           But we have

       2   Debtor releases, we have --

       3              MR. RUKAVINA:    Yes.

       4              THE COURT:    -- exculpations that deal with

       5   postpetition negligence only, we have injunctions, which I

       6   guess the Debtor would say merely serve to implement the plan

       7   provisions and are commonplace, but Mr. Draper would say maybe

       8   are tantamount to third-party releases.         Is that --

       9              MR. RUKAVINA:    Your Honor, I don't think --

      10              THE COURT:    -- where we are?

      11              MR. RUKAVINA:    -- there's any question -- I don't

      12   think there's any question that the exculpation is a third-

      13   party release, and that that's also what Judge Fish held in

      14   the Dropbox case.     It says that none of the exculpated parties

      15   shall have any liability on any claim.         So, --

      16              THE COURT:    All right.

      17              MR. RUKAVINA:    -- that necessarily --

      18              THE COURT:    I get what you're saying, but I just

      19   think, in common bankruptcy lingo, most people regard a third-

      20   party release as when third parties are releasing -- third

      21   parties meaning, for example, creditors, interest holders --

      22   are releasing officers and directors and other third parties

      23   for anything and everything.

      24        Exculpation, I get it, it's worded in a passive voice, but

      25   it is third parties releasing third parties, but for a narrow




                                                                           Appx. 04685
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 561 of 610




                                                                              208


       1   thing, postpetition conduct that is negligent.          Okay.   So I

       2   think -- while there's technically something like a third-

       3   party release there, it's not in bankruptcy lingo what we call

       4   a third-party release.      It's an exculpation means no liability

       5   of the exculpated parties for postpetition conduct that's

       6   negligent.    So I -- anyway, I think we all agree that, I mean,

       7   can we all agree there aren't any per se third-party releases

       8   as that term is typically used in bankruptcy parlance?

       9              MR. RUKAVINA:     I apologize, Your Honor, and I'm not

      10   trying to try your patience, but I cannot agree to that.

      11   Whatever claims my client, a nondebtor, has against Strand, a

      12   nondebtor, are gone.     Whether it's a release or exculpations,

      13   they're gone.    So I apologize, I cannot agree to that, Your

      14   Honor.

      15              MR. DRAPER:    Your Honor, this is Douglas Draper.          I

      16   can't agree, either.     I think it's definitional.       And quite

      17   frankly, I think I'm looking at the functional effect of

      18   what's here, and they appear to be third-party releases.

      19              THE COURT:    Okay.    All right.   Who is making the

      20   argument for Mr. Dondero?

      21              MR. TAYLOR:    Your Honor, Clay Taylor appearing on

      22   behalf of Mr. Dondero.

      23              THE COURT:    Okay.

      24             CLOSING ARGUMENT ON BEHALF OF JAMES D. DONDERO

      25              MR. TAYLOR:    Your Honor, first of all, as this Court




                                                                           Appx. 04686
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 562 of 610




                                                                              209


       1   is well aware, this Court sits, as a bankruptcy court, as a

       2   court of equity.    It has many different tools available to it.

       3   One of those, of course, is denying confirmation of this plan

       4   because of the laws that we have discussed today and that we

       5   believe the evidence has shown, and I won't go into those.             Of

       6   course, of course, Your Honor could confirm that plan.           Yet

       7   another tool available to this Court is it can take it under

       8   advisement.

       9        To the extent that this Court decides to confirm this plan

      10   and decides to confirm it today, it certainly takes a lot of

      11   options off the table for all parties.        There are ongoing

      12   discussions, I'm not going to go into any of the particulars

      13   of those discussions, but a ruling on confirmation today would

      14   effectively end that, because, absent, then, an order vacating

      15   confirmation, there's a lot of eggs that can't become

      16   unscrambled after a confirmation order is entered.

      17        So we would respectively ask that, to the extent that the

      18   Court is even considering confirmation, we don't believe it to

      19   be appropriate, but at least take it under advisement for 30

      20   days, or at least, in the very alternative, that it announce

      21   some date which it is going to give a ruling, so that we kind

      22   of know when that is going to come down, to see if any

      23   positive ongoing discussions can result in more of a global

      24   resolution that all parties can agree upon.

      25        Addressing more the merits of the case, Your Honor, Mr.




                                                                          Appx. 04687
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 563 of 610




                                                                              210


       1   Dondero does indeed object to the nondebtor releases, the

       2   exculpations, the injunction.       I believe those have been

       3   covered rather extensively in the prior argument, so I wasn't

       4   going to go into those here because they've been addressed.

       5   Of course, I will endeavor to answer any questions that Your

       6   Honor may have on those.

       7        I will say I think Your Honor asked for everybody's best

       8   shot as to why this is different for a Committee member versus

       9   the independent trustees here.       I will say my best shot is,

      10   first of all, Pacific Lumber says what it says.          I believe Mr.

      11   Pomerantz has indicated their position that that language is

      12   dicta and therefore not binding upon this Court.          I

      13   respectfully disagree with that.        But to the extent, more

      14   directly answering Your Honor's question, to me, the

      15   difference is clear.     Chapter 7 trustees are a creature of

      16   statute.    So are Chapter 11 trustees.      And -- as are members

      17   of a Committee that are seated pursuant to the Bankruptcy

      18   Code.   Those are all creatures of statute.        And the

      19   independent board of trustees, while there are certainly --

      20   there are some analogies that can be made, undoubtedly, but

      21   they are not a creature of statute.        There is no provision for

      22   them under the Bankruptcy Code.       And therefore I don't believe

      23   that they should and can receive the same protections under

      24   Pacific Lumber.

      25        And so hopefully that -- that is my best shot at




                                                                          Appx. 04688
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 564 of 610




                                                                             211


     1    answering, directly answering the question that Your Honor

     2    posed.

     3                THE COURT:    Okay.

     4                MR. DRAPER:    Mr. Dondero also has issue with the

     5    overbroad continuing jurisdiction of this Court.          I believe

     6    Mr. Rukavina has stated that rather succinctly, too.            Merely

     7    ruling upon whatever claim is colorable or not certainly has

     8    definite impacts.    If this Court has jurisdiction to do that

     9    when it otherwise wouldn't have jurisdiction, it enacts an

    10    expansion, a potentially impermissible expansion of this

    11    Court's jurisdiction.      And for that reason, the plan should --

    12    confirmation should be denied.

    13         Getting into the particulars of 1129, Your Honor, there is

    14    problems under 1129(a)(2).        Those are the solicitation

    15    problems.    Let's just kind of look at what the evidence

    16    showed.   On November 28th, there was a disclosure statement,

    17    it was published to all creditors, and it said, under this

    18    plan, you're going to get 87 cents.        It wasn't a range.     Now,

    19    there was some assumptions that went in there, but they said,

    20    under a liquidation of all these assets, you're going to get

    21    62 cents.

    22         The Debtors came back approximately two months later, on

    23    January 28th, and said, oh, wait, we missed the boat here, and

    24    actually, under the plan, you're going to get 61 cents.           And

    25    under a liquidation, though, you'd only get 48.




                                                                           Appx. 04689
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 565 of 610




                                                                             212


      1        Well, the problem is, already, two months later, they've

      2   already told you they missed the boat on what the liquidation

      3   analysis was just two months ago.        And two months ago, they

      4   told you under a liquidation you'd get 62 cents, and now we're

      5   telling you you're going to get less.        That's at least some

      6   very good evidence that the best interests of the creditors

      7   isn't being met, and potentially a liquidation is much better.

      8        They then came back, potentially maybe realizing that

      9   problem, also because some new information came in with the

     10   employees, and also with UBS, which adjusted the overall

     11   general unsecured claims pool, and said, well, under the plan

     12   you're going to get 71 cents, and under a liquidation you're

     13   going to get 55 cents.

     14        In between those iterations from November to February,

     15   they found $67 million more in assets.        So Mr. Seery testified

     16   he believed some of that's as to market increases in values,

     17   and some (garbling) investment, market -- securities.           And

     18   some were just in these private equity investments.

     19        There are indeed some rollups behind all of these numbers.

     20   I do understand why they wouldn't want to make some of these

     21   numbers public, because they might not be able to get --

     22   create the upside for any particular asset class that they're

     23   seeking to monetize.

     24        However, we and others, including Mr. Draper, asked for

     25   those rollups to be provided, and we certainly could have




                                                                          Appx. 04690
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 566 of 610




                                                                              213


       1   taken those under seal or a confidentiality agreement, could

       2   have also put those before this Court under seal and the

       3   Debtor could have put those rollups before this Court under

       4   seal.   It elected not to do so.

       5        So, rather, what you have is the naked assumptions of this

       6   is what we think we can monetize the assets, or we're not

       7   going to tell you what it is, but trust me, Creditors, and

       8   cool, we found $67 million worth of value in the past two

       9   months, so therefore we're going to beat the liquidation

      10   analysis that we previously told you just two months ago.

      11        They also acknowledge that, in those two months, that

      12   there was going to be about $26 million in increased costs

      13   from their November analysis to their February analysis.           And

      14   they included that in their projections.

      15        Finally, they acknowledged, in those two months, that we

      16   had previously estimated -- and they even have it in their

      17   assumptions in November liquidation and plan analysis -- that

      18   UBS, HarbourVest, and I believe it was Acis, were all going to

      19   be valued at zero dollars, and that's what the claims were

      20   going to be.    Well, they kind of missed the boat on those, and

      21   they missed it by a lot.      They -- it increased all the claims

      22   in the pool from $195 million to $273 million, or sorry, I

      23   don't -- look at that again, but it was an increase of $95

      24   million.    I'm sorry, 190 -- the claims pool increased from

      25   $194 million to -- I'm sorry, Your Honor, I have too many




                                                                          Appx. 04691
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25    Page 567 of 610




                                                                                214


       1   papers in front of me -- on November, the claims pool was 176

       2   and it increased by February 1st to 273.          Therefore,

       3   approximately $95, almost $100 million worth of claims that

       4   they weren't anticipating that actually came in.

       5        That tells you about the quality of the assumptions that

       6   went into the analysis to begin with.         They missed it by 50

       7   percent on what the overall claims pool was going to be.

       8   That's significant.     It's material.

       9        There is a lot of other assumptions that could go into

      10   this document, and one of those assumptions are how much are

      11   we going to be able to monetize these assets for?              One other

      12   assumption is, well, how much is it going to cost during the

      13   two-year life of this wind-down?         Another assumption is going

      14   to be, are we actually going to be able to wind down in two

      15   years?    Because if we're not, well, guess what, all those

      16   costs are going to go up.         Another assumption is, well, how

      17   much are those fee claims going to be over the two-year

      18   period?    Again, if it goes over two years, they're going to be

      19   significantly higher.     Moreover, you might have just missed

      20   what the burn rate is.

      21        So I think it's rather telling that the assumptions made

      22   of -- all the way back of over two -- of only two months ago

      23   were off by $100 million, and therefore it skewed all of the

      24   plan-versus-liquidation analysis all over the board.

      25        That's the only evidence that the Debtor has put forth as




                                                                             Appx. 04692
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 568 of 610




                                                                              215


       1   to why it's in the best interest of the creditors.            And quite

       2   frankly, we don't believe they have met their burden.           And it

       3   is their burden to prove to Your Honor that the plan is better

       4   than what a Chapter 7 trustee will -- can do.

       5        What the evidence does show, as far as what the plan would

       6   do as compared to a hypothetical Chapter 7 trustee, is that we

       7   know for sure that the Claimant Trust base fee, just over the

       8   two years, is going to be $3.6 million.

       9        (Interruption.)

      10              MR. TAYLOR:    I'm sorry.

      11              THE COURT:    Someone needs to put their device on

      12   mute.   I don't know who that was.

      13              MR. TAYLOR:    Oh, I'm sorry.     I thought you said

      14   something, Your Honor.

      15              THE COURT:    No.

      16              MR. TAYLOR:    So what we do know is the Claimant

      17   Trustee base fee is going to be $3.6 million.         What we don't

      18   know and what was not put into evidence because they are still

      19   negotiating it is there's going to be a bonus fee on top of

      20   that that's going to be paid to Mr. Seery.         Is that $2

      21   million?    Is that $4 million?     Is that $10 million?      Well, we

      22   don't know.    We can't perform that analysis as compared to

      23   what a hypothetical Chapter 7 trustee could be.          Nor can Your

      24   Honor, based upon the evidence presented.

      25        And quite frankly, I don't see how one could ever conclude




                                                                           Appx. 04693
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 569 of 610




                                                                              216


       1   -- and there are some other unknowns that we're about to go

       2   over, including the Litigation Trust base fee and there are

       3   collection fees, contingency fees.        Those are also to be

       4   negotiated.     To be negotiated and unknown.      You can't perform

       5   the analysis.    The Debtor couldn't perform the analysis

       6   because those are to be negotiated, so you can't tell whether

       7   a Chapter -- hypothetical Chapter 7 trustee might come out

       8   better because he's not going to incur all these costs.           We

       9   know that they're going to incur D&O costs.

      10              THE COURT:    Let me interject right now.

      11              MR. TAYLOR:    Sure.

      12              THE COURT:    Again, I'm going to go back to

      13   understanding who your client is arguing for.         Okay?    Again,

      14   as we've said before, Mr. Pomerantz did not technically say no

      15   standing, but he thought it was important to point out the

      16   economic interests that our Objectors either have or don't

      17   have.   Okay?

      18        So I'm looking through my notes to see exactly what the

      19   Dondero economic interest is.       I have something written in my

      20   notes, but I'm going to let you tell me.         Tell me what his

      21   economic interests are with regard to this Debtor, this

      22   reorganization.

      23              MR. TAYLOR:    Your Honor, I believe he has been placed

      24   into Class 9, Subordinated Claims.        So to the extent that

      25   there is recovery available to Class 9, he can recover on




                                                                          Appx. 04694
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 570 of 610




                                                                              217


       1   those claims.

       2              THE COURT:    But what proof of claim --

       3              MR. TAYLOR:    We also have --

       4              THE COURT:    What proof of claim does he have pending

       5   at this juncture?

       6              MR. TAYLOR:    Your Honor, I would have to go back and

       7   look.   I don't have the proofs of claim register in front of

       8   me.   And I'm sorry, if I tried to speculate, I would be doing

       9   a disservice to my client and this Court by trying to

      10   speculate.    I did not prepare those proofs of claim.         People

      11   in my firm did.     But I would be merely speculating if I tried

      12   to give you an answer off the spot.        And I apologize.     I'm

      13   happy to submit a post-confirmation hearing letter --

      14              THE COURT:    No, no, no.

      15              MR. TAYLOR:    -- as to that.

      16              THE COURT:    I'm not going to allow one more piece of

      17   paper in connection with confirmation.        I thought you would be

      18   able to answer that.

      19              MR. TAYLOR:    I'm sorry.    I just don't want to lie to

      20   Your Honor.

      21              THE COURT:    What about his -- what would be an

      22   indirect equity interest?

      23              MR. TAYLOR:    Well, again, there are a lot of people

      24   that know this org chart a lot better than me.          This is me

      25   going on hearsay myself.      But I understand he also owns a lot




                                                                          Appx. 04695
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25    Page 571 of 610




                                                                                218


       1   of indirect interests in subsidiaries, some of which are

       2   majority, some of which are minority, and some of which he

       3   owns maybe directly, some of which through other entities.             So

       4   the way in which these assets could be monetized at the sub-

       5   debtor level could certainly impact his economic rights and

       6   could impact him greatly.         For instance, if the --

       7              THE COURT:    I really wanted an exact answer.

       8              MR. TAYLOR:    Mr. Seery --

       9              THE COURT:    I really wanted an exact answer, not just

      10   he has an indirect interest in, you know, some of the 2,000 --

      11   I'm not going to say tentacles, but --

      12        I'm going to interrupt briefly, because I really want to

      13   nail down the answer as best I can.         Mr. Pomerantz, can you

      14   just remind me of what your answer was or statement was

      15   regarding Mr. Dondero, individually, his economic stake in all

      16   this?

      17              MR. POMERANTZ:    He has an indemnification claim

      18   that's been objected to, --

      19              THE COURT:    That's the one and only --

      20              MR. POMERANTZ:    -- although it's not before --

      21              THE COURT:    That's the one and only pending proof of

      22   claim, right?

      23              MR. POMERANTZ:    That's my understanding.          And while

      24   it's not before the Court, we could all imagine whether Mr.

      25   Dondero's going to be entitled to indemnification.




                                                                            Appx. 04696
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 572 of 610




                                                                              219


       1        He has an interest in Strand, which is the general

       2   partner.

       3              THE COURT:    Right.

       4              MR. POMERANTZ:    And Strand owns a quarter-percent --

       5   a quarter of one percent of the equity.        I believe that is all

       6   of Mr. Dondero's economic interest in the Debtor.

       7              THE COURT:    Okay.    So, again, I'm just trying to, you

       8   know, understand who he's looking out for, for lack of a

       9   better way of saying it, Mr. Taylor, in making these

      10   arguments.

      11              MR. TAYLOR:    So, there
                                         there is
                                               is also,
                                                  also, and this
                                                            this is
                                                                 is -- I'm
                                                                       I'm

      12   not involved in what are these going to be filed collection

      13   suits, or some of which have been filed, some of which have
           suits,

      14   not been filed, none of which I believe the answer date has

      15   been -- has passed or come to be yet.
           been

      16            he is also
                But he    also a defendant
                                 defendant in
                                           in collection
                                              collection suits on
                                                               on these
                                                                  these

      17             you are undoubtedly
           notes, as you     undoubtedly aware.

      18              THE COURT:    Okay.    He's a defendant in adversary

      19   proceedings.    Okay?    That makes him a party in interest to --

      20   well, I keep -- that makes him have standing to make an

      21   1129(a)(7) argument?     That's why I'm going down this trail.

      22   Because you've spent the last five minutes talking about, you

      23   know, creditors could do better in a Chapter 7 liquidation.

      24   I'm not sure he has standing to make that argument, so I'm

      25   wanting you to address that squarely.




                                                                          Appx. 04697
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 573 of 610




                                                                              220


       1              MR. TAYLOR:    Your Honor, I believe he has economic

       2   interests up and down the capital structure.         And I cannot

       3   describe to you, without wildly speculating and potentially

       4   lying to this Court, which I'm not going to do, without some

       5   time to have looked at that, because I was -- I was not

       6   involved in the proofs of claim and I am not his accountant.

       7   So I could not do that without wildly speculating, so I just

       8   -- I would like to more directly answer your question, Your

       9   Honor.   I am not trying to avoid the question.         But I can't

      10   honestly answer your question with true facts as we sit here

      11   right now.

      12              THE COURT:    All right.    But do you agree or disagree

      13   with me that only parties -- the only parties that really can

      14   make an 1129(a)(7) argument are holders of claims or interests

      15   in impaired classes?

      16              MR. TAYLOR:    Your Honor, I believe that Mr. Dondero

      17   has standing to do so by virtue of claims for indemnification

      18   --

      19              THE COURT:    Okay.

      20              MR. TAYLOR:    -- if these -- if these -- if this

      21   Debtor (indecipherable) able to meet its obligations to

      22   indemnify him.     And some of those are significant claims that

      23   are being brought against him that could total millions, if

      24   not tens of millions of dollars, just in defense costs alone,

      25   that I do believe give some standing.




                                                                          Appx. 04698
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 574 of 610




                                                                                221


       1               THE COURT:    Okay.   So, assuming you're right, you

       2   think the evidence does not show this is better than a Chapter

       3   7 liquidation where we would have a stranger trustee come in

       4   and just, yeah, I guess, cold-turkey liquidate it all.

       5               MR. TAYLOR:    Your Honor, I do believe that the

       6   evidence shows that the Debtor hasn't met its burden as to

       7   this.   A Chapter 7 trustee doesn't necessarily have to

       8   liquidate immediately.      It can run these -- these assets.          I

       9   mean, Mr. Seery is going to do it with ten people.            At one

      10   time, just two months ago, he said he was going to do it with

      11   three people.    A Chapter 7 trustee could certainly have a

      12   limited runway, or even an extended runway, if it so asked for

      13   it, to liquate these Debtors.

      14        Moreover, there would be at least the requirements that

      15   the Chapter 7 trustee would request the sale, tell creditors

      16   about it.    And, as many courts have said, the competitive

      17   bidding process is the best way to make sure that you ensure

      18   the highest and best offer that you can get.

      19        Mr. Seery has not committed to providing notice of sales

      20   to creditors and other parties in interest, potentially

      21   bringing them in as bidders.       They -- he could name a stalking

      22   horse, but he has not indicated any desire to do so.            A

      23   Chapter 7 trustee would endeavor to do so.

      24        So I do believe that there are some advantages.           And

      25   you've heard no testimony that they've performed any analysis




                                                                           Appx. 04699
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 575 of 610




                                                                              222


       1   or conducted any interviews with any Chapter 7 trustees as to

       2   whether or not this was possible or not.         They just made the

       3   naked assumption that they would do work based upon what they

       4   said was their experience.        And Mr. Seery's deposition, when

       5   it was taken and noticed as a 30(b)(6) deposition, and I

       6   believe it has been entered into evidence here, he said the

       7   last time he dealt with a Chapter 7 trustee was 11 or 13 years

       8   ago, and it was the Lehman case, and that was the -- a SIPC

       9   trustee.    So --

      10               THE COURT:    Well, --

      11               MR. TAYLOR:    -- that's the last time he had any

      12   experience with it.

      13               THE COURT:    -- again, I don't mean to belabor this

      14   point, just like I didn't mean to belabor a few others.           But,

      15   you know, there is a mechanism, yes, in Chapter 7, Section

      16   704, for a trustee to seek court authority to operate a

      17   business.    But it's not a statute that contemplates long-term

      18   operation.    Okay?   It's just, oh, we've got a little bit of --

      19   you know, we have some assets here that really require a

      20   short-term operation here.

      21        If it's long-term, then you convert to Chapter 11.           Okay?

      22   It's just a temporary tool, Section 704.         Right?   Would you

      23   agree with me?

      24               MR. TAYLOR:    That's typically how it has been used.

      25               THE COURT:    Okay.




                                                                          Appx. 04700
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 576 of 610




                                                                              223


       1              MR. TAYLOR:    But that's not to say that it's limited

       2   in time by the statute itself.       It doesn't say that it can't

       3   go for one year or two years.       That can be a short wind-down

       4   period.

       5              THE COURT:    But hasn't your client's argument been

       6   this past several weeks that Mr. Seery is moving too fast,

       7   he's wanting to sell things and he needs to hold them longer?

       8   I mean, these two argument seem inconsistent to me.

       9              MR. TAYLOR:    So, just because a Chapter 7 trustee has

      10   been appointed doesn't mean that he has to sell them any

      11   faster than Mr. Seery.

      12        I think what the -- the problem with the process that has

      13   been going on with Mr. Seery, my client's problem with it, is

      14   not necessarily the timing but the process that Mr. Seery is

      15   going through with these sales.       Provide notice, allow more

      16   bidders to come in, make sure that he's getting the highest

      17   and best price.     And if that happens to be Mr. Dondero who

      18   offers the highest and best price, great.         And if Mr. Dondero

      19   gets outbid by somebody, well, that's all the more better for

      20   the estate.

      21              THE COURT:    Okay.    Continue your argument.

      22              MR. TAYLOR:    I believe we covered a lot of it, Your

      23   Honor, and the plan
           Honor,         plan analysis
                               analysis is
                                        is all based upon
                                                     upon their
                                                          their

      24   assumptions that there's
           assumptions      there's $257 million worth of value.           Again,

      25   there's no rollup
           there's    rollup provided
                             provided as to how that asset allocation
                                                           allocation is
                                                                      is




                                                                          Appx. 04701
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 577 of 610




                                                                              224


       1   broken out, but they consist of a couple of items.
           broken

       2          First,
                  First, there's
                         there's the
                                 the notes;
                                     notes; and second,
                                                second, there's the assets.
                                                                    assets.

       3   The           either
           The notes are e      long-term
                          ither long-term or demand notes.          Those long-

       4   term            Seery
           term notes, Mr. Seery will
                                 will tell you
                                           you some have      validly
                                                    have been validly

       5   accelerated
           accelerated and
                       and therefore
                           therefore are
                                     are now due and payable.            I think

       6   there's
           there's arguments to the contrary.        But those long-te
                                                               long-term notes
                                                                      rm notes

       7   probably have
           probably have some both
                              both time
                                   time value of mone
                                                 moneyy and collection
                                                            collection

       8   costs.    And then, of course, you have to discount them by

       9   collectability issues, too.

      10            don't believe
                  I don't believe any
                                  any analysis
                                      analysis went into
                                                    into it,
                                                         it, or at least the

      11   Court w
           Court  as n
                 was  ot p
                     not  rovided an
                         provided anyy data or analysis as to what
                                               analysis

      12   discounts were applied to those notes.        And, therefore, I

      13   don't th
           don't    ink that th
                 think         is Court can make an
                             this                  y determination
                                                 any determination that

      14   the best interests
           the      interests of
                              of the
                                 the creditors
                                     creditors have
                                               have been
                                                    been met.
                                                         met.

      15          As far as the assets that are to be monetized, again,

      16   there's two sub-buckets of those assets.         There's securities

      17   that are to be sold.     Some of those are semi-public securities

      18   that have markets.     Those are somewhat more readily

      19   ascertained.    The others are holdings in private equity

      20   companies, and sometimes holdings in companies that own other

      21   companies.

      22          There's no evidence of the value -- empirical evidence of

      23   the value of those companies, nor of the assumptions that went

      24   into as to when they should be sold, how much they'd be sold

      25   for.




                                                                           Appx. 04702
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 578 of 610




                                                                              225


       1        Again, I do realize the sensitive nature of such

       2   information, but that could have been placed under seal.              And

       3   without that information, I don't believe that the Court can

       4   conduct the due diligence it's necessary to say the best

       5   interest of the creditors have been met.

       6        To sum up, Your Honor -- oh, I'm sorry.         One other point

       7   that I did want to talk about before I summed up is, you know,

       8   Mr. Pomerantz and I were listening to a different record or I

       9   was totally confused as to the testimony that was put forth

      10   regarding the directors and officers.        I believe the testimony

      11   in the record is extremely clear that the Debtor made no

      12   effort to go out and find out if it could obtain directors and

      13   officers insurance without a gatekeeping injunction or a

      14   channeling injunction, whatever you want to call it.           I

      15   believe that his testimony was extremely clear.          He didn't

      16   shop it.    He doesn't know.      And that's what the record is

      17   before this Court.

      18        To the extent that the Debtor wants to rely upon we can't

      19   get Debtor -- or, directors and officers insurance because

      20   without this gatekeeping function we just can't get it, I

      21   believe the record just wholly does not support that.           The

      22   testimony was at least extremely clear, as how I heard it.

      23   Your Honor will have to review the record herself, but I don't

      24   believe that there was much argument about it.

      25        I'm sure -- as I stated in the beginning, Your Honor, this




                                                                          Appx. 04703
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 579 of 610




                                                                              226


       1   is a court of equity.     It could deny confirmation, as I

       2   believe Your Honor should, based upon the flaws in the plan.

       3        If Your Honor finds that the plan as written is

       4   impermissible because of any of the exculpation or the

       5   gatekeeping functions that they're asking, the testimony is

       6   equally clear that the independent directors would not serve

       7   in -- as officers of the Reorganized Debtor.         Any plan that is

       8   put forth by the Debtor has to tell the people who are going

       9   to be officers going forward.       And with that naked testimony

      10   before the Court, that it's simply not feasible, and I don't

      11   think it is one of the possible -- where the Court can come

      12   back and say, well, I can't confirm this plan as written, but

      13   if you change it and rewrite it to get rid of the certain

      14   offensive parts of the exculpation or the gatekeeping

      15   functions, then we can confirm this plan.         And I think the

      16   evidence before this Court is it's not feasible because none

      17   of the directors will serve in that capacity, and therefore

      18   this plan should be dead on arrival if Your Honor agrees the

      19   proposed provisions do not meet Pacific Lumber.

      20        We would ask the Court to deny confirmation, but in the

      21   alternative, to at least take this under advisement.           Give us

      22   a time frame -- we'd ask for 30 days -- but give us a time

      23   frame of when the Court is going to rule, to allow the

      24   positive conversations to move forward.

      25        To that end, Your Honor, there is, indeed, a hearing on




                                                                          Appx. 04704
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 580 of 610




                                                                              227


       1   the extension of a temporary injunction and contempt that is

       2   scheduled for Friday.     I understand that the parties, at least

       3   the joint parties, will not -- will agree to, I'm sorry, will

       4   agree to the extension of the temporary injunction until such

       5   time as the Court can rule on confirmation.         I do see that

       6   there could be a lot of harm done at the Friday hearing.           We

       7   would ask that the Court additionally continue that hearing on

       8   that motion and on the injunction, and contempt, until such

       9   time as confirmation has been ruled upon.        It will be both

      10   efficient and allow discussions to continue regarding

      11   potential global resolution.

      12          And so that is the end of my argument, Your Honor.

      13               THE COURT:   All right.    Thank you.   All right.    Mr.

      14   Pomerantz, do you have any rebuttal?

      15            REBUTTAL CLOSING ARGUMENT ON BEHALF OF THE DEBTOR

      16               MR. POMERANTZ:   Yes, I do, Your Honor.      I want to

      17   address a couple of comments that Mr. Taylor made towards the

      18   end.    First of all -- and, actually, the beginning.

      19          We think Your Honor should rule on confirmation.        Ruling

      20   on confirmation and having an entered confirmation order are

      21   two separate things.     We understand that a new offer was made.

      22   Whether that's acceptable to the Committee -- I actually think

      23   it will enhance the ability of the parties to see if they

      24   could reach a deal if there's (audio gap) that Your Honor is

      25   going to confirm the plan.




                                                                          Appx. 04705
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 581 of 610




                                                                               228


       1        Again, doesn't mean a confirmation order has to be

       2   entered, but I think, based upon my personal experience in

       3   negotiating with Mr. Dondero, that your clear communication to

       4   the parties that, unless something happens, you will enter a

       5   confirmation order, I think will change things.          Okay?

       6   Without getting into settlement discussions, things have

       7   changed over the last several days, and we wish you would have

       8   -- wish things would have happened sooner.         But we totally

       9   disagree that Your Honor should hold your ruling for 30 days

      10   or any other period of time.

      11        Part of the reason I think they are making that argument

      12   is because they have an examiner motion and they recognize

      13   that, upon confirmation, the examiner motion is moot.            So I

      14   think there's strategic reasons as well.

      15        We don't think there should be a continuance of the TRO

      16   hearing and of the contempt hearing.        As Your Honor recalls,

      17   the contempt motion was specifically set for this time to give

      18   Mr. Dondero enough time to prepare.        Your Honor was sensitive

      19   to his due process concerns.       We set the TRO, the preliminary

      20   injunction hearing against the Advisors and the Funds, we set

      21   that, again, knowing that it would be after confirmation.

      22        So we do not agree that either should be continued.

      23   Again, we think the more direct, unequivocal answers Your

      24   Honor can give to the parties, the better off we'll be.

      25        I guess -- Mr. Taylor and I do agree that the record was




                                                                            Appx. 04706
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 582 of 610




                                                                                 229


       1   clear.   I guess we just disagree on the clarity of it.           I

       2   heard Mr. Tauber testify that when he went out to people, to

       3   insurance carriers, after he and Aon were engaged, they all

       4   talked about a Dondero exclusion.        Okay?    They weren't

       5   convinced into a gatekeeper provision because it was provided

       6   as part of the normal materials you would provide in a

       7   bankruptcy court and trying to get D&O liability in the

       8   context of a bankruptcy case.       Mr. Tauber's testimony was

       9   pretty clear, that carriers wanted to have a Dondero

      10   exclusion.    And, in fact, the only reason we were able to get

      11   any coverage was because of the gatekeeper.

      12        So, yes, the record was clear.       We just disagree.

      13        I'd like to go back to Mr. Draper's comments going -- and

      14   a couple of things, obviously, overlap.          I guess one of the

      15   things here, it's great that everyone is coming in here as

      16   different interests and different parties or whatnot.            But as

      17   I mentioned, Your Honor, at the outset, and I've repeated a

      18   few times, these are all -- the only people we have not been

      19   able to resolve issues with are the Dondero parties and the

      20   related parties.     And I recall the tentacles.       Mr. Davor

      21   questioned that.     Mr. Clemente, his comments.       But the fact of

      22   the matter is, Your Honor, Your Honor has heard testimony.

      23   Your Honor has had hearings.       Mr. Rukavina represents the

      24   Advisors and the Funds.      Your Honor has never seen the

      25   independent board member testify in this case to demonstrate




                                                                            Appx. 04707
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 583 of 610




                                                                              230


       1   how these entities are really different.         So while Mr.

       2   Rukavina does -- you know, tries his best, and I think he has

       3   limited stuff to work with, but I give him credit for doing

       4   the best he can, these are all Dondero-related entities and

       5   Your Honor has seen that.

       6        So, Your Honor, going to the resolicitation argument, it

       7   actually has taken up a lot more time than the argument is

       8   worth, for one very simple reason.        As I said in my argument,

       9   and as Mr. Taylor and Mr. Draper totally ignored, there were

      10   17 creditors who voted yes, 17 creditors who were apparently

      11   misled, that Mr. Draper is looking out for the little guy and

      12   Mr. Taylor is fumbling over his reason for why that's

      13   important to Dondero.     And of those 17 creditors that voted

      14   yes, Your Honor, they were either the employees related to

      15   HarbourVest, UBS, Redeemer, or Acis, except for two.            And you

      16   know the other two?     One was Contrarian, a claim buyer, who,

      17   yeah, elected to be in Class 7, and the other was an employee

      18   with a dollar claim.

      19        So the whole argument that there should be a

      20   resolicitation is preposterous, Your Honor.         But to go to some

      21   of the specifics in what they argued, we didn't require

      22   creditors to monitor recovery.       The footnote -- as I

      23   indicated, the UBS 3018 was in the disclosure statement that

      24   went out.    It didn't make it to the projections.        It was

      25   clearly -- and they characterize it, I think Mr. Draper




                                                                           Appx. 04708
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 584 of 610




                                                                              231


       1   characterized it as buried in the document.         There is a

       2   section that every disclosure statement is required to have

       3   called Risk Factors.     This disclosure statement had that.        And

       4   in the disclosure statement, it talked about the amount of

       5   claims being a risk factor.

       6        Mr. Draper also said that the Debtor totally changed its

       7   business model from the first to the second analysis.           That is

       8   incorrect.    The Debtor was always going to manage funds.         Yes,

       9   did they add the CLOs?     But before, they were going to manage

      10   Multi-Strat, they were going to manage Restoration Capital,

      11   they were going to oversee Korea, they were going to be doing

      12   the management of the funds.       So there wasn't a big change in

      13   the business model, Your Honor.

      14        Mr. Taylor,
                Mr. Taylor, on
                            on the solicitation
                                   solicitation issue,
                                                issue, says
                                                       says we found $67
                                                                     $67

      15   million in assets.     You know, that's a disingenuous statement.

      16     think over
           I think over $20 million
                            million was found because his client
                                                      his client and
                                                                 and

      17   related entities
           related entities didn't
                            didn't make a payment
                                          payment on notes and they
                                                               they got
                                                                    got

      18   accelerated.    So while before we
                                    before we would
                                              would have
                                                    have had
                                                         had to wait
                                                                wait over
                                                                     over

      19   time if
           time if they were paid,
                   they      paid, it's
                                   it's not surprising that Mr. Dondero
                                            surprising

      20   and his related ent
           and                ities just
                           entities just failed to bas
                                         failed       ically pay
                                                   basically pay the
                                                                 the

      21   notes.

      22        So that was, I think, over $20 million.        And then there

      23   was the HCLOF asset.     That was acquired in the HarbourVest

      24   settlement.    And then there was basically an increase in some

      25   value to some assets.




                                                                          Appx. 04709
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 585 of 610




                                                                               232


       1        So there wasn't anything mysterious here.         There wasn't

       2   anything that the Debtor was trying to hide.         There weren't

       3   any found assets.     It was based upon different circumstances.

       4        Mr. Taylor complains about the lack of rollup of assets,

       5   the lack of evidence on the best interests of creditors test.

       6   Your Honor, you've had extensive testimony from Mr. Seery

       7   about what would happen in a Chapter 7 and what would happen

       8   in a Chapter 11.     And you know why we didn't provide the

       9   information to Mr. Taylor and his client on what the rollup of

      10   the assets would be, and do you know why he wants them?             He

      11   wants to know what the assets are so he can try to bid.

      12        And there also was the allegation that the failure to

      13   allow them to bid means we're going to get less in a Chapter

      14   11 than a 7.    Two comments to that, Your Honor.        Number one,

      15   if that was the case, a debtor would never be able to satisfy

      16   the best interests of creditors test.        If the existence of a

      17   public process de facto meant you would get more value than

      18   outside, you would never be able to satisfy that.             And, quite

      19   honestly, that's just not the law, Your Honor.

      20        You have an Oversight Committee with over $200 million of

      21   creditors who are going to watch Mr. Seery like a hawk, like

      22   they have watched him during the case.        And the concern that

      23   somehow, because these assets are not put into full view to

      24   sell, that they will get less value, it's just not -- it's not

      25   supported by the evidence at all, Your Honor.         And Mr. Seery




                                                                            Appx. 04710
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 586 of 610




                                                                               233


       1   will make the determination.       If it makes sense to notice up

       2   and provide Mr. Dondero with notice, he will.         If he doesn't,

       3   he won't.

       4        Your Honor, going -- oh, and then the last comment on the

       5   -- that I'll make on the resolicitation and the liquidation

       6   analysis is Mr. Taylor chides us and we've been criticized for

       7   not disclosing more about the HarbourVest and the UBS

       8   settlements and that we were off substantially.          Your Honor,

       9   you've heard testimony that we were in pending litigation with

      10   HarbourVest and UBS at the time.        What kind of litigant would

      11   we be if we came in and said, you know, Your Honor, you know,

      12   Creditors, we think the UBS claim is going to be allowed at

      13   $60 million and we think the HarbourVest claim is going to be

      14   allowed at $30 million?      Would that really have benefited

      15   creditors and this estate, to basically, after we took the

      16   position, hard negotiations and hard pleadings that we

      17   prepared, and in some cases filed, that we didn't have any

      18   liability?    It would have made no sense, and it would have

      19   been a dereliction of our duty to actually come out and say

      20   what the claims -- the claims were, or what we thought they

      21   could be settled for.

      22        Your Honor, going back to Mr. Draper's comments.          He

      23   started with the exculpation.       First he made a comment that I

      24   don't think he intended what he said, but he said that the

      25   exculpation order, the January 9th order, cuts off when the




                                                                          Appx. 04711
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 587 of 610




                                                                               234


       1   independent directors go away.        I think what he meant to say

       2   is that since the three people are not going to be independent

       3   directors anymore, that basically any actions going forward by

       4   any of those three are not covered.         But let's be clear.        The

       5   January 9th order is in effect, and if at some point in the

       6   future somebody has a claim against those three gentleman, or

       7   their agents, for what they did as independent directors or

       8   their agents, that order will apply.

       9        Your Honor, we next had a discussion, or Mr. Draper and

      10   you had a discussion on professionals.         I'm aware of the Fifth

      11   Circuit law that says res judicata, fee applications.            I think

      12   that only applies to claims that the Debtor and estate would

      13   have.   It doesn't really apply to an exculpation.         But there's

      14   Texas state law that I identified in our brief and we cited to

      15   that limits third parties' ability to go after professionals.

      16        But the bottom line is the Fifth Circuit, in Pacific

      17   Lumber, didn't deal with professionals.         Your Honor was

      18   correct in pushing both Mr. Taylor and Mr. Rukavina.            What

      19   really that was was a policy case.        And professionals have

      20   nothing to do with 524(e).        So the Palco and the Pacific

      21   Lumber reference and explanation of 524(e) doesn't have

      22   anything to do with professionals.        And we would submit, Your

      23   Honor, that an exculpation, especially in a case like this, is

      24   important for professionals.

      25        I understand Your Honor's comments that maybe it's much




                                                                           Appx. 04712
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 588 of 610




                                                                               235


       1   ado about nothing, but I'm not really sure it's much ado about

       2   nothing when we have Mr. Dondero and his affiliates who,

       3   notwithstanding their efforts to just claim that all they are

       4   doing is trying to get a fair shake, Your Honor knows better.

       5   Your Honor knows better from the years you've been litigating

       6   with them, and we know better and the Debtor knows better from

       7   what the independent directors have been dealing with.

       8               THE COURT:   Let me ask you this, though.         I came into

       9   the hearing with the impression we were just talking about

      10   postpetition pre-confirmation, or pre-effective date maybe I

      11   should say, was the expanse of time covered by exculpation.

      12   And Mr. Rukavina said no, no, no, go back, look at, I don't

      13   know, Subsection 4 of something.        It is a post-confirmation

      14   concept.    What is your response to that?

      15               MR. POMERANTZ:   I believe it's implementation.         And,

      16   again, --

      17               THE COURT:   Implementation?     Yes.

      18               MR. POMERANTZ:   -- I think Mr. Rukavina -- right.          I

      19   think Mr. Rukavina and Mr. Taylor and Mr. Draper have done a

      20   great job trying to muddy the issues.        They talk about our

      21   sleight of hand and how we're trying to do things that are way

      22   beyond the bankruptcy court's jurisdiction.         We are not.     I

      23   think they are trying -- what they have done throughout the

      24   case is throw up enough mud.        And here's, here's the answer to

      25   that question, Your Honor.        Implementation.   Okay?     We know




                                                                           Appx. 04713
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 589 of 610




                                                                              236


       1   what implementation means.        The plan says implementation is

       2   cancelation of the equity interests, creation of new general

       3   partners, restatement of the limited partners, establishment

       4   of the Claimant Trust and Litigation Sub-Trust.          That's the

       5   implementation.

       6          We are not trying to get exculpation for post-confirmation

       7   activity.    Actually, my partner, Mr. Kharasch, in specifically

       8   addressing Mr. Rukavina's concern, said, look, if you have a

       9   problem with cause, if you have a problem, want to exercise

      10   your rights, we're only asking you to come back to the Court.

      11   We are not stopping you.

      12          So the whole argument that the exculpation is really broad

      13   and is not really -- does not really cover just the plan, the

      14   approved plan, I think is a red herring.         Implementation is

      15   implementation in the context of the plan.

      16          And also Mr. Rukavina tries to argue that, well, it's

      17   administration, it's not really you acting any operation of

      18   business.    I just don't think there's any support in the case

      19   law.    Your Honor has overseen this case, overseen this

      20   Debtor's activities, overseen the independent directors'

      21   activities, overseen Strand's activities, overseen the

      22   employees' activities.     And those activities have been

      23   (indecipherable) administration of the case.         And his attempt

      24   to create a different category for, well, it's not

      25   administration, it's operation and so it doesn't apply, I just




                                                                          Appx. 04714
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 590 of 610




                                                                              237


       1   think is wrong.

       2         Your Honor made a couple of comments about what was

       3   Pacific Lumber doing.     It was a policy decision.      If there was

       4   a bright-line rule, then nobody would be entitled to

       5   exculpation.    The very fact that the Fifth Circuit said that

       6   Committee members are different made -- makes it clear it was

       7   -- it was policy.

       8         And Mr. Taylor's comments that, well, their creation of

       9   statute, Chapter 11 trustees and Committee members, that's not

      10   what basically the case said.       If you look at the citation to

      11   touters in the case, it was we want people to volunteer and

      12   who are needed for the process.       Committee members are needed

      13   for the process.    We don't want to discourage them from coming

      14   in.   And the only testimony you have on the independent

      15   directors is from Mr. Dubel, and he testified the importance

      16   of independent directors to modern-day Chapter 11 practice,

      17   the importance of exculpation, indemnification, and D&O

      18   insurance.    And his testimony:     uncontroverted.    The Objectors

      19   could have brought in someone to say something different, but

      20   the only testimony before Your Honor is, if Your Honor does

      21   not approve exculpations in cases like this, you will not get

      22   independent directors and it will have an adverse effect on

      23   the Chapter 11 process.

      24         So, while I appreciate all the Objectors trying to say

      25   bright line, trying to say Pacific Lumber, that is the gut




                                                                          Appx. 04715
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 591 of 610




                                                                              238


       1   reaction, right?     That's -- it's easy to say.      But Your Honor

       2   will know better, from reading the cases, that's not what

       3   Pacific Lumber says.     And for the several reasons I gave, it's

       4   the reason why Pacific Lumber does not govern the decision in

       5   this case.

       6        Your Honor, Mr. Draper then started to talk about Craig.

       7   And everyone cites Craig as this, you know, limiting

       8   jurisdiction.    Now, we acknowledge that Craig and the Fifth

       9   Circuit has a more limited post-confirmation jurisdiction

      10   approach than the other Circuits, but it's not nonexistent.

      11   And just because the Debtor is going out post-confirmation and

      12   acting does not mean that the conduct that they are engaging

      13   in is not -- and disputes that arise, doesn't come within the

      14   Court's jurisdiction.     If that was the case, and I think Your

      15   Honor recognized this, in your case it was the TXMS case,

      16   while it's limited, more limited after confirmation, and I

      17   think you even, in the case -- or, in one case of yours, said

      18   that even after the case is closed there could be

      19   jurisdiction.    So their just trying to argue Craig is just --

      20   is just too much.

      21        Going out of the gatekeeper, Mr. Draper tried to say we

      22   are Barton, and that's it, and Barton has its limitations, et

      23   cetera.    First of all, with respect to Barton, it is not

      24   limited and doesn't include debtors-in-possession.            We have

      25   cited cases in our materials where it has been applied to




                                                                           Appx. 04716
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 592 of 610




                                                                              239


       1   debtors-in-possession.

       2        So, you know, look, maybe this is a provision -- this is a

       3   proposition like many in bankruptcy, you could find a

       4   bankruptcy court to agree with a proposition, but there's

       5   cases all over the place on that.        There's cases applying to

       6   post-confirmation.     The trend has been to expand Barton.        But

       7   the beauty of it is, Your Honor, you don't have to rely on

       8   Barton.    Barton was one of our arguments.       We gave Barton as,

       9   you know, somewhat of an analogy but somehow applying because

      10   in the -- because the independent directors were like the

      11   trustees.

      12        But we recognize it may be going farther than Barton has

      13   previously gone.     But the case law is clear, it is being

      14   extended.    But we -- I gave you several provisions of the

      15   Bankruptcy Code that authorized you to enter a gatekeeper

      16   order.    None of the Objectors objected on any of those

      17   grounds.    They didn't say the statutes that I cited.         And it

      18   wasn't only 105, I know bankruptcy practitioners love to cite

      19   105, but there were three or four others that I mentioned, and

      20   they're in our brief.     There's no case that they cited that

      21   said that there is no authority on the gatekeeper.

      22        But what was the argument that was raised?         And I think

      23   Mr. Rukavina raised it, saying, you know, look, I don't

      24   understand the argument of no jurisdiction, of jurisdiction

      25   for a gatekeeper but no jurisdiction for underlying cause of




                                                                          Appx. 04717
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 593 of 610




                                                                               240


       1   action.    Well, Mr. Rukavina should read and Your Honor should

       2   read, when you're considering the plan, the case, the Villegas

       3   case in the Fifth Circuit as it dealt with Stern.             That was

       4   particularly a case.     Does Barton -- is Barton impacted from

       5   Stern?    By Stern?   And Stern, we know, limits the bankruptcy

       6   court's jurisdiction.     But, no, the Fifth Circuit said, in

       7   that case, no.    Even though the bankruptcy court's

       8   jurisdiction is limited to hear the claim, there is nothing

       9   inconsistent with that and allowing the bankruptcy court to

      10   act as a gatekeeper.

      11        So Mr. Rukavina's argument that, well, he'll present to

      12   you that there's cause and you'll find there's no cause and

      13   then he will be without a remedy by someone that had

      14   jurisdiction, that really sounds good but it just doesn't

      15   withstand analytic scrutiny.       There is a distinction.       They

      16   are glossing over the distinction.        They don't like the

      17   distinction.

      18        And why is that distinction -- and why is it important in

      19   this case?    Again, we're not talking about garden-variety

      20   people who are just involved with a debtor and will get caught

      21   up in a bankruptcy.     We narrowly tailored the gatekeeper to

      22   enjoined parties.     Enjoined parties are the people before Your

      23   Honor, some of the people that have made the Debtor's life

      24   miserable over the last few months.

      25        We have every interest and desire, as does the Committee,




                                                                            Appx. 04718
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 594 of 610




                                                                              241


       1   to go out post-confirmation and monetize these assets.           But we

       2   see the clouds on the horizon.       We see all the pleadings that

       3   have been filed by the Objectors saying how, if there's no

       4   deal, there will be an unending amount of costs and appeals.

       5   It's, you know, the point, not too subtle.         It wasn't lost on

       6   us.

       7          Your Honor, going to Mr. Rukavina's arguments on Class 8

       8   cram down, again, it's really a hard argument to understand,

       9   but first I want to make a point.       He sort of mentioned -- and

      10   I'm not sure if he intends to preserve this on appeal, but it

      11   was not objected to and I'll ask for a ruling on it, Your

      12   Honor -- he said that there was inappropriate separate

      13   classification.    That was not raised in any of the objections.

      14   We don't think it was properly before the Court.         We

      15   understand there's a component of that in unfair

      16   discrimination in connection with a cram down, but there is no

      17   objection, there was no filed objection, to the separate

      18   classification of the deficiency claims and the Class 8

      19   unsecured claims.

      20          And if you look at the voting, you realize it wasn't done

      21   for gerrymandering, because if you put both claims together,

      22   both classes together, you would have had one class that voted

      23   yes.

      24          So I don't believe the separate classification under the

      25   1129 standards is appropriate for Your Honor to consider,




                                                                          Appx. 04719
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 595 of 610




                                                                              242


       1   other than in connection with the cram down.

       2        Now, Mr. Rukavina complains that the only way the

       3   convenience class was decided was by way of negotiation.           Your

       4   Honor, how else do provisions like that get decided?           And who

       5   was the negotiation between?       It was between the Committee.

       6   And one of the benefits of a Committee process, and I

       7   represent a lot of Committees, you put people in a Committee

       8   that have diverse interests and they can come up with an

       9   appropriate result.     And here you have that.      You had one

      10   creditor who was a convenience creditor.         You have three other

      11   creditors who would lose liquidity if convenience payments are

      12   made.

      13        Do you think that UBS, Acis and Redeemer, do you think

      14   they had a desire just to pay people off?         No.   It was part of

      15   a collaborative process.      So to say that there was no basis

      16   and no testimony on the appropriateness to have -- and how the

      17   convenience class was put together just would be wrong.

      18        And with respect to the absolute priority rule, Your

      19   Honor, again, there's a missing link here, okay?          These are

      20   contingent interests.     They are property.      No doubt they are

      21   property.    But if I did not allow those creditors or those

      22   equity to have a contingent interest, the argument would have

      23   been made that the plan violates the absolute priority rule.

      24   And I said that in my argument.       And why would it have

      25   violated the absolute priority rule?        Because there's a




                                                                          Appx. 04720
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 596 of 610




                                                                              243


       1   potential that creditors could get over a hundred cents on the

       2   dollar, plus interest.     So it's a game of gotcha, right?

       3        And why do they really care?       Mr. Dugaboy said in his --

       4   Mr. Draper said in his brief that Dugaboy cares because they

       5   may have wanted to buy the interest.        Well, I'm sure they can

       6   go to Hunter Mountain, you know, Mr. Dondero's left hand can

       7   go to his right hand, and I'm sure he'd be happy to sell the

       8   contingent interests.

       9        And with respect to the argument that Mr. Rukavina made

      10   about control, equity be in control, yeah, control is a right.

      11   No doubt.   You've got -- if you're giving control to the post-

      12   confirmation Debtor, that could be a right and implicate the

      13   absolute priority rule.     But what is the control here?        Equity

      14   is not given any rights.     Your Honor heard how the post-

      15   confirmation entity is structured.       It's going to be Mr.

      16   Seery, overseen by an Oversight Board.        So I really don't

      17   understand the concept of control.       There just is no violation

      18   of the absolute priority rule.

      19        Your Honor, Mr. Rukavina then took us to task for 2000 --

      20   or, for not filing the 2015.3 statement.        And if you take his

      21   argument to the logical conclusion -- well, we didn't file it,

      22   we didn't comply with that Rule, so we're not in compliance

      23   with the Bankruptcy Code, so we can never basically get our

      24   plan confirmed, right, because it's a violation and we didn't

      25   file and seek an extension.




                                                                          Appx. 04721
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 597 of 610




                                                                                 244


       1        That's just a preposterous argument, Your Honor.           Mr.

       2   Seery poignantly told the Court, in the rush of things that

       3   were going on, it wasn't filed.        Did Mr. Rukavina, before

       4   yesterday, having Mr. Dubel on the stand, did he ever ask

       5   where is our 2015.3 report?        He probably didn't ask it because

       6   the answer -- when I told him the reason why it wasn't filed

       7   before January 9 was because I don't think Mr. Dondero wanted

       8   it filed, and I think that's why, as Mr. Seery testified, we

       9   were having a challenging time getting that information from

      10   the in-house -- in-house.

      11        But, yes, should it have been filed?         Yes.   But if that is

      12   all they could point to through the course of the case that

      13   Mr. Seery or Mr. -- or the rest of the board did wrong, you

      14   know, I think that just demonstrates they did a fine job.

      15              THE COURT:    All right.

      16              MR. POMERANTZ:    Your Honor?

      17              THE COURT:    You've got four minutes left.

      18              MR. POMERANTZ:    Oh.     Okay.   Your Honor, going to Mr.

      19   Rukavina and the Strand argument that it's a nondebtor entity,

      20   as I explained in my argument, the Strand -- Strand needs to

      21   get exculpation or else that's a backdoor way to the Debtor.

      22   Forget about the independent directors, it's a backdoor way to

      23   the Debtor.    Because Mr. Dondero will be in control.          If

      24   Strand is sued for post-January 9th activities, he will assert

      25   an administrative claim.      And one thing from Pacific Lumber is




                                                                           Appx. 04722
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 598 of 610




                                                                                  245


       1   clear, the Debtor is entitled to an exculpation as part of the

       2   injunction and the -- and the discharge.

       3        Your Honor, Mr. Kharasch adequately addressed Mr.

       4   Rukavina's comments with the gatekeeper and the gatekeeper

       5   problem.    We are not seeking to stop his clients, however

       6   related they may be, from exercising their rights.             We are

       7   seeking a process that will not embroil the Debtor in

       8   litigation going forward.         There is no problem with Your Honor

       9   acting as the gatekeeper to do so.         And to the extent that

      10   they are bound by the January 9th order is not really an issue

      11   for today.    That'll be an issue at the temporary -- the

      12   temporary -- at the preliminary injunction hearing.

      13        I -- just one minute, Your Honor.

      14        (Pause.)

      15              MR. POMERANTZ:    Your Honor, I think I covered a lot.

      16   If there's anything that any of the Objectors have mentioned

      17   that I failed to respond to, I'd be happy to answer questions

      18   Your Honor has.

      19              THE COURT:    All right.     I guess there's, what, about

      20   two minutes left, if Mr. Clemente had anything.

      21        Mr. Clemente, have you drifted off?         I doubt it.     But

      22   anything else from you, Mr. Clemente?

      23              MR. TAYLOR:    Your Honor, I show him talking -- this

      24   is Clay Taylor -- but no one's hearing him.

      25              THE COURT:    Okay.     Mr. Clemente, we are not hearing




                                                                            Appx. 04723
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 599 of 610




                                                                               246


       1   you, or I'm not seeing you.       Make sure you're not on mute.

       2               THE CLERK:   He's not on mute, Judge.

       3               THE COURT:   He's not on mute?    So we must have a

       4   bandwidth issue or something else.

       5        All right.   Mr. Clemente, still not hearing or seeing you.

       6   We'll give him another 30 seconds.

       7               THE CLERK:   He's coming up.

       8               THE COURT:   He's coming up?    Ah, I see his name now.

       9               MR. CLEMENTE:   Your Honor, can you hear me?

     10                THE COURT:   I can hear you now.

     11                MR. CLEMENTE:   Okay, Your Honor.       I don't know what

     12    happened.    I just switched another camera, so you may not be

     13    able to see me, but can you hear me?       I'll be very quick.

     14                THE COURT:   Okay.    I can hear you.

     15                MR. CLEMENTE:   Can you hear me?

     16                THE COURT:   Yes.

     17                MR. CLEMENTE:   Okay.   Thank you, Your Honor.

     18    CLOSING ARGUMENT ON BEHALF OF THE UNSECURED CREDITORS' COMMITTEE

     19                MR. CLEMENTE:   Two things I want to say.         First, just

     20    on Class 8, I think what's important, as my comments

     21    emphasized earlier, the structure of Class 8.          We must

     22    remember what it is.     It's really designed so that Class 8

     23    holders receive their pro rata share of what's left after

     24    prior claims are paid.      That's really what Class 8 creditors

     25    voted on.    That's what the disclosure provided.        They did not




                                                                            Appx. 04724
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 600 of 610




                                                                              247


       1   vote on receiving a specific dollar or a specific recovery

       2   percentage.

       3        And regarding the projections and estimates, Your Honor,

       4   we're talking about large litigation claims that were asserted

       5   and then settled.     And given the nature of these assets, the

       6   values fluctuate.     It's perfectly expected, Your Honor, and

       7   indeed disclosed, that there could be wide swings in the

       8   amount of claims.     That does not lead to the conclusion that

       9   the plan needs to be resolicited.

      10        And then, finally, Your Honor, again, Mr. Pomerantz

      11   adequately addressed all the points, as he did with his

      12   earlier presentation, so I'm not going to touch on them, but I

      13   did want to respond to one thing that Mr. Taylor said.           And I,

      14   of course, agree with Mr. Pomerantz.        The Committee believes

      15   there's no reason for you to delay a ruling and would in fact

      16   urge you to rule as soon as Your Honor is ready to rule.

      17   Confirmation of the plan, to the extent that there are

      18   conversations occurring, is not going to prevent those

      19   conversations from taking place, and they can continue after

      20   the plan is confirmed.      There's simply nothing inherent in

      21   Your Honor confirming the plan that would prevent those

      22   conversations from occurring or would ultimately prevent

      23   parties from pivoting to a deal on the off-chance that one

      24   should be reached.

      25        So I just wanted to emphasize, Your Honor, again, Your




                                                                          Appx. 04725
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 601 of 610




                                                                               248


       1   Honor is going to rule when Your Honor rules, but the

       2   Committee would urge you to rule, and certainly the idea that

       3   there may or may not be discussions with Mr. Dondero should

       4   not at all in any way lead you to the conclusion that you

       5   shouldn't rule or that those conversations cannot continue

       6   after plan confirmation.

       7        Thank you, Your Honor.       Unless you have questions for me.

       8   And my apologies with the technology.

       9              THE COURT:    No problem.    All right.    Here's what I'm

      10   going to do.    We can see you now, Mr. Clemente.

      11              MR. CLEMENTE:    Oh.    I'm sorry, Your Honor.     I

      12   switched to another camera again because it wasn't working.

      13   So, I apologize.

      14              THE COURT:    All right.    I am going to call you back

      15   Monday.   What day of the week will that be?         Is that -- I

      16   mean, Monday, what date, I should say.        That'll be the 8th,

      17   right?    I am going to call you back Monday, this coming

      18   Monday, February 8th, at 9:30 Central time, and I am going to

      19   give you my ruling.     It will be a detailed oral bench ruling.

      20   And I'm not going to leave you hanging on the edge of your

      21   seat over the next few days.       I will tell you I'm inclined to

      22   confirm this plan.      I think it meets all of the requirements

      23   of 1129 and 1123 and 1122.

      24        The thing that I am going to spend some time thinking

      25   about between now and Monday morning is, no surprise, the




                                                                          Appx. 04726
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 602 of 610




                                                                              249


       1   propriety of the exculpations, the propriety of the plan

       2   injunctions, the propriety of the gatekeeper provisions.           I

       3   certainly am duty-bound to go back and reread Pacific Lumber,

       4   to go back and read Thru, Inc., and to really think hard about

       5   what is happening here.

       6        So, I'm pretty much down, I think, to just those three

       7   issues here.    I'll talk to my law clerk.       He may remind me of

       8   something else that I'm not articulating right now.           But I

       9   think I'm just down to those issues.        Okay?   So it's not going

      10   to be a mystery very long.        We will come back Monday, 9:30.

      11   My courtroom deputy will post on the docket the WebEx

      12   connection instructions as usual, and we'll go from there.

      13   Now, --

      14              MR. POMERANTZ:    Your Honor?     Your Honor, this is Jeff

      15   Pomerantz.    I have a question, and it's going to sound odd

      16   coming from someone on the West Coast, but I was wondering if

      17   you could do it earlier.      And the only reason I say that is,

      18   the night before, I have to call in to see if I'm on jury duty

      19   on Monday, and it would be helpful to me -- I assume your

      20   reading the ruling would be within a half hour, 45 minutes.

      21   That if you started at 9:00, if that was possible, I could

      22   then get in a car, and if I'm actually called to jury duty, I

      23   can get there.    Of course, I don't know if I will be called,

      24   but I'd hate to miss it.

      25              THE COURT:    Okay.    Well, I don't want to make you




                                                                          Appx. 04727
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 603 of 610




                                                                               250


       1   miss jury duty.     Okay.   We will do 9:00 o'clock.

       2              MR. POMERANTZ:    Thank you, Your Honor.

       3              THE COURT:    Hopefully no one will be, you know, hung

       4   over from watching the Super Bowl.        Personally, I don't like

       5   Tom Brady, so I may be boycotting the Super Bowl.             But maybe

       6   I'll watch it.     Maybe I'll -- I'll watch it.      So we'll do it

       7   9:00 o'clock.    So 9:00 o'clock next Monday.

       8        Now, let's talk about next the currently-set hearing this

       9   Friday, February 5th, on the injunction and contempt of court

      10   motion as to Mr. Dondero and the other entities.          I want to

      11   continue that, and here is what I am struggling with.            The

      12   only day I have next week is Friday, the 12th, and I would

      13   rather not use that date because I'm pretty jam-packed Monday

      14   through Thursday, unless stuff has been settled that I haven't

      15   become aware of.     So let me ask two things.      First, when is

      16   the examiner motion set?      I'm just wondering if there's a

      17   block of time we have coming up that --

      18              MR. POMERANTZ:    I believe that's March 2nd, Your

      19   Honor, so that's not for another month.

      20              THE COURT:    Oh, that's not for another month?         All

      21   right.

      22        Traci, are you on the line?       I want to ask you --

      23              THE CLERK:    Yes, I am.

      24              THE COURT:    What about the following week?         I know

      25   Monday, the 15th, is a federal holiday, but do we have




                                                                            Appx. 04728
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25    Page 604 of 610




                                                                                251


       1   availability for -- I fear a full day is going to be needed

       2   for continuing this Friday setting.

       3              THE CLERK:    Wednesday, February 17th, is available.

       4              THE COURT:    We've got all day on Wednesday, February

       5   17th?

       6              THE CLERK:    Yes.

       7              THE COURT:    All right.     What about that?       I think I

       8   heard Mr. Rukavina, I think he's the one who threw it out

       9   there -- or maybe it was Mr. Taylor; I'm getting mixed up --

      10   the possibility that they would agree to a continuation of the

      11   preliminary injunction through -- well, I think you said

      12   through confirmation.      Until the Court enters a confirmation

      13   order.   And if I were to rule and approve confirmation Monday,

      14   then we're talking about an order that might be entered sooner

      15   than the 17th.    So, do you all have any --

      16              MR. RUKAVINA:    Your Honor?

      17              THE COURT:    -- mutually-agreeable suggestions?          If

      18   not, I'm just going to set it the 12th and I'll, you know, I'm

      19   killing myself, but I'll --

      20              MR. TAYLOR:     Your Honor?

      21              MR. RUKAVINA:    No, Your Honor.      I think Your Honor is

      22   wise to do what's she's proposing.         The agreed TRO against my

      23   clients expires on the 15th of February.

      24              THE COURT:    Uh-huh.

      25              MR. RUKAVINA:    We can easily move that back a week or




                                                                            Appx. 04729
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 605 of 610




                                                                              252


       1   a sufficient amount of time so that there's no prejudice by

       2   going on the 17th, if that would be acceptable to the Debtor,

       3   and then we can just pick a date that's sufficiently after the

       4   PI hearing so that there's protection for everyone.

       5              THE COURT:    All right.    Mr. Taylor, do you agree?

       6              MR. TAYLOR:    Yes, Your Honor.     That is acceptable to

       7   Mr. Dondero.

       8              THE COURT:    Okay.

       9              MR. TAYLOR:    We can also push it back.      Can you hear

      10   me?

      11              THE COURT:    Yes, I can.    Uh-huh.

      12              MR. TAYLOR:    Okay.

      13              THE COURT:    All right.

      14              MR. POMERANTZ:    I just want to make -- I just want to

      15   make sure Mr. Morris, John Morris, is on, since he's taking

      16   the lead in those matters.        I don't see his picture.

      17              MR. MORRIS:    I am, Jeff, and I appreciate that.          I'm

      18   available, Your Honor.      We were supposed to take the

      19   depositions of Mr. Leventon and Mr. Ellington tomorrow.           I

      20   don't know if their counsel is on the phone.         But given Your

      21   Honor's decision to adjourn the hearing from Friday, I would

      22   respectfully request at this time that counsel for those two

      23   individuals work with me to find a date next week in order to

      24   take those depositions.

      25              THE COURT:    All right.    That's --




                                                                          Appx. 04730
Case 21-03005-sgj Doc 134-7 Filed 12/18/21    Entered 12/18/21 02:10:25   Page 606 of 610




                                                                               253


       1               MS. DANDENEAU:    Debra Dandeneau from --

       2               THE COURT:    Go ahead.

       3               MS. DANDENEAU:    This is Debra Dandeneau from Baker

       4   McKenzie.    We agree, and we're happy to work with you on a

       5   rescheduled time.

       6               MR. MORRIS:    Thank you very much.

       7               THE COURT:    All right.    All right.    So, someone had

       8   filed a motion to continue Friday's hearing.          I think it was

       9   your firm, Mr. Taylor.       I already had a motion pending for a

      10   few days now.    So I'm going to direct you to upload an order,

      11   Mr. Taylor, or someone at your firm, continuing the hearing to

      12   the 17th at 9:30, with language in there that your -- the

      13   injunction is continuing at least through that date.            And,

      14   again, it's a continuance of the motion for contempt as well

      15   as the setting on the preliminary injunction.          And, of course,

      16   run that by Mr. Morris and Mr. Rukavina.

      17               MR. TAYLOR:    Sure.    Your Honor, this is -- I'm not

      18   handling the injunction hearing, or at least I don't think I

      19   am.   But just so that I'm clear, should maybe the injunction

      20   continue through the next day or something, so depending on

      21   how Your Honor rules, there's not a rush to try and get an

      22   order to you?

      23               MR. RUKAVINA:    Your Honor, I think that Mr. Morris

      24   and I can work this out.       Mr. Taylor is not involved in that

      25   adversary, that's true, but Mr. Morris and I will be able to




                                                                           Appx. 04731
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 607 of 610




                                                                              254


       1   very quickly enter a proposed agreed order that extends that

       2   TRO for some period of time.

       3              THE COURT:    Okay.

       4              MR. RUKAVINA:    I'm not going to be difficult.

       5              THE COURT:    Okay.    So we'll shift to you and Mr.

       6   Morris to be the scriveners.       I just -- I suggested that

       7   because I thought there was a motion to link the order to that

       8   had been filed by Bonds Ellis.       I may be --

       9              MR. MORRIS:    There was, Your Honor.      There was an

      10   emergency motion to continue.       We filed an opposition, and

      11   Your Honor has not yet ruled on that motion.         You're exactly

      12   right.

      13              THE COURT:    Okay.    All right.

      14              MR. TAYLOR:    Your Honor, this is Clay Taylor.        I will

      15   make sure the right people confer with Davor and John, and

      16   we'll get -- we'll link it to that motion, because that makes

      17   sense, to have something to link it to.

      18              THE COURT:    Okay.    Yes.    And it can be a two-

      19   paragraph order, I would think.

      20        All right.    And then so I'm going to see you Monday at

      21   9:00 o'clock Central time with the ruling.

      22        Please, don't anyone file anymore paper.         I threw that out

      23   earlier today.    I've got all the paper I need.       And I will see

      24   you Monday at 9:00 o'clock.       Okay?    We're adjourned.

      25              MR. POMERANTZ:    Thank you, Your Honor.




                                                                          Appx. 04732
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 608 of 610




                                                                              255


       1              THE CLERK:    All rise.

       2              MR. MORRIS:    Thank you, Your Honor.

       3        (Proceedings concluded at 4:34 p.m.)

       4                                     --oOo--

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      20                                 CERTIFICATE

      21        I certify that the foregoing is a correct transcript from
           the electronic sound recording of the proceedings in the
      22   above-entitled matter.
      23      /s/ Kathy Rehling                                    02/05/2021

      24   ______________________________________               ________________
           Kathy Rehling, CETD-444                                  Date
      25   Certified Electronic Court Transcriber




                                                                          Appx. 04733
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25   Page 609 of 610




                                                                              256

                                             INDEX
       1
           PROCEEDINGS                                                              4
       2
           WITNESSES
       3
           Debtor's Witnesses
       4

       5   Marc Tauber
           - Direct Examination by Mr. Morris                                    25
       6   - Cross-Examination by Mr. Rukavina                                   34
           - Cross-Examination by Mr. Taylor                                     36
       7   - Redirect Examination by Mr. Morris                                  41

       8   Certain Funds and Advisors' Witnesses

       9   James P. Seery
           - Direct Examination by Mr. Rukavina                                  45
      10   - Cross-Examination by Mr. Morris                                     49
           - Redirect Examination by Mr. Rukavina                                50
      11

      12   Robert Jason Post
           - Direct Examination by Mr. Rukavina                                  51
      13   - Cross-Examination by Mr. Morris                                     56
           - Redirect Examination by Mr. Rukavina                                62
      14   - Recross-Examination by Mr. Morris                                   63

      15   EXHIBITS

      16   Debtor's   Docket 1887 - Leatham Declaration              Received     6
           Debtor's   Exhibit B, Docket 1822                         Received     8
      17   Debtor's   Exhibit 6R, Docket Entry 1822                  Received     9
           Debtor's   Exhibits 6S and 6T, Docket Entry 1822          Received    12
      18   Debtor's   Exhibit 6U, Docket Entry 1822                  Received    13
           Debtor's   Exhibits D and E, Docket Entry 1822            Received    15
      19
           Debtor's   Exhibits 4D, 4E, and 4G, Docket 1822           Received    17
      20   Debtor's   Exhibit 5T, Docket 1822                        Withdrawn   17
           Debtor's   Exhibit 10A                                    Received    22
      21   Debtor's   Omnibus Reply to Plan Objections,              Received    23
             Docket   1807
      22   Debtor's   Exhibit 7O (Abridged)                          Received    44

      23   Certain Funds and Advisors' Exhibit 2,                    Received    53
             Docket Entry 1863
      24
           Dondero's Exhibits 6 through 12 and                       Received    66
      25     15 through 17




                                                                          Appx. 04734
Case 21-03005-sgj Doc 134-7 Filed 12/18/21   Entered 12/18/21 02:10:25    Page 610 of 610




                                                                           257


   1                                     INDEX
                                        Page 2
   2
        EXHIBITS, cont'd.
   3

   4    Judicial Notice to be Taken of Docket 1887,                              6
          Patrick Leatham Declaration
   5
        Judicial Notice to be Taken of Docket 247,                            45
   6      Schedules

   7    CLOSING ARGUMENTS

   8    -   By   Mr.   Pomerantz                                              73
        -   By   Mr.   Kharasch                                              151
   9    -   By   Mr.   Clemente                                              154
        -   By   Mr.   Draper                                                159
  10
        -   By   Mr.   Rukavina                                              184
  11    -   By   Mr.   Taylor                                                208
        -   By   Mr.   Pomerantz                                             227
  12    -   By   Mr.   Clemente                                              246

  13    RULINGS

  14    Confirmation Hearing [1808] - Taken Under Advisement                 248

  15    Agreed Motion to (1) Assume Non-Residential Real Property            248
        Lease with Crescent TC Investors, LP upon Confirmation of
  16    Plan and (II) Extend Assumption Deadline [1624] - Taken
        Under Advisement
  17
        END OF PROCEEDINGS                                                   255
  18
        INDEX                                                            256-257
  19

  20

  21

  22

  23

  24

  25




                                                                           Appx. 04735
